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Charles W. Gameros, Jr.
State Bar No. 00796956
Douglas Wade Carvell
State Bar No. 00796316
HOGE & GAMEROS, L.L.P.
6116 North Central Expressway, Suite 1400
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Telephone: 214-765-6002
Facsimile: 214-559-4905

ATTORNEYS FOR NEXPOINT REAL ESTATE PARTNERS, LLC,
f/k/a HCRE PARTNERS, LLC

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                                        §
                                              § Chapter 11
HIGHLAND CAPITAL                              §
MANAGEMENT, L.P.,                             § Case No. 19-34054-SGJ-11
                                              §
         Debtor.                              §
                                              §
HIGHLAND CAPITAL                              §
MANAGEMENT, L.P.,                             §
                                              §
         Movant,                              §
                                              § Contested Matter
V.                                            §
                                              §
NEXPOINT REAL ESTATE                          §
PARTNERS, LLC, F/K/A HCRE                     §
PARTNERS, LLC,                                §
                                              §
         Respondent.                          §


      NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC
               WITNESS AND EXHIBIT LIST WITH RESPECT TO
       EVIDENTIARY HEARING TO BE HELD ON NOVEMBER 1 AND 2, 2022




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         NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC (“NREP” or “Claimant”)
files its list of potential witness and exhibits with respect to Debtor’s First Omnibus Objection to
Certain (A) Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims;
(E) No Liability Claims; and (F) Insufficient-Documentation Claims [Dkt. No. 906] as it relates to
NREPS’s Claim No 146, which the Court has set for hearing at 9:30 a.m. on November 1 and 2,
2022 (Central Time) in the above-styled bankruptcy case.

       Respectfully submitted,

                                              /s/ Charles W. Gameros, Jr.
                                              Charles W. Gameros, Jr., P.C.
                                              State Bar No. 00796596
                                              Douglas Wade Carvell, P.C.
                                              State Bar No. 00796316

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                                              6116 North Central Expressway, Suite 1400
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                                              Telecopier: (214) 559-4905
                                              E-Mail         BGameros@LegalTexas.com
                                                             WCarvell@LegalTexas.com

                                              ATTORNEYS FOR
                                              NEXPOINT REAL ESTATE PARTNERS, LLC,
                                              F/K/A HCRE PARTNERS, LLC

                                 CERTIFICATE OF SERVICE

       This is to certify parties which have so registered with the Court, including counsel for the
Debtor, the United States Trustee, and all persons or parties requesting notice and service shall
receive notification of the foregoing via the Court’s ECF system, and are considered served
pursuant to the Administrative Procedures incorporated into the Order Adopting Administrative
Procedures for Electronic Case Filing, General Order 2003-01.2.

                                              /s/ Charles W. Gameros, Jr.
                                              Charles W. Gameros, Jr., P.C.




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                                                    I.

                                      POTENTIAL WITNESSES

          (1)    James Dondero

          (2)    Mark Patrick

          (3)    Matt McGraner

          (4)    Tim Cournoyer

          (5)    David Klos

          (6)    Mark Barker (through deposition testimony only)

          (7)    Dustin Thomas (through deposition testimony only)

          (8)    Any witness designated or called by any other party

          (9)    Any rebuttal or impeachment witnesses

                                                   II.

                                CLAIMANTS’ POTENTIAL EXHIBITS

Exhibit         Desc.                                         ID          Offer   Obj.   Stip.   Admit

Claimant's 1    LLC Agreement                            Patrick Exh. 2

Claimant's 2    First Amended LLC Agreement              Patrick Exh. 4

Claimant's 3    Proof of Claim No. 146                    Claim 146

Claimant's 4    Bridge Loan Agreement                Dondero Exh. 3

Claimant's 5    Debtor’s First Omnibus Objection         Dkt. No. 906
                to Certain (A) Duplicate Claims;
                (B) Overstated Claims; (C) Late-
                Filed Claims; (D) Satisfied
                Claims; (E) No Liability Claims;
                and (F) Insufficient-
                Documentation Claims




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Exhibit         Desc.                                   ID         Offer   Obj.   Stip.   Admit

Claimant's 6    NexPoint Real Estate Partners,     Dkt. No. 1212
                LLC’s Response to Debtor’s First
                Omnibus Objection to Certain (A)
                Duplicate Claims; (B) Overstated
                Claims; (C) Late-Filed Claims;
                (D) Satisfied Claims; (E) No
                Liability Claims; and (F)
                Insufficient-Documentation
                Claims

Claimant's 7    Disclosure Statement for Fifth     Dkt. No. 1473
                Amended Plan

Claimant's 8    Notice of Executory Contracts to   Dkt. No. 1648
                be Assumed

Claimant's 9    Second Notice of Executory         Dkt. No. 1719
                Contracts to be Assumed

Claimant's 10   Third Notice of Executory          Dkt. No. 1749
                Contracts to be Assumed

Claimant's 11   Fifth Amended Plan of              Dkt. No. 1808
                Reorganization

Claimant's 12   Fourth Notice of Executory         Dkt. No. 1847
                Contracts to be Assumed

Claimant's 13   Fifth Notice of Executory          Dkt. No. 1873
                Contracts to be Assumed

Claimant's 14   Order Confirming Fifth Amended     Dkt. No. 1943
                Plan

Claimant's 15   Confirmation Date and Bar Date     Dkt. No. 1948
                for Filing Objections

Claimant's 16   Notice of Effective Date           Dkt. No. 2700

Claimant's 17   Responses and Objections to
                NexPoint Real Estate Partners,
                LLC’s Second Set of Requests for
                Production and Interrogatories

Claimant's 18   Deposition Excerpts - Thomas

Claimant's 19   Deposition Excerpts - Barker



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Exhibit       Desc.                                    ID          Offer    Obj.    Stip.   Admit

              Documents entered or filed in this
              Bankruptcy Case or related cases
              and for which the Court may take
              judicial notice

              Exhibits identified by any other
              party at hearing

              Rebuttal Exhibits

              Impeachment Exhibits


         Claimant reserves the right to supplement this Witness and Exhibit List as necessary and
 appropriate.




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                          SE Multifamily Holdings LLC
                      (A Delaware Limited Liability Company)




                      FIRST AMENDED AND RESTATED
                 LIMITED LIABILITY COMPANY AGREEMENT




                            Dated as of March 15, 2019

                                to be effective as of

                                 August 23, 2018




THE MEMBERSHIP INTERESTS ARE SUBJECT TO THE RESTRICTIONS ON TRANSFER
AND OTHER TERMS AND CONDITIONS SET FORTH IN THIS AGREEMENT AND MAY
NOT BE TRANSFERRED AT ANY TIME EXCEPT IN COMPLIANCE WITH THE TERMS
AND CONDITIONS HEREOF.

IN ADDITION, THE MEMBERSHIP INTERESTS HAVE NOT BEEN REGISTERED UNDER
THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), OR THE
SECURITIES LAWS OF ANY STATE IN RELIANCE UPON EXEMPTIONS FROM THE
REGISTRATION REQUIREMENTS OF THE SECURITIES ACT AND SUCH LAWS. THE
TRANSFER OF MEMBERSHIP INTERESTS IS PROHIBITED UNLESS SUCH TRANSFER
IS MADE IN COMPLIANCE WITH THE SECURITIES ACT AND ALL SUCH APPLICABLE
LAWS.




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                           SE MULTIFAMILY HOLDINGS LLC

                            FIRST AMENDED AND RESTATED

                    LIMITED LIABILITY COMPANY AGREEMENT

       THIS FIRST AMENDED AND RESTATED LIMITED LIABILITY COMPANY
AGREEMENT (this “Agreement”) of SE Multifamily Holdings LLC, a Delaware limited liability
company (the “Company”), is entered into as of March 15, 2019, to be effective as of August 23,
2018 (the “Effective Date”), by Highland Capital Management, L.P., a Delaware limited
partnership (“HCMLP”), HCRE Partners, LLC, a Delaware limited liability company (“HCRE”),
BH Equities, LLC (“BH”), and Liberty CLO HoldCo, Ltd., a Cayman Islands company
(“Liberty”), and each of the other persons listed from time to time on Schedule A as members of
the Company (together with HCMLP, HCRE, BH and Liberty, the “Members”).

                                          RECITALS

        WHEREAS, the Company was formed by virtue of its Certificate of Formation, filed with
the Secretary of State of the State of Delaware on August 23, 2018, and the Company’s original
limited liability company agreement dated August 23, 2018, pursuant to the terms of the Act.

        WHEREAS, BH has acquired membership interests in the Company and each Member
holds the membership interests set forth opposite its name on Schedule A.

       WHEREAS, Liberty has acquired a preferred membership interest in the Company on the
terms set forth herein and as set forth on Schedule A.

        WHEREAS, the Members deem it desirable to, and do hereby, amend and restate in its
entirety the Company’s original limited liability company agreement as hereinafter provided in
order to set forth certain agreements among themselves relating to the capitalization and
governance of the Company and granting certain rights and imposing certain restrictions on
themselves as set forth herein.

                                        AGREEMENT

       NOW, THEREFORE, in consideration of the premises and the covenants set forth in this
Agreement, and for other good and valuable consideration the receipt and sufficiency of which are
hereby acknowledged, the Members hereby agree as follows:

                                          ARTICLE 1
                                          Organization

        1.1     Formation; Continuance. The Company was formed by filing a Certificate of
Formation (the “Certificate”) pursuant to and in accordance with the applicable provisions of the
Delaware Limited Liability Company Act (as amended from time to time, the “Act”). The
Company’s existence began upon the filing of the Certificate with the office of the Secretary of
State of the State of Delaware on August 23, 2018, and shall continue for the period of duration




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set forth in the Certificate or until the earlier dissolution, liquidation and termination of the
Company in accordance with Article 9.

        1.2     Name. The name of the Company is SE Multifamily Holdings LLC. The Manager
may change the name of the Company from time to time. In such event, the Manager shall (i) give
prompt written notice thereof to the Members and (ii) promptly file or cause to be filed with the
office of the Secretary of State of the State of Delaware an amendment to the Certificate reflecting
such change of name.

        1.3      Purpose. The purpose of the Company is to (i) acquire, invest, hold, maintain,
finance, improve, manage, develop, operate, lease, sell, exchange or otherwise deal in financial
and real estate-related investment property; (ii) engage or participate in such other activities related
or incidental thereto as the Manager may from time to time deem necessary, appropriate or
desirable; and (iii) conduct any business or activity related to the foregoing activities that may
lawfully be conducted by a limited liability company organized under the Act. Any or all of the
foregoing activities may be conducted directly by the Company or indirectly through another
limited liability company, partnership, joint venture or other arrangement.

        1.4     Registered Office and Agent; Principal Place of Business. The address of the
Company’s registered office is Corporation Trust Center, 1209 Orange Street, Wilmington,
Delaware 19801. The Company’s registered agent at such address is The Corporation Trust
Company. The address of the Company’s initial principal place of business is 300 Crescent Court,
Suite 700, Dallas, TX 75201. The Manager may change such registered agent, registered office
or principal place of business from time to time. In such event, the Manager shall (i) give prompt
written notice of any such change to each Member and (ii) in the case of any change to the
registered agent or registered office, promptly file or cause to be filed in the office of the Secretary
of State of the State of Delaware an amendment to the Certificate reflecting any such change. The
Company may from time to time have such other place or places of business within or outside the
State of Delaware as may be determined by the Manager.

        1.5   No State-Law Partnership. The Company shall not be a partnership or a joint
venture, and no Member or Manager shall be a partner or joint venturer of any other Member or
Manager, for any reason other than for U.S. federal income and state tax purposes, and no provision
of this Agreement shall be construed otherwise.

        1.6    Management, Control and Voting Rights Vested Solely in HCRE and the Manager.
HCRE shall have the exclusive right to appoint the Manager and the Manager shall have unfettered
control over all aspects of the business and operations of the Company and shall have exclusive
rights to appoint management personnel and exclusive voting rights, as further specified in this
Agreement.

        1.7     Company Ownership: 47.94% to HCRE, 46.06% to HCMLP, and 6% to BH.
Except with respect to particular items specified in this Agreement, HCRE shall have 47.94%
ownership interest, HCMLP shall have a 46.06% ownership interest, and BH shall have a 6%
ownership interest, respectively, in all assets and activities of the Company, including, without
limitation, rights to receive distributions of cash and assets in-kind in the process of winding down
and liquidating the Company pursuant to Article 9 of this Agreement.



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        1.8    Anti-Consolidation For HCMLP. In the event that this Agreement at any time is
interpreted to require consolidation of the Company with HCMLP under Generally Accepted
Accounting Principles (“GAAP”), the Members agree to retroactively or prospectively, as the case
may be, amend this Agreement and to reallocate any economic or other items between HCMLP
and HCRE to the extent necessary to cause the Company not to be consolidated with HCMLP for
GAAP purposes and to the extent the reallocation involves items shared by percentage interests,
the reallocation shall be made in an amount that is 1% more than the minimum reallocation
necessary to cause the Company not to be consolidated for GAAP purposes with HCMLP. Any
amendment or reallocation made pursuant to this Section 1.8 shall be made in accordance with
the Treasury Regulations under Code Section 704(b).


                                          ARTICLE 2
                                      Capital Contributions

        2.1     Initial Capital Contributions. Each Member has made capital contributions as of
the Effective Date in the amounts that are set forth next to such Member’s name on Schedule A
hereto, which shall be amended from time to time by the Manager so that it sets forth the then
current list of Members, the total amount of Capital Contributions made or deemed to be made by
each member, the date(s) as of which each such Capital Contribution were made (or deemed
made), and the Percentage Interests held by each Member.

       2.2     Additional Capital Contributions.

               (a)     The Manager may call capital contributions at any time from Liberty, up to
       a maximum cumulative amount of $16,000,000, in order to carry out the business of the
       Company as set forth in Section 1.3; provided, however, that the Company shall issue
       “Class B Preferred Membership Interests” in exchange for any additional capital
       contributions made under this Section 2.2(a). On each occasion the Manager desires that
       Liberty make additional capital contributions to the Company, the Manager shall give
       Liberty a written notice (a “Funding Notice”) that shall include (i) the aggregate amount of
       additional capital contributions required, (ii) the date by which such additional capital
       contributions are required to be funded, and (iii) the address where additional capital
       contributions shall be sent. No other Member shall be required to make capital
       contributions at any time for any reason. Schedule A hereto includes the current capital
       contributions made in consideration for Preferred Membership Interests and shall be
       amended from time to time to reflect additional capital contributions made in consideration
       for the issuance of additional Preferred Membership Interests.

              (b)    The capital contributions commitments of the Members (if any, whether
       now or hereafter made) are solely for the benefit of the Members, as among themselves,
       and may not be enforced by any creditor, receiver or trustee of the Company or by any
       other person.

        2.3      No Return of Capital Contributions. No Member shall be entitled to a withdrawal
or return of its capital contributions. Instead, each Member shall look solely to distributions from
the Company for such purpose.



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        2.4    No Interest. No Member shall be entitled to interest on its capital contributions,
and any interest actually received by reason of investment of any part of the Company’s funds
shall be included in the Company’s property.

        2.5   Member Loans. If the Company shall have insufficient cash to pay its obligations,
then the Members may, in their joint discretion, advance such funds to the Company on such terms
and conditions as are approved by all the Members. Each such advance shall constitute a loan
from the Members to the Company and shall not constitute a capital contribution.

       2.6    Capital Accounts.

             (a)     The Company shall maintain a separate capital account (a “Capital
       Account”) for each Member in accordance with the following provisions:

                      (i)     to each Member’s Capital Account there shall be credited the
              amount of money and the initial Book Value of any other property contributed to
              the Company by such Member, such Member’s distributive share of Profits and any
              items in the nature of income or gain that are specially allocated hereunder and the
              amount of any liabilities of the Company assumed by such Member or that are
              secured by any property distributed to such Member;

                      (ii)     to each Member’s Capital Account there shall be debited the amount
              of money and the Book Value of any other property distributed to such Member by
              the Company, such Member’s distributive share of Losses and any items in the
              nature of expenses or losses that are specially allocated hereunder and the amount
              of any liabilities of such Member assumed by the Company or that are secured by
              any property contributed by such Member to the Company;

                     (iii) if all or a portion of an interest in the Company is transferred in
              accordance with this Agreement, then the transferee shall succeed to the Capital
              Account of the transferor to the extent it relates to the transferred interest in the
              Company; and

                      (iv)   in determining the amount of any liability for purposes of Sections
              2.6(a)(i) and 2.6(a)(ii), Section 752(c) of the Code and any other applicable
              provision of the Code and Regulations shall be taken into account.

               (b)     This Section 2.6 as it relates to the maintenance of Capital Accounts is
       intended to comply with the requirements of Section 1.704-1(b) of the Regulations and
       shall be interpreted and applied in a manner consistent with such Regulations; provided,
       however, that nothing contained herein shall be construed as creating a capital account
       deficit restoration obligation or otherwise personally obligating any Member to make
       capital contributions in excess of the capital contributions provided for in this Article 2. If
       the Manager determines that it is prudent to modify the manner in which the Capital
       Accounts, or any debits or credits thereto (including, debits or credits relating to liabilities
       that are secured by contributions or distributed property or that are assumed by the
       Company or the Members), are computed in order to comply with such Regulations, then
       the Manager may make such modification; provided, however, that such modification is


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       not likely to have a material effect on the amounts distributed to any person pursuant to
       Article 9 upon the dissolution, liquidation and termination of the Company. In addition,
       the Manager shall (i) make any adjustment that is necessary or appropriate to maintain
       equality between the Capital Accounts of the Members and the amount of Company capital
       reflected on the Company’s balance sheet, as computed for book purposes, in accordance
       with Section 1.704-1(b)(2)(iv)(q) of the Regulations, and (ii) make any appropriate
       modification if unanticipated events might otherwise cause this Agreement not to comply
       with Section 1.704-1(b) of the Regulations.

                                          ARTICLE 3
                              Rights and Obligations of the Manager

       3.1    Initial Manager; Term; Vacancies; Resignation; Removal. The initial manager of
the Company (the “Manager”) shall be James Dondero, in his capacity as an officer of HCRE. The
Manager shall hold office for so long as HCRE is a member of the Company. Any Manager may
be removed, suspended or replaced at any time with or without cause solely with the written
consent of HCRE so long as HCRE is a member of the Company.

        3.2    Management. The management, control and direction of the Company and its
operations, business and affairs shall be vested exclusively in the Manager, who shall have the
right, power and authority, to carry out any and all purposes of the Company and to perform or
refrain from performing any and all acts that the Manager may deem necessary, appropriate or
desirable.

       3.3     Powers. Subject to Section 3.4, the Manager shall have the power generally
conferred by law and/or as necessary to do all things and perform all acts necessary and appropriate
for successful accomplishment of the purpose of the Company, including, without limitation, the
following:

              (a)     to negotiate, execute and deliver all documents determined appropriate or
       necessary to close acquisitions of real estate;

               (b)     to acquire, own, hold, manage, maintain, operate, preserve or enhance the
       value of, seek and obtain zoning and other entitlements for, improve, develop, use,
       encumber, finance, market and ultimately lease, sell, contribute or otherwise dispose of
       real estate, or portions thereof, and engage in any and all activities as are related or
       incidental to the foregoing;

               (c)    to obtain any and all financing for real estate, whether interim, permanent
       or otherwise, and to pledge the real estate, or a portion thereof, to a lender as collateral for
       such financing;

               (d)     to establish reserves for contingencies and for any other proper purpose;

              (e)     to employ such accountants, lawyers, managers, agents, and other
       management or service personnel as may, from time to time, be required or appropriate to
       carry on the business or purposes of the Company, including persons to manage real estate;



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                (f)     to negotiate and enter into agreements and contracts (including with any
       affiliate of the manager) in furtherance of the Company’s business including, without
       limitation, all documents and agreements as may be required or appropriate in connection
       with the acquisition, ownership, management, leasing, maintenance, operation,
       improvement, development, construction, marketing, lease, sale or other disposition of real
       estate or interest therein, and any amendments, extensions or assignments thereof;

              (g)    to purchase at the expense of the Company, liability, casualty, fire and other
       insurance and bonds to protect the Company’s assets and business, in such amounts and
       with such coverage as determined by the Manager;

              (h)     to commence, defend and settle litigation or administrative proceedings on
       behalf of the Company;

                (i)    to open, maintain, and close accounts with banks and other financial
       institutions, and to pay customary fees in conjunction with the use and termination of their
       services;

               (j)     to negotiate and effect a merger or consolidation of the Company with any
       other entity;

                (k)    approve any transaction entered into by the Company and any Member, or
       affiliate of any Member;

              (l)      to develop an annual budget and to approve any deviations from such
       budget;

              (m)     to appoint a “partnership representative” for purposes of interacting with,
       and representing the Company before, the Internal Revenue Service; and

              (n)     to do any and all acts and things necessary, incidental, appropriate or
       convenient, as determined by the Manager in sole and absolute discretion, to carry on the
       business of the Company.

       3.4      Limitations on Manager’s Authority. Notwithstanding the provisions of Section
3.2 above or any other provision of this Agreement, the Manager shall not undertake, cause or
allow the Company (or any entity in which the Company owns a direct or indirect interest) to do
or agree to do any of the actions described in this Section 3.4 without the express written approval
of HCRE:

              (a)     enter into any business or engage in any activity other than pursuant to the
       purpose of the Company as described in Section 1.3;

               (b)     issue additional membership interests in the Company;

               (c)     sell the Company or sell all or substantially all assets of the Company;

               (d)     admit new Members to the Company;



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            (e)     permit a transferee of an interest in the Company to become a substitute
       Member of the Company under Section 7.3;

               (f)     borrow funds or otherwise commit the credit of the Company; or

             (g)     take any action that requires the approval of HCRE under the terms of this
       Agreement or the Act.

        3.5     Liability of Manager. No Manager (in its capacity as such) shall be personally
liable for the debts and obligations of the Company.

       3.6    Other Activities. Neither this Agreement nor any principle of law or equity shall
preclude or limit, in any respect, the right of any Manager to engage in or derive profit or
compensation from any activities or investments, nor give any other Manager, any Member or any
other person any right to participate or share in such activities or investments or any profit or
compensation derived therefrom.

        3.7     Officers. The Manager may appoint and remove officers of the Company in his
sole discretion.

         3.8    Reimbursement. The Manager and any Officer shall be entitled to reimbursement
for all reasonable expenses paid or incurred by it on behalf of the Company.

        3.9    Replacement of Manager. Subject to Section 3.1, in the event that the Manager
resigns for any reason, a replacement Manager may be appointed by HCRE.

                                          ARTICLE 4
                               Rights and Obligations of Members

       4.1     No Authority. No Member (in its capacity as such) shall participate in the
management, control or direction of the Company’s operations, business or affairs, transact any
business for the Company, or have the power to act for or on behalf of or to bind the Company,
such powers being vested solely and exclusively in the Manager (subject to the Manager’s right to
delegate such powers to an officer pursuant to Section 3.7); provided, however, that nothing
contained in this Section 4.1 shall prohibit any Member from acting as a Manager or officer of the
Company or its affiliates.

        4.2     Liability of Members. No Member (in its capacity as such) shall be personally
liable for the debts and obligations of the Company.

       4.3     Consents and Limited Voting Rights. The Members (whether individually or in
combination) shall not be entitled to consent to, vote on or approve any matter for which the action
of such Members is not expressly required by the Act or this Agreement or requested by the
Manager. In the case of any matter for which the action of the Members is expressly required by
the Act or this Agreement or requested by the Manager, such action shall (unless a different
percentage is required by the Act or stated in this Agreement) be effective and binding against the
Company, each Member and the Manager if taken with the consent, vote or approval of HCRE.



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                                             ARTICLE 5
                                   Exculpation and Indemnification

        5.1     Exculpation. None of the Manager, the Members, their affiliates nor any of their
respective officers, directors, stockholders, managers, members, partners, employees or agents
(collectively, “Covered Persons”) shall be liable, responsible or accountable in damages or
otherwise to the Company or any Member by reason of, arising from or relating to the operations,
business or affairs of, or any action taken or failure to act on behalf of, the Company or its affiliates,
except to the extent that any of the foregoing is determined by a final, nonappealable order of a
court of competent jurisdiction to have been primarily caused by the willful misconduct or bad
faith of such Covered Person.

        5.2     Limitation of Liability. Notwithstanding any other provision of this Agreement to
the contrary, to the extent that any Covered Person has, whether at law or in equity, any duties
(fiduciary or otherwise) or any liabilities relating thereto to the Company or any Member (i) such
Covered Person shall not be held liable to the Company or any Member for any action taken or
failure to act by such Covered Person in reliance upon the provisions of this Agreement, and (ii)
such Covered Person’s duties (fiduciary or otherwise) and liabilities are intended and shall be
construed to be modified and limited to those duties (fiduciary or otherwise) and liabilities
expressly specified in this Agreement, and no implied covenants, duties, liabilities or obligations
shall be construed to be a part of this Agreement or to otherwise exist against any such Covered
Person.

        5.3     Indemnification.

                (a)    Indemnifiable Claims. The Company shall indemnify, defend and hold
        harmless each Covered Person against any claim, loss, damage, liability or expense
        (including reasonable attorneys’ fees, court costs and costs of investigation and appeal)
        suffered or incurred by such Covered Person by reason of, arising from or relating to, the
        operations, business or affairs of, or any action taken or failure to act on behalf of, the
        Company or their respective affiliates, including, without limitation, as a result of such
        Covered Person’s having executed a Guaranty, except to the extent any of the foregoing (i)
        is determined by final, nonappealable order of a court of competent jurisdiction to have
        been primarily caused by the willful misconduct, gross negligence, or criminal activity of
        such Covered Person or (ii) arises out of claim brought by one Member against another
        Member.

                (b)    Satisfaction; Capital Contributions. The satisfaction of any indemnification
        obligation shall be from and limited to the assets of the Company. No Member shall have
        any obligation to make capital contributions to the Company to fund any indemnification
        obligations hereunder.

               (c)     Advancement of Expenses. Unless a determination has been made by final,
        nonappealable order of a court of competent jurisdiction that indemnification is not
        required, the Company shall, upon the request of any Covered Person, advance or promptly
        reimburse such Covered Person’s reasonable costs of investigation, litigation or appeal,
        including reasonable attorneys’ fees; provided, however, that the affected Covered Person



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       shall, as a condition of such Covered Person’s right to receive such advances or
       reimbursements, undertake in writing to repay promptly the Company for all such
       advancements and reimbursements if a court of competent jurisdiction determines that such
       Covered Person is not then entitled to indemnification under this Section 5.3.

               (d)     Successors; Remedies. The indemnification provided by this Section 5.3
       shall be in addition to any other rights to which any Covered Person may be entitled, in
       any capacity, under any agreement, vote of the Manager or Members, as a matter of law or
       otherwise and shall continue as to a Covered Person who has ceased to serve in such
       capacity and shall inure to the benefit of the heirs, successors, assigns and administrators
       of such Covered Person. This Section 5.3 shall survive any termination of this Agreement
       and is for the benefit of the Covered Persons and their respective heirs, successors, assigns
       and administrators, and shall not be deemed to create any rights for the benefit of any other
       person.

              (e)     Amendment. Any repeal or amendment of this Section 5.3 shall be
       prospective only and shall not limit the rights of any Covered Person or the obligations of
       the Company in respect of any claim arising from or related to the services of such Covered
       Person prior to any such repeal or amendment of this Section 5.3.

      5.4     Other Agreements. Notwithstanding anything contained herein to the contrary, the
indemnification rights and exculpation contained in this Article 5 shall not affect, nor provide
indemnification for, liabilities of any Member, or their respective affiliates, arising out of any other
agreement to provide services to the Company entered into by such Member, or its affiliate, and
the Company.

        5.5     Guaranties. As used in this Agreement, a “Guaranty” means a partial or full
guaranty of principal and/or interest in respect of any loan, a guaranty of completion or cost
overruns or debt service, guaranty of “non-recourse carveouts”, any other guaranty, indemnity or
assurance of payment, or any reimbursement agreement in respect of a letter of credit or similar
credit enhancement, in each case provided by a Member or its Affiliate on behalf of the Company
or any of its subsidiaries. No Member or Affiliate shall be required to execute any Guaranty.

                                            ARTICLE 6
                                    Distributions and Allocations

       6.1     Distributions of Cash.

               (a)    Distributable Cash. Except as otherwise specifically provided in this
       Article 6 and Article 9, all Distributable Cash shall be distributed (i) 47.94% to HCRE, (ii)
       46.06% to HCMLP, and (iii) 6% to BH, at such time and in such amounts as determined
       by the Manager.

              (b)     Net Cash from Specified Company Assets. Net Cash from the sale,
       refinancing or other disposition of any Specified Company Asset shall be distributed to the




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       Members in proportion to their Capital Percentage Interests with respect to such Specified
       Company Asset.

               (c)     Notwithstanding Sections 6.1(a) and (b), if any class of “Preferred
       Membership Interest” is issued and outstanding, cash from all sources that is available for
       distribution may, as determined in the sole discretion of the Manager, be distributed to
       Liberty with respect to one or more classes of Liberty’s Preferred Membership Interest
       until Liberty has received cumulative distributions under this Sections 6.1(c) equal to the
       sum of (i) Liberty’s capital contributions with respect to such Preferred Membership
       Interest, and (ii) with respect to Liberty’s Class A Preferred Membership Interest, a 12
       percent per annum simple return on such capital contributions made to acquire such
       Preferred Membership Interest or, with respect to Liberty’s Class B Preferred Membership
       Interest, a 6.25 percent per annum simple return on such capital contributions made to
       acquire such Preferred Membership Interest.

               (d)    Distributions in Kind. If at any time the Manager determines, with the
       written consent of all the Members, to make a distribution of any Specified Company
       Assets in-kind, such Specified Company Assets shall be distributed to the Members in the
       same respective proportions as distributions would at the time be made pursuant to Section
       6.1(b) or Section 9.3, as the case may be, if the Specified Company Assets were sold and
       cash proceeds from such sale were distributed as Net Cash from Specified Company
       Assets.

              (e)      Notwithstanding Sections 6.1(a), 6.1(b), 6.1(c) and 6.1(d), the first amounts
       of any Distributable Cash shall be deemed distributed to each Member (i) in proportion to
       the amounts paid by the Company directly to any lender on behalf of such Member to pay
       principal and interest on any loan incurred by such Member to fund such Member’s capital
       contributions to the Company until such loans are fully extinguished, then (ii) pro rata in
       proportion to the Members’ respective Capital Accounts until the Members’ respective
       Capital Accounts are reduced to zero.

        6.2    Restrictions on Distributions. Notwithstanding any other provision of this
Agreement to the contrary, the Company shall not be required to make any distribution if such
distribution would violate the Act or any law then applicable to the Company.

        6.3    Withholding Taxes. Notwithstanding any other provision of this Agreement to the
contrary, the Manager is authorized to take any action that he determines to be necessary or
appropriate to cause the Company to comply with any foreign or U.S. federal, state or local
withholding or deduction requirement in respect of any allocation, payment or distribution by the
Company to any Member or other person. Without limiting the provisions of this Section 6.3, if
any such withholding requirement in respect of any Member exceeds the amount distributable to
such Member under the applicable provision of this Agreement, then such Member and any
successor or assignee in respect of such Member’s membership interest in the Company shall,
upon the request of the Manager, contribute such excess amount or amount required to be withheld
to the Company and shall indemnify and hold harmless the Manager and the Company for such
excess amount or such withholding requirement, as the case may be. The Company may (but shall
not be required to), where permitted by the rules of any taxing authority, file a composite,


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combined or aggregate tax return reflecting the income of the Company and pay the tax, interest
and penalties of some or all of the Members on such income to the taxing authority, in which case
the Company shall inform the Members of the amount of such tax, interest and penalties so paid.
Each Member shall provide such identifying numbers and other certificates as are requested by the
Company to enable it to comply with any tax reporting or withholding requirement under the Code
or any applicable state, local or foreign tax law. Notwithstanding the foregoing provisions of this
Section 6.3, the Manager shall have no liability to the Company or any Member for failure to
request or obtain such information from any Member, or to withhold in respect of any Member
who has not furnished such information to the Manager.

       6.4     Allocations of Profits and Losses. Profits and Losses shall be allocated as follows:

               (a)     Except as provided in Sections 6.4(b), (c) and (d) and after the special
       allocations set forth in Sections A.III.2 and A.III.3 of Schedule B, Profits and Losses (and
       items of income, gain, loss, deduction and credit relating thereto) shall be allocated 94% to
       HCMLP and 6% to BH.

               (b)    Notwithstanding Section 6.4(a), Profits (and any items related thereto) shall
       be allocated to Liberty until the aggregate amount of Profits allocated to Liberty pursuant
       to this Section 6.4(b) equals the amount that has been distributed to Liberty pursuant to
       Section 6.1(c)(ii).

                (c)    Notwithstanding Section 6.4(a), Losses (and any items related thereto) shall
       be allocated to Liberty, until the aggregate amount of Losses allocated to Liberty pursuant
       to this Section 6.4(c) equals the aggregate amount of Profits previously allocated to Liberty
       pursuant to Section 6.4(b).

              (d)     All Profits and Losses with respect to each Specified Company Asset will
       be allocated in accordance with each Member’s Capital Percentage Interest in such
       Specified Company Asset.

                                          ARTICLE 7
                             Admissions, Transfers and Withdrawals

       7.1     Admissions. New Members may be admitted to the Company only with the written
consent of, and upon such terms and conditions as are approved by, HCRE in accordance with
Section 3.3. Substituted Members shall not be deemed new Members for purposes of this Section
7.1.

       7.2     Transfer of Membership Interests.

               (a)    No Transfers Without Consent. No Member may transfer or encumber all
       or any portion of such Member’s membership interest in the Company without the prior
       written consent of the Manager in accordance with Section 3.3; provided, however, that no
       consent shall be required in connection with any transfer to a Permitted Transferee. For
       purposes hereof, “Permitted Transferee” shall mean any affiliate of a Member, or
       immediately family member of ultimate beneficial owner of a Member.



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             (b)    Death, Bankruptcy, etc. of Member. In the event of the death,
       incompetence, insolvency, bankruptcy, dissolution, liquidation or termination of any
       Member:

                      (i)      the Company shall not be dissolved, liquidated or terminated, and
               the remaining Members shall continue the Company and its operations, business
               and affairs until the dissolution thereof as provided in Section 9.1;

                       (ii)   such affected Member shall thereupon cease to be a Member for all
               purposes of this Agreement and, except as provided in Section 7.3, no officer,
               partner, beneficiary, creditor, trustee, receiver, fiduciary or other legal
               representative and no estate or other successor in interest of such Member (whether
               by operation of law or otherwise) shall become or be deemed to become a Member
               for any purpose under this Agreement;

                       (iii) the interest in the Company of such affected Member shall not be
               subject to withdrawal or redemption in whole or in part prior to the dissolution,
               liquidation and termination of the Company;

                       (iv)    the estate or other successor in interest of such affected Member
               shall be deemed a transferee of, and shall be subject to all of the obligations in
               respect of, the interest in the Company of such affected Member as of the date of
               death, incompetence, insolvency, bankruptcy, dissolution, liquidation or
               termination, except to the extent the Manager releases such estate or successor from
               such obligations; and

                      (v)      any legal representative or successor in interest having lawful
               ownership of the assigned interest in the Company of such affected Member shall
               have the right to receive notices, reports and distributions, if any, to the same extent
               as would have been available to such affected Member.

        7.3     Substitution. A transferee of any interest in the Company may become a substituted
Member, as to the interest in the Company transferred, in place of the transferor only with the
written consent of the Manager and the Members in accordance with Section 3.4, provided, that
no such consent shall be required in connection with any transfer to a Permitted Transferee, which
such Permitted Transferee shall automatically become a substituted member. Unless a transferee
of any interest in the Company of a Member becomes a substituted Member in accordance with
this Agreement, such transferee shall not be entitled to any of the rights granted to a Member
hereunder other than the right to receive all or part of the share of the income, gains, losses,
deductions, expenses, credits, distributions or returns of capital to which its transferor would
otherwise be entitled in respect of the interest in the Company so transferred.

        7.4     Withdrawal. Except as permitted by this Section 7.4, no Member shall have any
right to withdraw or resign from the Company, except that a Member may withdraw (a) after
transfer of such Member’s entire interest in the Company to one or more transferees, all of whom
have been admitted as substituted Members in accordance with Section 7.3, and (b) after executing
an indemnification agreement that indemnifies the Company for such Member’s allocable share



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of any tax arising during any tax period when such Member held a membership interest in the
Company as a result of an adjustment issued by the IRS to the Company subsequent to such
Member’s withdrawal.

                                          ARTICLE 8
                                   Accounting and Tax Matters

         8.1    Fiscal Year. The fiscal year of the Company (“fiscal year”) shall end on
December 31 of each calendar year unless, for U.S. federal income tax purposes, another fiscal
year is required. The Company shall have the same fiscal year for U.S. federal income tax purposes
and for accounting purposes.

        8.2     Books of Account; Tax Returns. The Manager shall cause to be prepared and filed,
all U.S. federal, state and local income and other tax returns required to be filed by the Company
and shall keep or cause to be kept complete and appropriate records and books of account in which
shall be entered all such transactions and other matters relative to the Company’s operations,
business and affairs as are usually entered into records and books of account that are maintained
by persons engaged in business of like character or are required by the Act. Except as otherwise
expressly provided in this Agreement, such books and records shall be maintained in accordance
with the basis utilized in preparing the Company’s U.S. federal income tax returns, which returns,
if allowed by applicable law, may in the discretion of the: Manager be prepared on either a cash
basis or accrual basis.

        8.3     Place Kept; Inspection. The books and records of the Company shall be maintained
at the principal place of business of the Company, and all such books and records shall be available
for inspection and copying at the reasonable request, and at the expense, of any Member during
the ordinary business hours of the Company.

                                          ARTICLE 9
                            Dissolution, Liquidation and Termination

        9.1     Dissolution. The Company shall be dissolved upon the first to occur of the
following events (“Dissolution Events”): (i) the election of the Manager to dissolve the Company
at any time in accordance with Section 3.3; or (ii) the occurrence of any “event requiring winding
up” (as defined by the Act) of the Company.

        9.2     Accounting. After the dissolution of the Company pursuant to Section 9.1, the
books of the Company shall be closed, and a proper accounting of the Company’s assets, liabilities
and operations shall be made by the liquidator of the Company, all as of the most recent practicable
date. The Manager shall serve as liquidator of the Company. If the Manager fails or refuses to
serve as the liquidator, then one or more other persons may be elected to serve as liquidator with
the consent of a majority in interest of all Members. The liquidator shall have all rights and powers
that the Act confers on any person serving in such capacity. The expenses incurred by the
liquidator in connection with the dissolution, liquidation and termination of the Company shall be
borne by the Company.

       9.3    Liquidation. As expeditiously as practicable, but in no event later than one year
(except as may be necessary to avoid unreasonable loss of the Company’s property or business),


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after the dissolution of the Company pursuant to Section 9.1, the liquidator shall wind up the
operations, business and affairs of the Company and liquidate the assets and properties of the
Company. Subject to Section A.III.4 of Schedule B, the proceeds of such liquidation shall be
applied in the following order of priority:

               (a)     first, in payment of the expenses of the liquidation;

               (b)     second, in payment of the liabilities and obligations of the Company to
       creditors of the Company (other than to Members who are also creditors);

               (c)     third, in payment of liabilities and obligations of the Members who are also
       creditors (other than payments in respect of Member loans);

               (d)     fourth, to the Members in accordance with Sections 6.1(b) and (c); and

               (e)     thereafter, (i) 47.94% to HCRE, (ii) 46.06% to HCMLP, and (iii) 6% to BH.

        9.4    Termination. At the time final distributions are made to the Members, a Certificate
of Termination in respect of the Company, together with a certificate from the Comptroller of the
State of Delaware to the effect that all franchise taxes in respect of the Company have been paid
(the “Tax Certificate”), shall be filed in the office of the Secretary of State of the State of Delaware
in accordance with the Act. Except as may be otherwise provided by the Act, the legal existence
of the Company shall terminate upon the filing of the Certificate of Termination and the Tax
Certificate with the Secretary of State of the State of Delaware.

        9.5     No Deficit Capital Account Restoration Obligation. Notwithstanding any other
provision of this Agreement to the contrary, in no event shall any Member who has a deficit
balance in its Capital Account (after giving effect to all capital contributions, distributions and
allocations for all periods, including the fiscal year during which the liquidation of the Company
occurs), have any obligation to make any contribution to the capital of the Company, and such
deficit shall not be considered a debt owed to the Company or any other person for any purpose
whatsoever, except in respect of any deficit balance resulting from a failure to contribute capital
or a withdrawal of capital in contravention of this Agreement.

       9.6     No Other Cause of Dissolution. The Company shall not be dissolved, or its legal
existence terminated, for any reason whatsoever except as expressly provided in this Article 9.

                                           ARTICLE 10
                                      Miscellaneous Provisions

         10.1 Amendments and Waivers. This Agreement may be modified or amended, or any
provision hereof waived, only with the prior written consent of the Manager and HCRE (a copy of
which shall be promptly sent by the Manager to all the Members). For the sake of clarity, no such
amendment shall without a Member’s consent (a) reduce the amounts distributable to, timing of
distributions to, or expectations to distributions of, such Member, (b) increase the obligations or
liabilities of such Member, (c) change the purpose of the Company as set forth in Section 1.3, (d)
change any provision of this Agreement requiring the approval of HCRE or reduce such approval
requirement, (e) borrow funds or otherwise commit the credit of the Company, (f) sell the


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Company or sell all or substantially all assets of the Company, or (g) otherwise materially and
disproportionally impair the rights of such Member under this Agreement.

       10.2 Binding Effect. Except as otherwise specifically provided in this Agreement, this
Agreement shall be binding upon and inure to the benefit of the Members and their respective legal
representatives, successors and permitted assigns.

       10.3 Counterparts. This Agreement may be executed in multiple counterparts, all of
which shall constitute one and the same instrument.

       10.4 Entire Agreement. This Agreement constitutes the entire agreement between the
Members in respect of the subject matter hereof and supersedes all prior agreements and
understandings, if any, between them in respect of such subject matter.

       10.5 Governing Law. This Agreement shall be governed by and construed and enforced
in accordance with the laws of the State of Delaware (without regard to principles of conflicts of
laws).

        10.6 Venue. To the maximum extent permitted by applicable law, each party to this
Agreement hereby irrevocably agrees that any legal action or proceeding arising out of or relating
to this Agreement or any agreements or transactions contemplated hereby, including tort claims,
may be brought only in the courts of the State of Delaware and hereby expressly submits to the
personal jurisdiction and the venue of those courts for the purposes thereof and expressly waives
any claim of improper venue and any claim that those courts are an inconvenient forum.

        10.7 Notices. All notices, requests, demands, consents, votes, approvals, waivers and
other communications required or permitted hereunder shall be effective only if in writing and
delivered (i) in person, (ii) by a nationally recognized overnight courier service requiring
acknowledgment of receipt of delivery, (iii) by U.S. certified or registered mail, postage prepaid
and return receipt requested, or (iv) by facsimile or e-mail, if to the Members, at the addresses,
facsimile numbers or e-mail addresses set forth on Schedule A, and if to the Company, at the
address of its principal place of business referred to in Section 1.4, or to such other address,
facsimile number or e-mail address as the Company or any Member shall have last designated by
notice to the Company and all other parties hereto in accordance with this Section 10.7. Notices
sent by hand delivery shall be deemed to have been given when received or delivery is refused;
notices mailed in accordance with this Section 10.7 shall be deemed to have been given three (3)
days after the date so mailed; notices sent by facsimile shall be deemed to have been given when
electronically confirmed; notices sent by e-mail shall be deemed to have been given when
electronically confirmed; and notices sent by overnight courier shall be deemed to have been given
on the next business day after the date so sent. Notwithstanding the foregoing provisions of this
Section 10.7 (i) routine communications including tax information, financial statements and
reports in respect of the Company may be sent by electronic mail and (ii) distributions will be
made by check or wire transfer pursuant to the instructions provided by a Member.

       10.8 Remedies Cumulative No Waiver. The rights, powers and remedies provided
hereunder are cumulative and are not exclusive of any rights, powers and remedies provided by
applicable law. No delay or omission on the part of any party hereto, whether in one or more



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instances, in exercising any right, power or remedy under any applicable law or provided hereunder
shall impair such right, power or remedy or operate as a waiver thereof. The single or partial
exercise of any right, power or remedy provided by applicable law or provided hereunder shall not
preclude any other or further exercise of any other right, power or remedy.

        10.9 Severability. If any provision of this Agreement, or the application of such
provision to any person or circumstance, shall be held invalid under the applicable law of any
jurisdiction, then the remainder of this Agreement or the application of such provision to other
persons or circumstances or in other jurisdictions shall not be affected thereby. In addition, if any
provision of this Agreement is invalid or unenforceable under any applicable law, then such
provision shall be deemed inoperative to the extent that it may conflict therewith and shall be
deemed modified to conform to such law. Any provision hereof that may prove invalid or
unenforceable under any law shall not affect the validity or enforceability of any other provision
hereof.

         10.10 Waiver of Partition. Each Member hereby irrevocably waives all rights that it
         may have to maintain an action for partition of any of the Company’s property.




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                                    BH EQUITIES, LLC



                                    By:_______________________________________
                                    Name: Ben Roby
                                    Title: Authorized Officer




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                                        Schedule A

                    Capital Contributions and Percentage Interests


Member Name                         Capital Contribution       Percentage
                                                               Interest
HCRE Partners, LLC                  $   291,146,036            47.94%
Highland Capital Management, L.P.   $   49,000                 46.06%
BH Management                       $___21,213,721               6.00%


                              Class A Preferred Interests

Member Name                         Capital Contribution       Class A
                                                               Preferred
                                                               Percentage
                                                               Interest
Liberty CLO HoldCo, Ltd.            $    5,808,603             100%

                              Class B Preferred Interests

Member Name                         Capital Contribution       Class B
                                                               Preferred
                                                               Percentage
                                                               Interest
Liberty CLO HoldCo, Ltd.            $____                      100%



               Capital Percentage Interests in Specified Company Assets



Member Name and Specified     Capital Percentage Interest in
Company Asset                 Specified Company Asset
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                                            Schedule B

                                            Allocations

A.I. Definitions. Capitalized terms used and not defined in this Schedule B have the
meanings ascribed to them in the Agreement, of which this Schedule B forms a part. As used in
this Schedule B, the following additional terms have the following meanings:

                “Adjusted Capital Account Deficit” means, with respect to any Member, the
deficit balance, if any, in such Member’s Capital Account as of the end of the relevant fiscal year
or other period, after giving effect to the following adjustments:

(a)    Credit to such Capital Account any amounts which such Member is obligated to restore
       pursuant to any provision of this Agreement or is deemed to be obligated to restore
       pursuant to the penultimate sentences of Sections 1.704-2(g)(1) and 1.704-2(i)(5) of the
       Treasury Regulations; and

(b)    Debit to such Capital Account the items described in Sections 1.704-1 (b)(2)(ii)(d)(4),
       1.704-1 (b)(2)(ii)(d)(5) and 1.704-1 (b)(2)(ii)(d)(6) of the Treasury Regulations.

               The foregoing definition of Adjusted Capital Account Deficit is intended to
comply with the provisions of Section 1.704-1(b)(2)(ii)(d) of the Treasury Regulations and shall
be interpreted consistently therewith.

                “Book Depreciation” for any asset means for any fiscal year or other relevant
period an amount that bears the same ratio to the Gross Asset Value of that asset at the beginning
of such fiscal year or other relevant period as the federal income tax depreciation, amortization,
or other cost recovery deduction allowable for that asset for such year or other relevant period
bears to the adjusted tax basis of that asset at the beginning of such year or other relevant period;
provided, however, if the federal income tax depreciation, amortization, or other cost recovery
deduction allowable for any asset for such year or other relevant period is zero, then Book
Depreciation for that asset shall be determined with reference to such beginning Gross Asset
Value using any reasonable method selected by the Manager; and provided, further, if the
Company is utilizing the remedial allocation method under Regulations Section 1.704-3(d),
Book Depreciation shall be determined under the rules described in Regulations Section 1.704-
3(d)(2)

            “Capital Account” means the capital account established and maintained for each
Member pursuant to Section A.II of this Schedule B.

               “Capital Percentage Interest” means, with respect to each Member, and with
respect to each Specified Company Asset, the designated percentage listed next to such
Member’s name, in respect of such Specified Company Asset, on Schedule A, attached hereto.

              “Code” means the Internal Revenue Code of 1986, as amended, and the Treasury
Regulations and the rulings issued thereunder.
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            “Company Minimum Gain” has the meaning given to the term “Partnership
Minimum Gain” in Sections 1.704-2(b)(2) and 1.704-2(d) of the Treasury Regulations.

                “Distributable Cash” means all cash, revenues and funds received by the
Company (including, without limitation, from sales, refinancings and other dispositions of
Company property), less the sum of the following: (i) all cash expenditures incurred in the
operation of the Company’s business; (ii) all principal and interest due and owing to senior
lenders holding first mortgages against the Company’s underlying real estate properties; and (iii)
such reserves as the Manager deems reasonably necessary for the proper operation of the
Company’s business. Distributable Cash shall include all principal and interest payments
received by the Company with respect to any note or other obligation in connection with sales or
other dispositions of Company property.

              “Gross Asset Value” means, with respect to any property of the Company (other
than money), such property’s adjusted basis for United States federal income tax purposes, except
that:

(a)    the initial Gross Asset Value of each non-cash asset contributed by a Member to the
       Company shall be the fair market value of such asset on the date of contribution, as
       determined by the agreement of the contributor(s) and the Manager;

(b)    the Gross Asset Value of such property will be adjusted to its fair market value (i)
       whenever such adjustment is required in order for allocations under this Agreement to
       have “economic effect” within the meaning of Treasury Regulations Section 1.704-
       1(b)(2)(ii), and (ii) if the Manager considers appropriate, whenever such adjustment is
       permitted under Treasury Regulations Section 1.704-1(b)(2)(ii);

(c)    the Gross Asset Value of any Company non-cash asset distributed to any Member shall
       be the gross fair market value of such asset on the date of distribution;

(d)    the Gross Asset Value of Company assets shall be increased (or decreased) to reflect any
       adjustment to the adjusted basis of such assets pursuant to Section 734(b) of the Code or
       Section 743(b) of the Code, but only to the extent that such adjustments are taken into
       account in determining Capital Accounts pursuant to Treasury Regulations Section
       1.704-1(b)(2)(iv)(m); provided, however, that the Gross Asset Value of Company assets
       shall not be adjusted pursuant to this clause (d) to the extent the Manager determines that
       an adjustment pursuant to clause (b) above is necessary or appropriate in connection with
       a transaction that would otherwise result in an adjustment pursuant to this clause (d); and

(e)    if the Gross Asset Value of any asset of the Company has been determined pursuant to
       either of clauses (a), (b) or (d) above, the Gross Asset Value of such asset shall thereafter be
       adjusted by Book Depreciation in lieu of depreciation, amortization or other cost recovery
       deductions otherwise allowed for federal income tax purposes.

             “Member Nonrecourse Debt” has the meaning given to the term “Partner
Nonrecourse Debt” in Section 1.704-2(b)(4) of the Treasury Regulations.




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               “Member Nonrecourse Debt Minimum Gain” means an amount, with respect to
each Member Nonrecourse Debt, equal to the Company Minimum Gain that would result if such
Member Nonrecourse Debt were treated as a Nonrecourse Liability, determined in accordance
with Section 1.704-2(i)(3) of the Treasury Regulations.

             “Member Nonrecourse Deductions” has the meaning given to the term “Partner
Nonrecourse Deductions” in Sections 1.704-2(i)(1) and 1.704-2(i)(2) of the Treasury
Regulations.

              “Nonrecourse Deductions” has the meaning set forth in Section 1.704-2(b)(1) of
the Treasury Regulations.

             “Nonrecourse Liability” has the meaning set forth in Section 1.704-2(b)(3) of the
Treasury Regulations.

                ”Net Profit” and “Net Loss” mean, for each fiscal year or other period, the
positive or negative difference, as applicable, between all items of Profit and all items of Loss for
such period; provided that items of Profit and Loss specially allocated to a Member pursuant to
Section 6.4 of the Agreement and Sections A.III.2 and A.III.3 of this Schedule B shall be
excluded from the computation of Net Profit and Net Loss.

                “Profits” and “Losses” means, for each fiscal year or other period, an amount
equal to the Company’s taxable income or losses for such period, determined in accordance with
Code Section 703(a) (for this purpose, all items of income, gain, loss, or deduction required to be
stated separately pursuant to Code Section 703(a)(1) shall be included in taxable income or loss),
with the following adjustments:

(a)    Any income of the Company that is exempt from United States federal income tax and
       not otherwise taken into account in computing Profits or Losses pursuant to this Section
       shall be added to such taxable income or loss;

(b)    Any expenditures of the Company described in Code Section 705(a)(2)(B), or treated as
       Code Section 705(a)(2)(B) expenditures pursuant to Section 1.704-1(b)(2)(iv)(i) of the
       Treasury Regulations, and not otherwise taken into account in computing Profits and
       Losses shall be subtracted from such taxable income or loss;

(c)    In the event the Gross Asset Value of any Company property is adjusted pursuant to the
       definition of “Gross Asset Value”, the amount of such adjustment shall be taken into
       account as gain or losses from the disposition of such property for purposes of computing
       Profits or Losses;

(d)    In lieu of the deduction for depreciation, cost recovery, or amortization taken into
       account in computing such taxable income or loss, there shall be taken into account Book
       Depreciation;

(e)    Gains or losses resulting from the disposition of Company property shall be computed by
       reference to the Gross Asset Value of such property, notwithstanding that the adjusted tax
       basis of such property differs from its Gross Asset Value;


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(f)     To the extent an adjustment to the adjusted tax basis of any Company asset pursuant to
        Code Section 734(b) or Code Section 743(b) is required pursuant to Section 1.704-
        1(b)(2)(iv)(m)(4) of the Treasury Regulations to be taken into account in determining
        Capital Accounts as a result of a distribution other than in complete liquidation of a
        Member’s membership interest, the amount of such adjustment shall be treated as an item
        of gain (if the adjustment increases the basis of the asset) or loss (if the adjustment
        decreases the basis of the asset) from the disposition of the asset and shall be taken into
        account for purposes of computing Profits or Losses.

               “Specified Company Asset” means any capital asset owned by the Company with
respect to which the Members have agreed to share proceeds from a sale, refinancing or other
disposition thereof in a sharing ratio set forth with respect to each such Specified Company Asset
from time to time on Schedule B.

A.II.   Members’ Capital Accounts.

        1.     There shall be established for each Member on the books and records of the
Company a Capital Account. Each Member’s initial Capital Account shall be zero and, without
limiting the generality of the foregoing, shall be adjusted as follows:

(a)     To each Member’s Capital Account there shall be credited such Member’s Capital
        Contributions (net of any liabilities assumed by the Company or which are secured by
        any property contributed by such Member), such Member’s distributive share of Profits
        and any items in the nature of income or gain which are specially allocated pursuant to
        Sections A.III.2 and A.III.3.

(b)     To each Member’s Capital Account there shall be debited the amount of cash and the
        Gross Asset Value of any property distributed to such Member pursuant to any provision
        of this Agreement (net of any liabilities assumed by the Member or which are secured by
        any property distributed to such Member by the Company), such Member’s distributive
        share of Losses and any items in the nature of expenses or losses which are specially
        allocated pursuant to Sections A.III.2 and A.III.3.

       2.      The foregoing provisions and the other provisions of this Agreement relating to the
maintenance of Capital Accounts and allocations to Members (collectively, the “Allocation
Provisions”) are intended to comply with Code Section 704(b) and the Treasury Regulations
thereunder, and shall be interpreted and applied in a manner consistent with such statutory and
regulatory provisions.

       3.      In the event all or a portion of an Interest in the Company is transferred in
accordance with the terms of Section 7.2, the transferee shall succeed to the Capital Account of
the transferor to the extent it relates to the transferred interest, adjusted as required by the
aforementioned Treasury Regulations.

A.III. Allocations.

        1.     Reserved.



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       2.     Special Allocations. The following special allocations shall be made in the
following order, in each case on a Company Asset-by-Company Asset basis:

(a)   Minimum Gain Chargeback. Except as otherwise provided in Section 1.7042(f) of the
      Treasury Regulations, notwithstanding any other provision of this Section A.III.2, if there
      is a net decrease in Company Minimum Gain during any fiscal year or other period, each
      Member shall be specially allocated Profits for such fiscal year or other period (and, if
      necessary, subsequent fiscal years or other periods) in the manner provided in Section
      1.704-2(f) of the Treasury Regulations. This Section A.III.2(a) is intended to comply
      with the minimum gain Chargeback requirement in Section 1.704-2(f) of the Treasury
      Regulations and shall be interpreted consistently therewith.

(b)   Member Minimum Gain Chargeback. Except as otherwise provided in Section 1.704-
      2(i)(4) of the Treasury Regulations, notwithstanding any other provision of this Section
      A.III.2(b), if there is a net decrease in Member Nonrecourse Debt Minimum Gain
      attributable to a Member Nonrecourse Debt during any fiscal year or other period, each
      Member who has a share of the Member Nonrecourse Debt Minimum Gain attributable to
      such Member Nonrecourse Debt, determined in accordance with Section 1.704-2(i)(5) of
      the Treasury Regulations, shall be specially allocated Profits for such fiscal year or other
      period (and, if necessary, subsequent fiscal years or other periods) in the manner provided
      in Section 1.704-2(i)(4) of the Treasury Regulations. The items to be so allocated shall be
      determined in accordance with Sections 1.704-2(i)(4) and 1.704-2(j)(2) of the Treasury
      Regulations. This Section A.III.2(b) is intended to comply with the minimum gain
      chargeback requirement in Section 1.704-2(i)(4) of the Treasury Regulations and shall be
      interpreted consistently therewith.

(c)   Qualified Income Offset. In the event any Member unexpectedly receives any
      adjustments, allocations, or distributions described in Regulations Section 1.704-
      1(b)(2)(ii)(d)(4), Section 1.704-1(b)(2)(ii)(d)(5) or Section 1.704-1(b)(2)(ii)(d)(6) of the
      Treasury Regulations, Profits shall be specially allocated to each such Member in an
      amount and manner sufficient to eliminate, to the extent required by the Treasury
      Regulations, the Adjusted Capital Account Deficit of such Member as quickly as
      possible, provided that an allocation pursuant to this Section A.III.2(c) shall be made only
      if and to the extent that such Member would have an Adjusted Capital Account Deficit
      after all other allocations provided for in this Schedule B have been tentatively made as if
      this Section A.III.2(c) were not in the Agreement. This Section A.III.2(c) is intended to
      comply with the qualified income offset requirement of Section 1.704-1(b)(2)(ii)(d) of
      the Treasury Regulations and shall be interpreted consistently therewith.

(d)   Nonrecourse Deductions. Nonrecourse Deductions for any fiscal year or other period
      shall be allocated to the Members in accordance with the method by which the Members
      share profits, as determined by the Manager.

(e)   Member Nonrecourse Deductions. Any Member Nonrecourse Deductions for any fiscal
      year or other period shall be specially allocated to the Member who bears the economic
      risk of losses with respect to the Member Nonrecourse Debt to which such Member




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       Nonrecourse Deductions are attributable in accordance with Section 1.704-2(i)(1) of the
       Treasury Regulations.

        3.       Curative Allocations. The allocations set forth in clauses 2(a), 2(b), 2(c), 2(d) and
2(e) of Section A.III hereof (the “Regulatory Allocations”) are intended to comply with certain
requirements of the Treasury Regulations. It is the intent of the Members that, to the extent possible,
all Regulatory Allocations shall be offset either with other Regulatory Allocations or with special
allocations of other items of Company income, gain, losses or deduction pursuant to this Section
A.III.3. Therefore, notwithstanding any other provision of this Schedule B (other than the
Regulatory Allocations), the Manager shall make such offsetting special allocations of Company
income, gain, losses or deduction in whatever manner it determines appropriate so that, after such
offsetting allocations are made, each Member’s Capital Account balance is, to the extent possible,
equal to the Capital Account balance such Member would have had if the Regulatory Allocations
were not part of the Agreement and all Company items were allocated pursuant to Section 6.4. In
exercising its discretion under this Section A.III.3, the Manager shall take into account future
Regulatory Allocations under clauses 2(a) and 2(b) of Section A in that, although not yet made, are
likely to offset other Regulatory Allocations previously made.

        4.      Liquidating Allocations. It is intended that immediately prior to a distribution of
proceeds from liquidation of the Company pursuant to Article 9 of this Agreement, the positive
Capital Account balance of each Member shall be equal to the total amount that such Member
would receive upon a liquidation pursuant to Section 6.1. Accordingly, to the extent permissible
under Section 704(b) of the Code and the Treasury Regulations promulgated thereunder, Profits
and Losses and, if necessary, items of gross income, gain, deduction, and loss, of the Company for
the year of liquidation (or, if the liquidation or event spans more than a year, each such year) shall
be allocated among the Members so as to bring the positive Capital Account balance of each
Member as close as possible to the amount that such Member would receive upon a liquidation
pursuant to Section 6.1. Notwithstanding the foregoing, to the extent a Member has been allocated
Profits pursuant to Section 6.4(a) in excess of the amount of distributions received by such Member
under Section 6.1(a), then such Member shall receive the first amount of distributions under
Section 9.3(e), in proportion to the amount of the excess, until such excess has been eliminated,
provided, that the aggregate amount of distributions pursuant to Section 9.3(e) upon a liquidation
shall as close as possible be in proportion to the percentage shares set forth in Section 9.3(e).

A.IV. Other Allocation Rules.

        1.      For purposes of determining the Profits, Losses, or any other items allocable to any
period, Profits. Losses, and any such other items shall be determined on a daily, monthly, or other
basis, as determined by the Manager using any permissible method under Code Section 706 and
the Treasury Regulations thereunder.

       2.     The Company’s “excess nonrecourse liabilities” (as defined in Treasury
Regulations Section 1.752-3(a)(3)) shall be allocated to, the Members in accordance with the
method by which the Members share profits, as determined by the Manager.

       3.      Tax Allocations: Code Section 704(c).




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(a)    For U.S. federal income tax purposes, items of Company income, gain, loss, and
       deduction shall be allocated among the Members in conformity with the book allocations
       described in the preceding sections of this Schedule B except as otherwise provided in
       this Section A.IV.3.

(b)    Solely for federal income tax purposes, items of taxable income, gain, loss and deduction
       shall be allocated among the Members in accordance with Section 704(c) of the Code to
       the extent necessary to reduce or eliminate any disparity between the Gross Asset Value
       and adjusted tax basis, at the time of contribution or pursuant to subparagraph (b) of the
       definition of Gross Asset Value, of any asset of the Company contributed to the
       Company or that has been revalued on the books of the Company. Any elections or other
       decisions relating to such allocation shall be made by the Manager in any manner that
       reasonably reflects the purpose and intention of the Agreement.

(c)    In the event that the Company has taxable income that is characterized as ordinary
       income under the depreciation and amortization recapture provisions of Sections 1245
       and 1250 of the Code, such income shall, to the maximum extent permissible under the
       Code and Regulations, be allocated to the Members that were allocated the depreciation
       and amortization giving rise to such recapture amounts.

(d)    Allocations pursuant to this Section A.IV.3 are solely for purposes of United States
       federal, state, and local taxes and shall not affect, or in any way be taken into account in
       computing, any Member’s Capital Account or share of Profits, Losses, other items, or
       distributions pursuant to any provision of this Agreement.

B.     Company Representative.

        The partnership representative of the Company pursuant to Code Section 6223 shall be a
Person designated from time to time by the Manager subject to replacement by the Manager. (Any
Person who is designated as the partnership representative is referred to herein as the “Company
Representative”). The Company Representative shall inform HCRE of all significant matters that
may come to its attention in its capacity as Company Representative by giving notice thereof on
or before the 20th day after becoming aware thereof and, within that time, shall forward to each
Member copies of all significant written communications it may receive in that capacity. The
Company Representative shall take no action without the authorization of the Manager, other than
such action as may be required by law. Any reasonable, documented cost or expense incurred by
the Company Representative in connection with its duties, including the preparation for or
pursuance of administrative or judicial proceedings, shall be paid by the Company. The Company
Representative shall not enter into any extension of the period of limitations for making
assessments on behalf of the Members without first obtaining the consent of the Manager. If any
Member intends to flea notice of inconsistent treatment under Code Section 6222(b), such Member
shall give reasonable notice under the circumstances to the other Members of such intent and the
manner in which the Member’s intended treatment of an item is (or may be) inconsistent with the
treatment of that item by the other Members.

C.     Tax Elections.




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        1.     The Manager may cause the Company to make all elections required or permitted
to be made by the Company under the Code (including but not limited to an election under Section
754 or Section 743(e) of the Code); provided, that, the Manager shall make an election under
Section 754 of the Code if requested in writing by a Member, whether such Member is a transferor
or transferee.




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                       CLAIMANT’S EXHIBIT 3
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                                                                                             Claim #146 Date Filed: 4/8/2020
                                                       Main Document     Page 64 of 792
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HCRE Partner, LLC
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HCRE Partner, LLC
   creditor be sent?
                                 300 Crescent Court, Ste. 700
                                 Name                                                                            Name
                                 Dallas, TX 75201
    Federal Rule of
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone                                                                   Contact phone

                                 Contact email       bryan.assink@bondsellis.com                                 Contact email


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
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                                                                                                                            1934054200408000000000058
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See attached Exhibit "A"                   . Does this amount include interest or other charges?
                                                                                 ✔ No
                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See attached Exhibit "A"


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                        ¨1¤}HV4$(                  Z~«
                                                                                                            1934054200408000000000058
                                                                                                                                                page 2
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/James D. Dondero
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       James D. Dondero
                                                             First name                             Middle name                            Last name

                                  Title

                                  Company                    HCRE Partner, LLC
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
                                                                                                                          ¨1¤}HV4$(                  Z~«
                                                                                                                              1934054200408000000000058
                                                                                                                                                                    page 3
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                                       KCCMain
                                           ePOC   ElectronicPage
                                               Document      Claim  Filing
                                                                 67 of 792 Summary
                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
               19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                     Has Supporting Documentation:
               HCRE Partner, LLC                                            Yes, supporting documentation successfully uploaded
                                                                     Related Document Statement:
              300 Crescent Court, Ste. 700

                                                                     Has Related Claim:
              Dallas, TX, 75201
                                                                            No
              Phone:                                                 Related Claim Filed By:
              Phone 2:
                                                                     Filing Party:
              Fax:                                                           Authorized agent
              Email:
              bryan.assink@bondsellis.com
       Other Names Used with Debtor:                                 Amends Claim:
                                                                             No
                                                                     Acquired Claim:
                                                                             No
       Basis of Claim:                                               Last 4 Digits:        Uniform Claim Identifier:
              See attached Exhibit "A"                                       No
       Total Amount of Claim:                                        Includes Interest or Charges:
              See attached Exhibit "A"                                       No
       Has Priority Claim:                                           Priority Under:
              No
       Has Secured Claim:                                             Nature of Secured Amount:
              No                                                      Value of Property:
       Amount of 503(b)(9):                                           Annual Interest Rate:
              No
                                                                      Arrearage Amount:
       Based on Lease:
              No                                                      Basis for Perfection:
       Subject to Right of Setoff:                                    Amount Unsecured:
              No
       Submitted By:
              James D. Dondero on 08-Apr-2020 4:47:11 p.m. Eastern Time
       Title:

       Company:
            HCRE Partner, LLC




VN: E06680EE00F9144D26F793E57FB2634B
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                                            Exhibit A

        HCRE Partner, LLC (“Claimant”) is a limited partner with the Debtor in an entity called
SE Multifamily Holdings, LLC (“SE Multifamily”). Claimant may be entitled to distributions out
of SE Multifamily, but such distributions have not been made because of the actions or inactions
of the Debtor. Additionally, Claimant contends that all or a portion of Debtor’s equity, ownership,
economic rights, equitable or beneficial interests in SE Multifamily does belong to the Debtor or
may be the property of Claimant. Accordingly, Claimant may have a claim against the
Debtor. Claimant has requested information from the Debtor to ascertain the exact amount of its
claim. This process is on-going. Additionally, this process has been delayed due to the outbreak
of the Coronavirus. Claimant is continuing to work to ascertain the exact amount of its claim and
will update its claim in the next ninety days.
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                       CLAIMANT’S EXHIBIT 4
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                                                                Execution Version




                           BRIDGE LOAN AGREEMENT

                                     dated as of

                                September 26, 2018

                                       among

    HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY
  INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL
   ESTATE ADVISORS IV, L.P., SE MULTIFAMILY REIT HOLDINGS, LLC, AND CERTAIN
                       PROPERTY OWNERS LISTED HEREIN,
                                collectively, as Borrower

                                        and

                              The Lenders Party Hereto

                                        and

                       KEYBANK NATIONAL ASSOCIATION,
                             as Administrative Agent

                                        and

                         KEYBANC CAPITAL MARKETS,
                        As Sole Lead Arranger and Bookrunner




                                                                          Exhibit 3
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Schedule 3.05    –      Portfolio Properties
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EXHIBITS:

Exhibit A        --     Form of Assignment and Acceptance
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Exhibit D        –      Form of Note
Exhibit E        –      Form of Borrowing Request/Interest Rate Election
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                     BRIDGE LOAN AGREEMENT (“Agreement”) dated as of

                                   September 26, 2018, among

    HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY
  INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL
ESTATE ADVISORS IV, L.P., SE MULTIFAMILY REIT HOLDINGS, LLC, AND THE PROPERTY
OWNERS LISTED ON SCHEDULE 1.01 HERETO, individually and collectively, jointly and severally,
                                   as Borrower,

                                   the LENDERS party hereto,

                KEYBANK NATIONAL ASSOCIATION, as Administrative Agent,

                                              And

             KEYBANC CAPITAL MARKETS, as Sole Lead Arranger and Boookrunner


                                           ARTICLE I

                                          Definitions

      Section 1.01 Defined Terms. As used in this Agreement, the following terms have the
meanings specified below:

        “ABR,” when used in reference to any Loan or Borrowing, refers to whether such Loan,
or the Loans comprising such Borrowing, are bearing interest at a rate determined by reference
to the Alternate Base Rate.

       “Adjusted EBITDA” means (a) EBITDA for the most recently ended calendar quarter,
annualized, less (b) the Capital Expenditure Reserve.

         “Adjusted LIBO Rate” means, with respect to any Eurodollar Borrowing for any Interest
Period, an interest rate per annum (rounded upwards, if necessary, to the next 1/100 of 1%) equal
to (a) the LIBO Rate for such Interest Period multiplied by (b) the Statutory Reserve Rate.

       “Administrative Agent” means KeyBank, National Association, in its capacity as
administrative agent for the Lenders hereunder.

       “Administrative Questionnaire” means an Administrative Questionnaire in a form
supplied by the Administrative Agent.

      “Advisor” means, collectively, NexPoint Advisors, L.P. and NexPoint Real Estate
Advisors IV, L.P.

        “Affiliate” means, with respect to a specified Person, another Person that directly, or
indirectly through one or more intermediaries, Controls or is Controlled by or is under common
Control with the Person specified.
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        “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of
(a) the Prime Rate in effect on such day, (b) the Federal Funds Effective Rate in effect on such
day plus 1/2 of 1%, and (c) the applicable LIBO Rate for a one month Interest Period plus one
percent (1%) per annum. Any change in the Alternate Base Rate due to a change in the Prime
Rate or the Federal Funds Effective Rate shall be effective from and including the effective date
of such change in the Prime Rate or the Federal Funds Effective Rate, respectively.

        “Anti-Corruption Laws” means all Legal Requirements of any jurisdiction concerning or
relating to bribery or corruption, including without limitation, the Foreign Corrupt Practices Act
of 1977.

        “Anti-Money Laundering Laws” means all Legal Requirements related to the financing
of terrorism or money laundering, including without limitation, any applicable provision of the
Patriot Act and The Currency and Foreign Transactions Reporting Act (also known as the “Bank
Secrecy Act,” 31 U.S.C. §§ 5311-5330 and 12U.S.C. §§ 1818(s), 1820(b) and 1951-1959).

       “Applicable Percentage” means, with respect to any Lender, the percentage of the total
Commitments of the Lenders represented by such Lender's Commitment. If the Commitments
have terminated or expired, the Applicable Percentages shall be determined based upon the
Commitments most recently in effect, giving effect to any assignments.

        “Applicable Rate” means, a rate per annum equal to: (a) with respect to Tranche A
Loans, for any Eurodollar Borrowing or Daily LIBOR Borrowing, 140 basis points, and for any
ABR Borrowing, 40 basis points and (b) with respect to Tranche B Loans, for any Eurodollar
Borrowing or Daily LIBOR Borrowing, 375 basis points, and for any ABR Borrowing, 275 basis
points.

        “Appraisal” (whether one or more) means a written appraisal of the Mortgaged Properties
by an MAI appraiser satisfactory to the Administrative Agent. Each Appraisal must comply with
all Legal Requirements and, unless specifically provided to the contrary in this Agreement, must
be in form and substance reasonably satisfactory to the Administrative Agent.

       “Appraised Value” means the “as is” value of Real Property, as set forth in the most
recent Appraisal for such Real Property.

       “Approved Fund” has the meaning set forth in Section 9.04(b).

       “Approved Lease” has the meaning set forth in Section 5.16.

        “Arranger” means KeyBanc Capital Markets or any successors thereto.

       “Assignment and Acceptance” means an assignment and acceptance entered into by a
Lender and an assignee (with the consent of any party whose consent is required by
Section 9.04), and accepted by the Administrative Agent, in the form of Exhibit A or any other
form approved by the Administrative Agent.




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       “Assignment of Leases and Rents” means an assignment of leases and rents from the
applicable Borrower to the Administrative Agent delivered to secure the Obligations, as may be
modified or amended.

       “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

        “Bail-In Legislation” means, with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the
European Union, the implementing law for such EEA Member Country from time to time, which
is described in the EU Bail-In Legislation Schedule.

       “Beneficial Ownership Certification” means a certification regarding beneficial
ownership required by the Beneficial Ownership Regulation, which certification shall be
substantially similar in form and substance to the form of Certification Regarding Beneficial
Owners of Legal Entity Customers published jointly, in May 2018, by the Loan Syndications and
Trading Association and Securities Industry and Financial Markets Association, or such other
form as may be reasonably requested by any Lender.

       “BH Pledgor” means BHSL Holdings, LLC, an Iowa limited liability company.

      “BH Loan” means that certain $10,000,000 loan from SE Multifamily Holdings, LLC, a
Delaware limited liability company, to the BH Pledgor pursuant to the BH Loan Agreement.

      “BH Loan Agreement” means that certain Promissory dated as of the Effective Date by
SE Multifamily Holdings, LLC, a Delaware limited liability company, and BH Pledgor.

       “BH Loan Documents” means, collectively, the BH Loan Agreement, the BH Pledges,
and each other documents or certificate entered into in connection therewith.

        “BH Pledges” means those certain Pledge and Security Agreements by the BH Pledgor
and/or its Subsidiaries in favor of the Lender to secure the BH Loan, which have been assigned
to the Administrative Agent as Collateral for the loan.

        “Board” means the Board of Governors of the Federal Reserve System of the United
States of America.

        “Borrower” means, individually and collectively, jointly and severally, Highland Capital,
HCRE PARTNERS, LLC, a Delaware limited liability company, The Dugaboy Investment
Trust, The SLHC Trust, NEXPOINT ADVISORS, L.P., a Delaware limited partnership,
NEXPOINT REAL ESTATE ADVISORS IV, L.P., a Delaware limited partnership, the REIT
Borrower, and each Property Owner Borrower.

       “Borrowing” means Loans of the same Type, made, converted or continued on the same
date and, in the case of Eurodollar Loans, as to which a single Interest Period is in effect.

       “Borrowing Request” means a request by the Borrower for a Borrowing in accordance
with Section 2.03.


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        “Business Day” means any day that is not a Saturday, Sunday or other day on which
commercial banks in Boston, Massachusetts or New York, New York are authorized or required
by law to remain closed; provided that, when used in connection with a Eurodollar Loan or Daily
LIBOR Loan, the term “Business Day” shall also exclude any day on which banks are not open
for dealings in dollar deposits in the London interbank market.

        “Capital Expenditure Reserve” means, on an annual basis, an amount equal to $250 per
unit with respect to each Real Property owned by the Borrower or any Subsidiary.

        “Capital Lease Obligations” of any Person means the obligations of such Person to pay
rent or other amounts under any lease of (or other arrangement conveying the right to use) real or
personal property, or a combination thereof, which obligations are required to be classified and
accounted for as capital leases on a balance sheet of such Person under GAAP, and the amount
of such obligations shall be the capitalized amount thereof determined in accordance with
GAAP.

        “Capital Stock” means, collectively, all shares of capital stock (whether denominated as
common or preferred stock), equity interests, partnership, limited liability company, or
membership interests, joint venture interests or other ownership interests in or equivalents of or
in a Person (other than an individual), whether voting or non-voting, and to the extent not
included in the foregoing, any of a member’s or partner’s control rights in such Person, including
the rights to manage or participate in management, voting rights, inspection rights and other
rights.

        “Change in Control” means (a) a transfer or series of transfers of any legal or equitable
interest since the Effective Date that results in a change of more than 50% of the ownership
interests in any Borrower (other than the Property Owner Borrowers); (b) James Dondero ceases
to be the manager of HCRE Partners, LLC, a Delaware limited liability company, the sole
member of NexPoint Advisors GP, LLC, or the sole member of NexPoint Real Estate Advisors
GP, LLC, in each case, unless replaced with an Affiliate thereof; (c) the acquisition of more than
50% of the ownership interests in HCRE Partners, LLC by any Person other than The Dugaboy
Investment Trust, unless replaced with an Affiliate of James Dondero; (d) the failure of Highland
Capital, HCRE Partners, LLC, and the REIT Borrower, in the aggregate, to own, directly or
indirectly, free and clear of any Liens except those granted in favor of the Agent, 90% of the
ownership interests in, and Control, each Property Owner Borrower, (e) the replacement,
removal or resignation of NexPoint Real Estate Advisors GP, LLC as general partner of
NexPoint Real Estate Advisors IV, L.P., unless replaced with an Affiliate thereof, (f) the
replacement, removal or resignation of NexPoint Advisors GP, LLC as general partner of
NexPoint Advisors, L.P., unless replaced with an Affiliate thereof, or (g) the replacement,
removal or resignation of the trustee of the SLHC Trust as of the Effective Date, unless replaced
with an Affiliate thereof.

        “Change in Law” means (a) the adoption of any law, rule or regulation after the date of
this Agreement by any Governmental Authority, (b) any change in any law, rule or regulation or
in the interpretation or application thereof by any Governmental Authority after the date of this
Agreement or (c) compliance by any Lender (or, for purposes of Section 2.15(b), by any lending
office of such Lender or by such Lender's holding company, if any) with any request, guideline


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or directive (whether or not having the force of law) of any Governmental Authority made or
issued after the date of this Agreement. Notwithstanding anything herein to the contrary, (a) the
Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests, rules, guidelines
or directives thereunder or issued in connection therewith and (b) all requests, rules, guidelines
or directives promulgated by the Bank for International Settlements, the Basel Committee on
Banking Supervision (or any successor or similar authority) or the United States or foreign
regulatory authorities, in each case pursuant to Basel III, shall in each case be deemed to be a
“Change in Law”, regardless of the date enacted, adopted or issued.

       “Code” means the Internal Revenue Code of 1986, as amended from time to time.

       “Collateral” means all property, tangible or intangible, real, personal or mixed, now or
hereafter subject to the liens and security interests of the Loan Documents, or intended so to be,
which Collateral shall secure the Obligations and Hedging Obligations.

       “Collateral Assignment of Management Contract” means each Collateral Assignment of
Management Contract by and among a Borrower, the applicable manager and the Administrative
Agent previously, now or hereafter delivered to secure the Obligations, as the same may be
amended, modified, supplemented or replaced from time to time.

        “Collateral Subsidiary” means each Subsidiary of the Borrower which owns a direct or
indirect interest in a Portfolio Property.

      “Commitment” means, with respect to each Lender, the commitment of such Lender to
make Loans hereunder as set forth on Schedule 2.01. As of the Effective Date, the aggregate
amount of the Lenders’ Commitments is $556,275,000.00.

       “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.),
as amended from time to time, and any successor statute.

       “Communication” has the meaning set forth in ARTICLE VIII.

       “Compliance Certificate” has the meaning set forth in Section 5.01(d) hereof and a form
of which is attached hereto as Exhibit B.

       “Connection Income Taxes” means Other Connection Taxes that are imposed on or
measured by net income (however denominated) or that are franchise Taxes or branch profits
Taxes.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise
voting power, by contract or otherwise, which includes the customary powers of a managing
member of any limited liability company, any general partner of any limited partnership, or any
board of directors of a corporation. “Controlling” and “Controlled” have meanings correlative
thereto.

       “Cost To Repair” has the meaning set forth in Section 5.06(d).



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       “Current Survey” means a boundary survey of each Mortgaged Property.

        “Daily LIBOR” means, for any Business Day, the LIBO Rate as determined by the
Administrative Agent for a Loan with an Interest Period of one month in the amount of the
subject Daily LIBOR Loan.

        “Debtor Relief Laws” means any applicable liquidation, conservatorship, bankruptcy,
moratorium, rearrangement, insolvency, fraudulent conveyance, reorganization, or similar laws
affecting the rights, remedies, or recourse of creditors generally, including without limitation the
Bankruptcy Code and all amendments thereto, as are in effect from time to time during the term
of this Agreement.

      “Default” means any event or condition which constitutes an Event of Default or which
upon notice, lapse of time or both would, unless cured or waived, become an Event of Default.

        “Defaulting Lender” means any Lender that: (a) has failed to perform any of its funding
obligations hereunder, including in respect of its Commitment, within two (2) Business Days of
the date required to be funded by it hereunder; (b) has notified the Borrower or Administrative
Agent that it does not intend to comply with its funding obligations or has made a public
statement to that effect with respect to its funding obligations hereunder (unless such notification
or public statement relates to such Lender’s obligation to fund a Loan and indicates that such
position is based on such Lender’s good faith determination that a condition precedent
(specifically identified and including the particular Default, if any) to funding a Loan is not or
cannot be satisfied) or under other agreements in which it commits to extend credit; (c) has
failed, within two (2) Business Days after written request by the Administrative Agent or a
Borrower (and the Administrative Agent has received a copy of such request), to confirm in a
manner satisfactory to the Administrative Agent that it will comply with its funding obligations
hereunder; or (d) has, or has a direct or indirect parent company that has: (i) become the subject
of a proceeding under any Debtor Relief Law; (ii) had a receiver, conservator, trustee,
administrator, assignee for the benefit of creditors or similar Person charged with reorganization
or liquidation of its business or a custodian appointed for it; or (iii) in the good faith
determination of the Administrative Agent, taken any material action in furtherance of, or
indicated its consent to, approval of or acquiescence in any such proceeding or appointment; or
(iv) become the subject of a Bail-In Action; provided that a Lender shall not be a Defaulting
Lender solely by virtue of the ownership or acquisition of any equity interest in that Lender or
any direct or indirect parent company thereof by a Governmental Authority; provided, further,
that such ownership interest does not result in or provide such Lender with immunity from the
jurisdiction of courts within the United States or from the enforcement of judgments or writs of
attachment on its assets or permit such Lender (or such Governmental Authority) to reject,
repudiate, disavow or disaffirm any contracts or agreements made by such Lender.

       “Designated Jurisdiction” means any country, region, or territory to the extent that such
country, region, or territory itself, or its government, is the subject or target of any Sanction.

       “Dollars” or “$” refers to lawful money of the United States of America.

       “DST” means, a Delaware statutory trust.


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        “DST Depositor” means the Portfolio One DST Depositor, the Portfolio Two DST
Depositor, the Portfolio Three DST Depositor, the Stonebridge DST Depositor, and any other
Person approved by the Agent that becomes a depositor with respect to any DST that owns an
interest in the properties owned by the Portfolio One DST, Portfolio Two DST, or Portfolio
Three DST, as of the Effective Date.

       “DST Sale” has the meaning set forth in Section 6.13(a).

       “DST Permitted Sale” has the meaning set forth in Section 6.13(a).

         “EBITDA” means an amount derived from (a) net income, plus (b) to the extent included
in the determination of net income, depreciation, amortization, interest expense and income
taxes, plus or minus (c) to the extent included in the determination of net income, any
extraordinary losses or gains, such as those resulting from sales of payment of Indebtedness, plus
(d) to the extent not capitalized, the amount of non-recurring expenses, fees, costs and charges
incurred in connection with the Loan, plus (e) to the extent not capitalized, the amount of all
non-recurring expenses, fees, costs and charges incurred with any acquisition, issuance of debt or
equity, asset disposition or investment permitted hereunder, or any proposed or actual
amendment, modification or refinancing of any Indebtedness, plus or minus (f) to the extent
included in the determination of net income, any realized or unrealized losses or gains on
investments; in each case, as determined for Borrower and its Wholly-Owned Subsidiaries on a
consolidated basis, and including (without duplication) the Equity Percentage of EBITDA for the
Borrower’s Unconsolidated Affiliates.

      “Economic Interests Pledge” means that certain Pledge and Security Agreement
(Economic Interests), dated as of the date hereof, by and among certain of the Borrowers and the
Administrative Agent.

        “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA
Resolution Authority, (b) any entity established in an EEA Member Country which is a parent of
an institution described in clause (a) of this definition, or (c) any financial institution established
in an EEA Member Country which is a subsidiary of an institution described in clauses (a) or (b)
of this definition and is subject to consolidated supervision with its parent;

       “EEA Member Country” means any of the member states of the European Union,
Iceland, Liechtenstein, and Norway.

        “EEA Resolution Authority” means any public administrative authority or any Person
entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

        “Effective Date” means the date on which the conditions specified in Section 4.01 are
satisfied (or waived in accordance with Section 9.02).

       “Electronic System” has the meaning set forth in ARTICLE VIII.



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        “Environmental Assessment” shall mean a written assessment and report approved by the
Administrative Agent as to the status of each Mortgaged Property regarding compliance with
any Legal Requirements related to environmental matters and accompanied by a reliance letter
satisfactory to the Administrative Agent. Each Environmental Assessment must comply with all
Legal Requirements.

        “Environmental Claim” means any notice of violation, action, claim, Environmental
Lien, demand, abatement or other order or direction (conditional or otherwise) by any
Governmental Authority or any other Person for personal injury (including sickness, disease or
death), tangible or intangible property damage, damage to the environment, nuisance, pollution,
contamination or other adverse effects on the environment, or for fines, penalties or restriction,
resulting from or based upon (i) the existence, or the continuation of the existence, of a Release
(including, without limitation, sudden or non-sudden accidental or non-accidental Releases) of,
or exposure to, any Hazardous Material, or other Release in, into or onto the environment
(including, without limitation, the air, soil, surface water or groundwater) at, in, by, from or
related to any property owned, operated or leased by the Borrower or any of its Subsidiaries or
any activities or operations thereof; (ii) the environmental aspects of the transportation, storage,
treatment or disposal of Hazardous Materials in connection with any property owned, operated
or leased by the Borrower or any of its Subsidiaries or their operations or facilities; or (iii) the
violation, or alleged violation, of any Environmental Laws or Environmental Permits of or from
any Governmental Authority relating to environmental matters connected with any property
owned, leased or operated by the Borrower or any of its Subsidiaries.

       “Environmental Indemnity” means that certain Environmental Compliance and
Indemnity Agreement of even date herewith by the Borrower and delivered to the Administrative
Agent, together with any other environmental risk or indemnity agreement hereafter executed
with respect to any Mortgaged Property.

         “Environmental Laws” means all applicable laws, rules, regulations, codes, ordinances,
orders, decrees, judgments, injunctions, or binding agreements issued, promulgated or entered
into by any Governmental Authority, relating in any way to the environment, preservation or
reclamation of natural resources, the management, release or threatened release of any
Hazardous Material or to health and safety matters and includes (without limitation) the
Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”), 42
U.S.C. § 9601 et seq., the Hazardous Materials Transportation Act, 49 U.S.C. § 1801 et seq.,
the Federal Insecticide, Fungicide, and Rodenticide Act, 7 U.S.C. § 136 et seq., the Resource
Conservation and Recovery Act (“RCRA”), 42 U.S.C. § 6901 et seq., the Toxic Substances
Control Act, 15 U.S.C. § 2601 et seq., the Clean Air Act, 42 U.S.C. §7401 et seq., the Clean
Water Act, 33 U.S.C. § 1251 et seq., the Occupational Safety and Health Act, 29 U.S.C. § 651
et seq., (to the extent the same relates to any Hazardous Materials), and the Oil Pollution Act of
1990, 33 U.S.C. § 2701 et seq., as such laws have been amended or supplemented, and the
regulations promulgated pursuant thereto, and all analogous state and local statutes.

         “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities), of the
Borrower or any Subsidiary directly or indirectly resulting from or based upon (a) violation of



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any Environmental Law, (b) exposure to any Hazardous Materials in violation of any
Environmental Law, (c) the Release or threatened Release of any Hazardous Materials into the
environment in violation of any Environmental Law or (d) any contract, agreement or other
consensual arrangement pursuant to which liability is assumed or imposed with respect to any of
the foregoing.

       “Environmental Lien” means any lien in favor of any Governmental Authority arising
under any Environmental Law.

       “Environmental Permit” means any permit required under any applicable Environmental
Law or under any and all supporting documents associated therewith.

        “Equity Interests” means, with respect to any Person, all of the shares, partnership or
membership interests, economic and other rights, participations or other equivalents (however
designated) of Capital Stock of such Person, all of the warrants, options or other rights for the
purchase or acquisition from such Person of shares of Capital Stock of such Person, all of the
securities convertible into or exchangeable for shares of Capital Stock of such Person or
warrants, rights or options for the purchase or acquisition from such Person of such shares (or
such other interests), and all of the other ownership or profit interests in such Person (including
partnership, membership or trust interests therein), whether voting or nonvoting, and whether or
not such shares, warrants, options, rights or other interests are outstanding on any date of
determination.

        “Equity Offering” means, any issuance and/or sale after the effective Date by any Person
of any Equity Interests or equity securities of such Person, including, without limitation, (a) any
new preferred securities, and (b) any conversion of equity interests or securities into equity
interests in such Person.

        “Equity Percentage” means the aggregate ownership percentage of Borrower in each
Unconsolidated Affiliate, which shall be calculated as the greater of (a) Borrower’s nominal
capital ownership interest in the Unconsolidated Affiliate as set forth in the Unconsolidated
Affiliate’s organizational documents, and (b) Borrower’s economic ownership interest in the
Unconsolidated Affiliate, reflecting Borrower’s share of income and expenses of the
Unconsolidated Affiliate.

        “Equity Proceeds Pledge” shall mean the pledge and security agreement dated as of even
date herewith related to any equity issuance proceeds of the Borrower granted by the Borrower
to the Administrative Agent, together with all other instruments, agreements and written
obligations executed and/or delivered by any of the Borrowers in connection therewith.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
from time to time.

        “ERISA Affiliate” means any trade or business (whether or not incorporated) that,
together with the Borrower, is treated as a single employer under Section 414(b) or (c) of the
Code or, solely for purposes of Section 302 of ERISA and Section 412 of the Code, is treated as
a single employer under Section 414 of the Code.


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        “ERISA Event” means (a) any “reportable event”, as defined in Section 4043 of ERISA
or the regulations issued thereunder with respect to a Plan (other than an event for which the 30-
day notice period is waived); (b) the existence with respect to any Plan of an “accumulated
funding deficiency” (as defined in Section 412 of the Code or Section 302 of ERISA), whether
or not waived; (c) the filing pursuant to Section 412(d) of the Code or Section 303(d) of ERISA
of an application for a waiver of the minimum funding standard with respect to any Plan; (d) the
incurrence by the Borrower or any of its ERISA Affiliates of any liability under Title IV of
ERISA with respect to the termination of any Plan; (e) the receipt by the Borrower or any
ERISA Affiliate from the PBGC or a plan administrator of any notice relating to an intention to
terminate any Plan or Plans or to appoint a trustee to administer any Plan; (f) the incurrence by
the Borrower or any of its ERISA Affiliates of any liability with respect to the withdrawal or
partial withdrawal from any Plan or Multiemployer Plan; or (g) the receipt by the Borrower or
any ERISA Affiliate of any notice, or the receipt by any Multiemployer Plan from the Borrower
or any ERISA Affiliate of any notice, concerning the imposition of Withdrawal Liability or a
determination that a Multiemployer Plan is, or is expected to be, insolvent or in reorganization,
within the meaning of Title IV of ERISA.

       “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor person), as in effect from time to time.

       “Eurodollar,” when used in reference to any Loan or Borrowing, refers to whether such
Loan, or the Loans comprising such Borrowing, are bearing interest at a rate determined by
reference to the Adjusted LIBO Rate.

       “Event of Default” has the meaning assigned to such term in Article VII.

        “Excluded Swap Obligation” means, with respect to the liability of any Borrower with
respect to a Swap Obligation, including the grant of a security interest to secure such Swap
Obligation, any Swap Obligation if, and to the extent that, such Swap Obligation is or becomes
illegal under the Commodity Exchange Act or any rule, regulation or order of the Commodity
Futures Trading Commission (or the application or official interpretation of any thereof) by
virtue of such Borrower’s failure for any reason to constitute an “eligible contract participant” as
defined in the Commodity Exchange Act and the regulations thereunder at the time the liability
or grant of such security interest becomes effective with respect to such Swap Obligation. If a
Swap Obligation arises under an agreement governing more than one swap, such exclusion shall
apply only to the portion of such Swap Obligation that is attributable to swaps for which such
Swap Obligation or security interest is or becomes illegal.

        “Excluded Taxes” means, any of the following Taxes imposed on or with respect to a
Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes
imposed on or measured by net income (however denominated), franchise Taxes, and branch
profits Taxes, in each case, (i) imposed as a result of such Recipient being organized under the
laws of, or having its principal office or, in the case of any Lender, its applicable lending office
located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that
are Other Connection Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes imposed
on amounts payable to or for the account of such Lender with respect to an applicable interest in
a Loan or its Commitment pursuant to Legal Requirements in effect on the date on which (i)


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such Lender acquires such interest in the Loan or its Commitment (other than pursuant to an
assignment request by the Borrowers under Section 2.17 as a result of costs sought to be
reimbursed pursuant to Section 2.17 or (ii) such Lender changes its lending office, except in each
case to the extent that, pursuant to Section 2.17 amounts with respect to such Taxes were payable
either to such Lender’s assignor immediately before such Lender became a party hereto or to
such Lender immediately before it changed its lending office, (c) Taxes attributable to such
Recipient’s failure to comply with Section 2.17 and (d) any U.S. federal withholding Taxes
imposed under FATCA.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of the
Code.

        “Federal Funds Effective Rate” means, for any day, the weighted average (rounded
upwards, if necessary, to the next 1/100 of 1%) of the rates on overnight Federal funds
transactions with members of the Federal Reserve System arranged by Federal funds brokers, as
published on the next succeeding Business Day by the Federal Reserve Bank of New York, or, if
such rate is not so published for any day that is a Business Day, the average (rounded upwards, if
necessary, to the next 1/100 of 1%) of the quotations for such day for such transactions received
by the Administrative Agent from three Federal funds brokers of recognized standing selected by
it. Notwithstanding the foregoing, if the Federal Funds Effective Rate shall be less than zero,
such rate shall be deemed zero for the purposes of this Agreement.

       “Fee Letter” means that certain Fee Letter dated as of the date hereof by and between the
Borrower and the Agent, as the same may be amended, restated, supplemented, or otherwise
modified from time to time.

        “Financing Statements” means all such Uniform Commercial Code financing statements
as the Administrative Agent shall require, duly authorized by the Borrower, to give notice of and
to perfect or continue perfection of the Lenders' security interest in all Collateral.

         “Fixed Charge Coverage Ratio” means the ratio of (a) Adjusted EBITDA for the
immediately preceding calendar quarter of Borrower and its Subsidiaries to (b) the sum of (i) all
regularly scheduled principal due and payable and actually paid on Indebtedness (other than
amounts paid in connection with balloon maturities and payments in respect of the Loans),
including the Equity Percentage for such amounts for the Borrower’s Unconsolidated Affiliates,
plus (ii) all Interest Expense, plus (iii) the aggregate amount of all cash dividends payable on any
preferred stock for the immediately preceding calendar quarter, in each case, for the Borrower
and its Subsidiaries.

       “Foreign Lender” means, if a Borrower is a U.S. Person, a Lender that is not a U.S.
Person, and if a Borrower is not a U.S. Person, a Lender that is resident or organized under the
laws of a jurisdiction other than that in which such Borrower is resident for tax purposes.




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      “GAAP” means generally accepted accounting principles in the United States of
America, subject to the provisions of Section 1.04.

        “Governmental Authority” means the government of the United States of America, any
other nation or any political subdivision thereof, whether state or local, and any agency,
authority, instrumentality, regulatory body, court, central bank or other entity exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of or
pertaining to government.

        “Guarantee” of or by any Person (the “guarantor”) means any obligation, contingent or
otherwise, of the guarantor guaranteeing or having the economic effect of guaranteeing any
Indebtedness or other obligation of any other Person (the “primary obligor”) in any manner,
whether directly or indirectly, and including any obligation of the guarantor, direct or indirect,
(a) to purchase or pay (or advance or supply funds for the purchase or payment of) such
Indebtedness or other obligation or to purchase (or to advance or supply funds for the purchase
of) any security for the payment thereof, (b) to purchase or lease property, securities or services
for the purpose of assuring the owner of such Indebtedness or other obligation of the payment
thereof, (c) to maintain working capital, equity capital or any other financial statement condition
or liquidity of the primary obligor so as to enable the primary obligor to pay such Indebtedness
or other obligation or (d) as an account party in respect of any letter of credit or letter of guaranty
issued to support such Indebtedness or obligation; provided, that the term Guarantee shall not
include endorsements for collection or deposit in the ordinary course of business.

        “Hazardous Materials” means all explosive or radioactive substances or wastes and all
hazardous or toxic substances or wastes, including petroleum or petroleum distillates, asbestos or
asbestos containing materials, polychlorinated biphenyls, radon gas, infectious or medical wastes
and all other substances or wastes of any nature regulated pursuant to any Environmental Law;
provided, that Hazardous Materials shall not include any such substances or wastes utilized or
maintained at the Real Property in the ordinary course of business and in accordance with all
applicable Environmental Laws.

        “HCRE Property” “individually, or collectively “HCRE Properties,” means, as of the
Effective Date, each of the Real Properties set forth in Schedule 1.01(A) hereto.

        “Hedging Agreement” means any interest rate protection agreement (including an interest
rate cap), foreign currency exchange agreement, commodity price protection agreement or other
interest or currency exchange rate or commodity price hedging arrangement.

        “Hedging Obligations” means, with respect to the any Borrower or any Subsidiary of the
Borrower, any obligations arising under any Hedging Agreement entered into with the
Administrative Agent or any Lender with respect to the Loans. Under no circumstances shall
any of the Hedging Obligations secured or guaranteed by any Loan Document as to a surety or
guarantor thereof include any obligation that constitutes an Excluded Swap Obligation of such
Person.

        “Highland Capital” means HIGHLAND CAPITAL MANAGEMENT, LP, a Delaware
limited partnership.


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       “Impacted Interest Period” has the meaning set forth in the definition of LIBO Rate.

        “Indebtedness” of any Person means, without duplication, (a) all obligations of such
Person for borrowed money or with respect to deposits or advances of any kind, (b) all
obligations of such Person evidenced by bonds, debentures, notes or similar instruments,
including mandatorily redeemable preferred stock, (c) all obligations of such Person upon which
interest charges are customarily paid, (d) all obligations of such Person under conditional sale or
other title retention agreements relating to property acquired by such Person, (e) all obligations
of such Person in respect of the deferred purchase price of property or services (excluding
current accounts payable incurred in the ordinary course of business), (f) all Indebtedness of
others secured by (or for which the holder of such Indebtedness has an existing right, contingent
or otherwise, to be secured by) any Lien on property owned or acquired by such Person, whether
or not the Indebtedness secured thereby has been assumed, (g) all Guarantees by such Person of
Indebtedness of others, but excluding customary non-recourse, carveout guarantees and
environmental indemnitees until such time as such guarantees or indemnitees become a recourse
obligation, (h) all Capital Lease Obligations of such Person, (i) all obligations, contingent or
otherwise, of such Person as an account party in respect of letters of credit and letters of
guaranty, (j) all obligations, contingent or otherwise, of such Person in respect of bankers'
acceptances, (k) all obligations, contingent or otherwise, of such Person with respect to any
Hedging Agreements (calculated on a mark-to-market basis as of the reporting date), and (l)
payments received in consideration of sale of an ownership interest in Borrower when the
interest so sold is determined, and the date of delivery is, more than one (1) month after receipt
of such payment and only to the extent that the obligation to deliver such interest is not payable
solely in such interest of such Person. The Indebtedness of any Person shall include the
Indebtedness of any other entity (including any partnership in which such Person is a general
partner) to the extent such Person is liable therefor as a result of such Person’s ownership
interest in or other relationship with such entity, except to the extent the terms of such
Indebtedness provide that such Person is not liable therefor. For purposes of calculating the
financial covenants set forth herein, Indebtedness shall not include any Indebtedness that has
been expressly subordinated in right of payment to the Obligations on terms and conditions
acceptable to the Administrative Agent, including, without limitation, intercompany
Indebtedness that is subject to Section 6.10(b). Indebtedness shall be calculated on a
consolidated basis for the Borrower and its Wholly-Owned Subsidiaries, and including (without
duplication) the Equity Percentage of Indebtedness for the Borrower’s Unconsolidated Affiliates.

        “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of the Borrowers under any
Loan Document and (b) to the extent not otherwise described in the immediately preceding
clause (a), Other Taxes.

       “Information Materials” has the meaning set forth in ARTICLE VIII.

       “Interest Election Request” means a request by the Borrower to convert or continue the
then outstanding amount of the Loan in accordance with Section 2.07.

        “Interest Expense” means, with respect to any Person, all paid, accrued or capitalized
interest expense on such Person’s Indebtedness (whether direct, indirect or contingent, and


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including, without limitation, interest on all convertible debt), and including (without
duplication) the Equity Percentage of Interest Expense for the Borrower’s Unconsolidated
Affiliates.

       “Interest Payment Date” means the first Business Day of each calendar month.

        “Interest Period” means with respect to any Eurodollar Loan, the period commencing on
the date that the then outstanding portion of the Loan is converted to or continued as a
Eurodollar Loan, and ending on the numerically corresponding day in the calendar month that is
one or three months thereafter; provided, that (a) if any Interest Period would end on a day other
than a Business Day, such Interest Period shall be extended to the next succeeding Business Day
unless such next succeeding Business Day would fall in the next calendar month, in which case
such Interest Period shall end on the next preceding Business Day and (b) any Interest Period
pertaining to a Eurodollar Loan that commences on the last Business Day of a calendar month
(or on a day for which there is no numerically corresponding day in the last calendar month of
such Interest Period) shall end on the last Business Day of the last calendar month of such
Interest Period. For purposes hereof, the date of a Borrowing initially shall be the date on which
such Borrowing is made and, in the case of a Borrowing, thereafter shall be the effective date of
the most recent conversion or continuation of such Borrowing.

        “Interpolated Rate” means, at any time, for any Interest Period, the rate per annum
(rounded to the same number of decimal places as the LIBO Rate) determined by the
Administrative Agent (which determination shall be conclusive and binding absent manifest
error) to be equal to the rate that results from interpolating on a linear basis between: (a) the
LIBO Rate for the longest period for which the LIBO Rate is available that is shorter than the
Impacted Interest Period; and (b) the LIBO Rate for the shortest period for which that LIBO Rate
is available that exceeds the Impacted Interest Period, in each case, at such time.

       “KeyBank” means KeyBank, National Association, in its individual capacity.

       “Lead Borrower” means HCRE Partners, LLC.

        “Legal Requirement” means any law, statute, ordinance, decree, requirement, order,
judgment, rule, regulation (or interpretation of any of the foregoing) of, and the terms of any
license or permit issued by, any Governmental Authority.

       “Lenders” means the Persons listed on Schedule 2.01 and any other Person that shall
have become a party hereto pursuant to an Assignment and Acceptance, other than any such
Person that ceases to be a party hereto pursuant to an Assignment and Acceptance.

        “LIBO Rate” means, subject to Section 2.14(b),with respect to any Eurodollar Borrowing
for any Interest Period, the London interbank offered rate as administered by ICE Benchmark
Administration (or any other Person that takes over the administration of such rate for U.S.
Dollars) for a period equal in length to such Interest Period as displayed on pages LIBOR01 or
LIBOR02 of the Reuters screen that displays such rate (or, in the event such rate does not appear
on a Reuters page or screen, on any successor or substitute page on such screen that displays
such rate, or on the appropriate page of such other information service that publishes such rate


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from time to time as selected by the Administrative Agent in its reasonable discretion; in each
case the “LIBOR Screen Rate”) at approximately 11:00 a.m., London time, two Business Days
prior to the commencement of such Interest Period; provided that (i) if the LIBOR Screen Rate
shall be less than zero, such rate shall be deemed to be zero for the purposes of this Agreement;
provided further that if the LIBOR Screen Rate shall not be available at such time for such
Interest Period (an “Impacted Interest Period”) then the LIBO Rate shall be the Interpolated
Rate; provided that if any Interpolated Rate shall be less than zero, such rate shall be deemed to
be zero for purposes of this Agreement, and (ii) if no such rate administered by ICE Benchmark
Administration (or by such other Person that has taken over the administration of such rate for
U.S. Dollars) is available to the Administrative Agent, the applicable LIBO Rate for the relevant
Interest Period shall instead be the rate determined by the Administrative Agent to be the rate at
which KeyBank or one of its Affiliate banks offers to place deposits in U.S. dollars with first
class banks in the London interbank market at approximately 11:00 a.m. (London time) two
Business Days prior to the first day of such Interest Period, in the approximate amount of the
relevant Eurodollar Loan and having a maturity equal to such Interest Period.

       “LIBOR Screen Rate” is defined in the definition of LIBO Rate.

        “Lien” means, with respect to an asset, (a) any mortgage, deed of trust, lien (statutory or
other), pledge, hypothecation, negative pledge, collateral assignment, encumbrance, deposit
arrangement, charge or security interest in, on or of such asset; (b) the interest of a vendor or a
lessor under any conditional sale agreement, capital lease or title retention agreement (or any
financing lease having substantially the same economic effect as any of the foregoing) relating to
such asset; (c) the filing under the Uniform Commercial Code or comparable law of any
jurisdiction of any financing statement naming the owner of the asset to which such Lien relates
as debtor; (d) any other preferential arrangement of any kind or nature whatsoever intended to
assure payment of any Indebtedness or other obligation; and (e) in the case of securities, any
purchase option, call or similar right of a third party with respect to such securities, including
any dividend reinvestment or redemption plans.

        “Liquidity” means the sum of (i) unencumbered and unrestricted cash and cash
equivalents of the Borrower, excluding any debt service, capital improvement or other similar
reserve funds held under or required by any loan documents entered in to by the Borrower or any
Subsidiary, plus (ii) the market value of all common shares of NexPoint Residential Trust, Inc.
or operating partnership units in NexPoint Residential Operating Partnership, LP, in each case,
owned by The Dugaboy Investment Trust and which have been pledged as Collateral for the
Obligations, plus (iii) the market value of all unencumbered and unrestricted marketable
securities held by Borrower, plus (iv) the market value of all unencumbered and unrestricted
marketable securities held by Borrower less all related outstanding Indebtedness.

       “Loan” means the loans made by the Lenders to the Borrower pursuant to Section 2.02 of
this Agreement, including, without limitation, the Tranche A Loan and Tranche B Loan.

       “Loan Documents” means this Agreement, the Notes, the Mortgages, the Environmental
Indemnity, the Pledge Agreement, the Equity Proceeds Pledge, the Economic Interests Pledge,
the Financing Statements, and all other instruments, agreements and written obligations executed
and delivered by any of the Borrowers in connection with the transactions contemplated hereby.


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        “Management Company” means, each of BH Management Services, LLC, an Iowa
limited liability company, and Milestone Management, LLC, a Delaware limited liability
company.

       “Mandatory Prepayment” has the meaning set forth in Section 2.11(d).

         “Material Adverse Effect” means a material adverse effect on (a) the business, assets,
operations, or financial condition of (i) the Borrower and its Subsidiaries taken as a whole,
(b) the ability of any of the Borrowers to perform their obligations under the Loan Documents or
(c) the rights of or benefits available to the Administrative Agent or the Lenders under the Loan
Documents; provided, however, that none of the following shall constitute, or shall be
considered in determining whether there has occurred, and no event, circumstance, change or
effect resulting from or arising out of any of the following shall constitute, a Material Adverse
Effect: (A) changes in the national or world economy or financial markets as a whole or changes
in general economic conditions that affect the industries in which the Borrower, and its
Subsidiaries conduct their business, so long as such changes or conditions do not adversely
affect the Borrower, and its Subsidiaries, taken as a whole, in a materially disproportionate
manner relative to other similarly situated participants in the industries or markets in which they
operate; (B) any change in applicable Law, rule or regulation or GAAP or interpretation thereof
after the date hereof, so long as such changes do not adversely affect the Borrower, and its
Subsidiaries, taken as a whole, in a materially disproportionate manner relative to other similarly
situated participants in the industries or markets in which they operate; (C) the failure, in and of
itself, of the Borrower to meet any published or internally prepared estimates of revenues,
earnings or other financial projections, performance measures or operating statistics; or (D)
compliance with the terms of, and taking any action required by, this Agreement, or taking or not
taking any actions at the request of, or with the consent of, the Administrative Agent.

       “Material Contract” means any contract or other arrangement (other than Loan
Documents), whether written or oral, to which any Borrower is a party as to which the breach,
nonperformance, cancellation or failure to renew by any party thereto could reasonably be
expected to have a Material Adverse Effect.

       “Maturity Date” means the Tranche A Maturity Date or the Tranche B Maturity Date, as
applicable.

       “Maximum Rate” shall have the meaning set forth in Section 9.13.

       “Mortgage” (whether one or more) means a deed of trust and security agreement, a
mortgage and security agreement, or a security deed (or deed to secure debt) and security
agreement granted by each Property Owner Borrower in favor of the Administrative Agent, for
the benefit of the Lenders, covering each Mortgaged Property in the aggregate amount of the
Tranche A Loan.

        “Mortgaged Property” individually, or collectively “Mortgaged Properties,” means, as of
the Effective Date, each of the nine (9) Real Properties identified as “Mortgaged Properties” in
Schedule 3.05 hereto.



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     “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of
ERISA.

        “Note” means a promissory note in the form attached hereto as Exhibit D payable to a
Lender evidencing certain of the obligations of the Borrower under the Loans to such Lender and
executed by Borrower, as the same may be amended, supplemented, modified or restated from
time to time; “Notes” means, collectively, all of such Notes outstanding at any given time.

         “Obligations” means all liabilities, obligations, covenants and duties of any Borrower to
the Administrative Agent and/or any Lender arising under or otherwise with respect to any Loan
Document, whether direct or indirect (including those acquired by assumption), absolute or
contingent, due or to become due, now existing or hereafter arising and including interest and
fees that accrue after the commencement by or against any Borrower or any Affiliate thereof of
any proceeding under any bankruptcy or other insolvency proceeding naming such person as the
debtor in such proceeding, regardless of whether such interest and fees are allowed claims in
such proceedings. For the avoidance of doubt, “Obligations” shall not include any indebtedness,
liabilities, obligations, covenants or duties in respect of Hedging Obligations.

       “OFAC” has the meaning set forth in Section 3.16.

      “Offering Documents” means, each Private Placement Memorandum and any
supplements thereto relating to the sale of beneficial interests in any Specified DST, all as
approved by Agent.

        “Other Taxes” means, all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document, except any such Taxes that are
Other Connection Taxes imposed with respect to an assignment (other than an assignment made
pursuant to Section 2.17 as a result of costs sought to be reimbursed pursuant to Section 2.17).

       “Patriot Act” has the meaning set forth in Section 9.14.

     “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined in
ERISA and any successor entity performing similar functions.

       “Permitted Encumbrances” means:

              (a)    Liens imposed by law for taxes that are not yet due or are being contested
in compliance with Section 5.05;

                (b) pledges and deposits made in the ordinary course of business in
compliance with workers’ compensation, unemployment insurance and other social security laws
or regulations;

               (c)     deposits to secure the performance of bids, trade contracts, purchase,
construction or sales contracts, leases, statutory obligations, surety and appeal bonds,



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performance bonds and other obligations of a like nature, in each case in the ordinary course of
business;

               (d)    the Title Instruments, Liens and other matters described in the Title
Insurance Policy for each Portfolio Property or HCRE Property;

               (e)     uniform commercial code protective filings with respect to personal
property leased to the Borrower or any Subsidiary;

               (f)    landlords’ liens for rent not yet due and payable;

              (g)     Liens on the Equity Interests in the Stonebridge DST and NexPoint
       Residential Trust Inc. securing the Stonebridge Term Loan; and

              (g)    liens on a Portfolio Property (other than a Mortgaged Property) arising
under the Senior Loan or on an HCRE Property arising under property-level Indebtedness
secured by such Real Property;

provided that the term “Permitted Encumbrances” shall not include any Lien securing
Indebtedness other than the Senior Loan and the Stonebridge Term Loan.

       “Permitted Investments” means:

               (a)    direct obligations of, or obligations the principal of and interest on which
are unconditionally guaranteed by, the United States of America (or by any agency thereof to the
extent such obligations are backed by the full faith and credit of the United States of America),
in each case maturing within one year from the date of acquisition thereof;

                (b)    investments in commercial paper maturing within 270 days from the date
of acquisition thereof and having an investment grade credit rating on the date of acquisition;

               (c)    investments in certificates of deposit, banker's acceptances and time
deposits maturing within 180 days from the date of acquisition thereof issued or guaranteed by
or placed with, and money market deposit accounts issued or offered by, any domestic office of
any commercial bank organized under the laws of the United States of America or any State
thereof which has a combined capital and surplus and undivided profits of not less than
$500,000,000;

                (d)      fully collateralized repurchase agreements with a term of not more than 90
days for securities described in clause (a) above and entered into with a financial institution
satisfying the criteria described in clause (c) above; and

              (e)   investments of a Borrower in Subsidiaries and Unconsolidated Affiliates
made in accordance with this Agreement.

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.



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        “Plan” means any employee pension benefit plan (other than a Multiemployer Plan)
subject to the provisions of Title IV of ERISA or Section 412 of the Code or Section 302 of
ERISA, and in respect of which the Borrower or any ERISA Affiliate is (or, if such plan were
terminated, would under Section 4069 of ERISA be deemed to be) an “employer” as defined in
Section 3(5) of ERISA.

        “Pledge Agreement” means those certain Pledge and Security Agreements executed by
the Borrower in favor of Administrative Agent pledging Borrower’s interest in the Pledged
Interests.

       “Pledged DST Account” has the meaning set forth in Section 6.13(d).

        “Pledged Interests” means, collectively, the ownership (or in the reasonable discretion of
the Administrative Agent, the economic) interests now or hereafter pledged by Borrower and
each Collateral Subsidiary and the economic interest, including rights to receive cash and other
distributions from each other Subsidiary of the Borrower hereunder and subject to the liens and
security interests of the Loan Documents, or intended so to be.

         “Portfolio One DST” means NREA Southeast Portfolio One, DST, a Delaware statutory
trust, in its capacity as owner of Equity Interests in the Andros Isles, Arborwalk, Walker Ranch,
and Towne Crossing properties.

        “Portfolio One DST Depositor” means NREA SE MF Investment Co, LLC, a Delaware
limited liability company, in its capacity as depositor for the Portfolio One DST.

        “Portfolio Property” individually, or “Portfolio Properties” collectively, means each of
the twenty three (23) Real Properties listed on Schedule 3.05 hereto, including, without
limitation, the Mortgaged Properties.

        “Portfolio Three DST” means NREA Southeast Portfolio Three, DST, a Delaware
statutory trust, in its capacity as owner of Equity Interests in the Arboleda, Fairways, and Grand
Oasis properties.

        “Portfolio Three DST Depositor” means NREA SE MF Investment Co, LLC, a Delaware
limited liability company, in its capacity as depositor for the Portfolio Three DST.

         “Portfolio Two DST” means NREA Southeast Portfolio Two, DST, a Delaware statutory
trust, in its capacity as owner of Equity Interests in the West Place, Vista Ridge, and Hidden
Lake properties.

        “Portfolio Two DST Depositor” means NREA SE MF Investment Co, LLC, a Delaware
limited liability company, in its capacity as depositor for the Portfolio Two DST

        “Prime Rate” means the rate of interest per annum publicly announced from time to time
by KeyBank, National Association, as its prime rate in effect at its principal office in Cleveland,
Ohio; each change in the Prime Rate shall be effective from and including the date such change
is publicly announced as being effective.



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       “Property Owner Borrower” means each of the Persons listed on Schedule 1.01 hereto,
which own the Mortgaged Properties.

        “Qualified ECP Party” means, in respect of any interest rate cap, swap or other hedging
obligation, each Person which is a Borrower that has total assets exceeding $10,000,000 at the
time such Borrower’s guarantee, mortgage and/or other credit or collateral support, of such
interest rate cap, swap or other hedging obligation secured pursuant to the Deed to Secure Debt
becomes effective, or otherwise constitutes an “eligible contract participant” under the
Commodity Exchange Act or any regulations promulgated thereunder.

       “Real Property” means, collectively, all interest in any land and improvements located
thereon (including direct financing leases of land and improvements owned by a Borrower or
any of Borrower’s Subsidiaries), together with all equipment, furniture, materials, supplies and
personal property now or hereafter located at or used in connection with the land and all
appurtenances, additions, improvements, renewals, substitutions and replacements thereof now
or hereafter acquired by a Borrower or any of Borrower’s Subsidiaries.

       “Recipient” means, each of the Administrative Agent and any Lender.

       “Register” has the meaning set forth in Section 9.04.

        “REIT Borrower” means SE MULTIFAMILY REIT HOLDINGS, LLC, a Delaware
limited liability company.

       “Related Parties” means, with respect to any specified Person, such Person's Affiliates
and the respective directors, officers, employees, agents and advisors of such Person and such
Person’s Affiliates.

       “Release” means any release, spill, emission, leaking, pumping, pouring, dumping,
emptying, injection, deposit, disposal, discharge, dispersal, leaching or migration on or into the
indoor or outdoor environment or into or out of any property in violation of applicable
Environmental Laws.

       “Remedial Action” means all actions, including without limitation any capital
expenditures, required or necessary to (i) clean up, remove, treat or in any other way address any
Hazardous Material; (ii) prevent the Release or threat of Release, or minimize the further
Release, of any Hazardous Material so it does not migrate or endanger public health or the
environment; (iii) perform pre-remedial studies and investigations or post-remedial monitoring
and care; or (iv) bring facilities on any property owned or leased by the Borrower or any of its
Subsidiaries into compliance with all Environmental Laws.

       “Required Lenders” means, as of any date of determination, Lenders having more than 66
2/3% of the Commitments or, if the Commitments of each Lender to make Loans have been
terminated pursuant to Article VII, Lenders holding in the aggregate at least 66 2/3% of the
aggregate Obligations; provided that the Commitment of, and the portion of the Obligations held
or deemed held by, any Defaulting Lender shall be excluded for purposes of making a
determination of Required Lenders.


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        “Restricted Payment” means any dividend or other distribution (whether in cash,
securities or other property) with respect to any ownership interests in the Borrower or any
Subsidiary, or any payment (whether in cash, securities or other property), including any sinking
fund or similar deposit, on account of the purchase, redemption, retirement, acquisition,
cancellation or termination of any such ownership interests in the Borrower or any option,
warrant or other right to acquire any such shares of capital stock of the Borrower.

       “Senior Credit Agreement” means, collectively, each of those certain Loan Agreements,
as amended, with the Federal Home Loan Mortgage Corporation, as lender, set forth on Schedule
3.05 hereof with respect to the Portfolio Properties (other than the Mortgaged Properties).

       “Senior Loan” means each loan made pursuant to a Senior Credit Agreement.

        “Senior Loan Documents” means each Senior Credit Agreement and all other
instruments, agreements and written obligations executed and delivered in connection with the
transactions contemplated by a Senior Credit Agreement.

        “Specified DST” means the Portfolio One DST, the Portfolio Two DST, the Portfolio
Three DST, the Stonebridge DST, and any other DST approved by the Agent that owns an
interest in the properties owned by the Portfolio One DST, Portfolio Two DST, o Portfolio Three
DST, as of the Effective Date.

        “Specified DST Depositor” means the Portfolio One DST Depositor, the Portfolio Two
DST Depositor, the Portfolio Three DST Depositor, the Stonebridge DST Depositor, and any
other depositor approved by the Agent with respect to any DST that owns an interest in the
properties owned by the Portfolio One DST, Portfolio Two DST, or Portfolio Three DST, as of
the Effective Date.

        “Statutory Reserve Rate” means a fraction (expressed as a decimal), the numerator of
which is the number one and the denominator of which is the number one minus the aggregate of
the maximum reserve percentages (including any marginal, special, emergency or supplemental
reserves) expressed as a decimal established by the Governmental Authority to which the
Administrative Agent is subject, with respect to the Adjusted LIBO Rate, for Eurocurrency
funding (currently referred to as “Eurocurrency Liabilities” in Regulation D of the Board). Such
reserve percentages shall include those imposed pursuant to such Regulation D. Eurodollar
Loans shall be deemed to constitute Eurocurrency funding and to be subject to such reserve
requirements without benefit of or credit for proration, exemptions or offsets that may be
available from time to time to any Lender under such Regulation D or any comparable
regulation. The Statutory Reserve Rate shall be adjusted automatically on and as of the effective
date of any change in any reserve percentage.

       “Stonebridge DST” means NREA Retreat, DST, a Delaware statutory trust, which will
own the Retreat at Stonebridge Ranch property located in McKinney, TX.

        “Stonebridge DST Depositor” means NREA Retreat Investment Co, LLC, a Delaware
limited liability company, in its capacity as depositor for Stonebridge DST.



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      “Stonebridge Term Loan” means the term loan made by KeyBank pursuant to that certain
Second Amended and Restated Credit Agreement dated as of September 17, 2018 by and among
NexPoint Real Estate Advisors IV, L.P. and The Dugaboy Investment Trust, as borrowers, and
KeyBank National Association, as lender.

        “Subsidiary” means, with respect to Borrower, as applicable (the “parent”), at any date,
any corporation, limited liability company, partnership, association or other entity the accounts
of which would be consolidated with those of the parent in the parent's consolidated financial
statements if such financial statements were prepared in accordance with GAAP as of such date,
as well as any other corporation, limited liability company, partnership, association or other
entity (a) of which securities or other ownership interests representing more than 50% of the
equity or more than 50% of the ordinary voting power or, in the case of a partnership, more than
50% of the general partnership interests are, as of such date, owned, controlled or held by parent,
or (b) that is, as of such date, otherwise Controlled, by the parent or one or more subsidiaries of
the parent.

      “Summers Landing Property” means that certain Real Property known as Summers
Landing and located at 3900 Centreport Drive, Fort Worth, Texas 76155, which is indirectly
owned by the BH Pledgor.

      “Swap Obligation” means, any Hedging Obligation that constitutes a “swap” within the
meaning of section 1a(47) of the Commodity Exchange Act.

        “Tangible Net Worth” shall mean, with respect to the Borrowers and their Subsidiaries,
(a) total assets (without deduction for accumulated depreciation and accumulated amortization of
lease intangibles) less (b) all intangible assets and (c) all liabilities (including contingent and
indirect liabilities), all determined in accordance with sound accounting principles, consistently
applied. The term “intangible assets” shall include, without limitation, (i) deferred charges such
as straight-line rents and other non-cash items, and (ii) the aggregate of all amounts appearing on
the assets side of any such balance sheet for franchises, licenses, permits, patents, patent
applications, copyrights, trademarks, trade names, goodwill, treasury stock, experimental or
organizational expenses and other like intangibles (other than amounts related to the purchase
price of real property which are allocated to lease intangibles). The term “liabilities” shall
include, without limitation, (i) Indebtedness secured by Liens on property of the Person with
respect to which Tangible Net Worth is being computed whether or not such Person is liable for
the payment thereof, (ii) deferred liabilities, and (iii) Capital Lease Obligations. Tangible Net
Worth shall be calculated on a consolidated basis Borrower and their Wholly-Owned
Subsidiaries and including the Borrower’s Equity Percentage of Tangible Net Worth of the
Borrower’s Unconsolidated Affiliates.

       “Taxes” means any and all present or future taxes, levies, imposts, duties, deductions,
charges or withholdings imposed by any Governmental Authority.

        “The Dugaboy Investment Trust” means THE DUGABOY INVESTMENT TRUST,
under trust agreement dated November 15, 2010.




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       “The SLHC Trust” means THE SLHC TRUST, under trust agreement dated December
27, 2016.

        “Title Instruments” means true and correct copies of all instruments of record in the
Office of the County Clerk, the Real Property Records or of any other Governmental Authority
affecting title to all or any part of the Portfolio Properties, including but not limited to those (if
any) which impose restrictive covenants, easements, rights-of-way or other encumbrances on all
or any part of such Real Properties.

        “Title Insurance Policy” means, collectively, (i) with respect to the Mortgaged
Properties, the policies of title insurance in the aggregate face amounts equal to the Tranche A
Loan, issued in favor of the Administrative Agent by a title insurance company satisfactory to
the Administrative Agent and insuring that title to each Mortgaged Property is vested in the
applicable Property Owner Borrower, free and clear of any Lien, objection, exception or
requirement, and that each Mortgage creates a valid first and prior lien on all the applicable
Mortgaged Property, subject only to the Permitted Encumbrances and such other exceptions as
may be approved in writing by the Administrative Agent, and (ii) with respect to other Real
Property, the policies of title issued in favor of the respective Collateral Subsidiary by a title
insurance company satisfactory to the lender under a Senior Credit Agreement or other
Indebtedness secured by such Real Property and insuring that title to such Real Property is
vested in such Collateral Subsidiary, free and clear of any Lien, objection, exception or
requirement, subject only to the Permitted Encumbrances.

      “Titled Agents” means, collectively, the Arranger and any syndication agents or
documentation agent named as such on the cover page of this Agreement.

       “Total Asset Value” means the sum of (without duplication) (a) the aggregate Appraised
Value of all of the Portfolio Properties, plus (b) total assets (without deduction for accumulated
depreciation and amortization) of the Borrowers (other than the Property Owner Borrowers)
determined in accordance with sound accounting principles, consistently applied. For any non-
wholly owned Real Properties, Total Asset Value shall be adjusted for Borrower’s and
Subsidiaries’ Equity Percentage thereof.

       “Total Leverage Ratio” means the ratio (expressed as a percentage) of (a) the
Indebtedness of Borrower to (b) Total Asset Value.

       “Tranche A Initial Maturity Date” means March 26, 2019.

       “Tranche A Maturity Date” means the earlier of (i) the Tranche A Initial Maturity Date,
as such date may be extended as provided in Section 2.21, and (ii) the date on which the Tranche
A Loans shall become due and payable pursuant to the terms hereof.

       “Tranche B Initial Maturity Date” means September 26, 2019.

       “Tranche B Maturity Date” means the earlier of (i) the Tranche B Initial Maturity Date,
as such date may be extended as provided in Section 2.22, and (ii) the date on which the Tranche
B Loans shall become due and payable pursuant to the terms hereof.


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      “Transactions” means the execution, delivery and performance by the Borrowers of the
Loan Documents, the borrowing of the Loans, and the use of the proceeds thereof.

        “Trust Agreement” means the Trust Agreement for the Portfolio One DST dated as of the
Effective Date, the Trust Agreement for the Portfolio Two DST dated as of the Effective Date,
the Trust Agreement for the Portfolio Three DST dated as of the Effective Date, the Amended
and Restated Trust Agreement for Stonebridge DST dated as of the Effective Date, and the trust
agreement for any other Specified DST.

       “Trust Interests” means the beneficial interests in each Specified DST which will be (x)
sold pursuant to the applicable Offering Document or (y) issued to an Affiliate of Borrower that
owns any unsold beneficial interests.

        “Type,” when used in reference to any Loan or Borrowing, refers to whether the rate of
interest on such Loan, or on the Loans comprising such Borrowings, is determined by reference
to the Adjusted LIBO Rate, the Daily LIBOR Rate, or the Alternate Base Rate.

       “Unconsolidated Affiliate” means, without duplication, in respect of any Person, any
other Person (other than a Person whose stock is traded on a national trading exchange) in whom
such Person holds, directly or indirectly, an investment consisting of a voting equity or
ownership interest, which investment is accounted for in the financial statements of such Person
on an equity basis of accounting.

       “U.S. Person” means any Person that is a “United States Person” as defined in Section
7701(a)(30) of the Code.

        “Wholly-Owned” means, with respect to a Subsidiary of a Person, a Subsidiary of such
Person all of the outstanding Equity Interests of which (other than (x) director’s qualifying
shares and (y) shares issued to foreign nationals to the extent required by applicable law) are
owned by such Person and/or by one or more wholly owned Subsidiaries of such Person. In
determining whether a Subsidiary of a Person is a Wholly-Owned Subsidiary, all preferred
shareholders of a Subsidiary that is organized as a real estate investment trust shall be
disregarded.

        “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete
or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I of
Subtitle E of Title IV of ERISA.

       “Withholding Agent” means any Borrower and the Administrative Agent.

        “Write-Down and Conversion Powers” means, with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time
to time under the Bail-In Legislation for the applicable EEA Member Country, which write-
down and conversion powers are described in the EU Bail-In Legislation Schedule.




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      Section 1.02 Classification of Loans and Borrowings. For purposes of this Agreement,
Loans may be classified and referred to by Type (e.g., a “Eurodollar Loan”). Borrowings also
may be classified and referred to by Type (e.g., a “Eurodollar Borrowing”).

        Section 1.03 Terms Generally. The definitions of terms herein shall apply equally to the
singular and plural forms of the terms defined. Whenever the context may require, any pronoun
shall include the corresponding masculine, feminine and neuter forms. The words “include,”
“includes,” and “including” shall be deemed to be followed by the phrase “without limitation.”
The word “will” shall be construed to have the same meaning and effect as the word “shall”.
Unless the context requires otherwise (a) any definition of or reference to any agreement,
instrument or other document herein shall be construed as referring to such agreement,
instrument or other document as from time to time amended, supplemented or otherwise
modified (subject to any restrictions on such amendments, supplements or modifications set forth
herein), (b) any reference herein to any Person shall be construed to include such Person’s
successors and assigns, (c) the words “herein,” “hereof,” and “hereunder,” and words of similar
import, shall be construed to refer to this Agreement in its entirety and not to any particular
provision hereof, (d) all references herein to Articles, Sections, Exhibits and Schedules shall be
construed to refer to Articles and Sections of, and Exhibits and Schedules to, this Agreement and
(e) the words “asset” and “property” shall be construed to have the same meaning and effect and
to refer to any and all tangible and intangible assets and properties, including cash, securities,
accounts and contract rights.

        Section 1.04 Accounting Terms; GAAP. Except as otherwise expressly provided herein,
all terms of an accounting or financial nature shall be construed in accordance with sound
accounting principles, consistently applied; provided that, if GAAP accounting is expressly
required and the Borrower notifies the Administrative Agent that the Borrower requests an
amendment to any provision hereof to eliminate the effect of any change occurring after the date
hereof in GAAP or in the application thereof on the operation of such provision (or if the
Administrative Agent notifies the Borrower that the Required Lenders request an amendment to
any provision hereof for such purpose), regardless of whether any such notice is given before or
after such change in GAAP or in the application thereof, then such provision shall be interpreted
on the basis of GAAP as in effect and applied immediately before such change shall have
become effective until such notice shall have been withdrawn or such provision amended in
accordance herewith.

       Section 1.05 Appointment of Lead Borrower.

         (a)    For the purpose of implementing the joint borrower provisions of this Agreement
and the other Loan Documents, each Borrower hereby irrevocably appoints the Lead Borrower
as its agent and attorney-in-fact for the purpose of requesting and obtaining Borrowings
hereunder, including delivery of any Borrowing Request or Interest Election Request, and such
Borrower shall be obligated to the Administrative Agent and the Lenders on account of
Borrowings so made as if made directly by the Lenders to such Person. Further, each Borrower
hereby irrevocably appoints the Lead Borrower as its agent and attorney-in-fact for all other
purposes under the Loan Documents, including the giving and receiving of notices and other
communications, the giving of consents or approvals pursuant to the terms hereof, and



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submitting Compliance Certificates and other similar certificates required hereunder. Any
request by the Lead Borrower for a Borrowing or an Interest Election Request shall in all events
be deemed and construed as a request for such Borrowing by all Borrowers hereunder.

       (b)      The proceeds of each loan and advance provided under the Loans which is
requested by the Lead Borrower shall be advanced as and when otherwise provided herein or as
otherwise indicated by the Lead Borrower. The Lead Borrower shall cause the transfer of the
proceeds thereof to the Borrower(s) on whose behalf such loan and advance was obtained.
Neither the Administrative Agent nor any Lender shall have any obligation to see to the
application of such proceeds.

        (c)     It is understood and agreed that the handling of this credit facility on a joint
borrowing basis as set forth in this Agreement is solely as an accommodation to the Borrower
and at their request. Accordingly, the Administrative Agent and the Lenders are entitled to rely,
and shall be exonerated from any liability for relying upon, any Borrowing Request, Interest
Election Request, or any other request or communication made by a purported officer of any
Borrower without the need for any consent or other authorization of any other Borrower and
upon any information or certificate provided on behalf of any Borrower by a purported officer of
such Borrower, and any such request or other action shall be fully binding on each Borrower as
if made by it.

                                            ARTICLE II

                                            The Loans

       Section 2.01 [Intentionally Omitted].

       Section 2.02 Commitments. Subject to the terms and conditions set forth herein, each
Lender severally agrees to make Loans to the Borrower on the Effective Date as follows:

       (a)     a term loan (the “Tranche A Loan”) to finance the acquisition of the Mortgaged
Properties on the Effective Date in an aggregate principal amount not to exceed the lesser of (i)
$231,400,000 and (ii) 65% of the lesser of (x) the allocated acquisition cost of the Mortgaged
Properties as approved by the Administrative Agent and (y) the aggregate “as is” Appraised
Value of the Mortgaged Properties; and

       (b)     a term loan (the “Tranche B Loan”) in an aggregate principal amount of
$324,875,000 to finance a portion of the acquisition cost of the Portfolio Properties that is not
financed by the Tranche A Loan or the Senior Loan;

       Each Loan shall be made in immediately available funds in accordance with instructions
provided by the Borrower. The aggregate amount of the Loan shall not exceed the aggregate
amount of the Commitments. Once repaid, no portion of the Loans may be reborrowed.
Notwithstanding anything herein to the contrary, the Commitments shall terminate upon the
making of the Loans described in this Section 2.02 on the Effective Date.




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       Section 2.03 Loans and Borrowings.

       (a)     Each Loan shall be made as part of a Borrowing consisting of Loans made by the
Lenders ratably in accordance with their respective Commitments. The failure of any Lender to
make any Loan required to be made by it shall not relieve any other Lender of its obligations
hereunder; provided that the Commitments of the Lenders are several and no Lender shall be
responsible for any other Lender’s failure to make Loans as required.

        (b)     Subject to Section 2.13, each Borrowing shall be comprised of ABR Loans, Daily
LIBOR Loans, and/or Eurodollar Loans as the Borrower may request in accordance herewith.
Each Lender at its option may make any Eurodollar Loan by causing any domestic or foreign
branch or Affiliate of such Lender to make such Loan; provided that any exercise of such option
shall not affect the obligation of the Borrower to repay such Loan in accordance with the terms
of this Agreement.

       (c)     Each Eurodollar Loan shall be in an aggregate amount that is an integral multiple
of $100,000 and not less than $1,000,000. Borrowings of more than one Type may be
outstanding at the same time; provided that there shall not at any time be more than a total of six
(6) Eurodollar Borrowings outstanding.

        (d)     Notwithstanding any other provision of this Agreement, the Borrower shall not be
entitled to request, or to elect to convert or continue, any Borrowing if the Interest Period
requested with respect thereto would end after the Maturity Date.

       Section 2.04 [Intentionally Omitted].

       Section 2.05 [Intentionally Omitted].

       Section 2.06 [Intentionally Omitted].

       Section 2.07 [Intentionally Omitted].

       Section 2.08 Interest Elections.

       (a)     Each Borrowing initially shall be of the Type specified in the applicable
Borrowing Request and, in the case of a Eurodollar Borrowing, shall have an initial Interest
Period as specified in such Borrowing Request. Thereafter, the Borrower may elect to convert
such Borrowing to a different Type or to continue such Borrowing and, in the case of a
Eurodollar Borrowing, may elect Interest Periods therefor, all as provided in this Section. The
Borrower may elect different options with respect to different portions of the affected
Borrowing, in which case each such portion shall be allocated ratably among the Lenders
holding the Loans comprising such Borrowing, and the Loans comprising each such portion shall
be considered a separate Borrowing.

       (b)    To make an election pursuant to this Section, the Borrower shall notify the
Administrative Agent of such election by telephone by the time that a Borrowing Request would
be required under Section 2.03 if the Borrower were requesting a Borrowing of the Type



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resulting from such election to be made on the effective date of such election. Each such
telephonic Interest Election Request shall be irrevocable and shall be confirmed promptly by
hand delivery or telecopy to the Administrative Agent of a written Interest Election Request in
the form of a Borrowing Request (with proper election made for an interest rate election only)
and signed by the Lead Borrower.

       (c)     Each telephonic and written Interest Election Request shall specify the following
information in compliance with Section 2.03:

                        (i)     the Borrowing to which such Interest Election Request applies and,
               if different options are being elected with respect to different portions thereof, the
               portions thereof to be allocated to each resulting Borrowing (in which case the
               information to be specified pursuant to clauses (iii) and (iv) below shall be
               specified for each resulting Borrowing;

                      (ii)   the effective date of the election made pursuant to such Interest
               Election Request, which shall be a Business Day;

                      (iii) whether the resulting Borrowing is to be an ABR Borrowing, a
               Daily LIBOR Borrowing, or a Eurodollar Borrowing; and

                      (iv)    if the resulting Borrowing is a Eurodollar Borrowing, the Interest
               Period to be applicable thereto after giving effect to such election, which shall be
               a period contemplated by the definition of the term “Interest Period”.

               If any such Interest Election Request requests a Eurodollar Loan but does not
               specify an Interest Period, then the Borrower shall be deemed to have selected an
               Interest Period of one month’s duration.

        (d)    Promptly following receipt of an Interest Election Request, the Administrative
Agent shall advise each Lender of the details thereof and of such Lender's portion of each
resulting Borrowing.

        (e)     If the Borrower fails to deliver a timely Interest Election Request with respect to a
Eurodollar Borrowing prior to the end of the Interest Period applicable thereto, then, unless such
Eurodollar Borrowing is repaid as provided herein, at the end of such Interest Period such
Borrowing shall be converted to an ABR Borrowing. Notwithstanding any contrary provision
hereof, if an Event of Default has occurred and is continuing and the Administrative Agent, at
the request of the Required Lenders, so notifies the Borrower, then, so long as an Event of
Default is continuing (i) no outstanding Borrowing may be converted to or continued as a
Eurodollar Borrowing and (ii) unless repaid, each Eurodollar Borrowing shall be converted to an
ABR Borrowing at the end of the Interest Period applicable thereto.

       Section 2.09 Reserved.




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       Section 2.10 Repayment of Loans; Evidence of Debt.

       (a)     The Borrower hereby unconditionally promises to pay to the Administrative
Agent for the account of each Lender the then unpaid principal amount of (i) the Tranche A
Loans on the Tranche A Maturity Date and (i) the Tranche B Loans on the Tranche B Maturity
Date.

       (b)    At the request of each Lender, the Loans made by such Lender shall be evidenced
by a Note payable to such Lender in the amount of such Lender’s Commitment.

       (c)    Each Lender shall maintain in accordance with its usual practice an account or
accounts evidencing the indebtedness of the Borrower to such Lender resulting from each Loan
made by such Lender, including the amounts of principal and interest payable and paid to such
Lender from time to time hereunder.

        (d)      The Administrative Agent shall maintain accounts in which it shall record (i) the
amount of each Loan made hereunder, the Type thereof and the Interest Period applicable
thereto, (ii) the amount of any principal or interest due and payable or to become due and
payable from the Borrower to each Lender hereunder and (iii) the amount of any sum received
by the Administrative Agent hereunder for the account of the Lenders and each Lender’s share
thereof.

        (e)    The entries made in the accounts maintained pursuant to paragraph (b) or (c) of
this Section shall be prima facie evidence of the existence and amounts of the obligations
recorded therein; provided that the failure of any Lender or the Administrative Agent to maintain
such accounts or any error therein shall not in any manner affect the obligation of the Borrower
to repay the Loans in accordance with the terms of this Agreement.

       Section 2.11 Prepayment of Loans.

       (a)     The Borrower shall have the right at any time and from time to time to prepay,
without penalty, any Borrowing in whole or in part, subject to prior notice in accordance with
paragraph (b) of this Section, and subject to Section 2.15, if applicable.

        (b)     The Borrower shall notify the Administrative Agent by telephone (confirmed by
telecopy) of any prepayment hereunder (i) in the case of prepayment of a Eurodollar Borrowing,
not later than 11:00 a.m., Boston, Massachusetts time, three (3) Business Days before the date of
prepayment, or (ii) in the case of prepayment of an ABR Borrowing or a Daily LIBOR
Borrowing, not later than 11:00 a.m., Boston, Massachusetts time, one Business Day before the
date of prepayment. Each such notice shall be irrevocable and shall specify the prepayment date
and the principal amount of each Borrowing or portion thereof to be prepaid. Promptly
following receipt of any such notice relating to a Borrowing, the Administrative Agent shall
advise the Lenders of the contents thereof. Each partial prepayment of any Borrowing shall be
in an amount that is an integral multiple of $100,000 and not less than $200,000. Each
prepayment of a Borrowing shall be applied ratably to the Loans included in the prepaid
Borrowing. Prepayments shall be accompanied by accrued interest to the extent required by
Section 2.12.


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        (c)     In connection with the prepayment of any portion of the Loan prior to the
expiration of the Interest Period applicable thereto, the Borrower shall also pay any applicable
expenses pursuant to Section 2.15.

        (d)     The Borrower shall prepay the Loans (a “Mandatory Prepayment”) in an amount
equal to with respect to any sale, finance, refinance or other recapitalization of (i) the Mortgaged
Properties, the greater of (x) $381,000,000 and (y) one hundred percent (100%) of the net
proceeds payable to Borrowers or any Subsidiary (after payment of usual and customary closing
costs and expenses) from the sale, finance, refinance or other recapitalization of the Mortgaged
Properties; it being understood that prepayments required under this clause (d)(i) are in addition
to any prepayments under clause (f) below and prepayments required under clause (f) below
shall not diminish the required prepayment amounts under this clause (d)(i), and (ii) any other
Real Property, one hundred percent (100%) of the net proceeds payable to Borrower or any
Subsidiary (after payment of usual and customary closing costs and expenses and repayment of
any Indebtedness secured by such Real Property and including, with respect to any partial
recapitalization of a Portfolio Property through a joint venture or similar structure whereby the
Borrower will, directly or indirectly, retain an Equity Interest in such Portfolio Property (other
than any DST structure whereby Borrower will retain an approximately 1% Equity Interest in
such Portfolio Property), an amount equal to the value of the Equity Interest in such Portfolio
Property that the Borrower will retain) generated by the sale, finance, refinance or other
recapitalization of any such Real Property owned directly or indirectly by Borrower, including,
without limitation, any net proceeds thereof to be redeployed into the acquisition of one or more
real properties to complete a 1031 exchange transaction, and all payments under the BH Loan.
All Mandatory Prepayments shall be applied, first, to the prepayment of the Tranche A Loans
until the Tranche A Loans have been repaid in full. Thereafter all Mandatory Prepayments shall
be applied to the Tranche B Loans.

        (e)    Without limiting the foregoing, the Borrower shall make prepayments of the
Loans from time to time in the amounts necessary such that after giving effect to any such
prepayments, the aggregate outstanding amount of the Loans on each of the dates listed below
shall not be more than the “Maximum Principal Amount” set forth across from such date on the
table below:

                           Date                                Maximum Principal Amount

       March 26, 2019                                   $150,000,000

       June 26, 2019                                    $100,000,000

       September 26, 2019                               $50,000,000

       December 26, 2019                                $15,000,000


       provided that, if the Tranche A Initial Maturity Date is extended pursuant to Section 2.21,
       the “Maximum Principal Amount” set forth in the table above for each applicable date
       during the term of such extension of the Tranche A Initial Maturity Date, shall be


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       increased by an amount equal to the aggregate outstanding principal amount of Loans
       that were funded to purchase the Mortgaged Properties.

        (f)     In addition to any other payment or prepayment required by any of the foregoing,
on or prior to October 26, 2018, the Borrowers shall make payments to the Administrative Agent
for application to the outstanding principal balance of the Loans from proceeds of additional
equity contributions received by the Borrowers (other than the Property Owner Borrowers) after
the Effective Date in an aggregate amount not less than $150,000,000.

        (g)     Amounts to be applied to the prepayment of the Loans pursuant to any of the
preceding subsections of this Section shall be applied, first, to reduce outstanding ABR Loans,
next, to the extent of any remaining balance, to reduce outstanding Daily LIBOR Loans, and
next, to the extent of any remaining balance, to reduce outstanding Eurodollar Loans. Any
amounts repaid under this Section 2.11 may not be reborrowed.

       Section 2.12 Fees.

       (a)    In addition to all fees specified herein, the Borrower agrees to pay to KeyBank
and the Arranger, for their own account, certain fees for services rendered or to be rendered in
connection with the Loans as provided pursuant to the Fee Letter.

       (b)    All fees payable hereunder shall be paid on the dates due in immediately available
funds. Fees paid shall not be refundable under any circumstances.

       Section 2.13 Interest.

        (a)    The ABR Loans shall bear interest at the lesser of (x) the Alternate Base Rate
plus the Applicable Rate, or (y) the Maximum Rate.

        (b)    The Loans comprising each Eurodollar Borrowing shall bear interest at the lesser
of (x) the Adjusted LIBO Rate for the Interest Period in effect for such Eurodollar Loan plus the
Applicable Rate, or (y) the Maximum Rate.

        (c)     The Loans comprising each Daily LIBOR Borrowing shall bear interest at the
lesser of (x) the Daily LIBOR plus the Applicable Rate, or (y) the Maximum Rate

        (d)      Notwithstanding the foregoing, (A) if any principal of or interest on the Loans or
any portion thereof or any other amount payable by the Borrower hereunder is not paid when
due, whether at stated maturity, upon acceleration or otherwise, such overdue amount shall bear
interest, after as well as before judgment, at a rate per annum equal to (i) in the case of overdue
principal of the Loans, the lesser of (x) 4% plus the rate otherwise applicable to the Loans as
provided in the preceding paragraphs of this Section, or (y) the Maximum Rate, or (ii) in the case
of any other amount, the lesser of (x) 4% plus the rate applicable to ABR Loans as provided in
paragraph (a) of this Section, or (y) the Maximum Rate; and (B) after the occurrence of any
Event of Default, at the option of the Administrative Agent, or if the Administrative Agent is
directed in writing by the Required Lenders to do so, the Loans shall bear interest at a rate per




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annum equal to the lesser of (x) 4% plus the rate otherwise applicable to the Loans as provided
in the preceding paragraphs of this Section, or (y) the Maximum Rate.

        (e)     Accrued interest on each Loan shall be payable in arrears on each Interest
Payment Date; provided that (i) interest accrued pursuant to paragraph (c) of this Section shall be
payable on demand, (ii) in the event of any repayment or prepayment of any Loan, accrued
interest on the principal amount repaid or prepaid shall be payable on the date of such repayment
or prepayment and (iii) in the event of any conversion of any Eurodollar Loan prior to the end of
the current Interest Period therefor, accrued interest on such Eurodollar Loan shall be payable on
the effective date of such conversion.

       (f)      All computations of interest on the Loans and of other fees to the extent
applicable shall be based on a 360-day year and paid for the actual number of days elapsed. The
applicable Alternate Base Rate, Adjusted LIBO Rate, LIBO Rate, or Daily LIBOR Rate shall be
determined by the Administrative Agent, and such determination shall be conclusive absent
manifest error.

       Section 2.14 Alternate Rate of Interest.

       (a)   If prior to the commencement of any Interest Period for a Eurodollar Borrowing
or Daily LIBOR Borrowing:

                       (i)    the Administrative Agent determines (which determination shall be
               conclusive absent manifest error) that adequate and reasonable means do not exist
               for ascertaining the Adjusted LIBO Rate or the LIBO Rate, as applicable, for such
               Interest Period; or

                      (ii)    the Administrative Agent is advised by any Lender that the
               Adjusted LIBO Rate or the LIBO Rate, as applicable, for such Interest Period will
               not adequately and fairly reflect the cost to such Lenders (or Lender) of making or
               maintaining their Eurodollar Loan for such Interest Period;

then the Administrative Agent shall give notice thereof to the Borrower and the Lenders by
telephone or telecopy as promptly as practicable thereafter and, until the Administrative Agent
notifies the Borrower and the Lenders that the circumstances giving rise to such notice no longer
exist, any Interest Election Request that requests the conversion of any Borrowing to, or
continuation of any Borrowing as, a Eurodollar Borrowing shall be ineffective; provided that if
the circumstances giving rise to such notice affect only one Type of Borrowings, then the other
Type of Borrowings shall be permitted.

       (b)     If at any time the Administrative Agent determines (which determination shall be
conclusive absent manifest error) that either (i) the circumstances set forth in clause (a) of this
Section 2.14 have arisen and such circumstances are unlikely to be temporary or (ii) the
circumstances set forth in clause (a) of this Section 2.14 have not arisen but the supervisor for
the administrator of LIBO Rate or a Governmental Authority having jurisdiction over the
Administrative Agent has made a public statement identifying a specific date after which LIBO
Rate shall no longer be used for determining interest rates for loans (in the case of either such


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clause (i) or (ii), an “Alternative Interest Rate Election Event”), the Administrative Agent and
the Borrowers shall endeavor to establish an alternate rate of interest to LIBO Rate, which rate
may include adjustment (to be determined from time to time by Administrative Agent in its sole
discretion) to effect an aggregate interest rate comparable to the LIBO Rate on a historical basis
prior to such determination, and that gives due consideration to the then prevailing market
convention for determining a rate of interest for similar dollar-denominated credit facilities in the
United States at such time, and shall enter into an amendment to this Agreement to reflect such
alternate rate of interest and such other related changes to this Agreement as may be applicable.
Such amendment shall become effective without any further action or consent of any other party
to this Agreement. To the extent an alternate rate of interest is adopted as contemplated hereby,
the approved rate shall be applied in a manner consistent with prevailing market convention;
provided that, to the extent such prevailing market convention is not administratively feasible for
the Administrative Agent, such approved rate shall be applied in a manner as otherwise
reasonably determined by the Administrative Agent and the Borrowers. From such time as an
Alternative Interest Rate Election Event has occurred and continuing until an alternate rate of
interest has been determined in accordance with the terms and conditions of this paragraph, any
Interest Election Request that requests the conversion of any Loan to, or continuation of any
Loan as, an Eurodollar Loan shall be ineffective; provided that (subject to clause (a) of this
Section 2.14) LIBO Rate for such Interest Period is not available or published at such time on a
current basis; provided, further, that, if such alternate rate of interest shall be less than zero, such
rate shall be deemed to be zero for the purposes of this Agreement.

        Section 2.15 Increased Costs.

        (a)     If any Change in Law shall:

                       (i)      subject any Recipient to any Taxes or withholding of any nature
                with respect to this Agreement, the other Loan Documents, such Lender’s
                Commitment or the Loans (other than for Indemnified Taxes, Taxes described in
                clauses (b) through (d) of the definition of Excluded Taxes, and Connection
                Income Taxes), or

                       (ii)    materially change the basis of taxation (except for changes in taxes
                on gross receipts, income or profits or its franchise tax) of payments to any
                Recipient of the principal of or the interest on any Loans or any other amounts
                payable to any Lender under this Agreement or the other Loan Documents, or

                        (iii) impose or increase or render applicable any special deposit,
                reserve, assessment, liquidity, capital adequacy or other similar requirements
                (whether or not having the force of law and which are not already reflected in any
                amounts payable by Borrowers hereunder) against assets held by, or deposits in or
                for the account of, or loans by, or commitments of an office of any Lender, or

                        (iv)    impose on any Recipient any other conditions or requirements with
                respect to this Agreement, the other Loan Documents, the Loans, such Lender’s
                Commitment, or any class of loans or commitments of which any of the Loans or
                such Lender’s Commitment forms a part;


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and the result of any of the foregoing shall be to increase the cost to such Lender of making or
maintaining any Eurodollar Loan (or of maintaining its obligation to make any such Loan) or to
reduce the amount of any sum received or receivable by such Lender hereunder (whether of
principal, interest or otherwise), then the Borrower will pay to such Lender such additional
amount or amounts as will compensate such Lender for such additional costs incurred or
reduction suffered.

        (b)     If any Lender determines that any Change in Law regarding capital requirements
has or would have the effect of reducing the rate of return on such Lender’s capital or liquidity or
on the capital or liquidity of such Lender’s holding company, if any, as a consequence of this
Agreement or the Loans made by such Lender, to a level below that which such Lender or such
Lender’s holding company would have achieved but for such Change in Law (taking into
consideration such Lender’s policies and the policies of such Lender’s holding company with
respect to capital adequacy), then from time to time the Borrower will pay to such Lender, as the
case may be, such additional amount or amounts as will compensate such Lender or such
Lender’s holding company for any such reduction suffered.

       (c)      A certificate of a Lender setting forth the amount or amounts necessary to
compensate such Lender or its holding company, as the case may be, as specified in
paragraph (a) or (b) of this Section shall be delivered to the Borrower and shall be conclusive
absent manifest error. The Borrower shall pay such Lender, the amount shown as due on any
such certificate within 10 days after receipt thereof.

        (d)    Failure or delay on the part of any Lender to demand compensation pursuant to
this Section shall not constitute a waiver of such Lender’s right to demand such compensation;
provided that the Borrower shall not be required to compensate a Lender pursuant to this Section
for any increased costs or reductions incurred more than 270 days prior to the date that such
Lender notifies the Borrower of the Change in Law giving rise to such increased costs or
reductions and of such Lender’s intention to claim compensation therefor; provided further that,
if the Change in Law giving rise to such increased costs or reductions is retroactive, then the
270-day period referred to above shall be extended to include the period of retroactive effect
thereof.

        Section 2.16 Break Funding Payments. In the event of (a) the payment of any principal
of any Eurodollar Loan other than on the last day of an Interest Period applicable thereto
(including as a result of an Event of Default), (b) the conversion of any Eurodollar Loan other
than on the last day of the Interest Period applicable thereto, (c) the failure to borrow, convert,
continue or prepay any Loan on the date specified in any notice delivered pursuant hereto
(regardless of whether such notice may be revoked under Section 2.10(b)), or (d) the assignment
of any Eurodollar Loan other than on the last day of the Interest Period applicable thereto as a
result of a request by the Borrower pursuant to Section 2.18, then, in any such event, the
Borrower shall compensate each Lender for the loss, cost and expense attributable to such event.
 In the case of a Eurodollar Loan, such loss, cost or expense to any Lender shall be deemed to
include an amount determined by such Lender to be the excess, if any, of (i) the amount of
interest which would have accrued on the principal amount of such Loan had such event not
occurred, at the Adjusted LIBO Rate that would have been applicable to such Loan, for the



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period from the date of such event to the last day of the then current Interest Period therefor (or,
in the case of a failure to borrow, convert or continue, for the period that would have been the
Interest Period for such Loan), over (ii) the amount of interest which would accrue on such
principal amount for such period at the interest rate which such Lender would bid were it to bid,
at the commencement of such period, for dollar deposits of a comparable amount and period
from other banks in the Eurodollar market. A certificate of any Lender setting forth any amount
or amounts that such Lender is entitled to receive pursuant to this Section shall be delivered to
the Borrower and shall be conclusive absent manifest error. The Borrower shall pay such Lender
the amount shown as due on any such certificate within thirty (30) days after receipt thereof.

       Section 2.17 Taxes.

        (a)    All payments by the Borrower hereunder and under any of the other Loan
Documents shall be made without setoff or counterclaim, and free and clear of and without
deduction or withholding for any Taxes, except as required by Legal Requirements. If any Legal
Requirement (as determined in the good faith discretion of an applicable Withholding Agent)
requires the deduction or withholding of any Tax from any such payment by a Withholding
Agent, then the applicable Withholding Agent shall be entitled to make such deduction or
withholding and shall timely pay the full amount deducted or withheld to the relevant
Governmental Authority in accordance with Legal Requirements and, if such Tax is an
Indemnified Tax, then the sum payable by the Borrowers shall be increased as necessary so that
after such deduction or withholding has been made (including such deductions and withholdings
applicable to additional sums payable under this Section 2.17) the applicable Recipient receives
an amount equal to the sum it would have received had no such deduction or withholding been
made.

       (b)    The Borrower shall timely pay to the relevant Governmental Authority in
accordance with Legal Requirements, or at the option of the Agent timely reimburse it for the
payment of, any Other Taxes.

        (c)      The Borrower shall indemnify each Recipient, within ten (10) days after demand
therefor, for the full amount of any Indemnified Taxes (including Indemnified Taxes imposed or
asserted on or attributable to amounts payable under this Section 2.17) payable or paid by such
Recipient or required to be withheld or deducted from a payment to such Recipient and any
reasonable expenses arising therefrom or with respect thereto, whether or not such Indemnified
Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority. A
certificate as to the amount of such payment or liability delivered to the Borrower by a Lender
(with a copy to the Agent), or by the Agent on its own behalf or on behalf of a Lender, shall be
conclusive absent manifest error; provided that the determinations in such statement are made on
a reasonable basis and in good faith.

        (d)    Each Lender shall severally indemnify the Agent, within ten (10) days after
demand therefor, for (i) any Indemnified Taxes attributable to such Lender (but only to the
extent that a Borrower has not already indemnified the Agent for such Indemnified Taxes and
without limiting the obligation of the Borrowers to do so), (ii) any Taxes attributable to such
Lender’s failure to comply with the provisions of Section 9.04(c) relating to the maintenance of a
Participant Register and (iii) any Excluded Taxes attributable to such Lender, in each case, that


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are payable or paid by the Agent in connection with any Loan Document, and any reasonable
expenses arising therefrom or with respect thereto, whether or not such Taxes were correctly or
legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
amount of such payment or liability delivered to any Lender by the Agent shall be conclusive
absent manifest error. Each Lender hereby authorizes the Agent to set off and apply any and all
amounts at any time owing to such Lender under any Loan Document or otherwise payable by
the Agent to the Lender from any other source against any amount due to the Agent under this
subsection.

       (e)    As soon as practicable after any payment of Taxes by the Borrower to a
Governmental Authority pursuant to this Section 2.17, the Borrower shall deliver to the
Administrative Agent the original or a certified copy of a receipt issued by such Governmental
Authority evidencing such payment, a copy of the return reporting such payment or other
evidence of such payment reasonably satisfactory to the Agent.

        (f)     (i) Any Lender that is entitled to an exemption from or reduction of withholding
Tax with respect to payments made under any Loan Document shall deliver to the Borrower and
the Agent, at the time or times reasonably requested by the Borrower or the Agent, such properly
completed and executed documentation reasonably requested by the Borrower or the Agent as
will permit such payments to be made without withholding or at a reduced rate of withholding.
In addition, any Lender, if reasonably requested by the Borrower or the Agent, shall deliver such
other documentation prescribed by Legal Requirements or reasonably requested by the Borrower
or the Agent as will enable the Borrower or the Agent to determine whether or not such Lender
is subject to backup withholding or information reporting requirements. Notwithstanding
anything to the contrary in the preceding two sentences, the completion, execution and
submission of such documentation (other than such documentation set forth in the immediately
following clauses (ii)(2)(A), (ii)(2)(B) and (ii)(2)(D)) shall not be required if in the Lender’s
reasonable judgment such completion, execution or submission would subject such Lender to
any material unreimbursed cost or expense or would materially prejudice the legal or commercial
position of such Lender.

                    (i)     Without limiting the generality of the foregoing, in the event that a
              Borrower is a U.S. Person:

                             (A)     any Lender that is a U.S. Person shall deliver to the
                      Borrower and the Agent on or prior to the date on which such Lender
                      becomes a Lender under this Agreement (and from time to time thereafter
                      upon the reasonable request of the Borrower or the Agent), an electronic
                      copy (or an original if requested by the Borrower or the Agent) of an
                      executed IRS Form W-9 (or any successor form) certifying that such
                      Lender is exempt from U.S. federal backup withholding tax;

                              (B)     any Foreign Lender shall, to the extent it is legally entitled
                      to do so, deliver to the Borrower and the Agent (in such number of copies
                      as shall be requested by the recipient) on or prior to the date on which
                      such Foreign Lender becomes a Lender under this Agreement (and from



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                 time to time thereafter upon the reasonable request of the Borrower or the
                 Agent), whichever of the following is applicable:

                                (A)     in the case of a Foreign Lender claiming the
                        benefits of an income tax treaty to which the United States is a
                        party (x) with respect to payments of interest under any Loan
                        Document, an electronic copy (or an original if requested by the
                        Borrower or the Agent) of an executed IRS Form W-8BEN or W-
                        8BEN-E establishing an exemption from, or reduction of, U.S.
                        federal withholding Tax pursuant to the “interest” article of such
                        tax treaty and (y) with respect to any other applicable payments
                        under any Loan Document, IRS Form W-8BEN or W-8BEN-E
                        establishing an exemption from, or reduction of, U.S. federal
                        withholding Tax pursuant to the “business profits” or “other
                        income” article of such tax treaty;

                               (B)    an electronic copy (or an original if requested by
                        the Borrower or the Agent) of an executed IRS Form W-8ECI;

                                (C)     in the case of a Foreign Lender claiming the
                        benefits of the exemption for portfolio interest under Section
                        881(c) of the Code, (x) a certificate substantially in the form of
                        Exhibit F-1 to the effect that such Foreign Lender is not a “bank”
                        within the meaning of Section 881(c)(3)(A) of the Code, a “10
                        percent shareholder” of a Borrower within the meaning of Section
                        881(c)(3)(B) of the Code, or a “controlled foreign corporation”
                        described in Section 881(c)(3)(C) of the Code (a “U.S. Tax
                        Compliance Certificate”) and (y) executed copies of IRS Form W-
                        8BEN or W-8BEN-E; or

                                (D)     to the extent a Foreign Lender is not the beneficial
                        owner, an electronic copy (or an original if requested by the
                        Borrower or the Agent) of an executed IRS Form W-8IMY,
                        accompanied by IRS Form W-8ECI, IRS Form W-8BEN or W-
                        8BEN-E, a U.S. Tax Compliance Certificate substantially in the
                        form of Exhibit F-2 or Exhibit F-3, IRS Form W-9, and/or other
                        certification documents from each beneficial owner, as applicable;
                        provided that if the Foreign Lender is a partnership and one or
                        more direct or indirect partners of such Foreign Lender are
                        claiming the portfolio interest exemption, such Foreign Lender
                        may provide a U.S. Tax Compliance Certificate substantially in the
                        form of Exhibit F-4 on behalf of each such direct and indirect
                        partner;

                         (C)     any Foreign Lender shall, to the extent it is legally entitled
                 to do so, deliver to the Borrower and the Agent (in such number of copies
                 as shall be requested by the recipient) on or prior to the date on which


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                       such Foreign Lender becomes a Lender under this Agreement (and from
                       time to time thereafter upon the reasonable request of the Borrower or the
                       Agent), an electronic copy (or an original if requested by a Borrower or
                       the Agent) of any other form prescribed by Legal Requirements as a basis
                       for claiming exemption from or a reduction in U.S. federal withholding
                       Tax, duly completed, together with such supplementary documentation as
                       may be prescribed by Legal Requirements to permit the Borrower or the
                       Agent to determine the withholding or deduction required to be made; and

                               (D)    if a payment made to a Lender under any Loan Document
                       would be subject to U.S. federal withholding Tax imposed by FATCA if
                       such Lender were to fail to comply with the applicable reporting
                       requirements of FATCA (including those contained in Section 1471(b) or
                       1472(b) of the Code, as applicable), such Lender shall deliver to the
                       Borrower and the Agent at the time or times prescribed by Legal
                       Requirements and at such time or times reasonably requested by the
                       Borrower or the Agent such documentation prescribed by Legal
                       Requirements (including as prescribed by Section 1471(b)(3)(C)(i) of the
                       Code) and such additional documentation reasonably requested by the
                       Borrower or the Agent as may be necessary for the Borrower and the
                       Agent to comply with their obligations under FATCA and to determine
                       that such Lender has complied with such Lender’s obligations under
                       FATCA or to determine the amount to deduct and withhold from such
                       payment. Solely for purposes of this clause (D), “FATCA” shall include
                       any amendments made to FATCA after the date of this Agreement.

       Each Lender agrees that if any form or certification it previously delivered expires or
       becomes obsolete or inaccurate in any respect, it shall update such form or certification
       or promptly notify the Borrower and the Agent in writing of its legal inability to do so.

         (g)    If any party determines, in its sole discretion exercised in good faith, that it has
received a refund of any Taxes as to which it has been indemnified pursuant to this Section 2.17
(including by the payment of additional amounts pursuant to this Section 2.17), it shall pay to the
indemnifying party an amount equal to such refund (but only to the extent of indemnity
payments made under this Section 2.17 with respect to the Taxes giving rise to such refund), net
of all reasonable third party out-of-pocket expenses (including Taxes) of such indemnified party
actually incurred and without interest (other than any interest paid by the relevant Governmental
Authority with respect to such refund). Such indemnifying party, upon the request of such
indemnified party, shall repay to such indemnified party the amount paid over pursuant to this
subsection (plus any penalties, interest or other charges imposed by the relevant Governmental
Authority) in the event that such indemnified party is required to repay such refund to such
Governmental Authority. Notwithstanding anything to the contrary in this subsection, in no
event will the indemnified party be required to pay any amount to an indemnifying party
pursuant to this subsection the payment of which would place the indemnified party in a less
favorable net after-Tax position than the indemnified party would have been in if the Tax subject
to indemnification and giving rise to such refund has not been deducted, withheld or otherwise


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imposed and the indemnification payments or additional amounts with respect to such Tax had
never been paid. This subsection shall not be construed to require any indemnified party to make
available its Tax returns (or any other information relating to its Taxes that it reasonably deems
confidential) to the indemnifying party or any other Person.

       (h)     Each party’s obligations under this Section 2.17 shall survive the resignation or
replacement of the Agent or any assignment of rights by, or the replacement of, a Lender, the
termination of the Commitments and the repayment, satisfaction or discharge of all obligations
under any Loan Document.

       Section 2.18 Payments Generally; Pro Rata Treatment; Sharing of Set-offs.

        (a)     The Borrower shall make each payment required to be made by it hereunder
(whether of principal, interest, fees or of amounts payable under Section 2.15, Section 2.16 or
2.17, or otherwise) prior to 1:00 p.m., Boston, Massachusetts time, on the date when due, in
immediately available funds, without set-off or counterclaim. Any amounts received after such
time on any date may, in the reasonable discretion of the Administrative Agent, be deemed to
have been received on the next succeeding Business Day for purposes of calculating interest
thereon. All such payments shall be made to the Administrative Agent at its main offices in
Cleveland, Ohio, except that payments pursuant to Sections 2.15, 2.16, 2.17 and 9.03 shall be
made directly to the Persons entitled thereto. If the Administrative Agent receives a payment for
the account of a Lender prior to 1:00 p.m., Boston, Massachusetts time, such payment must be
delivered to the Lender on the same day and if it is not so delivered due to the fault of the
Administrative Agent, the Administrative Agent shall pay to the Lender entitled to the payment
interest thereon for each day after payment should have been received by the Lender pursuant
hereto until the Lender receives payment, at the Federal Funds Effective Rate. If any payment
hereunder shall be due on a day that is not a Business Day, the date for payment shall be
extended to the next succeeding Business Day, and, in the case of any payment accruing interest,
interest thereon shall be payable for the period of such extension. All payments hereunder shall
be made in Dollars.

        (b)    If at any time insufficient funds are received by and available to the
Administrative Agent to pay fully all amounts of principal, interest and fees then due hereunder,
such funds shall be applied (i) first, towards payment of interest and fees then due hereunder,
ratably among the parties entitled thereto in accordance with the amounts of interest and fees
then due to such parties, and (ii) second, towards payment of principal then due hereunder,
ratably among the parties entitled thereto in accordance with the amounts of principal then due to
such parties.

        (c)    If any Lender shall, by exercising any right of set-off or counterclaim or
otherwise, obtain payment in respect of any principal of or interest on any of its Loans resulting
in such Lender receiving payment of a greater proportion of the aggregate amount of its Loans
and accrued interest thereon than the proportion received by any other Lender, then the Lender
receiving such greater proportion shall purchase (for cash at face value) participations in the
Loans of other Lenders to the extent necessary so that the benefit of all such payments shall be
shared by the Lenders ratably in accordance with the aggregate amount of principal of and
accrued interest on their respective Loans; provided that (i) if any such participations are


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purchased and all or any portion of the payment giving rise thereto is recovered, such
participations shall be rescinded and the purchase price restored to the extent of such recovery,
without interest, and (ii) the provisions of this paragraph shall not be construed to apply to any
payment made by the Borrower pursuant to and in accordance with the express terms of this
Agreement or any payment obtained by a Lender as consideration for the assignment of or sale
of a participation in any of its Loans, other than to the Borrower or any Subsidiary or Affiliate
thereof (as to which the provisions of this paragraph shall apply). The Borrower consents to the
foregoing and agrees, to the extent it may effectively do so under applicable law, that any Lender
acquiring a participation pursuant to the foregoing arrangements may exercise against the
Borrower rights of set-off and counterclaim with respect to such participation as fully as if such
Lender were a direct creditor of the Borrower in the amount of such participation.

        (d)     Unless the Administrative Agent shall have received notice from the Borrower
prior to the date on which any payment is due to the Administrative Agent for the account of the
Lenders hereunder that the Borrower will not make such payment, the Administrative Agent may
assume that the Borrower has made such payment on such date in accordance herewith and may,
in reliance upon such assumption, distribute to the Lenders the amount due. In such event, if the
Borrower has not in fact made such payment, then each of the Lenders severally agrees to repay
to the Administrative Agent forthwith on demand the amount so distributed to such Lender with
interest thereon, for each day from and including the date such amount is distributed to it to but
excluding the date of payment to the Administrative Agent, at the Federal Funds Effective Rate.

        (e)    If any Lender shall fail to make any payment required to be made by it pursuant
to Section 2.18(d), then the Administrative Agent may, in its reasonable discretion
(notwithstanding any contrary provision hereof), apply any amounts thereafter received by the
Administrative Agent for the account of such Lender to satisfy such Lender’s obligations under
such Sections until all such unsatisfied obligations are fully paid.

       Section 2.19 Mitigation Obligations; Replacement of Lenders.

        (a)     Each Lender will notify the Borrower of any event occurring after the date of this
Agreement which will entitle such Person to compensation pursuant to Sections 2.13 and 2.15 as
promptly as practicable after it obtains knowledge thereof and determines to request such
compensation, provided that such Person shall not be liable for any costs, fees, expenses, or
additional interest due to the failure to provide such notice. If any Lender requests compensation
under Section 2.13, or if the Borrower is required to pay any additional amount to any such
Person or any Governmental Authority for the account of any Lender pursuant to Section 2.15,
then such Lender shall use reasonable efforts to avoid or minimize the amounts payable,
including, without limitation, the designation of a different lending office for funding or booking
its Loans hereunder or the assignment of its rights and obligations hereunder to another of its
offices, branches or affiliates, if, in the judgment of such Lender, such designation or assignment
(i) would eliminate or reduce amounts payable pursuant to Section 2.13 or 2.15, as the case may
be, in the future and (ii) would not subject such Lender to any unreimbursed cost or expense and
would not otherwise be disadvantageous to such Lender. The Borrower hereby agrees to pay all
reasonable and documented costs and expenses incurred by any Lender in connection with any
such designation or assignment.



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          (b)    If any Lender requests compensation under Section 2.13, or if the Borrower is
required to pay any additional amount to any Lender or any Governmental Authority for the
account of any Lender pursuant to Section 2.15, or if any Lender defaults in its obligation to
fund Loans hereunder, then the Borrower may, at its sole expense and effort (excluding any costs
or expense incurred by such Defaulting Lender), upon notice to such Lender and the
Administrative Agent, require such Lender to assign and delegate, without recourse (in
accordance with and subject to the restrictions contained in Section 9.04), all its interests, rights
and obligations under this Agreement to an assignee that shall assume such obligations (which
assignee may be another Lender, if a Lender accepts such assignment); provided that (i) the
Borrower shall have received the prior written consent of the Administrative Agent, which
consent shall not unreasonably be withheld, (ii) such Lender shall have received payment of an
amount equal to the outstanding principal of its Loans, accrued interest thereon, accrued fees and
all other amounts payable to it hereunder, from the assignee (to the extent of such outstanding
principal and accrued interest and fees) or the Borrower (in the case of all other amounts), and
(iii) in the case of any such assignment resulting from a claim for compensation under Section
2.13 or payments required to be made pursuant to Section 2.15, such assignment will result in a
reduction in such compensation or payments. A Lender shall not be required to make any such
assignment and delegation if, prior thereto, as a result of a waiver by such Lender or otherwise,
the circumstances entitling the Borrower to require such assignment and delegation cease to
apply.

       Section 2.20 Defaulting Lenders.

       (a)    Adjustments. Notwithstanding anything to the contrary contained in this Credit
Agreement, if any Lender becomes a Defaulting Lender, then, until such time as that Lender is
no longer a Defaulting Lender, to the extent permitted by applicable Law:

                      (i)     Waivers and Amendments. That Defaulting Lender’s right to
               approve or disapprove any amendment, waiver or consent with respect to this
               Credit Agreement shall be restricted as set forth in Section 9.02.

                       (ii)    Reallocation of Payments. Any payment of principal, interest, fees
               or other amounts received by Administrative Agent for the account of a
               Defaulting Lender (whether voluntary or mandatory, at maturity, pursuant to
               ARTICLE VII or otherwise, and including any amounts made available to
               Administrative Agent by that Defaulting Lender pursuant to Section 9.08), shall
               be applied at such time or times as may be determined by Administrative Agent
               as follows: first, to the payment of any amounts owing by that Defaulting Lender
               to Administrative Agent hereunder; second, if so determined by Administrative
               Agent, to be held as cash collateral for future funding obligations of such
               Defaulting Lender; third, to the payment of any amounts owing to the non-
               Defaulting Lenders as a result of any judgment of a court of competent
               jurisdiction obtained by any Lender against such Defaulting Lender as a result of
               that Defaulting Lender’s breach of its obligations under this Credit Agreement;
               fourth, so long as no Default or Event of Default exists, to the payment of any
               amounts owing to the applicable Borrower as a result of any judgment of a court



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              of competent jurisdiction obtained by Borrower against such Defaulting Lender as
              a result of such Defaulting Lender’s breach of its obligations under this Credit
              Agreement; and fifth, to such Defaulting Lender or as otherwise directed by a
              court of competent jurisdiction. Any payments, prepayments or other amounts
              paid or payable to a Defaulting Lender that are applied (or held) to pay amounts
              owed by a Defaulting Lender or to post cash collateral pursuant to this Section
              2.20(a)(ii) shall be deemed paid to and redirected by such Defaulting Lender, and
              each Lender irrevocably consents hereto.

        (b)     Defaulting Lender Cure. If the Borrower and Administrative Agent agree in
writing in their reasonable discretion that a Defaulting Lender has taken such action that it
should no longer be deemed to be a Defaulting Lender, Administrative Agent will so notify the
parties hereto, whereupon as of the effective date specified in such notice and subject to any
conditions set forth therein (which may include arrangements with respect to any cash
collateral), such Defaulting Lender will, to the extent applicable, purchase that portion of
outstanding Loans of the other Lenders or take such other actions as Administrative Agent may
determine to be necessary to cause the Loans to be held on a pro rata basis by the Lenders in
accordance with their Applicable Percentages, whereupon such Defaulting Lender will cease to
be a Defaulting Lender; provided that no adjustments will be made retroactively with respect to
fees accrued or payments made by or on behalf of the Borrower while such Lender was a
Defaulting Lender; and provided, further, that except to the extent otherwise expressly agreed by
the affected parties, no cessation in status as Defaulting Lender will constitute a waiver or
release of any claim of any party hereunder arising during the period that such Lender was a
Defaulting Lender.

        Section 2.21 Extension of Tranche A Maturity Date. The Borrower shall have the right
and option to extend the Tranche A Maturity Date on no more than two occasions and for a term
of 90 days on each occasion, first to June 26, 2019 and then to September 26, 2019, in each case,
upon satisfaction of the following conditions precedent, which must be satisfied prior to the
effectiveness of any extension of the Tranche A Initial Maturity Date:

       (a)    Extension Request. The Borrower shall deliver written notice of such request (the
“Extension Request”) to the Agent not later than the date which is thirty (30) days prior to the
Tranche A Initial Maturity Date.

       (b)     Payment of Extension Fee. The Borrower shall pay to the Agent for the pro rata
accounts of the Lenders in accordance with their respective Commitments an extension fee in an
amount equal to 0.10% of the outstanding principal amount of the Tranche A Loans on the date
of each extension of the Tranche A Initial Maturity Date, which fee shall, when paid, be fully
earned and non-refundable under any circumstances.

       (c)    No Default. On the date the Extension Request is given and the effective date of
such extension there shall exist no Default or Event of Default.

       (d)     Purchase and Sale. Borrower shall have, prior to the effective date of each such
extension, entered in a legally binding purchase and sale agreement (or similar) with respect to
the Mortgaged Properties, with the sale of the Mortgaged Properties pursuant to such agreement


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being scheduled to occur prior to the latest date to which the Tranche A Initial Maturity Date
could be extended in accordance with the provisions of this Section 2.21.

        Section 2.22 Extension of Tranche B Maturity Date. The Borrower shall have the right
and option to extend the Tranche B Maturity Date on a single occasion to March 26, 2020, upon
satisfaction of the following conditions precedent, which must be satisfied prior to the
effectiveness of such extension of the Tranche B Initial Maturity Date:

       (a)     Extension Request. The Borrower shall deliver an Extension Request to the
Agent not later than the date which is thirty (30) days prior to the Tranche B Initial Maturity
Date.

       (b)     Payment of Extension Fee. The Borrower shall pay to the Agent for the pro rata
accounts of the Lenders in accordance with their respective Commitments an extension fee in an
amount equal to 0.40% of the outstanding principal amount of the Tranche B Loans on the
Tranche B Initial Maturity Date, which fee shall, when paid, be fully earned and non-refundable
under any circumstances.

       (c)    No Default. On the date the Extension Request is given and the effective date of
such extension there shall exist no Default or Event of Default.

       (d)    Principal Reduction. On the date of such extension, the Tranche A Loans shall
have been paid in full and the aggregate principal amount of the Tranche B Loans shall not
exceed $50,000,000.

                                           ARTICLE III

                                 Representations and Warranties

       The Borrower represents and warrants to the Lenders and the Administrative Agent that:

       Section 3.01 Organization; Powers. Each Borrower and each of its Subsidiaries is duly
organized, validly existing and in good standing under the laws of the jurisdiction of its
organization, has all requisite power and authority to carry on its business as now conducted and,
except where the failure to do so, individually or in the aggregate, would not reasonably be
expected to result in a Material Adverse Effect, is qualified to do business in, and is in good
standing in, every jurisdiction where such qualification is required.

        Section 3.02 Authorization; Enforceability. The Transactions are within the corporate,
partnership or limited liability company powers (as applicable) of the respective Borrowers and
their Subsidiaries and have been duly authorized by all necessary corporate, partnership or
limited liability company action. This Agreement and the Loan Documents have been duly
executed and delivered by each Borrower which is a party thereto and constitute the legal, valid
and binding obligation of each such Person, enforceable in accordance with its terms, subject to
applicable bankruptcy, insolvency, reorganization, moratorium or other laws affecting creditors’
rights generally and subject to general principles of equity, regardless of whether considered in a
proceeding in equity or at law.


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        Section 3.03 Governmental Approvals; No Conflicts. The Transactions (a) do not
require any consent or approval of, registration or filing with, or any other action by, any
Governmental Authority, except such as have been obtained or made and are in full force and
effect or which shall be completed at the appropriate time for such filings under applicable
securities laws, (b) will not violate any applicable law or regulation or the charter, by-laws or
other organizational documents of any Borrower or any Collateral Subsidiary or any order of any
Governmental Authority, (c) will not violate or result in a default under any indenture,
agreement or other instrument binding upon any Borrower or any Collateral Subsidiary or its
assets, or give rise to a right thereunder to require any payment to be made by any Borrower or
any of the Borrower’s Subsidiaries, and (d) will not result in the creation or imposition of any
Lien on any asset of any Borrower or any Collateral Subsidiary, except pursuant to the Pledge
Agreement, the Equity Proceeds Pledge, the Economic Interest Pledge, and the Senior Loan.

        Section 3.04 Financial Condition; No Material Adverse Change.

        (a)     The Borrower has heretofore furnished to the Lenders audited financial
statements for Highland Capital and management-prepared financial statements for all other
Borrowers (other than the Property Owner Borrowers) as of and for the annual fiscal period
ended December 31, 2017 and management-prepared financial statements as of and for the
quarterly fiscal period ended June 30, 2018. Such financial statements present fairly, in all
material respects, the financial position and results of operations and cash flows of the Borrower
and its consolidated Subsidiaries as of such dates and for such periods in accordance with sound
accounting principles, consistently applied, subject to year-end audit adjustments.

       (b)    To Borrower’s actual knowledge, since December 31, 2017, no event has
occurred which would reasonably be expected to have a Material Adverse Effect.

        Section 3.05 Properties.

          (a)     Each of the Borrower and its Subsidiaries has title to, or valid leasehold interests
in, all its real and personal property material to its business, except for minor defects in title that
do not interfere with its ability to conduct its business as currently conducted or to utilize such
properties for their intended purposes, or Liens permitted under Section 6.01.

        (b)     To each Borrower’s actual knowledge, all franchises, licenses, authorizations,
rights of use, governmental approvals and permits (including all certificates of occupancy and
building permits) required to have been issued by Governmental Authority to enable all Real
Property owned or leased by Borrower or any of its Subsidiaries to be operated as then being
operated have been lawfully issued and are in full force and effect, other than those which the
failure to obtain in the aggregate would not be reasonably expected to have a Material Adverse
Effect. To each Borrower’s actual knowledge, no Borrower or any Subsidiary thereof is in
violation of the terms or conditions of any such franchises, licenses, authorizations, rights of use,
governmental approvals and permits, which violation would reasonably be expected to have a
Material Adverse Effect.

       (c)     None of the Borrowers has received any notice or has any actual knowledge of
any pending, threatened or contemplated condemnation proceeding affecting any of the Real


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Properties or any part thereof, or any proposed termination or impairment of any parking (except
as contemplated in any approved expansion approved by Administrative Agent) at the Real
Properties or of any sale or other disposition of the Real Properties or any part thereof in lieu of
condemnation, which in the aggregate, are reasonably likely to have a Material Adverse Effect.

        (d)      Subject to the property conditions reports obtained by the Borrower at the time of
acquisition with respect to the Mortgaged Property, to Borrower’s actual knowledge, all
components of all improvements included within the Mortgaged Property owned or leased, as
lessee, by any Borrower, including, without limitation, the roofs and structural elements thereof
and the heating, ventilation, air conditioning, plumbing, electrical, mechanical, sewer, waste
water, storm water, paving and parking equipment, systems and facilities included therein, are in
good working order and repair, subject to such exceptions which are not reasonably likely to
have, in the aggregate, a Material Adverse Effect. To Borrower’s actual knowledge, all water,
gas, electrical, steam, compressed air, telecommunication, sanitary and storm sewage lines and
systems and other similar systems serving the Mortgaged Property owned or leased by Borrower
are installed and operating and are sufficient to enable the Mortgaged Property to continue to be
used and operated in the manner currently being used and operated, and no Borrower has any
knowledge of any factor or condition that reasonably would be expected to result in the
termination or material impairment of the furnishing thereof, subject to such exceptions which
are not likely to have, in the aggregate, a Material Adverse Effect. To Borrower’s actual
knowledge, no improvement or portion thereof, or any other part of any Mortgaged Property, is
dependent for its access, operation or utility on any land, building or other improvement not
included in such Mortgaged Property, other than for access provided pursuant to a recorded
easement or other right of way establishing the right of such access subject to such exceptions
which are not likely to have, in the aggregate, a Material Adverse Effect.

        (e)     Except for events or conditions not reasonably likely to, in the aggregate,
materially impair the value or operation of the Mortgaged Property, to Borrower’s actual
knowledge (i) no portion of the Mortgaged Property has suffered any material damage by fire or
other casualty loss which has not heretofore been completely repaired and restored to its
condition prior to such casualty, and (ii) no portion of the Mortgage Property is located in a
special flood hazard area as designated by any federal Government Authorities unless the
Administrative Agent shall have received evidence that such Mortgaged Property is insured by
special flood insurance under the National Flood Insurance Program in an amount equal to the
full replacement cost (subject to sublimits and exclusions approved by the Administrative Agent)
or the maximum amount then available under the National Flood Insurance Program.

       (f)     There are no Persons operating or managing the Mortgaged Property other than
the Borrower and the Management Company pursuant to (i) the management agreements
delivered to Administrative Agent as of the Effective Date, and (ii) such other management
agreements in form and substance reasonably satisfactory to the Administrative Agent.

        Section 3.06 Intellectual Property. To the actual knowledge of each Borrower, such
Borrower and its Subsidiaries owns, or is licensed to use, all patents and other intellectual
property material to its business, and the use thereof by such Borrower or such Subsidiary does
not infringe upon the rights of any other Person, except for any such infringements that,



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individually or in the aggregate, would not reasonably be expected to result in a Material
Adverse Effect. To the actual knowledge of each Borrower, there are no material slogans or
other advertising devices, projects, processes, methods, substances, parts or components, or other
material now employed, or now contemplated to be employed, by any Borrower or any
Subsidiary of any Borrower, with respect to the operation of any Real Property, and no claim or
litigation regarding any slogan or advertising device, project, process, method, substance, part or
component or other material employed, or now contemplated to be employed by any Borrower
or any Subsidiary of any Borrower, is pending or threatened, the outcome of which could
reasonably be expected to have a Material Adverse Effect.

       Section 3.07 Litigation and Environmental Matters.

        (a)    To the actual knowledge of the Borrower, except as set forth in Schedule 3.07
attached hereto, there are no actions, suits or proceedings by or before any arbitrator or
Governmental Authority pending against or, threatened against or affecting any Borrower or any
of the Borrower’s Subsidiaries (i) as to which there is a reasonable possibility of an adverse
determination and that, if adversely determined, would reasonably be expected, individually or
in the aggregate, to result in a Material Adverse Effect or (ii) that involve this Agreement or the
Transactions.

        (b)    Except as disclosed in the environmental reports obtained by the Borrower at the
time of acquisition with respect to the Portfolio Property and with respect to any matters that,
individually or in the aggregate, would not reasonably be expected to result in a Material
Adverse Effect:

                      (i)    to the actual knowledge of the Borrowers, all Real Property leased
               or owned by Borrower or any of its Subsidiaries is free from contamination by
               any Hazardous Material, except to the extent such contamination would not
               reasonably be expected to cause a Material Adverse Effect;

                       (ii)   to the actual knowledge of the Borrower, the operations of
               Borrower and its Subsidiaries, and the operations at the Real Property leased or
               owned by Borrower or any of its Subsidiaries are in compliance with all
               applicable Environmental Laws, except to the extent such noncompliance would
               not reasonably be expected to cause a Material Adverse Effect;

                        (iii) neither the Borrower nor any of its Subsidiaries have known
               liabilities with respect to Hazardous Materials and, to the knowledge of each
               Borrower, no facts or circumstances exist which would reasonably be expected to
               give rise to liabilities with respect to Hazardous Materials, in either case, except
               to the extent such liabilities would not reasonably be expected to have a Material
               Adverse Effect;

                      (iv)    to Borrower’s actual knowledge, (A) the Borrower and its
               Subsidiaries and all Real Property owned or leased by Borrower or its
               Subsidiaries have all Environmental Permits necessary for the operations at such
               Real Property and are in compliance with such Environmental Permits; (B) there


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           are no legal proceedings pending nor, to the knowledge of any Borrower,
           threatened to revoke, or alleging the violation of, such Environmental Permits;
           and (C) none of the Borrowers have received any notice from any source to the
           effect that there is lacking any Environmental Permit required in connection with
           the current use or operation of any such properties, in each case, except to the
           extent the nonobtainment or loss of an Environmental Permit would not
           reasonably be expected to have a Material Adverse Effect;

                   (v)     neither the Real Property currently leased or owned by Borrower
           nor, to the actual knowledge of any Borrower, are subject to any outstanding
           written order or contract, including Environmental Liens, with any Governmental
           Authority or other Person, or to any federal, state, local, foreign or territorial
           investigation of which a Credit Party has been given notice respecting (A)
           Environmental Laws, (B) Remedial Action, (C) any Environmental Claim; or (D)
           the Release or threatened Release of any Hazardous Material, in each case, except
           to the extent such written order, contract or investigation would not reasonably be
           expected to have a Material Adverse Effect;

                  (vi)     to the actual knowledge of each Borrower, none of the Borrowers
           are subject to any pending legal proceeding alleging the violation of any
           Environmental Law nor are any such proceedings threatened, in either case,
           except to the extent any such proceedings would not reasonably be expected to
           have a Material Adverse Effect;

                    (vii) Borrower has not filed any notice under federal, state or local,
           territorial or foreign law indicating past or present treatment, storage, or disposal
           of or reporting a Release of Hazardous Material into the environment with respect
           to the Mortgaged Property, in each case, except to the extent such Release of
           Hazardous Material would not reasonably be expected to have a Material Adverse
           Effect;

                    (viii) to the actual knowledge of each Borrower, none of the operations
           of the Borrower or any of its Subsidiaries or, of any owner of premises currently
           leased by Borrower or any of its Subsidiaries or of any tenant of premises
           currently leased from Borrower or any of its Subsidiaries, involve the generation,
           transportation, treatment, storage or disposal of hazardous waste, as defined under
           40 C.F.R. Part 261.3 (in effect as of the date of this Agreement) or any state,
           local, territorial or foreign equivalent, in violation of Environmental Laws; and

                   (ix)    to the knowledge of the Borrower, there is not now (except, in all
           cases, to the extent the existence thereof would not reasonably be expected to
           have a Material Adverse Effect), on, in or under any Real Property leased or
           owned by Borrower or any of its Subsidiaries (A) any underground storage tanks
           or surface tanks, dikes or impoundments (other than for surface water); (B) any
           friable asbestos-containing materials; (C) any polychlorinated biphenyls; or (D)
           any radioactive substances other than naturally occurring radioactive material.



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        Section 3.08 Compliance with Laws and Agreements. Each of the Borrower and its
Subsidiaries is in material compliance with all Legal Requirements (including all Environmental
Laws) applicable to it or its property and all indentures, agreements and other instruments
binding upon it or to its knowledge, its property, except where the failure to do so, individually
or in the aggregate, would not reasonably be expected to result in a Material Adverse Effect. No
Default has occurred and is continuing.

        Section 3.09 Investment and Holding Company Status. Neither any of the Borrowers nor
any of the Borrower’s Subsidiaries is (a) an “investment company” as defined in, or subject to
regulation under, the Investment Company Act of 1940 or (b) a “holding company” as defined
in, or subject to regulation under, the Public Utility Holding Company Act of 1935.

       Section 3.10 Taxes. To Borrower’s actual knowledge, each Borrower and each of the
Borrower’s Subsidiaries has timely filed or caused to be filed all Tax returns and reports required
to have been filed and has paid or caused to be paid all Taxes required to have been paid by it,
except (a) Taxes that are being contested in good faith by appropriate proceedings and for which
such Person has set aside on its books adequate reserves or (b) to the extent that the failure to do
so would not reasonably be expected to result in a Material Adverse Effect.

        Section 3.11 ERISA. No ERISA Event has occurred or is reasonably expected to occur
that, when taken together with all other such ERISA Events for which liability is reasonably
expected to occur, would reasonably be expected to result in a Material Adverse Effect. Neither
the Borrower nor any of its Subsidiaries have any Plans as of the date hereof. As to any future
Plan the present value of all accumulated benefit obligations under each Plan (based on the
assumptions used for purposes of Statement of Financial Accounting Standards No. 87) will not
exceed the fair market value of the assets of such Plan, and the present value of all accumulated
benefit obligations of all underfunded Plans (based on the assumptions used for purposes of
Statement of Financial Accounting Standards No. 87) will not exceed the fair market value of the
assets of all such underfunded Plans.

         Section 3.12 Disclosure. To the actual knowledge of the Borrower, the Borrower has
disclosed or made available to the Lenders all agreements, instruments and corporate or other
restrictions to which it, any other Borrower, or any of its Subsidiaries is subject, and all other
matters known to it, that, in the aggregate, would reasonably be expected to result in a Material
Adverse Effect. None of the reports, financial statements, certificates or other information
furnished by or on behalf of the Borrower to the Administrative Agent or any Lender in
connection with the negotiation of this Agreement or delivered hereunder (as modified or
supplemented by other information so furnished) contains any material misstatement of fact or
omits to state any material fact necessary to make the statements therein, in the light of the
circumstances under which they were made, not misleading; provided that, with respect to
projected financial information, the Borrower represents only that such information was prepared
in good faith based upon assumptions believed to be reasonable at the time.

        Section 3.13 Solvency. As of the Effective Date and after giving effect to the
transactions contemplated by this Agreement and the other Loan Documents (including any
contribution rights under the Guaranty), including all Loans made or to be made hereunder, the
Borrower is not insolvent on a balance sheet basis such that the sum of such Person’s assets


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exceeds the sum of such Person’s liabilities, the Borrower is able to pay its debts as they become
due, and the Borrower has sufficient capital to carry on its business.

        Section 3.14 Margin Regulations. Neither the Borrower nor any Subsidiary of Borrower
is engaged in the business of extending credit for the purpose of purchasing or carrying margin
stock (within the meaning of Regulation U issued by the Board), and no proceeds of the Loans
will be used to purchase or carry any margin stock.

        Section 3.15 Subsidiaries. As of the Effective Date, no Person owns any Equity Interests
in the Portfolio Properties, Summers Landing Property, or HCRE Properties except as set forth
on Schedule 3.15 attached hereto.

        Section 3.16 OFAC; Anti-Money Laundering. None of the Borrower, any of the other
Subsidiaries, or any other Affiliate thereof is (or will be) (i) a Sanctioned Person, (ii) located,
organized or resident in a Designated Jurisdiction, (iii) to the best of Borrower’s knowledge,
without any independent inquiry, is or has been (within the previous five (5) years) engaged in
any transaction with any Sanctioned Person or any Person who is located, organized or resident
in any Designated Jurisdiction to the extent that such transactions would violate Sanctions, or
(iv) has violated any Anti-Money Laundering Law in any material respect. Each Borrower and
its Subsidiaries, and to the knowledge of the Borrower, each director, officer, employee, agent
and Affiliate of the Borrower and each such Subsidiary, is in compliance with the Anti-
Corruption Laws in all material respects. The Borrowers have implemented and maintain in
effect policies and procedures designed to promote and achieve compliance with the Anti-
Corruption Laws and applicable Sanctions.

       Section 3.17 EEA Financial Institution. No Borrower is an EEA Financial Institution.

        Section 3.18 Single Asset Entity; Compliance With Laws. Each Property Owner
Borrower hereby represents and warrants to, and covenants with, Agent that as of the date hereof
and until such time as the Loan shall be paid in full, that such Property Owner Borrower has not
at any time, does not presently, and shall not:

        (a)    own any asset or property other than (i) the Mortgaged Property owned by it as of
the date hereof, and (ii) incidental personal property necessary for the ownership or operation of
such Mortgaged Property;

      (b)    engage in any business other than the ownership, management and operation of
such Mortgaged Property;

        (c)    enter into any contract or agreement with any Affiliate of Property Owner, any
constituent party of such Property Owner Borrower or any Affiliate of any constituent party,
except upon terms and conditions that are substantially similar to those that would be available
on an arms-length basis with third parties other than any such party;

        (d)    incur any Indebtedness other than (i) the Loan, (ii) unsecured trade payables in
the ordinary course of business not evidenced by a note, (iii) indebtedness incurred in the
financing of equipment and other personal property used on the Property, and (iv) obligations to


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tenants under Approved Leases; provided that any indebtedness incurred pursuant to subclauses
(ii) and (iii) shall (x) be paid within ninety (90) days of the date incurred (or, in the case of
equipment leases, such longer period as may be permitted by such leases), and (y) be incurred in
the ordinary course of business.

        (e)    make any loans or advances to any third party (including any Affiliate or
constituent party), or acquire obligations or securities of its Affiliates;

        (f)    fail to remain solvent or fail to pay its debts and liabilities (including, as
applicable, shared personnel and overhead expenses) from its assets as the same shall become
due; for the avoidance of doubt, nothing herein shall require any member of Property Owner
Borrower to make additional capital contributions to such Property Owner Borrower;

         (g)     fail to do all things necessary to observe organizational formalities and preserve
its existence, and such Property Owner Borrower shall not, nor shall such Property Owner
Borrower permit any constituent party to, amend, modify or otherwise change the partnership
certificate, partnership agreement, articles of incorporation and bylaws, operating agreement,
trust or other organizational documents of such Property Owner Borrower or such constituent
party without the prior consent of Lender in any manner that (i) violates the covenants set forth
in this Section 3.17, or (ii) amends, modifies or otherwise changes any provision thereof that by
its terms cannot be modified at any time when the Loan is outstanding or by its terms cannot be
modified without Administrative Agent’s consent;

        (h)     fail to maintain all of its books, records, financial statements and bank accounts
separate from those of its Affiliates and any constituent party. Such Property Owner Borrower’s
assets will not be listed as assets on the financial statement of any other Person, provided,
however, that such Property Owner Borrower’s assets may be included in a consolidated
financial statement of its Affiliates provided that (i) appropriate notation shall be made on such
consolidated financial statements to indicate the separateness of such Property Owner Borrower
and such Affiliates and to indicate that such Property Owner Borrower’s assets and credit are not
available to satisfy the debts and other obligations of such Affiliates or any other Person and (ii)
such assets shall be listed on such Property Owner Borrower’s own separate balance sheet. Such
Property Owner Borrower shall maintain its books, records, resolutions and agreements as
official records;

        (i)     fail to be, or fail to hold itself out to the public as, a legal entity separate and
distinct from any other entity (including any Affiliate of such Property Owner Borrower or any
constituent party of such Property Owner Borrower), fail to correct any known misunderstanding
regarding its status as a separate entity, fail to conduct business in its own name, or fail to
maintain and utilize separate stationery, invoices and checks bearing its own name, and such
Property Owner Borrower shall not identify itself or any of its Affiliates as a division or part of
the other;

        (j)    fail to maintain adequate capital for the normal obligations reasonably foreseeable
in a business of its size and character and in light of its contemplated business operations; for the
avoidance of doubt, nothing herein shall require any member of such Property Owner Borrower
to make additional capital contributions to such Property Owner Borrower;


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        (k)     seek or effect the liquidation, dissolution, winding up, consolidation or merger, in
whole or in part, of such Property Owner Borrower nor permit any constituent party of such
Property Owner Borrower to do any of the foregoing; for the avoidance of doubt, nothing herein
shall require any member of Property Owner to make additional capital contributions to such
Property Owner Borrower;

       (l)    commingle the funds and other assets of such Property Owner Borrower with
those of any Affiliate or constituent party or any other Person, and shall hold all of its assets in
its own name;

        (m)    fail to maintain its assets in such a manner that it will not be costly or difficult to
segregate, ascertain or identify its individual assets from those of any Affiliate or constituent
party or any other Person;

        (n)     except with respect to the Obligations, guarantee or become obligated for the
debts of any other Person or hold itself out to be responsible for or have its credit available to
satisfy the debts or obligations of any other Person;

       (o)     permit any Affiliate independent access to its bank accounts; or

       (p)      fail to compensate each of its consultants and agents from its funds for services
provided to it and pay from its own assets all obligations of any kind incurred; for the avoidance
of doubt, nothing herein shall require any member of Property Owner to make additional capital
contributions to such Property Owner Borrower.

                                            ARTICLE IV

                                              Conditions

        Section 4.01 Effective Date. The obligations of the Lenders to make the Loans hereunder
shall not become effective until the date on which each of the following conditions is satisfied
(or waived in accordance with Section 9.02):

        (a)    The Administrative Agent (or its counsel) shall have received from each
Borrower either (i) a counterpart of this Agreement and all other Loan Documents to which it is
party signed on behalf of such party or (ii) written evidence satisfactory to the Administrative
Agent (which may include telecopy transmission of a signed signature page of each such Loan
Document other than the Notes) that such party has signed a counterpart of the Loan Documents,
together with copies of all Loan Documents.

        (b)    The Administrative Agent shall have received a favorable written opinion
(addressed to the Administrative Agent and the Lenders and dated the Effective Date) of Wick
Phillips Gould & Martin, LLP, counsel for the Borrower, and such other counsel as the
Administrative Agent may approve, covering such matters relating to the Borrower, the Loan
Documents or the Transactions as the Administrative Agent shall reasonably request. The
Borrower hereby requests such counsel to deliver such opinion.



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         (c)    The Administrative Agent shall have received such documents and certificates as
the Administrative Agent or its counsel may reasonably request relating to the organization,
existence and good standing of the Borrower, the authorization of the Transactions and any other
legal matters relating to the Borrower, this Agreement (including each Borrower’s compliance
with Section 9.14 and other customary “know your customer” requirements) or the Transactions,
all in form and substance satisfactory to the Administrative Agent and its counsel.

        (d)     The Administrative Agent shall have received a Compliance Certificate, dated the
date of this Agreement and signed by Borrowers or Lead Borrower, in form and substance
satisfactory to the Administrative Agent.

       (e)    The Administrative Agent shall have received searches of Uniform Commercial
Code (“UCC”) filings (or their equivalent) together with such other customary lien, litigation and
bankruptcy searches as the Administrative Agent may require.

       (f)     The Administrative Agent shall have received all fees and other amounts due and
payable on or prior to the Effective Date, including, to the extent invoiced, reimbursement or
payment of all out-of-pocket expenses required to be reimbursed or paid by the Borrower
hereunder.

       (g)    The Administrative Agent shall have received an Appraisal of each Mortgaged
Property being included as Collateral in form and substance satisfactory to the Administrative
Agent and the Lenders;

        (h)    The Administrative Agent shall have received executed copies of all other Loan
Documents, the Environmental Assessment, the Title Insurance Policy and the Current Survey
(in each instance as delivered in connection with the original closing of the Loan, with the
Administrative Agent receiving an acceptable endorsement to each Title Insurance Policy),
property condition assessments, insurance certificates, and such other due diligence information
as the Administrative Agent may require for each Mortgaged Property.

        (f)     The representations and warranties of each Borrower set forth in this Agreement
or in any other Loan Document shall be true and correct on and as of the Effective Date.

       (g)     At the time of and immediately after giving effect to the making of the Loans, no
Default shall have occurred and be continuing.

        (h)     The Administrative Agent shall have received and approved executed copies of
the Senior Loan Documents and sufficient evidence that the Senior Loan has closed and funded
and that the proceeds thereof, together with the proceeds of the Loans hereunder, shall be
sufficient to consummate the acquisition of the Portfolio Properties and the Summers Landing
Property.

        (i)    Upon the reasonable request of any Lender made at least ten (10) days prior to the
Effective Date, each Borrower shall have provided to such Lender the documentation and other
information so requested in connection with applicable “know your customer” and anti-money-



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laundering rules and regulations, including the Patriot Act, in each case at least five (5) days
prior to the Effective Date.

        (j)     At least five (5) days prior to the Effective Date, any Borrower that qualifies as a
“legal entity customer” under the Beneficial Ownership Regulation shall deliver a Beneficial
Ownership Certification in relation to such Borrower to each requesting Lender.

      Section 4.02 Each Borrowing. The obligation of each Lender (as applicable) to make a
Loan on the occasion of any Borrowing is subject to the satisfaction of the following conditions:

        (a)     The representations and warranties of each Borrower set forth in this Agreement
or in any other Loan Document shall be true and correct on and as of the date of such Borrowing.

        (b)    At the time of and immediately after giving effect to such Borrowing, no Default
shall have occurred and be continuing.

       (c)    With respect to any requested Borrowings, the Borrower shall have complied with
Section 2.03.

       (d)    Each Borrowing shall be deemed to constitute a representation and warranty by
the Borrower on the date thereof as to the matters specified in this Section.

                                            ARTICLE V

                                      Affirmative Covenants

       Until the principal of and interest on the Loans and all fees payable hereunder shall have
been paid in full, the Borrower covenants and agrees with the Lenders that:

      Section 5.01 Financial Statements; Ratings Change and Other Information. The
Borrower will furnish to the Administrative Agent and each Lender:

       (a)     within 120 days after the end of each fiscal year of the Borrower, the consolidated
balance sheet and related statements of operations, stockholders' equity and cash flows as of the
end of and for such year, together with all notes thereto, setting forth in each case in comparative
form the figures for the previous fiscal year, which shall be (i) with respect to Highland Capital,
reported on by Deloitte or other independent public accountants of recognized national standing
(without a “going concern” or like qualification or exception and without any qualification or
exception as to the scope of such audit), and (ii) with respect to each other Borrower other than
the Property Owner Borrowers, certified by each such Borrower, in each case, to the effect that
such consolidated financial statements present fairly in all material respects the financial
condition and results of operations of the applicable Borrower and its consolidated Subsidiaries
on a consolidated basis in accordance with sound accounting principles, consistently applied;

       (b)     within 60 days after the end of each fiscal quarter of each fiscal year of the
Borrower, each Borrower’s (other than the Property Owner Borrowers) consolidated balance
sheet and related statements of operations, stockholders' equity and cash flows as of the end of



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and for such fiscal quarter and the then elapsed portion of the fiscal year, setting forth in each
case in comparative form the figures for the corresponding period or periods of (or, in the case of
the balance sheet, as of the end of) the previous fiscal year and including supporting notes and
schedules, all certified by each such Borrower as presenting fairly in all material respects the
financial condition and results of operations of the applicable Borrower on a consolidated basis
in accordance with sound accounting principles, consistently applied, subject to normal year-end
audit adjustments and the absence of footnotes;

       (c)     concurrently with any delivery of financial statements under clause (a) or
(b) above, a compliance certificate of the Borrowers (the “Compliance Certificate”) in the form
of Exhibit B attached hereto;

       (d)     concurrently with any delivery of quarterly financial statements under clause
(b) above, operating statements, rent roll and accounts receivable aging for each Mortgaged
Property; and

       (e)     promptly following any request therefor, such other information regarding the
operations, business affairs and financial condition of any Borrower or any Subsidiary of the
Borrower, or compliance with the terms of the Loan Documents, as the Administrative Agent or
any Lender may reasonably request.

        Section 5.02 Financial Tests. The Borrower shall have and maintain at all times, on a
consolidated basis in accordance with sound accounting principles, consistently applied, tested
as of the close of each calendar quarter:

       (a)     A Total Leverage Ratio not to exceed sixty-five percent (65%);

       (b)     A minimum Fixed Charge Coverage Ratio of not less than 1.30:1.00;

       (c)     Tangible Net Worth at all times of not less than $750,000,000; and

        (d)     A minimum Liquidity at all times in an amount not less than $75,000,000;
provided that, at any time when the aggregate outstanding principal amount of the Loans is
$150,000,000 or less, Borrower shall maintain minimum Liquidity in an amount not less than the
lesser of (i) $75,000,000 and (ii) 25% of the aggregate outstanding principal amount of the
Loans.

       Section 5.03 Notices of Material Events. The Borrower will furnish to the
Administrative Agent and each Lender written notice of the following promptly after it becomes
aware of same (unless specific time is set forth below):

        (a)    the occurrence of any Default under this Agreement or any default or event of
default under a Senior Loan Document;

        (b)    within fifteen (15) Business Days after the filing or commencement of any action,
suit or proceeding by or before any arbitrator or Governmental Authority against or affecting any




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Borrower or any Affiliate thereof that, if adversely determined, would reasonably be expected to
result in a Material Adverse Effect;

       (c)     within fifteen (15) Business Days after the occurrence of any ERISA Event that,
alone or together with any other ERISA Events that have occurred, would reasonably be
expected to result in liability of the Borrower and its Subsidiaries in an aggregate amount
exceeding $10,000,000.00; and

       (d)      any other development that results in, or would reasonably be expected to result
in, a Material Adverse Effect.

        Each notice delivered under this Section shall be accompanied by a statement of such
Borrower setting forth the details of the event or development requiring such notice and any
action taken or proposed to be taken with respect thereto.

        At the Administrative Agent’s option, after the happening of any of the events listed in
clauses (a), (b) or (d) above which would reasonably be expected to result in a Material Adverse
Effect on any of the Mortgaged Properties, the Administrative Agent may obtain, or cause the
Borrower to obtain, an updated Appraisal for the Mortgaged Properties giving rise to such
events, all at the Borrower’s expense.

        Section 5.04 Existence; Conduct of Business. The Borrower will, and will cause each of
its Subsidiaries to, do or cause to be done all things necessary to preserve, renew and keep in full
force and effect its legal existence and the rights, licenses, permits, privileges and franchises
material to the conduct of its business; provided that the foregoing shall not prohibit any merger,
consolidation, liquidation or dissolution permitted under this Agreement. The Borrower may not
be organized under the laws of a jurisdiction other than the United States of America, any State
thereof or the District of Columbia. As an express inducement to Lenders to make and maintain
the Loan, each Property Owner Borrower agrees at all times prior to payment and satisfaction of
all Obligations to be and remain a single purpose entity in accordance with Section 3.18 above.

        Section 5.05 Payment of Obligations. The Borrower will, and will cause each of its
Subsidiaries to, pay its obligations, including Tax liabilities, that, if not paid, would result in a
Material Adverse Effect before the same shall become delinquent or in default, except where (a)
the validity or amount thereof is being contested in good faith by appropriate proceedings, (b)
the Borrower or such Subsidiary has set aside on its books adequate reserves with respect thereto
in accordance with sound accounting principles, consistently applied, and (c) the failure to make
payment pending such contest would not reasonably be expected to result in a Material Adverse
Effect. The Borrower will, and will cause each of its Subsidiaries to, comply with all of its
obligations and liabilities (as applicable) under the Senior Loan Documents.

       Section 5.06 Maintenance of Properties; Insurance.

       (a)     The Borrower will, and will cause each of its Subsidiaries to, (i) keep and
maintain all property material to the conduct of its business in good working order and condition,
ordinary wear and tear excepted, and (ii) maintain, with financially sound and reputable
insurance companies, insurance in such amounts and against such risks as are reasonable and


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customary for similarly situated Properties. Without limitation to the foregoing, the Borrower
will, with respect to each Mortgaged Property, maintain, with financially sound and reputable
insurance companies, insurance against such risks as are set forth below and in such amounts as
are reasonably required by Administrative Agent from time to time, with Administrative Agent
named as loss payee and a beneficiary of such insurance on substantially similar policies and
programs as are acceptable to Administrative Agent.

      (b)    The Borrower shall maintain the following insurance coverages for the
Mortgaged Property:

                      (i)    An all-risk policy of permanent property insurance insuring the
              Mortgaged Property against all risks that are commonly covered under real
              property insurance except those permitted by the Administrative Agent in writing
              to be excluded from coverage thereunder.

                      (ii)    A boiler and machinery insurance policy covering loss or damage
              to all portions of the Mortgaged Property comprised of air-conditioning and
              heating systems, other pressure vessels, machinery, boilers or high pressure
              piping.

                      (iii) An all-risk policy of insurance covering loss of earnings and/or
              rents from the Mortgaged Property in the event that the Mortgaged Property is not
              available for use or occupancy due to casualty, damage or destruction required to
              be covered by the policies of insurance described in (i) and (ii) above.

                       (iv)  Commercial general liability, auto liability, umbrella or excess
              liability and worker’s compensation insurance against claims for bodily injury,
              death or property damage occurring on, in or about the Mortgaged Property in an
              amount and containing terms reasonably acceptable to the Administrative Agent.

                      (v)    Such other insurance against other insurable hazards, risks or
              casualties which at the time are commonly insured against in the case of owners
              and premises similarly situated, due regard being given to the financial condition
              of the Borrower, the height and type of the Mortgaged Property, its construction,
              location, use and occupancy.

                      (vi)    All required insurance with respect to the Mortgaged Property will
              be written on forms acceptable to the Administrative Agent and by companies
              having a Best’s Insurance Guide Rating of not less than A or A+ and which are
              otherwise acceptable to the Administrative Agent, and such insurance (other than
              third party liability insurance) shall be written or endorsed so that all losses are
              payable to the Administrative Agent, as Administrative Agent for the Lenders.
              The original policies evidencing such insurance shall be delivered by the
              Borrower to the Administrative Agent and held by the Administrative Agent,
              unless Administrative Agent expressly consents to accept insurance certificates
              instead. Each such policy shall expressly prohibit cancellation of insurance
              without thirty (30) days’ written notice to the Administrative Agent. The


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              Borrower agrees to furnish due proof of payment of the premiums for all such
              insurance to Administrative Agent promptly after each such payment is made and
              in any case at least fifteen (15) days before payment becomes delinquent.

        (c)    The Borrower will pay and discharge, or cause to be paid and discharged, all
taxes, assessments, maintenance charges, permit fees, impact fees, development fees, capital
repair charges, utility reservations and standby fees and all other similar impositions of every
kind and character charged, levied, assessed or imposed against any interest in any of the
Mortgaged Property owned by it or any of its Subsidiaries, as they become payable and before
they become delinquent. The Borrower shall furnish receipts evidencing proof of such payment
to the Administrative Agent promptly after payment and before delinquency.

        (d)    All proceeds of insurance with respect to any Mortgaged Property shall be paid to
Administrative Agent and, at Administrative Agent’s option, be applied to Borrower’s
Obligations or released, in whole or in part, to pay for the actual cost of repair, restoration,
rebuilding or replacement (collectively, “Cost To Repair”). If the Cost To Repair does not
exceed thirty-five percent (35%) of the Appraised Value of the subject Mortgaged Property,
provided no Event of Default is then in existence, Administrative Agent shall release so much of
the insurance proceeds as may be required to pay for the actual Cost to Repair in accordance
with and subject to the provisions of Section 5.06(e) below.

        (e)    If Administrative Agent elects or is required to release insurance proceeds,
Administrative Agent may impose, reasonable conditions on such release which shall include,
but not be limited to, the following:

                      (i)    prior written approval by Administrative Agent, which approval
              shall not be unreasonably withheld or delayed of plans, specifications, cost
              estimates, contracts and bonds for the restoration or repair of the loss or damage;

                     (ii)   waivers of lien, architect’s certificates, contractor’s sworn
              statements and other evidence of costs, payments and completion as Agent may
              reasonably require;

                      (iii) if the Cost To Repair does not exceed $500,000.00, the funds to
              pay therefor shall be released to Borrower. Otherwise, funds shall be released
              upon final completion of the repair work, unless Borrower requests earlier
              funding, in which event partial monthly disbursements equal to 90% of the value
              of the work completed shall be made prior to final completion of the repair,
              restoration or replacement and the balance of the disbursements shall be made
              upon full completion and the receipt by Administrative Agent of satisfactory
              evidence of payment and release of all liens;

                     (iv)    determination by Administrative Agent that the undisbursed
              balance of such proceeds on deposit with Administrative Agent, together with
              additional funds deposited for the purpose, shall be at least sufficient to pay for
              the remaining Cost To Repair, free and clear of all liens and claims for lien;



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                      (v)    all work to comply with the standards, quality of construction and
               Legal Requirements applicable to the original construction of the Mortgaged
               Property; and

                       (vi)   in Administrative Agent’s good faith judgment the repair work is
               likely to be completed at least three (3) months prior to the Maturity Date.

         (f)    If there is any condemnation for public use of a Mortgaged Property, the awards
on account thereof shall be paid to Administrative Agent and shall be applied to Borrower’s
obligations, or at Administrative Agent’s discretion released to Borrower. If, in the case of a
partial taking or a temporary taking, in the sole judgment of Administrative Agent the effect of
such taking is such that there has not been a material and adverse impairment of the viability of
the Mortgaged Property or the value of such Collateral, so long as no Default exists
Administrative Agent shall release awards on account of such taking to Borrower if such awards
are sufficient (or amounts sufficient are otherwise made available) to repair or restore the
Mortgaged Property to a condition reasonably satisfactory to Administrative Agent subject to the
requirements of Section 5.06(e).

       Section 5.07 Books and Records; Inspection Rights.

        (a)     The Borrower will, and will cause each of its Subsidiaries to, keep proper books
of record and account in which full, true and correct entries are made of all dealings and
transactions in relation to its business and activities.

        (b)     The Borrower will, and will cause each of its Subsidiaries to, permit any
representatives designated by the Administrative Agent or any Lender, upon reasonable prior
notice and subject to rights of tenants, to visit and inspect its properties, to examine and make
extracts from its books and records, and to discuss its affairs, finances and condition with its
officers and independent accountants, all at such reasonable times and as often as reasonably
requested.

       Section 5.08 Compliance with Laws. The Borrower will, and will cause each of its
Subsidiaries to, comply with all laws, rules, regulations and orders of any Governmental
Authority applicable to it or its property, except where the failure to do so, individually or in the
aggregate, would not reasonably be expected to result in a Material Adverse Effect.

        Section 5.09 Use of Proceeds. The proceeds of the Loans will be used solely to fund a
portion of the cost to consummate the acquisition of the Portfolio Properties, including to make a
loan to the BH Pledgor to fund such Person’s acquisition of the Summers Landing Property. No
part of the proceeds of the Loans will be used, whether directly or indirectly, for financing,
funding or completing the hostile acquisition of publicly traded Persons or for any purpose that
entails a violation of any of the Regulations of the Board, including Regulations U and X.

      Section 5.10 Fiscal Year. Borrower shall maintain as its fiscal year the twelve (12)
month period ending on December 31 of each year.

       Section 5.11 Environmental Matters.


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        (a)    Borrower shall comply and shall cause each of its Subsidiaries and each Real
Property owned or leased by such parties to comply in all material respects with all applicable
Environmental Laws currently or hereafter in effect, except to the extent noncompliance would
not reasonably be expected to have a Material Adverse Effect.

        (b)     If the Administrative Agent or the Required Lenders at any time have a
reasonable basis to believe that there may be a material violation of any Environmental Law
related to the Mortgaged Property, or Real Property adjacent to such Mortgaged Property, which
would reasonably be expected to have a Material Adverse Effect, then Borrower agrees, upon
request from the Administrative Agent (which request may be delivered at the option of
Administrative Agent or at the direction of Required Lenders), to provide the Administrative
Agent, at the Borrower’s expense, with such reports, certificates, engineering studies or other
written material or data as the Administrative Agent or the Required Lenders may reasonably
require so as to reasonably satisfy the Administrative Agent and the Required Lenders that any
Credit Party or Real Property owned or leased by them is in material compliance with all
applicable Environmental Laws.

        (c)    Borrower shall take such Remedial Action or other action as required by
Environmental Law or any Governmental Authority except to the extent the failure to do so,
individually or in the aggregate, would not reasonably be expected to have a Material Adverse
Effect.

        (d)      If the Borrower fails to timely take, or to diligently and expeditiously proceed to
complete in a timely fashion, any action described in this Section, the Administrative Agent may,
after notice to the Borrower, with the consent of the Required Lenders, make advances or
payments toward the performance or satisfaction of the same, but shall in no event be under any
obligation to do so. All sums so advanced or paid by the Administrative Agent (including
reasonable counsel and consultant and investigation and laboratory fees and expenses, and fines
or other penalty payments) and all sums advanced or paid in connection with any judicial or
administrative investigation or proceeding relating thereto, will become due and payable from
the Borrower ten (10) Business Days after demand, and shall bear interest at the Default Rate
from the date any such sums are so advanced or paid by the Administrative Agent until the date
any such sums are repaid by the Borrower. Promptly upon request, the Borrower will execute
and deliver such instruments as the Administrative Agent may deem reasonably necessary to
permit the Administrative Agent to take any such action, and as the Administrative Agent may
require to secure all sums so advanced or paid by the Administrative Agent. If a Lien is filed
against the Mortgaged Property by any Governmental Authority resulting from the need to
expend or the actual expending of monies arising from an action or omission, whether intentional
or unintentional, of the Borrower or for which the Borrower is responsible, resulting in the
Releasing of any Hazardous Material into the waters or onto land located within or without the
state where the Mortgaged Property is located, then the Borrower will, within thirty (30) days
from the date that the Borrower is first given notice that such Lien has been placed against the
Mortgaged Property (or within such shorter period of time as may be specified by the
Administrative Agent if such Governmental Authority has commenced steps to cause the
Mortgaged Property to be sold pursuant to such Lien), either (i) pay the claim and remove the
Lien, or (ii) furnish a cash deposit, bond or such other security with respect thereto as is


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satisfactory in all respects to the Administrative Agent and is sufficient to effect a complete
discharge of such Lien on the Mortgaged Property.

       Section 5.12 Collateral Requirement.

       (a)     General Requirement. The Obligations and the Hedging Obligations, if any, shall
be secured by a perfected first priority lien and security interest to be held by the Administrative
Agent for the benefit of the Lenders, pursuant to the terms of the Security Documents, in

                       (i)     each Mortgaged Property;

                        (ii)    the Equity Interests of each Property Owner Borrower, fifty
               percent (50%) of the Equity Interests in each Collateral Subsidiary other than the
               Property Owner Borrowers, and the Equity Interests held by HCRE Partners and
               its Subsidiaries in the HCRE Properties; provided that the Borrower shall not,
               pursuant to this subclause (i), be required to pledge any portion of the Equity
               Interests of any Collateral Subsidiary that is not a Property Owner Borrower or in
               any owner of an HCRE Property to the extent (and only to the extent) that such a
               grant of a security interest is prohibited by, or under the terms thereof, may give
               rise to a default, breach, right of recoupment, buyout, repurchase, purchase
               option, right of first refusal or similar rights (whether effective with the pledge or
               any related exercise of rights thereunder), claim, defense or remedy, or directly or
               indirectly results in the termination of or requires any consent not obtained under,
               the Senior Loans or Indebtedness secured by the HCRE Properties; provided
               further that, to the extent such pledge of any portion of such Equity Interests is
               restricted as set forth in the previous proviso, the Borrower shall, to the extent
               permitted under any such debt instruments, pledge to the Administrative Agent,
               pursuant to documentation reasonably acceptable to the Administrative Agent, all
               of the economic interests and rights to receive dividends or distributions in
               respect of the Equity Interests of such Collateral Subsidiary or owner of an HCRE
               Property;

                       (iii) to the extent not included in clause (ii) above, all of the economic
               interests and rights to receive dividends or distributions in respect of the Equity
               Interests of each Collateral Subsidiary and each owner of a HCRE Property to the
               extent owned by HCRE;

                      (iv)    all of the Borrower’s rights with respect to the pledge by the BH
               Pledgor and its Subsidiaries of their interests in the Summers Landing Property;

                       (v)     the proceeds of all Equity Offerings with respect to the
               Stonebridge DST on a pari passu basis with the Stonebridge Term Loan subject to
               the terms of this Agreement;

                      (vi)    the common shares in NexPoint Residential Trust Inc. or
               partnership units in NexPoint Residential Operating Partnership, LP that are



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               identified on Schedule 5.12 hereto, 1,000,000 of which shall be pledged on a pari
               passu basis with the Stonebridge Term Loan;

                      (vii) the economic interests in NexPoint Advisors, L.P. subject to the
               terms of the Economic Interests Pledge; and

                    (viii) all of the common shares in NexBank Capital, Inc. owned by The
               SLHC Trust.

Upon the occurrence and during the continuance of an Event of Default, if the Administrative
Agent determines to exercise rights and remedies with respect to the Collateral in accordance
with the terms of the Loan Documents, the Administrative Agent shall first exercise rights and
remedies with respect to any Equity Interests in NexPoint Residential Trust Inc. before
exercising rights and remedies against any other Collateral.

        (b)     Release of Certain Collateral. Provided no Default or Event of Default shall have
occurred hereunder and be continuing (or would exist immediately after giving effect to the
transactions contemplated by this Section 5.12(b), including any paydown of the Loans in
connection with the transactions contemplated by this Section 5.12(b)), the Administrative Agent
shall release the Collateral related to a Portfolio Property from the lien or security title of the
Security Documents encumbering the same upon the request of Borrower in connection with a
sale, refinancing, or recapitalization of such Portfolio Property, subject to and upon the following
terms and conditions:

                       (i)     The Borrower shall have provided the Administrative Agent with
               written notice of its intention to remove any specified Collateral at least five (5)
               Business Days (or such shorter period as the Administrative Agent may agree)
               prior to the requested release (which notice may be revoked by Borrower at any
               time);

                       (ii)    Borrower shall submit to the Administrative Agent with such
               request an executed Compliance Certificate adjusted in the best good faith
               estimate of Borrower solely to give effect to the proposed release and
               demonstrating that no Default or Event of Default with respect to the covenants
               referred to therein shall exist after giving effect to such release and if the
               Borrower would not be in compliance, then any reduction in the outstanding
               amount of the Loans in connection with such release;

                       (iii) The Administrative Agent shall have determined in its reasonable
               discretion, and received such evidence acceptable to it as it shall reasonably
               request, that the proceeds from expected sale, refinancing, or recapitalization
               transactions with respect to the Portfolio Properties (or the Equity Interests
               therein) remaining as Collateral for the Obligations after giving effect to the
               requested release, shall be sufficient to repay the Obligations in full;

                      (iv)   Borrower shall make all Mandatory Prepayments required under
               Section 2.11(d) in connection with such sale, refinancing, or recapitalization;


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                       (v)     Borrower shall pay all reasonable costs and expenses of the
               Administrative Agent in connection with such release, including without
               limitation, reasonable attorney’s fees; and

                       (vi)   without limiting or affecting any other provision hereof, any
               release of a Collateral will not cause the Borrower to be in violation of the
               covenants set forth in Section 5.02.

        (c)     Release of Collateral. Upon the refinancing or repayment of the Obligations and
Hedging Obligations in full, then the Administrative Agent shall release the Collateral from the
lien and security interest of the Security Documents.

         (d)    Release of Certain HCRE Properties. Provided no Default or Event of Default
shall have occurred hereunder and be continuing (or would exist immediately after giving effect
to the transactions contemplated by this Section 5.12(b), including any paydown of the Loans in
connection with the transactions contemplated by this Section 5.12(b)), the Administrative Agent
shall release the Collateral related to a HCRE Property from the lien or security title of the
Security Documents encumbering the same upon the request of Borrower in connection with a
Transfer of 100% of the indirect interest in any Borrower in conjunction with the formation of a
publically traded real estate investment trust (the “Transferee REIT”), which Transferee REIT
shall be under common Control with NexPoint Advisors, L.P. pursuant to a written management
or advisory agreement; provided, such the applicable Borrower shall pledge its Equity Interests
in such Transferee REIT as Collateral for the Obligations pursuant to documentation reasonably
acceptable to the Agent.

        Section 5.13 Further Assurances. At any time upon the request of the Administrative
Agent, Borrower will, promptly and at its expense, execute, acknowledge and deliver such
further documents and perform such other acts and things as the Administrative Agent may
reasonably request to evidence the Loans made hereunder and interest thereon in accordance
with the terms of this Agreement.

       Section 5.14 [Intentionally Omitted].

       Section 5.15 [Intentionally Omitted].

        Section 5.16 Approved Leases. Borrower shall not enter into any tenant lease of space in
the Portfolio Properties unless approved by Administrative Agent or deemed approved pursuant
to the provisions of this Section 5.16 (each such lease, an “Approved Lease”); provided,
however, for the avoidance of doubt, certain master leases and residential leases entered into by
Portfolio One DST, Portfolio Two DST, Portfolio Three DST, and Stonebridge DST or their
subsidiaries for the purposes of a Specified DSTs’ Equity Offering shall not require approval for
the purposes of this Section 5.16. Borrower's standard form of residential tenant lease, and any
material revisions thereto, must have the prior written approval of Administrative Agent; it being
understood that Borrower’s standard form of residential tenant lease as of the Effective Date is
approved. Administrative Agent shall be “deemed” to have approved any tenant lease that (a) is
on the standard form lease approved by Administrative Agent, with no material deviations
except as approved by Administrative Agent; (b) is entered into in the ordinary course of


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business with a bona fide unrelated third party tenant, and Borrower, acting in good faith and
exercising due diligence, has determined that the tenant is financially capable of performing its
obligations under the lease or is leased to an employee of the applicable property manager
pursuant to the terms of the written property management agreement applicable to such Portfolio
Property; (c) is received by Administrative Agent (together with each guarantee thereof (if any)
and financial information regarding the tenant and each guarantor (if any) received by Borrower)
within fifteen (15) days after Administrative Agent’s request; (d) reflects an arms-length
transaction at then current market rate for comparable space (except for a lease to an employee
of the applicable property manager pursuant to the terms of the written property management
agreement applicable to such Portfolio Property); and (e) contains no right to purchase the Real
Property, or any present or future interest therein. Borrower shall provide to Administrative
Agent a correct and complete copy of each tenant lease, including any exhibits, and each
guarantee thereof (if any), prior to execution unless the lease in question meets the foregoing
requirements for “deemed” approval by Administrative Agent. If requested by Administrative
Agent, Borrower shall provide to Administrative Agent a fully executed copy of each tenant
lease within fifteen (15) days of such request. Borrower shall, throughout the term of this
Agreement, pay all reasonable costs incurred by Administrative Agent in connection with
Administrative Agent's review and approval of tenant leases and each guarantee thereof (if any),
including reasonable attorneys' fees and costs.

         Section 5.17 Permanent Financing. Borrower agrees, on behalf of itself and its Affiliates,
that it shall utilize KeyBank to place permanent debt (e.g. CMBS, Fannie/Freddie, life company
placements) with respect to the Portfolio Properties and all other Real Property acquired with
proceeds from the Loans.

        Section 5.18 Keepwell. Each Borrower that is a Qualified ECP Party at the time that the
Agreement becomes effective with respect to any Hedging Obligation, hereby jointly and
severally, absolutely, unconditionally and irrevocably undertakes to provide such funds or other
support as may be needed from time to time by each other Borrower that is not then an “eligible
contract participant” under the Commodity Exchange Act (a “Specified Party”) to honor all of its
obligations under the Agreement in respect of Hedging Obligations (but, in each case, only up to
the maximum amount of such liability that can be hereby incurred without rendering such
Qualified ECP Party’s obligations and undertakings under this Section 5.16 voidable under
applicable law relating to fraudulent conveyance or fraudulent transfer, and not for any greater
amount). The obligations and undertakings of each Qualified ECP Party under this Section 5.16
shall remain in full force and effect until the Loans have been repaid in full. Each Qualified ECP
Party intends this Section 5.16 to constitute, and this Section shall be deemed to constitute, a
guarantee of the obligations of, and a “keepwell, support, or other agreement” for the benefit of,
each Specified Party for all purposes of the Commodity Exchange Act.

       Section 5.19 DST Offerings.

       (a)      Marketing. Borrower will cause each DST Depositor to use commercially
reasonable efforts to market and sell its respective Trust Interests so as to achieve a DST
Permitted Sale that will maximize the proceeds which can reasonably be expected to be obtained
from a sale of such Trust Interests.



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        (b)     Periodic Investor Reports. Borrower shall provide to the Agent a report, to be
submitted for each two-calendar week period on or before each Friday of the succeeding
calendar week after such two week period, identifying the amount paid by any investor in a
Specified DST (but not the identity of such investor) and each such investor’s and each other
Borrower’s percentage interest in each Specified DST, in form and substance reasonably
satisfactory to Lender.

         (c)     Monthly Distributions. During the existence of any Event of Default, Borrower
shall, to the extent permitted by each applicable Trust Agreement, cause the applicable Specified
DST to distribute all available cash under its Trust Agreement on a monthly basis to the holders
of its Trust Interests in accordance with their percentage of ownership, and thereafter any
Affiliate of Borrower directly or indirectly holding such Trust Interests shall cause such cash to
be distributed to Borrower and, in the case of a DST Depositor, to its other members in
accordance with the terms of such DST Depositor’s organizational documents. All such
distributions payable to Borrower during the existence of an Event of Default shall be paid
directly to the Agent for application to the Obligations. The Borrower shall not permit any
Indebtedness of any Specified DST (or its Subsidiaries) to prohibit such monthly distributions in
the absence of a default or event of default thereunder; provided that the foregoing shall not
apply to any Senior Loan in respect of the Portfolio Property owned directly or indirect by any
Specified as of the Effective Date.

       Section 5.20 BH Loan.

        (a)     The Borrower shall require the BH Pledgor to comply with all material terms of
the BH Loan Documents and shall enforce its rights as a lender thereunder in its reasonable
discretion, unless otherwise agreed by the Administrative Agent.

       (b)   The Borrower shall not permit any amendment or waiver of any material term of
the BH Loan Documents without the prior consent of the Administrative Agent.

       Section 5.21 Post-Closing Covenant.

        (a)     The Borrowers shall use commercially reasonable efforts to, no later than fifteen
(15) Business Days after the Effective Date (or such later date as the Administrative Agent may
agree in its sole discretion), deliver an estoppel certificate with respect to that certain Declaration
of Reciprocal Easements dated September 22, 2000 and recorded among the Land Records of
Prince George’s County in Liber 14127, folio 340 and that certain Declaration of Reciprocal
Easements dated September 22, 2000 and recorded among the Land Records of Prince George’s
County in Liber 14127, folio 324, in each case, in accordance with the provisions of such
Declaration of Reciprocal Easements.

        (b)     No later than ten (10) Business Days after the Effective Date, the Borrowers shall
deliver to the Administrative Agent (i) a control agreement, duly executed by the applicable
Borrower and the applicable custodian, securities intermediary, or other person holding any of
the Equity Interests in NexPoint Residential Trust Inc., NexPoint Residential Operating
Partnership, LP, or NexBank Capital Inc. that are required to be pledged to the Administrative
Agent under the Loan Documents, in form and substance reasonably satisfactory to the


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Administrative Agent, and (ii) such notices, stock powers, transfer documents and other
documentation and take such action as may be reasonably required by the Administrative Agent
in order to maintain a perfected, first priority Lien and security interest in such Equity Interests.

        (c)    No later than two (2) Business Days after the Effective Date, the Borrowers shall
execute such documents and take such further action as the Administrative Agent may request in
order to pledge to the Administrative Agent, for the benefit of the Lenders, common shares
owned by the Borrowers or their Affiliates in NexPoint Residential Trust, Inc. and NexPoint
Strategic Opportunities Fund with an aggregate market value of no less than $10,000,000.

        (d)     Notwithstanding anything herein to the contrary, the Borrowers acknowledge and
agree that any breach of this Section 5.21 shall constitute an immediate Event of Default (subject
only to notice from the Administrative Agent).

      Section 5.22 Sufficiency of Funds. Each Borrower hereby represents, warrants, and
covenants that:

       (a)     In connection with the required prepayment under Section 2.11(f) hereof, the
Borrowers and their Affiliates will recommend to the appropriate investment committees of
funds managed by any Borrower or such Affiliates to make investments in the Portfolio
Properties in an aggregate amount as may be required for the Borrowers to make such
prepayments in full when required hereunder;

       (b)     such funds are permitted under their respective organizational documents to make
investments, in the form of debt or equity, in assets similar to the Portfolio Properties; and

       (c)     the Borrowers and their affiliates will promptly undertake such action to obtain
the necessary funding from such related funds and Affiliates in order to make the prepayment
under Section 2.11(f) when required hereunder.

                                            ARTICLE VI

                                        Negative Covenants

       Until the principal of and interest on the Loans and all other amounts due and payable
hereunder have been paid in full, the Borrower covenants and agrees with the Lenders that:

        Section 6.01 Liens. No Borrower will create, incur, assume or permit to exist any Lien
on the Collateral or the Portfolio Properties, or assign or sell any income or revenues (including
accounts receivable) or rights in respect of any thereof, except solely with respect to the
Portfolio Properties and the pledged Equity Interests in the Stonebridge DST and NexPoint
Residential Trust Inc., Permitted Encumbrances. The Dugaboy Investment Trust shall not, prior
to the date when the Obligations shall have been reduced to no more than $150,000,000, create,
incur, assume or permit to exist any Lien on any marketable securities owned by it, whether now
owned or hereafter acquired, except the Lien in favor of the Administrative Agent to secure the
Obligations.



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       Section 6.02 Fundamental Changes. The Borrower will not, and will not permit any
Collateral Subsidiary to:

         (a)    merge into or consolidate with any other Person, or permit any other Person to
merge into or consolidate with it, or sell, transfer, lease or otherwise dispose of (in one
transaction or in a series of transactions) all or substantially all of the assets of the Borrower or
all or substantially all of the stock of its Subsidiaries (in each case, whether now owned or
hereafter acquired), or liquidate or dissolve;

        (b)   sell, transfer, lease or otherwise dispose of any of its assets to the extent such
transaction would result in a breach of Section 5.02; or

         (c)     engage to any material extent in any business other than the ownership of interest
in entities that own, develop, operate and manage the Properties and businesses reasonably
related thereto, except as allowed by Section 6.03.

        Section 6.03 Investments, Loans, Advances and Acquisitions. The Borrower will not
purchase, hold or acquire (including pursuant to any merger with any Person that was not a
wholly owned Subsidiary prior to such merger) any capital stock, evidences of indebtedness
(subject to Section 6.09 below) or other securities (including any option, warrant or other right to
acquire any of the foregoing) of, make or permit to exist any loans or advances to, or make or
permit to exist any investment or any other interest in, any other Person, or purchase or
otherwise acquire (in one transaction or a series of transactions) any assets of any other Person
constituting a business unit, except Permitted Investments.

        Section 6.04 Hedging Agreements. The Borrower will not, and will not permit any of its
Subsidiaries to, enter into any Hedging Agreement, other than Hedging Agreements entered into
in the ordinary course of business to hedge or mitigate risks to which any Subsidiary of the
Borrower is exposed in the conduct of its business or the management of its liabilities.

       Section 6.05 Restricted Payments. The Borrower will not declare or make, or agree to
pay or make, directly or indirectly, any Restricted Payment while any Default or Event of
Default shall be in existence.

        Section 6.06 Transactions with Affiliates. The Borrower will not, and will not permit
any of its Subsidiaries to, sell, lease or otherwise transfer any property or assets to, or purchase,
lease or otherwise acquire any property or assets from, or otherwise engage in any other
transactions with, any of its Affiliates, except (a) in the ordinary course of business at prices and
on terms and conditions not less favorable to the Borrower or such Subsidiary than would be
obtained on an arm's-length basis from unrelated third parties, (b) transactions between or among
the Borrower and its wholly owned Subsidiaries not involving any other Affiliate, (c)
transactions related to the closing of and ongoing activities necessary to implement the loan
obligations and requirements of this Agreement, and (d) any Restricted Payment permitted by
Section 6.05.

       Section 6.07 [Intentionally Omitted].



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         Section 6.08 Restrictive Agreements. No Borrower will, and will not permit any of its
Subsidiaries to, directly or indirectly, enter into, incur or permit to exist any agreement or other
arrangement that prohibits, restricts or imposes any condition upon (a) the ability of the
Borrower or any Subsidiary to create, incur or permit to exist any Lien upon any of its property
or assets, or (b) the ability of any Subsidiary to pay dividends or other distributions with respect
to any shares of its capital stock or to make or repay loans or advances to the Borrower or any
other Subsidiary or to Guarantee Indebtedness of the Borrower or any other Subsidiary; provided
that the restrictions contained in this Section 6.08 shall not apply to (i) restrictions and
conditions imposed by law or by this Agreement or as otherwise approved by the Administrative
Agent, (ii) customary restrictions and conditions contained in agreements relating to the sale of a
Subsidiary pending such sale, provided such restrictions and conditions apply only to the
Subsidiary that is to be sold and such sale is permitted hereunder, (iii) clause (a) of the foregoing
shall not apply to restrictions or conditions imposed by any agreement relating to secured
Indebtedness or Liens permitted by this Agreement if such restrictions or conditions apply only
to the property or assets securing such Indebtedness, or ownership interests in the obligors with
respect to such Indebtedness, and (iv) solely with respect to clause (a), provisions in leases
restricting the assignment thereof.

        Section 6.09 Indebtedness. Neither any Borrower nor any Collateral Subsidiary shall,
without the prior written consent of the Required Lenders, create, incur, assume, guarantee or be
or remain liable, contingently or otherwise with respect to any Indebtedness on a recourse basis,
except:

       (a)     Indebtedness under this Agreement;

      (b)    Indebtedness of a Collateral Subsidiary (other than any Property Owner
Borrower) under the Senior Loan Documents;

       (c)     Indebtedness under any Hedging Obligations;

       (d)    Indebtedness of NexPoint Real Estate Advisors IV, L.P. and The Dugaboy
Investment Trust under the Stonebridge Term Loan;

        (e)     Recourse Indebtedness of the The Dugaboy Investment Trust and Highland
Capital in an amount not to exceed the aggregate principal amount of such Borrower’s
Indebtedness outstanding on the date hereof and set forth in Schedule 6.09; provided that, from
an after the date that the aggregate outstanding principal amount of the Obligations shall be
reduced to $150,000,000 or less, The Dugaboy Investment Trust and Highland Capital may incur
additional recourse Indebtedness on a recourse basis, subject to compliance with the covenants in
Section 5.02;

       (f)      Customary non-recourse, carveout guarantees and environmental indemnitees
entered into in connection with property-level secured Indebtedness of such Borrower’s
Subsidiaries; and

       (g)     Indebtedness for trade payables and operating expenses incurred in the ordinary
course of business.


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       Section 6.10 Subordination of Claims.

        (a)     Prior to repayment in full of the Obligations, no Borrower or any Subsidiary may
pay any advisory, asset management, property, acquisition, financing, and other fees and
amounts due and payable to the Advisor in connection with the Portfolio Properties; provided
that, so long as no Event of Default exists or would result therefrom, (i) the Advisor may receive
asset management fees with respect to the Portfolio Properties (but not any acquisition, financing
or similar fees with respect to the Specified DSTs) and (ii) from and after the date that the
market value of the common shares of NexPoint Residential Trust Inc. are equal to an amount no
less than 110% of the then aggregate outstanding balance of the Loans and the Stonebridge Term
Loan has been repaid in full, the Borrower may pay acquisition, financing or similar fees with
respect to a sellout of any DST offering occurring after such date.1

        (b)     Each Borrower hereby expressly covenants and agrees for the benefit of the
Administrative Agent and the Lenders that all obligations and liabilities of any Borrower or its
Subsidiaries or Affiliates to such Borrower or its Subsidiaries or Affiliates of whatever
description, including without limitation, all intercompany receivables of such Borrower from
another Borrower or its Subsidiaries or Affiliates (collectively, the “Junior Claims”) shall be
subordinate and junior in right of payment to all Obligations; provided, however, that payment
thereof may be made so long as no Event of Default shall have occurred and be continuing. If an
Event of Default shall have occurred and be continuing, then no Borrower or its Subsidiaries or
Affiliates shall accept any direct or indirect payment (in cash, property, securities by setoff or
otherwise) from another Borrower or its Subsidiaries or Affiliates on account of or in any
manner in respect of any Junior Claim until all of the Obligations have been indefeasibly paid in
full. Schedule 6.10 is, as of the Effective Date, a complete and correct listing of all Junior
Claims, and if such Indebtedness is secured by any Lien, a description of the property subject to
such Lien. Except as set forth in Schedule 6.10 no default exists under any Junior Claims as of
the Effective Date.

       (c)     All such parties shall execute subordination agreements in form and substance
acceptable to the Administrative Agent with respect to such fees and Junior Claims.

        Section 6.11 Amendment to Organizational Documents. Without the prior written
consent of Administrative Agent, which consent shall not be unreasonably withheld, conditioned
or delayed, no Borrower will, nor will it permit any Collateral Subsidiary to, amend, modify or
waive any rights under its certificate of incorporation, bylaws or other organizational documents
in any manner, except: (a) modifications necessary to clarify existing provisions of such
organizational documents; (b) modifications which would not have a Material Adverse Effect,
and (c) modifications in connection with mergers, consolidations, investments and other
transactions not otherwise prohibited by the other provisions of this Agreement.

        Section 6.12 Sanctions. No Borrower shall permit the proceeds of any Loan: (a) to be
lent, contributed or otherwise made available to fund any activity or business in any Designated
Jurisdiction; (b) to fund any activity or business of any Sanctioned Person or any Person located,

1
 NTD: Key’s understanding is that the fees would accrue but would not be paid until the 110%
condition above is satisfied.


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organized, formed, incorporated or residing in any Designated Jurisdiction or who is the subject
of any Sanctions; (c) in any other manner that will result in any material violation by any Person
(including any Lender or Administrative Agent) of any Sanctions; or (d) to be used in
furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of
money, or anything else of value, to any Person in violation of any Anti-Corruption Laws.

       Section 6.13 Specified DSTs.

        (a)     Sale of Trust Interests. Notwithstanding anything to the contrary contained in this
Agreement or in any other Loan Documents, no DST Depositor may sell (or redeem the Trust
Interests owned by such DST Depositor) or otherwise dispose of its Trust Interests or any
portion thereof or interest (beneficial or otherwise) in any Trust Interests or Specified DST, or
enter into a contract to sell or dispose of such Trust Interests or Specified DST, or any portion
thereof or interest therein (collectively referred to as a “DST Sale”), unless:

                    (i)       the DST Sale is being made pursuant to the applicable Offering
               Documents;

                       (ii)    the DST Sale is not to an Affiliate (other than the redemption of
               Trust Interests held by the applicable DST Depositor in connection with a DST
               Permitted Sale to third party investors) unless the terms of the sale are no more
               favorable to the buyer than the terms upon which third party investors are
               acquiring the Trust Interests; and

                      (iii) the DST Sale is for all cash and all proceeds are deposited into the
               applicable Pledged DST Account.

       A DST Sale satisfying these conditions shall be defined as a “DST Permitted Sale”.

        (b)     Terms of DST Sales. The Offering Documents shall set forth the terms of the
possible sale of Trust Interests owned by the applicable DST Depositor or sold for purposes of
redeeming a separate class of Trust Interests held by such DST Depositor. No other beneficial
interests in any property owned by a Specified DST shall be sold by the applicable Specified
DST or its Affiliates other than Trust Interests pursuant to the terms of this Agreement or other
than resales of Trust Interests owned by Investors other than a DST Depositor or its Affiliates.
Prior to commencing the marketing of Trust Interests of any Specified DST, Borrower shall
deliver to Lender a proposed budget in a form reasonably approved by Lender for each Specified
DST showing anticipated proceeds from any issuance of Trust Interests, anticipated equity
contributions by Borrower and its Affiliates (other than to DST Depositor as the initial holder of
unsold Class 2 Trust Interests in such Specified DST), the amount of any “presold” Trust
Interests, and the amount of any property level Indebtedness of such Specified DST or its
Subsidiaries. There shall be no change in the purchase price or any other material terms of a
DST Sale (other than the reduction of commissions and/or expenses) without the prior written
consent of the Agent. Notwithstanding anything set forth in this Agreement to the contrary, the
original issuance of Trust Interests to its respective DST Depositor shall not be prohibited by this
Agreement.



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        (c)    No Changes to DST. No Specified DST shall change its corporate form from a
Delaware statutory trust, or transfer or permit its subsidiaries to transfer any of its interests in
any Portfolio Property; provided however, that any Specified DST may consummate any
Transfer Distribution (as the term is defined in the Trust Agreement) so long as the Agent shall
have received notice of such Specified DST no more than ten (10) days following the occurrence
thereof, the Borrower or an Affiliate thereof remains as the manager of any limited liability
company resulting from such Transfer Distribution, and such resulting limited liability company
shall have executed such additional documents as the Administrative Agent may reasonably
require to preserve its rights under the Loan Documents.

        (d)     Pledged DST Accounts. No later than the date that is thirty days after the
Effective Date (or, with respect to a Specified DST formed hereafter, the date such Specified
DST is form, or, in each case, such later date that the Agent may agree), the Borrowers shall
cause each DST Depositor to establish with KeyBank a deposit account into which all proceeds
of the sale of Trust Interests owned by such DST Depositor shall be deposited (with respect to
each DST Depositor, it’s “Pledged DST Account”), which shall be pledged to the Agent and
subject to the sole control of the Agent pursuant to documentation reasonably acceptable to the
Agent.

        (e)     Partial Release. Notwithstanding any other term or provision of this Agreement,
the parties agree that upon the sale of 100% of the Trust Interests in a Specified DST pursuant to
a DST Permitted Sale, so long as no Event of Default has occurred and is continuing (such
conditions, the “Release Provisions”), the Specified DST Depositor with respect to such
Specified DST shall be automatically released from the Loan Documents, and such Person shall
no longer be obligated to comply with any of the representations, warranties or covenants
applicable to such Person under the Loan Documents, provided, however, that the release
contained in this Section 6.13(e) shall not apply to the extent any such representations,
warranties or covenants apply to Subsidiaries of the Borrower for as long as any such Person
constitutes a Subsidiary thereof. Further, from and after satisfaction of the Release Provisions for
any Specified DST Depositor and its respective properties, any proceeds received with respect to
the properties of such Specified DST shall no longer constitute Collateral under the Loan
Documents or remain subject to the rights of the Agent under the Loan Documents.

                                          ARTICLE VII

                                         Events of Default

       If any of the following events (“Events of Default”) shall occur:

        (a)    the Borrower shall fail to pay any principal of the Loans when and as the same
shall become due and payable, whether at the due date thereof or at a date fixed for prepayment
thereof or otherwise, and such failure (other than the payment due on the Maturity Date, for
which there shall be no grace period) shall continue unremedied for a period of over three (3)
Business Days;

      (b)     the Borrower shall fail to pay any interest on the Loans or any fee or any other
amount (other than an amount referred to in clause (a) of this Article) payable under any Loan


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Documents, when and as the same shall become due and payable, and such failure shall continue
unremedied for a period of over three (3) Business Days (such three Business Day period
commencing after written notice from the Administrative Agent as to any such failure);

        (c)    any representation or warranty made or deemed made by or on behalf of any
Borrower in or in connection with any Loan Document or any amendment or modification
thereof or waiver thereunder, or in any report, certificate, financial statement or other document
furnished pursuant to or in connection with this Agreement or any amendment or modification
hereof or waiver hereunder, shall prove to have been incorrect in any material respect when
made or deemed made;

      (d)     the Borrower shall fail to observe or perform any covenant, condition or
agreement contained in Article V or VI other than Sections 5.04, 5.05, 5.06, 5.07(a), 5.08, and
5.11;

         (e)    any Borrower shall fail to observe or perform any covenant, condition or
agreement contained in any Loan Document (other than those specified in clause (a), (b) or (d)
of this Article), and such failure shall continue unremedied for a period of over 30 days after
notice thereof from the Administrative Agent to the Borrower (which notice will be given at the
request of any Lender) and if such default is not curable within thirty (30) days and the Borrower
is diligently pursuing cure of same, the cure period may be extended for thirty (30) days (for a
total of 60 days after the original notice from the Administrative Agent) upon written request
from the Borrower to the Administrative Agent;

        (f)     an involuntary proceeding shall be commenced or an involuntary petition shall be
filed seeking (i) liquidation, reorganization or other relief in respect of any Borrower or any
Collateral Subsidiary or its debts, or of a substantial part of its assets, under any Federal, state or
foreign bankruptcy, insolvency, receivership or similar law now or hereafter in effect or (ii) the
appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for any
Borrower or any Collateral Subsidiary or for a substantial part of its assets, and, in any such case,
such proceeding or petition shall continue undismissed for 60 days or an order or decree
approving or ordering any of the foregoing shall be entered;

         (g)     any Borrower or any Collateral Subsidiary shall (i) voluntarily commence any
proceeding or file any petition seeking liquidation, reorganization or other relief under any
Federal, state or foreign bankruptcy, insolvency, receivership or similar law now or hereafter in
effect, (ii) consent to the institution of, or fail to contest in a timely and appropriate manner, any
proceeding or petition described in clause (h) of this Article, (iii) apply for or consent to the
appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for
such Person or for a substantial part of its assets, (iv) file an answer admitting the material
allegations of a petition filed against it in any such proceeding, (v) make a general assignment
for the benefit of creditors or (vi) take any action for the purpose of effecting any of the
foregoing;

        (h)      any Borrower or any Collateral Subsidiary shall become unable, admit in writing
its inability or fail generally to pay its debts as they become due;



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        (i)    one or more judgments for the payment of money in an aggregate amount in
excess of $10,000,000 shall be rendered against any Borrower, any Subsidiary of the Borrower
or any combination thereof and the same shall remain undischarged for a period of sixty (60)
consecutive days during which execution shall not be effectively stayed, or any action shall be
legally taken by a judgment creditor to attach or levy upon any assets of such Person to enforce
any such judgment;

       (j)     an ERISA Event shall have occurred that, in the opinion of the Required Lenders,
when taken together with all other ERISA Events that have occurred, would reasonably be
expected to result in liability of the Borrower and its Subsidiaries in an aggregate amount
exceeding $10,000,000;

       (k)     [Intentionally Omitted];

       (l)    any Borrower shall default under any agreement and such default would
reasonably be expected to result in a Material Adverse Effect;

       (m)     any Borrower shall (or shall attempt to) disavow, revoke or terminate any Loan
Document to which it is a party or shall otherwise challenge or contest in any action, suit or
proceeding in any court or before any Governmental Authority the validity or enforceability of
any Loan Document;

       (k)      any provision of any Loan Document with respect to the Collateral shall for any
reason cease to be valid and binding on, enforceable against, any Borrower resulting in a
Material Adverse Effect, or any lien created under any Loan Document ceases to be a valid and
perfected first priority lien in any of the Collateral purported to be covered thereby;

       (n)     a Change in Control shall occur;

        (o)    (i) Any Borrower defaults under any recourse Indebtedness, or (ii) any
Subsidiaries of a Borrower defaults under any non-recourse Indebtedness in an aggregate amount
equal to or greater than $75,000,000 at any time (such $75,000,000 calculated based on the
Equity Percentage of Indebtedness for the Borrower’s Unconsolidated Affiliates); or

       (p)     An “event of default” occurs under any of the Senior Loan Documents or any
other debt secured by the Portfolio Properties (excluding the Summers Landing Property);

then, and in every such event (other than an event described in clause (f) or (g) of this Article),
and at any time thereafter during the continuance of such event, the Administrative Agent may,
and at the request of the Required Lenders shall, by notice to the Borrower, take some or all of
the following actions, at the same or different times: (i) declare the Loans then outstanding to be
due and payable in whole (or in part, in which case any principal not so declared to be due and
payable may thereafter be declared to be due and payable), and thereupon the principal of the
Loans so declared to be due and payable, together with accrued interest thereon and all
reasonable fees and other obligations of the Borrower accrued hereunder, shall become due and
payable immediately, without presentment, demand, protest or other notice of any kind, all of
which are hereby waived by the Borrower, and (ii) exercise any other rights or remedies


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provided under this Agreement or any other Loan Document, or any other right or remedy
available by law or equity; and in case of any event described in clause (f) or (g) of this Article,
the principal of the Loans then outstanding, together with accrued interest thereon and all
reasonable fees and other obligations of the Borrower accrued hereunder, shall automatically
become due and payable, without presentment, demand, protest or other notice of any kind, all of
which are hereby waived by the Borrower.

                                         ARTICLE VIII

                                    The Administrative Agent

        Each of the Lenders hereby irrevocably appoints the Administrative Agent as its agent
and authorizes the Administrative Agent to take such actions on its behalf and to exercise such
powers as are delegated to the Administrative Agent by the terms hereof, together with such
actions and powers as are reasonably incidental thereto. In the event of conflicting instructions
or notices given to the Borrower by the Administrative Agent and any Lender, the Borrower is
hereby directed and shall rely conclusively on the instruction or notice given by the
Administrative Agent.

        The bank serving as the Administrative Agent hereunder shall have the same rights and
powers in its capacity as a Lender as any other Lender and may exercise the same as though it
were not the Administrative Agent, and such bank and its Affiliates may accept deposits from,
lend money to and generally engage in any kind of business with the Borrower or any Subsidiary
or other Affiliate thereof as if it were not the Administrative Agent hereunder.

        The Administrative Agent shall not have any duties or obligations except those expressly
set forth herein. Without limiting the generality of the foregoing, (a) the Administrative Agent
shall not be subject to any fiduciary or other implied duties, regardless of whether a Default has
occurred and is continuing, (b) the Administrative Agent shall not have any duty to take any
discretionary action or exercise any discretionary powers, except discretionary rights and powers
expressly contemplated hereby that the Administrative Agent is required to exercise in writing
by the Required Lenders (or such other number or percentage of the Lenders as shall be
necessary under the circumstances as provided in Section 9.02), and (c) except as expressly set
forth herein, the Administrative Agent shall not have any duty to disclose, and shall not be liable
for the failure to disclose, any information relating to any Borrower that is communicated to or
obtained by the bank serving as Administrative Agent or any of its Affiliates in any capacity.
The Administrative Agent shall not be liable for any action taken or not taken by it with the
consent or at the request of the Required Lenders (or such other number or percentage of the
Lenders as shall be necessary under the circumstances as provided in Section 9.02) or in the
absence of its own gross negligence or willful misconduct. The Administrative Agent shall be
deemed not to have knowledge of any Default unless and until written notice thereof is given to
the Administrative Agent by the Borrower or a Lender, and the Administrative Agent shall not
be responsible for or have any duty to ascertain or inquire into (i) any statement, warranty or
representation made in or in connection with this Agreement, (ii) the contents of any certificate,
report or other document delivered hereunder or in connection herewith, (iii) the performance or
observance of any of the covenants, agreements or other terms or conditions set forth herein,



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(iv) the validity, enforceability, effectiveness or genuineness of this Agreement or any other
agreement, instrument or document, or (v) the satisfaction of any condition set forth in
Article IV or elsewhere herein, other than to confirm receipt of items expressly required to be
delivered to the Administrative Agent. The Administrative Agent agrees that, in fulfilling its
duties hereunder, it will use the same standard of care it utilizes in servicing loans for its own
account.

        The Administrative Agent shall be entitled to rely upon, and shall not incur any liability
for relying upon, any notice, request, certificate, consent, statement, instrument, document or
other writing believed by it to be genuine and to have been signed or sent by the proper Person.
The Administrative Agent also may rely upon any statement made to it orally or by telephone
and believed by it to be made by the proper Person, and shall not incur any liability for relying
thereon. The Administrative Agent may consult with legal counsel (who may be counsel for the
Borrower), independent accountants and other experts selected by it, and shall not be liable for
any action taken or not taken by it in good faith in accordance with the advice of any such
counsel, accountants or experts.

        The Administrative Agent may perform any and all its duties and exercise its rights and
powers by or through any one or more sub-agents appointed by the Administrative Agent. The
Administrative Agent and any such sub-agent may perform any and all its duties and exercise its
rights and powers through their respective Related Parties. The exculpatory provisions of the
preceding paragraphs shall apply to any such sub-agent and to the Related Parties of the
Administrative Agent and any such sub-agent, and shall apply to their respective activities in
connection with the syndication of the credit facilities provided for herein as well as activities as
Administrative Agent.

        Subject to the appointment and acceptance of a successor Administrative Agent as
provided in this paragraph, the Administrative Agent may resign at any time by notifying the
Lenders and the Borrower, and may be removed by the Required Lenders in the event of the
Administrative Agent’s gross negligence or willful misconduct. Upon any such resignation or
removal, the Required Lenders shall have the right, with the approval of Borrower (provided no
Default has occurred and is continuing), which approval shall not be unreasonably withheld, to
appoint a successor. If no successor shall have been so appointed by the Required Lenders and
shall have accepted such appointment within 30 days after the retiring Administrative Agent
gives notice of its resignation or is removed, then the retiring Administrative Agent may, on
behalf of the Lenders, appoint a successor Administrative Agent which shall be a Lender, or a
bank with an office in New York, New York, or an Affiliate of any such bank. Upon the
acceptance of its appointment as Administrative Agent hereunder by a successor, such successor
shall succeed to and become vested with all the rights, powers, privileges and duties of the
retiring Administrative Agent, and the retiring Administrative Agent shall be discharged from its
duties and obligations hereunder. The fees payable by the Borrower to a successor
Administrative Agent for its own behalf shall be the same as those payable to its predecessor
unless otherwise agreed between the Borrower and such successor. After the Administrative
Agent’s resignation hereunder, the provisions of this Article and Section 9.03 shall continue in
effect for the benefit of such retiring Administrative Agent, its sub-agents and their respective
Related Parties in respect of any actions taken or omitted to be taken by any of them while it was


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acting as Administrative Agent. The Administrative Agent shall cooperate with any successor
Administrative Agent in fulfilling its duties hereunder.

        Each Lender acknowledges that it has, independently and without reliance upon the
Administrative Agent or any other Lender and based on such documents and information as it
has deemed appropriate, made its own credit analysis and decision to enter into this Agreement.
Each Lender also acknowledges that it will, independently and without reliance upon the
Administrative Agent or any other Lender and based on such documents and information as it
shall from time to time deem appropriate, continue to make its own decisions in taking or not
taking action under or based upon this Agreement, any related agreement or any document
furnished hereunder or thereunder. Administrative Agent agrees to provide the Lenders with
copies of all material documents and certificates received by the Administrative Agent from
Borrower in connection with the Loans.

     The Titled Agents shall not have any additional rights or obligations under the Loan
Documents, except for those rights, if any, as a Lender.

        Any material to be delivered pursuant to Section 5.01 and Section 5.03 (collectively,
“Information Materials”) may be delivered electronically directly to the Administrative Agent or
made available to Administrative Agent pursuant to an accessible website and the Lenders
provided that such material is in a format reasonably acceptable to Administrative Agent, and
such material shall be deemed to have been delivered to Administrative Agent and the Lenders
upon Administrative Agent’s receipt thereof or access to the website containing such material.
The Administrative Agent shall distribute any such information to the other Lenders after receipt
thereof, and may do so by electronic form in the same manner as provided in this Article VIII.
Upon the request of Administrative Agent, Borrower shall deliver paper copies thereof to
Administrative Agent and the Lenders. Borrower authorizes Administrative Agent and Arranger
to disseminate any such materials through the use of Intralinks, SyndTrak or any other electronic
information dissemination system provided that system is secure and access thereto is protected
by a password that is only disclosed to the Lenders (an “Electronic System”). Any such
Electronic System is provided “as is” and “as available.” The Administrative Agent and the
Arranger do not warrant the adequacy of any Electronic System and expressly disclaim liability
for errors or omissions in any notice, demand, communication, information or other material
provided by or on behalf of Borrower that is distributed over or by any such Electronic System
(“Communications”). No warranty of any kind, express, implied or statutory, including, without
limitation, any warranty of merchantability, fitness for a particular purpose, non-infringement of
third-party rights or freedom from viruses or other code defects, is made by the Administrative
Agent or the Arranger in connection with the Communications or the Electronic System. In no
event shall the Administrative Agent, Arranger or any of their directors, officers, employees,
agents or attorneys have any liability to the Borrower, any Lender or any other Person for
damages of any kind, including, without limitation, direct or indirect, special, incidental or
consequential damages, losses or expenses (whether in tort, contract or otherwise) arising out of
any Borrower’s, the Administrative Agent’s or Arranger’s transmission of Communications
through the Electronic System, and the Borrowers release Administrative Agent, the Arrangers
and the Lenders from any liability in connection therewith. Certain of the Lenders (each, a
“Public Lender”) may have personnel who do not wish to receive material non-public


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information with respect to the Borrowers, their Subsidiaries or its Affiliates, or the respective
securities of any of the foregoing, and who may be engaged in investment and other market
related activities with respect to such Persons’ securities. The Borrower hereby agrees that it
will identify that portion of the Information Materials that may be distributed to the Public
Lenders and that (i) all such Information Materials shall be clearly and conspicuously marked
“PUBLIC” which, at a minimum, shall mean that the word “PUBLIC” shall appear prominently
on the first page thereof; (ii) by marking Information Materials “PUBLIC,” the Borrower shall
be deemed to have authorized the Administrative Agent, the Lenders and the Arranger to treat
such Information Materials as not containing any material non-public information with respect to
the Borrowers, their Subsidiaries, their Affiliates or their respective securities for purposes of
United States Federal and state securities laws (provided, however, that to the extent such
Information Materials constitute confidential information, they shall be treated as provided in
Section 9.12); (iii) all Information Materials marked “PUBLIC” are permitted to be made
available through a portion of any electronic dissemination system designated “Public Investor”
or a similar designation; and (iv) the Administrative Agent and the Arranger shall be entitled to
treat any Information Materials that are not marked “PUBLIC” as being suitable only for posting
on a portion of any electronic dissemination system not designated “Public Investor” or a similar
designation.

                                          ARTICLE IX

                                         Miscellaneous

        Section 9.01 Notices. Except in the case of notices and other communications expressly
permitted to be given by telephone, all notices and other communications provided for herein
shall be in writing and shall be delivered by hand or overnight courier service, mailed by
certified or registered mail or sent by telecopy, as follows:

       (a)     if to the Borrower, in care of Highland Capital Management, L.P., at 300 Crescent
Court, Suite 700, Dallas, Texas 75201, Attention: Matt McGraner (Telephone No. (972) 419-
6229 and Email: mmcgraner@highlandcapital.com); copies to: Wick Phillips Gould & Martin,
LLP, 3131 McKinney, Suite 100, Dallas, Texas 75204, Attention: Chris Fuller (Telephone No.
(214) 740-4023 and Email: cfuller@wickphillips.com);

        (b)   if to the Administrative Agent, to KeyBank, National Association, 225 Franklin
          th
Street, 16 Floor, Boston, Massachusetts 02110, Attention: Christopher T. Neil, (Telephone No.
(617) 385-6202 and Email: christopher_t_neil@keybank.com; and

       (c)    if to any other Lender, to it at its address (or telecopy number) set forth on the
signature pages of this Agreement, or as provided to Borrower in writing by the Administrative
Agent or the Lender.

Any party hereto may change its address or telecopy number for notices and other
communications hereunder by notice to the other parties hereto. All notices and other
communications given to any party hereto in accordance with the provisions of this Agreement
shall be deemed to have been given (i) if given by telecopy, when such telecopy is transmitted to
the telecopy number specified in this Section and the appropriate confirmation is received (or if


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such day is not a Business Day, on the next Business Day); (ii) if given by mail (return receipt
requested), on the earlier of receipt or three (3) Business Days after such communication is
deposited in the mail with first class postage prepaid, addressed as aforesaid; or (iii) if given by
any other means, when delivered at the address specified in this Section; provided that notices to
the Administrative Agent under Article II shall not be effective until received.

       Section 9.02 Waivers; Amendments.

        (a)     No failure or delay by the Administrative Agent or any Lender in exercising any
right or power hereunder or under any other Loan Document shall operate as a waiver thereof,
nor shall any single or partial exercise of any such right or power, or any abandonment or
discontinuance of steps to enforce such a right or power, preclude any other or further exercise
thereof or the exercise of any other right or power. The rights and remedies of the
Administrative Agent and the Lenders hereunder and under any other Loan Document are
cumulative and are not exclusive of any rights or remedies that they would otherwise have. No
waiver of any provision of this Agreement or consent to any departure by the Borrower
therefrom shall in any event be effective unless the same shall be permitted by paragraph (b) of
this Section, and then such waiver or consent shall be effective only in the specific instance and
for the purpose for which given. Without limiting the generality of the foregoing, the making of
a Loan shall not be construed as a waiver of any Default, regardless of whether the
Administrative Agent or any Lender may have had notice or knowledge of such Default at the
time.

         (b)    Neither this Agreement nor any provision hereof nor any provision of any Loan
Document may be waived, amended or modified except pursuant to an agreement or agreements
in writing entered into by the Borrower and the Required Lenders or by the Borrower and the
Administrative Agent with the consent of the Required Lenders; provided that no such
agreement shall (i) increase the Commitment of any Lender without the written consent of such
Lender, (ii) reduce the principal amount of any Loan or reduce the rate of interest thereon, or
reduce any fees payable hereunder, without the written consent of each Lender affected thereby,
(iii) postpone the scheduled date of payment of the principal amount of any Loan, or any interest
thereon, or any fees payable hereunder, or reduce the amount of, waive or excuse any such
payment, or postpone the scheduled date of expiration of any Commitment, without the written
consent of each Lender affected thereby, (iv) change Section 2.17(b) or (c) in a manner that
would alter the pro rata sharing of payments required thereby, without the written consent of
each Lender, (v) change any of the provisions of this Section or the definition of “Required
Lenders” or any other provision hereof specifying the number or percentage of Lenders required
to waive, amend or modify any rights hereunder or make any determination or grant any consent
hereunder, without the written consent of each Lender, (vi) release any Borrower from its
obligations under the Loan Documents or release any Collateral, except as specifically provided
for herein, without the written consent of each Lender, (vii) subordinate the Loans or any
Collateral without the written consent of each Lender, (viii) waive or modify any conditions of
extending the Loan set forth in Section 2.21 or Section 2.22 without the written consent of each
Lender affected thereby, or (ix) consent to the Collateral securing any other Indebtedness
without the written consent of each Lender; provided further that no such agreement shall




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amend, modify or otherwise affect the rights or duties of the Administrative Agent hereunder
without the prior written consent of the Administrative Agent.

        (c)    There shall be no amendment, modification or waiver of ARTICLE VIII or any
other provision in the Loan Documents that affects the rights or duties of the Administrative
Agent under this Agreement or any of the other Loan Documents without the written consent of
the Administrative Agent.

        (d)    Notwithstanding anything to the contrary herein, no Defaulting Lender shall have
any right to approve or disapprove any amendment, waiver or consent hereunder (and any
amendment, waiver or consent which by its terms requires the consent of all Lenders or each
affected Lender may be effected with the consent of the applicable Lenders other than Defaulting
Lenders), except that (x) the Commitment of any Defaulting Lender may not be increased or
extended without the consent of such Lender; and (y) any waiver, amendment or modification
requiring the consent of all Lenders or each affected Lender that by its terms affects any
Defaulting Lender more adversely than other affected Lenders shall require the consent of such
Defaulting Lender.

       Section 9.03 Expenses; Indemnity; Damage Waiver.

        (a)      The Borrower shall pay (i) all reasonable out-of-pocket expenses incurred by the
Administrative Agent, the Arranger, and its Affiliates, including the reasonable fees, charges and
disbursements of counsel for the Administrative Agent, in connection with the closing of the
credit facilities provided for herein, the syndication of the credit facilities provided for herein,
the preparation and administration of this Agreement or any amendments, modifications or
waivers of the provisions hereof (whether or not the transactions contemplated hereby or thereby
shall be consummated), (ii) all mortgage taxes and other charges incurred or required to be paid
by the Administrative Agent in connection with the Loan Documents, and (iii) all reasonable
out-of-pocket expenses incurred by the Administrative Agent or any Lender, including the
reasonable fees, charges and disbursements of any counsel for the Administrative Agent or any
Lender, in connection with the enforcement or protection of its rights in connection with this
Agreement, including its rights under this Section, or in connection with the Loans made
hereunder, including all such out-of-pocket expenses incurred (including any Appraisal costs)
during any waivers, workout, restructuring or negotiations in respect of the Loans.

        (b)      The Borrower shall indemnify the Administrative Agent, the Arranger, and each
Lender, and each Related Party of any of the foregoing Persons (each such Person being called
an “Indemnitee”) against, and hold each Indemnitee harmless from, any and all losses, claims,
damages, liabilities and related expenses, including the reasonable fees, charges and
disbursements of any counsel for any Indemnitee, incurred by or asserted against any Indemnitee
arising out of, in connection with, or as a result of (i) the execution or delivery of this Agreement
or any agreement or instrument contemplated hereby, the performance by the parties hereto of
their respective obligations hereunder or the consummation of the Transactions or any other
transactions contemplated hereby, (ii) the Loans or the use of the proceeds therefrom, (iii) any
actual or alleged presence or release of Hazardous Materials on or from any property owned or
operated by the Borrower or any of its Subsidiaries, or any Environmental Liability related in
any way to the Borrower or any of its Subsidiaries, or (iv) any actual or prospective claim,


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litigation, investigation or proceeding relating to any of the foregoing, whether based on
contract, tort or any other theory and regardless of whether any Indemnitee is a party thereto;
provided that such indemnity shall not, as to any Indemnitee, be available to the extent that such
losses, claims, damages, liabilities or related expenses resulted from the gross negligence or
willful misconduct of such Indemnitee as determined by a court of law in a final non-appealable
judgment, or the failure of the Indemnitee to make Loans pursuant to its Commitment in breach
of its obligations hereunder.

         (c)     To the extent that the Borrower fails to pay any amount required to be paid by it
to the Administrative Agent under paragraph (a) or (b) of this Section, each Lender severally
agrees to pay to the Administrative Agent such Lender’s Applicable Percentage (determined as
of the time that the applicable unreimbursed expense or indemnity payment is sought) of such
unpaid amount; provided that the unreimbursed expense or indemnified loss, claim, damage,
liability or related expense, as the case may be, was incurred by or asserted against the
Administrative Agent in its capacity as such.

       (d)     To the extent permitted by applicable law, the Borrower shall not assert, and
hereby waives, any claim against any Indemnitee, on any theory of liability, for special, indirect,
consequential or punitive damages (as opposed to direct or actual damages) arising out of, in
connection with, or as a result of, this Agreement or any agreement or instrument contemplated
hereby, the Transactions, the Loans or the use of the proceeds thereof.

        (e)  All amounts due under this Section shall be payable not later than ten days after
written demand therefor.

       Section 9.04 Successors and Assigns.

        (a)     The provisions of this Agreement shall be binding upon and inure to the benefit of
the parties hereto and their respective successors and assigns permitted hereby, except that the
Borrower may not assign or otherwise transfer any of its rights or obligations hereunder without
the prior written consent of each Lender (and any attempted assignment or transfer by the
Borrower without such consent shall be null and void). Nothing in this Agreement, expressed or
implied, shall be construed to confer upon any Person (other than the parties hereto, their
respective successors and assigns permitted hereby and, to the extent expressly contemplated
hereby, the Related Parties of each of the Administrative Agent and the Lenders) any legal or
equitable right, remedy or claim under or by reason of this Agreement.

        (b)     (i) Subject to the conditions set forth in paragraph (b)(ii) below, any Lender may
assign to one or more assignees all or a portion of its rights and obligations under this Agreement
(including all or a portion of its Commitment and the Loans at the time owing to it) with the
prior written consent (such consent not to be unreasonably withheld) of:

                               (A)     the Borrower, provided that no consent of the Borrower
                       shall be required for an assignment to a Lender, an Affiliate of a Lender,
                       an Approved Fund or, if a Default has occurred and is continuing, any
                       other assignee; and (ii) such consent shall be deemed granted unless the



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                       Lead Borrower objects within five (5) Business Days of a receipt of
                       written notice of the proposed assignment;

                               (B)     the Administrative Agent, provided that no consent of the
                       Administrative Agent shall be required for an assignment to a Lender, an
                       Affiliate of a Lender or an Approved Fund.

                Provided, no consent of the Borrower or Administrative Agent shall be required
         in connection with any assignment to an entity acquiring, or merging with, a Lender.

                      (ii)     Assignments shall be subject to the following additional
               conditions:

                               (A)     except in the case of an assignment to a Lender or an
                       Affiliate of a Lender or an assignment of the entire remaining amount of
                       the assigning Lender’s Commitment or Loans, the amount of the
                       Commitment or Loans of the assigning Lender subject to each such
                       assignment (determined as of the date the Assignment and Assumption
                       with respect to such assignment is delivered to the Administrative Agent)
                       shall not be less than $5,000,000.00 unless each of the Borrower and the
                       Administrative Agent otherwise consent, provided that no such consent of
                       the Borrower shall be required if a Default has occurred and is continuing
                       and such consent shall not be unreasonably withheld;

                              (B)     each partial assignment shall be made as an assignment of a
                       proportionate part of all the assigning Lender’s rights and obligations
                       under this Agreement with respect to the Loans or the Commitment
                       assigned;

                              (C)    the parties to each assignment shall execute and deliver to
                       the Administrative Agent an Assignment and Assumption, together with a
                       processing and recordation fee of $3,500.00; and

                             (D)     the assignee, if it shall not be a Lender, shall deliver to the
                       Administrative Agent an Administrative Questionnaire.

                For the purposes of this Section 9.04(b), the term “Approved Fund” has the
         following meaning:

        “Approved Fund” means any Person (other than a natural person) that is engaged in
making, purchasing, holding or investing in bank loans and similar extensions of credit in the
ordinary course of its business and that is administered or managed by (a) a Lender, (b) an
Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a
Lender.

               (iii) Subject to acceptance and recording thereof pursuant to paragraph (b)(iv) of
       this Section, from and after the effective date specified in each Assignment and


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       Assumption the assignee thereunder shall be a party hereto and, to the extent of the
       interest assigned by such Assignment and Assumption, have the rights and obligations of
       a Lender under this Agreement, and the assigning Lender thereunder shall, to the extent
       of the interest assigned by such Assignment and Assumption, be released from its
       obligations under this Agreement (and, in the case of an Assignment and Assumption
       covering all of the assigning Lender’s rights and obligations under this Agreement, such
       Lender shall cease to be a party hereto but shall continue to be entitled to the benefits of
       Sections 2.15, 2.16, 2.17 and 9.03). Any assignment or transfer by a Lender of rights or
       obligations under this Agreement that does not comply with this Section 9.04 shall be
       treated for purposes of this Agreement as a sale by such Lender of a participation in such
       rights and obligations in accordance with paragraph (c) of this Section.

               (iv) The Administrative Agent, acting for this purpose as an agent of the
       Borrower, shall maintain at one of its offices a copy of each Assignment and Assumption
       delivered to it and a register for the recordation of the names and addresses of the
       Lenders, and the Commitment of the principal amount of the Loans owing to, each
       Lender pursuant to the terms hereof from time to time (the “Register”). The entries in the
       Register shall be conclusive, and the Borrower, the Administrative Agent and the
       Lenders may treat each Person whose name is recorded in the Register pursuant to the
       terms hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding
       notice to the contrary. The Register shall be available for inspection by the Borrower and
       any Lender, at any reasonable time and from time to time upon reasonable prior notice.

              (v) Upon its receipt of a duly completed Assignment and Assumption executed
       by an assigning Lender and an assignee, the assignee's completed Administrative
       Questionnaire (unless the assignee shall already be a Lender hereunder), the processing
       and recordation fee referred to in paragraph (b) of this Section and any written consent to
       such assignment required by paragraph (b) of this Section, the Administrative Agent shall
       accept such Assignment and Assumption and record the information contained therein in
       the Register. No assignment shall be effective for purposes of this Agreement unless it
       has been recorded in the Register as provided in this paragraph.

        (c)     Any Lender may, without the consent of the Borrower or the Administrative
Agent, sell participations to one or more banks or other entities (a “Participant”) in all or a
portion of such Lender’s rights and obligations under this Agreement (including all or a portion
of its Commitment and the Loans owing to it); provided that (i) such Lender’s obligations under
this Agreement shall remain unchanged, (ii) such Lender shall remain solely responsible to the
other parties hereto for the performance of such obligations, (iii) the Borrower, the
Administrative Agent and the other Lenders shall continue to deal solely and directly with such
Lender in connection with such Lender’s rights and obligations under this Agreement and (iv)
Borrower’s obligations hereunder shall not be increased. Any agreement or instrument pursuant
to which a Lender sells such a participation shall provide that such Lender shall retain the sole
right to enforce this Agreement and to approve any amendment, modification or waiver of any
provision of this Agreement; provided that such agreement or instrument may provide that such
Lender will not, without the consent of the Participant, agree to any amendment, modification or
waiver described in the first proviso to Section 9.02(b) that affects such Participant. Subject to


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paragraph (d) of this Section, the Borrower agrees that each Participant shall be entitled to the
benefits of Sections 2.15, 2.16 and 2.17 to the same extent as if it were a Lender and had
acquired its interest by assignment pursuant to paragraph (b) of this Section. To the extent
permitted by law, each Participant also shall be entitled to the benefits of Section 9.08 as though
it were a Lender, provided such Participant agrees to be subject to Section 2.18(c) as though it
were a Lender. Each Lender that sells a participation shall, acting solely for this purpose as a
non-fiduciary agent of the Borrower, maintain a register on which it enters the name and address
of each Participant and the principal amounts (and stated interest) of each Participant’s interest
in the Loans or other obligations under the Loan Documents (the “Participant Register”);
provided that, except in the case of a Participant asserting any right of set-off pursuant to Section
9.08, no Lender shall have any obligation to disclose all or any portion of the Participant
Register (including the identity of any Participant or any information relating to a Participant’s
interest in any commitments, loans, letters of credit or its other obligations under any Loan
Document) to any Person except to the extent that such disclosure is necessary to establish that
such commitment, loan, or other obligation is in registered form under Section 5f.103-1(c) of the
United States Treasury Regulations. The entries in the Participant Register shall be conclusive
absent manifest error, and such Lender shall treat each Person whose name is recorded in the
Participant Register as the owner of such participation for all purposes of this Agreement
notwithstanding any notice to the contrary. For the avoidance of doubt, the Administrative
Agent (in its capacity as Administrative Agent) shall have no responsibility for maintaining a
Participant Register.

        (d)     A Participant shall not be entitled to receive any greater payment under Section
2.15 or 2.17 than the applicable Lender would have been entitled to receive with respect to the
participation sold to such Participant, unless the sale of the participation to such Participant is
made with the Borrower’s prior written consent. A Participant that would be a Foreign Lender if
it were a Lender shall not be entitled to the benefits of Section 2.17 unless the Borrower is
notified of the participation sold to such Participant and such Participant agrees, for the benefit
of the Borrower, to comply with Section 2.17(e) as though it were a Lender.

        (e)      Any Lender may at any time pledge or assign a security interest in all or any
portion of its rights under this Agreement to secure obligations of such Lender, including any
pledge or assignment to secure obligations to a Federal Reserve Bank, and this Section shall not
apply to any such pledge or assignment of a security interest; provided that no such pledge or
assignment of a security interest shall release a Lender from any of its obligations hereunder or
substitute any such pledgee or assignee for such Lender as a party hereto.

        Section 9.05 Survival. All covenants, agreements, representations and warranties made
by the Borrower herein and in the certificates or other instruments delivered in connection with
or pursuant to this Agreement shall be considered to have been relied upon by the other parties
hereto and shall survive the execution and delivery of this Agreement and the making of the
Loans, regardless of any investigation made by any such other party or on its behalf and
notwithstanding that the Administrative Agent or any Lender may have had notice or knowledge
of any Default or incorrect representation or warranty at the time any credit is extended
hereunder, and shall continue in full force and effect as long as the principal of or any accrued
interest on the Loans or any fee or any other amount payable under this Agreement is


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outstanding and unpaid. The provisions of Sections 2.15, 2.16, 2.17 and 9.03 and Article VIII
shall survive and remain in full force and effect regardless of the consummation of the
transactions contemplated hereby, the repayment of the Loans or the termination of this
Agreement or any provision hereof.

       Section 9.06 Counterparts; Integration; Effectiveness.

        (a)     This Agreement may be executed in counterparts (and by different parties hereto
on different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract.

        (b)     This Agreement and any separate letter agreements with respect to fees payable to
the Administrative Agent constitute the entire contract among the parties relating to the subject
matter hereof and supersede any and all previous agreements and understandings, oral or written,
relating to the subject matter hereof.

         (c)    Except as provided in Section 4.01, this Agreement shall become effective when
it shall have been executed by the Administrative Agent and when the Administrative Agent
shall have received counterparts hereof which, when taken together, bear the signatures of each
of the other parties hereto, and thereafter shall be binding upon and inure to the benefit of the
parties hereto and their respective successors and assigns. Delivery of an executed counterpart
of a signature page of this Agreement by telecopy shall be effective as delivery of a manually
executed counterpart of this Agreement.

        Section 9.07 Severability. Any provision of this Agreement held to be invalid, illegal or
unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
invalidity, illegality or unenforceability without affecting the validity, legality and enforceability
of the remaining provisions hereof; and the invalidity of a particular provision in a particular
jurisdiction shall not invalidate such provision in any other jurisdiction.

        Section 9.08 Right of Setoff. If an Event of Default shall have occurred and be
continuing, each Lender and each of its Affiliates is hereby authorized at any time and from time
to time, to the fullest extent permitted by law, to set off and apply any and all deposits of a
Borrower (general or special, time or demand, provisional or final, but excluding any funds held
by the Borrower on behalf of tenants or other third parties) at any time held and other obligations
at any time owing by such Lender or Affiliate to or for the credit or the account of a Borrower
against any of and all the obligations of the Borrower now or hereafter existing under this
Agreement held by such Lender, irrespective of whether or not such Lender shall have made any
demand under this Agreement and although such obligations may be unmatured. Each Lender
agrees promptly to notify the Borrower after any such setoff and application made by such
Lender, provided that the failure to give such notice shall not affect the validity of such setoff
and application. The rights of each Lender under this Section are in addition to other rights and
remedies (including other rights of setoff) which such Lender may have. In the event that any
Defaulting Lender shall exercise any such right of setoff, (a) all amounts so set off shall be paid
over immediately to the Administrative Agent for further application in accordance with the
provisions of this Agreement and, pending such payment, shall be segregated by such Defaulting
Lender from its other funds and deemed held in trust for the benefit of the Administrative Agent


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and the Lenders, and (b) the Defaulting Lender shall provide promptly to the Administrative
Agent a statement describing in reasonable detail the Obligations owing to such Defaulting
Lender as to which it exercised such right of setoff.

       Section 9.09 Governing Law; Jurisdiction; Consent to Service of Process.

        (a)     This Agreement shall be governed by, and construed in accordance with, the laws
of the State of New York.

        (b)      The Borrower hereby irrevocably and unconditionally submits, for itself and its
property, to the nonexclusive jurisdiction of the state and federal courts in Boston, Massachusetts
and in New York, New York, and any appellate court from any thereof, in any action or
proceeding arising out of or relating to this Agreement or any other Loan Document, or for
recognition or enforcement of any judgment, and each of the parties hereto hereby irrevocably
and unconditionally agrees that all claims in respect of any such action or proceeding may be
heard and determined in such State or, to the extent permitted by law, in such Federal court.
Each of the parties hereto agrees that a final judgment in any such action or proceeding shall be
conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
manner provided by law. Nothing in this Agreement shall affect any right that the
Administrative Agent or any Lender may otherwise have to bring any action or proceeding
relating to this Agreement or any other Loan Document against the Borrower or its properties in
the courts of any jurisdiction.

              Notwithstanding the foregoing choice of law:

                      (i)     matters relating to the creation, perfection, priority and
               enforcement of the liens on and security interests in a Mortgaged Property or
               other assets situated in another jurisdiction(s), including by way of illustration,
               but not in limitation, actions for foreclosure, for injunctive relief, or for the
               appointment of a receiver, shall be governed by the laws of such state;

                       (ii)    Administrative Agent shall comply with applicable law in such
               state to the extent required by the law of such jurisdiction(s) in connection with
               the foreclosure of the security interests and liens created under the Mortgages or
               exercising any rights with respect to the Mortgaged Property directly, and the
               other Loan Documents with respect to the Mortgaged Property or other assets
               situated in another jurisdiction; and

                       (iii) provisions of Federal law and the law of such other jurisdiction(s)
               shall apply in defining the terms Hazardous Materials, Environmental Laws and
               Legal Requirements applicable to the Mortgaged Property as such terms are used
               in this Agreement, the Environmental Indemnity and the other Loan Documents

        (c)     The Borrower hereby irrevocably and unconditionally waives, to the fullest extent
it may legally and effectively do so, any objection which it may now or hereafter have to the
laying of venue of any suit, action or proceeding arising out of or relating to this Agreement or
any other Loan Document in any court referred to in paragraph (b) of this Section. Each of the


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parties hereto hereby irrevocably waives, to the fullest extent permitted by law, the defense of an
inconvenient forum to the maintenance of such action or proceeding in any such court.

       (d)      Each party to this Agreement irrevocably consents to service of process in the
manner provided for notices in Section 9.01. Nothing in this Agreement will affect the right of
any party to this Agreement to serve process in any other manner permitted by law.

      Section 9.10 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT
IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT, ANY OTHER
LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR
THEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY).
EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND
(B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

        Section 9.11 Headings. Article and Section headings and the Table of Contents used
herein are for convenience of reference only, are not part of this Agreement and shall not affect
the construction of, or be taken into consideration in interpreting, this Agreement.

         Section 9.12 Confidentiality. Each of the Administrative Agent and the Lenders agrees
to maintain the confidentiality of the Information (as defined below), except that Information
may be disclosed (a) to its and its Affiliates’ directors, officers, employees and agents, including
accountants, legal counsel and other advisors (it being understood that the Persons to whom such
disclosure is made will be informed of the confidential nature of such Information and instructed
to keep such Information confidential), (b) to the extent requested by any regulatory authority,
(c) to the extent required by applicable laws or regulations or by any subpoena or similar legal
process, (d) to any other party to this Agreement, (e) in connection with the exercise of any
remedies hereunder or any suit, action or proceeding relating to this Agreement or the
enforcement of rights hereunder, (f) subject to an agreement containing provisions substantially
the same as those of this Section, to any assignee of or Participant in, or any prospective assignee
of or Participant in, any of its rights or obligations under this Agreement, (g) with the consent of
the Borrower or (h) to any Person in connection with any Hedging Agreement to the (i) extent
such Information (i) becomes publicly available other than as a result of a breach of this Section
or (ii) becomes available to the Administrative Agent or any Lender on a nonconfidential basis
from a source other than a Borrower, and (j) to the National Association of Insurance
Commissioners or any other similar organization or any nationally recognized rating agency that
requires access to information about a Lender’s or its Affiliates’ investment portfolio in
connection with ratings issued with respect to such Lender or its Affiliates For the purposes of
this Section, “Information” means all information received from any Borrower relating to the
Borrower or its business, other than any such information that is available to the Administrative



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Agent or any Lender on a nonconfidential basis prior to disclosure by any Borrower; provided
that, in the case of information received from any Borrower after the date hereof, such
information is clearly identified at the time of delivery as confidential. Any Person required to
maintain the confidentiality of Information as provided in this Section shall be considered to
have complied with its obligation to do so if such Person has exercised the same degree of care
to maintain the confidentiality of such Information as such Person would accord to its own
confidential information.

        Section 9.13 Interest Rate Limitation. If at any time there exists a maximum rate of
interest which may be contracted for, charged, taken, received or reserved by the Lenders in
accordance with applicable law (the “Maximum Rate”), then notwithstanding anything herein to
the contrary, at any time the interest applicable to the Loans, together with all fees, charges and
other amounts which are treated as interest on the Loans under applicable law (collectively, the
“Charges”), shall exceed such Maximum Rate, the rate of interest payable in respect of the
Loans hereunder, together with all Charges payable in respect thereof, shall be limited to the
Maximum Rate and, to the extent lawful, the interest and Charges that would have been paid in
respect of the Loans but were not payable as result of the operation of this Section shall be
cumulated and the interest and Charges payable to the Lenders in respect of other Loans or
periods shall be increased (but not above the Maximum Rate therefor) until such cumulated
amount, together with interest thereon at the Federal Funds Effective Rate to the date of
repayment, shall have been received by the Lenders. If, for any reason whatsoever, the Charges
paid or received on the Loans produces a rate which exceeds the Maximum Rate, the Lenders
shall credit against the principal of the Loans (or, if such indebtedness shall have been paid in
full, shall refund to the payor of such Charges) such portion of said Charges as shall be necessary
to cause the interest paid on the Loans to produce a rate equal to the Maximum Rate. All sums
paid or agreed to be paid to the holders of the Loans for the use, forbearance or detention of the
Loans shall, to the extent permitted by applicable law, be amortized, prorated, allocated and
spread in equal parts throughout the full term of this Agreement, so that the interest rate is
uniform throughout the full term of this Agreement. The provisions of this Section shall control
all agreements, whether now or hereafter existing and whether written or oral, between the
parties hereto. Without notice to the Borrower or any other person or entity, the Maximum Rate,
if any, shall automatically fluctuate upward and downward as and in the amount by which such
maximum nonusurious rate of interest permitted by applicable law fluctuates.

        Section 9.14 USA PATRIOT Act. . Each Lender that is subject to the Patriot Act (as
hereinafter defined) and Administrative Agent (for itself and not on behalf of any Lender) hereby
notifies each Borrower that pursuant to the requirements of the USA PATRIOT Act (Title III of
Pub. L. 107-56 (signed into law October 26, 2001)) (the “Patriot Act”), it is required to obtain,
verify and record information that identifies such Borrower, which information includes the
name and address of such Borrower and other information that will allow such Lender or
Administrative Agent, as applicable, to identify such Borrower in accordance with the Patriot
Act. Borrower shall, promptly following a request by Administrative Agent or any Lender,
provide all documentation and other information that Administrative Agent or such Lender
requests in order to comply with its ongoing obligations under applicable “know your customer”
and Anti-Money Laundering Laws, rules and regulations, including the Patriot Act.



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       Section 9.15 Fiduciary Duty/No Conflicts.

         The Administrative Agent, each Lender and their Affiliates (collectively, solely for
purposes of this paragraph, the “Lenders”), may have economic interests that conflict with those
of the Borrower, their stockholders and/or their affiliates. Each Borrower agrees that nothing in
the Loan Documents or otherwise will be deemed to create an advisory, fiduciary or agency
relationship or fiduciary or other implied duty between any Lender, on the one hand, and such
Borrower, its stockholders or its affiliates, on the other. The Borrower acknowledges and agrees
that (i) the transactions contemplated by the Loan Documents (including the exercise of rights
and remedies hereunder and thereunder) are arm’s-length commercial transactions between the
Lenders, on the one hand, and the Borrowers, on the other, and (ii) in connection therewith and
with the process leading thereto, (x) no Lender has assumed an advisory or fiduciary
responsibility in favor of any Borrower, its stockholders or its affiliates with respect to the
transactions contemplated hereby (or the exercise of rights or remedies with respect thereto) or
the process leading thereto (irrespective of whether any Lender has advised, is currently advising
or will advise any Borrower, its stockholders or its Affiliates on other matters) or any other
obligation to any Borrower except the obligations expressly set forth in the Credit Documents
and (y) each Lender is acting hereunder solely as principal and not as the agent or fiduciary of
any Borrower, its management, stockholders, creditors or any other Person. Each Borrower
acknowledges and agrees that it has consulted its own legal and financial advisors to the extent it
deemed appropriate and that it is responsible for making its own independent judgment with
respect to such transactions and the process leading thereto. Each Borrower agrees that it will
not claim that any Lender has rendered advisory services of any nature or respect, or owes a
fiduciary or similar duty to such Borrower, in connection with such transaction or the process
leading thereto in its capacity as a Lender.

         Section 9.16 Acknowledgement and Consent to Bail-In of EEA Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any
liability of any EEA Financial Institution arising under any Loan Document, to the extent such
liability is unsecured, may be subject to the Write-Down and Conversion Powers of an EEA
Resolution Authority and agrees and consents to, and acknowledges and agrees to be bound by:

         (a)   the application of any Write-Down and Conversion Powers by an EEA Resolution
Authority to any such liabilities arising hereunder which may be payable to it by any party hereto
that is an EEA Financial Institution; and

       (b)     the effects of any Bail-in Action on any such liability, including, if applicable:

                      (i)     a reduction in full or in part or cancellation of any such liability;

                       (ii)     a conversion of all, or a portion of, such liability into shares or
               other instruments of ownership in such EEA Financial Institution, its parent
               entity, or a bridge institution that may be issued to it or otherwise conferred on it,
               and that such shares or other instruments of ownership will be accepted by it in
               lieu of any rights with respect to any such liability under this Agreement or any
               other Loan Document; or


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                      (iii) the variation of the terms of such liability in connection with the
               exercise of the Write-Down and Conversion Powers of any EEA Resolution
               Authority.

       Section 9.17 Multiple Borrowers; Joint and Several Liability.

        (a)     With respect to the definition of the “Borrower” hereunder or in any other Loan
Document, except where the context otherwise provides, (a) any representations contained
herein or in any other Loan Documents of Borrower shall be applicable to each Borrower, (b)
any affirmative covenants contained herein or in any other Loan Documents shall be deemed to
be covenants of each Borrower and shall require performance by all Borrowers, (c) any negative
covenants contained herein or in any other Loan Documents shall be deemed to be covenants of
each Borrower, and shall be breached if any Borrower fails to comply therewith, (d) the
occurrence of any Event of Default with respect to any Borrower shall be deemed to be an Event
of Default hereunder or thereunder, and (e) any Obligations of Borrowers, including, without
limitation, under the Note (i) shall be deemed to be Obligations of all of the Borrowers, and (ii)
shall be joint and several. Each Borrower recognizes that credit available to it under the Loan is
in excess of and on better terms than it otherwise could obtain on and for its own account and
that one of the reasons therefor is its joining in the credit facility contemplated herein with all
other Borrowers. Consequently, each Borrower, jointly and severally, hereby assumes and
agrees fully, faithfully and punctually to discharge all Obligations of all of the Borrowers.

        (b)     To the fullest extent permitted by Law, the obligations of each Borrower shall not
be affected by (i) the failure of Administrative Agent to assert any claim or demand or to enforce
or exercise any right or remedy against any other Borrower under the provisions of this
Agreement, any other Loan Document or otherwise, (ii) any rescission, waiver, amendment or
modification of, or any release from any of the terms or provisions of, this Agreement or any
other Loan Document, (iii) the failure to perfect any security interest in, or the release of, any of
the collateral or other security held by or on behalf of Administrative Agent, or (iv) any default,
failure or delay, willful or otherwise, in the performance of any of the Obligations, or by any
other act or omission that may or might in any manner or to any extent vary the risk of any
Borrower or that would otherwise operate as a discharge of any Borrower as a matter of law or
equity (other than the indefeasible payment in full in cash of all the Obligations, excluding,
however, any contingent indemnification obligations which are not then due and payable or for
which a claim has not then been asserted). The obligations of each Borrower shall not be subject
to any reduction, limitation, impairment or termination for any reason (other than the
indefeasible payment in full in cash of the Obligations, excluding, however, any contingent
indemnification obligations which are not then due and payable or for which a claim has not then
been asserted), including any claim of waiver, release, surrender, alteration or compromise of
any of the Obligations, and shall not be subject to any defense or setoff, counterclaim,
recoupment or termination whatsoever by reason of the invalidity, illegality or unenforceability
of any of the Obligations or otherwise.

        (c)     To the fullest extent permitted by Law, each Borrower waives any defense based
on or arising out of any defense of any other Borrower or the unenforceability of the Obligations
or any part thereof from any cause, or the cessation from any cause of the liability of any other



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Borrower, other than the indefeasible payment in full in cash of all the Obligations, excluding,
however, any contingent indemnification obligations which are not then due and payable or for
which a claim has not then been asserted. Administrative Agent may, at its election, foreclose on
any security held by one or more of them by one or more judicial or non-judicial sales, accept an
assignment of any such security in lieu of foreclosure, compromise or adjust any part of the
Obligations, make any other accommodation with any other Borrower, or exercise any other
right or remedy available to them against any other Borrower, without affecting or impairing in
any way the liability of any Borrower hereunder except to the extent that all of the Obligations
have been indefeasibly paid in full in cash, excluding, however, any contingent indemnification
obligations which are not then due and payable or for which a claim has not then been asserted.
Each Borrower waives any defense arising out of any such election even though such election
operates, pursuant to Law, to impair or to extinguish any right of reimbursement or subrogation
or other right or remedy of such Borrower against any other Borrower.

        (d)     Notwithstanding the foregoing, it is the intent of each Borrower and the Lenders
that in any proceeding under any Debtor Relief Laws, such Borrower's maximum obligation
hereunder shall equal, but not exceed, the maximum amount which would not otherwise cause
the obligations of such Borrower hereunder (or any other obligations of such Borrower to the
Lenders under the Loan Documents) to be avoidable or unenforceable against such Borrower in
such proceeding as a result of any Legal Requirements, including, without limitation, (i) Section
548 of the Bankruptcy Code of the United States and (ii) any state fraudulent transfer or
fraudulent conveyance act or statute applied in such proceeding, whether by virtue of Section
544 of the Bankruptcy Code of the United States or otherwise. The Legal Requirements under
which the possible avoidance or unenforceability of the obligations of such Borrower hereunder
(or any other obligations of such Borrower to the Lender under the Loan Documents) shall be
determined in any such proceeding are referred to herein as “Avoidance Provisions”.
Accordingly, to the extent that the obligations of a Borrower hereunder would otherwise be
subject to avoidance under the Avoidance Provisions, the maximum Obligations for which such
Borrower shall be liable hereunder shall be reduced to the greater of (A) the amount which, as of
the time any of the obligations of such Borrower are deemed to have been incurred by such
Borrower under the Avoidance Provisions, would not cause the obligations of such Borrower
hereunder (or any other obligations of such Borrower to the Lender under the Loan Documents),
to be subject to avoidance under the Avoidance Provisions or (B) the amount which, as of the
time demand is made hereunder upon such Borrower for payment on account of the Obligations,
would not cause the obligations of such Borrower hereunder (or any other obligations of such
Borrower to the Lender under the Loan Documents), to be subject to avoidance under the
Avoidance Provisions. The provisions under this Section are intended solely to preserve the
rights of the Lenders hereunder to the maximum extent that would not cause the obligations of
any Borrower hereunder to be subject to avoidance under the Avoidance Provisions, and no
Borrower or any other Person shall have any right or claim under this Section as against the
Administrative Agent or any Lender that would not otherwise be available to such Person under
the Avoidance Provisions.

        (e)     Upon payment by any Borrower of any Obligations, all rights of such Borrower
against any other Borrower arising as a result thereof by way of right of subrogation,
contribution, reimbursement, indemnity or otherwise shall in all respects be subordinate and


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junior in right of payment to the prior indefeasible payment in full in cash of all of the
Obligations, excluding, however, any contingent indemnification obligations which are not then
due and payable or for which a claim has not then been asserted. In addition, any indebtedness of
any Borrower now or hereafter held by any other Borrower is hereby subordinated in right of
payment to the prior indefeasible payment in full of the Obligations, excluding, however, any
contingent indemnification obligations which are not then due and payable or for which a claim
has not then been asserted and no Borrower will demand, sue for or otherwise attempt to collect
any such indebtedness. If any amount shall erroneously be paid to any Borrower on account of
(i) such subrogation, contribution, reimbursement, indemnity or similar right or (ii) any such
indebtedness of any Borrower, such amount shall be held in trust for the benefit of
Administrative Agent and shall forthwith be paid to Administrative Agent to be credited against
the payment of the Obligations, whether matured or unmatured, in accordance with the terms of
this Agreement and the other Loan Documents. Subject to the foregoing, to the extent that any
Borrower shall, under this Agreement as a joint and several obligor, repay any of the Obligations
constituting Loans made to another Borrower hereunder or other Obligations incurred directly
and primarily by any other Borrower (an “Accommodation Payment”), then the Borrower
making such Accommodation Payment shall be entitled to contribution and indemnification
from, and be reimbursed by, each of the other Borrowers in an amount, for each of such other
Borrowers, equal to a fraction of such Accommodation Payment, the numerator of which
fraction is such other Borrower's Allocable Amount and the denominator of which is the sum of
the Allocable Amounts of all of the Borrowers. As of any date of determination, the “Allocable
Amount” of each Borrower shall be equal to the maximum amount of liability for
Accommodation Payments which could be asserted against such Borrower hereunder without (a)
rendering such Borrower “insolvent” within the meaning of Section 101 (32) of the Bankruptcy
Code, Section 2 of the Uniform Fraudulent Transfer Act (“UFTA”) or Section 2 of the Uniform
Fraudulent Conveyance Act (“UFCA”), (b) leaving such Borrower with unreasonably small
capital or assets, within the meaning of Section 548 of the Bankruptcy Code, Section 4 of the
UFTA, or Section 5 of the UFCA, or (c) leaving such Borrower unable to pay its debts as they
become due within the meaning of Section 548 of the Bankruptcy Code or Section 4 of the
UFTA, or Section 5 of the UFCA.

        (f)     Each Borrower agrees that it shall never be entitled to be subrogated to any of the
Administrative Agent’s or any Lender’s rights against any Borrower or other Person or any
collateral or offset rights held by the Administrative Agent or the Lenders for payment of the
Loans until the full and final payment of the Loans and all other obligations incurred under the
Loan Documents and final termination of the Lenders’ obligations, if any, to make further
advances under this Agreement or to provide any other financial accommodations to any
Borrower. The value of the consideration received and to be received by each Borrower is
reasonably worth at least as much as the liability and obligation of each Borrower incurred or
arising under the Loan Documents. Each Borrower has determined that such liability and
obligation may reasonably be expected to substantially benefit each Borrower directly or
indirectly. Each Borrower has had full and complete access to the underlying papers relating to
the Loans and all of the Loan Documents, has reviewed them and is fully aware of the meaning
and effect of their contents. Each Borrower is fully informed of all circumstances which bear
upon the risks of executing the Loan Documents and which a diligent inquiry would reveal.
Each Borrower has adequate means to obtain from each other Borrower on a continuing basis


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information concerning such other Borrower’s financial condition, and is not depending on the
Administrative Agent or the Lenders to provide such information, now or in the future. Each
Borrower agrees that neither the Administrative Agent nor any of the Lenders shall have any
obligation to advise or notify any Borrower or to provide any Borrower with any data or
information regarding any other Borrower.

                                   [Signature Pages Follow]




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                                  SCHEDULE 1.01
                           PROPERTY OWNER BORROWERS

  1.    RIVERVIEW PARTNERS SC, LLC, a Delaware limited liability company
  2.    HAMPTON RIDGE PARTNERS, LLC, a Delaware limited liability company
  3.    LAT BATTLEGROUND PARK, LLC, a Delaware limited liability company
  4.    LANDMARK AT BATTLEGROUND PARK II, LLC, a Delaware limited liability company
  5.    MAR QUAIL LANDING, LLC, a Delaware limited liability company
  6.    G&E APARTMENT REIT THE MYRTLES AT OLDE TOWNE, LLC, a Delaware limited
        liability company
  7.    G&E APARTMENT REIT THE HEIGHTS AT OLDE TOWNE, LLC, a Delaware limited
        liability company
  8.    SE OAK MILL I OWNER, LLC , a Delaware limited liability company
  9.    SE OAK MILL II OWNER, LLC, a Delaware limited liability company
  10.   SE STONEY RIDGE, LLC, a Delaware limited liability company
  11.   SE GOVERNORS GREEN, LLC, a Delaware limited liability company




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                                       SCHEDULE 1.01(A)
                                       HCRE PROPERTIES




          Property Owner                                   HCRE Property

1.   HCRE Plano, LLC              Homewood Suites – Plano [2601 E President George
                                  Bush Hwy, Plano, TX 75074][ 4705 Old Shepard Pl,
                                  Plano, TX 75093]

2.   HCRE Addison, LLC            Homewood Suites – Addison 4451 Belt Line Rd,
                                  Addison, TX 75001

3.   HCRE Las Colinas, LLC        Homewood Suites – Las Colinas 4300 Wingren Dr,
                                  Irving, TX 75039

4.   HCBH Buffalo Pointe, LLC,    Connection at Buffalo Pointe, 10201 Buffalo Speedway,
     HCBH Buffalo Pointe II,      Houston, TX 77054
     LLC, HCBH Buffalo Pointe
     III, LLC

5.   Camelback Residential        The Angela, 2727 E Camelback Road, Phoenix, AZ
     Partners, LLC                85016
                                  [McKinney Land] [Dallas Land] [Florida Land]
6.

7.




                                  [Signature Page to Bridge Loan Agreement]
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                                     SCHEDULE 2.01



LENDER                          COMMITMENT
                                (Percentage)
KeyBank, National Association   $556,275,000
                                (100%)
TOTAL:                          $556,275,000
                                (100%)




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                                                  SCHEDULE 3.05
                                  PORTFOLIO PROPERTIES AND MORTGAGED PROPERTIES




          Property Owner                            Portfolio Property                   Mortgaged          Senior Credit Agreement
                                                                                         Properties
                                                                                           (Y/N)
     Riverview Partners SC, LLC   Reserve at River Walk - 4501 Bentley Drive             Yes          N/A
1.
                                  Columbia, South Carolina 29210
     Hampton Ridge Partners,      Victoria Park - 4616 Stoney Trace Drive                Yes          N/A
2.
     LLC                          Charlotte, North Carolina 28227

     LAT Battleground Park and    Landmark at Battleground Park - 3520 Drawbridge        Yes          N/A
3.
     Landmark AT Battleground     Parkway
     Park II, LLC                 Greensboro, North Carolina 27410

     MAR Quail Landing, LLC       Quail Landing - 14200 North May Avenue                 Yes          N/A
4.
                                  Oklahoma City, Oklahoma 73134
     G&E Apartment REIT The       The Myrtles at Olde Towne - 850 Crawford Parkway       Yes          N/A
5.
     Myrtles at Olde Towne, LLC   Portsmouth, Virginia 23704

     G&E Apartment REIT The       The Heights at Olde Towne - 303 Effingham Street and   Yes          N/A
6.
     Heights at Olde Towne, LLC   301 Green Street
                                  Portsmouth, Virginia 23704

     SE Oak Mill I, LLC and SE    Oak Mill - 20010 Frederick Road                        Yes          N/A
7.
     Oak Mill II, LLC             Germantown, Maryland 20876

     SE Stoney Ridge LLC          Stoney Ridge - 14397 Westminster Lane                  Yes          N/A
8.
                                  Woodbridge, Virginia 22193

     SE Governors Green, LLC      Governor's Green - 16501 Governor Bridge Road          Yes          N/A
9.
                                  Bowie, Maryland 20716


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      SOF-X GSOwner, L.P.          Gulfstream Isles - 1601 Red Cedar Drive              No   Loan Agreement dated as of the Effective
10.
                                   Fort Meyers, Florida 33901                                Date between the Property Owner set
                                                                                             forth on this row and the Federal Home
                                                                                             Loan Mortgage Corporation, as lender
      Lakes at Renaissance Park    Lakes at Renaissance Park - 1400 Renaissance Court   No   Loan Agreement dated as of the Effective
11.
      Apartments Investors, L.P.   Austin, Texas 78728                                       Date between the Property Owner set
                                                                                             forth on this row and the Federal Home
                                                                                             Loan Mortgage Corporation, as lender
      LATBriley Parkway, LLC       Glenview Reserve - 100 Arbor Creek Boulevard         No   Loan Agreement dated as of the Effective
12.
                                   Nashville, Tennessee 37217                                Date between the Property Owner set
                                                                                             forth on this row and the Federal Home
                                                                                             Loan Mortgage Corporation, as lender
      NREA SE1Andros Isles,        Andros Isles - 100 Acklins Circle                    No   Loan Agreement dated as of the Effective
13.
      DST                          Daytona Beach, Florida 32119                              Date between the Property Owner set
      May be converted from                                                                  forth on this row and the Federal Home
      DK Gateway Andros, LLC                                                                 Loan Mortgage Corporation, as lender
      NREA SE1Arborwalk, DST       Arborwalk - 1318 SW Manor Lake Drive                 No   Loan Agreement dated as of the Effective
14.
      May be converted from        Lee‘s Summit, Missouri 64082                              Date between the Property Owner set
      MAR Arborwalk, LLC                                                                     forth on this row and the Federal Home
                                                                                             Loan Mortgage Corporation, as lender
      NREA SE1Walker Ranch,        Walker Ranch - 14500 Blanco Road                     No   Loan Agreement dated as of the Effective
15.
      DST                          San Antonio, Texas 78216                                  Date between the Property Owner set
      May be converted from                                                                  forth on this row and the Federal Home
      SOFWalker Ranch Owner,                                                                 Loan Mortgage Corporation, as lender
      L.P.
      NREA SE1Towne Crossing,      Towne Crossing - 1601 Town Crossing Boulevard        No   Loan Agreement dated as of the Effective
16.
      DST                          Mansfield, Texas 76063                                    Date between the Property Owner set
      May be converted from                                                                  forth on this row and the Federal Home
      Apartment REIT Towne                                                                   Loan Mortgage Corporation, as lender
      Crossing, L.P.
      NREA SE2West Place, DST      West Place - 753 Sherwood Terrace Drive              No   Loan Agreement dated as of the Effective
17.
      May be converted from        Orlando, Florida 32818                                    Date between the Property Owner set
      Landmark at West Place,                                                                forth on this row and the Federal Home
      LLC                                                                                    Loan Mortgage Corporation, as lender
      NREA SE2Vista Ridge, DST     Vista Ridge - 160 Vista Ridge Mall Drive             No   Loan Agreement dated as of the Effective
18.
      May be converted from        Lewisville, Texas 75067                                   Date between the Property Owner set


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      MAR Vista Ridge, L.P.                                                             forth on this row and the Federal Home
                                                                                        Loan Mortgage Corporation, as lender
      NREA SE2Hidden Lake,       Hidden Lake - 8910 North Loop 1604           No        Loan Agreement dated as of the Effective
19.
      DST                        West San Antonio, Texas 78249                          Date between the Property Owner set
      May be converted from                                                             forth on this row and the Federal Home
      SOFHidden Lake SA Owner,                                                          Loan Mortgage Corporation, as lender
      L.P.
      NREA SE3Arboleda, DST      Arboleda - 900 Discovery Boulevard           No        Loan Agreement dated as of the Effective
20.
      May be converted from      Cedar Park, Texas 78613                                Date between the Property Owner set
      G&EApartment REIT                                                                 forth on this row and the Federal Home
      Arboleda, LLC                                                                     Loan Mortgage Corporation, as lender
      NREA SE3Fairways, DST      Fairways - 16501 Stonemason Drive            No        Loan Agreement dated as of the Effective
21.
      May be converted from      Huntersville, North Carolina 28078                     Date between the Property Owner set
      MAR Fairways, LLC                                                                 forth on this row and the Federal Home
                                                                                        Loan Mortgage Corporation, as lender
      NREA SE3Grand Oasis,       Grand Oasis - 400 McGinnis Ferry Road        No        Loan Agreement dated as of the Effective
22.
      DST                        Suwanee, Georgia 30024                                 Date between the Property Owner set
      May be converted from                                                             forth on this row and the Federal Home
      Landmark at Grand Oasis,                                                          Loan Mortgage Corporation, as lender
      L.P.




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                                SCHEDULE 3.07
                                 LITIGATION


See attached.




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                                SCHEDULE 3.15
                             LIST OF SUBSIDIARIES


See attached.




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                                 Quail Landing



                                                 James Dondero
                                                   (Beneficiary)
                                                                          Highland Capital
                                                  The Dugaboy             Management Real        Highland Capital
                                                   Investment             Estate Holdings I,    Management Real
                                                    Trust (DE)                LLC (NV)          Estate Holdings II,
                                                   (Guarantor)                                       LLC (NV)
                                                                                   25%
                                                                   70%                         5%

                 Highland Capital                                        HCRE Partners, LLC
                 Management, L.P.                                              (DE)
                       (DE)

                                49%                          51%

                                SE Multifamily Holdings, LLC
                                           (DE)

                                                    100%


                                     SE Quail Landing, LLC
                                             (DE)


                                                    100%


                                    MAR Quail Landing, LLC
                                           (DE)




                                     Quail Landing
                                14200 North May Avenue
                             Oklahoma City, Oklahoma 73134
                                                          Case 19-34054-sgj11                           Project
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                                                                                                                       James Dondero
                                                                                                                         (Beneficiary)
                                                                                                                                                Highland Capital
                                                                                                                        The Dugaboy             Management Real             Highland Capital
                                                                                                                         Investment             Estate Holdings I,         Management Real
                                                                                                                          Trust (DE)                LLC (NV)               Estate Holdings II,
                                                                                                                         (Guarantor)                                            LLC (NV)
                                                                                                                                                           25%
                                                                                                                                         70%                              5%

                                                                                      Highland Capital                                         HCRE Partners, LLC                         James Dondero
                                                                                      Management, L.P.                                                                                     (Non-Member
                                                                                                                                                     (DE)
                                                                                            (DE)                                                                                             Manager)


                                                                                                     49%                          51%

                                                                                                         SE Multifamily Holdings, LLC                                James Dondero
                                                                                                                                                                      (Non-Member
                                                                                                                    (DE)
                                                                                                                                                                        Manager)


                                                                         100%                                                   100%


                                                SE Gulfstream Isles GP, LLC                               SE Gulfstream Isles LP, LLC
                                                           (DE)                                                      (DE)


                                                                                                                          +/- 99.5% (LP)

                                                                   +/- 0.5% (GP)

                                                                                                            SOF-X GS Owner, L.P.
                                                                                                                   (DE)
Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                          Gulfstream Isles
of 10% or more in Borrower, and which is either (a) an individual who is                                   1601 Red Cedar Drive
not a citizen of the United States, or (b) an entity formed outside the United States.                   Fort Meyers, Florida 33901
Updated 09/17/18
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                                                James Dondero
                                                  (Beneficiary)
                                                                         Highland Capital
                                                The Dugaboy              Management Real        Highland Capital
                                                 Investment              Estate Holdings I,    Management Real
                                                  Trust (DE)                 LLC (NV)          Estate Holdings II,
                                                 (Guarantor)                                        LLC (NV)
                                                                                  25%
                                                                  70%                         5%

                 Highland Capital                                       HCRE Partners, LLC
                 Management, L.P.                                             (DE)
                       (DE)

                                49%                         51%

                                SE Multifamily Holdings, LLC
                                           (DE)


                                                    100%


                                    SE Victoria Park, LLC
                                            (DE)


                                                    100%


                               Hampton Ridge Partners, LLC
                                         (DE)




                                       Victoria Park
                                 4616 Stoney Trace Drive
                              Charlotte, North Carolina 28227
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                                               Walk


                                                  James Dondero
                                                    (Beneficiary)
                                                                           Highland Capital
                                                   The Dugaboy             Management Real        Highland Capital
                                                    Investment             Estate Holdings I,    Management Real
                                                     Trust (DE)                LLC (NV)          Estate Holdings II,
                                                    (Guarantor)                                       LLC (NV)
                                                                                    25%
                                                                    70%                         5%

                 Highland Capital                                         HCRE Partners, LLC
                 Management, L.P.                                               (DE)
                       (DE)

                                49%                          51%

                                SE Multifamily Holdings, LLC
                                           (DE)


                                                      100%


                                        SE River Walk, LLC
                                               (DE)


                                                      100%


                                    Riverview Partners SC, LLC
                                               (DE)




                                  Reserve at River Walk
                                   4501 Bentley Drive
                              Columbia, South Carolina 29210
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                              Heights at Olde    232 of 792
                                              Towne


                                               James Dondero
                                                 (Beneficiary)
                                                                        Highland Capital
                                                The Dugaboy             Management Real        Highland Capital
                                                 Investment             Estate Holdings I,    Management Real
                                                  Trust (DE)                LLC (NV)          Estate Holdings II,
                                                 (Guarantor)                                       LLC (NV)
                                                                                 25%
                                                                 70%                         5%

                 Highland Capital                                      HCRE Partners, LLC
                 Management, L.P.                                            (DE)
                       (DE)

                                49%                       51%

                                SE Multifamily Holdings, LLC
                                           (DE)


                                                   100%


                               SE Heights at Olde Towne, LLC
                                            (DE)


                                                   100%


                                 G&E Apartment REIT The
                                Heights at Olde Towne, LLC
                                            (DE)



                                   Heights at Olde Towne
                         303 Effingham Street and 301 Green Street
                                 Portsmouth, Virginia 23704
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                              Myrtles at Olde    233 of 792
                                              Towne


                                               James Dondero
                                                 (Beneficiary)
                                                                        Highland Capital
                                                The Dugaboy             Management Real        Highland Capital
                                                 Investment             Estate Holdings I,    Management Real
                                                  Trust (DE)                LLC (NV)          Estate Holdings II,
                                                 (Guarantor)                                       LLC (NV)
                                                                                 25%
                                                                 70%                         5%

                 Highland Capital                                      HCRE Partners, LLC
                 Management, L.P.                                            (DE)
                       (DE)

                                49%                       51%

                                SE Multifamily Holdings, LLC
                                           (DE)


                                                   100%


                               SE Myrtles at Olde Towne, LLC
                                            (DE)


                                                   100%


                                 G&E Apartment REIT The
                                Myrtles at Olde Towne, LLC
                                           (DE)



                                  Myrtles at Olde Towne
                                  850 Crawford Parkway
                                Portsmouth, Virginia 23704
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                                            Unicorn Entered 10/27/22    17:59:02             Desc      HCRE Partners, LLC
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                                    Governors Green                      (DE)
                                                                                                             (DE)

                                                                                49%                        51%

                                                                                SE Multifamily Holdings, LLC
         Liberty CLO Holdco Ltd.
                                                                                           (DE)

                                                                   49%
                              51%


                                                                                      100%
                     SE Multifamily REIT Holdings,
                                  LLC
                                 (DE)

                          100%

                       SE Governors Green I, LLC
                                (DE)                                             SE Governors Green II, LLC
                                                                                           (DE)
                          100%

                       SE Governors Green REIT, L.L.C.
                                   (DE)


                                     57%                   43%

                                    SE Governors Green Holdings,
                                               L.L.C.
                                               (DE)

                                                         100%

                                      SE Governors Green, LLC
                                               (DE)


                                         Governors Green
                                    16501 Governor Bridge Road
                                      Bowie, Maryland 20716
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                                     Stoney Ridge                            (DE)
                                                                                                                         (DE)

                                                                                    49%                          51%

                                                                                    SE Multifamily Holdings, LLC
         Liberty CLO Holdco Ltd.
                                                                                               (DE)

                                                                       49%
                              51%


                                                                                          100%
                     SE Multifamily REIT Holdings,
                                  LLC
                                 (DE)

                          100%

                         SE Stoney Ridge I, LLC
                                 (DE)                                                  SE Stoney Ridge II, LLC
                                                                                               (DE)
                          100%

                         SE Stoney Ridge REIT, L.L.C.
                                    (DE)


                                     57%                   43%


                                    SE Stoney Ridge Holdings, L.L.C.
                                                 (DE)

                                                        100%

                                         SE Stoney Ridge, LLC
                                                 (DE)


                                            Stoney Ridge
                                       14397 Westminster Lane
                                      Woodbridge, Virginia 22193
                                                     Highland Capital
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                                                                  of              (DE)
                                   Oak Mill                (DE)

                                                                   49%                   51%
                                                                 SE Multifamily Holdings,
                      Liberty CLO Holdco Ltd.                               LLC
                                                                           (DE)
                                       51%                   49%

                                           SE Multifamily REIT
                                              Holdings, LLC
                                                  (DE)

                                      100%                       100%

      SE Oak Mill I, LLC                                                           SE Oak Mill II, LLC
            (DE)                                                                         (DE)

                  100%                                                     100%

    SE Oak Mill I REIT, LLC                                                      SE Oak Mill II REIT, LLC
            (DE)                                                                         (DE)

                 100%                                                      100%

  SE Oak Mill I Holdings, LLC                                               SE Oak Mill II Holdings, LLC
             (DE)                                                                      (DE)

                100%                                                        100%

      SE Oak Mill I, LLC                                                           SE Oak Mill II, LLC
            (DE)                                                                         (DE)



                                    Parcel 1                          Parcel 2
                                             Oak Mill Apartments
                                            20010 Frederick Road
                                         Germantown, Maryland 20876
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                                                  James Dondero
                                                    (Beneficiary)
                                                                           Highland Capital
                                                  The Dugaboy              Management Real        Highland Capital
                                                   Investment              Estate Holdings I,    Management Real
                                                    Trust (DE)                 LLC (NV)          Estate Holdings II,
                                                   (Guarantor)                                        LLC (NV)
                                                                                    25%
                                                                    70%                         5%

                 Highland Capital                                         HCRE Partners, LLC
                 Management, L.P.                                               (DE)
                       (DE)

                                   49%                       51%

                                  SE Multifamily Holdings, LLC
                                             (DE)




                                                      100%


                                    SE Battleground Park, LLC
                                               (DE)

                           100%                                       100%


                                                         Landmark at Battleground Park
              LAT Battleground Park, LLC
                                                                    II, LLC
                         (DE)
                                                                     (DE)


                            Parcel 1                         Parcel 2
                                      Battleground Park
                                  3520 Drawbridge Parkway
                               Greensboro, North Carolina 27410
                                                          Case 19-34054-sgj11                             Project
                                                                                              Doc 3591 Filed      Unicorn Entered 10/27/22 17:59:02
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                                                                                                     Lakes at Renaissance Parkof 792
                                                                                                                        James Dondero
                                                                                                                          (Beneficiary)
                                                                                                                                                 Highland Capital
                                                                                                                        The Dugaboy              Management Real       Highland Capital
                                                                                                                         Investment              Estate Holdings I,   Management Real
                                                                                                                          Trust (DE)                 LLC (NV)         Estate Holdings II,
                                                                                                                         (Guarantor)                                       LLC (NV)
                                                                                                                                                            25%
                                                                                                                                          70%                         5%

                                                                                     Highland Capital                                           HCRE Partners, LLC
                                                                                     Management, L.P.                                                 (DE)
                                                                                           (DE)

                                                                                                     49%                           51%

                                                                                                        SE Multifamily Holdings, LLC
                                                                                                                   (DE)

                                                                                                                         100%

                                                                                100%


                                                                                                        SE Lakes at Renaissance Park
                                                                                                                   LP, LLC
                                              SE Lakes at Renaissance Park GP                                        (DE)
                                                           I, LLC
                                                            (DE)                                         +/- 99% (LP)


                                                                                +/- 0.1% (GP)            Lakes at Renaissance Park
                                                                                                         Apartments Investors, L.P.
                                                                                                                    (DE)
Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                     Lakes at Renaissance Park
of 10% or more in Borrower, and which is either (a) an individual who is                                  1400 Renaissance Court
not a citizen of the United States, or (b) an entity formed outside the United States.                      Austin, Texas 78728
Updated 09/17/18
                                                          Case 19-34054-sgj11                           Project
                                                                                              Doc 3591 Filed    Unicorn Entered 10/27/22 17:59:02
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                                                                                                          Brandywine



                                                       NexPoint Real Estate                         Advisor
                                                           Advisors, LP
                                                              (DE)
                                                                                                              NexPoint Residential Trust, Inc.                        100%
                                                                                                                                                                                              Public Owners
                                                                     100%                                                 (MD)


                                         NexPoint Residential Trust Operating
                                                                                                                                +/- 99.9% (LP)
                                                 Partnership GP, LLC
                                                        (DE)


                                                                    0.1% (GP)                                   NexPoint Residential Trust                        Other limited
                                                                                                                Operating Partnership, L.P.                    partners owning less
                                                                                                                           (DE)                                      than 1%


                                                                                                                                 100%                                        100%
                                                                     100%

                                                                                                                 NXRT Brandywine LP, LLC
                                                                                                                          (DE)
                              NXRT Brandywine GP I, LLC                                                                                                                                      NXRT Brandywine GP II, LLC
                                        (DE)                                                        +/- 99.5% (LP)                                 +/- 99.5% (LP)                                      (DE)


                                                                   +/- 0.5% (GP)        SOF Brandywine I Owner, L.P.                             SOF Brandywine II Owner, L.P.             +/- 0.5% (GP)
                                                                                                   (DE)                                                     (DE)

Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)                 Parcel 1                                    Parcel 2
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                                Brandywine
of 10% or more in Borrower, and which is either (a) an individual who is                                  5200 and 5204 Edmondson Pike
not a citizen of the United States, or (b) an entity formed outside the United States.                      Nashville, Tennessee 37211
Updated 09/17/18
                                                          Case 19-34054-sgj11                           Project
                                                                                              Doc 3591 Filed    Unicorn Entered 10/27/22 17:59:02
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                                                                                                       Glenview Reserve


                                                                                                                       James Dondero
                                                                                                                         (Beneficiary)
                                                                                                                                                Highland Capital
                                                                                                                        The Dugaboy             Management Real       Highland Capital
                                                                                                                         Investment             Estate Holdings I,   Management Real
                                                                                                                          Trust (DE)                LLC (NV)         Estate Holdings II,
                                                                                                                         (Guarantor)                                      LLC (NV)
                                                                                                                                                           25%
                                                                                                                                         70%                         5%

                                                                                      Highland Capital                                         HCRE Partners, LLC                   James Dondero
                                                                                      Management, L.P.                                                                               (Non-Member
                                                                                                                                                     (DE)
                                                                                            (DE)                                                                                       Manager)


                                                                                                     49%                          51%

                                                                                                         SE Multifamily Holdings, LLC
                                                                                                                    (DE)


                                                                                                                            100%


                                                                                                              SE Glenview, LLC
                                                                                                                    (DE)


                                                                                                                            100%


                                                                                                           LAT Briley Parkway, LLC
                                                                                                                     (DE)

Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                         Glenview Reserve
of 10% or more in Borrower, and which is either (a) an individual who is                                 100 Arbor Creek Boulevard
not a citizen of the United States, or (b) an entity formed outside the United States.                   Nashville, Tennessee 37217
Updated 09/17/18
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                          The Dugaboy           Management Real            Highland Capital
                                                                                                                                                                                       Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                          Management Real                Andros Isles
                                                                                                            Trust (DE)                                    Estate Holdings II,
                                                                                                           (Guarantor)                                         LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                             5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                NREA SE1 Andros                NREA SE1 Andros
                Isles Leaseco, LLC            Isles Manager, LLC                             NREA SE MF Holdings, LLC
                        (DE)                         (DE)                                             (DE)
                  Master Tenant                     Manager
                                                                                           100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                  Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                            NREA Southeast Portfolio One,
                                                                                                                       DST
                                                                                                                       (DE)
                                                                                                                                100%
Other than persons or entities specifically identified on this organizational chart, there is no:             NREA SE1 Andros Isles, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                   (DE)
of 25% or more in Borrower; or                                                                                 May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                         DK Gateway Andros, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                             Andros Isles
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                                   100 Acklins Circle
Updated 09/17/18                                                                                             Daytona Beach, Florida 32119
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                          The Dugaboy           Management Real            Highland Capital
                                                                                                                                                                                       Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                          Management Real                Arborwalk
                                                                                                            Trust (DE)                                    Estate Holdings II,
                                                                                                           (Guarantor)                                         LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                             5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                   NREA SE1                       NREA SE1
                   Arborwalk                      Arborwalk                                  NREA SE MF Holdings, LLC
                  Leaseco, LLC                   Manager, LLC                                         (DE)
                      (DE)                           (DE)
                 Master Tenant                    Manager                                  100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                  Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                            NREA Southeast Portfolio One,
                                                                                                                       DST
                                                                                                                       (DE)
                                                                                                                                100%
Other than persons or entities specifically identified on this organizational chart, there is no:              NREA SE1 Arborwalk, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                           MAR Arborwalk, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                               Arborwalk
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                               1318 SW Manor Lake Drive
Updated 09/1718                                                                                               Lee‘s Summit, Missouri 64082
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                          The Dugaboy           Management Real            Highland Capital
                                                                                                                                                                                       Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                          Management Real               Walker Ranch
                                                                                                            Trust (DE)                                    Estate Holdings II,
                                                                                                           (Guarantor)                                         LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                             5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

               NREA SE1 Walker                NREA SE1 Walker                              100%
                Ranch Leaseco,                Ranch Manager,                                 NREA SE MF Holdings, LLC
                      LLC                           LLC                                               (DE)
                     (DE)                          (DE)
                Master Tenant                    Manager                                   100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                  Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                            NREA Southeast Portfolio One,
                                                                                                                       DST
                                                                                                                       (DE)
                                                                                                                               100%
Other than persons or entities specifically identified on this organizational chart, there is no:            NREA SE1 Walker Ranch, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                       SOF Walker Ranch Owner, L.P. (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                            Walker Ranch
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                                  14500 Blanco Road
Updated 09/17/18                                                                                               San Antonio, Texas 78216
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                          The Dugaboy           Management Real             Highland Capital
                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                           Management Real              Towne Crossing
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                              5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                NREA SE1 Towne                 NREA SE1 Towne
                Crossing Leaseco,             Crossing Manager,                              NREA SE MF Holdings, LLC
                        LLC                           LLC                                             (DE)
                       (DE)                          (DE)
                 Master Tenant                    Manager                                  100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                    Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                            NREA Southeast Portfolio One,
                                                                                                                       DST
                                                                                                                       (DE)
                                                                                                                              100%
Other than persons or entities specifically identified on this organizational chart, there is no:          NREA SE1 Towne Crossing, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                   (DE)
of 25% or more in Borrower; or                                                                                 May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                   Apartment REIT Towne Crossing, L.P.(DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                          Towne Crossing
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                            1601 Town Crossing Boulevard
Updated 09/17/18                                                                                               Mansfield, Texas 76063
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                          The Dugaboy           Management Real             Highland Capital
                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                           Management Real                West Place
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                              5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                                                NREA SE2 West
                NREA SE2 West                                                                NREA SE MF Holdings, LLC
                                                Place Manager,
               Place Leaseco, LLC                                                                     (DE)
                                                       LLC
                      (DE)
                                                      (DE)
                 Master Tenant                                                             100%
                                                   Manager
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                 Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                            NREA Southeast Portfolio Two,
                                                                                                                       DST
                                                                                                                       (DE)
                                                                                                                              100%
Other than persons or entities specifically identified on this organizational chart, there is no:             NREA SE2 West Place, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                   (DE)
of 25% or more in Borrower; or                                                                                 May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                       Landmark at West Place, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                             West Place
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                             753 Sherwood Terrace Drive
Updated 09/17/18                                                                                               Orlando, Florida 32818
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                          The Dugaboy           Management Real             Highland Capital
                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                           Management Real                Vista Ridge
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                              5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                                              NREA SE2 Vista
                NREA SE2 Vista
                                              Ridge Manager,                                 NREA SE MF Holdings, LLC
              Ridge Leaseco, LLC
                                                    LLC                                               (DE)
                     (DE)
                                                   (DE)
                Master Tenant
                                                 Manager                                   100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                    Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                            NREA Southeast Portfolio Two,
                                                                                                                       DST
                                                                                                                       (DE)
                                                                                                                                100%
Other than persons or entities specifically identified on this organizational chart, there is no:              NREA SE2 Vista Ridge, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                     (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                           MAR Vista Ridge, L.P. (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                              Vista Ridge
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                               160 Vista Ridge Mall Drive
Updated 09/17/18                                                                                                Lewisville, Texas 75067
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                          The Dugaboy           Management Real            Highland Capital
                                                                                                                                                                                       Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                          Management Real               Hidden Lake
                                                                                                            Trust (DE)                                    Estate Holdings II,
                                                                                                           (Guarantor)                                         LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                             5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                NREA SE2 Hidden                NREA SE2 Hidden
                Lake Leaseco, LLC             Lake Manager, LLC                              NREA SE MF Holdings, LLC
                      (DE)                           (DE)                                             (DE)
                 Master Tenant                     Manager
                                                                                           100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                  Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                            NREA Southeast Portfolio Two,
                                                                                                                       DST
                                                                                                                       (DE)
                                                                                                                               100%
Other than persons or entities specifically identified on this organizational chart, there is no:             NREA SE2 Hidden Lake, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                      SOF Hidden Lake SA Owner, L.P. (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                             Hidden Lake
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                                 8910 North Loop 1604
Updated 09/17/18                                                                                            West San Antonio, Texas 78249
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                          The Dugaboy           Management Real            Highland Capital
                                                                                                                                                                                                Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                          Management Real                          Arboleda
                                                                                                            Trust (DE)                                    Estate Holdings II,
                                                                                                           (Guarantor)                                         LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                             5%

                                                                      Highland Capital                                                                                          James Dondero
                                                                                                                               HCRE Partners, LLC                                (Non-Member
                                                                      Management, L.P.                                               (DE)                                          Manager)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                  NREA SE3                        NREA SE3
              Arboleda Leaseco,                   Arboleda                                   NREA SE MF Holdings, LLC
                     LLC                         Manager, LLC                                         (DE)
                    (DE)                            (DE)
               Master Tenant                      Manager                                  100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                   Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                               NREA Southeast Portfolio
                                                                                                                     Three, DST
                                                                                                                        (DE)
                                                                                                                              100%
Other than persons or entities specifically identified on this organizational chart, there is no:             NREA SE3 Arboleda, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                  (DE)
of 25% or more in Borrower; or                                                                                May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                    G&E Apartment REIT Arboleda, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                             Arboleda
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                              900 Discovery Boulevard
Updated 9/17/18                                                                                               Cedar Park, Texas 78613
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
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                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                           Management Real                 Fairways
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                              5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                 NREA SE3                       NREA SE3                                   100%
             Fairways Leaseco,                  Fairways
                                                                                             NREA SE MF Holdings, LLC
                    LLC                        Manager, LLC
                                                                                                      (DE)
                   (DE)                           (DE)
              Master Tenant                     Manager                                    100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                   Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                               NREA Southeast Portfolio
                                                                                                                     Three, DST
                                                                                                                        (DE)
                                                                                                                                100%
Other than persons or entities specifically identified on this organizational chart, there is no:              NREA SE3 Fairways, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                     (DE)
of 25% or more in Borrower; or                                                                                 May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                           MAR Fairways, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                                Fairways
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                               16501 Stonemason Drive
Updated 09/17/18                                                                                           Huntersville, North Carolina 28078
                                                                                                         James Dondero
                                                                Case 19-34054-sgj11                 Doc 3591        Filed 10/27/22 Entered 10/27/22 17:59:02
                                                                                                         (Beneficiary)                                                          Desc
                                                                                                     Main Document Highland  PageCapital
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                                                                                                          The Dugaboy           Management Real            Highland Capital
                                                                                                                                                                                       Project Unicorn
                                                                                                           Investment           Estate Holdings I,
                                                                                                                                    LLC (NV)
                                                                                                                                                          Management Real                Grand Oasis
                                                                                                            Trust (DE)                                    Estate Holdings II,
                                                                                                           (Guarantor)                                         LLC (NV)
                                                                                                                                           25%
                                                                                                                         70%                             5%

                                                                      Highland Capital                                         HCRE Partners, LLC
                                                                      Management, L.P.                                               (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                                               NREA SE3 Grand
               NREA SE3 Grand                                                                NREA SE MF Holdings, LLC
                                               Oasis Manager,
              Oasis Leaseco, LLC                                                                      (DE)
                                                      LLC
                     (DE)
                                                     (DE)
                Master Tenant                                                              100%
                                                  Manager
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                  Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                             0%                           100%
                                                                                                               NREA Southeast Portfolio
                                                                                                                     Three, DST
                                                                                                                        (DE)
                                                                                                                              100%
Other than persons or entities specifically identified on this organizational chart, there is no:             NREA SE3 Grand Oasis, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                 May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                       Landmark at Grand Oasis, L.P. (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                             Grand Oasis
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                               400 McGinnis Ferry Road
Updated 09/17/18                                                                                               Suwanee, Georgia 30024
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                                                                                                         Project Unicorn
                                                                                                    Summers Landing Apartments
                                                                                                          (AT CLOSING)




                                                                                                            Harry Bookey
                                                                                                                         85%
                                                                                                                       Managing
                                                                                                                       Member

                                                                                                           BH EQUITIES, L.L.C.          Other individuals owning 15% in the
                                                                                                                 (IA)               aggregate and not more than 5% individually

                                                                                                                       100%

                                                                                                            BHSL Holdings, LLC
                                                                                                                  (IA)

                                                                                         100%                          100%

                                                        BH Summers Landing GP, LLC                       BH Summers Landing, LLC
                                                                  (DE)                                           (IA)

                                                                                                                       Sole LP

                                                                             Sole GP                   Summers Landing Apartments
                                                                                                             Investors, L.P.
                                                                                                                  (DE)
Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                   Summers Landing Apartments
of 10% or more in Borrower, and which is either (a) an individual who is
not a citizen of the United States, or (b) an entity formed outside the United States.

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                                       SCHEDULE 5.12
                                   PLEDGED NXRT SHARES


1,300,000 common shares of NexPoint Residential Trust, Inc. (NXRT)




                                          Schedule 5.12
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                                SCHEDULE 6.09
                           EXISTING INDEBTEDNESS


                           [BORROWER TO UPDATE]




                                  Schedule 6.09
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                                SCHEDULE 6.10
                               JUNIOR CLAIMS


                           [BORROWER TO UPDATE]




                                  Schedule 6.10
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                                  BRIDGE LOAN AGREEMENT

                                            EXHIBIT A

                                ASSIGNMENT AND ASSUMPTION

        This Assignment and Assumption (the “Assignment and Assumption”) is dated as of the
Effective Date set forth below and is entered into by and between [Insert name of Assignor] (the
“Assignor”) and [Insert name of Assignee] (the “Assignee”). Capitalized terms used but not
defined herein shall have the meanings given to them in the Bridge Loan Agreement identified
below (as amended, the “Credit Agreement”), receipt of a copy of which is hereby
acknowledged by the Assignee. The Standard Terms and Conditions set forth in Annex 1
attached hereto are hereby agreed to and incorporated herein by reference and made a part of this
Assignment and Assumption as if set forth herein in full.

         For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the
Assignee, and the Assignee hereby irrevocably purchases and assumes from the Assignor,
subject to and in accordance with the Standard Terms and Conditions and the Credit Agreement,
as of the Effective Date inserted by the Administrative Agent as contemplated below (i) all of the
Assignor’s rights and obligations in its capacity as a Lender under the Credit Agreement and any
other documents or instruments delivered pursuant thereto to the extent related to the amount and
percentage interest identified below of all its Commitment and outstanding Loans and a
corresponding interest in and to all other rights and obligations of the Assignor under the
respective facilities identified below (including any guarantees included in such facilities) and
(ii) to the extent permitted to be assigned under applicable law, all claims, suits, causes of action
and any other right of the Assignor (in its capacity as a Lender) against any Person, whether
known or unknown, arising under or in connection with the Credit Agreement, any other
documents or instruments delivered pursuant thereto or the loan transactions governed thereby or
in any way based on or related to any of the foregoing, including contract claims, tort claims,
malpractice claims, statutory claims and all other claims at law or in equity related to the rights
and obligations sold and assigned pursuant to clause (i) above (the rights and obligations sold
and assigned pursuant to clauses (i) and (ii) above being referred to herein collectively as the
“Assigned Interest”). Such sale and assignment is without recourse to the Assignor and, except
as expressly provided in this Assignment and Assumption, without representation or warranty by
the Assignor.

        Assignee, subject to the terms and conditions hereof, hereby assumes all obligations of
Assignor with respect to the Assigned Interests from and after the Effective Date as if Assignee
were an original Lender under and signatory to the Credit Agreement, which obligations shall
include, but shall not be limited to, the obligation to make Loans to the Borrowers with respect
to the Assigned Interest and to indemnify the Administrative Agent as provided therein (such
obligations, together with all other obligations set forth in the Credit Agreement and the other
Loan Documents are hereinafter collectively referred to as the “Assigned Obligations”).
Assignor shall have no further duties or obligations with respect to, and shall have no further
interest in, the Assigned Obligations or the Assigned Interests.




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1.      Assignor:                    ______________________________

2.      Assignee:                    ______________________________
                                     [and is an Affiliate/Approved Fund of [identify Lender]1]

3.      Borrower:                    [___]

4.      Administrative Agent:        KeyBank, National Association, as the administrative agent under
                                     the Credit Agreement

5.      Credit Agreement:            The Bridge Loan Agreement dated as of September 25, 2018, among
                                     the Borrower, the Lenders parties thereto, and KeyBank, National
                                     Association, as Administrative Agent

6.      Assigned Interest:

          Aggregate Amount of                                      Percentage
          Tranche A Loan for all      Amount of Tranche        Assigned of Tranche
                Lenders                A Loan Assigned              A Loans2
                  $_____                     $_____                  _____%
                    $_____                   $_____                  _____%
                    $_____                   $_____                  _____%



          Aggregate Amount of                                      Percentage
          Tranche B Loan for all     Amount of Tranche B      Assigned of Tranche B
                Lenders                Loan Assigned                 Loans3
                  $_____                     $_____                  _____%
                    $_____                   $_____                  _____%
                    $_____                   $_____                  _____%

In consideration of the assignment made pursuant to this Assignment and Assumption, Assignee agrees to
pay to Assignor on the Effective Date, an amount equal to the “Amount of Outstanding Loans Assigned”
set forth in the table above.

Effective Date:                      ______________________, 20____ [TO BE INSERTED BY
                                     ADMINISTRATIVE AGENT AND WHICH SHALL BE THE
                                     EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE
                                     REGISTER THEREFOR.]

The terms set forth in this Assignment and Assumption are hereby agreed to:


1
  Select as applicable.
2
  Set forth, to at least 9 decimals, as a percentage of the Tranche A Loans of all Lenders thereunder.
3
  Set forth, to at least 9 decimals, as a percentage of the Tranche B Loans of all Lenders thereunder.


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                                                ASSIGNOR

                                                [NAME OF ASSIGNOR]


                                                By:
                                                 Title:

                                                ASSIGNEE

                                                [NAME OF ASSIGNEE]


                                                By:
                                                 Title:

[Consented to and]4 Accepted:

[KeyBank, National Association], as
 Administrative Agent


By:
 Title:


[Consented to:]5

[NAME OF LEAD BORROWER]


By:
 Title:




4
  To be added only if the consent of the Administrative Agent is required by the terms of the Credit
Agreement.
5
  To be added only if the consent of the Borrower and/or other parties is required by the terms of the
Credit Agreement.


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                                                                                         ANNEX 1

                          STANDARD TERMS AND CONDITIONS FOR
                              ASSIGNMENT AND ASSUMPTION

       1. Representations and Warranties.

               1.1 Assignor. The Assignor (a) represents and warrants that (i) it is the legal and
beneficial owner of the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien,
encumbrance or other adverse claim and (iii) it has full power and authority, and has taken all
action necessary, to execute and deliver this Assignment and Assumption and to consummate the
transactions contemplated hereby; and (b) assumes no responsibility with respect to (i) any
statements, warranties or representations made in or in connection with the Credit Agreement or
any other Loan Document, (ii) the execution, legality, validity, enforceability, genuineness,
sufficiency or value of the Loan Documents or any collateral thereunder, (iii) the financial
condition of the Borrower, any of its Subsidiaries or Affiliates or any other Person obligated in
respect of any Loan Document or (iv) the performance or observance by the Borrower, any of its
Subsidiaries or Affiliates or any other Person of any of their respective obligations under any
Loan Document.

                1.2. Assignee. The Assignee (a) represents and warrants that (i) it has full power
and authority, and has taken all action necessary, to execute and deliver this Assignment and
Assumption and to consummate the transactions contemplated hereby and to become a Lender
under the Credit Agreement, (ii) it satisfies the requirements, if any, specified in the Credit
Agreement that are required to be satisfied by it in order to acquire the Assigned Interest and
become a Lender, (iii) from and after the Effective Date, it shall be bound by the provisions of
the Credit Agreement as a Lender thereunder and, to the extent of the Assigned Interest, shall
have the obligations of a Lender thereunder, (iv) it has received a copy of the Credit Agreement,
together with copies of the most recent financial statements delivered pursuant to Section 5.01
thereof, as applicable, and such other documents and information as it has deemed appropriate to
make its own credit analysis and decision to enter into this Assignment and Assumption and to
purchase the Assigned Interest on the basis of which it has made such analysis and decision
independently and without reliance on the Administrative Agent or any other Lender, and (v) if it
is a Foreign Lender, attached to the Assignment and Assumption is any documentation required
to be delivered by it pursuant to the terms of the Credit Agreement, duly completed and executed
by the Assignee; (b) appoints and authorizes the Administrative Agent to take such action as
agent on its behalf and to exercise such powers as are reasonably incidental thereto pursuant to
the terms of the Loan Documents; and (c) agrees that (i) it will, independently and without
reliance on the Administrative Agent, the Assignor or any other Lender, and based on such
documents and information as it shall deem appropriate at the time, continue to make its own
credit decisions in taking or not taking action under the Loan Documents, and (ii) it will perform
in accordance with their terms all of the obligations which by the terms of the Loan Documents
are required to be performed by it as a Lender.

       2. Payments. From and after the Effective Date, the Administrative Agent shall make
all payments in respect of the Assigned Interest (including payments of principal, interest, fees
and other amounts) to the Assignor for amounts which have accrued to but excluding the


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Effective Date and to the Assignee for amounts which have accrued from and after the Effective
Date. All payments to Assignee under the Credit Agreement shall be made as provided in the
Credit Agreement in accordance with the separate instructions delivered to Administrative
Agent.

        3. General Provisions. This Assignment and Assumption shall be binding upon, and
inure to the benefit of, the parties hereto and their respective successors and assigns. This
Assignment and Assumption may be executed in any number of counterparts, which together
shall constitute one instrument. Delivery of an executed counterpart of a signature page of this
Assignment and Assumption by telecopy shall be effective as delivery of a manually executed
counterpart of this Assignment and Assumption. This Assignment and Assumption shall be
governed by, and construed in accordance with, the law of the State of New York.




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                                      BRIDGE LOAN AGREEMENT

                                                  EXHIBIT B

                                 FORM OF COMPLIANCE CERTIFICATE


Key Bank, National
Association
as Administrative Agent
225 Franklin Street
Boston, MA 02110

Attn: Mr. Christopher Neil

               RE HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE
               DUGABOY INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P.,
               NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER
               BORROWERS Compliance Certificate
                  for _________________________ through __________________________


              Dear Ladies and Gentlemen:
                      This Compliance Certificate is made with reference to that certain Bridge Loan
               Agreement dated as of September 25, 2018 (as amended, supplemented or otherwise
               modified from time to time, the “Credit Agreement”), among HIGHLAND CAPITAL
               MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY INVESTMENT
               TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL ESTATE
               ADVISORS IV, L.P., AND THE PROPERTY OWNER BORROWERS (collectively, the
               “Borrower”), the financial institutions party thereto, as lenders, and KeyBank, National
               Association, as Administrative Agent. All capitalized terms used in this Compliance
               Certificate (including any attachments hereto) and not otherwise defined in this Compliance
               Certificate shall have the meanings set forth for such terms in the Credit Agreement. All
               Section references herein shall refer to the Credit Agreement.

                     I hereby certify that I am the [____________] of [LEAD BORROWER], and that I
               make this Certificate on behalf of the Borrower. I further represent and certify on behalf of
               the Borrower as follows as of the date of this Compliance Certificate:


                 I have reviewed the terms of the Loan Documents and have made, or have caused to be
                 made under my supervision, a review in reasonable detail of the transactions and
                 consolidated and consolidating financial condition of the Borrower and its Subsidiaries,
                 during the accounting period (the “Reporting Period”) covered by the financial reports
                 delivered simultaneous herewith pursuant to Section 5.01[(a)][(b)], and that such review
                 has not disclosed the existence during or at the end of such Reporting Period (and that I do
                 not have knowledge of the existence as at the date hereof) of any condition or event which
                 constitutes a Default or Event of Default.




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    (a) Total Leverage Ratio
             1.      Indebtedness of Borrower and its Subsidiaries         $_____________
             2.      Total Asset Value:
                     (A)     Value of all real property
                     (B)     other assets
                                      TOTAL                                $_____________
             3.      Ratio: 1 divided by 2 __________
             4.      Required Ratio: not greater than 65%

    (b) Fixed Charge Coverage Ratio
            1.      Adjusted EBITDA $_______________
            2.      Fixed Charges:
                    (A)     Current Principal
                    (B)     Interest Expense
                    (C)     Cash Dividends on Preferred Stock
                                      TOTAL                                $____________
            3.      Ratio: 1 divided by 2 __________
            4.      Required Ratio: not less than 1.6 to 1.0

    (c) Tangible Net Worth $_________________
            1.       Actual ________________
            2.       Required $750,000,000

    (d) Minimum Liquidity $______________
              1.       Cash and Cash Equivalents (excluding reserve amounts) $__________
              2.       market value of shares in NXRT and units in the OP        $__________
              3.       market value of all other unencumbered securities         $__________
              4.       market value of all other encumbered securities (net of any outstanding
                        debt related thereto)                                     $__________
              5.       Required Amount: $75,000,000 (or if Loans are less than $150,000,000,
    lesser of (i) $75,000,000 and (ii) 25% of outstanding Loan balance):         $__________

    (e) Recourse Debt                                                       $__________
    Currently Defaulted Other Debt:
    (i) Aggregate Defaulted Recourse Debt of the Borrower $_________________
    (ii) Aggregate Defaulted Recourse Debt of Borrower $_________________
    (iii) Aggregate Defaulted Non-recourse Debt of the Subsidiaries of Borrower or Borrower
    (of $75,000,000 or greater in the aggregate) $_________________


               This Compliance Certificate has been executed and delivered as of the date set
               forth above.
                                         [Signature Page Follows]




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                                LEAD BORROWER:

                                [__]


                                By:_____________________________
                                Name:
                                Title:




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                          BRIDGE LOAN AGREEMENT

                                  EXHIBIT C

                           [INTENTIONALLY OMITTED]




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                                 BRIDGE LOAN AGREEMENT

                                           EXHIBIT D


                                        FORM OF NOTE


$_________________                                                              __________, 2016


       FOR VALUE RECEIVED, [___] (the “Maker”) jointly and severally promise to pay
without offset or counterclaim to the order of [insert name of Lender], (“Payee”), the principal
amount equal to the lesser of (x) __________________________ ($_____________) or (y) the
outstanding amount advanced by Payee as a Loan under the Credit Agreement (as hereinafter
defined), payable in accordance with the terms of the Credit Agreement.

        Maker also promises to pay interest on the unpaid principal amount of this Note (this
“Note”) at the rates and at the times which shall be determined in accordance with the provisions
of that certain Bridge Loan Agreement dated of September 25, 2018, among Maker, the Lenders
named therein, and KeyBank, National Association, as Administrative Agent for itself and the
Lenders (as hereafter amended, supplemented or otherwise modified from time to time, the
“Credit Agreement”). Capitalized terms used herein without definition shall have the meanings
set forth in the Credit Agreement.

       The Loans are not revolving loans. Amounts paid and prepaid may not be reborrowed.

       Payments hereunder shall be made to the Administrative Agent for the Payee at 127
Public Square, Cleveland, Ohio 44114-1306, or at such other address as Administrative Agent
may designate from time to time, or made by wire transfer in accordance with wiring instructions
provided by the Administrative Agent.

       This Note is subject to (a) mandatory prepayment and (b) prepayment at the option of the
Maker, as provided in the Credit Agreement.

       This Note is issued pursuant to the Credit Agreement and is entitled to the benefits of the
Credit Agreement, reference to which is hereby made for a more complete statement of the terms
and conditions under which the Loan evidenced hereby is made and is to be repaid.

      THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK. MAKER AGREES THAT
JURISDICTION AND VENUE FOR ANY ACTION REGARDING THIS NOTE SHALL BE
AS SET FORTH IN THE CREDIT AGREEMENT.

        Upon the occurrence of an Event of Default, the unpaid balance of the principal amount
of this Note may become, or may be declared to be, due and payable in the manner, upon the
conditions and with the effect provided in the Credit Agreement.



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        Maker promises to pay all reasonable fees, costs and expenses incurred in the collection
and enforcement of this Note in accordance with the terms of the Credit Agreement. Maker and
any endorser of this Note hereby consents to renewals and extensions of time at or after the
maturity hereof, without notice, and hereby waive diligence, presentment, protest, demand and
notice of every kind (except such notices as may be expressly required under the Credit
Agreement or the other Loan Documents) and, to the full extent permitted by law, the right to
plead any statute of limitations as a defense to any demand hereunder.

        Whenever possible, each provision of this Note shall be interpreted in such manner as to
be effective and valid under applicable law, but if any provision of this Note shall be prohibited
by or invalid under applicable law, such provision shall be ineffective to the extent of such
prohibition or invalidity, without invalidating the remainder of such provision or the remaining
provisions of this Note.

        IN WITNESS WHEREOF, Maker has caused this Note to be executed and delivered by
its duly authorized officer, as of the day and year first written above.

                                            BORROWERS:

                                            HCRE PARTNERS, LLC,
                                            a Delaware limited liability company


                                            By:    _________________________
                                            Name:
                                            Title:

                                            THE DUGABOY INVESTMENT TRUST,
                                            under trust agreement dated November 15, 2010


                                            By:_________________________
                                            Nancy Dondero, Family Trustee


                                            HIGHLAND CAPITAL MANAGEMENT, LP, a
                                            Delaware limited partnership


                                            By:         [___], its general partner

                                                        By:    _________________________
                                                        Name:
                                                        Title:

                                            THE SLHC TRUST,
                                            under trust agreement dated [___]

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                                  By:_________________________
                                  Name:
                                  Title:


                                  NEXPOINT ADVISORS, L.P., a Delaware limited
                                  partnership


                                  By:         [___], its general partner

                                              By:    _________________________
                                              Name:
                                              Title:

                                  NEXPOINT REAL ESTATE ADVISORS IV, L.P.,
                                  a Delaware limited partnership


                                  By:         [___], its general partner

                                              By:    _________________________
                                              Name:
                                              Title:

                                  [PROPERTY OWNER BORROWERS]




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                                  BRIDGE LOAN AGREEMENT

                                           EXHIBIT E

                              [FORM OF] BORROWING REQUEST

                                              [Date]

KeyBank, National Association
as Administrative Agent
225 Franklin Street, 16th floor
Boston, Massachusetts 02110

Attn: Mr. Christopher Neil

Re:  HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE
DUGABOY INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P.,
NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER
BORROWERS

Dear Ladies and Gentlemen:

        This Interest Election Request is made with reference to that certain Bridge Loan
Agreement dated as of September 25, 2018 (as amended, supplemented or otherwise modified
from time to time, the “Credit Agreement”), among HIGHLAND CAPITAL MANAGEMENT,
LP, HCRE PARTNERS, LLC, THE DUGABOY INVESTMENT TRUST, THE SLHC TRUST,
NEXPOINT ADVISORS, L.P., NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE
PROPERTY OWNER BORROWERS (collectively, the “Borrower”), the financial institutions
party thereto, as lenders, and KeyBank, National Association, as Administrative Agent. All
capitalized terms used in this Interest Election Request (including any attachments hereto) and
not otherwise defined in this Interest Election Request shall have the meanings set forth for such
terms in the Credit Agreement. All Section references herein shall refer to the Credit
Agreement.

       The undersigned Lead Borrower hereby requests [check as applicable]

       □ a conversion of an existing Loan as provided below and/or

       □ a Borrowing under the Credit Agreement in the amount of $____________ [minimum
of $1,000,000.00 and in multiples of $100,000.00].

       The advance or conversion is to be made as follows:

       A.      ABR Loan.

               1.     Amount of ABR Loan:                                         $_____________

               2.     Amount of conversion of existing


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                       Loan to ABR Loan                                              $_____________

               3.      Date of ABR Loan conversion:                                    _____________

       B.      Eurodollar Loan:

               1.      Amount of Eurodollar Loan:                                    $_____________

               2.      Amount of conversion of existing
                       Loan to Eurodollar Loan:                                      $_____________

               3.      Number of Eurodollar
                       Loans(s) now in effect:                                         _____________
                       [cannot exceed six (6)]

               4.      Date of Eurodollar Loan conversion:                             _____________

               5.      Interest Period:                                                _____________

               6.      Expiration date of current Interest
                       Period as to this conversion:                                   _____________

       C.      Daily LIBOR Loan.

               1.      Amount of Daily LIBOR Loan:                                   $_____________

               2.      Amount of conversion of existing
                       Loan to Daily LIBOR Loan                                      $_____________

               3.      Date of Daily LIBOR Loan conversion:                          $_____________


       The Borrower hereby represents and warrants that the amounts set forth above are true
and correct, that the representations and warranties contained in the Credit Agreement are true
and correct as if made as of this date (except to the extent relating to a specific date), and that the
Borrower has kept, observed, performed and fulfilled each and every one of its obligations under
the Credit Agreement as of the date hereof [except as follows: _______________]


                                           Very truly yours,


                                           [LEAD BORROWER]


                                           By:_____________________________
                                           Name:
                                           Title:




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                                           EXHIBIT F-1


                     [FORM OF] U.S. TAX COMPLIANCE CERTIFICATE

      (For Foreign Lenders That Are Not Partnerships For U.S. Federal Income Tax Purposes)


        Reference is hereby made to the Bridge Loan Agreement dated as of September 25, 2018
(as amended, restated, supplemented or otherwise modified from time to time, the “Credit
Agreement, among HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC,
THE DUGABOY INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS,
L.P., NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER
BORROWERS (collectively, the “Borrower”), the financial institutions party thereto, as lenders,
and KeyBank National Association, as administrative agent for the lenders, and each lender from
time to time party thereto.

        Pursuant to the provisions of Section 2.17 of the Credit Agreement, the undersigned
hereby certifies that (i) it is the sole record and beneficial owner of the Loan(s) (as well as any
Note(s) evidencing such Loan(s)) in respect of which it is providing this certificate, (ii) it is not a
bank within the meaning of Section 881(c)(3)(A) of the Code, (iii) it is not a ten percent
shareholder of Borrower within the meaning of Section 871(h)(3)(B) of the Code and (iv) it is
not a controlled foreign corporation related to the Borrower as described in Section 881(c)(3)(C)
of the Code.

        The undersigned has furnished the Administrative Agent and the Borrower with a
certificate of its non-U.S. Person status on IRS Form W-8BEN or W-8BEN-E (or successor
form). By executing this certificate, the undersigned agrees that (1) if the information provided
on this certificate changes, the undersigned shall promptly so inform the Borrower and the
Administrative Agent, and (2) the undersigned shall have at all times furnished the Borrower and
the Administrative Agent with a properly completed and currently effective certificate in either
the calendar year in which each payment is to be made to the undersigned, or in either of the two
calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
shall have the meanings given to them in the Credit Agreement.

[NAME OF LENDER]

By:

      Name:

      Title:

Date: ________ __, 20[ ]




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                                           EXHIBIT F-2

                     [FORM OF] U.S. TAX COMPLIANCE CERTIFICATE

  (For Foreign Participants That Are Not Partnerships For U.S. Federal Income Tax Purposes)

        Reference is hereby made to the Bridge Loan Agreement dated as of September 25, 2018
(as amended, restated, supplemented or otherwise modified from time to time, the “Credit
Agreement, among HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC,
THE DUGABOY INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS,
L.P., NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER
BORROWERS (collectively, the “Borrower”), the financial institutions party thereto, as lenders,
and KeyBank National Association, as administrative agent for the lenders, and each lender from
time to time party thereto.

        Pursuant to the provisions of Section 2.17 of the Credit Agreement, the undersigned
hereby certifies that (i) it is the sole record and beneficial owner of the participation in respect of
which it is providing this certificate, (ii) it is not a bank within the meaning of Section
881(c)(3)(A) of the Code, (iii) it is not a ten percent shareholder of Borrower within the meaning
of Section 871(h)(3)(B) of the Code, and (iv) it is not a controlled foreign corporation related to
the Borrower as described in Section 881(c)(3)(C) of the Code.

        The undersigned has furnished its participating Lender with a certificate of its non-U.S.
Person status on IRS Form W-8BEN or W-8BEN-E (or successor form). By executing this
certificate, the undersigned agrees that (1) if the information provided on this certificate changes,
the undersigned shall promptly so inform such Lender in writing, and (2) the undersigned shall
have at all times furnished such Lender with a properly completed and currently effective
certificate in either the calendar year in which each payment is to be made to the undersigned, or
in either of the two calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
shall have the meanings given to them in the Credit Agreement.



[NAME OF PARTICIPANT]

By:

      Name:

      Title:

Date: ________ __, 20[ ]




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                                               EXHIBIT F-3

                         [FORM OF] U.S. TAX COMPLIANCE CERTIFICATE

         (For Foreign Participants That Are Partnerships For U.S. Federal Income Tax Purposes)

       Reference is hereby made to the Bridge Loan Agreement dated as of September 25, 2018 (as
amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement, among
HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY
INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL
ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER BORROWERS (collectively, the
“Borrower”), the financial institutions party thereto, as lenders, and KeyBank National Association, as
administrative agent for the lenders, and each lender from time to time party thereto.

         Pursuant to the provisions of Section 2.17 of the Credit Agreement, the undersigned hereby
certifies that (i) it is the sole record owner of the participation in respect of which it is providing this
certificate, (ii) its direct or indirect partners/members are the sole beneficial owners of such participation,
(iii) with respect such participation, neither the undersigned nor any of its direct or indirect
partners/members is a bank extending credit pursuant to a loan agreement entered into in the ordinary
course of its trade or business within the meaning of Section 881(c)(3)(A) of the Code, (iv) none of its
direct or indirect partners/members is a ten percent shareholder of Borrower within the meaning of
Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect partners/members is a controlled
foreign corporation related to the Borrower as described in Section 881(c)(3)(C) of the Code.

         The undersigned has furnished its participating Lender with IRS Form W-8IMY (or successor
form) accompanied by one of the following forms from each of its partners/members that is claiming the
portfolio interest exemption: (i) an IRS Form W-8BEN or W-8BEN-E (or successor form) or (ii) an IRS
Form W-8IMY (or successor form) accompanied by an IRS Form W-8BEN or W-8BEN-E (or successor
form) from each of such partner’s/member’s beneficial owners that is claiming the portfolio interest
exemption. By executing this certificate, the undersigned agrees that (1) if the information provided on
this certificate changes, the undersigned shall promptly so inform such Lender and (2) the undersigned
shall have at all times furnished such Lender with a properly completed and currently effective certificate
in either the calendar year in which each payment is to be made to the undersigned, or in either of the two
calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall
have the meanings given to them in the Credit Agreement.



[NAME OF PARTICIPANT]

By:

      Name:

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                                               EXHIBIT F-4

                         [FORM OF] U.S. TAX COMPLIANCE CERTIFICATE

           (For Foreign Lenders That Are Partnerships For U.S. Federal Income Tax Purposes)

       Reference is hereby made to the Bridge Loan Agreement dated as of September 25, 2018 (as
amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement, among
HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY
INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL
ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER BORROWERS (collectively, the
“Borrower”), the financial institutions party thereto, as lenders, and KeyBank National Association, as
administrative agent for the lenders, and each lender from time to time party thereto.

         Pursuant to the provisions of Section 2.17 of the Credit Agreement, the undersigned hereby
certifies that (i) it is the sole record owner of the Loan(s) (as well as any Note(s) evidencing such Loan(s))
in respect of which it is providing this certificate, (ii) its direct or indirect partners/members are the sole
beneficial owners of such Loan(s) (as well as any Note(s) evidencing such Loan(s)), (iii) with respect to
the extension of credit pursuant to this Credit Agreement or any other Loan Document, neither the
undersigned nor any of its direct or indirect partners/members is a bank extending credit pursuant to a
loan agreement entered into in the ordinary course of its trade or business within the meaning of Section
881(c)(3)(A) of the Code, (iv) none of its direct or indirect partners/members is a ten percent shareholder
of Borrower within the meaning of Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect
partners/members is a controlled foreign corporation related to the Borrower as described in Section
881(c)(3)(C) of the Code.

         The undersigned has furnished the Administrative Agent and the Borrower with IRS Form W-
8IMY (or successor form) accompanied by one of the following forms from each of its partners/members
that is claiming the portfolio interest exemption: (i) an IRS Form W-8BEN or W-8BEN-E (or successor
form) or (ii) an IRS Form W-8IMY (or successor form) accompanied by an IRS Form W-8BEN or W-
8BEN-E (or successor form) from each of such partner’s/member’s beneficial owners that is claiming the
portfolio interest exemption. By executing this certificate, the undersigned agrees that (1) if the
information provided on this certificate changes, the undersigned shall promptly so inform the Borrower
and the Administrative Agent, and (2) the undersigned shall have at all times furnished the Borrower and
the Administrative Agent with a properly completed and currently effective certificate in either the
calendar year in which each payment is to be made to the undersigned, or in either of the two calendar
years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall
have the meanings given to them in the Credit Agreement.

[NAME OF LENDER]

By:

      Name:

      Title:

      Date: ________ __, 20[ ]



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Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                             )
In re:                                                       )   Chapter 11
                                                             )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                             )
                                 Debtor.                     )
                                                             )

             DEBTOR’S FIRST OMNIBUS OBJECTION TO CERTAIN
             (A) DUPLICATE CLAIMS; (B) OVERSTATED CLAIMS;
           (C) LATE-FILED CLAIMS; (D) SATISFIED CLAIMS; (E) NO-
     LIABILITY CLAIMS; AND (F) INSUFFICIENT-DOCUMENTATION CLAIMS

      ***CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE THEIR
             NAMES AND CLAIMS IN THE SCHEDULES ATTACHED
              TO THE PROPOSED ORDER ON THIS OBJECTION***

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                   A COPY OF YOUR CLAIM IS AVAILABLE ONLINE AT
                 HTTP://WWW.KCCLLC.NET/HCMLP/CREDITOR/SEARCH
                  OR BY EMAIL REQUEST TO JONEILL@PSZJLAW.COM


        A HEARING WILL BE CONDUCTED ON THIS MATTER ON
        SEPTEMBER 10, 2020 AT 2:30 P.M. CENTRAL TIME.

        IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST
        RESPOND IN WRITING. UNLESS OTHERWISE DIRECTED
        BY THE COURT, YOU MUST FILE YOUR RESPONSE WITH
        THE CLERK OF THE UNITED STATES BANKRUPTCY COURT
        AT 1100 COMMERCE STREET, RM. 1254, DALLAS, TEXAS
        75242-1496 BEFORE CLOSE OF BUSINESS ON SEPTEMBER 1,
        2020 WHICH IS AT LEAST THIRTY-THREE (33) DAYS FROM
        THE DATE OF SERVICE HEREOF. YOU MUST SERVE A
        COPY OF YOUR RESPONSE ON THE PERSON WHO SENT
        YOU THIS NOTICE; OTHERWISE THE COURT MAY TREAT
        THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF
        REQUESTED.


        Highland Capital Management, L.P. (the “Debtor”), by and through its undersigned

counsel, hereby files this omnibus objection (the “Objection”), seeking entry of an order,

substantially in the form attached hereto as Exhibit A (the “Order”), (i) disallowing certain

duplicate claims listed on Schedule 1 to the Order (the “Duplicate Claims”), (ii) reducing and

allowing certain overstated claims listed on Schedule 2 (the “Overstated Claims”) in amounts

which comport with the Debtor’s books and records, (iii) disallowing certain claims that were

filed after the applicable bar date listed on Schedule 3 to the Order (the “Late-Filed Claims”),

(iv) disallowing certain claims that have already been satisfied listed on Schedule 4 to the Order

(the “Satisfied Claims”), (v) disallowing certain claims for which the Debtor’s books and records

show no liability listed on Schedules 5 and 6 to the Order (the “No-Liability Claims”), and (vi)

disallowing claims which contain insufficient documentation listed on Schedule 7 to the Order

(the “Insufficient-Documentation Claims,” and together with the Duplicate Claims, the

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Overstated Claims, the Late-Filed Claims, the Satisfied Claims, and the No-Liability Claims, the

“Disputed Claims”). In support of this Objection, the Debtor respectfully represents as follows:

                                            I.       JURISDICTION

          1.       The Court has jurisdiction to consider and determine this matter pursuant to 28

U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(1) and

(b)(2)(A), (B) and (O). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409.

          2.       The statutory bases for the relief requested herein are sections 105(a) and 502(b)

of title 11 of the United States Code (the “Bankruptcy Code”), Rules 3007 and 9014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 3007-1 and 3007-2

of the Local Bankruptcy Rules of the United States Bankruptcy Court for the Northern District of

Texas (the “Local Rules”).

                                            II.      BACKGROUND

          3.       On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the District of

Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

          4.       On October 29, 2019, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the United States Trustee in the Delaware Court.

          5.       On December 4, 2019, the Delaware Court entered an order transferring venue of

the Debtor’s bankruptcy case to this Court [Docket No. 186]. 2




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    All docket numbers refer to the docket maintained by this Court.

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        6.       The Debtor has continued in the possession of its property and has continued to

operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

        7.       On March 2, 2020, the Court entered its Order (I) Establishing Bar Dates for

Filing Claims and (II) Approving the Form and Manner of Notice Thereof [Docket No. 488] (the

“Bar Date Order”). The Bar Date Order fixed April 8, 2020 at 5:00 p.m. (prevailing Central

Time) as the deadline for any person or entity, other than Governmental Units (as such term is

defined in section 101(27) of the Bankruptcy Code), to file proofs of claim against the Debtor

(the “General Bar Date”). For Governmental Units, the Bar Date Order fixed the deadline to file

proofs of claim as April 13, 2020 at 5:00 p.m. (prevailing Central Time). The Bar Date Order

also set April 23, 2020 as the deadline to file claims for investors in funds managed by the

Debtor (the “Fund Investor Bar Date”). The Debtor also sought and obtained the extended

employee bar date of May 26, 2020 per the Order Granting Debtor's Emergency Motion and

Extending Bar Date Deadline for Employees to File Claims [Docket No. 560].

        8.       On March 3, 2020, the Debtor filed the Notice of Bar Dates for Filing Claims

[Docket No. 498] (the “Bar Date Notice”). The Bar Date Notice was mailed to all known

creditors and equity holders on March 5, 2020. See Certificate of Service [Docket No. 530].

        9.       The Debtor caused the Bar Date Notice to be published on two occasions each in

The New York Times and The Dallas Morning News—once on March 12, 2020, and once on

March 13, 2020. See Debtor’s Notice of Affidavit of Publication of the Notice of Bar Dates for

Filing Claims in The New York Times [Docket No. 533] and Debtor’s Notice of Affidavit of

Publication of the Notice of Bar Dates for Filing Claims in The Dallas Morning News [Docket

No. 534].



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                                 The Claims Resolution Process

        10.      In the ordinary course of business, the Debtor maintains books and records (the

“Books and Records”) that reflect, inter alia, the Debtor’s liabilities and the amounts owed to its

creditors.

        11.      The Debtor’s register of claims (the “Claims Register”), prepared and maintained

by Kurtzman Carson Consultants LLC (“KCC”)—the court-appointed notice and claims agent in

this case—reflects that, as of the date of this Objection, 194 proofs of claim have been filed in

the Debtor’s chapter 11 case.

        12.      The Debtor and its professionals have been reviewing and analyzing claims. This

process includes identifying categories of claims that may be targeted for disallowance and

expungement, reduction, and/or reclassification.

                                  III.     RELIEF REQUESTED

        13.      The Debtor seeks entry of an order, pursuant to section 502 of the Bankruptcy

Code and Bankruptcy Rule 3007, (i) disallowing the Duplicate Claims listed on Schedule 1 to the

Order, (ii) reducing and allowing the Overstated Claims listed on Schedule 2 to the Order in

amounts which comport with the Books and Records; (iii) disallowing the Late-Filed Claims

listed on Schedule 3 to the Order, (iv) disallowing the Satisfied Claims listed on Schedule 4 to

the Order, (v) disallowing the No-Liability Claims listed on Schedules 5 and 6 to the Order, and

(vi) disallowing the Insufficient-Documentation Claims listed on Schedule 7 to the Order.

                                         IV.   OBJECTIONS

        14.      Section 502(a) of the Bankruptcy Code provides that “[a] claim or interest, proof

of which is filed under section 501 of this title, is deemed allowed, unless a party in interest . . .

objects.” 11 U.S.C. § 502(a). A chapter 11 debtor has the duty to object to the allowance of any



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claim that is improper. 11 U.S.C. §§ 704(a)(5), 1106(a)(1), 1107(a); see also Int’l Yacht &

Tennis, Inc. v. Wasserman Tennis, Inc. (In re Int’l Yacht & Tennis, Inc.), 922 F.2d 659, 661-62

(11th Cir. 1991).

        15.      As set forth in Bankruptcy Rule 3001(f), a properly executed and filed proof of

claim constitutes prima facie evidence of the validity and amount of the claim under section

502(a) of the Bankruptcy Code. See In re O’Connor, 153 F.3d 258, 260 (5th Cir. 1998); In re

Texas Rangers Baseball Partners, 10-43400 (DML), 2012 WL 4464550, at *2 (Bankr. N.D. Tex.

Sept. 25, 2012). To receive the benefit of prima facie validity, however, “[i]t is elemental that a

proof of claim must assert facts or allegations . . . which would entitle the claimant to a

recovery.” In re Heritage Org., L.L.C., 04-35574 (BJH), 2006 WL 6508477, at *8 (Bankr. N.D.

Tex. Jan. 27, 2006), aff’d sub nom., Wilferth v. Faulkner, 3:06 CV 510 K, 2006 WL 2913456

(N.D. Tex. Oct 11, 2006).         Additionally, a claimant’s proof of claim is entitled to the

presumption of prima facie validity under Bankruptcy Rule 3001(f) only until an objecting party

refutes “at least one of the allegations that is essential to the claim’s legal sufficiency.” In re Am.

Reit, Inc., 07-40308, 2008 WL 1771914, at *3 (Bankr. E.D. Tex. Apr. 15, 2008); In re Starnes,

231 B.R. 903, 912 (N.D. Tex. May 14, 2008). “The ultimate burden of proof always lies with

the claimant.” In re Armstrong, 347 B.R. 581, 583 (Bankr. N.D. Tex. 2006).

        16.      Section 502(b)(1) of the Bankruptcy Code requires disallowance of a claim if

“such claim is unenforceable against the debtor and property of the debtor, under any agreement

or applicable law . . . .” 11 U.S.C. § 502(b)(1).

                 The Disputed Claims Should Be Disallowed and Expunged or Reduced

        17.      For the reasons set forth below, the Disputed Claims are not enforceable and

should be disallowed, expunged, or reduced as set forth herein.



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                                       A. Duplicate Claims

        18.      The Debtor has identified 3 proofs of claim—listed on Schedule 1 to the Order—

where each claimant filed multiple proofs of claim representing a single obligation of the Debtor.

The Debtor is requesting that the listed Duplicate Claims be disallowed such that only the

surviving claims listed on Schedule 1 remain, subject to any other objection the Debtor may

bring in the future. Disallowing and expunging these claims will prevent the claimants from

receiving multiple recoveries for a single claim.

                              B. Claims to be Reduced and Allowed

        19.      The Debtor has examined the 4 proofs of claim listed on Schedule 2 to the Order

and has determined that the amounts listed on the claims exceed the liability listed for each

claimant on the Debtor’s Books and Records. The Debtor is requesting that the amount of each

claim be reduced so that it correctly reflects the amount of the Debtor’s books and records.

                                       C. Late-Filed Claims

        20.      The Debtor has identified 1 proof of claim listed on Schedule 3 to the Order that

was filed after the passage of the applicable Bar Date.

                                        D. Satisfied Claims

        21.      The Debtor has identified 11 proofs of claim listed on Schedule 4 to the Order

that, according to the Debtor’s books and records, were fully satisfied in the ordinary course of

business. Disallowing and expunging such claims, therefore, will prevent the claimants from

obtaining double-recovery on account of their claims.

                                      E. No-Liability Claims

        22.      The Debtor has identified 63 proofs of claim listed on Schedules 5 and 6 to the

Order that can be characterized as “No-Liability Claims”—i.e., claims that erroneously assert a



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liability that is not reflected in the Debtor’s books and records. Certain claims listed on Schedule

5 to the Order appear to be protective claims for claimants asserting claims related to agreements

with the Debtor. No amount is asserted on these claims and, although the claimants have

indicated they would supplement the claims within ninety (90) days, that time has passed and no

amendment or supplement has been filed and no additional documentation has been provided to

support the claims. Each claim listed on Schedule 6 to the Order erroneously asserts a claim

against the Debtor which has no basis in the Books and Records and is not an obligation of the

Debtor. The Debtor has reviewed each No-Liability Claim listed on Schedules 5 and 6 to the

Order and all supporting information and documentation provided therewith, made reasonable

efforts to research each No-Liability Claim, and determined that the Debtor is not liable for such

No-Liability Claims. Accordingly, the Debtor requests that each No-Liability Claim be

disallowed and expunged.

                               F. Insufficient-Documentation Claims

        23.      The Debtor was not able to determine the validity of the 10 claims listed on

Schedule 7 to the Order because such claims were not filed with sufficient accompanying

documentation and provided no explanation for the bases of the claims. Additionally, no liability

for these claims appears on the Debtor’s books and records. Accordingly, the Debtor requests

that the Insufficient-Documentation Claims be disallowed and expunged because the claimants

have failed to carry their burden to support their claims.

                             V.     RESPONSES TO OBJECTIONS

        24.      To contest an objection, a claimant must file and serve a written response to this

Objection (each, a “Response”) so that it is received no later than September 1, 2020 at 5:00

p.m. (Central Time) (the “Response Deadline”). Every Response must be filed with the Office



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of the Clerk of the United States Bankruptcy Court for the Northern District of Texas (Dallas

Division), Earle Cabell Federal Building, 1100 Commerce Street, Room 1254, Dallas, TX

75242-1496 and served upon the following entities, so that the Response is received no later than

the Response Deadline, at the following addresses:

                                    Pachulski Stang Ziehl & Jones LLP
                                    Jeffrey N. Pomerantz
                                    Ira D. Kharasch
                                    Gregory V. Demo
                                    10100 Santa Monica Blvd., 13th Floor
                                    Los Angeles, CA 90067
                                    jpomerantz@pszjlaw.com
                                    ikharasch@pszjlaw.com
                                    gdemo@pszjlaw.com
                                    joneill@pszjlaw.com

                                    -and-

                                    Hayward & Associates PLLC
                                    Melissa S. Hayward
                                    Zachery Z. Annable
                                    10501 N. Central Expy, Ste. 106
                                    Dallas, TX 75231
                                    mhayward@haywardfirm.com
                                    zannable@haywardfirm.com

        25.      Every Response to this Objection must contain, at a minimum, the following

information:

                i.           a caption setting forth the name of the Court, the name of the Debtor, the
                             case number, and the title of the objection to which the Response is
                             directed;

               ii.           the name of the claimant, his/her/its claim number, and a description of the
                             basis for the amount of the claim;

              iii.           the specific factual basis and supporting legal argument upon which the
                             party will rely in opposing this Objection;

              iv.            any supporting documentation (to the extent it was not included with the
                             proof of claim previously filed with the clerk of the Court or KCC) upon
                             which the party will rely to support the basis for and amounts asserted in
                             the proof of claim; and

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                v.            the name, address, telephone number, email address, and fax number of
                              the person(s) (which may be the claimant or the claimant’s legal
                              representative) with whom counsel for the Debtor should communicate
                              with respect to the claim or the Objection and who possesses authority to
                              reconcile, settle, or otherwise resolve the objection to the disputed claim
                              on behalf of the claimant.

         26.      If a claimant fails to file and serve a timely Response by the Response Deadline,

 the Debtor will present to the Court an appropriate order disallowing such claimant’s claim, as

 set forth in Exhibit A, without further notice to the claimant.

                                      VI.   REPLIES TO RESPONSES

         27.      Consistent with Local Rules, the Debtor may, at its option, file and serve a reply

 to a Response by no later than 5:00 p.m. (prevailing Central Time) three (3) days prior to the

 hearing to consider the Objection.

                               VII.    SEPARATE CONTESTED MATTERS

         28.      To the extent that a Response is filed regarding any claim listed in this Objection

 and the Debtor is unable to resolve the Response, the objection by the Debtor to each such claim

 asserted herein shall constitute a separate contested matter as contemplated by Bankruptcy Rule

 9014. Any order entered by the Court regarding an objection asserted in the Objection shall be

 deemed a separate order with respect to each claim.

                                      VIII. RESERVATION OF RIGHTS

         29.      The Debtor hereby reserves the right to object in the future to any of the claims

 that are the subject of this Objection on any ground, including, but not limited to, 11 U.S.C. §

 502(d), and to amend, modify, and/or supplement this Objection, including, without limitation, to

 object to amended or newly filed claims.




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         30.      Notwithstanding anything contained in this Objection or the attached exhibits,

 nothing herein shall be construed as a waiver of any rights that the Debtor may have to exercise

 rights of setoff against the holders of such claims.

                                              IX.    NOTICE

         31.      Notice of this Objection shall be provided to (i) the Office of the United States

 Trustee for the Northern District of Texas; (ii) each of the claimants whose claim is subject to

 this Objection; and (iii) all entities requesting notice pursuant to Bankruptcy Rule 2002. In light

 of the nature of the relief requested, the Debtor submits that no further notice is required.

                              X.     COMPLIANCE WITH LOCAL RULES

         32.      This Objection includes citations to the applicable rules and statutory authorities

 upon which the relief requested herein is predicated and a discussion of their application to this

 Objection. The Debtor objects to no more than 100 proofs of claim herein. The Debtor has

 served notice of this Objection on those persons whose names appear in the signature blocks on

 the proofs of claim and in accordance with Bankruptcy Rule 7004. Moreover, the Debtor has

 notified claimants that a copy of their claim may be obtained from the Debtor upon request.

 Accordingly, the Debtor submits that this Objection satisfies Local Rule 3007-2.

         WHEREFORE, the Debtor respectfully requests the entry of the proposed Order,

 substantially in the form attached hereto as Exhibit A, granting the relief requested and granting

 such other and further relief as the Court deems just and proper.

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 Dated: July 30, 2020                   PACHULSKI STANG ZIEHL & JONES LLP

                                        Jeffrey N. Pomerantz (CA Bar No.143717)
                                        Ira D. Kharasch (CA Bar No. 109084)
                                        Gregory V. Demo (NY Bar No. 5371992)
                                        10100 Santa Monica Boulevard, 13th Floor
                                        Los Angeles, CA 90067
                                        Telephone: (310) 277-6910
                                        Facsimile: (310) 201-0760
                                        Email:      jpomerantz@pszjlaw.com
                                                    ikharasch@pcszjlaw.com
                                                    gdemo@pszjlaw.com

                                        -and-

                                        HAYWARD & ASSOCIATES PLLC

                                        /s/ Zachery Z. Annable
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                                        Texas Bar No. 24044908
                                        MHayward@HaywardFirm.com
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                                        Tel: (972) 755-7100
                                        Fax: (972) 755-7110

                                        Counsel for the Debtor and Debtor-in-Possession




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                                     EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                              )
                                  Debtor.                     )   Re: Docket No. ____
                                                              )

            ORDER SUSTAINING FIRST OMNIBUS OBJECTION TO CERTAIN
            (A) DUPLICATE CLAIMS; (B) OVERSTATED CLAIMS; (C) LATE-
              FILED CLAIMS; (D) SATISFIED CLAIMS; (E) NO-LIABILITY
             CLAIMS; AND (F) INSUFFICIENT-DOCUMENTATION CLAIMS

          Having considered the Debtor’s First Omnibus Objection to Certain (A) Duplicate

 Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability

 Claims; and (F) Insufficient-Documentation Claims (the “Objection”), 2 the claims listed on

 Schedules 1-7 attached hereto, any responses thereto, and the arguments of counsel, the Court

 finds that (i) notice of the Objection was good and sufficient upon the particular circumstances

 and that no other or further notice need be given; (ii) the Objection is a core proceeding under 28

 U.S.C. § 157(b)(2); (iii) each holder of a claim listed on Schedules 1–7 attached hereto was

 properly and timely served with a copy of the Objection, the proposed form of this Order, the

 accompanying schedules, and the notice of hearing on the Objection; (iv) any entity known to

 have an interest in the claims subject to the Objection has been afforded reasonable opportunity

 to respond to, or be heard regarding, the relief requested in the Objection; and (v) the relief

 requested in the Objection is in the best interests of the Debtor’s creditors, its estate, and other


 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 2
   Capitalized terms used but not defined in this Order shall have the meanings ascribed to them in the Omnibus
 Objection.
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 parties-in-interest. Accordingly, the Court finds and concludes that there is good and sufficient

 cause to grant the relief set forth in this Order. It is therefore ORDERED THAT:

         1.       The Objection is SUSTAINED as set forth herein.

         2.       Each of the claims listed as a Duplicative Claim on Schedule 1 hereto is

 disallowed and expunged in its entirety.

         3.       Each of the claims listed as an Overstated Claim on Schedule 2 hereto is reduced

 and allowed in the amount as stated on Schedule 2.

         4.       The claim listed as a Late-Filed Claim on Schedule 3 hereto is disallowed and

 expunged in its entirety.

         5.       Each of the claims listed as a Satisfied Claim on Schedule 4 hereto is disallowed

 and expunged in its entirety.

         6.       Each of the claims listed as a No-Liability Claim on Schedule 5 and Schedule 6

 hereto is disallowed and expunged in its entirety.

         7.       Each of the claims listed as an Insufficient-Documentation Claim on Schedule 7

 hereto is disallowed and expunged in its entirety.

         8.       The official claims register in the Debtor’s chapter 11 case shall be modified in

 accordance with this Order.

         9.       The Debtor’s rights to amend, modify, or supplement the Objection, to file

 additional objections to the Disputed Claims and any other claims (filed or not) which may be

 asserted against the Debtor, and to seek further reduction of any claim to the extent such claim

 has been paid, are preserved. Additionally, should one or more of the grounds of objection

 stated in the Objection be overruled, the Debtor’s rights to object on other stated grounds or any

 other grounds that the Debtor may discover are further preserved.

         10.      Each claim and the objections by the Debtor to such claim, as addressed in the

 Objection and set forth on Schedule 1 through Schedule 7 attached hereto, shall constitute a

 separate contested matter as contemplated by Bankruptcy Rule 9014. This Order shall be

 deemed a separate Order with respect to each claim. Any stay of this Order pending appeal by

 any claimant whose claims are subject to this Order shall only apply to the contested matter

 which involves such claimant and shall not act to stay the applicability and/or finality of this

 Order with respect to the other contested matters listed in the Objection or this Order.




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         11.      The Debtor is authorized and empowered to take any action necessary to

 implement and effectuate the terms of this Order.

         12.      The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

         13.      The Court shall retain jurisdiction over all matters arising from or related to the

 interpretation and implementation of this Order.

                                      ###END OF ORDER###




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                                                            Highland Capital Management, L.P.
                                                                 Case No. 19‐34054‐sgj11
                                                               Schedule 1 ‐ Duplicate Claims


Sequence                                                       Claim No. to be                                           Surviving Claim   Objection Page No.
   No.                           Claimant's Name                 Disallowed           Date Filed       Claim Amount            No.             Reference
   1       Daniel Sheehan and Associates, PLLC                       40               3/10/2020    $         32,433.75      Claim 47               7
   2       Dun & Bradstreet                                          18              12/27/2019    $          5,746.40      Claim 25               7
   3       Eastern Point Trust Company, Inc.                         21              12/23/2019    $         34,875.91      Claim 52               7
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                                                                                Highland Capital Management, L.P.
                                                                                     Case No. 19‐34054‐sgj11
                                                                                  Schedule 2 ‐ Overstated Claims


Sequence                                                                                                                                                                                           Objection Page No.
   No.                                Claimant's Name         Claim No.   Date Filed   Claim Amount                                 Notes                                     Proposed Amount          Reference


                                                                                                       Claim #34 includes an estimated fee of $300.00 for year 2020
                                                                                                       property tax. In the ordinary course, the property tax for year
   1       Collin County Tax Assessor/Collector                  34       2/24/2020    $      524.24    2020 would be due and payable in the calendar year 2021.         $                224.24           7


                                                                                                       Claim #34 includes an estimated fee of $400.00 for year 2020
                                                                                                       property tax. In the ordinary course, the property tax for year
   2       Collin County Tax Assessor/Collector                  35       2/24/2020    $    2,391.91    2020 would be due and payable in the calendar year 2021.         $              1,991.91           7


                                                                                                     Claim #6 includes tax statements for Highland Capital (5 Center
                                                                                                     Ave, Little Falls, NJ 07242). The Debtor is not affiliated with that
   3       Dallas County                                         6        11/6/2019    $   62,694.94                                party.                                $            60,592.37           7
                                                                                                           Claim #10 includes $11,943 of interest charges. Interest
                                                                                                           charges are not defined in The Amendment To Opus 2
                                                                                                        Internationals Work Order signed on 9/19/2013 between an
   4       Opus 2 International Inc                              10       11/21/2019 $     51,156.88       employee of the Debtor and Opus 2 International, Inc.         $             39,214.00           7
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                                                          Highland Capital Management, L.P.
                                                               Case No. 19‐34054‐sgj11
                                                             Schedule 3 ‐ Late Filed Claims


Sequence                                                                                                                               Objection Page No.
   No.        Claimant's Name    Claim No.   Date Filed     Claim Amount                              Notes                                Reference
   1       Parmentier, Andrew      181       5/13/2020      $   150,000.00     Claim #181 was filed past the April 8, 2020 bar date.           7
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                                                                                            Highland Capital Management, L.P.
                                                                                                 Case No. 19‐34054‐sgj11
                                                                                               Schedule 4 ‐ Satisfied Claims


Sequence                                                                                                                                                                                                    Objection Page
   No.                                           Claimant's Name                                         Claim No.   Date Filed   Claim Amount                            Notes                             No. Reference
   1       4CAST Inc                                                                                        12       11/26/2019   $   16,500.00                 Paid via wire on 2/14/2020                        7
   2       Advent Software Inc                                                                              29       12/30/2019   $    8,378.68                 Paid via wire on 3/20/2020                        7
   3       ConvergeOne, Inc.                                                                                61       03/24/2020   $   23,518.15                 Paid via wire on 5/19/2020                        7
   4       Denton County                                                                                Scheduled 12/13/2019      $     557.14                   Paid online on 2/5/2020                          7
                                                                                                                                                   IRS assessed a late tax deposit penalthy for the claim
                                                                                                                                                  amount; Payroll provider Paylocity informed Debtor the
   5       Internal Revenue Service                                                                        179       04/27/2020   $   10,386.87                    penalty was removed.                           7
   6       Kaufman County                                                                                   9        11/06/2019   $   12,081.17                  Paid online on 2/4/2020                          7
   7       Maples and Calder                                                                            Scheduled 12/13/2019      $   25,800.11                 Paid via wire on 5/29/2020                        7
   8       McLagen Partners, Inc.                                                                           74       04/06/2020   $   16,400.00                 Paid via wire on 4/22/2020                        7
   9       Microsoft Corporation and Microsoft Licensing GP, a Subsidiary of Microsoft Corporation          76       04/03/2020   $    7,436.56                 Paid by NexBank via check                         7
   10      Moodys Analytics, Inc.                                                                           91       04/08/2020   $    5,728.05           Paid on 6/8/20 ‐ Reference # 1259769                    7



   11      Quintairos, Prieto Wood & Boyer                                                              Scheduled 12/13/2019      $    8,608.17                 Paid via wire on 5/13/2020                        7
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                                                                                         Highland Capital Management, L.P.
                                                                                              Case No. 19‐34054‐sgj11
                                                                                           Schedule 5 ‐ No Liability Claims


Sequence                                                                                                                                                                                              Objection Page No.
   No.                   Claimant's Name               Claim No.   Date Filed   Claim Amount                                                    Notes                                                     Reference
    1      Advisors Equity Group, LLC                     111      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
    2      Eagle Equity Advisors, LLC                     110      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
    3      HCRE Partner, LLC                              146      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
    4      Highland Capital Management Fund Advisors,      95      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
    5      Highland Capital Management Fund Advisors,     119      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
    6      Highland Capital Management Services, Inc.     175      04/23/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
    7      Highland Capital Management Services, Inc.     176      04/23/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
    8      Highland Energy MLP Fund                       102      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
    9      Highland Fixed Income Fund                     109      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   10      Highland Floating Rate Fund                    125      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   11      Highland Funds I                               106      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   12      Highland Funds II                              114      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   13      Highland Global Allocation Fund                 98      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   14      Highland Healthcare Opportunities Fund         116      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   15      Highland iBoxx Senior Loan ETF                 122      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   16      Highland Income Fund HFRO                      105      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   17      Highland Long/Short Equity Fund                112      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   18      Highland Merger Arbitrage Fund                 132      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   19      Highland Opportunistic Credit Fund             100      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   20      Highland Small‐Cap Equity Fund                 127      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   21      Highland Socially Responsible Equity Fund      115      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   22      Highland Tax‐Exempt Fund                       101      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   23      Highland Total Return Fund                     126      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   24      NexBank SSB                                    178      04/23/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   25      NexPoint Advisors, L.P.                        104      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   26      NexPoint Advisors, L.P.                        108      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   27      NexPoint Capital, Inc.                         107      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   28      NexPoint Capital, Inc.                         140      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   29      NexPoint Discount Strategies Fund              117      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   30      NexPoint Energy and Material Opportunities F 124        04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   31      NexPoint Event‐Driven Fund                     123      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   32      NexPoint Healthcare Opportunities Fund         121      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   33      NexPoint Latin America Opportunities Fund      130      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   34      NexPoint Real Estate Strategies Fund           118      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   35      NexPoint Strategic Opportunities Fund          103      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   36      The Dugaboy Investment Trust                   131      04/08/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
   37      The Dugaboy Investment Trust                   177      04/23/20      Unliquidated      No liability on the Debtor's books and records; no amount is asserted with respect to this claim           7/8
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                                                                                                                          Highland Capital Management, L.P.
                                                                                                                               Case No. 19‐34054‐sgj11
                                                                                                                            Schedule 6 ‐ No Liability Claims


Sequence                                                                                                                                                                                                                                                                Objection Page No.
   No.                                         Claimant's Name                          Claim No.   Date Filed   Claim Amount                                                                     Notes                                                                     Reference
   1       Callan, Bentley                                                                157       04/08/2020       Unliquidated         No liability on the Debtor's books and records; claim is for a stock appreciation unit related to a Non‐Debtor party                 7/8
                                                                                                                                     No liability on the Debtor's books and records; claim is filed against an entity with a similar name to Debtor, but not a Debtor
   2       City of Garland                                                                 19       12/16/2019   $         254.58                                                                   party                                                                      7/8
   3       Clay Callan                                                                    162       04/08/2020   $      55,125.60                                            No liability on the Debtor's books and records                                                    7/8

   4       Eastern Point Trust Company, Inc.                                               52       03/18/2020   $      34,875.91    No liability on the Debtor's books and records; claim appears to be filed against Debtor affiliate, but not a Debtor obligation           7/8
                                                                                                                                     No liability on the Debtor's books and records; claim is filed against an entity with a similar name to Debtor, but not a Debtor
   5       Garland Independent School District                                             20       12/16/2019   $         459.81                                                                   party                                                                      7/8
                                                                                                                                     No liability on the Debtor's books and records; claim is filed against an entity with a similar name to Debtor, but not a Debtor
   6       Grayson County                                                                  3        11/06/2019   $        1,882.01                                                                  party                                                                      7/8

   7       HarbourVest 2017 Global Fund L.P.                                              143       04/08/2020       Unliquidated                                            No liability on the Debtor's books and records                                                    7/8

   8       HarbourVest 2017 Global AIF L.P.                                               147       04/08/2020       Unliquidated                                            No liability on the Debtor's books and records                                                    7/8

   9       HarbourVest Partners L.P. on behalf of funds and accounts under management     149       04/08/2020       Unliquidated                                            No liability on the Debtor's books and records                                                    7/8

   10      HarbourVest Dover Street IX Investment L.P.                                    150       04/08/2020       Unliquidated                                            No liability on the Debtor's books and records                                                    7/8

   11      HarbourVest Skew Base AIF L.P.                                                 154       04/08/2020       Unliquidated                                            No liability on the Debtor's books and records                                                    7/8
   12      Hartman Wanzor LLP                                                              42       03/10/2020   $         701.25                 No liability on the Debtor's books and records; claim appears to be filed against Non‐Debtor estate                          7/8
                                                                                                                                     No liability on the Debtor's books and records; claim is filed against an entity with a similar name to Debtor, but not a Debtor
   13      Irving ISD                                                                      5        11/06/2019   $         827.96                                                                   party                                                                      7/8

   14      John Morris                                                                     60       03/23/2020   $     500,000.00    No liability on the Debtor's books and records; claim appears to be filed against Debtor affiliate, but not a Debtor obligation           7/8
   15      John R. Watkins                                                                 89       04/07/2020   $     322,701.12        No liability on the Debtor's books and records; Never an employee of the Debtor and not an obligation of the Debtor                   7/8

   16      Linear Technologies, Inc.                                                       4        11/06/2019   $         489.94    No liability on the Debtor's books and records; claim appears to be filed against Debtor affiliate, but not a Debtor obligation           7/8

   17      Mass. Dept. of Revenue                                                          45       03/13/2020   $        1,352.46   No liability on the Debtor's books and records; claim appears to be filed against Debtor affiliate, but not a Debtor obligation           7/8

   18      Mediant Communications Inc.                                                     15       12/02/2019   $        1,755.57   No liability on the Debtor's books and records; claim appears to be filed against Debtor affiliate, but not a Debtor obligation           7/8

   19      Oklahoma Tax Commission                                                         28       02/03/2020   $        2,706.93   No liability on the Debtor's books and records; claim appears to be filed against Debtor affiliate, but not a Debtor obligation           7/8
   20      Park, Jun                                                                       73       04/06/2020   $      32,676.61                No liability on the Debtor's books and records; claimant is an employee of a subsidiary of the Debtor                         7/8
   21      Paul N. Adkins                                                                  65       03/30/2020   $      23,957.95                No liability on the Debtor's books and records; claimant is an employee of a subsidiary of the Debtor                         7/8
   22      Paul N. Adkins                                                                  66       03/31/2020   $     249,230.48                No liability on the Debtor's books and records; claimant is an employee of a subsidiary of the Debtor                         7/8

                                                                                                                                     No liability on the Debtor's books and records; claim is filed against an entity with a similar name to Debtor, but not a Debtor
   23      Tarrant County                                                                  2        11/06/2019   $        8,267.52                                                                  party                                                                      7/8

                                                                                                                                       No liability on the Debtor's books and records; claimant does not list an proceeding that they are named as a deponent,
   24      Theodore N. Dameris                                                             85       04/07/2020       Unliquidated                                    witness, party, or any other type of participant in a proceeding.                                         7/8
                                                                                                                                       No liability on the Debtor's books and records; claim related to pension and should be asserted against pension, not the
   25      Theodore N. Dameris                                                            174       04/08/2020       Unliquidated                                                                Debtor                                                                        7/8
                                                                                                                                     No liability on the Debtor's books and records; individual not employed at time of bonus payout and not entitled to receive
   26      Zang, Weijun                                                                   170       04/09/2020   $      25,000.00                                                                bonus                                                                         7/8
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                                                                        Schedule 7 ‐ Insufficient Documentation Claims


Sequence                                                                                                                                                                      Objection Page No.
   No.           Claimant's Name        Claim No.   Date Filed   Claim Amount                                                Notes                                                Reference


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   1       Anish Tailor                    56       03/20/2020       Unliquidated                 liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   2       Boyce‐Field, Mollie             43       03/12/2020       Unliquidated                 liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   3       Charles Byrne                   44       03/13/2020       Unliquidated                 liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   4       Donald Salvino                  41       03/10/2020   Unliquidated                     liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   5       Garcia, Ericka                  71       04/03/2020   $       2,000.00                 liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   6       Garman Turner Gordon           161       04/08/2020   Unliquidated                     liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   7       Joe Kingsley                   171       04/10/2020         BLANK                      liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   8       Mason, Frederic                 63       03/25/2020       Unliquidated                 liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   9       TDA Associates, Inc.            55       03/20/2020   $       7,000.00                 liability for this claimant on the Debtor’s books and records.                      8


                                                                                      No supporting documentation or explanation of the basis of the claim was provided. No
   10      Wilkinson Center                54       03/20/2020   $             ‐                  liability for this claimant on the Debtor’s books and records.                      8
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 Jason M. Rudd
 Texas State Bar No. 24028786
 jason.rudd@wickphillips.com
 Lauren K. Drawhorn
 Texas State Bar No. 24074528
 lauren.drawhorn@wickphillips.com
 WICK PHILLIPS GOULD & MARTIN, LLP
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 Dallas, Texas 75204
 Telephone: (214) 692-6200
 Fax: (214) 692-6255

 COUNSEL FOR NEXPOINT REAL ESTATE PARTNERS, LLC
 F/K/A HCRE PARTNERS, LLC


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  In re:                            §                            Chapter 11
                                    §
  HIGHLAND CAPITAL MANAGEMENT, L.P. §                            Case No.: 19-34054-sgj11
                                    §
      Debtor.                       §


       NEXPOINT REAL ESTATE PARTNERS LLC’S RESPONSE TO DEBTOR’S
        FIRST OMNIBUS OBJECTION TO CERTAIN (A) DUPLICATE CLAIMS;
   (B) OVERSTATED CLAIMS; (C) LATE FILED CLAIMS; (D) SATISFIED CLAIMS;
  (E) NO-LIABILITY CLAIMS; AND (F) INSUFFICIENT-DOCUMENTATION CLAIMS


           NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC (“HCREP”) files this

 Response to the Debtor’s First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated

 Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims; and (F) Insufficient-

 Documentation Claims (the “Objection”) and respectfully states as follows:

                               I. PROCEDURAL BACKGROUND

           1.    On or about April 8, 2020, HCREP filed its Proof of Claim with Highland Capital

 Management, LP’s (the “Debtor”) claims agent, a copy of which is attached hereto as Exhibit 1.

 [Claim No. 146] (the “Proof of Claim”). In the Proof of Claim, HCREP asserts a claim against the

 Debtor based on the parties’ interests and agreements in connection with an entity called SE


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 Multifamily Holdings, LLC (“SE Multifamily”). In the Proof of Claim, HCREP notes that it has

 requested information from the Debtor to ascertain the exact amount of its claim, such process is

 on-going, and has been delayed due to the outbreak of the Coronavirus. See Proof of Claim, Ex.

 A.

        2.     On July 30, 2020, Debtor filed its Objection, objecting to various categories of

 claims that it seeks to disallow, expunge, or reduce. HCREP’s Proof of Claim was included in

 Schedule 5 to the Objection, which the Debtor characterized as alleged “No-Liability Claims.”

 Specifically, the Debtor claims that the Proof of Claim has no basis in the Debtor’s Books and

 Records and is not an obligation of the Debtor. See Objection, ¶ 22. The Debtor seeks to disallow

 and expunge the Proof of Claim.

        3.     After initial discussions between HCREP and the Debtor, the Debtor agreed to

 multiple extensions of HCREP’s deadline to respond to the Objection, such that the agreed

 deadline for HCREP to respond to the Objection is now October 16, 2020. The parties have

 attempted to resolve the Objection; however, have not yet been able to do so.

        4.     For the reasons set forth in detail below, HCREP respectfully requests the Court

 enter a scheduling order to allow for discovery in connection with HCREP’s Proof of Claim, set

 an evidentiary hearing on HCREP’s Proof of Claim, and overrule the Debtor’s Objection and allow

 the claim in the amount determined at such evidentiary hearing.

                                         II. RESPONSE

        5.     After reviewing what documentation is available to HCREP with the Debtor,

 HCREP believes the organizational documents relating to SE Multifamily Holdings, LLC (the “SE

 Multifamily Agreement”) improperly allocates the ownership percentages of the members thereto

 due to mutual mistake, lack of consideration, and/or failure of consideration. As such, HCREP has

 a claim to reform, rescind and/or modify the agreement.

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        6.      However, HCREP requires additional discovery, including, but not limited to,

 email communications and testimony, to determine what happened in connection with the

 memorialization of the parties’ agreement and improper distribution provisions, evaluate the

 amount of its claim against the Debtor, and protect its interests under the agreement. Accordingly,

 HCREP requests the Court enter a scheduling order allowing for formal discovery and set an

 evidentiary hearing after such discovery has occurred.

                                       III. CONCLUSION

        For these reasons, the HCREP respectfully requests that the Court (i) hold a status

 conference at which it sets a scheduling order in connection with this contested matter; (ii) set a

 date for an evidentiary hearing on the Proof of Claim; (iii) overrule the Objection and allow

 HCREP’s Proof of Claim in the amount established at such evidentiary hearing; and (iii) grant

 HCREP such other relief at law or in equity to which it may be entitled.

                                              Respectfully submitted,

                                              /s/ Lauren K. Drawhorn
                                              Jason M. Rudd
                                              Texas Bar No. 24028786
                                              Lauren K. Drawhorn
                                              Texas Bar No. 24074528
                                              WICK PHILLIPS GOULD & MARTIN, LLP
                                              3131 McKinney Avenue, Suite 100
                                              Dallas, Texas 75204
                                              Telephone: (214) 692-6200
                                              Fax: (214) 692-6255
                                              Email: jason.rudd@wickphillips.com
                                                      lauren.drawhorn@wickphillips.com

                                              COUNSEL FOR NEXPOINT REAL ESTATE
                                              PARTNERS, LLC F/K/A HCRE PARTNERS, LLC




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 16, 2020, a true and correct copy of the foregoing Joinder
 was served via the Court’s electronic case filing (ECF) system upon all parties receiving such
 service in this bankruptcy case; and via e-mail upon the following parties:

  Jeffrey N. Pomerantz                             Melissa S. Hayward
  Ira D. Kharasch                                  Zachery Z. Annable
  John A. Morris                                   10501 N. Central Expy, Ste. 106
  Gregory V. Demo                                  Dallas, Texas 75231
  10100 Santa Monica Boulevard, 13th Floor         Email: MHayward@HaywardFirm.com
  Los Angeles, CA 90067                                    ZAnnable@HaywardFirm.com
  Email: jpomerantz@pszjlaw.com
          ikharasch@pszjlaw.com
          jmorris@pszjlaw.com
          gdemo@pszjlaw.com


                                              /s/ Lauren K. Drawhorn
                                                  Lauren K. Drawhorn




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                                                                           Claim #146 Date Filed: 4/8/2020
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 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HCRE Partner, LLC
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HCRE Partner, LLC
   creditor be sent?
                                 300 Crescent Court, Ste. 700
                                 Name                                                                            Name
                                 Dallas, TX 75201
    Federal Rule of
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone                                                                   Contact phone

                                 Contact email       bryan.assink@bondsellis.com                                 Contact email


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See attached Exhibit "A"                   . Does this amount include interest or other charges?
                                                                                 ✔ No
                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See attached Exhibit "A"


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/James D. Dondero
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       James D. Dondero
                                                             First name                             Middle name                            Last name

                                  Title

                                  Company                    HCRE Partner, LLC
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




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                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
               19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                     Has Supporting Documentation:
               HCRE Partner, LLC                                            Yes, supporting documentation successfully uploaded
                                                                     Related Document Statement:
              300 Crescent Court, Ste. 700

                                                                     Has Related Claim:
              Dallas, TX, 75201
                                                                            No
              Phone:                                                 Related Claim Filed By:
              Phone 2:
                                                                     Filing Party:
              Fax:                                                           Authorized agent
              Email:
              bryan.assink@bondsellis.com
       Other Names Used with Debtor:                                 Amends Claim:
                                                                             No
                                                                     Acquired Claim:
                                                                             No
       Basis of Claim:                                               Last 4 Digits:        Uniform Claim Identifier:
              See attached Exhibit "A"                                       No
       Total Amount of Claim:                                        Includes Interest or Charges:
              See attached Exhibit "A"                                       No
       Has Priority Claim:                                           Priority Under:
              No
       Has Secured Claim:                                             Nature of Secured Amount:
              No                                                      Value of Property:
       Amount of 503(b)(9):                                           Annual Interest Rate:
              No
                                                                      Arrearage Amount:
       Based on Lease:
              No                                                      Basis for Perfection:
       Subject to Right of Setoff:                                    Amount Unsecured:
              No
       Submitted By:
              James D. Dondero on 08-Apr-2020 4:47:11 p.m. Eastern Time
       Title:

       Company:
            HCRE Partner, LLC




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                                              Exhibit A

          HCRE Partner, LLC (“Claimant”) is a limited partner with the Debtor in an entity called
  SE Multifamily Holdings, LLC (“SE Multifamily”). Claimant may be entitled to distributions out
  of SE Multifamily, but such distributions have not been made because of the actions or inactions
  of the Debtor. Additionally, Claimant contends that all or a portion of Debtor’s equity, ownership,
  economic rights, equitable or beneficial interests in SE Multifamily does belong to the Debtor or
  may be the property of Claimant. Accordingly, Claimant may have a claim against the
  Debtor. Claimant has requested information from the Debtor to ascertain the exact amount of its
  claim. This process is on-going. Additionally, this process has been delayed due to the outbreak
  of the Coronavirus. Claimant is continuing to work to ascertain the exact amount of its claim and
  will update its claim in the next ninety days.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                     )
      In re:                                                         )   Chapter 11
                                                                     )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            )   Case No. 19-34054-sgj11
                                                                     )
                                         Debtor.                     )
                                                                     )

               DISCLOSURE STATEMENT FOR THE FIFTH AMENDED PLAN OF
               REORGANIZATION OF HIGHLAND CAPITAL MANAGEMENT, L.P.

   PACHULSKI STANG ZIEHL & JONES LLP                             HAYWARD & ASSOCIATES PLLC
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   Ira D. Kharasch (CA Bar No. 109084)                           Zachery Z. Annable (TX Bar No. 24053075)
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   Email: jpomerantz@pszjlaw.com                                         ZAnnable@HaywardFirm.com:
           ikharasch@pszjlaw.com
           gdemo@pszjlaw.com

                               Counsel for the Debtor and Debtor-in-Possession




      1
        The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
      address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in
  the above-captioned cases (the “Debtor”), is sending you this document and the accompanying
  materials (the “Disclosure Statement”) because you are a creditor or interest holder in connection
  with the Fifth Amended Chapter 11 Plan of Reorganization of Highland Capital Management,
  L.P., dated November 24, 2020, as the same may be amended from time to time (the “Plan”).2
  The Debtor has filed a voluntary petition under chapter 11 of title 11 of the United States Code,
  as amended (the “Bankruptcy Code”).

         This Disclosure Statement has not yet been approved by the Bankruptcy Court as
  containing adequate information within the meaning of section 1125(a) of the Bankruptcy Code.
  The Debtor intends to seek an order or orders of the Bankruptcy Court (a) approving this
  Disclosure Statement as containing adequate information and (b) confirming the Plan.

           A copy of the Plan is attached hereto as Exhibit A.

         The Debtor believes that the Plan is fair and equitable, will maximize the value of the
  Debtor’s Estate, and is in the best interests of the Debtor and its constituents. Notably, the Plan
  provides for the transfer of the majority of the Debtor’s Assets to a Claimant Trust. The balance
  of the Debtor’s Assets, including the management of the Managed Funds, will remain with the
  Reorganized Debtor. The Reorganized Debtor will be managed by New GP LLC – a wholly-
  owned subsidiary of the Claimant Trust. This structure will allow for continuity in the Managed
  Funds and an orderly and efficient monetization of the Debtor’s Assets.

          The Claimant Trust, the Litigation Trust, or the Reorganized Debtor, as applicable, will
  institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
  Causes of Action without any further order of the Bankruptcy Court, and the Claimant Trust and
  Reorganized Debtor, as applicable, will sell, liquidate, or otherwise monetize all Claimant Trust
  Assets and Reorganized Debtor Assets and resolve all Claims, except as otherwise provided in
  the Plan, the Claimant Trust Agreement, or the Reorganized Limited Partnership Agreement.

                          IMPORTANT INFORMATION ABOUT THIS
                        DISCLOSURE STATEMENT FOR YOU TO READ
         The Debtor is providing the information in this Disclosure Statement to Holders of
  Claims and Equity Interests in connection with the Debtor’s Plan. Nothing in this
  Disclosure Statement may be relied upon or used by any Entity for any purpose other than
  with respect to confirmation of the Plan. The information contained in this Disclosure
  Statement is included for purposes of soliciting acceptances to, and confirmation of, the
  Plan and may not be relied on for any other purpose.

        This Disclosure Statement has not been filed for approval with the Securities and
  Exchange Commission (“SEC”) or any state authority and neither the SEC nor any state
  authority has passed upon the accuracy or adequacy of this Disclosure Statement or upon

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    All capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Plan. To the
  extent that a definition of a term in the text of this Disclosure Statement and the definition of such term in the Plan
  are inconsistent, the definition included in the Plan shall control and govern.


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  the merits of the Plan. Any representation to the contrary is a criminal offense. This
  Disclosure Statement does not constitute an offer to sell or the solicitation of an offer to buy
  securities in any state or jurisdiction.

         This Disclosure Statement contains “forward-looking statements” within the
  meaning of the Private Securities Litigation Reform Act of 1995. Such statements consist
  of any statement other than a recitation of historical fact and can be identified by the use of
  forward-looking terminology such as “may,” “expect,” “anticipate,” “estimate” or
  “continue” or the negative thereof or other variations thereon or comparable terminology.
  The Debtor considers all statements regarding anticipated or future matters to be forward-
  looking statements. Forward-looking statements may include statements about:

            the effects of insolvency proceedings on the Debtor’s business and relationships
             with its creditors;

            business strategy;

            financial condition, revenues, cash flows, and expenses;

            financial strategy, budget, projections, and operating results;

            variation from projected operating and financial data;

            substantial capital requirements;

            availability and terms of capital;

            plans, objectives, and expectations;

            the adequacy of the Debtor’s capital resources and liquidity; and

            the Claimant Trust’s or the Reorganized Debtor’s ability to satisfy future cash
             obligations.

         Statements concerning these and other matters are not guarantees of the Claimant
  Trust’s or Reorganized Debtor’s future performance. There are risks, uncertainties, and
  other important factors that could cause the Claimant Trust’s or Reorganized Debtor’s
  actual performance or achievements to be different from those that may be projected. The
  reader is cautioned that all forward-looking statements are necessarily speculative and
  there are certain risks and uncertainties that could cause actual events or results to differ
  materially from those referred to in such forward-looking statements. Therefore, any
  analyses, estimates, or recovery projections may or may not turn out to be accurate.

         This Disclosure Statement has been prepared pursuant to section 1125 of the
  Bankruptcy Code and Bankruptcy Rule 3016 and is not necessarily in accordance with
  federal or state securities laws or other similar laws.



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         No legal or tax advice is provided to you by this Disclosure Statement. The Debtor
  urges each Holder of a Claim or an Equity Interest to consult with its own advisers with
  respect to any legal, financial, securities, tax or business advice in reviewing this Disclosure
  Statement, the Plan and each of the proposed transactions contemplated thereby. Further,
  the Bankruptcy Court’s approval of the adequacy of disclosures contained in this
  Disclosure Statement does not constitute the Bankruptcy Court’s approval of the merits of
  the Plan or a guarantee by the Bankruptcy Court of the accuracy or completeness of the
  information contained herein.

         Pachulski Stang Ziehl & Jones LLP (“PSZ&J”) is general insolvency counsel to the
  Debtor. Development Specialists, Inc. (“DSI”) is the Debtor’s financial advisor. PSZ&J,
  DSI, and the Independent Board (as defined below) have relied upon information provided
  by the Debtor in connection with preparation of this Disclosure Statement. PSZ&J has not
  independently verified the information contained herein.

         This Disclosure Statement contains, among other things, summaries of the Plan, the
  management of the Reorganized Debtor, the Claimant Trust, certain statutory provisions,
  certain events in the Debtor’s Chapter 11 Case, and certain documents related to the Plan
  that are attached hereto and incorporated herein by reference or that may be filed later
  with the Plan Supplement. Although the Debtor believes that these summaries are fair and
  accurate, these summaries are qualified in their entirety to the extent that the summaries
  do not set forth the entire text of such documents or statutory provisions or every detail of
  such events. In the event of any conflict, inconsistency or discrepancy between a
  description in this Disclosure Statement and the terms and provisions of the Plan or any
  other documents incorporated herein by reference, the Plan or such other documents will
  govern and control for all purposes. Except where otherwise specifically noted, factual
  information contained in this Disclosure Statement has been provided by the Debtor’s
  management. The Debtor does not represent or warrant that the information contained
  herein or attached hereto is without any material inaccuracy or omission.

          In preparing this Disclosure Statement, the Debtor relied on financial data derived
  from the Debtor’s books and records and on various assumptions regarding the Debtor’s
  business. The Debtor’s management has reviewed the financial information provided in
  this Disclosure Statement. Although the Debtor has used its reasonable business judgment
  to ensure the accuracy of this financial information, the financial information contained in,
  or incorporated by reference into, this Disclosure Statement has not been audited (unless
  otherwise expressly provided herein) and no representations or warranties are made as to
  the accuracy of the financial information contained herein or assumptions regarding the
  Debtor’s business and its, the Reorganized Debtor’s, and the Claimant Trust’s future
  results. The Debtor expressly cautions readers not to place undue reliance on any forward-
  looking statements contained herein.

         This Disclosure Statement does not constitute, and may not be construed as, an
  admission of fact, liability, stipulation or waiver. Rather, this Disclosure Statement shall
  constitute a statement made in settlement negotiations related to potential contested
  matters, potential adversary proceedings and other pending or threatened litigation or
  actions.

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         No reliance should be placed on the fact that a particular litigation claim or
  projected objection to a particular Claim or Equity Interest is, or is not, identified in the
  Disclosure Statement. Except as provided under the Plan, the Debtor, the Reorganized
  Debtor, or the Claimant Trust, as applicable, may seek to investigate, file and prosecute
  Claims and Causes of Action and may object to Claims or Equity Interests after the
  Confirmation Date or Effective Date of the Plan irrespective of whether the Disclosure
  Statement identifies any such Claims or Equity Interests or objections to Claims or Equity
  Interests on the terms specified in the Plan.

          The Debtor is generally making the statements and providing the financial
  information contained in this Disclosure Statement as of the date hereof where feasible,
  unless otherwise specifically noted. Although the Debtor may subsequently update the
  information in this Disclosure Statement, the Debtor has no affirmative duty to do so.
  Holders of Claims and Equity Interests reviewing this Disclosure Statement should not
  infer that, at the time of their review, the facts set forth herein have not changed since the
  Disclosure Statement was sent. Information contained herein is subject to completion,
  modification, or amendment. The Debtor reserves the right to file an amended or modified
  Plan and related Disclosure Statement from time to time.

        The Debtor has not authorized any Entity to give any information about or
  concerning the Plan other than that which is contained in this Disclosure Statement. The
  Debtor has not authorized any representations concerning the Debtor or the value of its
  property other than as set forth in this Disclosure Statement.

         Holders of Claims or Equity Interests must rely on their own evaluation of the
  Debtor and their own analyses of the terms of the Plan in considering the Plan.
  Importantly, each Holder of a Claim should review the Plan in its entirety and consider
  carefully all of the information in this Disclosure Statement and any exhibits hereto,
  including the risk factors described in greater detail in ARTICLE IV herein, “Risk
  Factors.”

         If the Plan is confirmed by the Bankruptcy Court and the Effective Date occurs, all
  Holders of Claims against, and Holders of Equity Interests in, the Debtor will be bound by
  the terms of the Plan and the transactions contemplated thereby.

         The effectiveness of the Plan is subject to certain material conditions precedent
  described herein and set forth in Article IX of the Plan. There is no assurance that the
  Plan will be confirmed, or if confirmed, that the conditions required to be satisfied for the
  Plan to become effective will be satisfied (or waived).




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                                         EXHIBITS

  EXHIBIT A – Plan of Reorganization

  EXHIBIT B – Organizational Chart of the Debtor

  EXHIBIT C – Liquidation Analysis/Financial Projections

         THE DEBTOR HEREBY ADOPTS AND INCORPORATES EACH EXHIBIT
      ATTACHED TO THIS DISCLOSURE STATEMENT BY REFERENCE AS THOUGH
                          FULLY SET FORTH HEREIN.




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                                           ARTICLE I.
                                        EXECUTIVE SUMMARY

         This Disclosure Statement is provided for informational purposes only.

         In the opinion of the Debtor, the Plan is preferable to the alternatives described in
  this Disclosure Statement because it provides for the highest distributions to the Debtor’s
  creditors and interest holders. The Debtor believes that any delay in confirmation of the
  Plan would result in significant administrative expenses resulting in less value available to
  the Debtor’s constituents. In addition, any alternative other than confirmation of the Plan
  could result in extensive delays and increased administrative expenses resulting in smaller
  distributions to Holders of Allowed Claims and Equity Interests than that which is
  proposed under the Plan. Accordingly, the Debtor recommends that all Holders of Claims
  and Equity Interests support confirmation of the Plan.

          This Executive Summary is being provided to Holders of Allowed Claims and Equity
  Interests as an overview of the material items addressed in the Disclosure Statement and the
  Plan, which is qualified by reference to the entire Disclosure Statement and by the actual terms
  of the Plan (including all exhibits attached hereto and to the Plan and the Plan Supplement), and
  should not be relied upon for a comprehensive discussion of the Disclosure Statement and/or the
  Plan. Section 1125 of the Bankruptcy Code requires a debtor to prepare a disclosure statement
  containing information of a kind, and in sufficient detail, to enable a hypothetical reasonable
  investor to make an informed judgment regarding acceptance or rejection of the plan of
  reorganization or liquidation. As such, this Disclosure Statement is being submitted in
  accordance with the requirements of section 1125 of the Bankruptcy Code. This Disclosure
  Statement includes, without limitation, information about:

                the Debtor’s operating and financial history;

                the significant events that have occurred to date;

                the Confirmation process; and

                the terms and provisions of the Plan, including key aspects of the Claimant Trust
                 and the Reorganized Debtor, certain effects of Confirmation of the Plan, certain
                 risk factors relating to the Plan, and the manner in which distributions will be
                 made under the Plan.

          The Debtor believes that any alternative to Confirmation of the Plan would result in
  significant delays, litigation, and additional costs, and ultimately would diminish the Debtor’s
  value. Accordingly, the Debtor strongly supports confirmation of the Plan.

  A.     Summary of the Plan

         The Plan represents a significant achievement for the Debtor. As discussed herein, the
  Plan provides that the Claimant Trust will receive the majority of the Debtor’s assets, including
  Causes of Action. The assets being transferred to the Claimant Trust are referred to, collectively,
  as the Claimant Trust Assets. The Claimant Trust will – for the benefit of the Claimant Trust
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  Beneficiaries – monetize the Claimant Trust Assets, pursue the Causes of Action, and work to
  conclude the various lawsuits and litigation claims pending against the Estate.

          The Plan also provides for the reorganization of the Debtor. This will be accomplished
  by the cancellation of the Debtor’s current Equity Interests, which consist of partnership interests
  held by: The Dugaboy Investment Trust;3 the Hunter Mountain Investment Trust (“Hunter
  Mountain”); Mark Okada, personally and through family trusts; and Strand, the Debtor’s general
  partner. On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
  new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
  New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
  the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
  The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
  of the Reorganized Debtor. The Reorganized Debtor will be managed by the Claimant Trust, as
  the managing member of New GP LLC.

         The Reorganized Debtor will oversee the monetization of the Reorganized Debtor Assets,
  which consist of, among other Assets, the management of the Managed Funds. The net proceeds
  from the Reorganized Debtor Assets will ultimately be distributed to the Claimant Trust and
  available for distribution to the Claimant Trust Beneficiaries.

             The following is an overview of certain other material terms of the Plan:

                     Allowed Priority Non-Tax Claims will be paid in full;

                     Allowed Retained Employee Claims will be Reinstated;

                     Allowed Convenience Claims will receive the lesser of (i) 85% of their Allowed
                      Claim or (ii) such Holder’s Pro Rata share of the Convenience Claims Cash Pool
                      (i.e., $13,150,000). Holders of Convenience Claims can elect the treatment
                      provided to General Unsecured Claims by making the GUC Election on their
                      Ballots;

                     Allowed General Unsecured Claims and Allowed Subordinated Claims will
                      receive their Pro Rata share of Claimant Trust Interests. The Claimant Trust
                      Interests distributed to Allowed General Unsecured Claims will be senior to those
                      distributed to Allowed Subordinated Claims as set forth in the Claimant Trust
                      Agreement. Holders of General Unsecured Claims that are liquidated as of the
                      Confirmation Date can elect the treatment provided to Convenience Class
                      Election by reducing their Claims to $1,000,000 and making the Convenience
                      Class Election on their Ballots; and

                     Allowed Class B/C Limited Partnership Interests and Allowed Class A Limited
                      Partnership Interests will receive their Pro Rata share of the Contingent Claimant
                      Trust Interests.

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      The Dugaboy Investment Trust is a Delaware trust created to manage the assets of James Dondero and his family.


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  B.     An Overview of the Chapter 11 Process

           Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code.
  Pursuant to chapter 11 of the Bankruptcy Code, a debtor may remain in possession of its assets
  and business and attempt to reorganize its business for the benefit of such debtor, its creditors,
  and other parties in interest. A plan of reorganization sets forth the means for satisfying claims
  against and interests in a debtor. Confirmation of a plan of reorganization by a bankruptcy court
  makes the plan binding upon the debtor and any creditor of or interest holder in the debtor,
  whether or not such creditor or interest holder (i) is impaired under or has accepted the plan or
  (ii) receives or retains any property under the plan.

          The commencement of a Chapter 11 case creates an estate comprised of all of the legal
  and equitable interests of a debtor in property as of the date that the bankruptcy petition is filed.
  Sections 1107 and 1108 of the Bankruptcy Code provide that a debtor may continue to operate
  its business and remain in possession of its property as a “debtor-in-possession,” unless the
  bankruptcy court orders the appointment of a trustee. The filing of a bankruptcy petition also
  triggers the automatic stay provisions of section 362 of the Bankruptcy Code which provide,
  among other things, for an automatic stay of all attempts to collect prepetition claims from a
  debtor or otherwise interfere with its property or business. Except as otherwise ordered by the
  bankruptcy court, the automatic stay generally remains in full force and effect until the
  consummation of a plan of reorganization or liquidation, following confirmation of such plan of
  reorganization.

          The Bankruptcy Code provides that upon commencement of a chapter 11 bankruptcy
  case, the Office of the United States Trustee may appoint a committee of unsecured creditors and
  may, in its discretion, appoint additional committees of creditors or of equity interest holders if
  necessary to assure adequate representation. Please see ARTICLE II for a discussion of the U.S.
  Trustee and the statutory committees.

          Upon the commencement of a chapter 11 bankruptcy case, all creditors and equity
  interest holders generally have standing to be heard on any issue in the chapter 11 proceedings
  pursuant to section 1109(b) of the Bankruptcy Code.

         The formulation and confirmation of a plan is the principal objective of a chapter 11 case.
  The plan sets forth the means of satisfying the claims against and equity interests in the debtor.

  C.     Purpose and Effect of the Plan

         1.      The Plan of Reorganization

          The Debtor is reorganizing pursuant to chapter 11 of the Bankruptcy Code. As a result,
  the Confirmation of the Plan means that the Debtor’s business will continue to operate following
  confirmation of the Plan through the Claimant Trust and the Reorganized Debtor to monetize
  assets for distribution to Holders of Allowed Claims. The Claimant Trust will hold the Claimant
  Trust Assets and manage the efficient monetization of, the Claimant Trust Assets. The Claimant
  Trust will also manage the Reorganized Debtor through the Claimant Trust’s ownership of the
  Reorganized Debtor’s general partner, New GP LLC. The Claimant Trust will also be the sole
  limited partner in the Reorganized Debtor. The Reorganized Debtor will manage the wind down
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  of the Managed Funds as well as the monetization of the balance of the Reorganized Debtor
  Assets. The Claimant Trust will also establish a Litigation Sub-Trust in accordance with the
  Plan, which will also be for the benefit of the Claimant Trust Beneficiaries. The Litigation Sub-
  Trust will receive the Estate Claims. The Litigation Trustee shall be the exclusive trustee of the
  Estate Claims included in the Claimant Trust Assets subject to oversight by the Claimant Trust
  Oversight Committee

          A bankruptcy court’s confirmation of a plan binds the debtor, any entity acquiring
  property under the plan, any holder of a claim or an equity interest in a debtor and all other
  entities as may be ordered by the bankruptcy court in accordance with the applicable provisions
  of the Bankruptcy Code to the terms and conditions of the confirmed plan, whether or not such
  Entity voted on the plan or affirmatively voted to reject the plan.

          2.       Plan Overview

          The Plan provides for the classification and treatment of Claims against and Equity
  Interests in the Debtor. For classification and treatment of Claims and Equity Interests, the Plan
  designates Classes of Claims and Classes of Equity Interests. These Classes and Plan treatments
  take into account the differing nature and priority under the Bankruptcy Code of the various
  Claims and Equity Interests.

         The following chart briefly summarizes the classification and treatment of Claims and
  Equity Interests under the Plan.4 Amounts listed below are estimated.

         In accordance with section 1122 of the Bankruptcy Code, the Plan provides for eight
  Classes of Claims against and/or Equity Interests in the Debtor.

         The projected recoveries set forth in the table below are estimates only and
  therefore are subject to change. For a complete description of the Debtor’s classification
  and treatment of Claims or Equity Interests, reference should be made to the entire Plan
  and the risk factors described in ARTICLE IV below. For certain classes of Claims, the
  actual amount of Allowed Claims could be materially different than the estimated amounts
  shown in the table below.




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   This chart is only a summary of the classification and treatment of Claims and Equity Interests under the Plan.
  References should be made to the entire Disclosure Statement and the Plan for a complete description.


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                                                 Estimated
                      Type of Claim or        Prepetition Claim                    Entitled to        Estimated
     Class                 Interest              Amount [1]         Impaired         Vote             Recovery
       1         Jefferies Secured Claim            $0.00             No              No                100%
       2         Frontier Secured Claim[2]       $5,209,964           Yes             Yes               100%
       3         Other Secured Claims             $551,116            No              No                100%

       4         Priority Non-Tax Claim             $16,489             No             No                100%

       5         Retained Employee Claim               $0               No             No                100%

       6         PTO Claims [3]                   $1,181,886            No             No                100%

       7         Convenience Claims[4]            $12,064,333           Yes            Yes              85.00%

       8         General Unsecured               $180,442,199           Yes            Yes              85.31%
                 Claims[5]
       9         Subordinated Claims             Undetermined           Yes            Yes           Undetermined
       10        Class B/C Limited                   N/A                Yes            Yes           Undetermined
                 Partnership Interests
       11        Class A Limited                      N/A               Yes            Yes           Undetermined
                 Partnership Interests

   [1] Excludes Priority Tax Claims and certain other unclassified amounts totaling approximately $1.1 million owed
   to Joshua and Jennifer Terry and Acis under a settlement agreement.
   [2] Excludes interest accrued postpetition estimated at $318,000, which will be paid on the Effective Date. The
   Liquidation Analysis/Financial Projections provide for the payment of postpetition interest.
   [3] Represents outstanding PTO Claims as of September 30, 2020. PTO Claims are subject to adjustment
   depending on the amount of actual prepetition PTO Claims outstanding as of the Effective Date. PTO claims are
   accounted for in the Liquidation Analysis/Financial Projections as an administrative claim and will be paid out in
   ordinary courses pursuant to applicable state law.
   [4] Represents the estimated gross prepetition amount of Convenience Claims with a total payout amount
   estimated at 85% of $12.06 million, or $10.25 million. This number includes approximately $1.113 million of
   potential Rejection Claims and assumes that Holders of Allowed General Unsecured Claims that are each less
   than $2.50 million opt into the Convenience Class.
   [5] Assumes no recovery for UBS, the HarbourVest Entities, IFA, Hunter Mountain, and an Allowed Claim of
   only $3,722,019 for Mr. Daugherty (each as discussed further below). Assumes $1.440 million of potential
   rejection damage claims. The Liquidation Analysis/Financial Projections assume Highland RCP, LP and
   Highland RCP Offshore, LP offset their Claim of $4.4 million against amounts owed to the Debtor.
            3.      Voting on the Plan

          Under the Bankruptcy Code, acceptance of a plan by a Class of Claims or Equity
  Interests is determined by calculating the number and the amount of Claims voting to accept,
  based on the actual total Allowed Claims or Equity Interests voting on the Plan. Acceptance by a
  Class of Claims requires more than one-half of the number of total Allowed Claims in the Class
  to vote in favor of the Plan and at least two-thirds in dollar amount of the total Allowed Claims
  in the Class to vote in favor of the Plan. Acceptance by a Class of Equity Interests requires at
  least two-thirds in amount of the total Allowed Equity Interests in the Class to vote in favor of
  the Plan.


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          Under the Bankruptcy Code, only Classes of Claims or Equity Interests that are
  “Impaired” and that are not deemed as a matter of law to have rejected a plan under Section 1126
  of the Bankruptcy Code are entitled to vote to accept or reject the Plan. Any Class that is
  “Unimpaired” is not entitled to vote to accept or reject a plan and is conclusively presumed to
  have accepted the Plan. As set forth in Section 1124 of the Bankruptcy Code, a Class is
  “Impaired” if the legal, equitable, or contractual rights attaching to the claims or equity interests
  of that Class are modified or altered.

          Pursuant to the Plan, Claims and Equity Interests in Class 2 and Class 7 through Class 11
  are Impaired by the Plan, and only the Holders of Claims and Equity Interests in those Classes
  are entitled to vote to accept or reject the Plan. Whether a Holder of a Claim or Equity Interest
  in Class 2 and Class 7 through Class 11 may vote to accept or reject the Plan will also depend on
  whether the Holder held such Claim or Equity Interest as of November 23, 2020 (the “Voting
  Record Date”). The Voting Record Date and all of the Debtor’s solicitation and voting
  procedures shall apply to all of the Debtor’s Creditors and other parties in interest.

         Pursuant to the Plan, Claims in Class 1 and Class 3 through Class 6 are Unimpaired by
  the Plan, and such Holders are deemed to have accepted the Plan and are therefore not entitled to
  vote on the Plan.

         Pursuant to the Plan, there are no Classes that will not receive or retain any property and
  no Classes are deemed to reject the Plan.

         4.      Confirmation of the Plan

          (a)     Confirmation Generally

         “Confirmation” is the technical term for the Bankruptcy Court’s approval of a plan of
  reorganization or liquidation. The timing, standards and factors considered by the Bankruptcy
  Court in deciding whether to confirm a plan of reorganization are discussed below.

          The confirmation of a plan by the Bankruptcy Court binds the debtor, any issuer of
  securities under a plan, any person acquiring property under a plan, any creditor or equity
  interest holder of a debtor, and any other person or entity as may be ordered by the Bankruptcy
  Court in accordance with the applicable provisions of the Bankruptcy Code. Subject to certain
  limited exceptions, the order issued by the Bankruptcy Court confirming a plan discharges a
  debtor from any debt that arose before the confirmation of such plan and provides for the
  treatment of such debt in accordance with the terms of the confirmed plan.

          (b)     The Confirmation Hearing

          Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
  hold a hearing on Confirmation of the Plan. Section 1128(b) of the Bankruptcy Code provides
  that any party in interest may object to Confirmation of the Plan.

         The Debtor will provide notice of the Confirmation Hearing to all necessary parties. The
  Confirmation Hearing may be adjourned from time to time without further notice except for an


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  announcement of the adjourned date made at the Confirmation Hearing of any adjournment
  thereof.

         5.      Confirming and Effectuating the Plan

         It is a condition to the Effective Date of the Plan that the Bankruptcy Court shall have
  entered the Confirmation Order in form and substance reasonably acceptable to the Debtor and
  the Official Committee of Unsecured Creditors (the “Committee”). Certain other conditions
  contained in the Plan must be satisfied or waived pursuant to the provisions of the Plan.

         6.      Rules of Interpretation

          The following rules for interpretation and construction shall apply to this Disclosure
  Statement: (1) capitalized terms used in the Disclosure Statement and not otherwise defined
  shall have the meaning ascribed to such terms in the Plan; (2) unless otherwise specified, any
  reference in this Disclosure Statement to a contract, instrument, release, indenture, or other
  agreement or document shall be a reference to such document in the particular form or
  substantially on such terms and conditions described; (3) unless otherwise specified, any
  reference in this Disclosure Statement to an existing document, schedule, or exhibit, whether or
  not filed, shall mean such document, schedule, or exhibit, as it may have been or may be
  amended, modified, or supplemented; (4) any reference to an entity as a Holder of a Claim or
  Equity Interest includes that Entity’s successors and assigns; (5) unless otherwise specified, all
  references in this Disclosure Statement to Sections are references to Sections of this Disclosure
  Statement; (6) unless otherwise specified, all references in this Disclosure Statement to exhibits
  are references to exhibits in this Disclosure Statement; (7) unless otherwise set forth in this
  Disclosure Statement, the rules of construction set forth in section 102 of the Bankruptcy Code
  shall apply; and (8) any term used in capitalized form in this Disclosure Statement that is not
  otherwise defined in this Disclosure Statement or the Plan but that is used in the Bankruptcy
  Code or the Bankruptcy Rules shall have the meaning assigned to such term in the Bankruptcy
  Code or the Bankruptcy Rules, as applicable.

         7.      Distribution of Confirmation Hearing Notice and Solicitation Package to Holders
                 of Claims and Equity Interests

          As set forth above, Holders of Claims in Class 1 and Class 3 through Class 6 are not
  entitled to vote on the Plan. As a result, such parties will not receive solicitation packages or
  ballots but, instead, will receive this a notice of non-voting status, a notice of the Confirmation
  Hearing, and instructions on how to receive a copy of the Plan and Disclosure Statement.

          The Debtor, with the approval of the Bankruptcy Court, has engaged Kurtzman Carson
  Consultants LLC (the “Voting Agent”) to serve as the voting agent to process and tabulate
  Ballots for each Class entitled to vote on the Plan and to generally oversee the voting process.
  The following materials shall constitute the solicitation package (the “Solicitation Package”):

                This Disclosure Statement, including the Plan and all other Exhibits annexed
                 thereto;



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                The Bankruptcy Court order approving this Disclosure Statement (the “Disclosure
                 Statement Order”) (excluding exhibits);

                The notice of, among other things, (i) the date, time, and place of the hearing to
                 consider Confirmation of the Plan and related matters and (ii) the deadline for
                 filing objections to Confirmation of the Plan (the “Confirmation Hearing
                 Notice”);

                A single Ballot, to be used in voting to accept or to reject the Plan and applicable
                 instructions with respect thereto (the “Voting Instructions”);

                A pre-addressed, postage pre-paid return envelope; and

                Such other materials as the Bankruptcy Court may direct or approve.

         The Debtor, through the Voting Agent, will distribute the Solicitation Package in
  accordance with the Disclosure Statement Order. The Solicitation Package is also available at
  the Debtor’s restructuring website at www.kccllc.net/hcmlp.

         On November 13, 2020, the Debtor filed the Plan Supplement [D.I. 1389] that included,
  among other things, the form of Claimant Trust Agreement, the Litigation Sub-Trust Agreement,
  the Reorganized Limited Partnership Agreement, New GP LLC Documents, the New Frontier
  Note, the Senior Employee Stipulation, and the identity of the initial members of the Claimant
  Trust Oversight Committee. The Plan Supplement also includes a schedule of the Causes of
  Action that will be retained after the Effective Date. The Plan Supplement may be supplemented
  or amended through and including December 18, 2020. If the Plan Supplement is supplemented,
  such supplemented documents will be made available on the Debtor’s restructuring website at
  www.kccllc.net/hcmlp.

          If you are the Holder of a Claim or Equity Interest and believe that you are entitled to
  vote on the Plan, but you did not receive a Ballot or your Ballot is damaged or illegible, or if you
  have any questions concerning voting procedures, you should contact the Voting Agent by
  writing to Kurtzman Carson Consultants LLC, via email at HighlandInfo@kccllc.com and
  reference “Highland Capital Management, L.P.” in the subject line or by telephone at toll free:
  (877) 573-3984, or international: (310) 751-1829. If your Claim or Equity Interest is subject to a
  pending claim objection and you wish to vote on the Plan, you must file a motion pursuant to
  Bankruptcy Rule 3018 with the Bankruptcy Court for the temporary allowance of your Claim or
  Equity Interest for voting purposes or you will not be entitled to vote to accept or reject the Plan.
  Any such motion must be filed so that it is heard in sufficient time prior to the Voting Deadline
  to allow for your vote to be tabulated.

       THE DEBTOR, THE REORGANIZED DEBTOR, AND THE CLAIMANT
  TRUSTEE, AS APPLICABLE, RESERVE THE RIGHT THROUGH THE CLAIM
  OBJECTION PROCESS TO OBJECT TO OR SEEK TO DISALLOW ANY CLAIM OR
  EQUITY INTEREST FOR DISTRIBUTION PURPOSES.



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         8.      Instructions and Procedures for Voting

          All votes to accept or reject the Plan must be cast by using the Ballots enclosed with the
  Solicitation Packages or otherwise provided by the Debtor or the Voting Agent. No votes other
  than ones using such Ballots will be counted, except to the extent the Bankruptcy Court orders
  otherwise. The Bankruptcy Court has fixed November 23, 2020, as the Voting Record Date for
  the determination of the Holders of Claims and Equity Interests who are entitled to (a) receive a
  copy of this Disclosure Statement and all of the related materials and (b) vote to accept or reject
  the Plan. The Voting Record Date and all of the Debtor’s solicitation and voting procedures
  shall apply to all of the Debtor’s Creditors and other parties in interest.

          After carefully reviewing the Plan, this Disclosure Statement, and the detailed
  instructions accompanying your Ballot, you are asked to indicate your acceptance or rejection of
  the Plan by voting in favor of or against the Plan on the accompanying Ballot.

          The deadline to vote on the Plan is January 5, 2021 at 5:00 p.m. (prevailing Central
  Time) (the “Voting Deadline”). In order for your vote to be counted, your Ballot must be
  properly completed in accordance with the Voting Instructions on the Ballot, and received no
  later than the Voting Deadline at the following address, as applicable:

  If by first class mail, personal delivery, or overnight mail to:

                                 HCMLP Ballot Processing Center
                                              c/o KCC
                              222 N. Pacific Coast Highway, Suite 300
                                      El Segundo, CA 90245


  If by electronic voting:

          You may submit your Ballot via the Balloting Agent’s online portal. Please visit
  http://www.kccllc.net/hcmlp and click on the “Submit Electronic Ballot” section of the
  website and follow the instructions to submit your Ballot. IMPORTANT NOTE: You will
  need the Unique Electronic Ballot ID Number and the Unique Electronic Ballot PIN
  Number set forth on your customized ballot in order to vote via the Balloting Agent’s
  online portal. Each Electronic Ballot ID Number is to be used solely for voting on those
  Claims or Interests on your electronic ballot. You must complete and submit an electronic
  ballot for each Electronic Ballot ID Number you receive, as applicable. Parties who cast a
  Ballot using the Balloting Agent’s online portal should NOT also submit a paper Ballot.

          Only the Holders of Claims and Equity Interests in Class 2 and Class 7 through Class 11
  as of the Voting Record Date are entitled to vote to accept or reject the Plan, and they may do so
  by completing the appropriate Ballots and returning them in the envelope provided to the Voting
  Agent so as to be actually received by the Voting Agent by the Voting Deadline. Each Holder of
  a Claim and Equity Interest must vote its entire Claim or Equity Interest, as applicable, within a
  particular Class either to accept or reject the Plan and may not split such votes. If multiple
  Ballots are received from the same Holder with respect to the same Claim or Equity Interest prior
  to the Voting Deadline, the last timely received, properly executed Ballot will be deemed to
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  reflect that voter’s intent and will supersede and revoke any prior Ballot. The Ballots will clearly
  indicate the appropriate return address. It is important to follow the specific instructions
  provided on each Ballot.

       ALL BALLOTS ARE ACCOMPANIED BY VOTING INSTRUCTIONS. IT IS
  IMPORTANT THAT THE HOLDER OF A CLAIM OR EQUITY INTEREST IN THE
  CLASSES ENTITLED TO VOTE FOLLOW THE SPECIFIC INSTRUCTIONS
  PROVIDED WITH EACH BALLOT.

          If you have any questions about (a) the procedure for voting your Claim or Equity
  Interest, (b) the Solicitation Package that you have received, or (c) the amount of your Claim or
  Equity Interest, or if you wish to obtain an additional copy of the Plan, this Disclosure Statement,
  or any appendices or Exhibits to such documents, please contact the Voting Agent at the address
  specified above. Copies of the Plan, Disclosure Statement and other documents filed in these
  Chapter 11 Case may be obtained free of charge on the Voting Agent’s website at
  www.kccllc.net/hcmlp or by calling toll free at: (877) 573-3984, or international at: (310) 751-
  1829. You may also obtain copies of pleadings filed in the Debtor’s case for a fee via PACER at
  pacer.uscourts.gov. Subject to any rules or procedures that have or may be implemented by the
  Court as a result of the COVID 19 Pandemic, documents filed in this case may be examined
  between the hours of 8:00 a.m. and 4:00 p.m., prevailing Central Time, Monday through Friday,
  at the Office of the Clerk of the Bankruptcy Court, Earle Cabell Federal Building, 1100
  Commerce Street, Room 1254, Dallas, Texas 75242-1496.

         The Voting Agent will process and tabulate Ballots for the Classes entitled to vote to
  accept or reject the Plan and will file a voting report (the “Voting Report”) by January 11, 2021.
  The Voting Report will, among other things, describe every Ballot that does not conform to the
  Voting Instructions or that contains any form of irregularity, including, but not limited to, those
  Ballots that are late, illegible (in whole or in material part), unidentifiable, lacking signatures,
  lacking necessary information, or damaged.

       THE DEBTOR URGES HOLDERS OF CLAIMS AND EQUITY INTERESTS
  WHO ARE ENTITLED TO VOTE TO TIMELY RETURN THEIR BALLOTS AND TO
  VOTE TO ACCEPT THE PLAN BY THE VOTING DEADLINE.

         9.      The Confirmation Hearing

          The Bankruptcy Court has scheduled Confirmation Hearing Dates on January 13,
  2021, and January 14, 2021, at 9:30 a.m. prevailing Central time. The Confirmation Hearing
  may be continued from time to time by the Bankruptcy Court or the Debtor without further
  notice other than by such adjournment being announced in open court or by a notice of
  adjournment filed with the Bankruptcy Court and served on such parties as the Bankruptcy Court
  may order. Moreover, the Plan may be modified or amended, if necessary, pursuant to section
  1127 of the Bankruptcy Code, prior to, during or as a result of the Confirmation Hearing, without
  further notice to parties-in-interest.




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         10.     The Deadline for Objecting to Confirmation of the Plan

          The Bankruptcy Court has set a deadline of January 5, 2021, at 5:00 p.m. prevailing
  Central time, for the filing of objections to confirmation of the Plan (the “Confirmation
  Objection Deadline”). Any objection to confirmation of the Plan must: (i) be in writing; (ii)
  conform to the Bankruptcy Rules and the Local Rules; (iii) state the name of the objecting party
  and the amount and nature of the Claim of such Entity or the amount of Equity Interests held by
  such Entity; (iv) state with particularity the legal and factual bases and nature of any objection to
  the Plan and, if practicable, a proposed modification to the Plan that would resolve such
  objection; and (v) be filed, contemporaneously with a proof of service, with the Bankruptcy
  Court and served so that it is actually received no later than the Confirmation Objection
  Deadline by the parties set forth below (the “Notice Parties”).

       CONFIRMATION OBJECTIONS NOT TIMELY FILED AND SERVED IN THE
  MANNER SET FORTH HEREIN MAY NOT BE CONSIDERED BY THE
  BANKRUPTCY COURT AND MAY BE OVERRULED WITHOUT FURTHER
  NOTICE. INSTRUCTIONS WITH RESPECT TO THE CONFIRMATION HEARING
  AND DEADLINES WITH RESPECT TO CONFIRMATION WILL BE INCLUDED IN
  THE NOTICE OF CONFIRMATION HEARING APPROVED BY THE BANKRUPTCY
  COURT.

         11.     Notice Parties

                Debtor: Highland Capital Management, L.P., 300 Crescent Court, Suite 700,
                 Dallas, Texas 75201 (Attn: James P. Seery, Jr.);

                Counsel to the Debtor: Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica
                 Boulevard, 13th Floor, Los Angeles, California 90067-4003 (Attn: Jeffrey
                 Pomerantz, Esq.; Ira Kharasch, Esq., and Gregory Demo, Esq.);

                Counsel to the Committee: Sidley Austin, LLP, One South Dearborn, Chicago,
                 Illinois 60603 (Attn: Matthew Clemente, Esq., and Alyssa Russell, Esq.); and

                Office of the United States Trustee, 1100 Commerce Street, Room 976, Dallas,
                 Texas 75242 (Attn: Lisa Lambert, Esq.).

         12.     Effect of Confirmation of the Plan

          The Plan contains certain provisions relating to (a) the compromise and settlement of
  Claims and Equity Interests; (b) exculpation of certain parties; and (c) the release of claims
  against certain parties by the Debtor.

          The Plan shall bind all Holders of Claims against and Equity Interests in the Debtor
  to the maximum extent permitted by applicable law, notwithstanding whether or not such
  Holder (i) will receive or retain any property or interest in property under the Plan, (ii) has
  filed a proof of claim in the Chapter 11 Case, or (iii) did not vote to accept or reject the
  Plan.


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  D.     Effectiveness of the Plan

          It will be a condition to the Effective Date of the Plan that all provisions, terms and
  conditions of the Plan are approved in the Confirmation Order unless otherwise satisfied or
  waived pursuant to the provisions of Article IX of the Plan. Following confirmation, the Plan
  will go into effect on the Effective Date.

  E.     RISK FACTORS

        Each Holder of a Claim or an Equity Interest is urged to consider carefully all of the
  information in this Disclosure Statement, including the risk factors described in ARTICLE
  IV herein titled, “Risk Factors.”

                                 ARTICLE II.
                BACKGROUND TO THE CHAPTER 11 CASE AND SUMMARY OF
                       BANKRUPTCY PROCEEDINGS TO DATE

  A.     Description and History of the Debtor’s Business

         Prior to the Petition Date, the Debtor was a multibillion-dollar global alternative
  investment manager founded in 1993 by James Dondero and Mark Okada. A pioneer in the
  leveraged loan market, the firm evolved over twenty-five years, building on its credit expertise
  and value-based approach to expand into other asset classes.

           As of the Petition Date, the Debtor operated a diverse investment platform, serving both
  institutional and retail investors worldwide. In addition to high-yield credit, the Debtor’s
  investment capabilities include public equities, real estate, private equity and special situations,
  structured credit, and sector- and region-specific verticals built around specialized teams.
  Additionally, the Debtor provided shared services to its affiliated registered investment advisers.

  B.     The Debtor’s Corporate Structure

         The Debtor is headquartered in Dallas, Texas. The Debtor itself is a Delaware limited
  partnership and one of the principal operating arms of the Debtor’s business. As of the Petition
  Date, the Debtor employed approximately 76 people, including executive-level management
  employees, finance and legal staff, investment professionals, and back-office accounting and
  administrative personnel.

          Pursuant to various contractual arrangements, the Debtor, as of the Petition Date,
  provided money management and advisory services for approximately $2.5 billion of assets
  under management shared services for approximately $7.5 billion of assets managed by a variety
  of affiliated and unaffiliated entities, including other affiliated registered investment advisors.
  None of these affiliates filed for Chapter 11 protection. As of September 30, 2020, the Debtor
  provided money management and advisory services for approximately $1.641 billion of assets
  under management and shared services for approximately $7.136 billion of assets managed by a
  variety of affiliated and unaffiliated entities, including other affiliated registered investment
  advisors. Further, on the Petition Date, the value of the Debtor’s Assets was approximately


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  $566.5 million. As of September 30, 2020, the total value of Debtor’s Assets totaled
  approximately $328.3 million.

          The drop in the value of the Debtor’s Assets and assets under management was caused, in
  part, by the COVID-19 global pandemic. Specifically, the decline was the result of, among other
  things, the drop in value of the Debtor’s assets generally, the loss of value in the Prime Accounts
  discussed below, the professional and other costs associated with the Chapter 11 Case, and the
  reserve of approximately $59 million against a loan receivable listed as an asset.

                      Asset                             10/16/2019                           9/30/2020
       Investments (FV)[1]                             $232,620,000                         $109,479,000
       Investments (Equity)                            $161,819,000                         $101,213,000
       Cash/Cash Equivalents                            $2,529,000                           $5,888,000
       Management/Incentive          Fees               $2,579,000                           $3,350,000
       Receivable
       Fixed Assets, net                                $3,754,000                           $2,823,000
       Loan Receivables                                $151,901,000                        $93,445,000[2]
       Other Assets                                    $11,311,000                          $12,105,000
                                   Totals              $566,513,000                         $328,302,000
       [1] Includes decrease in value of assets, costs of Chapter 11 Cases, and assets sold to satisfy liabilities.
       [2] Net of reserve of $59 million.


          The Debtor’s organizational chart is attached hereto as Exhibit B. The organizational
  chart is not all inclusive and certain entities have been excluded for the sake of brevity.

  C.     Business Overview

          The Debtor’s primary means of generating revenue has historically been from fees
  collected for the management and advisory services provided to funds that it manages, plus fees
  generated for services provided to its affiliates. For additional liquidity, the Debtor, prior to the
  Petition Date, would sell liquid securities in the ordinary course held through its prime brokerage
  account at Jefferies, LLC (“Jefferies”), as described in additional detail below. The Debtor
  would also, from time to time, sell assets at non-Debtor subsidiaries and distribute those
  proceeds to the Debtor in the ordinary course of business. During calendar year 2018, the
  Debtor’s stand-alone annual revenue totaled approximately $50 million. During calendar year
  2019, the Debtor’s stand-alone revenue totaled approximately $36.1 million.

  D.     Prepetition Capital Structure

         1.       Jefferies Margin Borrowings (Secured)

        The Debtor is party to that certain Prime Brokerage Customer Agreement with Jefferies
  dated May 24, 2013 (the “Brokerage Agreement”). Pursuant to the terms of the Brokerage
  Agreement and related documents, the Debtor maintains a prime brokerage account with

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  Jefferies (the “Prime Account”). A prime brokerage account is a unique type of brokerage
  account that allows sophisticated investors to, among other things, borrow both money on
  margin to purchase securities and common stock to facilitate short positions. A prime brokerage
  account also serves as a custodial account and holds client securities in the prime broker’s street
  name.

          As of the Petition Date, the Debtor held approximately $57 million of equity in liquid and
  illiquid securities (the “Securities”) in the Prime Account. Pursuant to the Brokerage
  Agreement, the Debtor granted a lien in favor of Jefferies in the Securities and all of the proceeds
  thereof.

          However, because of the economic distress caused by the COVID-19 global pandemic,
  the value of the Securities held in the Prime Account dropped since the Petition Date, and
  Jefferies has exerted significant pressure on the Debtor to liquidate the Securities to satisfy
  margin calls. As of September 30, 2020, the equity value of the Securities in the Prime Account
  was approximately $23.3 million, and the Debtor owed no amounts to Jefferies. The Debtor has
  been actively selling Securities to cover operating expenses and professional fees.

         2.      The Frontier Bank Loan (Secured)

         The Debtor and Frontier State Bank (“Frontier Bank”) are parties to that certain Loan
  Agreement dated as of August 17, 2015 (the “Original Frontier Loan Agreement”), pursuant to
  which Frontier Bank loaned to the Debtor the aggregate principal amount of $9.5 million. On
  March 29, 2018, the Debtor and Frontier Bank entered into that certain First Amended and
  Restated Loan Agreement (the “Amended Frontier Loan Agreement”), amending and
  superseding the Original Frontier Loan Agreement. Pursuant to the Amended Frontier Loan
  Agreement, Frontier Bank made an additional $1 million loan to the Debtor (together with the
  borrowings under the Original Frontier Loan Agreement, the “Frontier Loan”). The Frontier
  Loan matures on August 17, 2021.

         Pursuant to that certain Security and Pledge Agreement dated August 17, 2015, between
  Frontier Bank and the Debtor, as amended by the Amended Frontier Loan Agreement, the
  Debtor’s obligations under the Frontier Loan are secured by 171,724 shares of voting common
  stock of MGM Holdings, Inc. (collectively, the “Frontier Collateral”).

         The aggregate principal balance of the Frontier Loan was approximately $5.2 million. As
  of September 30, 2020, the value of the Frontier Collateral was approximately $13.1 million, and
  approximately $318,000 in postpetition interest had accrued.

         3.      Other Unsecured Obligations

         As discussed below, the Plan provides for four Classes of unsecured claims: (i) PTO
  Claims, (ii) the Convenience Claims, (iii) the General Unsecured Claims, and (iv) the
  Subordinated Claims.

          The Debtor has various substantial litigation claims asserted against it, which have been
  classified as General Unsecured Claims. In addition, as of the Petition Date, the Debtor had
  ordinary course trade debt, unaccrued employee bonus obligations and loan repayment, and

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  contractual commitments to various affiliated and unaffiliated non-Debtor entities for capital
  calls, contributions, and other potential reimbursement or funding obligations that were
  potentially in the tens of millions of dollars. The Debtor is still assessing these claims and its
  liability for such amounts. These Claims have been classified as Convenience Claims and
  Subordinated Claims.

         4.      Equity Interests

          The Debtor is a Delaware limited partnership. As of the Petition Date, the Debtor had
  three classes of limited partnership interest (Class A, Class B, and Class C). The Class A
  interests were held by The Dugaboy Investment Trust, Mark Okada, personally and through
  family trusts, and Strand, the Debtor’s general partner. The Class B and C interests were held by
  Hunter Mountain.

         In the aggregate, the Debtor’s limited partnership interests were held: (a) 99.5% by
  Hunter Mountain; (b) 0.1866% by The Dugaboy Investment Trust, (c) 0.0627% by Mark Okada,
  personally and through family trusts, and (d) 0.25% by Strand.

  E.     SEC Filings

          The Debtor is an investment adviser registered with the SEC as required by the
  Investment Advisers Act of 1940. As a registered investment adviser, the Debtor is required to
  file (at least annually) a Form ADV. The Debtor’s current Form ADV is available at
  https://adviserinfo.sec.gov/.

           Following the Effective Date, it is anticipated that the Reorganized Debtor will maintain
  its registration with the SEC as a registered investment adviser.

  F.     Events Leading Up to the Debtor’s Bankruptcy Filings

         The Chapter 11 Case was precipitated by the rendering of an Arbitration Award (as that
  term is defined below) against the Debtor on May 9, 2019, by a panel of the American
  Arbitration Association (the “Panel”), in favor of the Redeemer Committee of the Highland
  Crusader Fund (the “Redeemer Committee”).

          The Debtor was formerly the investment manager for the Highland Crusader Funds (the
  “Crusader Funds”) that were formed between 2000 and 2002. In September and October 2008,
  as the financial markets in the United States began to fail, the Debtor was flooded with
  redemption requests from Crusader Funds’ investors, as the Crusader Funds’ assets lost
  significant value.

          On October 15, 2008, the Debtor placed the Crusader Funds in wind-down, thereby
  compulsorily redeeming the Crusader Funds’ limited partnership interests. The Debtor also
  declared that it would liquidate the Crusader Funds’ remaining assets and distribute the proceeds
  to investors.

         However, disputes concerning the distribution of the assets arose among certain
  investors. After several years of negotiations, a Joint Plan of Distribution of the Crusader Funds

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  (the “Crusader Plan”), and the Scheme of Arrangement between Highland Crusader Fund and its
  Scheme Creditors (the “Crusader Scheme”), were adopted in Bermuda and became effective in
  August 2011. As part of the Crusader Plan and the Crusader Scheme, the Redeemer Committee
  was elected from among the Crusader Funds’ investors to oversee the Debtor’s management of
  the Crusader Funds.

         Between October 2011 and January 2013, in accordance with the Crusader Plan and the
  Crusader Scheme, the Debtor distributed in excess of $1.2 billion to the Crusader Funds’
  investors. The Debtor distributed a further $315.3 million through June 2016.

          However, disputes subsequently arose between the Redeemer Committee and the Debtor.
  On July 5, 2016, the Redeemer Committee (a) terminated and replaced the Debtor as investment
  manager of the Crusader Fund, (b) commenced an arbitration against the Debtor (the
  “Arbitration”), and (c) commenced litigation in Delaware Chancery Court, to, among other
  things, obtain a status quo order in aid of the arbitration, which order was subsequently entered.

          Following an evidentiary hearing, the Panel issued (a) a Partial Final Award, dated
  March 6, 2019 (the “March Award”), (b) a Disposition of Application for Modification of Award,
  dated March 14, 2019 (the “Modification Award”), and (c) a Final Award, dated May 9, 2019
  (the “Final Award” and together with the March Award and the Modification Award, the
  “Arbitration Award”). Pursuant to the Arbitration Award, the Redeemer Committee was
  awarded gross damages against the Debtor in the aggregate amount of $136,808,302; as of the
  Petition Date, the total value of the Arbitration Award was $190,824,557, inclusive of interest

         Prior to the Petition Date, the Redeemer Committee moved in the Chancery Court to
  confirm the Arbitration Award. For its part, the Debtor moved to vacate parts of the Final
  Award contending that certain aspects were procedurally improper. The Redeemer Committee’s
  motion to confirm the Arbitration Award and the Debtor’s motion to vacate were fully briefed
  and were scheduled to be heard by the Chancery Court on the day the Debtor filed for
  bankruptcy

         On the Petition Date, the Debtor believed that the aggregate value of its assets exceeded
  the amount of its liabilities; however, the Debtor filed the Chapter 11 Case because it did not
  have sufficient liquidity to immediately satisfy the Award or post a supersedeas bond necessary
  to pursue an appeal.

  G.     Additional Prepetition Litigation

           In addition to the litigation with the Redeemer Committee described above, the Debtor,
  both directly and through certain subsidiaries, affiliates, and related entities, was party to
  substantial prepetition litigation. Although the Debtor disputes the allegations raised in this
  litigation and believes it has substantial defenses, this litigation has resulted in substantial Claims
  against the Debtor’s Estate, each of which has been classified as a General Unsecured Claim. To
  the extent that these litigation Claims cannot be resolved consensually, they will be litigated by
  the Claimant Trustee or Reorganized Debtor, as applicable. The Debtor’s major prepetition
  litigation is as follows:


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              Redeemer Committee: The dispute with the Redeemer Committee is described in
               ARTICLE II.F above. As discussed in ARTICLE II.R, the Bankruptcy Court
               entered an order approving a settlement that resolves the Redeemer Committee’s
               claims against the Estate; however, that order is currently subject to appeal.

              Acis Capital Management, L.P., & Acis Capital Management GP, LLC: On
               January 30, 2018, Joshua Terry filed involuntary bankruptcy petitions against
               both Acis Capital Management, L.P. (“Acis LP”) and its general partner, Acis
               Capital Management GP, LLC (“Acis GP,” and collectively with Acis LP,
               “Acis”) in the Bankruptcy Court for the Northern District of Texas, Dallas
               Division, the Honorable Judge Jernigan presiding (the same judge presiding over
               the Chapter 11 Case), Case No. 18-30264-SGJ (the “Acis Case”). Mr. Terry had
               been an employee of the Debtor and a limited partner of Acis LP. Mr. Terry was
               terminated in June 2016, and obtained a multi-million dollar arbitration award
               against Acis. Overruling various objections, the Bankruptcy Court entered the
               orders for relief for the Acis debtors in April 2018, and a chapter 11 trustee was
               appointed. The Debtor filed a proof of claim against Acis and an administrative
               claim. Acis disputes the Debtor’s claim, and the Debtor has not received any
               distributions on its claim to date. On January 31, 2019, Acis’s chapter 11 plan
               was confirmed, and Mr. Terry become the sole owner of reorganized Acis.
               Several appeals remain pending, including an appeal of the entry of the Acis
               orders for relief and the Acis confirmation order.

               The Acis trustee commenced a lawsuit against the Debtor, among others, alleging
               fraudulent conveyance and other causes of action in relation to the Debtor’s
               alleged prepetition effort to control and transfer away Acis’s assets to avoid
               paying Mr. Terry’s claim. After the confirmation of the Acis plan, reorganized
               Acis allegedly supplanted the Acis Trustee as plaintiff and filed an amended
               complaint against the Debtor and other defendants, which claims comprise Acis’s
               pending proof of claim against the Debtor.

               As discussed in ARTICLE II.R, the Bankruptcy Court entered an order approving
               a settlement that resolves Acis’s claims against the Estate; however, that order is
               currently subject to appeal.

              UBS Securities LLC and UBS AG London Branch: UBS Securities LLC (“UBS
               Securities”) filed a proof of claim in the amount of $1,039,957,799.40 [Claim No.
               190] (the “UBS Securities Claim”), and UBS AG, London Branch (“UBS
               London,” and together with UBS Securities, “UBS”) filed a substantively
               identical proof of claim in the amount of $1,039,957,799.40 [Claim No. 191] (the
               “UBS London Claim” and together with the UBS Securities Claim, the “UBS
               Claim”). The UBS Claim was based on the amount of a judgment UBS received
               on a breach of contract claim against funds related to the Debtor that were unable
               to honor margin calls in 2008. Although the Debtor had no obligation under
               UBS’s contracts with the funds, UBS alleges the Debtor is liable for the judgment
               because it (i) breached an alleged duty to ensure that the funds could pay UBS,
               (ii) caused or permitted $233 million in alleged fraudulent transfers to be made by

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                   Highland Financial Partners, L.P. (“HFP”) in March 2009, and (iii) is an alter ego
                   of the funds. The Debtor believes there are meritorious defenses to most, if not
                   all, of the UBS Claim for numerous reasons, including: (i) decisions by the New
                   York Appellate Division that limited UBS’s claims to the March 2009 transfers
                   that it alleges were fraudulent; (ii) those decisions should also apply to any alter
                   ego claim (which at this time has not been formally asserted against the Debtor);
                   (iii) UBS settled claims relating to $172 million of the $233 million in alleged
                   fraudulent transfers and the Debtor is covered by the release; and (iv) the March
                   2009 transfers were in any event part of a wholly legitimate transaction that did
                   not target UBS and for which HFP received fair consideration. Those and several
                   additional defenses are described in the Debtor’s Objection to Proofs of Claim
                   190 and 191 of UBS Securities LLC and UBS AG, London Branch [D.I. 928].

                   On October 19, 2020, both the Debtor and the Redeemer Committee filed motions
                   seeking partial summary judgment of the UBS Claim, which, if granted, will
                   significantly decrease the UBS Claim.5 UBS responded to these motions on
                   November 6, 2020 [D.I. 1341]. On November 20, 2020, the Bankruptcy Court
                   granted partial summary judgment in favor of the Debtor and the Redeemer
                   Committee. It is anticipated that the Bankruptcy Court will enter a formal order
                   within the next couple of weeks.

                  Patrick Daugherty: Patrick Daugherty has Filed a Proof of Claim for “at least
                   $37,483,876.62” [Claim Nos. 67; 77] (the “Daugherty Claim”).6 Mr. Daugherty
                   is a former limited partner and employee of the Debtor. The Daugherty Claim has
                   three components, and Mr. Daugherty asserts claims: (1) for indemnification for
                   any taxes Mr. Daugherty is required to pay as a result of the IRS audit of the
                   Debtor’s 2008-2009 tax return; (2) for defamation arising from a 2017 press
                   release posted by the Debtor; and (3) arising from a pending Delaware lawsuit
                   against the Debtor, which seeks to recover a judgment of $2.6 million in respect
                   of Highland Employee Retention Assets (“HERA”), plus interest, from assets Mr.
                   Daugherty claims were fraudulently transferred to the Debtor. The Daugherty
                   Claim also seeks (a) the value of Mr. Daugherty’s asserted interest in HERA,
                   which he values at approximately $26 million; and (b) indemnification for fees
                   incurred in the Delaware action and in previous litigation in Texas State Court.
                   The Debtor believes that the Daugherty Claim should be allowed in the amount of
  5
    See Debtor’s Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC
  and UBS AG, London Branch [D.I. 1180]; Debtor’s Opening Brief in Support of Motion for Partial Summary
  Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC and UBS AG, London Branch [D.I. 1181];
  Redeemer Committee of the Highland Crusader Fund and the Crusaders Funds’ Motion for Partial Summary
  Judgment on Proof of Claim Nos. 190 and 191 of UBS AG, London Branch and UBS Securities LLC [D.I. 1183];
  and Redeemer Committee of the Highland Crusader Fund and the Crusaders Funds’ Brief in Support of Motion for
  Partial Summary Judgment and Joinder in the Debtor’s Motion for Partial Summary Judgment on Proof of Claim
  No. 190 and 191 of UBS AG, London Branch and UBS Securities LLC [D.I. 1186].
  6
    On October 23, 2020, Mr. Daugherty filed Patrick Hagaman Daugherty’s Motion for Leave to Amend Proof of
  Claim No. 77 [D.I. 1280] pursuant to which Mr. Daugherty has asked leave to amend the Daugherty Claim to assert
  damages of $40,710,819.42. On November 17, 2020, the Bankruptcy Court approved Mr. Daugherty’s request to
  amend the Daugherty Claim from the bench.


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                      $3,722,019; however, the Debtor believes, for various reasons, that the balance of
                      the Daugherty Claim lacks merit. The Debtor’s defenses to the Daugherty Claim
                      are described in the Debtor’s (i) Objection to Claim No. 77 of Patrick Hagaman
                      Daugherty and (ii) Complaint to Subordinate Claim of Patrick Hagaman
                      Daugherty [D.I. 1008].

  H.         The Debtor’s Bankruptcy Proceeding

          On October 16, 2019, the Debtor commenced a voluntary case under chapter 11 of the
  Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the
  “Delaware Bankruptcy Court”). On December 4, 2019, the Delaware Bankruptcy Court entered
  an order transferring venue of the Chapter 11 Case to the Bankruptcy Court for the Northern
  District of Texas, Dallas Division (the “Bankruptcy Court”).7 The Debtor continues to operate
  its business and manage its properties as debtor-in-possession under the jurisdiction of the
  Bankruptcy Court and in accordance with the applicable provisions of the Bankruptcy Code and
  orders of the Bankruptcy Court.

         An immediate effect of commencement of the Chapter 11 Case was the imposition of the
  automatic stay under the Bankruptcy Code which, with limited exceptions, enjoins the
  commencement or continuation of all collection efforts, the enforcement of liens against property
  of the Debtor, and the continuation of litigation against the Debtor during the pendency of the
  Chapter 11 Case. The automatic stay will remain in effect, unless modified by the Bankruptcy
  Court, until the later of the Effective Date and the date indicated in any order providing for the
  implementation of such stay or injunction.

  I.         First Day Relief

          On or about the Petition Date, the Debtor filed certain “first day” motions and
  applications (the “First Day Motions”) with the Delaware Bankruptcy Court seeking certain
  immediate relief to aid in the efficient administration of this Chapter 11 Case and to facilitate the
  Debtor’s transition to debtor-in-possession status. A brief description of each of the First Day
  Motions and the evidence in support thereof is set forth in the Declaration of Frank Waterhouse
  in Support of First Day Motions [D.I. 11] (the “First Day Declaration”). At a hearing on October
  19, 2019, the Delaware Bankruptcy Court granted virtually all of the relief initially requested in
  the First Day Motions [D.I. 39, 40, 42-44].

          The Delaware Bankruptcy Court subsequently entered an order authorizing the Debtor to
  pay critical vendor claims on a final basis [D.I. 168]. Following the transfer of the Chapter 11
  Case to the Bankruptcy Court, the Bankruptcy Court entered an order authorizing the Debtor to
  continue its cash management system on a final basis [D.I. 379]

         The First Day Motions, the First Day Declaration, and all orders for relief granted in this
  case can be viewed free of charge at https://www.kccllc.net/hcmlp.



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      All docket reference numbers refer to the docket maintained by the Bankruptcy Court.


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  J.     Other Procedural and Administrative Motions

          On and after the Petition Date, the Debtor also filed a number of motions and applications
  to retain professionals and to streamline the administration of the Chapter 11 Case, including:

                Interim Compensation Motion. On October 29, 2019, the Debtor filed the
                 Debtor’s Motion Pursuant o Sections 105(a), 330 and 331 of the Bankruptcy
                 Code for Administrative Order Establishing Procedures for Interim
                 Compensation and Reimbursement of Expenses of Professionals [D.I. 72] (the
                 “Interim Compensation Motion”). The Interim Compensation Motion sought to
                 establish procedures for the allowance and payment of compensation and
                 reimbursement of expenses for attorneys and other professionals whose retentions
                 are approved by the Bankruptcy Court pursuant to section 327 or 1103 of the
                 Bankruptcy Code and who will be required to file applications for allowance of
                 compensation and reimbursement of expenses pursuant to section 330 and 331 of
                 the Bankruptcy Code. On November 14, 2019, the Delaware Bankruptcy Court
                 entered an order granting the Interim Compensation Motion [D.I. 141].

                Ordinary Course Professionals. On October 29, 2019, the Debtor filed the Motion
                 of the Debtor for an Order Authorizing the Debtor to Retain, Employ, and
                 Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
                 of Business [D.I. 75] (the “OCP Motion”). The OCP Motion sought authority for
                 the Debtor to retain and compensate certain professionals in the ordinary course
                 of its business. On November 26, 2019, the Delaware Bankruptcy Court entered
                 an order granting the OCP Motion [D.I. 176].

                Retention Applications. During the course of the chapter 11 case, the Delaware
                 Bankruptcy Court or Bankruptcy Court, as applicable, have approved a number of
                 applications by the Debtor seeking to retain certain professionals pursuant to
                 sections 327, 328 and/or 363 of the Bankruptcy Code, including Pachulski Stang
                 Ziehl & Jones LLP as legal counsel [D.I. 183], Development Specialists, Inc. as
                 chief restructuring officer and financial advisor [D.I. 342], Kurtzman Carson
                 Consultants LLC as administrative advisor [D.I. 74], Mercer (US) Inc. as
                 compensation consultant [D.I. 381], Hayward & Associates PLLC as local
                 counsel [D.I. 435], Foley Gardere, Foley & Lardner LLP as special Texas counsel
                 [D.I. 513], Deloitte Tax LLP as tax services provider [D.I. 551], Wilmer Cutler
                 Pickering Hale and Dorr LLP as regulatory and compliance counsel [D.I. 669],
                 and Hunton Andrews Kurth LLP as special tax counsel [D.I. 763].

  K.     United States Trustee

          While the Chapter 11 Case was pending in the Delaware Bankruptcy Court, the U.S.
  Trustee for Region 3 appointed Jane Leamy as the attorney for the U.S. Trustee in connection
  with this Chapter 11 Case (the “Delaware U.S. Trustee”). Following the transfer of the Chapter
  11 Case to the Bankruptcy Court, the Delaware U.S. Trustee no longer represented the U.S.
  Trustee, and the U.S. Trustee for Region 6 appointed Lisa Lambert as the attorney for the U.S.
  Trustee in connection with this Chapter 11 Case (the “Texas U.S. Trustee,” and together with the

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  Delaware U.S. Trustee, the “U.S. Trustee”). The Debtor has worked cooperatively to address
  concerns and comments from the U.S. Trustee’s office during this Chapter 11 Case.

  L.      Appointment of Committee

          On October 29, 2019, the Delaware U.S. Trustee appointed the Committee in this
  Chapter 11 Case [D.I. 65]. The members of the Committee are (a) Redeemer Committee of
  Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities LLC and UBS AG London
  Branch, and (d) Acis Capital Management, L.P. and Acis Capital Management GP, LLP. Meta-
  E Discovery is a vendor to the Debtor. The other members of the Committee are litigants in
  prepetition litigation with the Debtor as described in ARTICLE II.G. The Bankruptcy Court
  approved the retention of Sidley Austin LLP as counsel to the Committee [D.I. 334], Young
  Conaway Stargatt & Taylor, LLP as Delaware co-counsel to the Committee [D.I. 337], and FTI
  Consulting, Inc. as financial advisor to the Committee [D.I. 336].

  M.      Meeting of Creditors

          The meeting of creditors under section 341(a) of the Bankruptcy Code was initially
  scheduled for November 20, 2019, at 9:30 a.m. (prevailing Eastern Time) at the J. Caleb Boggs
  Federal Building, 844 N. King Street, Room 3209, Wilmington, Delaware 19801, and was
  rescheduled to December 3, 2019, at 10:30 a.m. (prevailing Eastern Time). At the meeting of
  creditors, the Delaware U.S. Trustee and creditors asked questions of a representative of the
  Debtor.

         Following the transfer of the Chapter 11 Case to the Bankruptcy Court, the Texas U.S.
  Trustee scheduled an additional meeting of creditors under section 341(a) for January 9, 2020, at
  11:00 a.m. (prevailing Central Time) at the Office of the U.S. Trustee, 1100 Commerce Street,
  Room 976, Dallas, Texas 75242, at the conclusion of that meeting, the Texas U.S. Trustee
  continued the meeting to January 22, 2020. The Texas U.S. Trustee and creditors asked
  questions of a representative of the Debtor at the January 9 and January 22, 2020 meetings.

  N.      Schedules, Statements of Financial Affairs, and Claims Bar Date

          The Debtor filed its Schedules of Assets and Liabilities and Statements of Financial
  Affairs (the “Schedules”) on December 19, 2019 [D.I. 247-248]. A creditor whose Claim is set
  forth in the Schedules and not identified as contingent, unliquidated or disputed may have
  elected to file a proof of claim against the Debtor.

         The Bankruptcy Court established (i) April 8, 2020 as the deadline for Creditors (other
  than governmental units) to file proofs of claim against the Debtor; (ii) April 13, 2020, as the
  deadline for any governmental unit (as such term is defined in section 101(27) of the Bankruptcy
  Code), (iii) April 23, 2020, and as the deadline for any investors in any fund managed by the
  Debtor to file proofs of claim against the Debtor; and (iv) May 26, 2020 as the deadline for the
  Debtor’s employees to file proofs of claim against the Debtor pursuant to and accordance with
  Court’s order entered on April 3, 2020 [D.I. 560].8 Consequently, the bar date for filing proofs
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    During the course of its Chapter 11 Case, the Debtor entered into stipulations to extend the Bar Date for certain
  other claimants or potential claimants.


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  of claims has passed and any claims filed after the applicable bar date will be considered late
  filed.

  O.     Governance Settlement with the Committee

          On January 9, 2020, the Bankruptcy Court entered the Order Approving Settlement with
  Official Committee of Unsecured Creditors Regarding Governance of the Debtor and
  Procedures for Operations in the Ordinary Course [D.I. 339] (the “Settlement Order”).

          Among other things, the Settlement Order approved a term sheet (the “Term Sheet”)
  agreed to by the Debtor and the Committee pursuant to which the Debtor agreed to abide by
  certain protocols governing the production of documents and certain protocols governing the
  operation of the Debtor’s business (the “Operating Protocols”). Under the Operating Protocols,
  the Debtor agreed to seek consent from the Committee prior to entering into certain
  “Transactions” (as defined in the Operating Protocols. The Operating Protocols were amended
  on February 21, 2020, with the consent of the Committee [D.I. 466].

          Pursuant to the Term Sheet, the Debtor also granted the Committee standing to pursue
  certain estate claims and causes of action against Mr. Dondero, Mr. Okada, other insiders of the
  Debtor, and the Related Entities (as defined in the Operating Protocols) (collectively, the “Estate
  Claims”). To the extent permitted, the Estate Claims and the ability to pursue the Estate Claims
  are being transferred to either the Claimant Trust or Litigation Sub-Trust pursuant to the Plan.

         In connection with the Settlement Order, an independent board of directors was also
  appointed at Strand, the Debtor’s general partner (the “Independent Board”). The members of
  the Independent Board are John S. Dubel, James P. Seery, Jr., and Russell Nelms. The
  Independent Board was tasked with managing the Debtor’s operations during the Chapter 11
  Case and facilitating a reorganization or orderly liquidation of the Debtor’s Estate.

  P.     Appointment of James P. Seery, Jr., as Chief Executive Officer and Chief
         Restructuring Officer

          Following their appointment in January 2020, the Independent Board determined that it
  would be more efficient for the Debtor to have a traditional corporate management structure, i.e.
  a fully engaged chief executive officer supervised by the Independent Board. The Independent
  Board ultimately determined that Mr. Seery – a member of the Independent Board – had the
  requisite experience and expertise to lead the Debtor. On June 23, 2020, the Debtor filed
  Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to Retain
  James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and Foreign
  Representative Nunc Pro Tunc to March 15, 2020 [D.I. 774] (the “Seery Retention Motion”) to
  retain Mr. Seery as chief executive officer, chief restructuring officer, and foreign representative.

         The Bankruptcy Court entered an order approving the Seery Retention Motion on July
  16, 2020 [D.I. 854]. Mr. Seery was retained as the Debtor’s chief executive officer and the
  duties of Bradley Sharp of DSI as the Debtor’s chief restructuring officer and foreign
  representative were transferred to Mr. Seery.



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  Q.     Mediation

           On August 3, 2020, the Bankruptcy Court entered the Order Directing Mediation [D.I.
  912] pursuant to which the Bankruptcy Court ordered the Debtor, the Committee, UBS, Acis, the
  Redeemer Committee, and Mr. Dondero into mediation and appointed Sylvia Mayer and Allan
  Gropper as the mediators (the “Mediators”). The mediation began on August 27, 2020, and is
  still open as of the date of this Disclosure Statement

  R.     Postpetition Settlements

         1.      Settlement with Acis and the Terry Parties

          With the assistance of the Mediators, on September 9, 2020, (i) the Debtor, (ii) Acis LP,
  (iii) Acis GP, and (iv) Joshua N. Terry, individually and for the benefit of his individual retirement
  accounts, and Jennifer G. Terry, individually and for the benefit of her individual retirement
  accounts and as trustee of the Terry Family 401-K Plan (together, the “Terry Parties”) executed
  that certain Settlement Agreement and General Release. On September 23, 2020, the Debtor filed
  the Debtor’s Motion for Entry of an Order Approving Settlement with (a) Acis Capital
  Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (b) Joshua N. Terry
  and Jennifer G. Terry (Claim No. 156), and (c) Acis Capital Management, L.P. (Claim No. 159)
  and Authorizing Actions Consistent Therewith [D.I. 1087] (the “Acis Settlement Motion”).

        The Settlement Agreement and General Release contain the following material terms,
  among others:

                The proof of claim filed by Acis [Claim No. 23] will be Allowed in the amount of
                 $23,000,000 as a General Unsecured Claim.

                On the Effective Date of the Plan (or any other plan of reorganization confirmed
                 by the Bankruptcy Court), the Debtor will pay in cash to:

                 o       Mr. and Mrs. Terry in the amount of $425,000 plus 10% simple interest
                         (calculated on the basis of a 360-day year from and including June 30,
                         2016), in full and complete satisfaction of the proof of claim filed by the
                         Terry Parties [Claim No. 156];

                 o       Acis LP in the amount of $97,000, which amount represents the legal fees
                         incurred by Acis LP with respect to the NWCC, LLC v. Highland CLO
                         Management, LLC, et al., Index No. 654195/2018 (N.Y. Sup. Ct. 2018), in
                         full and complete satisfaction of the proof of claim filed by Acis LP
                         [Claim No. 159]; and

                 o       Mr. Terry in the amount of $355,000 in full and complete satisfaction of
                         the legal fees assessed against Highland CLO Funding, Ltd., in Highland
                         CLO Funding v. Joshua Terry, [No Case Number], pending in the Royal
                         Court of the Island of Guernsey;



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  The Settlement Agreement also provides that within five days of the Bankruptcy Court’s
  approval of the Settlement Agreement and the General Release, the Debtor will move to
  withdraw, with prejudice, the proofs of claim that the Debtor filed in the Acis bankruptcy cases
  and the motion filed by the Debtor in the Acis bankruptcy cases seeking an administrative claim
  for postpetition services provided to Acis.

          On October 5, 2020, James Dondero filed an objection to the Acis Settlement Motion
  [D.I. 1121] (the “Dondero Objection”). On October 28, 2020, the Bankruptcy Court entered an
  order approving the Acis Settlement Motion and overruling the Dondero Objection in its entirety
  [DI.I. 1347]. On November 9, 2020, Mr. Dondero filed a notice of his intent to appeal the order
  approving the Acis Settlement Motion.

         The foregoing is a summary only, and all parties are encouraged to review the Acis
  Settlement Motion and related documents for additional information on the Settlement
  Agreement and General Release.

         2.     Settlement with the Redeemer Committee

          The Debtor, Eames, Ltd., the Redeemer Committee, and the Crusader Funds (collectively,
  the “Settling Parties”) executed a settlement (the “Redeemer Stipulation”). The Redeemer
  Stipulation was also executed, solely with respect to paragraphs 10 through 15 thereof, by
  Hockney, Ltd., Strand, Highland CDO Opportunity Master Fund, L.P., Highland Credit
  Strategies Master Fund, L.P., Highland Credit Opportunities CDO, L.P., House Hanover, LLC,
  and Alvarez & Marsal CRF Management, LLC (collectively, the “Additional Release Parties”).
  On September 23, 2020, the Debtor filed Debtor’s Motion for Entry of an Order Approving
  Settlements with (A) the Redeemer Committee of the Highland Crusader Funds (Claim No. 72),
  and (B) the Highland Crusader Funds (Claim No. 81), and Authorizing Actions Consistent
  Therewith [D.I. 1089] seeking approval of the Redeemer Stipulation (the “Redeemer Settlement
  Motion”).

         The Redeemer Stipulation contains the following material terms, among others:

               The proof of claim filed by the Redeemer Committee [Claim No. 72] will be
                Allowed in the amount of $137,696,610 as a General Unsecured Claim;

               The proof of claim filed by the Crusader Funds [Claim No. 81] will be Allowed in
                the amount of $50,000 as a General Unsecured Claim;

               The Debtor and Eames, Ltd., each (a) consented to the cancellation of certain
                interests in the Crusader Funds held by them, and (b) agreed that they will not
                object to the cancellation of certain interests in the Crusader Funds held by the
                Charitable Donor Advised Fund;4

               The Debtor and Eames each acknowledged that they will not receive any portion
                of certain reserved distributions, and the Debtor further acknowledged that it will
                not receive any payments from the Crusader Funds in respect of any deferred fees,
                distribution fees, or management fees;

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                 The Debtor and the Redeemer Committee agreed to a form of amendment to the
                  shareholders’ agreement for Cornerstone Healthcare Group and to a process to
                  monetize Cornerstone Healthcare Group;

                 Upon the effective date of the Redeemer Stipulation, the Settling Parties and the
                  Additional Release Parties shall exchange releases as set forth in the Redeemer
                  Stipulation; and

                 All litigation between the Debtor, Eames, Ltd., and the Additional Highland
                  Release Parties (as defined in the Redeemer Stipulation) on the one hand, and the
                  Redeemer Committee and the Crusader Funds, on the other hand, will cease.

          On October 16, 2020, UBS filed an objection to the Redeemer Settlement Motion [D.I.
  1190] (the “UBS Objection”). On October 22, 2020, the Bankruptcy Court entered an order
  approving the Redeemer Settlement Motion and overruling the UBS Objection in its entirety
  [DI.I. 1273]. On November 6, 2020, UBS filed a notice of its intent to appeal the order
  approving the Redeemer Settlement Motion.

          The foregoing is a summary only, and all parties are encouraged to review the Redeemer
  Settlement Motion and related documents for additional information on the Redeemer
  Stipulation.

  S.      Certain Outstanding Material Claims

         As discussed above, April 8, 2020, was the general bar date for filing proofs of claim.
  The Debtor has begun the process of resolving those Claims. Although each Claim represents a
  potential liability of the Estate, the Debtor believes that, in addition to UBS’s Claim, the Claims
  filed by Integrated Financial Associates, Inc. (“IFA”), the HarbourVest Entities,9 and Hunter
  Mountain represent the largest unresolved Claims against the Estate.

                 IFA Proof of Claim. IFA filed a proof of claim [Claim No. 93] (the “IFA Claim”)
                  seeking damages in the amount of $241,002,696.73 arising from the purported
                  joint control of the Debtor and NexBank, SSB, and the Debtor’s management of
                  various lenders to IFA. The Debtor believes that IFA’s claim should be
                  disallowed in its entirety. IFA’s claim and the Debtor’s defenses thereto are
                  described in greater detail in the Objection to Proof of Claim No. 93 of Integrated
                  Financial Associates, Inc. [D.I. 868]. On October 4, 2020, the Bankruptcy Court
                  entered the Order Approving Stipulation Regarding Proof of Claim No. 93 of
                  Integrated Financial Associates, Inc. [D.I. 1126], which capped the IFA Claim,
                  for all purposes, at $8,000,000.

                 HarbourVest Entities Proofs of Claim. The HarbourVest Entities are investors in
                  Highland CLO Funding, Ltd. (“HCLOF”) and filed proofs of claim against the

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    “HarbourVest Entities” means HarbourVest 2017 Global Fund, L.P., HarbourVest 2017 Global AIF L.P.,
  HarbourVest Dover Street IX Investment, L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF
  L.P., and HarbourVest Partners, L.P.


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                Debtor’s Estate [Claim No. 143, 147, 149, 150, 153, 154] (the “HarbourVest
                Claims”). The Debtor included an assertion of “no liability” in respect of the
                HarbourVest Claims in its Debtor’s First Omnibus Objection to Certain (a)
                Duplicate Claims; (b) Overstated Claims; (c) Late-Filed Claims; (d) Satisfied
                Claims; (e) No-Liability Claims; and (f) Insufficient Documentation Claims [D.I.
                906]. HarbourVest provided a response in its HarbourVest Response to Debtor’s
                First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated
                Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims;
                and (F) Insufficient-Documentation Claims [D.I. 1057]. The HarbourVest
                Entities’ response argued that the Debtor’s objection should be overruled, and set
                forth allegations in support of claims under federal and state law and Guernsey
                law, including claims for fraud, violations of securities laws, breaches of fiduciary
                duties, and RICO violations. The Debtor intends to vigorously defend the
                HarbourVest Claims on various grounds, including, among others, the failure to
                state a claim upon which relief can be granted, the lack of reasonable reliance, the
                lack of misrepresentations, the lack of reasonable reliance, the failure to mitigate
                damages, the parties’ agreements bar or otherwise limit the Debtor’s liability, and
                waiver and estoppel. The HarbourVest Entities invested approximately $80
                million in HCLOF but seek an allowed claim in excess of $300 million dollars
                (after giving effect to treble damages for the alleged RICO violations).

               Hunter Mountain Proof of Claim. Hunter Mountain is one of the Debtor’s limited
                partners. Hunter Mountain filed a proof of claim [Claim No. 152] seeking a
                $60,298,739 indemnification claim against the Debtor because of the Debtor’s
                alleged failures to make priority distributions to Hunter Mountain under the
                Debtor’s Partnership Agreement. The Debtor believes that it has meritorious
                defenses to Hunter Mountain’s claim. Hunter Mountain’s claim and the Debtor’s
                defenses to such claim are described in greater detail in the Debtor’s (i) Objection
                to Claim No. 152 of Hunter Mountain Investment Trust and (ii) Complaint to
                Subordinate Claim of Hunter Mountain Investment Trust and for Declaratory
                Relief [D.I. 995]. The Debtor believes that Hunter Mountain’s proof of claim
                should either be disallowed in its entirety or subordinated in its entirety.

  In addition to the foregoing, the UBS Claim (in the amount of $1,039,957,799.40) and the
  Daugherty Claim (in the amount of $40,710,819.42) remain outstanding. As set forth above,
  partial summary judgment on the UBS Claim was granted in favor of the Debtor and the
  Redeemer Committee on November 20, 2020, and a formal order is expected to be entered
  within the next couple of weeks.

         The Daugherty Claim has been allowed for voting purposes only in the amount of
  $9,134,019 [D.I. 1422]. In a bench ruling on November 20, 2020, the Bankruptcy Court allowed
  UBS Claims for voting purposes only in the amount of $94,761,076 [D.I. 1646].

  T.     Treatment of Shared Service and Sub-Advisory Agreements

        As discussed in the Plan, the Reorganized Debtor will manage the wind down of the
  Managed Funds. However, it is not anticipated that either the Reorganized Debtor or the

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  Claimant Trust will assume or assume and assign the contracts between the Debtor and certain
  Related Entities10 pursuant to which the Debtor provides shared services and sub-advisory
  services to those Related Entities.

          Currently, the Debtor receives approximately $2.2 million per month in revenue from
  such contracts. However, in order to service those contracts, the Debtor must maintain a full
  staff and the cost of providing services under such contracts, among other factors, has
  historically resulted in a net loss to the Debtor. As such, the Debtor does not believe that
  assuming these contracts would benefit the Estate.

          Further, the contracts generally contain anti-assignment provisions which the Debtor
  believes may be enforceable under 11 U.S.C. § 365(c). These provisions, therefore, would
  arguably prevent the assignment of such contracts without the consent of the Debtor’s contract
  counterparty. However, even if 11 U.S.C. § 365(c) would not prevent assignment, the contracts
  are generally terminable at will by either party. As such, assuming and assigning such contracts
  without the consent of the contract counterparty would be of nominal or no benefit to the Estate.
  It is doubtful that any assignee would provide consideration to the Debtor for the assignment of
  such contract as the contract counterparty could simply terminate the contract immediately
  following assignment. As such, the Debtor does not believe that there is any benefit to the Estate
  in attempting to assign these contracts.

         Notwithstanding the foregoing disclosure, the Debtor is currently assessing whether it is
  both possible and in the best interests of the Estate to assume and assign such shared services and
  sub-advisory agreements to a Related Entity.

          During the course of this Chapter 11 Case, Mr. Daugherty stated that he would be willing
  to assume the Debtor’s obligations under the shared service and sub-advisory contracts. The
  Independent Directors reviewed Mr. Daugherty’s proposal and for the foregoing reasons, among
  others, determined that it was not workable and would provide no benefit to the Estate.

  U.      Portfolio Managements with Issuer Entities

          The Debtor is party to certain portfolio management agreements (including any ancillary
  agreements relating thereto collectively being the “Portfolio Management Agreements” and each
  a “Portfolio Management Agreement”) with ACIS CLO 2017-7 Ltd., Brentwood CLO, Ltd.,
  Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1, Ltd., Highland Legacy
  Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding LP,
  PamCo Cayman Ltd., Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd.,
  Stratford CLO Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
  Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd., Jasper
  CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla
  CLO, Ltd. (each an “Issuer” and collectively the “Issuers”) wherein the Debtor agreed to
  generally provide certain services to each Issuer in the Debtor’s capacity as a portfolio manager
  in exchange for certain fees as described in the applicable Portfolio Management Agreement.

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    For the avoidance of doubt, the Debtor does not consider any of the Issuers (as defined herein) to be a Related
  Entity.


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          The Issuers filed proofs of claim [Claim No. 165, 168, and 169] asserting claims against
  the Debtor for damages arising from, relating to or otherwise concerning (i) such Issuer’s
  Portfolio Management Agreement(s) with the Debtor, including, without limitation, failure to
  perform or other breach of the Portfolio Management Agreement(s), rejection of the Portfolio
  Management Agreement(s), any cure amount as a result of assumption of the Portfolio
  Management Agreement(s), any adequate assurance of future performance as a result of
  assumption of the Portfolio Management Agreement(s), and any failure to provide and pay for
  indemnification or other obligations under the Portfolio Management Agreement(s); and (ii) the
  action or inaction of the Debtor to the detriment of such Issuer (collectively, the “Issuer
  Claims”). The Debtor believes that it has satisfied its obligations to the Issuers; that the Issuer
  Claims lack merit; and that the Debtor will have no liability with respect to the Issuer Claims.
  However, such proofs of claim remain outstanding.

          The Issuers have taken the position that the rejection of the Portfolio Management
  Agreements (including any ancillary documents) would result in material rejection damages and
  have encouraged the Debtor to assume such agreements. Nonetheless, the Issuers and the Debtor
  are working in good faith to address any outstanding issues regarding such assumption. The
  Portfolio Management Agreements may be assumed either pursuant to the Plan or by separate
  motion filed with the Bankruptcy Court.

        The Debtor is still assessing its options with respect to the Portfolio Management
  Agreements, including whether to assume the Portfolio Management Agreements.

  V.     Resignation of James Dondero

         On October 9, 2020, Mr. Dondero resigned as an employee and portfolio manager of the
  Debtor.

  W.     Exclusive Periods for Filing a Plan and Soliciting Votes

          Under the Bankruptcy Code, a debtor has the exclusive right to file and solicit acceptance
  of a plan or plans of reorganization for an initial period of 120 days from the date on which the
  debtor filed for voluntary relief. If a debtor files a plan within this exclusive period, then the
  debtor has the exclusive right for 180 days from the petition date to solicit acceptances to the
  plan. During these exclusive periods, no other party in interest may file a competing plan of
  reorganization; however, a court may extend these periods upon request of a party in interest and
  “for cause.”

         The Debtor filed motions to extend the exclusive period, and the Bankruptcy Court
  entered the following orders granting such applications:

                Order Granting Debtor’s Motion for Entry of an Order Pursuant to 11 U.S.C. §
                 1121(d) and Local Rule 3016-1 Extending the Exclusivity Periods for the Filing
                 and Solicitation of Acceptances of a Chapter 11 Plan [D.I. 460];

                Agreed Order Extending Exclusive Periods by Thirty Days [D.I. 668];



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                Order Granting Debtor’s Third Motion for Entry of an Order Pursuant to 11
                 U.S.C. § 1121(d) and Local Rule 3016-1 Further Extending the Exclusivity
                 Periods for the Filing and Solicitation of Acceptances of a Chapter 11 Plan [D.I.
                 820]; and

                Order Further Extending the Debtor’s Exclusive Period for Solicitation of
                 Acceptance of a Chapter 11 Plan [D.I. 1092].

  Pursuant to the foregoing orders, the Bankruptcy Court extended the exclusivity period through
  June 12, 2020, for the filing of a plan, which was subsequently extended through July 13, 2020,
  and again through August 12, 2020. The Bankruptcy Court also extended the exclusivity period
  for the solicitation of votes to accept such plan through August 11, 2020, which was
  subsequently extended through September 10, 2020, and again through October 13, 2020, and
  December 4, 2020.

  X.     Negotiations with Constituents

          The Debtor, Mr. Dondero, and certain of the creditors have been negotiating a consensual
  reorganization plan for the Debtor that contemplates the Debtor continuing its business largely in
  its current form. Those negotiations have yet to reach conclusion but are continuing, and the
  negotiations were part of the previously discussed mediation. There is no certainty that those
  negotiations will reach a consensual resolution of the Debtor’s bankruptcy case.

  Y.     Highland Capital Management, L.P. Retirement Plan and Trust

          The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
  single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461.

          The Debtor is the contributing sponsor of the Pension Plan. As such, the PBGC asserts
  that Debtor is liable to contribute to the Pension Plan the amounts necessary to satisfy the
  minimum funding standards in ERISA and the Internal Revenue Code of 1986, as amended
  (“IRC”). See 29 U.S.C. §§ 1082, 1083; 26 U.S.C. §§ 412, 430. As the sponsor of the Pension
  Plan, the PBGC asserts Debtor is also liable for insurance premiums owed to PBGC. See 29
  U.S.C. §§ 1306, 1307. The PBGC asserts that any members of the contributing sponsor’s
  controlled-group within the meaning of 29 U.S.C. §§ 1301(a)(13), (14) are also jointly and
  severally liable with the Debtor for such obligations relating to the Pension Plan.

           The Pension Benefit Guaranty Corporation (“PBGC”), the federal agency that
  administers the pension insurance program under Title IV of ERISA, filed contingent proofs of
  claims against the Debtors for (1) the Pension Plan’s potential underfunded benefit liabilities; (2)
  the potential unliquidated unpaid minimum funding contributions owed to the Pension Plan; and
  (3) the potential unliquidated insurance premiums owed to PBGC. The PBGC acknowledges
  that, as of the date of this Disclosure Statement, there is nothing currently owed by the Debtor to
  the PBGC.

         The Debtor reserves the right to contest any claims filed by the PBGC for any reason.


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           Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
  Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
  Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
  standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
  premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
  in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
  Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
  the Reorganized Debtor and each of its controlled group members will be responsible for the
  liabilities imposed by Title IV of ERISA.

          No provision contained in the Disclosure Statement, the Plan, the Confirmation Order, or
  the Bankruptcy Code (including section 1141 thereof), shall be construed as discharging,
  releasing, exculpating, or relieving any person or entity, including the Debtor, the Reorganized
  Debtor, or any person or entity in any capacity, from any liability or responsibility, if any, with
  respect to the Pension Plan under any law, government policy, or regulatory provision. PBGC
  and the Pension Plan shall not be enjoined or precluded from enforcing such liability or
  responsibility against any person or entity as a result of any of the provisions for satisfaction,
  release, injunction, exculpation, and discharge of claims in the Plan, Confirmation Order, or the
  Bankruptcy Code.

                                          ARTICLE III.
                                       SUMMARY OF THE PLAN


    THIS ARTICLE III IS INTENDED ONLY TO PROVIDE A SUMMARY OF THE
    MATERIAL TERMS OF THE PLAN AND IS QUALIFIED BY REFERENCE TO
   THE ENTIRE DISCLOSURE STATEMENT AND THE PLAN AND SHOULD NOT
    BE RELIED ON FOR A COMPREHENSIVE DISCUSSION OF THE PLAN. TO
      THE EXTENT THERE ARE ANY INCONSISTENCIES OR CONFLICTS
         BETWEEN THIS ARTICLE III AND THE PLAN, THE TERMS AND
    CONDITIONS SET FORTH IN THE PLAN SHALL CONTROL AND GOVERN.

  A.     Administrative and Priority Tax Claims

         1.      Administrative Expense Claims

          On the later of the Effective Date or the date on which an Administrative Expense Claim
  becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
  thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional
  Fee Claims) will receive, in full satisfaction, settlement, discharge and release of, and in
  exchange for, such Allowed Administrative Expense Claim either (i) payment in full in
  Available Cash for the unpaid portion of such Allowed Administrative Expense Claim; or
  (ii) such other less favorable treatment as agreed to in writing by the Debtor or the Reorganized
  Debtor, as applicable, and such Holder; provided, however, that Administrative Expense Claims
  incurred by the Debtor in the ordinary course of business may be paid in the ordinary course of
  business in the discretion of the Debtor in accordance with such applicable terms and conditions



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  relating thereto without further notice to or order of the Bankruptcy Court. All statutory fees
  payable under 28 U.S.C. § 1930(a) shall be paid as such fees become due.

         If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
  the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File,
  on or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
  Reorganized Debtor, as applicable, and such other Entities who are designated by the
  Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court, an
  application for allowance and payment of such Administrative Expense Claim.

          Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
  must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
  asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
  Deadline.

         2.      Professional Fee Claims

           Professionals or other Entities asserting a Professional Fee Claim for services rendered
  through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
  503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
  granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in
  full to the extent provided in such order.

          Professionals or other Entities asserting a Professional Fee Claim for services rendered on
  or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
  serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
  designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
  order of the Bankruptcy Court, an application for final allowance of such Professional Fee
  Claim.

          Objections to any Professional Fee Claim must be Filed and served on the Debtor or
  Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
  Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
  will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
  Days of entry of the order approving such Allowed Professional Fee Claim.

          On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
  The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
  Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant
  Trust shall fund the Professional Fee Reserve on the Effective Date in an estimated amount
  determined by the Debtor in good faith prior to the Confirmation Date and that approximates the
  total projected amount of unpaid Professional Fee Claims on the Effective Date. Following the
  payment of all Allowed Professional Fee Claims, any excess funds in the Professional Fee
  Reserve shall be released to the Claimant Trust to be used for other purposes consistent with the
  Plan and the Claimant Trust Agreement.




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         3.      Priority Tax Claims

          On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
  such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
  on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
  Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
  and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
  an amount equal to the amount of such Allowed Priority Tax Claim, or (b) such other less
  favorable treatment as agreed to in writing by the Debtor and such Holder. Payment of statutory
  fees due pursuant to 28 U.S.C. § 1930(a)(6) will be made at all appropriate times until the entry
  of a final decree; provided, however, that the Debtor may prepay any or all such Claims at any
  time, without premium or penalty.

  B.     Classification and Treatment of Classified Claims and Equity Interests

         1.      Summary

          All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
  Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of
  the Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
  classified.

          The categories of Claims and Equity Interests listed below classify Claims and Equity
  Interests for all purposes including, without limitation, confirmation and distribution pursuant to
  the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
  a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim
  or Equity Interest qualifies within the description of that Class and will be deemed classified in a
  different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
  the description of such different Class. A Claim or Equity Interest is in a particular Class only to
  the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
  released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the
  Effective Date.




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      Summary of Classification and Treatment of Classified Claims and Equity Interests

   Class    Claim                                           Status          Voting Rights
   1        Jefferies Secured Claim                         Unimpaired      Deemed to Accept
   2        Frontier Secured Claim                          Impaired        Entitled to Vote
   3        Other Secured Claims                            Unimpaired      Deemed to Accept
   4        Priority Non-Tax Claim                          Unimpaired      Deemed to Accept
   5        Retained Employee Claim                         Unimpaired      Deemed to Accept
   6        PTO Claims                                      Unimpaired      Deemed to Accept
   7        Convenience Claims                              Impaired        Entitled to Vote
   8        General Unsecured Claims                        Impaired        Entitled to Vote
   9        Subordinated Claims                             Impaired        Entitled to Vote
   10       Class B/C Limited Partnership Interests         Impaired        Entitled to Vote
   11       Class A Limited Partnership Interests           Impaired        Entitled to Vote

           2.    Elimination of Vacant Classes

          Any Class that, as of the commencement of the Confirmation Hearing, does not have at
  least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
  voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
  voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
  satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

           3.    Impaired/Voting Classes

         Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
  Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
  accept or reject the Plan.

          Please refer to “Distribution of Confirmation Hearing Notice and Solicitation Package to
  Holders of Claims and Equity Interests” and “Instructions and Procedures for Voting” in
  ARTICLE I.C.7 and ARTICLE I.C.8 for a discussion of how the how votes on the Plan will be
  solicited and tabulated.

           4.    Unimpaired/Non-Voting Classes

         Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
  Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

           5.    Impaired/Non-Voting Classes

         There are no Classes under the Plan that will not receive or retain any property and no
  Classes are deemed to reject the Plan.


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         6.      Cramdown

         If any Class of Claims or Equity Interests is deemed to reject the Plan or does not vote to
  accept the Plan, the Debtor may (i) seek confirmation of the Plan under section 1129(b) of the
  Bankruptcy Code or (ii) amend or modify the Plan in accordance with the terms of the Plan and
  the Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or
  any class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice
  and a hearing, determine such controversy on or before the Confirmation Date.

  C.     Classification and Treatment of Claims and Equity Interests

         1.      Class 1 – Jefferies Secured Claim

                       Classification: Class 1 consists of the Jefferies Secured Claim.

                       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 1 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 1 Claim, at the election of the Debtor: (A) Cash equal
                        to the amount of such Allowed Class 1 Claim; (B) such other less
                        favorable treatment as to which the Debtor and the Holder of such
                        Allowed Class 1 Claim will have agreed upon in writing; or (C) such other
                        treatment rendering such Claim Unimpaired. Each Holder of an Allowed
                        Class 1 Claim will retain the Liens securing its Allowed Class 1 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 1
                        Claim is made as provided herein.

                       Impairment and Voting: Class 1 is Unimpaired, and the Holders of
                        Class 1 Claims are conclusively deemed to have accepted the Plan
                        pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
                        Holders of Class 1 Claims are not entitled to vote to accept or reject the
                        Plan and will not be solicited.

         2.      Class 2 – Frontier Secured Claim

                       Classification: Class 2 consists of the Frontier Secured Claim.

                       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 2 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 2 Claim: (A) Cash in an amount equal to all accrued
                        but unpaid interest on the Frontier Claim through and including the
                        Effective Date and (B) the New Frontier Note. The Holder of an Allowed
                        Class 2 Claim will retain the Liens securing its Allowed Class 2 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 2
                        Claim is made as provided herein.



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                     Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                      Claims are entitled to vote to accept or reject the Plan.

                      The New Frontier Note will include the following terms: (i) an extension
                      of the maturity date to December 31, 2022; (ii) quarterly interest only
                      payments; (iii) a payment on the New Frontier Note equal to fifty percent
                      of the outstanding principal on December 31, 2021, if the New Frontier
                      Note is not paid in full on or prior to such date; (iv) mandatory
                      prepayments from the proceeds of the sale of any collateral securing the
                      New Frontier Note; and (v) the payment of fees and expenses incurred in
                      negotiating the terms of the New Frontier Note.

         3.    Class 3 – Other Secured Claims

                     Classification: Class 3 consists of the Other Secured Claims.

                     Allowance and Treatment: On or as soon as reasonably practicable after
                      the later of (i) the Initial Distribution Date if such Class 3 Claim is
                      Allowed on the Effective Date or (ii) the date on which such Class 3
                      Claim becomes an Allowed Class 3 Claim, each Holder of an Allowed
                      Class 3 Claim will receive in full satisfaction, settlement, discharge and
                      release of, and in exchange for, its Allowed Claim 3 Claim, at the option
                      of the Debtor, or following the Effective Date, the Reorganized Debtor or
                      Claimant Trustee, as applicable, (i) Cash equal to such Allowed Other
                      Secured Claim, (ii) the collateral securing its Allowed Other Secured
                      Claim, plus postpetition interest to the extent required under Bankruptcy
                      Code Section 506(b), or (iii) such other treatment rendering such Claim
                      Unimpaired.

                     Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class
                      3 Claims are conclusively deemed to have accepted the Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                      Claims are not entitled to vote to accept or reject the Plan and will not be
                      solicited.

         4.    Class 4 – Priority Non-Tax Claims

                     Classification: Class 4 consists of the Priority Non-Tax Claims.

                     Allowance and Treatment: On or as soon as reasonably practicable after
                      the later of (i) the Initial Distribution Date if such Class 4 Claim is
                      Allowed on the Effective Date or (ii) the date on which such Class 4
                      Claim becomes an Allowed Class 4 Claim, each Holder of an Allowed
                      Class 4 Claim will receive in full satisfaction, settlement, discharge and
                      release of, and in exchange for, its Allowed Claim 4 Claim Cash equal to
                      the amount of such Allowed Class 4 Claim.


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                    Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class
                     4 Claims are conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                     Claims are not entitled to vote to accept or reject the Plan and will not be
                     solicited.

         5.    Class 5 – Retained Employee Claims

                    Classification: Class 5 consists of the Retained Employee Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the Effective Date, each Allowed Class 5 Claim will be Reinstated.

                    Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class
                     5 Claims are conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                     Claims are not entitled to vote to accept or reject the Plan and will not be
                     solicited.

         6.    Class 6 – PTO Claims

                    Classification: Class 6 consists of the PTO Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 6 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 6
                     Claim becomes an Allowed Class 6 Claim, each Holder of an Allowed
                     Class 6 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 6 Claim Cash equal to
                     the amount of such Allowed Class 6 Claim.

                    Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class
                     6 Claims are conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6
                     Claims are not entitled to vote to accept or reject the Plan and will not be
                     solicited.

                     “PTO Claims” means any Claim for paid time off in favor of any Debtor
                     employee in excess of the amount that would qualify as a Priority Non-
                     Tax Claim under section 507(a)(4) of the Bankruptcy Code.

         7.    Class 7 – Convenience Claims

                    Classification: Class 7 consists of the Convenience Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 7 Claim is

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                     Allowed on the Effective Date or (ii) the date on which such Class 7
                     Claim becomes an Allowed Class 7 Claim, each Holder of an Allowed
                     Class 7 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Class 7 Claim (1) the
                     treatment provided to Allowed Holders of Class 8 General Unsecured
                     Claims if the Holder of such Class 7 Claim makes the GUC Election or (2)
                     an amount in Cash equal to the lesser of (a) 85% of the Allowed amount
                     of such Holder’s Class 7 Claim or (b) such Holder’s Pro Rata share of the
                     Convenience Claims Cash Pool.

                    Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                     Claims are entitled to vote to accept or reject the Plan.

                     “Convenience Claim” means any prepetition, liquidated, and unsecured
                     Claim against the Debtor that as of the Confirmation Date is less than or
                     equal to $1,000,000 or any General Unsecured Claim that makes the
                     Convenience Class Election. For the avoidance of doubt, the Reduced
                     Employee Claims will be Convenience Claims.

                     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
                     available upon the Effective Date for distribution to Holders of
                     Convenience Claims under the Plan as set forth herein. Any Cash
                     remaining in the Convenience Claim Pool after all distributions on account
                     of Convenience Claims have been made will be transferred to the
                     Claimant Trust and administered as a Claimant Trust Asset.

                     By making the GUC Election on their Ballots, each Holder of a
                     Convenience Claim can elect the treatment provided to General Unsecured
                     Claims.

         8.    Class 8 – General Unsecured Claims

                    Classification: Class 8 consists of the General Unsecured Claims.

                    Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 8 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive (i) its Pro Rata share of the Claimant Trust Interests, (ii) such other
                     less favorable treatment as to which such Holder and the Claimant Trustee
                     shall have agreed upon in writing, or (iii) the treatment provided to
                     Allowed Holders of Class 7 Convenience Claims if the Holder of such
                     Class 8 General Unsecured Claim is eligible and makes the Convenience
                     Class Election.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of the Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and

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                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any General
                     Unsecured Claim, except with respect to any General Unsecured Claim
                     Allowed by Final Order of the Bankruptcy Court.

                    Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                     Claims are entitled to vote to accept or reject the Plan.

                     “General Unsecured Claim” means any prepetition Claim against the
                     Debtor that is not Secured and is not a/an: (a) Administrative Expense
                     Claim; (b) Professional Fee Claim; (c) Priority Tax Claim; (d) Priority
                     Non-Tax Claim; or (e) Convenience Claim.

                     “Convenience Class Election” means the option provided to each Holder
                     of a General Unsecured Claim that is a liquidated Claim as of the
                     Confirmation Date on their Ballot to elect to reduce their claim to
                     $1,000,000 and receive the treatment provided to Convenience Claims.

         9.    Class 9 – Subordinated Claims

                    Classification: Class 9 consists of the Subordinated Claims.

                    Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 9 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive either (i) the treatment provided to Allowed Class 8 Claims or (ii)
                     if such Allowed Class 9 Claim is subordinated to the Convenience Claims
                     and General Unsecured Claims pursuant to 11 U.S.C. § 510 or Final Order
                     of the Bankruptcy Court, its Pro Rata share of the Subordinated Claimant
                     Trust Interests or (ii) such other less favorable treatment as to which such
                     Holder and the Claimant Trustee shall have agreed upon in writing.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of the Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any Subordinated
                     Claim, except with respect to any Subordinated Claim Allowed by Final
                     Order of the Bankruptcy Court.

                    Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                     Claims are entitled to vote to accept or reject the Plan.

                     “Subordinated Claim” means any Claim that (i) is or may be subordinated
                     to the Convenience Claims and General Unsecured Claims pursuant to 11
                     U.S.C. § 510 or Final Order of the Bankruptcy Court or (ii) arises from a



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                      Class A Limited Partnership Interest or a Class B/C Limited Partnership
                      Interest.

         10.   Class 10 – Class B/C Limited Partnership Interests

                     Classification: Class 10 consists of the Class B/C Limited Partnership
                      Interests.

                     Treatment: On or as soon as reasonably practicable after the Effective
                      Date, each Holder of an Allowed Class 10 Claim, in full satisfaction,
                      settlement, discharge and release of, and in exchange for, such Claim shall
                      receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                      (ii) such other less favorable treatment as to which such Holder and the
                      Claimant Trustee shall have agreed upon in writing.

                      Notwithstanding anything to the contrary herein, after the Effective Date
                      and subject to the other provisions of the Plan, the Debtor, the
                      Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                      will retain any and all rights and defenses under bankruptcy or
                      nonbankruptcy law that the Debtor had with respect to any Class B/C
                      Limited Partnership Interest Claim, except with respect to any Class B/C
                      Limited Partnership Interest Claim Allowed by Final Order of the
                      Bankruptcy Court.

                     Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                      Claims are entitled to vote to accept or reject the Plan.

         11.   Class 11 – Class A Limited Partnership Interests

                     Classification:   Class 11 consists of the Class A Limited Partnership
                      Interests.

                     Treatment: On or as soon as reasonably practicable after the Effective
                      Date, each Holder of an Allowed Class 11 Claim, in full satisfaction,
                      settlement, discharge and release of, and in exchange for, such Claim shall
                      receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                      (ii) such other less favorable treatment as to which such Holder and the
                      Claimant Trustee shall have agreed upon in writing.

                      Notwithstanding anything to the contrary herein, after the Effective Date
                      and subject to the other provisions of the Plan, the Debtor, the
                      Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                      will retain any and all rights and defenses under bankruptcy or
                      nonbankruptcy law that the Debtor had with respect to any Class A
                      Limited Partnership Interest, except with respect to any Class A Limited
                      Partnership Interest Allowed by Final Order of the Bankruptcy Court.


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                       Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                        Claims are entitled to vote to accept or reject the Plan.

  D.     Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
  rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
  legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

  E.     Subordinated Claims

         The allowance, classification, and treatment of all Claims under the Plan shall take into
  account and conform to the contractual, legal, and equitable subordination rights relating thereto,
  whether arising under general principles of equitable subordination, section 510(b) of the
  Bankruptcy Code, or otherwise. Under section 510 of the Bankruptcy Code, upon written notice,
  the Debtor the Reorganized Debtor, and the Claimant Trustee reserve the right to re-classify, or
  to seek to subordinate, any Claim in accordance with any contractual, legal, or equitable
  subordination relating thereto, and the treatment afforded any Claim under the Plan that becomes
  a subordinated Claim at any time shall be modified to reflect such subordination.

  F.     Means for Implementation of the Plan

         1.      Summary

          The Plan will be implemented through (i) the Claimant Trust, (ii) the Litigation Sub-
  Trust, and (iii) the Reorganized Debtor.

          On the Effective Date, all Class A Limited Partnership Interests, including the Class A
  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
  Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in
  the Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-
  chartered limited liability company wholly-owned by the Claimant Trust. The Claimant Trust,
  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized
  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized
  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as
  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited
  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current
  Limited Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be
  managed consistent with the terms of the Reorganized Limited Partnership Agreement by New
  GP LLC. The sole managing member of New GP LLC will be the Claimant Trust, and the
  Claimant Trustee will be the sole officer of New GP LLC on the Effective Date.

         Following the Effective Date, the Claimant Trust will administer the Claimant Trust
  Assets pursuant to the Plan and the Claimant Trust Agreement, and the Litigation Trustee will
  pursue, if applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust
  Agreement and the Plan. The Reorganized Debtor will administer the Reorganized Debtor
  Assets and, if needed, with the utilization of a Sub-Servicer, which administration will include,
  among other things, managing the wind down of the Managed Funds.

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          Although the Reorganized Debtor will manage the wind down of the Managed Funds, it
  is currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume
  or assume and assign the contracts between the Debtor and certain Related Entities pursuant to
  which the Debtor provides shared services and sub-advisory services to those Related Entities.
  The Debtor believes that the continued provision of the services under such contracts will not be
  cost effective.

          The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
  Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
  with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds
  of the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as
  set forth in the Plan and the Claimant Trust Agreement.

          2.       The Claimant Trust11

                   (a)     Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

           On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
  Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
  the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
  Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
  transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its
  rights, title, and interest in and to all of the Claimant Trust Assets, and in accordance with section
  1141 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant
  Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
  Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust
  Agreement, and such transfer shall be exempt from any stamp, real estate transfer, mortgage
  from any stamp, transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets,
  excluding the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect
  to the Estate Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
  6012(b)(3), as well as the representative of the Estate appointed pursuant to section
  1123(b)(3)(B) of the Bankruptcy Code with respect to the Claimant Trust Assets. The Claimant
  Trustee shall also be responsible for resolving all Claims and Equity Interests in Class 8 through
  Class 11, under the supervision of the Claimant Trust Oversight Committee.

          On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
  Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
  Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably
  transfer and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be
  governed by the Claimant Trust Agreement and administered by the Claimant Trustee. The
  powers, rights, and responsibilities of the Claimant Trustee shall be specified in the Claimant

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    In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and
  the Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust
  Agreement, as applicable, shall control.


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  Trust Agreement and shall include the authority and responsibility to, among other things, take
  the actions set forth in Article IV of the Plan, subject to any required reporting to the Claimant
  Trust Oversight Committee as may be set forth in the Claimant Trust Agreement. The Claimant
  Trust shall hold and distribute the Claimant Trust Assets (including the proceeds from the Estate
  Claims, if any) in accordance with the provisions of the Plan and the Claimant Trust Agreement;
  provided that the Claimant Trust Oversight Committee may direct the Claimant Trust to reserve
  Cash from distributions as necessary to fund the Claimant Trust and Litigation Sub-Trust. Other
  rights and duties of the Claimant Trustee and the Claimant Trust Beneficiaries shall be as set
  forth in the Claimant Trust Agreement. After the Effective Date, neither the Debtor nor the
  Reorganized Debtor shall have any interest in the Claimant Trust Assets.

          The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
  administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
  Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
  and responsibility to, among other things, take the actions set forth in Article IV of the Plan,
  subject to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The
  Litigation Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in
  accordance with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall
  distribute the proceeds therefrom to the Claimant Trust for distribution. Other rights and duties
  of the Litigation Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

                 (a)     Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
  Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
  Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be
  overseen by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust
  Agreement and the Litigation Sub-Trust Agreement, as applicable.

          The Claimant Trust Oversight Committee will initially consist of five members. Four of
  the five members will be representatives of the members of the Committee: (i) the Redeemer
  Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The
  fifth member will be an independent, natural Person chosen by the Committee and reasonably
  acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
  replaced as set forth in the Claimant Trust Agreement. The identity of the members of the
  Claimant Trust Oversight Committee will be disclosed in the Plan Supplement.

          As set forth in the Claimant Trust Agreement, in no event will any member of the
  Claimant Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine,
  or otherwise be involved in any matters related to such member’s Claim.

          The independent member(s) of the Claimant Trust Oversight Committee may be entitled
  to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
  the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
  set forth in the Claimant Trust Agreement.



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                (b)     Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
  the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the
  oversight of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and
  holding the limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole
  member and manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its
  capacity as the sole member and manager of New GP LLC, overseeing the management and
  monetization of the Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited
  Partnership Agreement; and (v) administering the Disputed Claims Reserve and serving as
  Distribution Agent with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile
  and object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited
  Partnership Interests, and Class A Limited Partnership Interests, as provided for in the Plan and
  the Claimant Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries
  in accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
  engage in the conduct of a trade or business.

          The purpose of the Reorganized Debtor is discussed at greater length in Article IV.C of
  the Plan.

                (c)     Purpose of the Litigation Sub-Trust.

          The Litigation Sub-Trust shall be established for the purpose of investigating,
  prosecuting, settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be
  distributed by the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant
  Trust Beneficiaries pursuant to the terms of the Claimant Trust Agreement.

                (d)     Claimant Trust Agreement and Litigation Sub-Trust Agreement.

         The Claimant Trust Agreement generally will provide for, among other things:
                       the payment of the Claimant Trust Expenses;
                       the payment of other reasonable expenses of the Claimant Trust;
                        the retention of employees, counsel, accountants, financial advisors, or
  other professionals and the payment of their reasonable compensation;
                        the investment of Cash by the Claimant Trustee within certain limitations,
  including those specified in the Plan;
                       the orderly monetization of the Claimant Trust Assets;
                       litigation of any Causes of Action, which may include the prosecution,
  settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
  oversight by the Claimant Trust Oversight Committee;
                        the resolution of Claims and Equity Interests in Class 8 through Class 11,
  subject to reporting and oversight by the Claimant Trust Oversight Committee;

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                     the administration of the Disputed Claims Reserve and distributions to be
  made therefrom; and
                       the management of the Reorganized Debtor, including the utilization of a
  Sub-Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
  be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust
  Agreement. The Claimant Trustee may establish a reserve for the payment of Claimant Trust
  Expenses and shall periodically replenish such reserve, as necessary.

          In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
  Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
  Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
  Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
  to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
  (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
  objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
  without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
  Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
  the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
  resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
  of the Litigation Trustee. In all circumstances, the Claimant Trustee shall act in the best interests
  of the Claimant Trust Beneficiaries and with the same fiduciary duties as a chapter 7 trustee.

         The Litigation Sub-Trust Agreement generally will provide for, among other things:
                        the payment of other reasonable expenses of the Litigation Sub-Trust;
                       the retention of employees, counsel, accountants, financial advisors, or
  other professionals and the payment of their reasonable compensation; and
                       the investigation and prosecution of Estate Claims, which may include the
  prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to
  reporting and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable,
  may each employ, without further order of the Bankruptcy Court, employees and other
  professionals (including those previously retained by the Debtor and the Committee) to assist in
  carrying out the Trustees’ duties hereunder and may compensate and reimburse the reasonable
  expenses of these professionals without further Order of the Bankruptcy Court from the Claimant
  Trust Assets in accordance with the Plan and the Claimant Trust Agreement.

          The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
  reasonable and customary provisions that allow for indemnification by the Claimant Trust in
  favor of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee.
  Any such indemnification shall be the sole responsibility of the Claimant Trust and payable
  solely from the Claimant Trust Assets.



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                (e)     Compensation and Duties of Trustees.

        The salient terms of each Trustee’s employment, including such Trustee’s duties and
  compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
  Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
  amount consistent with that of similar functionaries in similar types of bankruptcy cases.

                (f)     Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
  of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
  Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
  and Reorganized Debtor’s documents, information, and work product relating to the Claimant
  Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall
  reasonably cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their
  prosecution of Causes of Action and in providing the Claimant Trustee and Litigation Trustee
  with copies of documents and information in the Debtor’s possession, custody, or control on the
  Effective Date that either Trustee indicates relates to the Estate Claims or other Causes of
  Action.

         The Debtor and Reorganized Debtor shall preserve all records, documents or work
  product (including all electronic records, documents, or work product) related to the Claims and
  Causes of Action, including Estate Claims, until the earlier of (a) the dissolution of the
  Reorganized Debtor or (b) termination of the Claimant Trust and Litigation Sub-Trust.

                (g)     United States Federal Income Tax Treatment of the Claimant Trust.

          Unless the IRS requires otherwise, for all United States federal income tax purposes, the
  parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a
  transfer of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims
  Reserve, if the Claimant Trustee makes the election described in Section 7 below) directly to the
  applicable Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust
  Beneficiaries to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant
  Trust Interests. Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for
  United States federal income tax purposes as the grantors and owners of their respective share of
  the Claimant Trust Assets. The foregoing treatment shall also apply, to the extent permitted by
  applicable law, for state and local income tax purposes.

                (h)     Tax Reporting.

          The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
  Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
  may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
  Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal
  income tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

          The Claimant Trustee shall be responsible for payment, out of the Claimant Trust Assets,
  of any taxes imposed on the Claimant Trust or its assets.

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          The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
  as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
  and such valuation shall be used consistently for all federal income tax purposes.

         The Claimant Trustee shall distribute such tax information to the applicable Claimant
  Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

                 (i)     Claimant Trust Assets.

          The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
  institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
  Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without
  any further order of the Bankruptcy Court and the Claimant Trustee shall have the exclusive
  right, on behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust
  Assets, except as otherwise provided in the Plan or in the Claimant Trust Agreement, without
  any further order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the
  Litigation Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon,
  settle, compromise, release, or withdraw any and all Estate Claims included in the Claimant
  Trust Assets without any further order of the Bankruptcy Court.

          From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3)
  and (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
  representative of the Estate with respect to any and all Claimant Trust Assets, including the
  Causes of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a)
  commence, pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action
  in any court or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust
  Assets.

                 (j)     Claimant Trust Expenses.

         From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
  business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
  professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
  professionals retained by such parties and entities from the Claimant Trust Assets, except as
  otherwise provided in the Claimant Trust Agreement.

                 (k)     Trust Distributions to Claimant Trust Beneficiaries.

          The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant
  Trust Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof,
  provided that such Trust Distributions or use is otherwise permitted under the terms of the Plan,
  the Claimant Trust Agreement, and applicable law.

                 (l)     Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
  invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
  the terms of the Claimant Trust Agreement; provided, however, that such investments are

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  investments permitted to be made by a “liquidating trust” within the meaning of Treasury
  Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines,
  rulings or other controlling authorities.

                 (m)     Dissolution of the Claimant Trust and Litigation Sub-Trust.

          The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
  dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the
  pursuit of Estate Claims is not likely to yield sufficient additional proceeds to justify further
  pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of
  Action (other than Estate Claims) is not likely to yield sufficient additional proceeds to justify
  further pursuit of such Causes of Action, (c) the Clamant Trustee determines that the pursuit of
  sales of other Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify
  further pursuit of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and
  Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all
  Distributions required to be made by the Claimant Trustee to the Claimant Trust Beneficiaries
  under the Plan have been made, but in no event shall the Claimant Trust be dissolved later than
  three years from the Effective Date unless the Bankruptcy Court, upon motion made within the
  six-month period before such third anniversary (and, in the event of further extension, by order
  of the Bankruptcy Court, upon motion made at least six months before the end of the preceding
  extension), determines that a fixed period extension (not to exceed two years, together with any
  prior extensions, without a favorable letter ruling from the Internal Revenue Service or an
  opinion of counsel that any further extension would not adversely affect the status of the
  Claimant Trust as a liquidating trust for federal income tax purposes) is necessary to facilitate or
  complete the recovery on, and liquidation of, the Claimant Trust Assets; provided, however, that
  each extension must be approved, upon a finding that the extension is necessary to facilitate or
  complete the recovery on, and liquidation of the Claimant Trust Assets, by the Bankruptcy Court
  within 6 months of the beginning of the extended term and no extension, together with any prior
  extensions, shall exceed three years without a favorable letter ruling from the Internal Revenue
  Service or an opinion of counsel that any further extension would not adversely affect the status
  of the Claimant Trust as a liquidating trust for federal income tax purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
  any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
  will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the
  Holders of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

         3.      The Reorganized Debtor

                 (a)     Corporate Existence

         The Debtor will continue to exist after the Effective Date, with all of the powers of
  partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
  Limited Partnership Agreement.




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                 (b)    Cancellation of Equity Interests and Release

          On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
  Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
  canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of,
  or based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
  obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s
  formation documents, including the Limited Partnership Agreement.

                 (c)    Issuance of New Partnership Interests

          On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
  new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
  New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
  the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
  The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
  of the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner,
  and New GP LLC, as general partner, will execute the Reorganized Limited Partnership
  Agreement and receive partnership interests in the Reorganized Debtor consistent with the terms
  of the Reorganized Limited Partnership Agreement.

                 (d)    Management of the Reorganized Debtor

           Subject to and consistent with the terms of the Reorganized Limited Partnership
  Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
  initial officers and employees of the Reorganized Debtor shall be selected by the Claimant
  Trustee. The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to
  or in lieu of the retention of officers and employees.

           As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will
  receive a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited
  liability company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New
  GP LLC (and any taxable income attributable to it) will be subject to corporate income taxation
  on a standalone basis, which may reduce the return to Claimants.

                 (e)    Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided in the Plan or the Confirmation Order, on or after the
  Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
  of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the
  Bankruptcy Code except with respect to such Liens, Claims, charges and other encumbrances
  that are specifically preserved under the Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
  for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
  the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to
  the Reorganized Debtor Assets.


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                 (f)     Purpose of the Reorganized Debtor

         Except as may be otherwise provided in the Plan or the Confirmation Order, the
  Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall
  include, for the avoidance of doubt, serving as the investment manager of the Managed Funds)
  and may use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any
  Claims with respect to the Reorganized Debtor Assets without supervision or approval by the
  Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The
  Reorganized Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

          Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
  after the Effective Date for Professionals’ fees, disbursements, expenses or related support
  services (including reasonable fees relating to the preparation of Professional fee applications) in
  the ordinary course of business and without application or notice to, or order of, the Bankruptcy
  Court

                 (g)   Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                  Reorganized Debtor Assets

          Any proceeds received by the Reorganized Debtor will be distributed to the Claimant
  Trust, as limited partner, and New GP LLC, as general partner, in the manner set forth in the
  Reorganized Limited Partnership Agreement. As set forth in the Reorganized Limited
  Partnership Agreement, the Reorganized Debtor may, from time to time distribute Reorganized
  Debtor Assets to the Claimant Trust either in Cash or in-kind, including to institute the wind-
  down and dissolution of the Reorganized Debtor. Any assets distributed to the Claimant Trust
  will be (i) deemed transferred in all respects as forth in Article IV.B.1 of the Plan, (ii) deemed
  Claimant Trust Assets, and (iii) administered as Claimant Trust Assets.

         4.      Company Action

          Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take
  any and all actions to execute, deliver, File or record such contracts, instruments, releases and
  other agreements or documents and take such actions as may be necessary or appropriate to
  effectuate and implement the provisions of the Plan, the Claimant Trust Agreement, the
  Reorganized Limited Partnership Agreement, or the New GP LLC Documents, as applicable, in
  the name of and on behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable,
  and in each case without further notice to or order of the Bankruptcy Court, act or action under
  applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, officers, or directors of the Debtor or the
  Reorganized Debtor, as applicable, or by any other Person.

          Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
  to the Plan that would otherwise require approval of the stockholders, partners, directors,
  managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
  the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
  after the Effective Date (as appropriate) pursuant to applicable law and without any requirement


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  of further action by the stockholders, partners, directors, managers or members of such Persons,
  or the need for any approvals, authorizations, actions or consents of any Person.

          All matters provided for in the Plan involving the legal or corporate structure of the
  Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate
  action required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in
  connection with the Plan, will be deemed to have occurred and will be in full force and effect in
  all respects, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, partners, directors, managers, or members of
  the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person.
  On the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
  applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
  transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
  consents, securities, certificates, resolutions and instruments contemplated by or described in the
  Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
  Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
  Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing
  actions.

         5.      Release of Liens, Claims and Equity Interests

          Except as otherwise provided in the Plan or in any contract, instrument, release or other
  agreement or document entered into or delivered in connection with the Plan, from and after the
  Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
  Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
  property of the Estate will be fully released, terminated, extinguished and discharged, in each
  case without further notice to or order of the Bankruptcy Court, act or action under applicable
  law, regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any
  Entity holding such Liens or Equity Interests extinguished pursuant to the prior sentence will,
  pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor,
  the Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
  release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
  the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
  doubt, this section is in addition to, and shall not be read to limit in any respects, Article IV.C.2
  of the Plan.

         6.      Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under the Plan and except as
  otherwise set forth in the Plan, on the Effective Date, all agreements, instruments, Securities and
  other documents evidencing any prepetition Claim or Equity Interest and any rights of any
  Holder in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The
  holders of or parties to such cancelled instruments, Securities, and other documentation will have
  no rights arising from or related to such instruments, Securities, or other documentation or the

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  cancellation thereof, except the rights provided for pursuant to the Plan, and the obligations of
  the Debtor thereunder or in any way related thereto will be fully released, terminated,
  extinguished and discharged, in each case without further notice to or order of the Bankruptcy
  Court, act or action under applicable law, regulation, order, or rule or any requirement of further
  action, vote or other approval or authorization by any Person. For the avoidance of doubt, this
  section is in addition to, and shall not be read to limit in any respects, Article IV.C.2 of the Plan.

         7.      Cancellation of Existing Instruments Governing Security Interests

  Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
  promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver
  to the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or
  other property of the Debtor held by such Holder, together with any termination statements,
  instruments of satisfaction, or releases of all security interests with respect to its Allowed Class 1
  or Allowed Class 2 Claim that may be reasonably required to terminate any related financing
  statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or
  documents.

         8.      Control Provisions

          To the extent that there is any inconsistency between the Plan as it relates to the Claimant
  Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
  Partnership Agreement, the Plan shall control.

         9.      Treatment of Vacant Classes

          Any Claim or Equity Interest in a Class considered vacant under Article III.C of the Plan
  shall receive no Plan Distributions.

         10.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any
  documents filed with the Plan Supplement, and any amendments, restatements, supplements, or
  other modifications to such documents, and any consents, waivers, or other deviations under or
  from any such documents, shall be incorporated herein by this reference (including to the
  applicable definitions in Article I of the Plan) and fully enforceable as if stated in full herein.

         11.     Highland Capital Management, L.P. Retirement Plan and Trust

          The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
  single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
  the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
  members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
  1301(a)(13), (14) with respect to the Pension Plan.

         Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
  Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal

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  Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
  standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
  premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
  in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
  Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
  the Reorganized Debtor and each of its controlled group members will be responsible for the
  liabilities imposed by Title IV of ERISA.

          Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
  Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order,
  or the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
  Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
  responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
  regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
  enforcing such liability or responsibility against any person or entity as a result of any of the
  provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves
  the right to contest any such liability or responsibility.

  A.     Treatment of Executory Contracts and Unexpired Leases

         1.      Assumption, Assignment, or Rejection of Executory Contracts and Unexpired
                 Leases

           Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or
  rejected by the Debtor pursuant to a Final Order of the Bankruptcy Court entered prior to the
  Effective Date; (ii) previously expired or terminated pursuant to its own terms or by agreement
  of the parties thereto; (iii) is the subject of a motion to assume filed by the Debtor on or before
  the Confirmation Date; (iv) contains a change of control or similar provision that would be
  triggered by the Chapter 11 Case (unless such provision has been irrevocably waived); or (v) is
  specifically designated as a contract or lease to be assumed in the Plan Supplement, on the
  Effective Date, each Executory Contract and Unexpired Lease shall be deemed rejected pursuant
  to section 365 of the Bankruptcy Code, without the need for any further notice to or action,
  order, or approval of the Bankruptcy Court, unless such Executory Contract or Unexpired Lease
  is listed in the Plan Supplement.

          At any time on or prior to the Effective Date, the Debtor may (i) amend the Plan
  Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
  or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as
  determined by the Debtor in consultation with the Committee, or the Reorganized Debtor, as
  applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
  above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
  provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
  Executory Contract or Unexpired Lease shall include all modifications, amendments,
  supplements, restatements, or other agreements related thereto, and all rights related thereto.
  Modifications, amendments, supplements, and restatements to prepetition Executory Contracts

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  and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall
  not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
  validity, priority, or amount of any Claims that may arise in connection therewith. To the extent
  applicable, no change of control (or similar provision) will be deemed to occur under any such
  Executory Contract or Unexpired Lease.

           If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
  Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that
  such counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed
  pursuant to the Plan are severable agreements that are not integrated with those Executory
  Contracts and/or Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking
  to contest this finding with respect to their Executory Contracts and/or Unexpired Leases must
  file a timely objection to the Plan on the grounds that their agreements are integrated and not
  severable, and any such dispute shall be resolved by the Bankruptcy Court at the Confirmation
  Hearing (to the extent not resolved by the parties prior to the Confirmation Hearing).

          Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
  certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
  headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
  accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),
  as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
  Unexpired Nonresidential Real Property Lease [D.I. 1122].

         2.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
  Effective Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
  asserting a Rejection Claim shall File a proof of claim within thirty days of the Effective Date.
  Any Rejection Claims that are not timely Filed pursuant to the Plan shall be forever disallowed
  and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
  objection to any Rejection Claim.

         Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
  accordance with Article III of the Plan.

         3.      Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
                 Leases

          Any monetary amounts by which any Executory Contract or Unexpired Lease to be
  assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
  Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the
  default amount in Cash as and when due in the ordinary course or on such other terms as the
  parties to such Executory Contracts may otherwise agree. The Debtor may serve a notice on the
  Committee and parties to Executory Contracts or Unexpired Leases to be assumed or assigned
  reflecting the Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory
  Contract or Unexpired Lease in connection with the Plan and setting forth the proposed cure
  amount (if any).

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         If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
  the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
  performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
  Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
  assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
  Code will be made following the entry of a Final Order or orders resolving the dispute and
  approving the assumption or assignment.

          Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
  Plan or otherwise and full payment of any applicable cure amounts pursuant to Article V.C of the
  Plan shall result in the full release and satisfaction of any cure amounts, Claims, or defaults,
  whether monetary or nonmonetary, including defaults of provisions restricting the change in
  control or ownership interest composition or other bankruptcy-related defaults, arising under any
  assumed or assigned Executory Contract or Unexpired Lease at any time prior to the effective
  date of assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts
  or Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including
  pursuant to the Confirmation Order, and for which any cure amounts have been fully paid
  pursuant to Article V.C of the Plan, shall be deemed disallowed and expunged as of the Effective
  Date without the need for any objection thereto or any further notice to or action, order, or
  approval of the Bankruptcy Court.

  B.     Provisions Governing Distributions

         1.      Dates of Distributions

          Except as otherwise provided in the Plan, on the Effective Date or as soon as reasonably
  practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
  Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity
  Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or
  Equity Interest against the Debtor shall receive the full amount of the distributions that the Plan
  provides for Allowed Claims or Allowed Equity Interests in the applicable Class and in the
  manner provided herein. If any payment or act under the Plan is required to be made or
  performed on a date that is not on a Business Day, then the making of such payment or the
  performance of such act may be completed on the next succeeding Business Day, but shall be
  deemed to have been completed as of the required date. If and to the extent there are Disputed
  Claims or Equity Interests, distributions on account of any such Disputed Claims or Equity
  Interests shall be made pursuant to the provisions provided in the Plan. Except as otherwise
  provided in the Plan, Holders of Claims and Equity Interests shall not be entitled to interest,
  dividends or accruals on the distributions provided for therein, regardless of whether
  distributions are delivered on or at any time after the Effective Date.

          Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be
  deemed fixed and adjusted pursuant to the Plan and none of the Debtor, the Reorganized Debtor,
  or the Claimant Trust will have liability on account of any Claims or Equity Interests except as
  set forth in the Plan and in the Confirmation Order. All payments and all distributions made by
  the Distribution Agent under the Plan shall be in full and final satisfaction, settlement and release
  of all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

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          At the close of business on the Distribution Record Date, the transfer ledgers for the
  Claims against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall
  be no further changes in the record holders of such Claims and Equity Interests. The Debtor, the
  Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective
  agents, successors, and assigns shall have no obligation to recognize the transfer of any Claims
  against the Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date
  and shall be entitled instead to recognize and deal for all purposes hereunder with only those
  record holders stated on the transfer ledgers as of the close of business on the Distribution
  Record Date irrespective of the number of distributions to be made under the Plan to such
  Persons or the date of such distributions.

         2.      Distribution Agent

         Except as provided herein, all distributions under the Plan shall be made by the Claimant
  Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
  Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
  Distribution Agent with respect to Claims in Class 1 through Class 7.

         The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
  Distribution Agent, shall not be required to give any bond or surety or other security for the
  performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
  Court.

         The Distribution Agent shall be empowered to (a) effect all actions and execute all
  agreements, instruments, and other documents necessary to perform its duties under the Plan;
  (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
  respect to its responsibilities; and (d) exercise such other powers as may be vested in the
  Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
  Distribution Agent to be necessary and proper to implement the provisions of the Plan.

          The Distribution Agent shall not have any obligation to make a particular distribution to a
  specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

         3.      Cash Distributions

         Distributions of Cash may be made by wire transfer from a domestic bank, except that
  Cash payments made to foreign creditors may be made in such funds and by such means as the
  Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

         4.      Disputed Claims Reserve

         On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
  maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts
  on account of any Disputed Claims.

         As used above, “Disputed Claims Reserve” means the appropriate reserve(s) or
  account(s) to be established on the Initial Distribution Date and maintained by the Claimant


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  Trustee for distributions on account of Disputed Claims that may subsequently become an
  Allowed Claim.

          “Disputed Claims Reserve Amount” means, for purposes of determining the Disputed
  Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a Disputed
  Claim at the time any distributions of Cash are made to the Holders of Allowed Claims. The
  amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall be:
  (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b) the
  amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized
  Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
  disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
  Court, including an order estimating the Disputed Claim.

         HarbourVest and Mr. Daugherty have objected to the mechanisms for calculating the
  amount of the Disputed Claims Reserve with respect to the HarbourVest Claim and the
  Daugherty Claim, respectively, and intend to press their objections at the hearing for
  confirmation of the Plan.

         5.      Distributions from the Disputed Claims Reserve

          The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
  Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
  pursuant to the terms of the Plan, within 30 days of the date on which such Disputed Claim
  becomes an Allowed Claim pursuant to the terms of the Plan, the Claimant Trustee shall
  distribute from the Disputed Claims Reserve to the Holder thereof any prior distributions, in
  Cash, that would have been made to such Allowed Claim if it had been Allowed as of the
  Effective Date. For the avoidance of doubt, each Holder of a Disputed Claim that subsequently
  becomes an Allowed Claim will also receive its Pro Rata share of the Claimant Trust Interests.
  If, upon the resolution of all Disputed Claims any Cash remains in the Disputed Claims Reserve,
  such Cash shall be transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

         6.      Rounding of Payments

          Whenever the Plan would otherwise call for, with respect to a particular Person, payment
  of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such
  fraction to the nearest whole dollar (up or down), with half dollars being rounded down. To the
  extent that Cash to be distributed under the Plan remains undistributed as a result of the
  aforementioned rounding, such Cash or stock shall be treated as “Unclaimed Property” under the
  Plan.

         7.      De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under the Plan, none of the Debtor,
  the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
  Distributions with a value of less than $100, unless a written request therefor is received by the
  Distribution Agent from the relevant recipient at the addresses set forth in Article VI.I of the
  Plan within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes
  an Allowed Claim. De minimis distributions for which no such request is timely received shall
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  revert to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim
  on account of missed distributions) shall be automatically deemed satisfied, discharged and
  forever barred, notwithstanding any federal or state escheat laws to the contrary.

         8.      Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in the Plan,
  all distributions shall be made pursuant to the terms of the Plan and the Confirmation Order.
  Except as otherwise provided in the Plan, distributions to any Holder of an Allowed Claim shall,
  to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
  determined for U.S. federal income tax purposes and then, to the extent the consideration
  exceeds such amount, to the remainder of such Claim comprising accrued but unpaid interest, if
  any (but solely to the extent that interest is an allowable portion of such Allowed Claim).

         9.      General Distribution Procedures

          The Distribution Agent shall make all distributions of Cash or other property required
  under the Plan, unless the Plan specifically provides otherwise. All Cash and other property held
  by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
  distribution under the Plan shall not be subject to any claim by any Person.

         10.     Address for Delivery of Distributions

          Distributions to Holders of Allowed Claims, to the extent provided for under the Plan,
  shall be made (1) at the addresses set forth in any written notices of address change delivered to
  the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed
  by such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3)
  at the addresses in the Debtor’s books and records.

          If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
  the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
  the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

         11.     Undeliverable Distributions and Unclaimed Property

          If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
  Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such
  Holder, and Distribution Agent shall not have any obligation to make any further distribution to
  the Holder, unless and until the Distribution Agent is notified in writing of such Holder’s then
  current address.

          Any Entity that fails to claim any Cash within six months from the date upon which a
  distribution is first made to such Entity shall forfeit all rights to any distribution under the Plan
  and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
  purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
  whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
  any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.


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         12.     Withholding Taxes

          In connection with the Plan, to the extent applicable, the Distribution Agent shall comply
  with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
  and all distributions made pursuant to the Plan shall be subject to such withholding and reporting
  requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
  withholding taxes from any Cash payments made with respect to Allowed Claims, as
  appropriate. As a condition to receiving any distribution under the Plan, the Distribution Agent
  may require that the Holder of an Allowed Claim entitled to receive a distribution pursuant to the
  Plan provide such Holder’s taxpayer identification number and such other information and
  certification as may be deemed necessary for the Distribution Agent to comply with applicable
  tax reporting and withholding laws. If a Holder fails to comply with such a request within one
  year, such distribution shall be deemed an unclaimed distribution. Any amounts withheld
  pursuant hereto shall be deemed to have been distributed to and received by the applicable
  recipient for all purposes of the Plan.

         13.     Setoffs

          The Distribution Agent may, to the extent permitted under applicable law, set off against
  any Allowed Claim and any distributions to be made pursuant to the Plan on account of such
  Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
  Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed
  Claim that are not otherwise waived, released or compromised in accordance with the Plan;
  provided, however, that neither such a setoff nor the allowance of any Claim hereunder shall
  constitute a waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of
  any such claims, rights and causes of action that the Debtor, the Reorganized Debtor, or
  Claimant Trustee possesses against such Holder. Any Holder of an Allowed Claim subject to
  such setoff reserves the right to challenge any such setoff in the Bankruptcy Court or any other
  court with jurisdiction with respect to such challenge.

         14.     Surrender of Cancelled Instruments or Securities

         As a condition precedent to receiving any distribution pursuant to the Plan on account of
  an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
  Article IV of the Plan, the Holder of such Claim will tender the applicable negotiable
  instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
  negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
  have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.

         15.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
  Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
  mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required
  by the Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the
  Distribution Agent of such loss, theft, mutilation, or destruction; and (ii) such security or
  indemnity as may be required by the Distribution Agent to hold such party harmless from any

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  damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed
  Claim or Equity Interest. Upon compliance with Article VI.O of the Plan as determined by the
  Distribution Agent, by a Holder of a Claim evidenced by a security or note, such Holder will, for
  all purposes under the Plan, be deemed to have surrendered such security or note to the
  Distribution Agent.

  C.     Procedures for Resolving Contingent, Unliquidated and Disputed Claims

         1.     Filing of Proofs of Claim

         Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
  unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
  required to file a Proof of Claim on or prior to the Bar Date.

         2.     Disputed Claims

          Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
  applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
  Claim or Disputed Equity Interest or any other appropriate motion or adversary proceeding with
  respect thereto, which shall be litigated to Final Order or, at the discretion of the Reorganized
  Debtor or Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without
  further order of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation
  Order, the Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or
  withdraw any objections to, any Disputed Claim or Disputed Equity Interests following the
  Effective Date without further notice to creditors (other than the Entity holding such Disputed
  Claim or Disputed Equity Interest) or authorization of the Bankruptcy Court, in which event such
  Claim or Equity Interest shall be deemed to be an Allowed Claim or Equity Interest in the
  amount compromised for purposes of the Plan.

         3.     Procedures Regarding Disputed Claims or Disputed Equity Interests

          No payment or other distribution or treatment shall be made on account of a Disputed
  Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity
  Interest becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim
  or Equity Interest, as applicable, is determined by order of the Bankruptcy Court or by
  stipulation between the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of
  the Claim or Equity Interest.

         4.     Allowance of Claims and Equity Interests

          Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
  Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
  distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

                        Allowance of Claims

         After the Effective Date and subject to the other provisions of the Plan, the Reorganized
  Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and

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  defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
  Except as expressly provided in the Plan or in any order entered in the Chapter 11 Case prior to
  the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
  Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
  Interest is deemed Allowed under the Plan or the Bankruptcy Code or the Bankruptcy Court has
  entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
  allowing such Claim or Equity Interest.

                         Estimation

           Subject to the other provisions of the Plan, the Debtor, prior to the Effective Date, and the
  Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
  time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
  Interest pursuant to applicable law and in accordance with the Plan and (b) any contingent or
  unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of
  the Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157
  and 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or
  unliquidated Claim, including during the litigation concerning any objection to any Claim or
  Equity Interest or during the pendency of any appeal relating to any such objection. All of the
  aforementioned objection, estimation and resolution procedures are cumulative and not exclusive
  of one another. Claims or Equity Interests may be estimated and subsequently compromised,
  settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court. The rights
  and objections of all parties are reserved in connection with any such estimation proceeding.

                         Disallowance of Claims

          Any Claims or Equity Interests held by Entities from which property is recoverable under
  sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
  avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
  Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and
  holders of such Claims or Interests may not receive any distributions on account of such Claims
  or Interests until such time as such Causes of Action against that Entity have been settled or a
  Bankruptcy Court Order with respect thereto has been entered and all sums due, if any, to the
  Reorganized Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or
  paid to the Reorganized Debtor or the Claimant Trust, as applicable.

       EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
  DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,
  ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
  DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
  WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
  THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
  RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
  LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL
  ORDER.



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  D.     Effectiveness of the Plan

         1.      Conditions Precedent to the Effective Date

          The Effective Date of the Plan will be conditioned upon the satisfaction or waiver by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
  Article VIII.B of the Plan of the following:

             the Plan and the Plan Documents, including the Claimant Trust Agreement and the
              Reorganized Limited Partnership Agreement, and all schedules, documents,
              supplements and exhibits to the Plan shall have been Filed in form and substance
              reasonably acceptable to the Debtor and the Committee.

             The Confirmation Order shall have been entered, not subject to stay pending appeal,
              and shall be in form and substance reasonably acceptable to the Debtor and the
              Committee. The Confirmation Order shall provide that, among other things, (i) the
              Debtor, the Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee are
              authorized to take all actions necessary or appropriate to effectuate and consummate
              the Plan, including, without limitation, (a) entering into, implementing, effectuating,
              and consummating the contracts, instruments, releases, and other agreements or
              documents created in connection with or described in the Plan, (b) assuming the
              Executory Contracts and Unexpired Leases set forth in the Plan Supplement, (c)
              making all distributions and issuances as required under the Plan; and (d) entering
              into any transactions as set forth in the Plan Documents; (ii) the provisions of the
              Confirmation Order and the Plan are nonseverable and mutually dependent; (iii) the
              implementation of the Plan in accordance with its terms is authorized; (iv) pursuant to
              section 1146 of the Bankruptcy Code, the delivery of any deed or other instrument or
              transfer order, in furtherance of, or in connection with the Plan, including any deeds,
              bills of sale, or assignments executed in connection with any disposition or transfer of
              Assets contemplated under the Plan, shall not be subject to any Stamp or Similar Tax;
              and (v) the vesting of the Claimant Trust Assets in the Claimant Trust and the
              Reorganized Debtor Assets in the Reorganized Debtor, in each case as of the
              Effective Date free and clear of liens and claims to the fullest extent permissible
              under applicable law pursuant to section 1141(c) of the Bankruptcy Code except with
              respect to such Liens, Claims, charges and other encumbrances that are specifically
              preserved under the Plan upon the Effective Date.

             All documents and agreements necessary to implement the Plan, including without
              limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust
              Agreement, and the New GP LLC Documents, in each case in form and substance
              reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
              for delivery, and (b) been effected by, executed by, or otherwise deemed binding
              upon, all Entities party thereto and shall be in full force and effect. All conditions
              precedent to such documents and agreements shall have been satisfied or waived
              pursuant to the terms of such documents or agreements.


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             All authorizations, consents, actions, documents, approvals (including any
              governmental approvals), certificates and agreements necessary to implement the
              Plan, including, without limitation, the Reorganized Limited Partnership Agreement,
              the Claimant Trust Agreement, and the New GP LLC Documents, shall have been
              obtained, effected or executed and delivered to the required parties and, to the extent
              required, filed with the applicable governmental units in accordance with applicable
              laws and any applicable waiting periods shall have expired without any action being
              taken or threatened by any competent authority that would restrain or prevent
              effectiveness or consummation of the Restructuring.

             The Professional Fee Reserve shall be funded pursuant to the Plan in an amount
              determined by the Debtor in good faith.

         2.      Waiver of Conditions

          The conditions to effectiveness of the Plan set forth in Article VIII of the Plan (other than
  that the Confirmation Order shall have been entered) may be waived in whole or in part by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee), without notice, leave or order of the Bankruptcy Court or any formal action
  other than proceeding to confirm or effectuate the Plan. The failure to satisfy or waive a
  condition to the Effective Date may be asserted by the Debtor regardless of the circumstances
  giving rise to the failure of such condition to be satisfied. The failure of the Debtor to exercise
  any of the foregoing rights will not be deemed a waiver of any other rights, and each right will be
  deemed an ongoing right that may be asserted at any time by the Debtor, the Reorganized
  Debtor, or the Claimant Trust, as applicable.

         3.      Effect of Non-Occurrence of Conditions to Effectiveness

         Unless waived as set forth in Article VIII.B of the Plan, if the Effective Date of the Plan
  does not occur within twenty calendar days of entry of the Confirmation Order, the Debtor may
  withdraw the Plan and, if withdrawn, the Plan shall be of no further force or effect.

         4.      Dissolution of the Committee

          On the Effective Date, the Committee will dissolve, and the members of the Committee
  and the Committee’s Professionals will cease to have any role arising from or relating to the
  Chapter 11 Case, except in connection with final fee applications of Professionals for services
  rendered prior to the Effective Date (including the right to object thereto). The Professionals
  retained by the Committee and the members thereof will not be entitled to assert any fee claims
  for any services rendered to the Committee or expenses incurred in the service of the Committee
  after the Effective Date, except for reasonable fees for services rendered, and actual and
  necessary costs incurred, in connection with any applications for allowance of Professional Fees
  pending on the Effective Date or filed and served after the Effective Date pursuant to the Plan.
  Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or Committee’s
  Professionals to represent either of the Trustees or to be compensated or reimbursed per the Plan
  and the Claimant Trust Agreement in connection with such representation.


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  E.     Exculpation, Injunction, and Related Provisions

         1.      General

          Notwithstanding anything contained in the Plan to the contrary, the allowance,
  classification and treatment of all Allowed Claims and Equity Interests and their respective
  distributions and treatments under the Plan shall take into account the relative priority and rights
  of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
  equitable subordination rights relating thereto whether arising under general principles of
  equitable subordination, section 510 of the Bankruptcy Code, or otherwise.

         For purposes of the following provisions:

             “Exculpated Parties” means, collectively, (i) the Debtor and its successors and
              assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii)
              the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee, (vi)
              the members of the Committee (in their official capacities), (vii) the Professionals
              retained by the Debtor and the Committee in the Chapter 11 Case, (viii) the
              CEO/CRO; and (ix) the Related Persons of each of the parties listed in (iv) through
              (viii); provided, however, that, for the avoidance of doubt, none of James Dondero,
              Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and managed
              entities), the Charitable Donor Advised Fund, L.P. (and any of its subsidiaries,
              including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
              (and any of its subsidiaries, members, and managed entities), Highland Capital
              Management Fund Advisors, L.P. (and any of its subsidiaries and managed entities),
              NexBank, SSB (and any of its subsidiaries), the Hunter Mountain Investment Trust
              (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee
              acting for the trust), or Grant Scott is included in the term “Exculpated Party.”

             “Released Parties” means, collectively, (i) the Independent Directors; (ii) Strand
              (solely from the date of the appointment of the Independent Directors through the
              Effective Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the
              Committee (in their official capacities), (vi) the Professionals retained by the Debtor
              and the Committee in the Chapter 11 Case; and (vii) the Employees.

             “Protected Parties” means, collectively, (i) the Debtor and its successors and assigns,
              direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
              Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors,
              (vi) the Committee, (vii) the members of the Committee (in their official capacities),
              (viii) the Claimant Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi)
              the Litigation Trustee, (xii) the members of the Claimant Trust Oversight Committee
              (in their official capacities), (xiii) New GP LLC, (xiv) the Professionals retained by
              the Debtor and the Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi)
              the Related Persons of each of the parties listed in (iv) through (xv); provided,
              however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
              NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the
              Charitable Donor Advised Fund, L.P. (and any of its subsidiaries, including CLO

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              Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd. (and any of its
              subsidiaries, members, and managed entities), NexBank, SSB (and any of its
              subsidiaries), Highland Capital Management Fund Advisors, L.P. (and any of its
              subsidiaries and managed entities), the Hunter Mountain Investment Trust (or any
              trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
              the trust), or Grant Scott is included in the term “Protected Party.”

         2. Discharge of Claims

          To the fullest extent provided under section 1141(d)(1)(A) and other applicable
  provisions of the Bankruptcy Code, except as otherwise expressly provided by the Plan or the
  Confirmation Order, all consideration distributed under the Plan will be in exchange for, and in
  complete satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of
  any kind or nature whatsoever against the Debtor or any of its Assets or properties, and
  regardless of whether any property will have been distributed or retained pursuant to the Plan on
  account of such Claims or Equity Interests. Except as otherwise expressly provided by the Plan
  or the Confirmation Order, upon the Effective Date, the Debtor and its Estate will be deemed
  discharged and released under and to the fullest extent provided under section 1141(d)(1)(A) and
  other applicable provisions of the Bankruptcy Code from any and all Claims and Equity Interests
  of any kind or nature whatsoever, including, but not limited to, demands and liabilities that arose
  before the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or
  502(i) of the Bankruptcy Code.

         3.      Exculpation

          Subject in all respects to Article XII.D of the Plan, to the maximum extent permitted by
  applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
  exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
  Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in
  connection with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
  negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
  confirmation of, the Plan; (iii) the funding or consummation of the Plan (including the Plan
  Supplement) or any related agreements, instruments, or other documents, the solicitation of votes
  on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be issued
  pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan
  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any
  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);
  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated
  Party arising out of or related to acts or omissions that constitute bad faith, fraud, gross
  negligence, criminal misconduct, or willful misconduct or (b) Strand or any Employee other than
  with respect to actions taken by such Entities from the date of appointment of the Independent
  Directors through the Effective Date. This exculpation shall be in addition to, and not in
  limitation of, all other releases, indemnities, exculpations, any other applicable law or rules, or
  any other provisions of the Plan, including Article IV.C.2 of the Plan, protecting such Exculpated
  Parties from liability.



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         4.      Releases by the Debtor

          On and after the Effective Date, each Released Party is deemed to be, hereby
  conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by
  the Debtor and the Estate, in each case on behalf of themselves and their respective successors,
  assigns, and representatives, including, but not limited to, the Claimant Trust and the Litigation
  Sub-Trust from any and all Causes of Action, including any derivative claims, asserted on behalf
  of the Debtor, whether known or unknown, foreseen or unforeseen, matured or unmatured,
  existing or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtor or the
  Estate would have been legally entitled to assert in their own right (whether individually or
  collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor or other
  Person.

          Notwithstanding anything contained herein to the contrary, the foregoing release does not
  release: (i) any obligations of any party under the Plan or any document, instrument, or
  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee
  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect
  to any confidentiality provisions or covenants restricting competition in favor of the Debtor
  under any employment agreement with a current or former employee of the Debtor, (iv) any
  Avoidance Actions, or (v) any Causes of Action arising from willful misconduct, criminal
  misconduct, actual fraud, or gross negligence of such applicable Released Party as determined by
  Final Order of the Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to Article
  IX.D of the Plan (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
  Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
  (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
  Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any
  Employee, including a Senior Employee, shall be deemed null and void and of no force and
  effect (1) if there is more than one member of the Claimant Trust Oversight Committee who does
  not represent entities holding a Disputed or Allowed Claim (the “Independent Members”), the
  Claimant Trustee and the Independent Members by majority vote determine or (2) if there is only
  one Independent Member, the Independent Member after discussion with the Claimant Trustee,
  determines (in each case after discussing with the full Claimant Trust Oversight Committee) that
  such Employee (regardless of whether the Employee is then currently employed by the Debtor,
  the Reorganized Debtor, or the Claimant Trustee):

             sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
              attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation
              Sub-Trust, or any of their respective employees or agents, or any Released Party on or
              in connection with any claim or cause of action arising prior to the Effective Date,

             has taken any action that, impairs or harms the value of the Claimant Trust Assets or
              the Reorganized Debtor Assets, or

             (x) upon the request of the Claimant Trustee, has failed to provide reasonable
              assistance in good faith to the Claimant Trustee or the Reorganized Debtor with

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              respect to (1) the monetization of the Claimant Trust Assets or Reorganized Debtor
              Assets, as applicable, or (2) the resolution of Claims, or (y) has taken any action that
              impedes or frustrates the Claimant Trustee or the Reorganized Debtor with respect to
              any of the foregoing.

  Provided, however, that the release provided pursuant to Article IX.D of the Plan will vest and
  the Employee will be indefeasibly released pursuant to Article IX.D of the Plan if such
  Employee’s release has not been deemed null and void and of no force and effect on or prior to
  the date that is the date of dissolution of the Claimant Trust pursuant to the Claimant Trust
  Agreement.

          By executing the Senior Employee Stipulation embodying this release, each Senior
  Employee acknowledges and agrees, without limitation, to the terms of this release and the
  tolling agreement contained in the Senior Employee Stipulation.

         The provisions of this release and the execution of a Senior Employee Stipulation will not
  in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
  Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought
  against the Employee by a third party, or (iii) assisting other persons in defending themselves
  from any Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims
  brought by the Litigation Trustee and not collection or other actions brought by the Claimant
  Trustee).

          In addition to the obligations set forth in Article IX.D of the Plan, as additional
  consideration for the foregoing releases, the Senior Employees will waive their rights to certain
  deferred compensation owed to them by the Debtor. As of the date hereof, the total deferred
  compensation owed to the Senior Employees was approximately $3.9 million, which will be
  reduced by approximately $2.2 million to approximately $1.7 million. That reduction is
  composed of a reduction of (i) approximately $560,000 in the aggregate in order to qualify as
  Convenience Claims, (ii) approximately $510,000 in the aggregate to reflect the Convenience
  Claims treatment of 85% (and may be lower depending on the number of Convenience Claims),
  and (iii) of approximately $1.15 million in the aggregate to reflect an additional reduction of
  40%.

          As of the date of this Disclosure Statement, the Debtor has not identified any Causes of
  Action against any Released Parties. However, as set forth above, during the Chapter 11 Case,
  the Committee was granted sole standing to investigate and pursue the Estate Claims, which may
  include Causes of Action against certain of the Released Parties. As of the date of this
  Disclosure Statement, the Committee has not identified any Estate Claims against any Released
  Parties. The Debtor currently believes that there are no material Estate Claims or other Causes
  of Action against any Released Party.

         5.      Preservation of Rights of Action

                         Maintenance of Causes of Action

         Except as otherwise provided in the Plan, after the Effective Date, the Reorganized
  Debtor or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as
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  appropriate, any and all Causes of Action included in the Reorganized Debtor Assets or Claimant
  Trust Assets, as applicable, whether existing as of the Petition Date or thereafter arising, in any
  court or other tribunal including, without limitation, in an adversary proceeding Filed in the
  Chapter 11 Case and, as the successors in interest to the Debtor and the Estate, may, and will
  have the exclusive right to, enforce, sue on, settle, compromise, transfer or assign (or decline to
  do any of the foregoing) any or all of the Causes of Action without notice to or approval from the
  Bankruptcy Court.

                         Preservation of All Causes of Action Not Expressly Settled or Released

          Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
  is expressly waived, relinquished, released, compromised or settled in the Plan or any Final
  Order (including, without limitation, the Confirmation Order), such Cause of Action is expressly
  reserved for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable
  (including, without limitation, Causes of Action not specifically identified or of which the
  Debtor may presently be unaware or that may arise or exist by reason of additional facts or
  circumstances unknown to the Debtor at this time or facts or circumstances that may change or
  be different from those the Debtor now believes to exist) and, therefore, no preclusion doctrine,
  including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,
  claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such
  Causes of Action as a consequence of the confirmation, effectiveness, or consummation of the
  Plan based on the Disclosure Statement, the Plan or the Confirmation Order, except where such
  Causes of Action have been expressly released in the Plan or any other Final Order (including,
  without limitation, the Confirmation Order). In addition, the right of the Reorganized Debtor or
  the Claimant Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a
  plaintiff, defendant or an interested party, against any Entity, including, without limitation, the
  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

         6.      Injunction

          Upon entry of the Confirmation Order, all holders of Claims and Equity Interests and
  other parties in interest, along with their respective Related Persons, shall be enjoined from
  taking any actions to interfere with the implementation or consummation of the Plan.

          Except as expressly provided in the Plan, the Confirmation Order, or a separate order of
  the Bankruptcy Court, all Entities who have held, hold, or may hold Claims against or Equity
  Interests in the Debtor (whether proof of such Claims or Equity Interests has been filed or not
  and whether or not such Entities vote in favor of, against or abstain from voting on the Plan or
  are presumed to have accepted or deemed to have rejected the Plan) and other parties in interest,
  along with their respective Related Persons, are permanently enjoined, on and after the Effective
  Date, with respect to such Claims and Equity Interests, from (i) commencing, conducting, or
  continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
  (including any proceeding in a judicial, arbitral, administrative or other forum) against or
  affecting the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant Trust
  or the property of any of the Debtor, the Independent Directors, the Reorganized Debtor, or the
  Claimant Trust, (ii) enforcing, levying, attaching (including any prejudgment attachment),
  collecting, or otherwise recovering by any manner or means, whether directly or indirectly, any

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  judgment, award, decree, or order against the Debtor, the Independent Directors, the
  Reorganized Debtor, or the Claimant Trust or the property of any of the Debtor, the Independent
  Directors, the Reorganized Debtor, or the Claimant Trust, (iii) creating, perfecting, or otherwise
  enforcing in any manner, directly or indirectly, any encumbrance of any kind against the Debtor,
  the Independent Directors, the Reorganized Debtor, or the Claimant Trust or the property of any
  of the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant Trust, (iv)
  asserting any right of setoff, directly or indirectly, against any obligation due from the Debtor,
  the Independent Directors, the Reorganized Debtor, or the Claimant Trust or against property or
  interests in property of any of the Debtor, the Independent Directors, the Reorganized Debtor, or
  the Claimant Trust; and (v) acting or proceeding in any manner, in any place whatsoever, that
  does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to any successors of the Debtor, the
  Reorganized Debtor, and the Claimant Trust and their respective property and interests in
  property.

          Subject in all respects to Article XII. D of the Plan, no Entity may commence or
  pursue a claim or cause of action of any kind against any Protected Party that arose from
  or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of the
  Plan or property to be distributed under the Plan, the wind down of the business of the
  Debtor or Reorganized Debtor, the administration of the Claimant Trust, or the
  transactions in furtherance of the foregoing without the Bankruptcy Court (i) first
  determining, after notice, that such claim or cause of action represents a colorable claim of
  bad faith, criminal misconduct, willful misconduct, fraud, or gross negligence against a
  Protected Party and (ii) specifically authorizing such Entity to bring such claim against any
  such Protected Party; provided, however, the foregoing will not apply to Strand or any
  Employee other than with respect to actions taken by such Entities from the date of
  appointment of the Independent Directors through the Effective Date. As set forth in
  Article XI of the Plan, the Bankruptcy Court will have sole jurisdiction to adjudicate any
  such claim for which approval of the Bankruptcy Court to commence or pursue has been
  granted.

         7.      Term of Injunctions or Stays

          Unless otherwise provided in the Plan, the Confirmation Order, or in a Final Order of the
  Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Case
  under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
  Confirmation Date, shall remain in full force and effect until the later of the Effective Date and
  the date indicated in the order providing for such injunction or stay.

         8.      Continuance of January 9 Order

         Unless otherwise provided in the Plan, the Confirmation Order, or in a Final Order of the
  Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
  Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
  and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on


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  January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date until
  the dissolution of each of the Claimant Trust and the Litigation Trust.

  F.     Article XII.D of the Plan

          Article XII.D of the Plan provides that, notwithstanding anything in the Plan to the
  contrary, nothing in the Plan will affect or otherwise limit or release any non-Debtor Entity’s
  (including any Exculpated Party’s) duties or obligations, including any contractual and
  indemnification obligations, to the Debtor, the Reorganized Debtor, or any other Entity whether
  arising under contract, statute, or otherwise.

  G.     Binding Nature of Plan

          On the Effective Date, and effective as of the Effective Date, the Plan, including, without
  limitation, the provisions in Article IX of the Plan, will bind, and will be deemed binding upon,
  all Holders of Claims against and Equity Interests in the Debtor and such Holder’s respective
  successors and assigns, to the maximum extent permitted by applicable law, notwithstanding
  whether or not such Holder will receive or retain any property or interest in property under the
  Plan. All Claims and Debts shall be fixed and adjusted pursuant to the Plan. The Plan shall also
  bind any taxing authority, recorder of deeds, or similar official for any county, state,
  Governmental Unit or parish in which any instrument related to the Plan or related to any
  transaction contemplated thereby is to be recorded with respect to nay taxes of the kind specified
  in Bankruptcy Code section 1146(a)

  H.     Statutory Requirements for Confirmation of the Plan

          At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan
  satisfies the requirements of section 1129 of the Bankruptcy Code. The Debtor believes that: (i)
  the Plan satisfies or will satisfy all of the statutory requirements of chapter 11 of the Bankruptcy
  Code; (ii) the Debtor has complied or will have complied with all of the requirements of chapter
  11 of the Bankruptcy Code; and (iii) the Plan has been proposed in good faith. Specifically, the
  Debtor believes that the Plan satisfies or will satisfy the applicable confirmation requirements of
  section 1129 of the Bankruptcy Code set forth below.

                        The Plan complies with the applicable provisions of the Bankruptcy Code;

                        The Debtor has complied and will comply with the applicable provisions
                         of the Bankruptcy Code;

                        The Plan has been proposed in good faith and not by any means forbidden
                         by law;

                        Any payment made or promised under the Plan for services or for costs
                         and expenses in, or in connection with, the Debtor’s bankruptcy case, or in
                         connection with the Plan and incident to the case, has been or will be
                         disclosed to the Bankruptcy Court, and any such payment: (i) made
                         before the confirmation of the Plan is reasonable; or (ii) is subject to the


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                        approval of the Bankruptcy Court as reasonable if it is to be fixed after
                        confirmation of the Plan;

                       Each Class of Claims or Equity Interests that is entitled to vote on the Plan
                        will have accepted the Plan, or the Plan can be confirmed without the
                        approval of such voting Class pursuant to section 1129(b) of the
                        Bankruptcy Code;

                       Except to the extent that the Holder of a particular Claim will agree to a
                        different treatment of its Claim, the Plan provides that Administrative
                        Expense Claims and Priority Claims will be paid in full in Cash on the
                        Effective Date, or as soon thereafter as is reasonably practicable;

                       Confirmation of the Plan will not likely be followed by the liquidation or
                        the need for further financial reorganization of the Debtor or any successor
                        thereto under the Plan;

                       The Debtor has paid or will pay all fees payable under section 1930 of title
                        28, and the Plan provides for the payment of all such fees on the Effective
                        Date; and

                       The Plan provides for the continuation after the Effective Date of payment
                        of all retiree benefits, if applicable.

         1.      Best Interests of Creditors Test

          Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires
  that the bankruptcy court find, as a condition to confirmation of a chapter 11 plan, that each
  holder of a claim or equity interest in each impaired class: (i) has accepted the plan; or (ii)
  among other things, will receive or retain under the plan property of a value, as of the effective
  date of the plan, that is not less than the amount that such Person would receive if the debtor
  were liquidated under chapter 7 of the Bankruptcy Code. To make these findings, the
  Bankruptcy Court must: (a) estimate the net Cash proceeds (the “Liquidation Proceeds”) that a
  chapter 7 trustee would generate if the Debtor’s Chapter 11 Case were converted to a chapter 7
  case on the Effective Date and the assets of such Debtor’s Estate were liquidated; (b) determine
  the distribution (the “Liquidation Distribution”) that each non-accepting Holder of a Claim or
  Equity Interest would receive from the Liquidation Proceeds under the priority scheme dictated
  in chapter 7; and (c) compare each Holder’s Liquidation Distribution to the distribution under the
  Plan that such Holder would receive if the Plan were confirmed and consummated.

         2.      Liquidation Analysis

          Any liquidation analysis, including the estimation of Liquidation Proceeds and
  Liquidation Distributions, with respect to the Debtor (the “Liquidation Analysis”) is subject to
  numerous assumptions and there can be no guarantee that the Liquidation Analysis will be
  accurate. No order or finding has been entered by the Bankruptcy Court estimating or otherwise
  fixing the amount of Claims and Equity Interests at the projected amounts of Allowed Claims

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  and Equity Interests set forth in the Liquidation Analysis. In preparing the Liquidation Analysis,
  the Debtor has projected an amount of Allowed Claims and Equity Interests that represents its
  best estimate of the chapter 7 liquidation dividend to Holders of Allowed Claims and Equity
  Interests. The estimate of the amount of Allowed Claims and Equity Interests set forth in the
  Liquidation Analysis should not be relied on for any other purpose, including, without limitation,
  any determination of the value of any Plan Distribution to be made on account of Allowed
  Claims and Equity Interests under the Plan and Disclosure Statement.

         The full Liquidation Analysis is attached hereto as Exhibit C.

           Furthermore, any chapter 7 trustee appointed in a chapter 7 liquidation would have to
  confront all of the issues described in this Disclosure Statement, including the prepetition
  litigation claims. This process would be significantly time-consuming and costly, and reduce
  any recoveries available to the Debtor’s Estate. The Debtor believes that liquidation under
  chapter 7 would result in (i) smaller distributions being made to creditors than those provided for
  in the Plan because of the additional administrative expenses involved in the appointment of a
  trustee and attorneys and other professionals to assist such trustee, (ii) additional expenses and
  claims, some of which would be entitled to priority, which would be generated during the
  liquidation and from the rejection of executory contracts in connection with the cessation of the
  Debtor’s operations, and (iii) the failure to realize greater value from all of the Debtor’s assets.

         Therefore, the Debtor believes that confirmation of the Plan will provide each Holder of a
  Claim with a greater recovery than such Holder would receive pursuant to the liquidation of the
  Debtor under chapter 7 of the Bankruptcy Code.

         3.      Feasibility

          Section 1129(a)(11) of the Bankruptcy Code requires that the bankruptcy court find that
  confirmation is not likely to be followed by the liquidation, or the need for further financial
  reorganization of the Debtor, or any successor to the Debtor, unless the plan contemplates such
  liquidation or reorganization. For purposes of demonstrating that the Plan meets this
  “feasibility” standard, the Debtor has analyzed the ability of the Claimant Trust and the
  Reorganized Debtor to meet their obligations under the Plan and to retain sufficient liquidity and
  capital resources to conduct their business. A copy of the financial projections prepared by the
  Debtor is attached hereto as Exhibit C.

          The Debtor believes that the Plan meets the feasibility requirement set forth in section
  1129(a)(11) of the Bankruptcy Code. In connection with the development of the Plan and for the
  purposes of determining whether the Plan satisfies this feasibility standard, the Debtor analyzed
  their ability to satisfy their financial obligations while maintaining sufficient liquidity and capital
  resources. The Debtor believes that its available Cash and any additional proceeds from the
  Debtor’s Assets will be sufficient to allow the Debtor, the Reorganized Debtor, and the Claimant
  Trust, as applicable, to make all payments required to be made under the Plan. Accordingly, the
  Debtor believes that the Plan is feasible.




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         4.      Valuation

         In order to provide information and full disclosure to parties in interest regarding the
  Debtor’s assets, the Debtor estimates that its value and the total value of its Assets, as of
  September 30, 2020, was approximately $328.3 million.

         5.      Acceptance by Impaired Classes

          The Bankruptcy Code requires, as a condition to confirmation, that, except as described
  in the following section, each class of claims or equity interests that is impaired under a plan,
  accepts the plan. A class that is not “impaired” under a plan is deemed to have accepted the plan
  and, therefore, solicitation of acceptances with respect to such class is not required. A class is
  “impaired” unless the plan: (i) leaves unaltered the legal, equitable, and contractual rights to
  which such claim or interest entitles the holder of such claim or interest; or (ii) notwithstanding
  any contractual provision or applicable law that entitles the holder of such claim or interest to
  demand or receive accelerated payment of such claim or interest after the occurrence of a
  default— (a) cures any such default that occurred before or after the commencement of the
  Chapter 11 Case, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
  Code or of a kind that section 365(b)(2) expressly does not require to be cured; (b) reinstates the
  maturity of such claim or interest as such maturity existed before such default; (c) compensates
  the holder of such claim or interest for any damages incurred as a result of any reasonable
  reliance by such holder on such contractual provision or such applicable law; (d) if such claim or
  such interest arises from any failure to perform a nonmonetary obligation, other than a default
  arising from failure to operate a nonresidential real property lease subject to section
  365(b)(1)(A), compensates the holder of such claim or such interest (other than the debtor or an
  insider) for any actual pecuniary loss incurred by such holder as a result of such failure; and (e)
  does not otherwise alter the legal, equitable, or contractual rights to which such claim or interest
  entitles the holder of such claim or interest.

          Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of
  impaired claims as acceptance by holders of at least two-thirds in dollar amount and more than
  one-half in number of claims in that class, but for that purpose counts only those who actually
  vote to accept or to reject the plan and are not insiders. Section 1126(d) of the Bankruptcy Code
  defines acceptance of a plan by a class of equity interests as acceptance by holders of at least
  two-thirds in amount of the allowed interests of such class. Thus, a class of claims will have
  voted to accept the plan only if two-thirds in amount and a majority in number actually voting
  cast their ballots in favor of acceptance. Section 1126(d) of the Bankruptcy Code, except as
  otherwise provided in section 1126(e) of the Bankruptcy Code, defines acceptance of a plan by a
  class of impaired equity interests as acceptance by holders of at least two-thirds in amount of
  equity interests in that class actually voting to accept or to reject the plan.

          Pursuant to section 1129 of the Bankruptcy Code, the Holders of Claims or Equity
  Interests in any voting class must accept the Plan for the Plan to be confirmed without
  application of the “fair and equitable test” to such Class, and without considering whether the
  Plan “discriminates unfairly” with respect to such Class, as both standards are described herein.



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         6.      Confirmation Without Acceptance by Impaired Classes

          Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan
  even if less than all impaired classes entitled to vote on the plan have accepted it, provided that
  the plan has been accepted by at least one impaired class of claims. Pursuant to section 1129(b)
  of the Bankruptcy Code, notwithstanding an impaired Class’s rejection or deemed rejection of
  the Plan, the Plan will be confirmed, at the Debtor’s request, in a procedure commonly known as
  “cram down,” so long as the Plan does not “discriminate unfairly” and is “fair and equitable”
  with respect to each Class of Claims or Equity Interests that is impaired under, and has not
  accepted, the Plan.

         7.      No Unfair Discrimination

          This test applies to classes of claims or equity interests that are of equal priority and are
  receiving different treatment under the Plan. The test does not require that the treatment be the
  same or equivalent, but that such treatment be “fair.” In general, bankruptcy courts consider
  whether a plan discriminates unfairly in its treatment of classes of claims of equal rank (e.g.,
  classes of the same legal character). Bankruptcy courts will take into account a number of
  factors in determining whether a plan discriminates unfairly and, accordingly, a plan could treat
  two classes of unsecured creditors differently without unfairly discriminating against either class.

         8.      Fair and Equitable Test

         This test applies to classes of different priority and status (e.g., secured versus unsecured)
  and includes the general requirement that no class of claims receive more than 100% of the
  amount of the allowed claims in such class. As to the dissenting class, the test sets different
  standards depending on the type of claims or equity interests in such class:

          The condition that a plan be “fair and equitable” to a non-accepting Class of Secured
  Claims includes the requirements that: (a) the Holders of such Secured Claims retain the liens
  securing such Claims to the extent of the Allowed amount of the Claims, whether the property
  subject to the liens is retained by the debtor or transferred to another entity under the Plan; and
  (b) each Holder of a Secured Claim in the Class receives deferred Cash payments totaling at least
  the Allowed amount of such Claim with a present value, as of the Effective Date of the Plan, at
  least equivalent to the value of the secured claimant’s interest in the debtor’s property subject to
  the liens.

          The condition that a plan be “fair and equitable” with respect to a non-accepting Class of
  unsecured Claims includes the requirement that either: (a) the plan provides that each Holder of a
  Claim of such Class receive or retain on account of such Claim property of a value, as of the
  Effective Date of the plan, equal to the allowed amount of such Claim; or (b) the Holder of any
  Claim or Equity Interest that is junior to the Claims of such Class will not receive or retain under
  the plan on account of such junior Claim or Equity Interest any property.

          The condition that a plan be “fair and equitable” to a non accepting Class of Equity
  Interests includes the requirements that either: (a) the plan provides that each Holder of an
  Equity Interest in that Class receives or retains under the plan, on account of that Equity Interest,
  property of a value, as of the Effective Date of the plan, equal to the greater of (i) the allowed
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  amount of any fixed liquidation preference to which such Holder is entitled, (ii) any fixed
  redemption price to which such Holder is entitled, or (iii) the value of such interest; or (b) if the
  Class does not receive such an amount as required under (a), no Class of Equity Interests junior
  to the non-accepting Class may receive a distribution under the plan.

        To the extent that any class of Claims or Class of Equity Interests rejects the Plan, the
  Debtor reserves the right to seek (a) confirmation of the Plan under section 1129(b) of the
  Bankruptcy Code and/or (b) modify the Plan in accordance with Article XIII.C of the Plan.

          The Debtor believes that the Plan and the treatment of all Classes of Claims and Equity
  Interests under the Plan satisfy the foregoing requirements for non-consensual confirmation of
  the Plan.

                                             ARTICLE IV.
                                             RISK FACTORS

   ALL HOLDERS OF CLAIMS AND EQUITY INTERESTS SHOULD READ AND
  CONSIDER CAREFULLY THE RISK FACTORS SET FORTH HEREIN, AS WELL
  AS ALL OTHER INFORMATION SET FORTH OR OTHERWISE REFERENCED
    IN THIS DISCLOSURE STATEMENT. THESE FACTORS SHOULD NOT BE
        REGARDED AS CONSTITUTING THE ONLY RISKS PRESENT IN
     CONNECTION WITH THE DEBTOR’S BUSINESS OR THE PLAN AND ITS
                          IMPLEMENTATION.

  A.     Certain Bankruptcy Law and Other Considerations

         1.      Parties in Interest May Object to the Debtor’s Classification of Claims and Equity
                 Interests, or Designation as Unimpaired.

          Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity
  interest in a particular class only if such claim or equity interest is substantially similar to the
  other claims or equity interests in such class. The Debtor believes that the classification of
  Claims and Equity Interests under the Plan complies with the requirements set forth in the
  Bankruptcy Code because the Debtor created Classes of Claims and Equity Interests, each
  encompassing Claims or Equity Interests, as applicable, that are substantially similar to the other
  Claims and Equity Interests in each such Class. Nevertheless, there can be no assurance that the
  Holders of Claims or Equity Interests or the Bankruptcy Court will reach the same conclusion.

         There is also a risk that the Holders of Claims or Equity Interests could object to the
  Debtor’s designation of Claims or Equity Interests as Unimpaired, and the Bankruptcy Court
  could reach the same conclusion.

         2.      The Debtor May Not Be Able to Secure Confirmation of the Plan.

         Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a
  chapter 11 plan and requires, among other things, findings by the bankruptcy court that: (i) such
  plan “does not unfairly discriminate” and is “fair and equitable” with respect to any non-
  accepting classes; (ii) confirmation of such plan is not likely to be followed by a liquidation or a

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  need for further financial reorganization unless such liquidation or reorganization is
  contemplated by the plan; and (c) the value of distributions to Holders of Claims within a
  particular class under such plan will not be less than the value of distributions such holders
  would receive if the debtor was liquidated under chapter 7 of the Bankruptcy Code.

         There can be no assurance that the Bankruptcy Court will confirm the Plan. The
  Bankruptcy Court could decline to confirm the Plan if it found that any of the statutory
  requirements for confirmation had not been met.

          If the Plan is not confirmed by the Bankruptcy Court, there can be no assurance that any
  alternative plan of reorganization or liquidation would be on terms as favorable to Holders of
  Claims as the terms of the Plan. In addition, there can be no assurance that the Debtor will be
  able to successfully develop, prosecute, confirm and consummate an alternative plan that is
  acceptable to the Bankruptcy Court and the Debtor’s creditors.

         3.      The Conditions Precedent to the Effective Date of the Plan May Not Occur.

          As more fully set forth in Article IX of the Plan, the Effective Date of the Plan is subject
  to a number of conditions precedent. If such conditions precedent are not waived or not met, the
  Effective Date will not take place.

         4.      Continued Risk Following Effectiveness.

          Even if the Effective Date of the Plan occurs, the Debtor, the Reorganized Debtor, and
  Claimant Trust will continue to face a number of risks, including certain risks that are beyond its
  control, such as changes in assets, asset values, and increasing expenses. Some of these concerns
  and effects typically become more acute when a case under the Bankruptcy Code continues for a
  protracted period without indication of how or when the case may be completed. As a result of
  these risks and others, there is no guarantee that a chapter 11 plan of liquidation reflecting the
  Plan will achieve the Debtor’s stated goals.

           In addition, at the outset of the Chapter 11 Case, the Bankruptcy Code provides the
  Debtor with the exclusive right to propose the Plan and prohibits creditors and others from
  proposing a plan. The Debtor will have retained the exclusive right to propose the Plan upon
  filing its petition. If the Bankruptcy Court terminates that right, however, or the exclusivity
  period expires, there could be a material adverse effect on the Debtor’s ability to achieve
  confirmation of the Plan in order to achieve the Debtor’s stated goals.

         5.      The Effective Date May Not Occur.

         Although the Debtor believes that the Effective Date may occur quickly after the
  Confirmation Date, there can be no assurance as to such timing or as to whether the Effective
  Date will, in fact, occur.




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         6.      The Chapter 11 Case May Be Converted to Cases Under Chapter 7 of the
                 Bankruptcy Code

           If the Bankruptcy Court finds that it would be in the best interest of creditors and/or the
  debtor in a chapter 11 case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a
  case under chapter 7 of the Bankruptcy Code. In such event, a chapter 7 trustee would be
  appointed or elected to liquidate the debtor’s assets for distribution in accordance with the
  priorities established by the Bankruptcy Code. The Debtor believes that liquidation under
  chapter 7 would result in significantly smaller distributions being made to creditors than those
  provided for in the Plan because of (a) the likelihood that the assets would have to be sold or
  otherwise disposed of in a disorderly fashion over a short period of time, rather than selling the
  assets in an orderly and controlled manner, (b) additional administrative expenses involved in the
  appointment of a chapter 7 trustee, and (c) additional expenses and Claims, some of which would
  be entitled to priority, that would be generated during the liquidation.

         7.      Claims Estimation

         There can be no assurance that the estimated Claim amounts set forth herein are correct,
  and the actual amount of Allowed Claims may differ from the estimates. The estimated amounts
  are subject to certain risks, uncertainties, and assumptions. Should one or more of these risks or
  uncertainties materialize, or should underlying assumptions prove incorrect, the actual amount of
  Allowed Claims may vary from those estimated herein.

         8.      The Financial Information Contained Herein is Based on the Debtor’s Books and
                 Records and, Unless Otherwise Stated, No Audit was Performed.

          The financial information contained in this Disclosure Statement has not been
  audited. In preparing this Disclosure Statement, the Debtor relied on financial data derived from
  their books and records that was available at the time of such preparation. Although the Debtor
  has used its reasonable business judgment to ensure the accuracy of the financial information
  provided in this Disclosure Statement and, while the Debtor believes that such financial
  information fairly reflects its financial condition, the Debtor is unable to warrant or represent that
  the financial information contained herein and attached hereto is without inaccuracies.

  B.     Risks Related to Recoveries under the Plan

         1.      The Reorganized Debtor and/or Claimant Trust May Not Be Able to Achieve the
                 Debtor’s Projected Financial Results

          The Reorganized Debtor or Claimant Trust, as applicable, may not be able to achieve
  their projected financial results. The Financial Projections represent the best estimate of the
  Debtor’s future financial performance, which is necessarily based on certain assumptions
  regarding the anticipated future performance of the Reorganized Debtor or Claimant Trust, as
  well as the United States and world economies in general, and the investment industry in which
  the Debtor operates. The Debtor’s Financial Projections include key assumptions on (i) target
  asset monetization values, (ii) timing of asset monetization, and (iii) costs to effectuate the Plan.
  In terms of achieving target asset monetization values, the Debtor faces issues including
  investment assets with cross-ownership across related entities and challenges associated with

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  collecting notes due from affiliates. The Debtor’s Financial Projections anticipate that all
  investment assets will be sold by 2022, which may be at risk due to the semi-liquid or illiquid
  nature of the Debtor’s assets, as well as general market conditions, including the sustained
  impact of COVID-19. Costs are based on estimates and may increase with delays or any other
  unforeseen factor. If the Reorganized Debtor or Claimant Trust do not achieve their projected
  financial results, the recovery for Claimant Trust Beneficiaries may be negatively affected and
  the Claimant Trust may lack sufficient liquidity after the Effective Date.

         2.      Claim Contingencies Could Affect Creditor Recoveries

          The estimated Claims and projected creditor recoveries set forth in this Disclosure
  Statement are based on various assumptions the actual amount of Allowed Claims may differ
  from the estimates. Should one or more of the underlying assumptions ultimately prove
  incorrect, the actual Allowed amounts of Claims may vary materially from the estimated Claims
  contained in this Disclosure Statement. Moreover, the Debtor cannot determine with any
  certainty at this time, the number or amount of Claims that will ultimately be Allowed. Such
  differences may materially and adversely affect, among other things, the percentage recoveries to
  Holders of Allowed Claims under the Plan.

         3.      If Approved, the Debtor Release Could Release Claims Against Potential
                 Defendants of Estate Causes of Action With Respect to Which the Claimant Trust
                 Would Otherwise Have Recourse

          The Claimant Trust Assets will include, among other things, Causes of Action, including
  Estate Claims that will be assigned to the Litigation Sub-Trust. The Committee’s investigation
  of potential Estate Claims is still ongoing. Because the Committee has not concluded its
  investigation as of the date hereof, and such investigation will be transferred to the Litigation
  Trustee, there is no certainty of whether there are viable Estate Claims against any of the
  Released Parties. In the event there are viable Estate Claims against any of the Released Parties,
  such claims cannot be pursued for the ultimate benefit of Claimant Trust Beneficiaries if the
  Debtor Release is approved.

  C.     Investment Risk Disclaimer

         1.      Investment Risks in General.

         The Reorganized Debtor is and will remain a registered investment adviser under the
  Investment Advisers Act of 1940, and the Reorganized Debtor will continue advising the
  Managed Funds. No guarantee or representation is made that the Reorganized Debtor’s or the
  Managed Funds’ investment strategy will be successful, and investment results may vary
  substantially over time.

         2.      General Economic and Market Conditions and Issuer Risk.

        Any investment in securities carries certain market risks. Investments by the
  Reorganized Debtor, the Managed Funds, or the Claimant Trust may decline in value for any
  number of reasons over which none of the Managed Funds, the Reorganized Debtor, the
  Claimant Trust, or the Claimant Trustee may have control, including changes in the overall

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  market and other general economic and market conditions, such as interest rates, availability of
  credit, inflation rates, economic uncertainty, changes in laws, currency exchange rates and
  controls and national, international political circumstances (including wars and security
  operations), and acts of God (including pandemics like COVID-19). The value of the Managed
  Funds or the assets held by the Reorganized Debtor or Claimant Trust may also decline as a
  result of factors pertaining to particular securities held by the Managed Funds, Reorganized
  Debtor, or Claimant Trust, as applicable, such as perception or changes in the issuer’s
  management, the market for the issuer’s products or services, sources of supply, technological
  changes within the issuer’s industry, the availability of additional capital and labor, general
  economic conditions, political conditions, acts of God, and other similar conditions. All of these
  factors may affect the level and volatility of security prices and the liquidity and the value of the
  securities held by the Managed Fund, Reorganized Debtor, or Claimant Trust. Unexpected
  volatility or illiquidity could impair the Managed Funds’, Reorganized Debtor’s, or Claimant
  Trust’s profitability or result in it suffering losses.

  D.     Disclosure Statement Disclaimer

         1.      The Information Contained Herein is for Disclosure Purposes Only.

         The information contained in this Disclosure Statement is for purposes of disclosure in
  connection with the Plan and may not be relied upon for any other purposes.

         2.      This Disclosure Statement was Not Approved by the SEC.

         Neither the SEC nor any state regulatory authority has passed upon the accuracy or
  adequacy of this Disclosure Statement, or the exhibits or the statements contained herein, and
  any representation to the contrary is unlawful.

         3.      This Disclosure Statement Contains Forward-Looking Statements.

          This Disclosure Statement contains “forward-looking statements” within the meaning of
  the Private Securities Litigation Reform Act of 1995. Such statements consist of any statement
  other than a recitation of historical fact and can be identified by the use of forward looking
  terminology such as “may,” “expect,” “anticipate,” “estimate” or “continue” or the negative
  thereof or other variations thereon or comparable terminology. The reader is cautioned that all
  forward-looking statements are necessarily speculative and there are certain risks and
  uncertainties that could cause actual events or results to differ materially from those referred to
  in such forward-looking statements.

         4.      No Legal or Tax Advice is Provided to You by This Disclosure Statement.

         This Disclosure Statement is not legal or tax advice to you. The contents of this
  Disclosure Statement should not be construed as legal, business or tax advice, and are not
  personal to any person or entity. Each Holder of a Claim or an Equity Interest should consult his
  or her own legal counsel and accountant with regard to any legal, tax and other matters
  concerning his or her Claim or Equity Interest. This Disclosure Statement may not be relied
  upon for any purpose other than as a disclosure of certain information to determine how to vote
  on the Plan or object to confirmation of the Plan.

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         5.      No Admissions Are Made by This Disclosure Statement.

          The information and statements contained in this Disclosure Statement will neither (i)
  constitute an admission of any fact or liability by any Entity (including, without limitation, the
  Debtor) nor (ii) be deemed evidence of the tax or other legal effects of the Plan on the Debtor,
  the Reorganized Debtor, the Claimant Trust, Holders of Allowed Claims or Equity Interests, or
  any other parties in interest.

         6.      No Reliance Should Be Placed on Any Failure to Identify Litigation Claims or
                 Projected Objections.

          No reliance should be placed on the fact that a particular litigation claim or projected
  objection to a particular Claim or Equity Interest is, or is not, identified in this Disclosure
  Statement. The Debtor or the Reorganized Debtor or Claimant Trustee, as applicable, may seek
  to investigate, file and prosecute litigation rights and claims against any third parties and may
  object to Claims after the Confirmation Date or Effective Date of the Plan irrespective of
  whether the Disclosure Statement identifies such litigation claims or objections to Claims or
  Equity Interests.

         7.      Nothing Herein Constitutes a Waiver of Any Right to Object to Claims or Equity
                 Interests or Recover Transfers and Assets.

          The Debtor, the Reorganized Debtor, the Claimant Trustee, or any party in interest, as the
  case may be, reserve any and all rights to object to that Holder’s Allowed Claim regardless of
  whether any Claims or Causes of Action of the Debtor or its Estate are specifically or generally
  identified herein.

         8.      The Information Used Herein was Provided by the Debtor and was Relied Upon
                 by the Debtor’s Advisors.

          Counsel to and other advisors retained by the Debtor have relied upon information
  provided by the Debtor in connection with the preparation of this Disclosure Statement.
  Although counsel to and other advisors retained by the Debtor have performed certain limited
  due diligence in connection with the preparation of this Disclosure Statement, they have not
  verified independently the information contained herein.

         9.      The Disclosure Statement May Contain Inaccuracies.

          The statements contained in this Disclosure Statement are made by the Debtor as of the
  date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
  that date does not imply that there has not been a change in the information set forth herein since
  that date. While the Debtor has used its reasonable business judgment to ensure the accuracy of
  all of the information provided in this Disclosure Statement and in the Plan, the Debtor
  nonetheless cannot, and does not, confirm the current accuracy of all statements appearing in this
  Disclosure Statement. Further, the information contained in this Disclosure Statement is as of
  the date of the Disclosure Statement and does not address events that may occur after such date.
  The Debtor may update this Disclosure Statement but is not required to do so.


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         10.     No Representations Made Outside the Disclosure Statement Are Authorized.

          No representations concerning or relating to the Debtor, the Chapter 11 Case, or the Plan
  are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
  Disclosure Statement. You should promptly report unauthorized representations or inducements
  to the counsel to the Debtor and the U.S. Trustee.

                               ARTICLE V.
         ALTERNATIVES TO CONFIRMATION AND EFFECTIVENESS OF THE PLAN

          If no chapter 11 plan can be confirmed, the Chapter 11 Case may be converted to a case
  under chapter 7 of the Bankruptcy Code in which case, a trustee would be elected or appointed to
  liquidate the Debtor’s assets. If the Plan is not confirmed by the Bankruptcy Court, there can be
  no assurance that any alternative plan of reorganization or liquidation would be on terms as
  favorable to Holders of Claims as the terms of the Plan. In addition, there can be no assurance
  that the Debtor will be able to successfully develop, prosecute, confirm and consummate an
  alternative plan that is acceptable to the Bankruptcy Court and the Debtor’s creditors.

                                    ARTICLE VI.
                  U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

          Implementation of the Plan will have federal, state, local or foreign tax consequences to
  the Debtor and Holders of Equity Interests as well as Holders of Claims. No tax opinion or
  ruling has been sought or will be obtained with respect to any tax consequences of the Plan, and
  the following discussion does not constitute and is not intended to constitute either a tax opinion
  or tax advice to any person.

         The following discussion summarizes certain U.S. federal income tax consequences of
  the Plan to the Debtor and to Holders of Claims. This discussion assumes that each Holder of
  Claims is for United States federal income tax purposes:

                       An individual who is a citizen or resident of the United States for federal
                        income tax purposes;

                       a corporation (or other entity treated as a corporation for United States
                        federal income tax purposes) created or organized in or under the laws of
                        the United States, any state thereof or the District of Columbia;

                       any other person that is subject to U.S. federal income taxation on a net
                        income basis.

                       an estate the income of which is subject to United States federal income
                        tax without regard to its source; or

                       a trust (1) that is subject to the primary supervision of a United States
                        court and the control of one or more United States persons or (2) that has a
                        valid election in effect under applicable treasury regulations to be treated
                        as a United States person.
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         This discussion also assumes that each Holder holds the Claims as capital assets under
  Section 1221 of the Internal Revenue Code.

          The summary provides general information only and does not purport to address all of the
  federal income tax consequences that may be applicable to the Debtor or to any particular Holder
  of Claims in light of such Holder’s own individual circumstances. In particular, the summary
  does not address the federal income tax consequences of the Plan to Holders of Claims that may
  be subject to special rules, such as non-U.S. persons, insurance companies, financial institutions,
  regulated investment companies, broker-dealers, persons who acquired Claims as part of a
  straddle, hedge, conversion transaction or other integrated transaction, or persons who acquired
  Claims in connection with the performance of services; persons who hold Claims through a
  partnership or other pass-through entity and tax-exempt organizations. The summary does not
  address foreign, state, local, estate or gift tax consequences of the Plan, nor does it address the
  federal income tax consequences to Holders of Equity Interests.

         This summary is based on the Internal Revenue Code of 1986, as amended (the “Internal
  Revenue Code”), the final, temporary and proposed Treasury regulations promulgated
  thereunder, judicial decisions and administrative rulings and pronouncements of the Internal
  Revenue Service (“IRS”), all as in effect on the date hereof and all of which are subject to
  change (possibly with retroactive effect) by legislation, judicial decision or administrative action.
  Moreover, due to a lack of definitive authority, substantial uncertainties exist with respect to
  various tax consequences of the Plan.

       THE TAX CONSEQUENCES TO THE HOLDERS OF CLAIMS OR EQUITY
  INTERESTS MAY VARY BASED UPON THE INDIVIDUAL CIRCUMSTANCES OF
  EACH HOLDER. MOREOVER, THE TAX CONSEQUENCES OF CERTAIN ASPECTS
  OF THE PLAN ARE UNCERTAIN DUE TO THE LACK OF APPLICABLE LEGAL
  PRECEDENT AND THE POSSIBILITY OF CHANGES IN THE APPLICABLE TAX
  LAW. THERE CAN BE NO ASSURANCE THAT THE IRS WILL NOT CHALLENGE
  ANY OF THE TAX CONSEQUENCES DESCRIBED HEREIN, OR THAT SUCH A
  CHALLENGE, IF ASSERTED, WOULD NOT BE SUSTAINED. ACCORDINGLY,
  EACH HOLDER OF A CLAIM OR EQUITY INTEREST SHOULD CONSULT WITH
  ITS OWN TAX ADVISOR REGARDING THE FOREIGN, FEDERAL, STATE AND
  LOCAL TAX CONSEQUENCES OF THE PLAN.

  A.     Consequences to the Debtor

          It is anticipated that the consummation of the Plan will not result in any federal income
  tax liability to the Debtor. The Debtor is a partnership for federal income tax purposes.
  Therefore, the income and loss of the Debtor is passed-through to the Holders of its Equity
  Interests, and the Debtor does not pay federal income tax.

         1.      Cancellation of Debt

         Generally, the discharge of a debt obligation of a debtor for an amount less than the
  adjusted issue price (in most cases, the amount the debtor received on incurring the obligation,
  with certain adjustments) creates cancellation of indebtedness (“COD”) income that must be
  included in the debtor’s income. Due to the nature of the Impaired Claims, it is anticipated that
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  the Debtor will not recognize any material amount of COD income. If any such COD income is
  recognized, it will be passed-through to the Holders of its Equity Interests, and the Holders of
  such Equity Interest generally will be required to include such amounts in income, unless a
  Holder is entitled to exclude such amounts from income under Section 108 of the Internal
  Revenue Code, based on the Holder’s individual circumstances.

         2.      Transfer of Assets

          Pursuant to the Plan, the Debtor’s assets (including the Claimant Trust Assets and
  Reorganized Debtor Assets) will be transferred directly or indirectly to the Claimant Trust. For
  federal income tax purposes, any such assets transferred to the Claimant Trust will be deemed to
  have been transferred to the Claimant Trust Beneficiaries followed by the transfer by such
  Holders to the Claimant Trust of such assets in exchange for the respective Holders’ beneficial
  interests in the Claimant Trust. The Claimant Trust thereafter will be treated as a grantor trust
  for federal income tax purposes. See U.S. Federal Income Tax Treatment of the Claimant Trust,
  below.

          The Debtor’s transfer of its assets pursuant to the Plan will constitute a taxable
  disposition of such assets. As discussed above, the Debtor is a partnership for federal income tax
  purposes. Any gain or loss recognized as a result of the taxable disposition of such assets will be
  passed through to the Holders of Equity Interests in the Debtor. The Debtor will not be required
  to pay any tax as a result of such disposition.

  B.     U.S. Federal Income Tax Treatment of the Claimant Trust

          It is intended that the Claimant Trust will be treated as a “grantor trust” for U.S. federal
  income tax purposes. In general, a grantor trust is not a separate taxable entity. The IRS, in
  Revenue Procedure 94-45, 1994-2 C.B. 684, set forth the general criteria for obtaining an
  advanced ruling as to the grantor trust status of a liquidating trust under a chapter 11 plan.
  Consistent with the requirements of Revenue Procedure 94-45, the Claimant Trust Agreement
  requires all relevant parties to treat, for U.S. federal income tax purposes, the transfer of the
  Debtor’s assets to the Claimant Trust as (i) a transfer of such assets to the Claimant Trust
  Beneficiaries (to the extent of the value of their respective interests in the applicable Claimant
  Trust Assets) followed by (ii) a transfer of such assets by such beneficiaries to the Claimant
  Trust (to the extent of the value of their respective interests in the applicable Claimant Trust
  Assets), with the beneficiaries being treated as the grantors and owners of the Claimant Trust.

          The Plan and the Claimant Trust Agreement generally provide that the Claimant Trust
  Beneficiaries must value the assets of the Claimant Trust consistently with the values determined
  by the Claimant Trustee for all U.S. federal income tax purposes. As soon as possible after the
  Effective Date, the Claimant Trustee, based upon his good faith determination after consultation
  with his counsel and other advisors, shall inform the beneficiaries in writing as to his estimate of
  the value of the assets transferred to the Claimant Trust and the value of such assets allocable to
  each Class of beneficiaries.

         Consistent with the treatment of the Claimant Trust as a grantor trust, the Claimant Trust
  Agreement will require each beneficiary to report on its U.S. federal income tax return its
  allocable share of the Claimant Trust’s income, gain, loss or deduction that reflects the
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  beneficiary’s interest in the interim and final distributions to be made by the Claimant Trust.
  Furthermore, certain of the assets of the Claimant Trust will be interests in the Reorganized
  Debtor, which will be a partnership for U.S. federal income tax purposes. The income, gain, loss
  or deduction of the Reorganized Debtor will also flow through the Claimant Trust to the
  beneficiaries of the Claimant Trust. Therefore, a beneficiary may incur a federal income tax
  liability with respect to its allocable share of the income of the Claimant Trust (including the
  income of the Reorganized Debtor) whether or not the Claimant Trust has made any distributions
  to such beneficiary. The character of items of income, gain, deduction, and credit to any
  beneficiary and the ability of such beneficiary to benefit from any deduction or losses will
  depend on the particular situation of such beneficiary. The interests of the beneficiaries may shift
  from time to time as the result of the allowance or disallowance of claims that have not been
  allowed at the Effective Date, which could give rise to tax consequences both to the Holders of
  claims that have, and have not been, allowed at the Effective Date. The Claimant Trustee will
  file with the IRS tax returns for the Claimant Trust as a grantor trust pursuant to Treasury
  Regulation Section 1.671-4(a) and will also send to each beneficiary a separate statement setting
  forth such beneficiary’s share of items of Trust income, gain, loss, deduction, or credit. Each
  beneficiary will be required to report such items on its U.S. federal income tax return. Holders
  are urged to consult their tax advisors regarding the appropriate federal income tax treatment of
  distributions from the Claimant Trust.

          The discussion above assumes that the Claimant Trust will be respected as a grantor trust
  for U.S. federal income tax purposes. If the IRS were to challenge successfully such
  classification, the U.S. federal income tax consequences to the Claimant Trust and the
  beneficiaries could differ materially from those discussed herein (including the potential for an
  entity level tax to be imposed on all income of the Claimant Trust).

  C.     Consequences to Holders of Allowed Claims

         1.      Recognized Gain or Loss

          In general, each Holder of an Allowed Claim will recognize gain or loss in an amount
  equal to the difference between (i) the “amount realized” by such Holder in satisfaction of its
  Claim (other than any Claim for accrued but unpaid interest) and (ii) such holder’s adjusted tax
  basis in such Claim (other than any Claim for accrued but unpaid interest). In general, the
  “amount realized” by a Holder will equal the sum of any cash and the aggregate fair market
  value of any property received by such Holder pursuant to the Plan (for example, such Holder’s
  undivided beneficial interest in the assets of the Claimant Trust). A Holder that receives or is
  deemed to receive for U.S. federal income tax purposes a non-cash asset under the Plan in
  respect of its Claim should generally have a tax basis in such asset in an amount equal to the fair
  market value of such asset on the date of its receipt or deemed receipt. See U.S. Federal Income
  Tax Treatment of the Claimant Trust, above for more information regarding the tax treatment of
  the Claimant Trust Interests.

          Where gain or loss is recognized by a Holder, the character of such gain or loss as long-
  term or short-term capital gain or loss or as ordinary income or loss will be determined by a
  number of factors, including the tax status of the Holder, whether the claim constitutes a capital
  asset in the hands of the Holder and how long it has been held, whether the claim was acquired at

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  a market discount, and whether and to what extent the Holder had previously claimed a bad debt
  deduction.

         A Holder who, under the Plan, receives in respect of an Allowed Claim an amount less
  than the Holder's tax basis in the Allowed Claim may be entitled to a deduction for U.S. federal
  income tax purposes. The rules governing the character, timing and amount of such a deduction
  place considerable emphasis on the facts and circumstances of the Holder, the obligor and the
  instrument with respect to which a deduction is claimed. Holders of Allowed Claims, therefore,
  are urged to consult their tax advisors with respect to their ability to take such a deduction.

         2.      Distribution in Discharge of Accrued Unpaid Interest

          Pursuant to the Plan, a distribution received in respect of Allowed Claims will be
  allocated first to the principal amount of such Claims, with any excess allocated to unpaid
  accrued interest. However, there is no assurance that the IRS would respect such allocation for
  federal income tax purposes. In general, to the extent that an amount received (whether cash or
  other property) by a Holder of a claim is received in satisfaction of interest that accrued during
  its holding period, such amount will be taxable to the Holder as interest income if not previously
  included in the Holder’s gross income. Conversely, a Holder generally recognizes a deductible
  loss to the extent that it does not receive payment of interest that has previously been included in
  its income. Holders of Claims are urged to consult their tax advisors regarding the allocation of
  consideration and the deductibility of unpaid interest for tax purposes.

         3.      Information Reporting and Withholding

          All distributions to Holders of Allowed Claims under the Plan are subject to any
  applicable withholding tax requirements. Under federal income tax law, interest, dividends, and
  other reportable payments, may, under certain circumstances, be subject to “backup withholding”
  (currently at a rate of up to 24%). Backup withholding generally applies if the Holder (a) fails to
  furnish its social security number or other taxpayer identification number (“TIN”), (b) furnishes
  an incorrect TIN, (c) fails properly to report interest or dividends, or (d) under certain
  circumstances, fails to provide a certified statement, signed under penalty of perjury, that the
  TIN provided is its correct number and that it is not subject to backup withholding. Backup
  withholding is not an additional tax but merely an advance payment, which may be refunded to
  the extent it results in an overpayment of tax. Certain persons are exempt from backup
  withholding, including, in certain circumstances, corporations and financial institutions.

  D.     Treatment of the Disputed Claims Reserve

         Pursuant to the Plan, the Claimant Trustee may file an election pursuant to Treasury
  Regulation 1.468B-9(c) to treat the Disputed Claims Reserve as a disputed ownership fund, in
  which case the Claimant Trustee will file federal income tax returns and pay taxes for the
  Disputed Claims Reserve as a separate taxable entity. Such taxes will be paid out of the
  Disputed Claims Reserve and therefore may reduce amounts paid to Holders of Allowed Claims
  from the Claimant Trust. If the Claimant Trustee does not make such an election to treat the
  Disputed Claims Reserve as a separate taxable entity, the net income, if any, earned in the
  Disputed Claims Reserve will be taxable to the Holders of Allowed Claims in accordance with


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 the principles discussed above under the heading “U.S. Federal Income Tax Treatment of the
 Claimant Trust”, possibly in advance of any distributions to the Holders.

      AS INDICATED ABOVE, THE FOREGOING IS INTENDED TO BE A
 SUMMARY ONLY AND NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING
 WITH A TAX PROFESSIONAL. THE TAX CONSEQUENCES OF THE PLAN ARE
 COMPLEX AND, IN SOME CASES, UNCERTAIN. ACCORDINGLY, EACH HOLDER
 OF A CLAIM OR EQUITY INTEREST IS STRONGLY URGED TO CONSULT WITH
 HIS OWN TAX ADVISOR REGARDING THE TAX CONSEQUENCES OF THE PLAN.

                                          ARTICLE VII.
                                         RECOMMENDATION

         In the opinion of the Debtor, the Plan is preferable to the alternatives described in this
 Disclosure Statement because it provides for the highest distribution to the Debtor’s creditors
 and interest holders. In addition, any alternative other than confirmation of the Plan could result
 in extensive delays and increased administrative expenses resulting in smaller distributions to
 Holders of Allowed Claims and Equity Interests than that which is proposed under the Plan.
 Accordingly, the Debtor recommends that all Holders of Claims and Equity Interests support
 confirmation of the Plan.




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    Dated: November 24, 2020

                                            Respectfully submitted,

                                            HIGHLAND CAPITAL MANAGEMENT, L.P.


                                            ____________________________
                                            James P. Seery, Jr.
                                            Chief Executive Officer and Chief Restructuring
                                            Officer


    Prepared by:

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                                      EXHIBIT A

                             PLAN OF REORGANIZATION
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 HIGHLAND CAPITAL MANAGEMENT, L.P.,1                          )   Case No. 19-34054-sgj11
                                                              )
                                  Debtor.                     )
                                                              )

           FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                       CAPITAL MANAGEMENT, L.P.

PACHULSKI STANG ZIEHL & JONES LLP                           HAYWARD & ASSOCIATES PLLC
Jeffrey N. Pomerantz (CA Bar No.143717)                     Melissa S. Hayward (TX Bar No. 24044908)
Ira D. Kharasch (CA Bar No. 109084)                         Zachery Z. Annable (TX Bar No. 24053075)
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        gdemo@pszjlaw.com

                            Counsel for the Debtor and Debtor-in-Possession




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                 DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


         HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in
 the above-captioned case (the “Debtor”), proposes the following chapter 11 plan of
 reorganization (the “Plan”) for, among other things, the resolution of the outstanding Claims
 against, and Equity Interests in, the Debtor. Unless otherwise noted, capitalized terms used in
 this Plan have the meanings set forth in Article I of this Plan. The Debtor is the proponent of this
 Plan within the meaning of section 1129 of the Bankruptcy Code.

         Reference is made to the Disclosure Statement (as such term is defined herein and
 distributed contemporaneously herewith) for a discussion of the Debtor’s history, business,
 results of operations, historical financial information, projections and assets, and for a summary
 and analysis of this Plan and the treatment provided for herein. There also are other agreements
 and documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or
 the Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan
 Documents are incorporated into and are a part of this Plan as if set forth in full herein. Subject
 to the other provisions of this Plan, and in accordance with the requirements set forth in
 section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to
 alter, amend, modify, revoke, or withdraw this Plan prior to the Effective Date.

         If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
 this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

 A.     Rules of Interpretation, Computation of Time and Governing Law

         For purposes hereof: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
 masculine, feminine or neuter gender shall include the masculine, feminine and the neuter
 gender; (b) any reference herein to a contract, lease, instrument, release, indenture or other
 agreement or document being in a particular form or on particular terms and conditions means
 that the referenced document, as previously amended, modified or supplemented, if applicable,
 shall be substantially in that form or substantially on those terms and conditions; (c) any
 reference herein to an existing document or exhibit having been Filed or to be Filed shall mean
 that document or exhibit, as it may thereafter be amended, modified or supplemented in
 accordance with its terms; (d) unless otherwise specified, all references herein to “Articles,”
 “Sections,” “Exhibits” and “Plan Documents” are references to Articles, Sections, Exhibits and
 Plan Documents hereof or hereto; (e) unless otherwise stated, the words “herein,” “hereof,”
 “hereunder” and “hereto” refer to this Plan in its entirety rather than to a particular portion of this
 Plan; (f) captions and headings to Articles and Sections are inserted for convenience of reference
 only and are not intended to be a part of or to affect the interpretation hereof; (g) any reference to
 an Entity as a Holder of a Claim or Equity Interest includes such Entity’s successors and assigns;
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 (h) the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (i) any
 term used in capitalized form herein that is not otherwise defined but that is used in the
 Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
 Bankruptcy Code or the Bankruptcy Rules, as the case may be; and (j) “$” or “dollars” means
 Dollars in lawful currency of the United States of America. The provisions of Bankruptcy
 Rule 9006(a) shall apply in computing any period of time prescribed or allowed herein.

 B.     Defined Terms

       Unless the context otherwise requires, the following terms shall have the following
 meanings when used in capitalized form herein:

             1. “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
 Management GP, LLP.

                2. “Administrative Expense Claim” means any Claim for costs and expenses of
 administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
 507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
 necessary costs and expenses incurred after the Petition Date and through the Effective Date of
 preserving the Estate and operating the business of the Debtor; and (b) all fees and charges
 assessed against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of
 the United States Code, and that have not already been paid by the Debtor during the Chapter 11
 Case and a Professional Fee Claim.

                3. “Administrative Expense Claims Bar Date” means, with respect to any
 Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
 the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
 the Effective Date.

               4. “Administrative Expense Claims Objection Deadline” means, with respect to
 any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
 (b) sixty (60) days after the timely Filing of the applicable request for payment of such
 Administrative Expense Claim; provided, however, that the Administrative Expense Claims
 Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
 Trustee.

                5. “Affiliate” means an “affiliate” as defined in section 101(2) of the Bankruptcy
 Code and also includes any other Entity that directly or indirectly, through one or more
 intermediaries, controls, is controlled by, or is under common control with, such affiliate. For
 the purposes of this definition, the term “control” (including the terms “controlled by” and
 “under common control with”) means the possession, directly or indirectly, of the power to direct
 or cause the direction of the management and policies of a Person, whether through the
 ownership of voting securities, by contract, or otherwise.

                6. “Allowed” means, with respect to any Claim, except as otherwise provided in
 the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
 Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy
 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not
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 unliquidated, and not disputed and for which no Proof of Claim has been timely filed; (c) a
 Claim Allowed pursuant to the Plan or an order of the Bankruptcy Court that is not stayed
 pending appeal; or (d) a Claim that is not Disputed (including for which a Proof of Claim has
 been timely filed in a liquidated and noncontingent amount that has not been objected to by the
 Claims Objection Deadline or as to which any such objection has been overruled by Final
 Order); provided, however, that with respect to a Claim described in clauses (a) and (b) above,
 such Claim shall be considered Allowed only if and to the extent that, with respect to such
 Claim, no objection to the allowance thereof has been interposed within the applicable period of
 time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or
 such an objection is so interposed and the Claim shall have been Allowed as set forth above.

                7. “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of the
 type that has been Allowed.

                 8. “Assets” means all of the rights, titles, and interest of the Debtor, Reorganized
 Debtor, or Claimant Trust, in and to property of whatever type or nature, including, without
 limitation, real, personal, mixed, intellectual, tangible, and intangible property, the Debtor’s
 books and records, and the Causes of Action.

                 9. “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the
 sole discretion of the Claimant Trustee.

                10. “Avoidance Actions” means any and all avoidance, recovery, subordination or
 other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or
 under similar state or federal statutes and common law, including fraudulent transfer laws

                11. “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13. “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the
 Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.

                15. “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
 the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which
 deadlines may be or have been extended for certain Claimants by order of the Bankruptcy Court.
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               16. “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                17. “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                18. “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

                 19. “Causes of Action” means any action, claim, cross-claim, third-party claim,
 cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known,
 unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
 liquidated or unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect,
 choate or inchoate, secured or unsecured, assertable directly or derivatively (including, without
 limitation, under alter ego theories), whether arising before, on, or after the Petition Date, in
 contract or in tort, in law or in equity or pursuant to any other theory of law. For the avoidance
 of doubt, Cause of Action includes, without limitation,: (a) any right of setoff, counterclaim or
 recoupment and any claim for breach of contract or for breach of duties imposed by law or in
 equity; (b) the right to object to Claims or Equity Interests; (c) any claim pursuant to section 362
 or chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress
 and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; (e) any claims
 under any state or foreign law, including, without limitation, any fraudulent transfer or similar
 claims; (f) the Avoidance Actions, and (g) the Estate Claims. The Causes of Action include,
 without limitation, the Causes of Action belonging to the Debtor’s Estate listed on the schedule
 of Causes of Action to be filed with the Plan Supplement.

                 20. “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
 and chief restructuring officer.

                 21. “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
 Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
 transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
 Management, L.P., Case No. 19-34054-sgj-11.

               22. “Claim” means any “claim” against the Debtor as defined in section 101(5) of
 the Bankruptcy Code.

              23. “Claims Objection Deadline” means the date that is 180 days after the
 Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
 Bankruptcy Court upon a motion by the Claimant Trustee.

               24. “Claimant Trust” means the trust established for the benefit of the Claimant
 Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
 Claimant Trust Agreement.


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               25. “Claimant Trust Agreement” means the agreement Filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                 26. “Claimant Trust Assets” means (i) other than the Reorganized Debtor Assets
 (which are expressly excluded from this definition), all other Assets of the Estate, including, but
 not limited to, all Causes of Action, Available Cash, any proceeds realized or received from such
 Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
 from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
 or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
 (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
 that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
 Reorganized Debtor Assets.

                 27. “Claimant Trust Beneficiaries” means the Holders of Allowed General
 Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
 Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
 following the Effective Date, and, only upon certification by the Claimant Trustee that the
 Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest
 from the Petition Date at the Federal Judgment Rate in accordance with the terms and conditions
 set forth in the Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have
 been resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
 Allowed Class A Limited Partnership Interests.

                28. “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
 officer and chief restructuring officer, or such other Person identified in the Plan Supplement
 who will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation
 Order, and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance
 with) the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among
 other things, monetizing the Estate’s investment assets, resolving Claims (other than those
 Claims assigned to the Litigation Sub-Trust for resolution), and, as the sole officer of New GP
 LLC, winding down the Reorganized Debtor’s business operations.

                29. “Claimant Trust Expenses” means all reasonable legal and other reasonable
 professional fees, costs, and expenses incurred by the Trustees on account of administration of
 the Claimant Trust, including any reasonable administrative fees and expenses, reasonable
 attorneys’ fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and
 other expenses.

                30. “Claimant Trust Interests” means the non-transferable interests in the
 Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan;
 provided, however, Holders of Class A Limited Partnership Interests, Class B Limited
 Partnership Interests, and Class C Limited Partnership Interests will not be deemed to hold
 Claimant Trust Interests unless and until the Contingent Claimant Trust Interests distributed to
 such Holders vest in accordance with the terms of this Plan and the Claimant Trust Agreement.



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                31. “Claimant Trust Oversight Committee” means the committee of five Persons
 established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s performance
 of its duties and otherwise serve the functions described in this Plan and the Claimant Trust
 Agreement.

              32. “Class” means a category of Holders of Claims or Equity Interests as set forth
 in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                33. “Class A Limited Partnership Interest” means the Class A Limited Partnership
 Interests as defined in the Limited Partnership Agreement held by The Dugaboy Investment
 Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela Okada –
 Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                 34. “Class B Limited Partnership Interest” means the Class B Limited Partnership
 Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
 Trust.

               35. “Class B/C Limited Partnership Interests” means, collectively, the Class B
 Limited Partnership and Class C Limited Partnership Interests.

                 36. “Class C Limited Partnership Interest” means the Class C Limited Partnership
 Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
 Trust.

                37. “Committee” means the Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
 consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
 (iii) UBS, and (iv) Acis.

                38. “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                39. “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                40. “Confirmation Order” means the order of the Bankruptcy Court confirming
 this Plan pursuant to section 1129 of the Bankruptcy Code.

               41. “Convenience Claim” means any prepetition, liquidated, and unsecured
 Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
 any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
 doubt, the Reduced Employee Claims will be Convenience Claims.

               42. “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
 available upon the Effective Date for distribution to Holders of Convenience Claims under the
 Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all

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 distributions on account of Convenience Claims have been made will be transferred to the
 Claimant Trust and administered as a Claimant Trust Asset.

                 43. “Convenience Class Election” means the option provided to each Holder of a
 General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
 to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
 Claims.

                 44. “Contingent Claimant Trust Interests” means the contingent Claimant Trust
 Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
 Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in
 accordance with this Plan, the rights of which shall not vest, and consequently convert to
 Claimant Trust Interests, unless and until the Claimant Trustee Files a certification that all
 holders of Allowed General Unsecured Claims have been paid indefeasibly in full, plus, to the
 extent all Allowed unsecured Claims, excluding Subordinated Claims, have been paid in full, all
 accrued and unpaid post-petition interest from the Petition Date at the Federal Judgment Rate
 and all Disputed Claims in Class 8 and Class 9 have been resolved. As set forth in the Claimant
 Trust Agreement, the Contingent Claimant Trust Interests distributed to the Holders of Class A
 Limited Partnership Interests will be subordinated to the Contingent Claimant Trust Interests
 distributed to the Holders of Class B/C Limited Partnership Interests.

                45. “Debtor” means Highland Capital Management, L.P. in its capacity as debtor
 and debtor in possession in the Chapter 11 Case.

                 46. “Delaware Bankruptcy Court” means the United States Bankruptcy Court for
 the District of Delaware.

                47. “Disclosure Statement” means that certain Disclosure Statement for Debtor’s
 Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or modified from
 time to time, which describes this Plan, including all exhibits and schedules thereto and
 references therein that relate to this Plan.

                48. “Disputed” means with respect to any Claim or Equity Interest, any Claim or
 Equity Interest that is not yet Allowed.

                49. “Disputed Claims Reserve” means the appropriate reserve(s) or account(s) to
 be established on the Initial Distribution Date and maintained by the Claimant Trustee for
 distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

                50. “Disputed Claims Reserve Amount” means, for purposes of determining the
 Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
 Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
 The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
 be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
 the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or
 Reorganized Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters
 an order disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the
 Bankruptcy Court, including an order estimating the Disputed Claim.
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               51. “Distribution Agent” means the Claimant Trustee, or any party designated by
 the Claimant Trustee to serve as distribution agent under this Plan.

                 52. “Distribution Date” means the date or dates determined by the Reorganized
 Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon
 which the Distribution Agent shall make distributions to holders of Allowed Claims and Interests
 entitled to receive distributions under the Plan.

                53. “Distribution Record Date” means the date for determining which Holders of
 Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
 the Effective Date or such later date determined by the Bankruptcy Court.

               54. “Effective Date” means the Business Day that this Plan becomes effective as
 provided in ARTICLE VIII hereof.

                55. “Employees” means the employees of the Debtor set forth in the Plan
 Supplement.

               56. “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
 Code and also includes any Person or any other entity.

                  57. “Equity Interest” means any Equity Security in the Debtor, including, without
 limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of stock or
 limited company interests, the Class A Limited Partnership Interests, the Class B Limited
 Partnership Interests, and the Class C Limited Partnership Interests.

               58. “Equity Security” means an “equity security” as defined in section 101(16) of
 the Bankruptcy Code.

                59. “Estate” means the bankruptcy estate of the Debtor created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

               60. “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
 Final Term Sheet [D.I. 354].

                  61. “Exculpated Parties” means, collectively, (i) the Debtor and its successors and
 assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee, (vi) the members of
 the Committee (in their official capacities), (vii) the Professionals retained by the Debtor and the
 Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related Persons of each of
 the parties listed in (iv) through (viii); provided, however, that, for the avoidance of doubt, none
 of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and
 managed entities), the Charitable Donor Advised Fund, L.P. (and any of its subsidiaries,
 including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd. (and any of its
 subsidiaries, members, and managed entities), Highland Capital Management Fund Advisors,
 L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
 subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the

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 Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
 term “Exculpated Party.”

                62. “Executory Contract” means a contract to which the Debtor is a party that is
 subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                63. “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement (as
 such exhibits are amended, modified or otherwise supplemented from time to time), which are
 incorporated by reference herein.

               64. “Federal Judgment Rate” means the post-judgment interest rate set forth in 28
 U.S.C. § 1961 as of the Effective Date.

                 65. “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Case.

                 66. “Final Order” means an order or judgment of the Bankruptcy Court, which is
 in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
 new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
 or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
 any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
 waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or
 the Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
 been determined by the highest court to which such order was appealed, or certiorari, new trial,
 reargument or rehearing shall have been denied and the time to take any further appeal, petition
 for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
 however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
 or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
 not preclude such order from being a Final Order.

               67. “Frontier Secured Claim” means the loan from Frontier State Bank to the
 Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended
 and Restated Loan Agreement, dated March 29, 2018.

                68. “General Partner Interest” means the Class A Limited Partnership Interest
 held by Strand, as the Debtor’s general partner.

                69. “General Unsecured Claim” means any prepetition Claim against the Debtor
 that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
 Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

               70. “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

                71. “GUC Election” means the option provided to each Holder of a Convenience
 Claim on their Ballot to elect to receive the treatment provided to General Unsecured Claims.

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               72. “Holder” means an Entity holding a Claim against, or Equity Interest in, the
 Debtor.

               73. “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                74. “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
 Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
 additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
 Effective Date.

                75. “Initial Distribution Date” means, subject to the “Treatment” sections in
 ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
 Date, when distributions under this Plan shall commence to Holders of Allowed Claims and
 Equity Interests.

                 76. “Insurance Policies” means all insurance policies maintained by the Debtor as
 of the Petition Date.

               77. “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC, arising
 under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between the
 Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
 brokerage account created by such Prime Brokerage Customer Agreement.

                 78. “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
 and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
 security interest or other encumbrance of any kind, or any other type of preferential arrangement
 that has the practical effect of creating a security interest, in respect of such asset.

              79. “Limited Partnership Agreement” means that certain Fourth Amended and
 Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
 December 24, 2015, as amended.

                80. “Litigation Sub-Trust” means the sub-trust established within the Claimant
 Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
 in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
 Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
 Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

               81. “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                 82. “Litigation Trustee” means the trustee appointed by the Committee and
 reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
 settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
 conditions set forth in the Litigation Sub-Trust Agreement.

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               83. “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
 Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
 Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

               84. “New Frontier Note” means that promissory note to be provided to the
 Allowed Holders of Class 2 Claims under this Plan and any other documents or security
 agreements securing the obligations thereunder.

              85. “New GP LLC” means a limited liability company incorporated in the State of
 Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
 Reorganized Debtor on the Effective Date.

               86. “New GP LLC Documents” means the charter, operating agreement, and other
 formational documents of New GP LLC.

               87. “Ordinary Course Professionals Order” means that certain Order Pursuant to
 Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 [D.I. 176].

              88. “Other Unsecured Claim” means any Secured Claim other than the Jefferies
 Secured Claim and the Frontier Secured Claim.

                 89. “Person” means a “person” as defined in section 101(41) of the Bankruptcy
 Code and also includes any natural person, individual, corporation, company, general or limited
 partnership, limited liability company, unincorporated organization firm, trust, estate, business
 trust, association, joint stock company, joint venture, government, governmental agency,
 Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
 whether acting in an individual, fiduciary or other capacity.

               90. “Petition Date” means October 16, 2019.

                91. “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
 Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,
 and schedules thereto, either in its present form or as the same may be altered, amended,
 modified or otherwise supplemented from time to time.

               92. “Plan Distribution” means the payment or distribution of consideration to
 Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                93. “Plan Documents” means any of the documents, other than this Plan, but
 including, without limitation, the documents to be filed with the Plan Supplement, to be
 executed, delivered, assumed, or performed in connection with the occurrence of the Effective
 Date, and as may be modified consistent with the terms hereof with the consent of the
 Committee.

              94. “Plan Supplement” means the ancillary documents necessary for the
 implementation and effectuation of the Plan, including, without limitation, (i) the form of
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 Claimant Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of
 Reorganized Limited Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable),
 (v) the identity of the initial members of the Claimant Trust Oversight Committee, (vi) the form
 of Litigation Sub-Trust Agreement; (vii) the schedule of retained Causes of Action; (viii) the
 New Frontier Note, (ix) the schedule of Employees; (x) the form of Senior Employee
 Stipulation,; and (xi) the schedule of Executory Contracts and Unexpired Leases to be assumed
 pursuant to this Plan, which, in each case, will be in form and substance reasonably acceptable to
 the Debtor and the Committee.

                95. “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
 section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to
 priority under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
 Administrative Claim.

                96. “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
 Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
 Equity Interests in such Class.

                97. “Professional” means (a) any Entity employed in the Chapter 11 Case
 pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy
 Code.

                 98. “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
 compensation for services rendered or reimbursement of costs, expenses or other charges
 incurred after the Petition Date and prior to and including the Effective Date.

               99. “Professional Fee Claims Bar Date” means with respect to Professional Fee
 Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
 approved by order of the Bankruptcy Court.

               100. “Professional Fee Claims Objection Deadline” means, with respect to any
 Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
 payment of such Professional Fee Claim.

              101. “Professional Fee Reserve” means the reserve established and funded by
 the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid
 Allowed Professional Fee Claims.

                102. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
 against the Debtor in the Chapter 11 Case.

                103. “Priority Tax Claim” means any Claim of a Governmental Unit of the
 kind specified in section 507(a)(8) of the Bankruptcy Code.


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                 104. “Protected Parties” means, collectively, (i) the Debtor and its successors
 and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
 Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
 Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
 members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
 LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
 (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through
 (xv); provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
 NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
 Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
 entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
 entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain
 Investment Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any
 trustee acting for the trust), or Grant Scott is included in the term “Protected Party.”

                105. “PTO Claims” means any Claim for paid time off in favor of any Debtor
 employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
 507(a)(4) of the Bankruptcy Code.

                106.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                  107. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
 leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
 of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
 notwithstanding any contractual provision or applicable law that entitles the Holder of such
 Claim or Equity Interest to demand or receive accelerated payment of such Claim or Equity
 Interest after the occurrence of a default: (i) curing any such default that occurred before or after
 the Petition Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
 Code or of a kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be
 cured; (ii) reinstating the maturity of such Claim or Equity Interest as such maturity existed
 before such default; (iii) compensating the Holder of such Claim or Equity Interest for any
 damages incurred as a result of any reasonable reliance by such Holder on such contractual
 provision or such applicable law; (iv) if such Claim or Equity Interest arises from any failure to
 perform a nonmonetary obligation, other than a default arising from failure to operate a non-
 residential real property lease subject to section 365(b)(1)(A) of the Bankruptcy Code,
 compensating the Holder of such Claim or Equity Interest (other than any Debtor or an insider of
 any Debtor) for any actual pecuniary loss incurred by such Holder as a result of such failure; and
 (v) not otherwise altering the legal, equitable, or contractual rights to which such Claim entitles
 the Holder of such Claim.

                 108. “Rejection Claim” means any Claim for monetary damages as a result of
 the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

               109. “Related Entity” means, without duplication, (a) James Dondero, (b) Mark
 Okada, (c) Grant Scott, (d) Hunter Covitz, (e) any entity or person that was an insider of the
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 Debtor on the Petition Date under Section 101(31) of the Bankruptcy Code, including any non-
 statutory insider, (f) any entity that, after the Effective Date, is controlled directly or indirectly by
 James Dondero, including, without limitation, The Dugaboy Investment Trust, (g) the Hunter
 Mountain Investment Trust and any of its direct or indirect parents, and (h) the Charitable Donor
 Advised Fund, L.P., and any of its direct or indirect subsidiaries.

                110. “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
 respective present and former officers, directors, employees, managers, managing members,
 members, financial advisors, attorneys, accountants, investment bankers, consultants,
 professionals, advisors, shareholders, principals, partners, employees, subsidiaries, divisions,
 management companies, and other representatives, in each case solely in their capacity as such.

                 111. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
 Strand (solely from the date of the appointment of the Independent Directors through the
 Effective Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in
 their official capacities), (vi) the Professionals retained by the Debtor and the Committee in the
 Chapter 11 Case; and (vii) the Employees.

                112. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
 Plan on and after the Effective Date.

                 113. “Reorganized Debtor Assets” means any limited and general partnership
 interests held by the Debtor, the management of the Managed Funds and those Causes of Action
 (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
 capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
 Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
 but does not include the underlying portfolio assets held by the Managed Funds.

                114. “Reorganized Limited Partnership Agreement” means that certain Fifth
 Amended and Restated Agreement of Limited Partnership of Highland Capital Management,
 L.P., by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner,
 Filed with the Plan Supplement.

                115. “Restructuring” means the restructuring of the Debtor, the principal terms
 of which are set forth in this Plan and the Disclosure Statement.

                116. “Retained Employee Claim” means any Claim filed by a current employee
 of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                117. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                 118. “Secured” means, when referring to a Claim: (a) secured by a Lien on
 property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
 enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is
 subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the
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 creditor’s interest in the interest of the Debtor’s Estate in such property or to the extent of the
 amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
 Bankruptcy Code or (b) Allowed pursuant to the Plan as a Secured Claim.

               119. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

              120.      “Senior Employees” means the senior employees of the Debtor Filed in the
 Plan Supplement.

              121. “Senior Employee Stipulation” means the agreements filed in the Plan
 Supplement between each Senior Employee and the Debtor.

                122. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and
 owner-builder sales), privilege taxes (including, without limitation, privilege taxes on
 construction contracting with regard to speculative builders and owner builders), and other
 similar taxes imposed or assessed by any Governmental Unit.

                123.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                124.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                125. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
 service or sub-service the Reorganized Debtor Assets.

                126. “Sub-Servicer Agreement” means the agreement that may be entered into
 providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

               127. “Subordinated Claim” means any Claim that (i) is or may be subordinated
 to the Convenience Claims and General Unsecured Claims pursuant to 11 U.S.C. § 510 or Final
 Order of the Bankruptcy Court or (ii) arises from a Class A Limited Partnership Interest or a
 Class B/C Limited Partnership Interest.

                128. “Subordinated Claimant Trust Interests” means the Claimant Trust
 Interests to be distributed to Holders of Allowed Subordinated Claims under the Plan, which
 such interests shall be subordinated in right and priority to the Claimant Trust Interests
 distributed to Holders of Allowed General Unsecured Claims as provided in the Claimant Trust
 Agreement.

               129. “Trust Distribution” means the transfer of Cash or other property by the
 Claimant Trustee to the Claimant Trust Beneficiaries.

                130.    “Trustees” means, collectively, the Claimant Trustee and Litigation
 Trustee.



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               131.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
 Branch.

                132. “Unexpired Lease” means a lease to which the Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 133. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                134. “Voting Deadline” means the date and time by which all Ballots to accept
 or reject the Plan must be received in order to be counted under the under the Order of the
 Bankruptcy Court approving the Disclosure Statement as containing adequate information
 pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
 acceptances of the Plan.

               135.    “Voting Record Date” means November 23, 2020.

                                ARTICLE II.
               ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

 A.     Administrative Expense Claims

         On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional
 Fee Claims) will receive, in full satisfaction, settlement, discharge and release of, and in
 exchange for, such Allowed Administrative Expense Claim either (i) payment in full in
 Available Cash for the unpaid portion of such Allowed Administrative Expense Claim; or
 (ii) such other less favorable treatment as agreed to in writing by the Debtor or the Reorganized
 Debtor, as applicable, and such Holder; provided, however, that Administrative Expense Claims
 incurred by the Debtor in the ordinary course of business may be paid in the ordinary course of
 business in the discretion of the Debtor in accordance with such applicable terms and conditions
 relating thereto without further notice to or order of the Bankruptcy Court. All statutory fees
 payable under 28 U.S.C. § 1930(a) shall be paid as such fees become due.

        If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
 the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File,
 on or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
 Reorganized Debtor, as applicable, and such other Entities who are designated by the
 Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court, an
 application for allowance and payment of such Administrative Expense Claim.

         Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
 must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
 asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
 Deadline.


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 B.     Professional Fee Claims

          Professionals or other Entities asserting a Professional Fee Claim for services rendered
 through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
 503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
 granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in
 full to the extent provided in such order.

         Professionals or other Entities asserting a Professional Fee Claim for services rendered on
 or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
 serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
 designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
 order of the Bankruptcy Court, an application for final allowance of such Professional Fee
 Claim.

         Objections to any Professional Fee Claim must be Filed and served on the Debtor or
 Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
 Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
 will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
 Days of entry of the order approving such Allowed Professional Fee Claim.

         On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
 The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
 Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant
 Trust shall fund the Professional Fee Reserve on the Effective Date in an estimated amount
 determined by the Debtor in good faith prior to the Confirmation Date and that approximates the
 total projected amount of unpaid Professional Fee Claims on the Effective Date. Following the
 payment of all Allowed Professional Fee Claims, any excess funds in the Professional Fee
 Reserve shall be released to the Claimant Trust to be used for other purposes consistent with the
 Plan and the Claimant Trust Agreement.

 C.     Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
 an amount equal to the amount of such Allowed Priority Tax Claim, or (b) such other less
 favorable treatment as agreed to in writing by the Debtor and such Holder. Payment of statutory
 fees due pursuant to 28 U.S.C. § 1930(a)(6) will be made at all appropriate times until the entry
 of a final decree; provided, however, that the Debtor may prepay any or all such Claims at any
 time, without premium or penalty.




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                                    ARTICLE III.
                         CLASSIFICATION AND TREATMENT OF
                       CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.      Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of
 the Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
 classified.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, confirmation and distribution pursuant to
 the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
 a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim
 or Equity Interest qualifies within the description of that Class and will be deemed classified in a
 different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
 the description of such different Class. A Claim or Equity Interest is in a particular Class only to
 the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
 released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the
 Effective Date.

 B.      Summary of Classification and Treatment of Classified Claims and Equity Interests

 Class    Claim                                              Status          Voting Rights
 1        Jefferies Secured Claim                            Unimpaired      Deemed to Accept
 2        Frontier Secured Claim                             Impaired        Entitled to Vote
 3        Other Secured Claims                               Unimpaired      Deemed to Accept
 4        Priority Non-Tax Claim                             Unimpaired      Deemed to Accept
 5        Retained Employee Claim                            Unimpaired      Deemed to Accept
 6        PTO Claims                                         Unimpaired      Deemed to Accept
 7        Convenience Claims                                 Impaired        Entitled to Vote
 8        General Unsecured Claims                           Impaired        Entitled to Vote
 9        Subordinated Claims                                Impaired        Entitled to Vote
 10       Class B/C Limited Partnership Interests            Impaired        Entitled to Vote
 11       Class A Limited Partnership Interests              Impaired        Entitled to Vote

 C.      Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
 voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of


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 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
 satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.     Impaired/Voting Classes

        Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
 Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
 accept or reject the Plan.

 E.     Unimpaired/Non-Voting Classes

        Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
 Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

 F.     Impaired/Non-Voting Classes

        There are no Classes under the Plan that will not receive or retain any property and no
 Classes are deemed to reject the Plan.

 G.     Cramdown

         If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
 accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
 Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
 Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
 class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
 hearing, determine such controversy on or before the Confirmation Date.

 H.     Classification and Treatment of Claims and Equity Interests

        1.      Class 1 – Jefferies Secured Claim

                       Classification: Class 1 consists of the Jefferies Secured Claim.

                       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 1 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 1 Claim, at the election of the Debtor: (A) Cash equal
                        to the amount of such Allowed Class 1 Claim; (B) such other less
                        favorable treatment as to which the Debtor and the Holder of such
                        Allowed Class 1 Claim will have agreed upon in writing; or (C) such other
                        treatment rendering such Claim Unimpaired. Each Holder of an Allowed
                        Class 1 Claim will retain the Liens securing its Allowed Class 1 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 1
                        Claim is made as provided herein.

                       Impairment and Voting: Class 1 is Unimpaired, and the Holders of
                        Class 1 Claims are conclusively deemed to have accepted this Plan
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                    pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
                    Holders of Class 1 Claims are not entitled to vote to accept or reject this
                    Plan and will not be solicited.

       2.    Class 2 – Frontier Secured Claim

                   Classification: Class 2 consists of the Frontier Secured Claim.

                   Treatment: On or as soon as reasonably practicable after the Effective
                    Date, each Holder of an Allowed Class 2 Claim will receive in full
                    satisfaction, settlement, discharge and release of, and in exchange for,
                    such Allowed Class 2 Claim: (A) Cash in an amount equal to all accrued
                    but unpaid interest on the Frontier Claim through and including the
                    Effective Date and (B) the New Frontier Note. The Holder of an Allowed
                    Class 2 Claim will retain the Liens securing its Allowed Class 2 Claim as
                    of the Effective Date until full and final payment of such Allowed Class 2
                    Claim is made as provided herein.

                   Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                    Claims are entitled to vote to accept or reject this Plan.

       3.    Class 3 – Other Secured Claims

                   Classification: Class 3 consists of the Other Secured Claims.

                   Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 3 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 3
                    Claim becomes an Allowed Class 3 Claim, each Holder of an Allowed
                    Class 3 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Claim 3 Claim, at the option
                    of the Debtor, or following the Effective Date, the Reorganized Debtor or
                    Claimant Trustee, as applicable, (i) Cash equal to such Allowed Other
                    Secured Claim, (ii) the collateral securing its Allowed Other Secured
                    Claim, plus postpetition interest to the extent required under Bankruptcy
                    Code Section 506(b), or (iii) such other treatment rendering such Claim
                    Unimpaired.

                   Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class
                    3 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       4.    Class 4 – Priority Non-Tax Claims

                   Classification: Class 4 consists of the Priority Non-Tax Claims.

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                   Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 4 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 4
                    Claim becomes an Allowed Class 4 Claim, each Holder of an Allowed
                    Class 4 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Claim 4 Claim Cash equal to
                    the amount of such Allowed Class 4 Claim.

                   Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class
                    4 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       5.    Class 5 – Retained Employee Claims

                   Classification: Class 5 consists of the Retained Employee Claims.

                   Allowance and Treatment: On or as soon as reasonably practicable after
                    the Effective Date, each Allowed Class 5 Claim will be Reinstated.

                   Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class
                    5 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       6.    Class 6 – PTO Claims

                   Classification: Class 6 consists of the PTO Claims.

                   Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 6 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 6
                    Claim becomes an Allowed Class 6 Claim, each Holder of an Allowed
                    Class 6 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Claim 6 Claim Cash equal to
                    the amount of such Allowed Class 6 Claim.

                   Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class
                    6 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.




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       7.    Class 7 – Convenience Claims

                   Classification: Class 7 consists of the Convenience Claims.

                   Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 7 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 7
                    Claim becomes an Allowed Class 7 Claim, each Holder of an Allowed
                    Class 7 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Class 7 Claim (1) the
                    treatment provided to Allowed Holders of Class 8 General Unsecured
                    Claims if the Holder of such Class 7 Claim makes the GUC Election or (2)
                    an amount in Cash equal to the lesser of (a) 85% of the Allowed amount
                    of such Holder’s Class 7 Claim or (b) such Holder’s Pro Rata share of the
                    Convenience Claims Cash Pool.

                   Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                    Claims are entitled to vote to accept or reject this Plan.

       8.    Class 8 – General Unsecured Claims

                   Classification: Class 8 consists of the General Unsecured Claims.

                   Treatment: On or as soon as reasonably practicable after the Effective
                    Date, each Holder of an Allowed Class 8 Claim, in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Claim shall
                    receive (i) its Pro Rata share of the Claimant Trust Interests, (ii) such other
                    less favorable treatment as to which such Holder and the Claimant Trustee
                    shall have agreed upon in writing, or (iii) the treatment provided to
                    Allowed Holders of Class 7 Convenience Claims if the Holder of such
                    Class 8 General Unsecured Claim is eligible and makes a valid
                    Convenience Class Election.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the
                    Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                    will retain any and all rights and defenses under bankruptcy or
                    nonbankruptcy law that the Debtor had with respect to any General
                    Unsecured Claim, except with respect to any General Unsecured Claim
                    Allowed by Final Order of the Bankruptcy Court.

                   Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                    Claims are entitled to vote to accept or reject this Plan.

       9.    Class 9 – Subordinated Claims

                   Classification: Class 9 consists of the Subordinated Claims.

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                   Treatment: On or as soon as reasonably practicable after the Effective
                    Date, each Holder of an Allowed Class 9 Claim, in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Claim shall
                    receive either (i) the treatment provided to Allowed Class 8 Claims or (ii)
                    if such Allowed Class 9 Claim is subordinated to the Convenience Claims
                    and General Unsecured Claims pursuant to 11 U.S.C. § 510 or Final Order
                    of the Bankruptcy Court, its Pro Rata share of the Subordinated Claimant
                    Trust Interests or (ii) such other less favorable treatment as to which such
                    Holder and the Claimant Trustee shall have agreed upon in writing.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the
                    Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                    will retain any and all rights and defenses under bankruptcy or
                    nonbankruptcy law that the Debtor had with respect to any Subordinated
                    Claim, except with respect to any Subordinated Claim Allowed by Final
                    Order of the Bankruptcy Court.

                   Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                    Claims are entitled to vote to accept or reject this Plan.

       10.   Class 10 – Class B/C Limited Partnership Interests

                   Classification: Class 10 consists of the Class B/C Limited Partnership
                    Interests.

                   Treatment: On or as soon as reasonably practicable after the Effective
                    Date, each Holder of an Allowed Class 10 Claim, in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Claim shall
                    receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                    (ii) such other less favorable treatment as to which such Holder and the
                    Claimant Trustee shall have agreed upon in writing.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the
                    Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                    will retain any and all rights and defenses under bankruptcy or
                    nonbankruptcy law that the Debtor had with respect to any Class B/C
                    Limited Partnership Interest Claim, except with respect to any Class B/C
                    Limited Partnership Interest Claim Allowed by Final Order of the
                    Bankruptcy Court.

                   Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                    Claims are entitled to vote to accept or reject this Plan.




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        11.     Class 11 – Class A Limited Partnership Interests

                      Classification:   Class 11 consists of the Class A Limited Partnership
                       Interests.

                      Treatment: On or as soon as reasonably practicable after the Effective
                       Date, each Holder of an Allowed Class 11 Claim, in full satisfaction,
                       settlement, discharge and release of, and in exchange for, such Claim shall
                       receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                       (ii) such other less favorable treatment as to which such Holder and the
                       Claimant Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the
                       Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                       will retain any and all rights and defenses under bankruptcy or
                       nonbankruptcy law that the Debtor had with respect to any Class A
                       Limited Partnership Interest, except with respect to any Class A Limited
                       Partnership Interest Allowed by Final Order of the Bankruptcy Court.

                      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                       Claims are entitled to vote to accept or reject this Plan.

 I.     Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

 J.     Subordinated Claims

        The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Under section 510 of the Bankruptcy Code, upon written notice,
 the Debtor the Reorganized Debtor, and the Claimant Trustee reserve the right to re-classify, or
 to seek to subordinate, any Claim in accordance with any contractual, legal, or equitable
 subordination relating thereto, and the treatment afforded any Claim under the Plan that becomes
 a subordinated Claim at any time shall be modified to reflect such subordination.

                                   ARTICLE IV.
                       MEANS FOR IMPLEMENTATION OF THIS PLAN

 A.     Summary

       As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
 Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

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         On the Effective Date, all Class A Limited Partnership Interests, including the Class A
 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
 Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in
 the Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-
 chartered limited liability company wholly-owned by the Claimant Trust. The Claimant Trust,
 as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized
 Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized
 Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as
 limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited
 Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current
 Limited Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be
 managed consistent with the terms of the Reorganized Limited Partnership Agreement by New
 GP LLC. The sole managing member of New GP LLC will be the Claimant Trust, and the
 Claimant Trustee will be the sole officer of New GP LLC on the Effective Date.

        Following the Effective Date, the Claimant Trust will administer the Claimant Trust
 Assets pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will
 pursue, if applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust
 Agreement and the Plan. The Reorganized Debtor will administer the Reorganized Debtor
 Assets and, if needed, with the utilization of a Sub-Servicer, which administration will include,
 among other things, managing the wind down of the Managed Funds.

         Although the Reorganized Debtor will manage the wind down of the Managed Funds, it
 is currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume
 or assume and assign the contracts between the Debtor and certain Related Entities pursuant to
 which the Debtor provides shared services and sub-advisory services to those Related Entities.
 The Debtor believes that the continued provision of the services under such contracts will not be
 cost effective.

         The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
 Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
 with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds
 of the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as
 set forth in this Plan and the Claimant Trust Agreement.

 B.      The Claimant Trust2

         1.               Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

         On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
 Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
 the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
 Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
 transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its
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   In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and
 the Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust
 Agreement, as applicable, shall control.
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 rights, title, and interest in and to all of the Claimant Trust Assets, and in accordance with section
 1141 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant
 Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
 Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust
 Agreement, and such transfer shall be exempt from any stamp, real estate transfer, mortgage
 from any stamp, transfer, reporting, sales, use, or other similar tax.

        The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets,
 excluding the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect
 to the Estate Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
 6012(b)(3), as well as the representative of the Estate appointed pursuant to section
 1123(b)(3)(B) of the Bankruptcy Code with respect to the Claimant Trust Assets. The Claimant
 Trustee shall also be responsible for resolving all Claims and Equity Interests in Class 8 through
 Class 11, under the supervision of the Claimant Trust Oversight Committee.

         On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
 Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
 Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably
 transfer and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be
 governed by the Claimant Trust Agreement and administered by the Claimant Trustee. The
 powers, rights, and responsibilities of the Claimant Trustee shall be specified in the Claimant
 Trust Agreement and shall include the authority and responsibility to, among other things, take
 the actions set forth in this ARTICLE IV, subject to any required reporting to the Claimant Trust
 Oversight Committee as may be set forth in the Claimant Trust Agreement. The Claimant Trust
 shall hold and distribute the Claimant Trust Assets (including the proceeds from the Estate
 Claims, if any) in accordance with the provisions of the Plan and the Claimant Trust Agreement;
 provided that the Claimant Trust Oversight Committee may direct the Claimant Trust to reserve
 Cash from distributions as necessary to fund the Claimant Trust and Litigation Sub-Trust. Other
 rights and duties of the Claimant Trustee and the Claimant Trust Beneficiaries shall be as set
 forth in the Claimant Trust Agreement. After the Effective Date, neither the Debtor nor the
 Reorganized Debtor shall have any interest in the Claimant Trust Assets.

         The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
 administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
 Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
 and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
 to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The
 Litigation Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in
 accordance with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall
 distribute the proceeds therefrom to the Claimant Trust for distribution. Other rights and duties
 of the Litigation Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

        2.              Claimant Trust Oversight Committee

        The Claimant Trust, the Claimant Trustee, the management and monetization of the
 Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
 Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be
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 overseen by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust
 Agreement and the Litigation Sub-Trust Agreement, as applicable.

         The Claimant Trust Oversight Committee will initially consist of five members. Four of
 the five members will be representatives of the members of the Committee: (i) the Redeemer
 Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The
 fifth member will be an independent, natural Person chosen by the Committee and reasonably
 acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
 replaced as set forth in the Claimant Trust Agreement. The identity of the members of the
 Claimant Trust Oversight Committee will be disclosed in the Plan Supplement.

         As set forth in the Claimant Trust Agreement, in no event will any member of the
 Claimant Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine,
 or otherwise be involved in any matters related to such member’s Claim.

         The independent member(s) of the Claimant Trust Oversight Committee may be entitled
 to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
 the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
 set forth in the Claimant Trust Agreement.

        3.             Purpose of the Claimant Trust.

        The Claimant Trust shall be established for the purpose of (i) managing and monetizing
 the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the
 oversight of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and
 holding the limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole
 member and manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its
 capacity as the sole member and manager of New GP LLC, overseeing the management and
 monetization of the Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited
 Partnership Agreement; and (v) administering the Disputed Claims Reserve and serving as
 Distribution Agent with respect to Disputed Claims in Class 7 or Class 8.

        In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile
 and object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited
 Partnership Interests, and Class A Limited Partnership Interests, as provided for in this Plan and
 the Claimant Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries
 in accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
 engage in the conduct of a trade or business.

        The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

        4.             Purpose of the Litigation Sub-Trust.

         The Litigation Sub-Trust shall be established for the purpose of investigating,
 prosecuting, settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be
 distributed by the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant
 Trust Beneficiaries pursuant to the terms of the Claimant Trust Agreement.

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        5.              Claimant Trust Agreement and Litigation Sub-Trust Agreement.

        The Claimant Trust Agreement generally will provide for, among other things:

             (i)    the payment of the Claimant Trust Expenses;

             (ii)   the payment of other reasonable expenses of the Claimant Trust;

            (iii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation;

            (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
 including those specified in the Plan;

             (v)    the orderly monetization of the Claimant Trust Assets;

            (vi)    litigation of any Causes of Action, which may include the prosecution,
 settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
 oversight by the Claimant Trust Oversight Committee;

             (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
 subject to reporting and oversight by the Claimant Trust Oversight Committee;

           (viii) the administration of the Disputed Claims Reserve and distributions to be
 made therefrom; and

            (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
 Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

        Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
 be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust
 Agreement. The Claimant Trustee may establish a reserve for the payment of Claimant Trust
 Expenses and shall periodically replenish such reserve, as necessary.

         In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
 Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
 Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
 Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
 to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
 (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
 objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
 without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
 Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
 the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
 resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
 of the Litigation Trustee. In all circumstances, the Claimant Trustee shall act in the best interests
 of the Claimant Trust Beneficiaries and with the same fiduciary duties as a chapter 7 trustee.

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        The Litigation Sub-Trust Agreement generally will provide for, among other things:

             (i)   the payment of other reasonable expenses of the Litigation Sub-Trust;

            (ii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation; and

            (iii) the investigation and prosecution of Estate Claims, which may include the
 prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to
 reporting and oversight as set forth in the Litigation Sub-Trust Agreement.

        The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable,
 may each employ, without further order of the Bankruptcy Court, employees and other
 professionals (including those previously retained by the Debtor and the Committee) to assist in
 carrying out the Trustees’ duties hereunder and may compensate and reimburse the reasonable
 expenses of these professionals without further Order of the Bankruptcy Court from the Claimant
 Trust Assets in accordance with the Plan and the Claimant Trust Agreement.

         The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
 reasonable and customary provisions that allow for indemnification by the Claimant Trust in
 favor of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee.
 Any such indemnification shall be the sole responsibility of the Claimant Trust and payable
 solely from the Claimant Trust Assets.

        6.             Compensation and Duties of Trustees.

       The salient terms of each Trustee’s employment, including such Trustee’s duties and
 compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
 Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
 amount consistent with that of similar functionaries in similar types of bankruptcy cases.

        7.             Cooperation of Debtor and Reorganized Debtor.

         To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
 of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
 Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
 and Reorganized Debtor’s documents, information, and work product relating to the Claimant
 Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall
 reasonably cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their
 prosecution of Causes of Action and in providing the Claimant Trustee and Litigation Trustee
 with copies of documents and information in the Debtor’s possession, custody, or control on the
 Effective Date that either Trustee indicates relates to the Estate Claims or other Causes of
 Action.

        The Debtor and Reorganized Debtor shall preserve all records, documents or work
 product (including all electronic records, documents, or work product) related to the Claims and
 Causes of Action, including Estate Claims, until the earlier of (a) the dissolution of the
 Reorganized Debtor or (b) termination of the Claimant Trust and Litigation Sub-Trust.
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        8.              United States Federal Income Tax Treatment of the Claimant Trust.

         Unless the IRS requires otherwise, for all United States federal income tax purposes, the
 parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a
 transfer of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims
 Reserve, if the Claimant Trustee makes the election described in Section 7 below) directly to the
 applicable Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust
 Beneficiaries to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant
 Trust Interests. Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for
 United States federal income tax purposes as the grantors and owners of their respective share of
 the Claimant Trust Assets. The foregoing treatment shall also apply, to the extent permitted by
 applicable law, for state and local income tax purposes.

        9.              Tax Reporting.

         (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the
 Claimant Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The
 Claimant Trustee may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the
 Disputed Claims Reserve as a disputed ownership fund, in which case the Claimant Trustee will
 file federal income tax returns and pay taxes for the Disputed Claims Reserve as a separate
 taxable entity.

         (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
 Assets, of any taxes imposed on the Claimant Trust or its assets.

         (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust
 Assets as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such
 valuation, and such valuation shall be used consistently for all federal income tax purposes.

        (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
 Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

        10.             Claimant Trust Assets.

         The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
 institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
 Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without
 any further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive
 right, on behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust
 Assets, except as otherwise provided in this Plan or in the Claimant Trust Agreement, without
 any further order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the
 Litigation Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon,
 settle, compromise, release, or withdraw any and all Estate Claims included in the Claimant
 Trust Assets without any further order of the Bankruptcy Court.

        From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3)
 and (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
 representative of the Estate with respect to any and all Claimant Trust Assets, including the
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 Causes of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a)
 commence, pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action
 in any court or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust
 Assets.

        11.             Claimant Trust Expenses.

        From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
 business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
 professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
 professionals retained by such parties and entities from the Claimant Trust Assets, except as
 otherwise provided in the Claimant Trust Agreement.

        12.             Trust Distributions to Claimant Trust Beneficiaries.

         The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant
 Trust Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof,
 provided that such Trust Distributions or use is otherwise permitted under the terms of the Plan,
 the Claimant Trust Agreement, and applicable law.

        13.             Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
 invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
 the terms of the Claimant Trust Agreement; provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treasury
 Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines,
 rulings or other controlling authorities.

        14.             Dissolution of the Claimant Trust and Litigation Sub-Trust.

         The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
 dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the
 pursuit of Estate Claims is not likely to yield sufficient additional proceeds to justify further
 pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of
 Action (other than Estate Claims) is not likely to yield sufficient additional proceeds to justify
 further pursuit of such Causes of Action, (c) the Clamant Trustee determines that the pursuit of
 sales of other Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify
 further pursuit of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and
 Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all
 Distributions required to be made by the Claimant Trustee to the Claimant Trust Beneficiaries
 under the Plan have been made, but in no event shall the Claimant Trust be dissolved later than
 three years from the Effective Date unless the Bankruptcy Court, upon motion made within the
 six-month period before such third anniversary (and, in the event of further extension, by order
 of the Bankruptcy Court, upon motion made at least six months before the end of the preceding
 extension), determines that a fixed period extension (not to exceed two years, together with any
 prior extensions, without a favorable letter ruling from the Internal Revenue Service or an
 opinion of counsel that any further extension would not adversely affect the status of the
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 Claimant Trust as a liquidating trust for federal income tax purposes) is necessary to facilitate or
 complete the recovery on, and liquidation of, the Claimant Trust Assets; provided, however, that
 each extension must be approved, upon a finding that the extension is necessary to facilitate or
 complete the recovery on, and liquidation of the Claimant Trust Assets, by the Bankruptcy Court
 within 6 months of the beginning of the extended term and no extension, together with any prior
 extensions, shall exceed three years without a favorable letter ruling from the Internal Revenue
 Service or an opinion of counsel that any further extension would not adversely affect the status
 of the Claimant Trust as a liquidating trust for federal income tax purposes.

        Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
 any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
 will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the
 Holders of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

 C.     The Reorganized Debtor

        1.              Corporate Existence

        The Debtor will continue to exist after the Effective Date, with all of the powers of
 partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
 Limited Partnership Agreement.

        2.              Cancellation of Equity Interests and Release

         On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
 Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
 canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of,
 or based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
 obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s
 formation documents, including the Limited Partnership Agreement.

        3.              Issuance of New Partnership Interests

         On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
 new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
 New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
 the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
 The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
 of the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner,
 and New GP LLC, as general partner, will execute the Reorganized Limited Partnership
 Agreement and receive partnership interests in the Reorganized Debtor consistent with the terms
 of the Reorganized Limited Partnership Agreement.

        4.              Management of the Reorganized Debtor

         Subject to and consistent with the terms of the Reorganized Limited Partnership
 Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
 initial officers and employees of the Reorganized Debtor shall be selected by the Claimant
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 Trustee. The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to
 or in lieu of the retention of officers and employees.

          As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will
 receive a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited
 liability company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New
 GP LLC (and any taxable income attributable to it) will be subject to corporate income taxation
 on a standalone basis, which may reduce the return to Claimants.

        5.              Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in this Plan or the Confirmation Order, on or after the
 Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
 of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the
 Bankruptcy Code except with respect to such Liens, Claims, charges and other encumbrances
 that are specifically preserved under this Plan upon the Effective Date.

        The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
 for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
 the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to
 the Reorganized Debtor Assets.

        6.              Purpose of the Reorganized Debtor

        Except as may be otherwise provided in this Plan or the Confirmation Order, the
 Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall
 include, for the avoidance of doubt, serving as the investment manager of the Managed Funds)
 and may use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any
 Claims with respect to the Reorganized Debtor Assets without supervision or approval by the
 Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The
 Reorganized Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

         Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
 after the Effective Date for Professionals’ fees, disbursements, expenses or related support
 services (including reasonable fees relating to the preparation of Professional fee applications) in
 the ordinary course of business and without application or notice to, or order of, the Bankruptcy
 Court.

        7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                Reorganized Debtor Assets

         Any proceeds received by the Reorganized Debtor will be distributed to the Claimant
 Trust, as limited partner, and New GP LLC, as general partner, in the manner set forth in the
 Reorganized Limited Partnership Agreement. As set forth in the Reorganized Limited
 Partnership Agreement, the Reorganized Debtor may, from time to time distribute Reorganized
 Debtor Assets to the Claimant Trust either in Cash or in-kind, including to institute the wind-
 down and dissolution of the Reorganized Debtor. Any assets distributed to the Claimant Trust

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 will be (i) deemed transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant
 Trust Assets, and (iii) administered as Claimant Trust Assets.

 D.     Company Action

         Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take
 any and all actions to execute, deliver, File or record such contracts, instruments, releases and
 other agreements or documents and take such actions as may be necessary or appropriate to
 effectuate and implement the provisions of this Plan, the Claimant Trust Agreement, the
 Reorganized Limited Partnership Agreement, or the New GP LLC Documents, as applicable, in
 the name of and on behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable,
 and in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, officers, or directors of the Debtor or the
 Reorganized Debtor, as applicable, or by any other Person.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to this Plan that would otherwise require approval of the stockholders, partners, directors,
 managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
 the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
 after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
 of further action by the stockholders, partners, directors, managers or members of such Persons,
 or the need for any approvals, authorizations, actions or consents of any Person.

         All matters provided for in this Plan involving the legal or corporate structure of the
 Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate
 action required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in
 connection with this Plan, will be deemed to have occurred and will be in full force and effect in
 all respects, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, partners, directors, managers, or members of
 the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person.
 On the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
 applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
 transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
 consents, securities, certificates, resolutions and instruments contemplated by or described in this
 Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
 Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
 Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing
 actions.

 E.     Release of Liens, Claims and Equity Interests

       Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, from and after the

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 Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
 Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estate will be fully released, terminated, extinguished and discharged, in each
 case without further notice to or order of the Bankruptcy Court, act or action under applicable
 law, regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any
 Entity holding such Liens or Equity Interests extinguished pursuant to the prior sentence will,
 pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor,
 the Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
 release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
 the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
 doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE
 IV.C.2.

 F.     Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under this Plan and except
 as otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities
 and other documents evidencing any prepetition Claim or Equity Interest and any rights of any
 Holder in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The
 holders of or parties to such cancelled instruments, Securities, and other documentation will have
 no rights arising from or related to such instruments, Securities, or other documentation or the
 cancellation thereof, except the rights provided for pursuant to this Plan, and the obligations of
 the Debtor thereunder or in any way related thereto will be fully released, terminated,
 extinguished and discharged, in each case without further notice to or order of the Bankruptcy
 Court, act or action under applicable law, regulation, order, or rule or any requirement of further
 action, vote or other approval or authorization by any Person. For the avoidance of doubt, this
 section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

 G.     Cancellation of Existing Instruments Governing Security Interests

         Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
 promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver
 to the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or
 other property of the Debtor held by such Holder, together with any termination statements,
 instruments of satisfaction, or releases of all security interests with respect to its Allowed Class 1
 or Allowed Class 2 Claim that may be reasonably required to terminate any related financing
 statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or
 documents.

 H.     Control Provisions

        To the extent that there is any inconsistency between this Plan as it relates to the
 Claimant Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized
 Limited Partnership Agreement, this Plan shall control.




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 I.     Treatment of Vacant Classes

        Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
 Plan shall receive no Plan Distributions.

 J.     Plan Documents

        The documents, if any, to be Filed as part of the Plan Documents, including any
 documents filed with the Plan Supplement, and any amendments, restatements, supplements, or
 other modifications to such documents, and any consents, waivers, or other deviations under or
 from any such documents, shall be incorporated herein by this reference (including to the
 applicable definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

        The Debtor and the Committee are currently working to finalize the forms of certain of
 the Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
 Committee cannot agree as to the form and content of such Plan Documents, they intend to
 submit the issue to non-binding mediation pursuant to the Order Directing Mediation entered on
 August 3, 2020 [D.I. 912].

 K.     Highland Capital Management, L.P. Retirement Plan and Trust

         The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
 single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
 Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
 the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
 members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
 1301(a)(13), (14) with respect to the Pension Plan.

          Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
 Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
 Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
 standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
 premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
 in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
 Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
 the Reorganized Debtor and each of its controlled group members will be responsible for the
 liabilities imposed by Title IV of ERISA.

         Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
 Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order,
 or the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
 Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
 responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
 regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
 enforcing such liability or responsibility against any person or entity as a result of any of the
 provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves
 the right to contest any such liability or responsibility.

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                             ARTICLE V.
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired
        Leases

          Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or
 rejected by the Debtor pursuant to a Final Order of the Bankruptcy Court entered prior to the
 Effective Date; (ii) previously expired or terminated pursuant to its own terms or by agreement
 of the parties thereto; (iii) is the subject of a motion to assume filed by the Debtor on or before
 the Confirmation Date; (iv) contains a change of control or similar provision that would be
 triggered by the Chapter 11 Case (unless such provision has been irrevocably waived); or (v) is
 specifically designated as a contract or lease to be assumed in the Plan Supplement, on the
 Effective Date, each Executory Contract and Unexpired Lease shall be deemed rejected pursuant
 to section 365 of the Bankruptcy Code, without the need for any further notice to or action,
 order, or approval of the Bankruptcy Court, unless such Executory Contract or Unexpired Lease
 is listed in the Plan Supplement.

         At any time on or prior to the Effective Date, the Debtor may (i) amend the Plan
 Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
 or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as
 determined by the Debtor in consultation with the Committee, or the Reorganized Debtor, as
 applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
 above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
 provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
 Executory Contract or Unexpired Lease shall include all modifications, amendments,
 supplements, restatements, or other agreements related thereto, and all rights related thereto.
 Modifications, amendments, supplements, and restatements to prepetition Executory Contracts
 and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall
 not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
 validity, priority, or amount of any Claims that may arise in connection therewith. To the extent
 applicable, no change of control (or similar provision) will be deemed to occur under any such
 Executory Contract or Unexpired Lease.

          If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
 Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that
 such counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed
 pursuant to the Plan are severable agreements that are not integrated with those Executory
 Contracts and/or Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking
 to contest this finding with respect to their Executory Contracts and/or Unexpired Leases must
 file a timely objection to the Plan on the grounds that their agreements are integrated and not
 severable, and any such dispute shall be resolved by the Bankruptcy Court at the Confirmation
 Hearing (to the extent not resolved by the parties prior to the Confirmation Hearing).



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         Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
 certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
 headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
 accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),
 as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
 Unexpired Nonresidential Real Property Lease [Docket No. 1122].

 B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
 Effective Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
 asserting a Rejection Claim shall File a proof of claim within thirty days of the Effective Date.
 Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
 and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
 objection to any Rejection Claim.

        Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
 accordance with ARTICLE III of this Plan.

 C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
        Leases

         Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
 Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the
 default amount in Cash as and when due in the ordinary course or on such other terms as the
 parties to such Executory Contracts may otherwise agree. The Debtor may serve a notice on the
 Committee and parties to Executory Contracts or Unexpired Leases to be assumed or assigned
 reflecting the Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory
 Contract or Unexpired Lease in connection with this Plan and setting forth the proposed cure
 amount (if any).

        If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
 the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
 assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
 Code will be made following the entry of a Final Order or orders resolving the dispute and
 approving the assumption or assignment.

         Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE
 V.C shall result in the full release and satisfaction of any cure amounts, Claims, or defaults,
 whether monetary or nonmonetary, including defaults of provisions restricting the change in
 control or ownership interest composition or other bankruptcy-related defaults, arising under any
 assumed or assigned Executory Contract or Unexpired Lease at any time prior to the effective
 date of assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts

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 or Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including
 pursuant to the Confirmation Order, and for which any cure amounts have been fully paid
 pursuant to this ARTICLE V.C, shall be deemed disallowed and expunged as of the Effective
 Date without the need for any objection thereto or any further notice to or action, order, or
 approval of the Bankruptcy Court.

                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Dates of Distributions

         Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
 Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity
 Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or
 Equity Interest against the Debtor shall receive the full amount of the distributions that this Plan
 provides for Allowed Claims or Allowed Equity Interests in the applicable Class and in the
 manner provided herein. If any payment or act under this Plan is required to be made or
 performed on a date that is not on a Business Day, then the making of such payment or the
 performance of such act may be completed on the next succeeding Business Day, but shall be
 deemed to have been completed as of the required date. If and to the extent there are Disputed
 Claims or Equity Interests, distributions on account of any such Disputed Claims or Equity
 Interests shall be made pursuant to the provisions provided in this Plan. Except as otherwise
 provided in this Plan, Holders of Claims and Equity Interests shall not be entitled to interest,
 dividends or accruals on the distributions provided for therein, regardless of whether
 distributions are delivered on or at any time after the Effective Date.

         Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be
 deemed fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor,
 or the Claimant Trust will have liability on account of any Claims or Equity Interests except as
 set forth in this Plan and in the Confirmation Order. All payments and all distributions made by
 the Distribution Agent under this Plan shall be in full and final satisfaction, settlement and
 release of all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

         At the close of business on the Distribution Record Date, the transfer ledgers for the
 Claims against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall
 be no further changes in the record holders of such Claims and Equity Interests. The Debtor, the
 Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective
 agents, successors, and assigns shall have no obligation to recognize the transfer of any Claims
 against the Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date
 and shall be entitled instead to recognize and deal for all purposes hereunder with only those
 record holders stated on the transfer ledgers as of the close of business on the Distribution
 Record Date irrespective of the number of distributions to be made under this Plan to such
 Persons or the date of such distributions.




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 B.     Distribution Agent

        Except as provided herein, all distributions under this Plan shall be made by the Claimant
 Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
 Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
 Distribution Agent with respect to Claims in Class 1 through Class 7.

        The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
 Distribution Agent, shall not be required to give any bond or surety or other security for the
 performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
 Court.

        The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
 Distribution Agent to be necessary and proper to implement the provisions hereof.

         The Distribution Agent shall not have any obligation to make a particular distribution to a
 specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

 C.     Cash Distributions

        Distributions of Cash may be made by wire transfer from a domestic bank, except that
 Cash payments made to foreign creditors may be made in such funds and by such means as the
 Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

 D.     Disputed Claims Reserve

        On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
 maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts
 on account of any Disputed Claims.

 E.     Distributions from the Disputed Claims Reserve

         The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
 Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
 pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
 becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall
 distribute from the Disputed Claims Reserve to the Holder thereof any prior distributions, in
 Cash, that would have been made to such Allowed Claim if it had been Allowed as of the
 Effective Date. For the avoidance of doubt, each Holder of a Disputed Claim that subsequently
 becomes an Allowed Claim will also receive its Pro Rata share of the Claimant Trust Interests.
 If, upon the resolution of all Disputed Claims any Cash remains in the Disputed Claims Reserve,
 such Cash shall be transferred to the Claimant Trust and be deemed a Claimant Trust Asset.


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 F.     Rounding of Payments

         Whenever this Plan would otherwise call for, with respect to a particular Person, payment
 of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such
 fraction to the nearest whole dollar (up or down), with half dollars being rounded down. To the
 extent that Cash to be distributed under this Plan remains undistributed as a result of the
 aforementioned rounding, such Cash or stock shall be treated as “Unclaimed Property” under this
 Plan.

 G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
 the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
 Distributions with a value of less than $100, unless a written request therefor is received by the
 Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
 within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
 Allowed Claim. De minimis distributions for which no such request is timely received shall
 revert to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim
 on account of missed distributions) shall be automatically deemed satisfied, discharged and
 forever barred, notwithstanding any federal or state escheat laws to the contrary.

 H.     Distributions on Account of Allowed Claims

        Except as otherwise agreed by the Holder of a particular Claim or as provided in this
 Plan, all distributions shall be made pursuant to the terms of this Plan and the Confirmation
 Order. Except as otherwise provided in this Plan, distributions to any Holder of an Allowed
 Claim shall, to the extent applicable, be allocated first to the principal amount of any such
 Allowed Claim, as determined for U.S. federal income tax purposes and then, to the extent the
 consideration exceeds such amount, to the remainder of such Claim comprising accrued but
 unpaid interest, if any (but solely to the extent that interest is an allowable portion of such
 Allowed Claim).

 I.     General Distribution Procedures

         The Distribution Agent shall make all distributions of Cash or other property required
 under this Plan, unless this Plan specifically provides otherwise. All Cash and other property
 held by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
 distribution under this Plan shall not be subject to any claim by any Person.

 J.     Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
 shall be made (1) at the addresses set forth in any written notices of address change delivered to
 the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed
 by such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3)
 at the addresses in the Debtor’s books and records.


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         If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
 the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
 the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

 K.     Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such
 Holder, and Distribution Agent shall not have any obligation to make any further distribution to
 the Holder, unless and until the Distribution Agent is notified in writing of such Holder’s then
 current address.

         Any Entity that fails to claim any Cash within six months from the date upon which a
 distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
 and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
 purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
 whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
 any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

 L.     Withholding Taxes

         In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
 with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
 and all distributions made pursuant to this Plan shall be subject to such withholding and
 reporting requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state
 or local withholding taxes from any Cash payments made with respect to Allowed Claims, as
 appropriate. As a condition to receiving any distribution under this Plan, the Distribution Agent
 may require that the Holder of an Allowed Claim entitled to receive a distribution pursuant to
 this Plan provide such Holder’s taxpayer identification number and such other information and
 certification as may be deemed necessary for the Distribution Agent to comply with applicable
 tax reporting and withholding laws. If a Holder fails to comply with such a request within one
 year, such distribution shall be deemed an unclaimed distribution. Any amounts withheld
 pursuant hereto shall be deemed to have been distributed to and received by the applicable
 recipient for all purposes of this Plan.

 M.     Setoffs

         The Distribution Agent may, to the extent permitted under applicable law, set off against
 any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
 Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
 Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed
 Claim that are not otherwise waived, released or compromised in accordance with this Plan;
 provided, however, that neither such a setoff nor the allowance of any Claim hereunder shall
 constitute a waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of
 any such claims, rights and causes of action that the Debtor, the Reorganized Debtor, or
 Claimant Trustee possesses against such Holder. Any Holder of an Allowed Claim subject to


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 such setoff reserves the right to challenge any such setoff in the Bankruptcy Court or any other
 court with jurisdiction with respect to such challenge.

 N.     Surrender of Cancelled Instruments or Securities

        As a condition precedent to receiving any distribution pursuant to this Plan on account of
 an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
 ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
 instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
 negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
 have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.

 O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required
 by this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the
 Distribution Agent of such loss, theft, mutilation, or destruction; and (ii) such security or
 indemnity as may be required by the Distribution Agent to hold such party harmless from any
 damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed
 Claim or Equity Interest. Upon compliance with ARTICLE VI.O of this Plan as determined by
 the Distribution Agent, by a Holder of a Claim evidenced by a security or note, such Holder will,
 for all purposes under this Plan, be deemed to have surrendered such security or note to the
 Distribution Agent.

                                  ARTICLE VII.
                       PROCEDURES FOR RESOLVING CONTINGENT,
                         UNLIQUIDATED AND DISPUTED CLAIMS

 A.     Filing of Proofs of Claim

        Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
 unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
 required to file a Proof of Claim on or prior to the Bar Date.

 B.     Disputed Claims

         Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
 applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
 Claim or Disputed Equity Interest or any other appropriate motion or adversary proceeding with
 respect thereto, which shall be litigated to Final Order or, at the discretion of the Reorganized
 Debtor or Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without
 further order of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation
 Order, the Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or
 withdraw any objections to, any Disputed Claim or Disputed Equity Interests following the
 Effective Date without further notice to creditors (other than the Entity holding such Disputed
 Claim or Disputed Equity Interest) or authorization of the Bankruptcy Court, in which event such
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 Claim or Equity Interest shall be deemed to be an Allowed Claim or Equity Interest in the
 amount compromised for purposes of this Plan.

 C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

         No payment or other distribution or treatment shall be made on account of a Disputed
 Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity
 Interest becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim
 or Equity Interest, as applicable, is determined by order of the Bankruptcy Court or by
 stipulation between the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of
 the Claim or Equity Interest.

 D.     Allowance of Claims and Equity Interests

         Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
 Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
 distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

        1.      Allowance of Claims

         After the Effective Date and subject to the other provisions of this Plan, the Reorganized
 Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
 defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
 Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
 the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
 Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
 Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
 entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
 allowing such Claim or Equity Interest.

        2.      Estimation

          Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and
 the Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at
 any time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
 Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
 unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of
 the Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157
 and 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or
 unliquidated Claim, including during the litigation concerning any objection to any Claim or
 Equity Interest or during the pendency of any appeal relating to any such objection. All of the
 aforementioned objection, estimation and resolution procedures are cumulative and not exclusive
 of one another. Claims or Equity Interests may be estimated and subsequently compromised,
 settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court. The rights
 and objections of all parties are reserved in connection with any such estimation proceeding.



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        3.      Disallowance of Claims

         Any Claims or Equity Interests held by Entities from which property is recoverable under
 sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
 avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and
 holders of such Claims or Interests may not receive any distributions on account of such Claims
 or Interests until such time as such Causes of Action against that Entity have been settled or a
 Bankruptcy Court Order with respect thereto has been entered and all sums due, if any, to the
 Reorganized Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or
 paid to the Reorganized Debtor or the Claimant Trust, as applicable.

      EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
 DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,
 ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
 WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
 THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
 RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
 LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL
 ORDER.

                                      ARTICLE VIII.
                                 EFFECTIVENESS OF THIS PLAN

 A.     Conditions Precedent to the Effective Date

        The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
 the Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
 ARTICLE VIII.B of this Plan of the following:

            This Plan and the Plan Documents, including the Claimant Trust Agreement and the
             Reorganized Limited Partnership Agreement, and all schedules, documents,
             supplements and exhibits to this Plan shall have been Filed in form and substance
             reasonably acceptable to the Debtor and the Committee.

            The Confirmation Order shall have been entered, not subject to stay pending appeal,
             and shall be in form and substance reasonably acceptable to the Debtor and the
             Committee. The Confirmation Order shall provide that, among other things, (i) the
             Debtor, the Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee are
             authorized to take all actions necessary or appropriate to effectuate and consummate
             this Plan, including, without limitation, (a) entering into, implementing, effectuating,
             and consummating the contracts, instruments, releases, and other agreements or
             documents created in connection with or described in this Plan, (b) assuming the
             Executory Contracts and Unexpired Leases set forth in the Plan Supplement, (c)
             making all distributions and issuances as required under this Plan; and (d) entering

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            into any transactions as set forth in the Plan Documents; (ii) the provisions of the
            Confirmation Order and this Plan are nonseverable and mutually dependent; (iii) the
            implementation of this Plan in accordance with its terms is authorized; (iv) pursuant
            to section 1146 of the Bankruptcy Code, the delivery of any deed or other instrument
            or transfer order, in furtherance of, or in connection with this Plan, including any
            deeds, bills of sale, or assignments executed in connection with any disposition or
            transfer of Assets contemplated under this Plan, shall not be subject to any Stamp or
            Similar Tax; and (v) the vesting of the Claimant Trust Assets in the Claimant Trust
            and the Reorganized Debtor Assets in the Reorganized Debtor, in each case as of the
            Effective Date free and clear of liens and claims to the fullest extent permissible
            under applicable law pursuant to section 1141(c) of the Bankruptcy Code except with
            respect to such Liens, Claims, charges and other encumbrances that are specifically
            preserved under this Plan upon the Effective Date.

           All documents and agreements necessary to implement this Plan, including without
            limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust
            Agreement, and the New GP LLC Documents, in each case in form and substance
            reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
            for delivery, and (b) been effected by, executed by, or otherwise deemed binding
            upon, all Entities party thereto and shall be in full force and effect. All conditions
            precedent to such documents and agreements shall have been satisfied or waived
            pursuant to the terms of such documents or agreements.

           All authorizations, consents, actions, documents, approvals (including any
            governmental approvals), certificates and agreements necessary to implement this
            Plan, including, without limitation, the Reorganized Limited Partnership Agreement,
            the Claimant Trust Agreement, and the New GP LLC Documents, shall have been
            obtained, effected or executed and delivered to the required parties and, to the extent
            required, filed with the applicable governmental units in accordance with applicable
            laws and any applicable waiting periods shall have expired without any action being
            taken or threatened by any competent authority that would restrain or prevent
            effectiveness or consummation of the Restructuring.

           The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
            determined by the Debtor in good faith.

 B.     Waiver of Conditions

         The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than
 that the Confirmation Order shall have been entered) may be waived in whole or in part by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
 the Committee), without notice, leave or order of the Bankruptcy Court or any formal action
 other than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a
 condition to the Effective Date may be asserted by the Debtor regardless of the circumstances
 giving rise to the failure of such condition to be satisfied. The failure of the Debtor to exercise
 any of the foregoing rights will not be deemed a waiver of any other rights, and each right will be
 deemed an ongoing right that may be asserted at any time by the Debtor, the Reorganized
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 Debtor, or the Claimant Trust, as applicable.

 C.     Effect of Non-Occurrence of Conditions to Effectiveness

         Unless waived as set forth in ARTICLE VIII.B, if the Effective Date of this Plan does not
 occur within twenty calendar days of entry of the Confirmation Order, the Debtor may withdraw
 this Plan and, if withdrawn, the Plan shall be of no further force or effect.

 D.     Dissolution of the Committee

         On the Effective Date, the Committee will dissolve, and the members of the Committee
 and the Committee’s Professionals will cease to have any role arising from or relating to the
 Chapter 11 Case, except in connection with final fee applications of Professionals for services
 rendered prior to the Effective Date (including the right to object thereto). The Professionals
 retained by the Committee and the members thereof will not be entitled to assert any fee claims
 for any services rendered to the Committee or expenses incurred in the service of the Committee
 after the Effective Date, except for reasonable fees for services rendered, and actual and
 necessary costs incurred, in connection with any applications for allowance of Professional Fees
 pending on the Effective Date or filed and served after the Effective Date pursuant to the Plan.
 Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or Committee’s
 Professionals to represent either of the Trustees or to be compensated or reimbursed per the Plan
 and the Claimant Trust Agreement in connection with such representation.

                                 ARTICLE IX.
                EXCULPATION, INJUNCTION AND RELATED PROVISIONS

 A.     General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of
 equitable subordination, section 510 of the Bankruptcy Code, or otherwise.

 B.     Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the
 Confirmation Order, all consideration distributed under this Plan will be in exchange for, and in
 complete satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of
 any kind or nature whatsoever against the Debtor or any of its Assets or properties, and
 regardless of whether any property will have been distributed or retained pursuant to this Plan on
 account of such Claims or Equity Interests. Except as otherwise expressly provided by this Plan
 or the Confirmation Order, upon the Effective Date, the Debtor and its Estate will be deemed
 discharged and released under and to the fullest extent provided under section 1141(d)(1)(A) and
 other applicable provisions of the Bankruptcy Code from any and all Claims and Equity Interests
 of any kind or nature whatsoever, including, but not limited to, demands and liabilities that arose
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 before the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or
 502(i) of the Bankruptcy Code.

 C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
 by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
 exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in
 connection with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
 negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
 confirmation of, the Plan; (iii) the funding or consummation of the Plan (including the Plan
 Supplement) or any related agreements, instruments, or other documents, the solicitation of votes
 on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be issued
 pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan
 Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any
 negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);
 provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated
 Party arising out of or related to acts or omissions that constitute bad faith, fraud, gross
 negligence, criminal misconduct, or willful misconduct or (b) Strand or any Employee other than
 with respect to actions taken by such Entities from the date of appointment of the Independent
 Directors through the Effective Date. This exculpation shall be in addition to, and not in
 limitation of, all other releases, indemnities, exculpations, any other applicable law or rules, or
 any other provisions of this Plan, including ARTICLE IV.C.2, protecting such Exculpated
 Parties from liability.

 D.     Releases by the Debtor

         On and after the Effective Date, each Released Party is deemed to be, hereby
 conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by
 the Debtor and the Estate, in each case on behalf of themselves and their respective successors,
 assigns, and representatives, including, but not limited to, the Claimant Trust and the Litigation
 Sub-Trust from any and all Causes of Action, including any derivative claims, asserted on behalf
 of the Debtor, whether known or unknown, foreseen or unforeseen, matured or unmatured,
 existing or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtor or the
 Estate would have been legally entitled to assert in their own right (whether individually or
 collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor or other
 Person.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not
 release: (i) any obligations of any party under the Plan or any document, instrument, or
 agreement executed to implement the Plan, (ii) the rights or obligations of any current employee
 of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect
 to any confidentiality provisions or covenants restricting competition in favor of the Debtor
 under any employment agreement with a current or former employee of the Debtor, (iv) any
 Avoidance Actions, or (v) any Causes of Action arising from willful misconduct, criminal


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 misconduct, actual fraud, or gross negligence of such applicable Released Party as determined by
 Final Order of the Bankruptcy Court or any other court of competent jurisdiction.

         Notwithstanding anything herein to the contrary, any release provided pursuant to this
 ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
 Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
 (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
 Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any
 Employee, including a Senior Employee, shall be deemed null and void and of no force and
 effect (1) if there is more than one member of the Claimant Trust Oversight Committee who does
 not represent entities holding a Disputed or Allowed Claim (the “Independent Members”), the
 Claimant Trustee and the Independent Members by majority vote determine or (2) if there is only
 one Independent Member, the Independent Member after discussion with the Claimant Trustee,
 determines (in each case after discussing with the full Claimant Trust Oversight Committee) that
 such Employee (regardless of whether the Employee is then currently employed by the Debtor,
 the Reorganized Debtor, or the Claimant Trustee):

           sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
            attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation
            Sub-Trust, or any of their respective employees or agents, or any Released Party on or
            in connection with any claim or cause of action arising prior to the Effective Date,

           has taken any action that, impairs or harms the value of the Claimant Trust Assets or
            the Reorganized Debtor Assets, or

           (x) upon the request of the Claimant Trustee, has failed to provide reasonable
            assistance in good faith to the Claimant Trustee or the Reorganized Debtor with
            respect to (1) the monetization of the Claimant Trust Assets or Reorganized Debtor
            Assets, as applicable, or (2) the resolution of Claims, or (y) has taken any action that
            impedes or frustrates the Claimant Trustee or the Reorganized Debtor with respect to
            any of the foregoing.

 Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
 Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
 release has not been deemed null and void and of no force and effect on or prior to the date that
 is the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

         By executing the Senior Employee Stipulation embodying this release, each Senior
 Employee acknowledges and agrees, without limitation, to the terms of this release and the
 tolling agreement contained in the Senior Employee Stipulation.

        The provisions of this release and the execution of a Senior Employee Stipulation will not
 in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
 Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought
 against the Employee by a third party, or (iii) assisting other persons in defending themselves
 from any Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims


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 brought by the Litigation Trustee and not collection or other actions brought by the Claimant
 Trustee).

 E.     Preservation of Rights of Action

        1.      Maintenance of Causes of Action

        Except as otherwise provided in this Plan, after the Effective Date, the Reorganized
 Debtor or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as
 appropriate, any and all Causes of Action included in the Reorganized Debtor Assets or Claimant
 Trust Assets, as applicable, whether existing as of the Petition Date or thereafter arising, in any
 court or other tribunal including, without limitation, in an adversary proceeding Filed in the
 Chapter 11 Case and, as the successors in interest to the Debtor and the Estate, may, and will
 have the exclusive right to, enforce, sue on, settle, compromise, transfer or assign (or decline to
 do any of the foregoing) any or all of the Causes of Action without notice to or approval from the
 Bankruptcy Court.

        2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
 is expressly waived, relinquished, released, compromised or settled in this Plan or any Final
 Order (including, without limitation, the Confirmation Order), such Cause of Action is expressly
 reserved for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable
 (including, without limitation, Causes of Action not specifically identified or of which the
 Debtor may presently be unaware or that may arise or exist by reason of additional facts or
 circumstances unknown to the Debtor at this time or facts or circumstances that may change or
 be different from those the Debtor now believes to exist) and, therefore, no preclusion doctrine,
 including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,
 claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such
 Causes of Action as a consequence of the confirmation, effectiveness, or consummation of this
 Plan based on the Disclosure Statement, this Plan or the Confirmation Order, except where such
 Causes of Action have been expressly released in this Plan or any other Final Order (including,
 without limitation, the Confirmation Order). In addition, the right of the Reorganized Debtor or
 the Claimant Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a
 plaintiff, defendant or an interested party, against any Entity, including, without limitation, the
 plaintiffs or co-defendants in such lawsuits, is expressly reserved.

 F.     Injunction

         Upon entry of the Confirmation Order, all holders of Claims and Equity Interests and
 other parties in interest, along with their respective Related Persons, shall be enjoined from
 taking any actions to interfere with the implementation or consummation of the Plan.

         Except as expressly provided in the Plan, the Confirmation Order, or a separate order of
 the Bankruptcy Court, all Entities who have held, hold, or may hold Claims against or Equity
 Interests in the Debtor (whether proof of such Claims or Equity Interests has been filed or not
 and whether or not such Entities vote in favor of, against or abstain from voting on the Plan or
 are presumed to have accepted or deemed to have rejected the Plan) and other parties in interest,
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 along with their respective Related Persons, are permanently enjoined, on and after the Effective
 Date, with respect to such Claims and Equity Interests, from (i) commencing, conducting, or
 continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
 (including any proceeding in a judicial, arbitral, administrative or other forum) against or
 affecting the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant Trust
 or the property of any of the Debtor, the Independent Directors, the Reorganized Debtor, or the
 Claimant Trust, (ii) enforcing, levying, attaching (including any prejudgment attachment),
 collecting, or otherwise recovering by any manner or means, whether directly or indirectly, any
 judgment, award, decree, or order against the Debtor, the Independent Directors, the
 Reorganized Debtor, or the Claimant Trust or the property of any of the Debtor, the Independent
 Directors, the Reorganized Debtor, or the Claimant Trust, (iii) creating, perfecting, or otherwise
 enforcing in any manner, directly or indirectly, any encumbrance of any kind against the Debtor,
 the Independent Directors, the Reorganized Debtor, or the Claimant Trust or the property of any
 of the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant Trust, (iv)
 asserting any right of setoff, directly or indirectly, against any obligation due from the Debtor,
 the Independent Directors, the Reorganized Debtor, or the Claimant Trust or against property or
 interests in property of any of the Debtor, the Independent Directors, the Reorganized Debtor, or
 the Claimant Trust; and (v) acting or proceeding in any manner, in any place whatsoever, that
 does not conform to or comply with the provisions of the Plan.

        The injunctions set forth herein shall extend to any successors of the Debtor, the
 Reorganized Debtor, and the Claimant Trust and their respective property and interests in
 property.

         Subject in all respects to ARTICLE XII.D, no Entity may commence or pursue a
 claim or cause of action of any kind against any Protected Party that arose from or is
 related to the Chapter 11 Case, the negotiation of this Plan, the administration of the Plan
 or property to be distributed under the Plan, the wind down of the business of the Debtor
 or Reorganized Debtor, the administration of the Claimant Trust, or the transactions in
 furtherance of the foregoing without the Bankruptcy Court (i) first determining, after
 notice, that such claim or cause of action represents a colorable claim of bad faith, criminal
 misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and
 (ii) specifically authorizing such Entity to bring such claim against any such Protected
 Party; provided, however, the foregoing will not apply to Strand or any Employee other
 than with respect to actions taken by such Entities from the date of appointment of the
 Independent Directors through the Effective Date. As set forth in ARTICLE XI, the
 Bankruptcy Court will have sole jurisdiction to adjudicate any such claim for which
 approval of the Bankruptcy Court to commence or pursue has been granted.

 G.     Term of Injunctions or Stays

         Unless otherwise provided in this Plan, the Confirmation Order, or in a Final Order of the
 Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Case
 under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
 Confirmation Date, shall remain in full force and effect until the later of the Effective Date and
 the date indicated in the order providing for such injunction or stay.

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 H.     Continuance of January 9 Order

         Unless otherwise provided in this Plan, the Confirmation Order, or in a Final Order of the
 Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
 January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date until
 the dissolution of each of the Claimant Trust and the Litigation Trust.

                                        ARTICLE X.
                                   BINDING NATURE OF PLAN

         On the Effective Date, and effective as of the Effective Date, the Plan, including, without
 limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all
 Holders of Claims against and Equity Interests in the Debtor and such Holder’s respective
 successors and assigns, to the maximum extent permitted by applicable law, notwithstanding
 whether or not such Holder will receive or retain any property or interest in property under the
 Plan. All Claims and Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also
 bind any taxing authority, recorder of deeds, or similar official for any county, state,
 Governmental Unit or parish in which any instrument related to the Plan or related to any
 transaction contemplated thereby is to be recorded with respect to nay taxes of the kind specified
 in Bankruptcy Code section 1146(a).

                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
 after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
 respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
 and this Plan as legally permissible, including, without limitation, jurisdiction to:

           allow, disallow, determine, liquidate, classify, estimate or establish the priority,
            secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
            without limitation, the resolution of any request for payment of any Administrative
            Expense Claim and the resolution of any and all objections to the allowance or
            priority of any Claim or Equity Interest;

           grant or deny any applications for allowance of compensation or reimbursement of
            expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
            on or before the Effective Date; provided, however, that, from and after the Effective
            Date, the Reorganized Debtor shall pay Professionals in the ordinary course of
            business for any work performed after the Effective Date subject to the terms of this
            Plan and the Confirmation Order, and such payment shall not be subject to the
            approval of the Bankruptcy Court;



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          resolve any matters related to the assumption, assignment or rejection of any
           Executory Contract or Unexpired Lease to which the Debtor is party or with respect
           to which the Debtor, Reorganized Debtor, or Claimant Trust may be liable and to
           adjudicate and, if necessary, liquidate, any Claims arising therefrom, including,
           without limitation, any dispute regarding whether a contract or lease is or was
           executory or expired;

          make any determination with respect to a claim or cause of action against a Protected
           Party as set forth in ARTICLE IX;

          resolve any claim or cause of action against an Exculpated Party or Protected Party
           arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
           administration of the Plan or property to be distributed under the Plan, the wind down
           of the business of the Debtor or Reorganized Debtor, or the transactions in
           furtherance of the foregoing;

          if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
           and allow any sale, disposition, assignment or other transfer of the Reorganized
           Debtor Assets or Claimant Trust Assets, including any break-up compensation or
           expense reimbursement that may be requested by a purchaser thereof; provided,
           however, that neither the Reorganized Debtor nor the Claimant Trustee shall be
           required to seek such authority or approval from the Bankruptcy Court unless
           otherwise specifically required by this Plan or the Confirmation Order;

          if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
           and allow any borrowing or the incurrence of indebtedness, whether secured or
           unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
           neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek
           such authority or approval from the Bankruptcy Court unless otherwise specifically
           required by this Plan or the Confirmation Order;

          resolve any issues related to any matters adjudicated in the Chapter 11 Case;

          ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
           are accomplished pursuant to the provisions of this Plan;

          decide or resolve any motions, adversary proceedings, contested or litigated matters
           and any other Causes of Action (including Estate Claims) that are pending as of the
           Effective Date or that may be commenced in the future, including approval of any
           settlements, compromises, or other resolutions as may be requested by the Debtor, the
           Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
           Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
           Debtor that may be pending on the Effective Date or instituted by the Reorganized
           Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
           that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
           reserve the right to commence actions in all appropriate forums and jurisdictions;

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           enter such orders as may be necessary or appropriate to implement, effectuate, or
            consummate the provisions of this Plan, the Plan Documents, and all other contracts,
            instruments, releases, and other agreements or documents adopted in connection with
            this Plan, the Plan Documents, or the Disclosure Statement;

           resolve any cases, controversies, suits or disputes that may arise in connection with
            the implementation, effectiveness, consummation, interpretation, or enforcement of
            this Plan or any Entity’s obligations incurred in connection with this Plan;

           issue injunctions and enforce them, enter and implement other orders or take such
            other actions as may be necessary or appropriate to restrain interference by any Entity
            with implementation, effectiveness, consummation, or enforcement of this Plan,
            except as otherwise provided in this Plan;

           enforce the terms and conditions of this Plan and the Confirmation Order;

           resolve any cases, controversies, suits or disputes with respect to the release,
            exculpation, indemnification, and other provisions contained herein and enter such
            orders or take such others actions as may be necessary or appropriate to implement or
            enforce all such releases, injunctions and other provisions;

           enter and implement such orders or take such others actions as may be necessary or
            appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
            vacated;

           resolve any other matters that may arise in connection with or relate to this Plan, the
            Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
            instrument, release, indenture or other agreement or document adopted in connection
            with this Plan or the Disclosure Statement; and

           enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                      ARTICLE XII.
                                 MISCELLANEOUS PROVISIONS

 A.     Payment of Statutory Fees and Filing of Reports

         All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
 and all such fees that become due and payable, after the Effective Date shall be paid by the
 Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
 closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
 the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
 After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
 reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
 Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S.
 Trustee until the earliest of the Debtor’s case being closed, dismissed, or converted to a case
 under chapter 7 of the Bankruptcy Code.

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 B.     Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order
 with the consent of the Committee, such consent not to be unreasonably withheld; and (b) after
 the entry of the Confirmation Order, the Debtor may, after notice and hearing and entry of an
 order of the Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of
 the Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this
 Plan in such manner as may be necessary to carry out the purpose and intent of this Plan.

 C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
 revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null
 and void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
 Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
 executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
 order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall:
 (a) constitute a waiver or release of any Claims by or against, or any Equity Interests in, the
 Debtor or any other Entity; (b) prejudice in any manner the rights of the Debtor or any other
 Entity; or (c) constitute an admission, acknowledgement, offer or undertaking of any sort by the
 Debtor or any other Entity.

 D.     Obligations Not Changed

         Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
 otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
 obligations, including any contractual and indemnification obligations, to the Debtor, the
 Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

 E.     Entire Agreement

        Except as otherwise described herein, this Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into this Plan.

 F.     Closing of Chapter 11 Case

        The Claimant Trustee shall, after the Effective Date and promptly after the full
 administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.




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 G.     Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
 and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee.
 The rights, benefits, and obligations of any Person or Entity named or referred to in this Plan
 shall be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor,
 or assign of such Person or Entity.

 H.     Reservation of Rights

          Except as expressly set forth herein, this Plan shall have no force or effect unless and
 until the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither
 the filing of this Plan, any statement or provision contained herein, nor the taking of any action
 by the Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to
 this Plan shall be or shall be deemed to be an admission or waiver of any rights of: (1) the
 Debtor, the Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims
 or Equity Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other
 Entity prior to the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this
 Plan, will constitute an admission by the Debtor that any such contract or lease is or is not an
 executory contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or
 their respective Affiliates has any liability thereunder.

        Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
 Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
 contract.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, under any executory or non-executory contract or lease.

          If there is a dispute regarding whether a contract or lease is or was executory at the time
 of its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee,
 as applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute
 to alter their treatment of such contract.

 I.     Further Assurances

         The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders
 of Claims and Equity Interests receiving distributions hereunder, and all other Entities shall,
 from time to time, prepare, execute and deliver any agreements or documents and take any other
 actions as may be necessary or advisable to effectuate the provisions and intent of this Plan or
 the Confirmation Order. On or before the Effective Date, the Debtor shall File with the
 Bankruptcy Court all agreements and other documents that may be necessary or appropriate to
 effectuate and further evidence the terms and conditions hereof.
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 J.     Severability

         If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the
 power to alter and interpret such term or provision to make it valid or enforceable to the
 maximum extent practicable, consistent with the original purpose of the term or provision held to
 be invalid, void, or unenforceable, and such term or provision will then be applicable as altered
 or interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of
 the terms and provisions of this Plan will remain in full force and effect and will in no way be
 affected, impaired, or invalidated by such holding, alteration, or interpretation. The
 Confirmation Order will constitute a judicial determination and will provide that each term and
 provision of this Plan, as it may have been altered or interpreted in accordance with the
 foregoing, is valid and enforceable pursuant to its terms.

 K.     Service of Documents

         All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
 Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
 herein, shall be deemed to have been duly given or made when actually delivered addressed as
 follows:

                If to the Claimant Trust:

                Highland Claimant Trust
                c/o Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                If to the Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Telephone: (310) 277-6910
                Facsimile: (310) 201-0760
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.


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                If to the Reorganized Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.
                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

 L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
        Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego
 the collection of any such Stamp or Similar Tax or governmental assessment and to accept for
 filing and recordation instruments or other documents pursuant to such transfers of property
 without the payment of any such Stamp or Similar Tax or governmental assessment. Such
 exemption specifically applies, without limitation, to (i) all actions, agreements and documents
 necessary to evidence and implement the provisions of and the distributions to be made under
 this Plan; (ii) the maintenance or creation of security or any Lien as contemplated by this Plan;
 and (iii) assignments, sales, or transfers executed in connection with any transaction occurring
 under this Plan.

 M.     Governing Law

          Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
  law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise,
  the rights and obligations arising under this Plan shall be governed by, and construed and
  enforced in accordance with, the laws of Texas, without giving effect to the principles of
  conflicts of law of such jurisdiction; provided, however, that corporate governance matters
  relating to the Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as
  applicable, shall be governed by the laws of the state of organization of the Debtor, the
  Reorganized Debtor, New GP LLC, or the Claimant Trustee, as applicable.

 N.     Tax Reporting and Compliance

         The Debtor is hereby authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
 ending after the Petition Date through, and including, the Effective Date.

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 O.     Exhibits and Schedules

      All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
 Documents, are incorporated and are a part of this Plan as if set forth in full herein.

 P.     Controlling Document

        In the event of an inconsistency between this Plan and any other instrument or document
 created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
 Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan
 Document, on the one hand, and of the Confirmation Order, on the other hand, shall be construed
 in a manner consistent with each other so as to effectuate the purposes of each; provided,
 however, that if there is determined to be any inconsistency between any provision of this Plan,
 the Disclosure Statement, and any Plan Document, on the one hand, and any provision of the
 Confirmation Order, on the other hand, that cannot be so reconciled, then, solely to the extent of
 such inconsistency, the provisions of the Confirmation Order shall govern, and any such
 provisions of the Confirmation Order shall be deemed a modification of this Plan, the Disclosure
 Statement, and the Plan Documents, as applicable.

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  Dated: November 24, 2020
                                            Respectfully submitted,

                                            HIGHLAND CAPITAL MANAGEMENT, L.P.

                                               By:
                                                 James P. Seery, Jr.
                                                 Chief Executive Officer and Chief
                                                 Restructuring Officer

 Prepared by:

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         ikharasch@pszjlaw.com
         gdemo@pszjlaw.com

 and

 HAYWARD & ASSOCIATES PLLC
 Melissa S. Hayward (TX Bar No. 24044908)
 Zachery Z. Annable (TX Bar No. 24053075)
 10501 N. Central Expy, Ste. 106
 Dallas, TX 75231
 Telephone: (972) 755-7100
 Facsimile: (972) 755-7110
 Email: MHayward@HaywardFirm.com
         ZAnnable@HaywardFirm.com

 Counsel for the Debtor and Debtor-in-Possession




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                                      EXHIBIT B

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                                    EXHIBIT C

                    LIQUIDATION ANALYSIS/FINANCIAL PROJECTIONS




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Highland Capital Management, L.P.
Disclaimer For Financial Projections




  This document includes financial projections for July 2020 through December 2022 (the “Projections”) for Highland Capital Management, L.P.
“Company”). These Projections have been prepared by DSI with input from management at the Company. The historical information utilized in these
Projections has not been audited or reviewed for accuracy by DSI.
  This Memorandum includes certain statements, estimates and forecasts provided by the Company with respect to the Company’s anticipated future
performance. These estimates and forecasts contain significant elements of subjective judgment and analysis that may or may not prove to be accurate
or correct. There can be no assurance that these statements, estimates and forecasts will be attained and actual outcomes and results may differ
materially from what is estimated or forecast herein.
   These Projections should not be regarded as a representation of DSI that the projected results will be achieved.
   Management may update or supplement these Projections in the future, however, DSI expressly disclaims any obligation to update its report.
   These Projections were not prepared with a view toward compliance with published guidelines of the Securities and Exchange Commission or the
American Institute of Certified Public Accountants regarding historical financial statements, projections or forecasts.




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Highland Capital Management, L.P.
Statement of Assumptions




       A.    Plan effective date is January 31 ,2021.
       B.    All investment assets are sold by December 31, 2022.
       C.    All demand notes are collected in the year 2021.
       D.    All notes receivable with maturity dates beyond 12/31/2022 are sold in Q4 2022; in the
               interim interest income and principal payments are collected as they become due.
       E.    Fixed assets used in daily business operations are sold in February 2021.
       F.    Accrual for employee bonuses as of January 2021 are reversed and not paid.
       G.    All Management advisory or shared service contracts are terminated on their terms by the effective date or shortly thereafter
       H.    Post-effective date, the reorganized Debtor would retain three HCMLP employees as contractors to help monetize the remaining assets.
        I.   Litigation Trustee budget is $6,500,000.
       J.    Unrealized gains or losses are not recorded on a monthly basis; all gains or losses are recorded as realized gains or losses upon sale of asset.
       K.    Plan does not provide for payment of interest to Class 8 holders of general unsecured claims, as set forth in the Plan. If holders of general unsecured claims receive 100%
               of their allowed claims, they would then be entitled to receive interest at the federal judgement rate, prior to any funds being available for claims or
               interest of junior priority.
       L.    Plan assumes zero allowed claims for UBS, IFA, the HarbourVest entities (collectively "HV") and Hunter Mountain Investment Trust ("HM").
      M.     Claim amounts listed in Plan vs. Liquidation schedule are subject to change; claim amounts in Class 8 assume $0 for UBS, IFA, HM and HV.
               Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from Debtor assets
       N.    With the exception of Class 2 - Frontier, Classes 1-7 will be paid in full within 30 days of effective date.
       O.    Class 7 payout limited to 85% of each individual creditor claim or in the aggregate $13.15 million. Plan currently projects Class 7 payout of $9.96 million.
       P.    See below for Class 8 estimated payout schedule; payout is subject to certain assets being monetized by payout date:
                             o By September 30, 2021 - $50,000,000
                             o By March 31, 2022 – additional $50,000,000
                             o By June 30, 2022 – additional $25,000,000
                             o All remaining proceeds are assumed to be paid out on or soon after all remaining assets are monetized.




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Highland Capital Management, L.P.
Plan Analysis Vs. Liquidation Analysis
(US $000's)

                                                                                                                             Plan Analysis                Liquidation Analysis
  Estimated cash on hand at 1/31/2020                                                                                 $                   25,076      $                    25,076
  Estimated proceeds from monetization of assets [1][2]                                                                                 190,445                           149,197
  Estimated expenses through final distribution[1][3]                                                                                    (33,642)                         (36,232)
 Total estimated $ available for distribution                                                                                           181,879                           138,042
 Less: Claims paid in full
  Unclassified [4]                                                                                                                        (1,078)                            (1,078)
  Administrative claims [5]                                                                                                              (10,574)                           (10,574)
  Class 1 - Jefferies Secured Claim                                                                                                          -                                  -
  Class 2 - Frontier Secured Claim [6]                                                                                                    (5,463)                            (5,463)
  Class 3 - Other Secured Claims                                                                                                            (551)                              (551)
  Class 4 – Priority Non-Tax Claims                                                                                                          (16)                               (16)
  Class 5 - Retained Employee Claims                                                                                                         -                                  -
  Class 6 - PTO Claims                                                                                                                       -                                  -
  Class 7 – Convenience Claims [7][8][9]                                                                                                 (10,255)                               -
 Subtotal                                                                                                                                (27,937)                           (17,682)
 Estimated amount remaining for distribution to general unsecured claims                                                                 153,942                           120,359
 Class 8 – General Unsecured Claims [8][10]                                                                                              176,049                           192,258
 Subtotal                                                                                                                                176,049                           192,258
 % Distribution to general unsecured claims                                                                                               87.44%                               62.60%
 Estimated amount remaining for distribution                                                                                                  -                                  -
 Class 9 – Subordinated Claims                                                                                              no distribution                  no distribution
 Class 10 – Class B/C Limited Partnership Interests                                                                         no distribution                  no distribution
 Class 11 – Class A Limited Partnership Interest                                                                            no distribution                  no distribution

 Footnotes:
 [1] Assumes chapter 7 Trustee will not be able to achieve same sales proceeds as Claimant Trustee
   Assumes Chapter 7 Trustee engages new professionals to help liquidate assets
 [2] Sale of investment assets, sale of fixed assets, collection of accounts receivable and interest receivable
 [3] Estimated expenses through final distribution exclude non-cash expenses:
   Depreciation of $462 thousand in 2021
 [4] Unclassified claims include payments for priority tax claims and settlements with previously approved by the Bankruptcy Court
 [5] Represents $4.7 million in unpaid professional fees and $4.5 million in timing of payments to vendors
 [6] Debtor will pay all unpaid interest estimated at $253 thousand of Frontier on effective date and continue to pay interest quarterly at 5.25% until Frontier's collateral is sold
 [7] Claims payout limited to 85% of each individual creditor claim or limited to a total class payout of $13.15 million
 [8] Class 7 includes $1.1 million estimate for aggregate contract rejections damage and Class 8 includes $1.4 million for contract rejection damages
 [9] Assumes 3 claimants with allowed claims less than $2.5 million opt into Class 7 along with claims of Senior Employees
 [10] Class estimates $0 allowed claim for the following creditors: IFA, HV, HM and UBS; assumes RCP claims offset against HCMLP interest in RCP fund
 Notes:
 All claim amounts are estimated as of November 20, 2020 and subject to change


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Highland Capital Management, L.P.
Balance Sheet
(US $000's)

                                                                       4            7                10                14            17                20                23                27                30                33                36
                                                              Actual       Actual       Forecast --->
                                                              Jun-20       Sep-20           Dec-20            Mar-21        Jun-21            Sep-21            Dec-21            Mar-22            Jun-22            Sep-22            Dec-22
 Assets
   Cash and Cash Equivalents                              $     14,994 $      5,888 $           28,342    $      4,934 $      96,913 $          90,428 $         106,803      $     52,322 $          23,641 $          21,344 $             -
   Other Current Assets                                         13,182       13,651             10,559           9,629         7,746             7,329             5,396             6,054             6,723             7,406               -
   Investment Assets                                           320,912      305,961           261,333          258,042       133,026            81,793            54,159            54,159            54,159            54,159               -
   Net Fixed Assets                                              3,055        2,823              2,592           1,348           -                 -                 -                 -                 -                 -                 -
 TOTAL ASSETS                                             $    352,142 $    328,323 $         302,826     $    273,952 $     237,684 $         179,550 $         166,358      $    112,535 $          84,523 $          82,910 $             -

 Liabilities
   Post-petition Liabilities                              $     26,226 $     19,138 $           19,280    $      2,891 $         -        $        -        $        -        $        -        $        -        $        -        $        -
   Pre-petition Liabilities                                    126,365      126,343           121,950              -             -                 -                 -                 -                 -                 -                 -
   Claims
     Unclassified                                                  -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 1 – Jefferies Secured Claim                             -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 2 - Frontier Secured Claim                              -            -                  -             5,210           -                 -                 -                 -                 -                 -                 -
     Class 3 - Other Secured Claims                                -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 4 – Priority Non-Tax Claims                             -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 5 – Retained Employee Claims                            -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 6 - PTO Claims                                          -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 7 – Convenience Claims                                  -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 8 – General Unsecured Claims                            -            -                  -           176,049       176,049           126,049           126,049            76,049            51,049            51,049            22,107
     Class 9 – Subordinated Claims                                 -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 10 – Class B/C Limited Partnership Interests            -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 11 – Class A Limited Partnership Interests              -            -                  -               -             -                 -                 -                 -                 -                 -                 -
   Claim Payable                                               126,365      126,343           121,950          181,259       176,049           126,049           126,049            76,049            51,049            51,049            22,107
 TOTAL LIABILITIES                                        $    152,591      145,481           141,230          184,150       176,049           126,049           126,049            76,049            51,049            51,049            22,107

 Partners' Capital                                             199,551      182,842           161,596           89,802        61,635            53,501            40,309            36,486            33,473            31,860           (22,107)
 TOTAL LIABILITIES AND PARTNERS' CAPITAL                  $    352,142 $    328,323 $         302,826     $    273,952 $     237,684 $         179,550 $         166,358      $    112,535 $          84,523 $          82,910 $             -




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Highland Capital Management, L.P.
Profit/Loss
(US $000's)


                                                                                               Actual          Actual         Forecast --->
                                                                                          Jan 2020 to June 3 month ended    3 month ended                     3 month ended    3 month ended    3 month ended    3 month ended
                                                                                             2020 Total      Sept 2020         Dec 2020        Total 2020        Mar 2021         Jun 2021        Sept 2021         Dec 2021          Total 2021
 Revenue
  Management Fees                                                                         $        6,572 $         1,949 $           2,651     $   11,173     $         779 $            -      $         -      $         -      $            779
  Shared Service Fees                                                                              7,672           3,765             3,788         15,225             1,263              -                -                -                 1,263
  Other Income                                                                                     3,126             538               340          4,004               113              -                -                -                   113
 Total revenue                                                                            $       17,370 $         6,252 $           6,779     $   30,401     $       2,154 $            -      $         -      $         -      $          2,154

 Operating Expenses [1]                                                                           13,328           9,171             9,079         31,579             8,428            1,646            1,807            2,655              14,536

 Income/(loss) From Operations                                                            $        4,042 $        (2,918) $          (2,301)   $    (1,177)   $      (6,274) $        (1,646) $        (1,807) $        (2,655)   $        (12,381)

 Professional Fees                                                                                17,522           7,707             7,741         32,971             5,450            5,058            2,048            1,605              14,160

 Other Income/(Expenses) [2]                                                                       2,302           1,518             1,057          4,878           (59,016)            573              423              423              (57,598)

 Operating Gain/(Loss)                                                                    $      (11,178) $       (9,107) $          (8,985)   $   (29,270)   $     (70,741) $        (6,130) $        (3,432) $        (3,837)   $        (84,139)

 Realized and Unrealized Gain/(Loss)
  Other Realized Gains/(Loss)                                                                        -               -                 -               -               (763)             522              -                -                  (241)
  Net Realized Gain/(Loss) on Sale of Investment                                                 (28,418)          1,549           (12,167)        (39,036)            (290)              19           (4,702)          (8,006)            (12,979)
  Net Change in Unrealized Gain/(Loss) of Investments                                            (29,929)         (7,450)              -           (37,380)             -                -                -                -                   -
  Net Realized Gain /(Loss) from Equity Method Investees                                             -               -                 (94)            (94)             -            (22,578)             -             (1,349)            (23,927)
  Net Change in Unrealized Gain /(Loss) from Equity Method Investees                             (80,782)         (1,700)              -           (82,482)             -                -                -                -                   -
 Total Realized and Unrealized Gain/(Loss)                                                $     (139,129) $       (7,601) $        (12,262)    $ (158,992)    $      (1,053) $       (22,037) $        (4,702) $        (9,355)   $        (37,147)

 Net Income                                                                               $     (150,307) $      (16,708) $        (21,247)    $ (188,262)    $     (71,794) $       (28,167) $        (8,134) $       (13,192)   $       (121,287)

 Footnotes:
 [1] Operating expenses include an adjustment in January 2021 to account
    for expenses that have not been accrued or paid prior to effective date.
 [2] Other income and expenses of $61.2 million in January 2021 includes:
   [a] $77.7 million was expensed to record for the increase of
     allowed claims.
   [b] Income of $15.8 million for the accrued, but unpaid payroll liability related to
      the Debtor's deferred bonus programs amount written-off.




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Highland Capital Management, L.P.
Profit/Loss
(US $000's)


                                                                                     Forecast --->
                                                                                   3 month ended     3 month ended   3 month ended   3 month ended
                                                                                      Mar 2022          Jun 2022       Sept 2022        Dec 2022          Total 2022          Plan
 Revenue
  Management Fees                                                                  $           -     $         -     $         -     $         -      $            -      $            779
  Shared Service Fees                                                                          -               -               -               -                   -                 1,263
  Other Income                                                                                 -               -               -               -                   -                   113
 Total revenue                                                                     $           -     $         -     $         -     $         -      $            -      $          2,154

 Operating Expenses                                                                         1,443             643             758            1,088               3,932          18,468

 Income/(loss) From Operations                                                     $        (1,443) $         (643) $         (758) $       (1,088)   $         (3,932)   $     (16,314)

 Professional Fees                                                                          2,788            2,788           1,288           1,288               8,153          22,313

 Other Income/(Expenses)                                                                      408             419             434             184                1,444          (56,154)

 Operating Gain/(Loss)                                                             $        (3,823) $       (3,013) $       (1,613) $       (2,193)   $        (10,641)   $     (94,780)

 Realized and Unrealized Gain/(Loss)
  Other Realized Gains/(Loss)                                                                  -               -               -           (51,775)            (51,775)         (52,016)
  Net Realized Gain/(Loss) on Sale of Investment                                               -               -               -               -                   -            (12,979)
  Net Change in Unrealized Gain/(Loss) of Investments                                          -               -               -               -                   -                -
  Net Realized Gain /(Loss) from Equity Method Investees                                       -               -               -               -                   -            (23,927)
  Net Change in Unrealized Gain /(Loss) from Equity Method Investees                           -               -               -               -                   -                -
 Total Realized and Unrealized Gain/(Loss)                                         $           -     $         -     $         -     $     (51,775)   $        (51,775)   $     (88,922)

 Net Income                                                                        $        (3,823) $       (3,013) $       (1,613) $      (53,967)   $        (62,415)   $    (183,702)




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Highland Capital Management, L.P.
Cash Flow Indirect
(US $000's)


                                                            Forecast ---->
                                                                Sep-20       Dec-20         Mar-21      Jun-21       Sep-21       Dec-21          Mar-22       Jun-22       Sep-22       Dec-22
 Net (Loss) Income                                           $    (16,708) $   (21,247)   $  (71,794) $   (28,167) $    (8,134) $   (13,192)    $    (3,823) $    (3,013) $    (1,613) $   (53,967)
 Cash Flow from Operating Activity
 (Increase) / Decrease in Cash
   Depreciation and amortization                                     231           231             231          231        -            -               -            -            -             -
   Other realized (gain)/ loss                                       -             -               763         (522)       -            -               -            -            -          51,775
   Investment realized (gain)/ loss                               (1,549)       12,262             290       22,559      4,702        9,355             -            -            -             -
   Unrealized (gain) / loss                                       (9,150)          -               -            -          -            -               -            -            -             -
   (Increase) Decrease in Current Assets                            (470)        3,092             930        1,884        417        1,933            (658)        (669)        (684)        2,010
   Increase (Decrease) in Current Liabilities                     (7,110)       (4,251)        (54,172)      (2,891)       -            -               -            -            -             -
 Net Cash Increase / (Decrease) - Operating Activities           (34,757)       (9,913)       (123,752)      (6,907)     (3,015)      (1,904)        (4,481)      (3,681)      (2,297)         (182)

 Cash Flow From Investing Activities
  Proceeds from Sale of Fixed Assets                                 -             -               250        1,639        -            -               -            -            -             -
  Proceeds from Investment Assets                                 25,650        32,366           3,002      102,457     46,531       18,278             -            -            -           7,780
 Net Cash Increase / (Decrease) - Investing Activities            25,650        32,366           3,252      104,096     46,531       18,278             -            -            -           7,780


 Cash Flow from Financing Activities
  Claims payable                                                     -             -          (73,997)          -           -            -              -            -            -             -
  Claim reclasses/(paid)                                             -             -          181,259        (5,210)    (50,000)         -          (50,000)     (25,000)         -         (28,942)
  Maple Avenue Holdings                                              -             -           (4,975)          -           -            -              -            -            -             -
  Frontier Note                                                      -             -           (5,195)          -           -            -              -            -            -             -
 Net Cash Increase / (Decrease) - Financing Activities               -             -           97,092        (5,210)    (50,000)         -          (50,000)     (25,000)         -         (28,942)

 Net Change in Cash                                          $    (9,107) $     22,454    $    (23,408) $    91,979 $   (6,484) $    16,374     $   (54,481) $   (28,681) $    (2,297) $    (21,344)
 Beginning Cash                                                   14,994         5,888          28,342        4,934     96,913       90,428         106,803       52,322       23,641        21,344
 Ending Cash                                                 $     5,887 $      28,342    $      4,934 $     96,913 $   90,428 $    106,803     $    52,322 $     23,641 $     21,344 $         -




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Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                             )
In re:                                                       )   Chapter 11
                                                             )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                             )
                                 Debtor.                     )
                                                             )



                          NOTICE OF (I) EXECUTORY CONTRACTS
                    AND UNEXPIRED LEASES TO BE ASSUMED BY THE
         DEBTOR PURSUANT TO THE FIFTH AMENDED PLAN, (II) CURE AMOUNTS,
          IF ANY, AND (III) RELATED PROCEDURES IN CONNECTION THEREWITH

       PLEASE TAKE NOTICE THAT on November 24, 2020, the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) entered an order [Docket No.
1476] (the “Disclosure Statement Order”) that, among other things: (a) approved the Disclosure
Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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(the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125(a)
of the title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”); and (b) authorized
the above-captioned debtor and debtor-in-possession (the “Debtor”) to solicit acceptances of the
Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No.
1472] (the “Plan”). 2

        PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on January 13,
2021 at 9:30 a.m. prevailing Central Time, before The Honorable Stacey G. C. Jernigan in the
United States Bankruptcy Court for the Northern District of Texas (Dallas Division), located at
Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 1, Dallas, TX
75242-1496. The deadline for filing objections to the Plan is January 5, 2021, at 5:00 p.m.,
prevailing Central Time (the “Confirmation Objection Deadline”). Any objection to the Plan
must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy Procedure and the
Bankruptcy Local Rules for the Northern District of Texas; (c) state, with particularity, the name
and address of the objecting party, the basis and nature of any objection to the Plan, and, if
practicable, a proposed modification to the Plan that would resolve such objection; and (d) be
filed with the Court on or before the Confirmation Objection Deadline.

        PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because the
Debtor’s records reflect that you are a party to a contract to be assumed by the Debtor pursuant
to the Plan Supplement [Docket No. 1606] filed on December 18, 2020. Therefore, you are
advised to review carefully the information contained in this notice and the related provisions of
the Plan.

       PLEASE TAKE FURTHER NOTICE THAT the Debtor is proposing to assume your
Executory Contract(s) and Unexpired Lease(s), listed in Schedule A attached hereto, to which
you are a party. 3

       PLEASE TAKE FURTHER NOTICE THAT section 365(b)(1) of the Bankruptcy
Code requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly
cure, any defaults under executory contracts and unexpired leases at the time of assumption.
Accordingly, the Debtor has conducted a thorough review of its books and records and has
determined the amounts required to cure defaults, if any, under the Executory Contract(s) and
Unexpired Lease(s), which amounts are listed in the table on Schedule A attached hereto. Please
note that if no amount is stated for a particular Executory Contract or Unexpired Lease, the
Debtor believes that there is no cure amount outstanding for such contract or lease.

      PLEASE TAKE FURTHER NOTICE THAT, absent any pending dispute, the
monetary amounts required to cure any existing defaults arising under the Executory Contract(s)

2
  Capitalized terms not defined herein shall have the same meaning as ascribed in the Plan.
3
  Nothing contained in the Plan or the Debtor’s schedule of assets and liabilities shall constitute an admission by the
Debtor that any such contract or lease is in fact an Executory Contract or Unexpired Lease capable of assumption
that the Debtor or the Reorganized Debtor(s) has any liability thereunder, or that such Executory Contract or
Unexpired Lease is necessarily a binding and enforceable agreement. Further, the Debtor expressly reserves the
right to remove any Executory Contract or Unexpired Lease from assumption by the Debtor and reject such
Executory Contract or Unexpired Lease pursuant to the terms of the Plan.



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and Unexpired Lease(s) identified on Schedule A attached hereto will be satisfied, pursuant to
section 365(b)(1) of the Bankruptcy Code, by the Debtor in Cash on the Effective Date or as
soon as reasonably practicable thereafter. In the event of a dispute, however, payment of the cure
amount would be made following the entry of a final order(s) resolving the dispute and
approving the assumption. If an objection to the proposed assumption or related cure amount is
sustained by the Court, however, the Debtor may elect to reject such Executory Contract or
Unexpired Lease in lieu of assuming it.

        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
assumption of an Executory Contract or Unexpired Lease is January 11, 2021, at 5:00 p.m.,
prevailing Central Time. Any objection to the assumption of your Executory Contract or
Unexpired Lease must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy
Procedure and the Bankruptcy Local Rules for the Northern District of Texas; (c) state, with
particularity, the name and address of the objecting party, the basis and nature of any objection
the assumption of the Executory Contract or Unexpired Lease, and, if practicable, a proposed
modification such proposed assumption that would resolve such objection; (d) be served on
counsel for the Debtor set forth in the signatory block below; and (e) be filed with the Court on
or before January 11, 2021 at 5:00 p.m. prevailing Central Time.

         PLEASE TAKE FURTHER NOTICE THAT any objections to the Plan in connection
with the assumption of the Executory Contract(s) and Unexpired Lease(s) proposed in
connection with the Plan that remain unresolved as of the Confirmation Hearing will be heard at
the first omnibus hearing following the Confirmation Hearing (or such other date as fixed by the
Court).

PLEASE TAKE FURTHER NOTICE THAT ANY COUNTERPARTY TO AN
EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT FAILS TO OBJECT
TIMELY TO EITHER THE PROPOSED ASSUMPTION OF SUCH CONTRACT OR
LEASE OR THE CURE AMOUNT WILL BE DEEMED TO HAVE ASSENTED TO
SUCH ASSUMPTION AND CURE AMOUNT.

     PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OF ANY
EXECUTORY CONTRACT OR UNEXPIRED LEASE PURSUANT TO THE PLAN OR
OTHERWISE SHALL RESULT IN THE FULL RELEASE AND SATISFACTION OF
ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR NONMONETARY,
INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE CHANGE IN
CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER
BANKRUPTCY-RELATED DEFAULTS, ARISING UNDER ANY ASSUMED
EXECUTORY CONTRACT OR UNEXPIRED LEASE AT ANY TIME BEFORE THE
DATE THE DEBTOR OR REORGANIZED DEBTOR ASSUMES SUCH EXECUTORY
CONTRACT OR UNEXPIRED LEASE. ANY PROOFS OF CLAIM FILED WITH
RESPECT TO AN EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT HAS
BEEN ASSUMED SHALL BE DEEMED DISALLOWED AND EXPUNGED, WITHOUT
FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE
BANKRUPTCY COURT.

         PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the


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Disclosure Statement Order, Disclosure Statement, the Plan, the Plan Supplement, or related
documents,      you    may:     (a)    access     the     Debtor’s  restructuring    website  at
http://www.kccllc.net/hcmlp; (b) write to HCMLP Ballot Processing Center, c/o KCC, 222 N.
Pacific Coast Highway, Suite 300, El Segundo, CA 90245; (c) call toll free: (877) 573-3984 or
international: (310) 751-1829 and request to speak with a member of the Solicitation Group; or
(d) email HighlandInfo@kccllc.com and reference “Highland” in the subject line. You may also
obtain copies of any pleadings filed in this case for a fee via PACER at: pacer.uscourts.gov.

       Alternatively, you can obtain a copy of these documents by contacting counsel for the
Debtor (a) by e-mail, at gdemo@pszjlaw.com, (b) by telephone, by contacting Gregory Demo at
(212) 561-7700, or (c) by mail, at Pachulski Stang Ziehl & Jones LLP, Attn: Gregory Demo, 780
Third Avenue, 34th Floor, New York, NY 10017. Please specify whether you would like to
receive copies of these documents by (i) e-mail transmission (in which case, please include
your e-mail address), (ii) on a CD-ROM or flash drive delivered by return mail, or (iii) in
paper copies delivered by return mail.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES
ONLY. IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER
THE PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE
TO OBTAIN ADDITIONAL INFORMATION, CONTACT THE SOLICITATION
AGENT.




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Dated: December 30, 2020.                PACHULSKI STANG ZIEHL & JONES LLP
                                         Jeffrey N. Pomerantz (CA Bar No.143717)
                                         Ira D. Kharasch (CA Bar No. 109084)
                                         Gregory V. Demo (NY Bar No. 5371992)
                                         10100 Santa Monica Boulevard, 13th Floor
                                         Los Angeles, CA 90067
                                         Telephone: (310) 277-6910
                                         Facsimile: (310) 201-0760
                                         Email:      jpomerantz@pszjlaw.com
                                                     ikharasch@pszjlaw.com
                                                     gdemo@pszjlaw.com
                                         -and-

                                         HAYWARD & ASSOCIATES PLLC

                                         /s/ Zachery Z. Annable
                                         Melissa S. Hayward
                                         Texas Bar No. 24044908
                                         MHayward@HaywardFirm.com
                                         Zachery Z. Annable
                                         Texas Bar No. 24053075
                                         ZAnnable@HaywardFirm.com
                                         10501 N. Central Expy, Ste. 106
                                         Dallas, Texas 75231
                                         Tel: (972) 755-7100
                                         Fax: (972) 755-7110
                                         Counsel for the Debtor and Debtor-in-Possession




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                                            Schedule A

                     Schedule of Assumed Contracts and Leases and Proposed Cure




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                                                               Description of Assumed
     Debtor                        Counterparty                                              Cure
                                                                Contracts or Leases
Highland Capital           Aberdeen Loan Funding Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.               Attn: The Directors
Highland Capital                   AT&T Corp.
                                                               Managed Internet Service      927.16
Management, L.P.                  Attn: Peter Davis
Highland Capital                Bank of New York
Management, L.P.               Mellon Trust Company                Letter Agreement           0.00
                               Attn: Corporate Trust
Highland Capital         Bank of New York Mellon Trust
                                                              Electronic Communications       0.00
Management, L.P.                   Company
Highland Capital                Brentwood CLO Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.                 Attn: The Directors
Highland Capital               Carey International, Inc.
                                                             Advisory Services Agreement      0.00
Management, L.P.                 Attn: Gary Kessler
Highland Capital                 CCS Medical, Inc.
                                                             Advisory Services Agreement      0.00
Management, L.P.                  Attn: Steve Saft
Highland Capital                   Citibank N.A.            Reference Portfolio Management
                                                                                              0.00
Management, L.P.                 Attn: Doug Warren                    Agreement
Highland Capital               Cornerstone Healthcare
                                                            Amended and Restated Advisory
Management, L.P.                Group Holding, Inc.                                           0.00
                                                                Services Agreement
                                 Attn: David Smith
Highland Capital                Crescent Investors LP
                                                                     Office Lease             0.00
Management, L.P.               Attn: Property Manager
Highland Capital                 Eastland CLO Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.                 Attn: The Directors
Highland Capital       Falcon E&P Opportunities GP, LLC      Amended and Restated Shared
                                                                                              0.00
Management, L.P.               Attn: Marc Manzo                 Services Agreement
Highland Capital                 FTI Consulting Inc.
                                                                   Letter Agreement           0.00
Management, L.P.               Attn: Ronald Greenspan
Highland Capital                Gleneagles CLO, Ltd.
                                                           Portfolio Management Agreement     0.00
Management, L.P.                 Attn: The Directors
Highland Capital                 Grayson CLO Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.                 Attn: The Directors
Highland Capital                Greenbriar CLO, Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.                 Attn: The Directors
Highland Capital         Highland Capital Multi-Strategy
                                                           Investment Management Agreement    0.00
Management, L.P.                   Fund LP
Highland Capital         Highland Capital Multi-Strategy
                                                           Investment Management Agreement    0.00
Management, L.P.                Master Fund LP




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                                                                     Description of Assumed
     Debtor                         Counterparty                                                     Cure
                                                                      Contracts or Leases
Highland Capital                   Highland Credit
                                                                Collateral Management Agreement      0.00
Management, L.P.                Opportunities CDO Ltd.
Highland Capital
                           Highland HCF Advisors, Ltd.              Shared Services Agreement        0.00
Management, L.P.
Highland Capital
                           Highland HCF Advisors, Ltd.               Sub-advisory Agreement          0.00
Management, L.P.
Highland Capital               Highland Legacy Limited
                                                                Collateral Management Agreement      0.00
Management, L.P.               Attn: Suzanne St. Thomas
Highland Capital          Highland Loan Funding V Ltd.
                                                                Collateral Management Agreement      0.00
Management, L.P.               Attn: The Directors
Highland Capital      Highland Multi Strategy Credit Fund
                                                               Third Amended & Restated Investment
Management, L.P.      Ltd., Highland Multi Strategy Credit                                           0.00
                                                                      Management Agreement
                                   Fund LP
Highland Capital               Highland Park CDO I, Ltd.
                                                                  Collateral Servicing Agreement     0.00
Management, L.P.                  Attn: The Directors
Highland Capital        Highland Prometheus Master Fund
Management, L.P.        LP, Highland Prometheus Feeder
                                                                 Amended & Restated Investment
                         Fund I LP, Highland Prometheus                                              0.00
                                                                   Management Agreement
                           Feeder Fund II LP, Highland
                               SumBridge GP LLC
Highland Capital          Highland Restoration Capital
Management, L.P.        Partners LP, Highland Restoration
                          Capital Partners Offshore LP,
                                                                     Management Agreement            0.00
                          Highland Restoration Captial
                          Partners Master LP, Highland
                             Capital Parters GP LLC
Highland Capital       Highland Select Equity Master Fund
                                                                Investment Management Agreement      0.00
Management, L.P.       LP, High Select Equity Fund GP LP
Highland Capital                   Jaspar CLO Ltd.                Amended & Restated Portfolio
                                                                                                     0.00
Management, L.P.                  Attn: The Directors               Management Agreement
Highland Capital                     Jefferies LLC
                                                                   Prime Brokerage Agreement         0.00
Management, L.P.                  Attn: Chris Bianchi
Highland Capital                  Liberty CLO, Ltd.
                                                                 Portfolio Management Agreement      0.00
Management, L.P.                  Attn: The Directors
Highland Capital                Liberty Life Assurance
                                                                Administrative Services Agreement    0.00
Management, L.P.                 Company of Boston
Highland Capital         Longhorn Credit Funding, LLC
                                                                Investment Management Agreement      0.00
Management, L.P.                Attn: Secretary
Highland Capital
                                 Paylocity Corporation           Corporation Services Agreement      0.00
Management, L.P.



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                                                                   Description of Assumed
     Debtor                        Counterparty                                                      Cure
                                                                    Contracts or Leases
Highland Capital           Petrocap Partners II GP LLC       Amended and Restated Administrative
                                                                                                     0.00
Management, L.P.             Attn: William L. Britain               Services Agreement
Highland Capital                Red River CLO Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                Attn: The Directors
Highland Capital               Rockwall CDO II Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                Attn: The Directors
Highland Capital               Rockwall CDO II Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                Attn: The Directors
Highland Capital                Southfork CLO Ltd.
                                                               Portfolio Management Agreement        0.00
Management, L.P.                Attn: The Directors
Highland Capital                 Stratford CLO Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                 Attn: The Directors
Highland Capital        SunTrust Robinson Humphrey Inc.
                                                             Electronic Trading Services Agreement   0.00
Management, L.P.              Attn: Documentation
Highland Capital               Trussway Holdings, Inc.          Amended and Restated Advisory
                                                                                                     0.00
Management, L.P.                 Attn: Kendall Hoyd                 Services Agreement
Highland Capital                 Valhalla CLO, Ltd.            Reference Portfolio Management
                                                                                                     0.00
Management, L.P.                 Attn: The Directors                     Agreement
Highland Capital                      ViaWest                                                        0.00
                                                                  Master Service Agreement
Management, L.P.                       Attn:
Highland Capital                      ViaWest                                                        0.00
                                                                  Master Service Agreement
Management, L.P.               Attn: John Greenwood
Highland Capital
                         Walkers Fund Services Limited             Management Agreement              0.00
Management, L.P.
Highland Capital               Westchester CLO, Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                Attn: The Directors




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 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
 Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
 Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760
 HAYWARD PLLC
 Melissa S. Hayward
 Texas Bar No. 24044908
 MHayward@HaywardFirm.com
 Zachery Z. Annable
 Texas Bar No. 24053075
 ZAnnable@HaywardFirm.com
 10501 N. Central Expy, Ste. 106
 Dallas, Texas 75231
 Tel: (972) 755-7100
 Fax: (972) 755-7110
 Counsel for the Debtor and Debtor-in-Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                    )
     In re:                                                         )   Chapter 11
                                                                    )
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                    )
                                      Debtor.                       )
                                                                    )



                         SECOND 2 NOTICE OF (I) EXECUTORY CONTRACTS
                         AND UNEXPIRED LEASES TO BE ASSUMED BY THE
              DEBTOR PURSUANT TO THE FIFTH AMENDED PLAN, (II) CURE AMOUNTS,
               IF ANY, AND (III) RELATED PROCEDURES IN CONNECTION THEREWITH

        PLEASE TAKE NOTICE THAT on November 24, 2020, the United States Bankruptcy
 Court for the Northern District of Texas (the “Bankruptcy Court”) entered an order [Docket No.
 1476] (the “Disclosure Statement Order”) that, among other things: (a) approved the Disclosure
 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 2
   This Second Notice identifies executory contracts and unexpired leases to be assumed in addition to any executory
 contracts and unexpired leases identified previously in Docket No. 1648.


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 Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
 (the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125(a) of
 the title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”); and (b) authorized the
 above-captioned debtor and debtor-in-possession (the “Debtor”) to solicit acceptances of the Fifth
 Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No. 1472] (the
 “Plan”). 3

         PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
 consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on January 26,
 2021 at 9:30 a.m. prevailing Central Time, before The Honorable Stacey G. C. Jernigan, in the
 United States Bankruptcy Court for the Northern District of Texas (Dallas Division), located at
 Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 1, Dallas, TX
 75242-1496. The deadline for filing objections to the Plan was January 5, 2021, at 5:00 p.m.,
 prevailing Central Time.

         PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because the
 Debtor’s records reflect that you are a party to a contract to be assumed by the Debtor pursuant to
 the Plan Supplement [Docket No. 1606] filed on December 18, 2020. Therefore, you are advised
 to review carefully the information contained in this notice and the related provisions of the Plan.

         PLEASE TAKE FURTHER NOTICE THAT the Debtor is proposing to assume your
 Executory Contract(s) and Unexpired Lease(s), listed in Schedule A attached hereto, to which you
 are a party. 4

         PLEASE TAKE FURTHER NOTICE THAT section 365(b)(1) of the Bankruptcy Code
 requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly cure, any
 defaults under executory contracts and unexpired leases at the time of assumption. Accordingly,
 the Debtor has conducted a thorough review of its books and records and has determined the
 amounts required to cure defaults, if any, under the Executory Contract(s) and Unexpired Lease(s),
 which amounts are listed in the table on Schedule A attached hereto. Please note that if no amount
 is stated for a particular Executory Contract or Unexpired Lease, the Debtor believes that there is
 no cure amount outstanding for such contract or lease.

        PLEASE TAKE FURTHER NOTICE THAT, absent any pending dispute, the monetary
 amounts required to cure any existing defaults arising under the Executory Contract(s) and
 Unexpired Lease(s) identified on Schedule A attached hereto will be satisfied, pursuant to section
 365(b)(1) of the Bankruptcy Code, by the Debtor in Cash on the Effective Date or as soon as
 reasonably practicable thereafter. In the event of a dispute, however, payment of the cure amount
 would be made following the entry of a final order(s) resolving the dispute and approving the
 assumption. If an objection to the proposed assumption or related cure amount is sustained by the

 3
   Capitalized terms not defined herein shall have the same meaning as ascribed in the Plan.
 4
   Nothing contained in the Plan or the Debtor’s schedule of assets and liabilities shall constitute an admission by the
 Debtor that any such contract or lease is in fact an Executory Contract or Unexpired Lease capable of assumption that
 the Debtor or the Reorganized Debtor(s) has any liability thereunder, or that such Executory Contract or Unexpired
 Lease is necessarily a binding and enforceable agreement. Further, the Debtor expressly reserves the right to remove
 any Executory Contract or Unexpired Lease from assumption by the Debtor and reject such Executory Contract or
 Unexpired Lease pursuant to the terms of the Plan.



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 Court, however, the Debtor may elect to reject such Executory Contract or Unexpired Lease in
 lieu of assuming it.

         PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
 assumption of an Executory Contract or Unexpired Lease is January 20, 2021, at 5:00 p.m.,
 prevailing Central Time. Any objection to the assumption of your Executory Contract or
 Unexpired Lease must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy
 Procedure and the Bankruptcy Local Rules for the Northern District of Texas; (c) state, with
 particularity, the name and address of the objecting party, the basis and nature of any objection the
 assumption of the Executory Contract or Unexpired Lease, and, if practicable, a proposed
 modification such proposed assumption that would resolve such objection; (d) be served on
 counsel for the Debtor set forth in the signatory block below; and (e) be filed with the Court on or
 before January 20, 2021 at 5:00 p.m. prevailing Central Time.

        PLEASE TAKE FURTHER NOTICE THAT any objections to the Plan in connection
 with the assumption of the Executory Contract(s) and Unexpired Lease(s) proposed in connection
 with the Plan that remain unresolved as of the Confirmation Hearing will be heard at the first
 omnibus hearing following the Confirmation Hearing (or such other date as fixed by the Court).

  PLEASE TAKE FURTHER NOTICE THAT ANY COUNTERPARTY TO AN
  EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT FAILS TO OBJECT
  TIMELY TO EITHER THE PROPOSED ASSUMPTION OF SUCH CONTRACT OR
  LEASE OR THE CURE AMOUNT WILL BE DEEMED TO HAVE ASSENTED TO
  SUCH ASSUMPTION AND CURE AMOUNT.

      PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OF ANY
 EXECUTORY CONTRACT OR UNEXPIRED LEASE PURSUANT TO THE PLAN OR
 OTHERWISE SHALL RESULT IN THE FULL RELEASE AND SATISFACTION OF
 ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR NONMONETARY,
 INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE CHANGE IN
 CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER BANKRUPTCY-
 RELATED DEFAULTS, ARISING UNDER ANY ASSUMED EXECUTORY CONTRACT
 OR UNEXPIRED LEASE AT ANY TIME BEFORE THE DATE THE DEBTOR OR
 REORGANIZED DEBTOR ASSUMES SUCH EXECUTORY CONTRACT OR
 UNEXPIRED LEASE. ANY PROOFS OF CLAIM FILED WITH RESPECT TO AN
 EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT HAS BEEN ASSUMED
 SHALL BE DEEMED DISALLOWED AND EXPUNGED, WITHOUT FURTHER
 NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE BANKRUPTCY COURT.

          PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
 Disclosure Statement Order, Disclosure Statement, the Plan, the Plan Supplement, or related
 documents, you may: (a) access the Debtor’s restructuring website at http://www.kccllc.net/hcmlp;
 (b) write to HCMLP Ballot Processing Center, c/o KCC, 222 N. Pacific Coast Highway, Suite 300,
 El Segundo, CA 90245; (c) call toll free: (877) 573-3984 or international: (310) 751-1829 and
 request to speak with a member of the Solicitation Group; or (d) email HighlandInfo@kccllc.com
 and reference “Highland” in the subject line. You may also obtain copies of any pleadings filed
 in this case for a fee via PACER at: pacer.uscourts.gov.


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         Alternatively, you can obtain a copy of these documents by contacting counsel for the
 Debtor (a) by e-mail, at gdemo@pszjlaw.com, (b) by telephone, by contacting Gregory Demo at
 (212) 561-7700, or (c) by mail, at Pachulski Stang Ziehl & Jones LLP, Attn: Gregory Demo, 780
 Third Avenue, 34th Floor, New York, NY 10017. Please specify whether you would like to receive
 copies of these documents by (i) e-mail transmission (in which case, please include your e-mail
 address), (ii) on a CD-ROM or flash drive delivered by return mail, or (iii) in paper copies
 delivered by return mail.

  THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
  IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
  PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
  OBTAIN ADDITIONAL INFORMATION, CONTACT THE SOLICITATION AGENT.


  Dated: January 11, 2021                      PACHULSKI STANG ZIEHL & JONES LLP
                                               Jeffrey N. Pomerantz (CA Bar No.143717)
                                               Ira D. Kharasch (CA Bar No. 109084)
                                               Gregory V. Demo (NY Bar No. 5371992)
                                               10100 Santa Monica Boulevard, 13th Floor
                                               Los Angeles, CA 90067
                                               Telephone: (310) 277-6910
                                               Facsimile: (310) 201-0760
                                               Email:      jpomerantz@pszjlaw.com
                                                           ikharasch@pszjlaw.com
                                                           gdemo@pszjlaw.com
                                               -and-

                                               HAYWARD PLLC

                                               /s/ Zachery Z. Annable
                                               Melissa S. Hayward
                                               Texas Bar No. 24044908
                                               MHayward@HaywardFirm.com
                                               Zachery Z. Annable
                                               Texas Bar No. 24053075
                                               ZAnnable@HaywardFirm.com
                                               10501 N. Central Expy, Ste. 106
                                               Dallas, Texas 75231
                                               Tel: (972) 755-7100
                                               Fax: (972) 755-7110
                                               Counsel for the Debtor and Debtor-in-Possession




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                                             Schedule A

                      Schedule of Assumed Contracts and Leases and Proposed Cure




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                                                                   Description of Assumed
     Debtor                         Counterparty                                                      Cure
                                                                    Contracts or Leases
Highland Capital         American Banknote Corporation
Management, L.P.                                                   Stockholders’ Agreement            0.00
                            Attn: Patrick J. Gentile
Highland Capital                 Carey Holdings, Inc.            Stockholders’ Agreement and
Management, L.P.                                                                                      0.00
                                 Attn: General Counsel                Amendment No. 1
Highland Capital          Cornerstone Healthcare Group
Management, L.P.                  Holding, Inc.                  Stockholders’ Agreement and
                                                                                                      0.00
                                                                         Amendment
                              Attn: Michael Brohm
Highland Capital
                              Highland CLO Funding, Ltd.     Members’ Agreement and Amendment         0.00
Management, L.P.
Highland Capital         Progenics Pharmaceuticals, Inc.      Stock Purchase and Sale Agreement
Management, L.P.                                                                                      0.00
                                   Attn: CEO                           and Amendment
Highland Capital                  JHT Holdings, Inc.             Stockholders’ Agreement and
Management, L.P.                                                                                      0.00
                                Attn: Christopher Reehl                 Amendments
Highland Capital                                                Amended and Restated Limited
                      Highland Dynamic Income Fund GP,
Management, L.P.                                              Partnership Agreement of Highland       0.00
                                    LLC
                                                                 Dynamic Income Fund, L.P.
Highland Capital        Highland Multi-Strategy Fund GP,
Management, L.P.                      L.P.                    Highland Multi-Strategy Fund, L.P.
                                                                                                      0.00
                                                               Limited Partnership Agreement
                                 James Dondero
Highland Capital               ENA Capital, LLC               Operating Agreement of HE Capital,
Management, L.P.         Ellman Management Group, Inc.                        LLC
                                                                                                      0.00
                           Attn: Steve Ellman and Bob                  First Amendment
                                    Kauffman                          Second Amendment
Highland Capital                                             Limited Liability Company Agreement
                         Highland Multi-Strategy Master
Management, L.P.                                              of Highland Multi-Strategy Onshore      0.00
                                  Fund, L.P.
                                                                   Master SubFund II, LLC
Highland Capital                                             Limited Liability Company Agreement
                         Highland Multi-Strategy Master
Management, L.P.                                              of Highland Multi-Strategy Onshore      0.00
                                  Fund, L.P.
                                                                     Master SubFund, LLC
Highland Capital                                             Limited Liability Company Agreement
Management, L.P.       Highland Capital Management, L.P.      of Highland Receivables Finance 1,      0.00
                                                                              LLC
Highland Capital                                             Agreement of Limited Partnership of
                              Highland Restoration Capital
Management, L.P.                                             Highland Restoration Capital Partners,   0.00
                                   Partners GP, LLC
                                                                    L.P. and Amendments
Highland Capital        Highland Select Equity Fund GP,      Agreement of Limited Partnership of
                                                                                                      0.00
Management, L.P.                     LLC                     Highland Select Equity Fund GP, L.P.
Highland Capital                                             Agreement of Limited Partnership of
                          Penant Management GP, LLC                                                   0.00
Management, L.P.                                                  Penant Management LP


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     Debtor                        Counterparty                                                        Cure
                                                                    Contracts or Leases
Highland Capital       Petrocap Incentive Partners III GP,
Management, L.P.                      LLC
                       Petrocap Incentive Holdings III, LP    Agreement of Limited Partnership of
                                                                                                       0.00
                                                               Petrocap Incentive Partners III, LP
                                Attn: Lee Britain


Highland Capital          Petrocap Partners II GP, LLC       Amended and Restated Agreement of
Management, L.P.        Petrocap Incentive Partners II, LP     Limited Partnership of Petrocap         0.00
                                                                       Partners II, LP

Highland Capital                                              Agreement of Limited Partnership of
                       Highland Credit Opportunities CDO
Management, L.P.                                              Highland Credit Opportunities CDO        0.00
                                   GP, LLC
                                                                           GP, L.P.
Highland Capital                                             Fourth Amended and Restated Limited
                       Highland Multi Strategy Credit Fund
Management, L.P.                                              Partnership Agreement of Highland        0.00
                                   GP, L.P.
                                                               Multi Strategy Credit Fund, L.P.
Highland Capital
                                   DUO Security                      2 factor authentication           0.00
Management, L.P.
Highland Capital
                                     GoDaddy                         Domain Registrations              0.00
Management, L.P.
Highland Capital
                          Highland Loan Fund, Ltd. et al      Investment Management Agreement          0.00
Management, L.P.
Highland Capital
                                    Mxtoolbox                       E Mailflow Monitoring              0.00
Management, L.P.
Highland Capital                                              Cloud single sign on for HR related
                                     Onelogin                                                          0.00
Management, L.P.                                                       employee login
Highland Capital         Pam Capital Funding LP/Ranger
                                                              Collateral Management Agreement          0.00
Management, L.P.                 Asset Mgt LP
Highland Capital        Pamco Cayman Ltd./Ranger Asset
                                                              Collateral Management Agreement          0.00
Management, L.P.                  Mgt LP
Highland Capital                                                Amendment No. 1 to Servicing
                              Red River CLO Ltd. et al                                                 0.00
Management, L.P.                                                       Agreement
Highland Capital                                                Interim Collateral Management
                                Rockwall CDO Ltd.                                                      0.00
Management, L.P.                                                         Agreement
Highland Capital                                                Amendment No. 1 to Servicing
                                Rockwall CDO Ltd.                                                      0.00
Management, L.P.                                                       Agreement
Highland Capital                                             4th Amended & Restated Agreement of
                                Strand Advisors Inc.                                                   0.00
Management, L.P.                                                  Ltd Partnership of HCMLP
Highland Capital           Highland Park CDO I, Ltd.
Management, L.P.          The Bank of New York Trust          Collateral Administration Agreement    0.00
                         Company, National Association


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                                                                    Description of Assumed
     Debtor                        Counterparty                                                        Cure
                                                                     Contracts or Leases
Highland Capital                                                 Representations and Warranties
                              Highland Park CDO I, Ltd.                                              0.00
Management, L.P.                                                          Agreement
Highland Capital      Aberdeen Loan Funding, Ltd. and         Collateral Administration Agreement    0.00
Management, L.P.      State Street Bank and Trust
                      Company
Highland Capital      Greenbriar CLO, Ltd. and State          Collateral Administration Agreement    0.00
Management, L.P.      Street Bank and Trust Company
Highland Capital      Eastland CLO, Ltd.                      Collateral Acquisition Agreement       0.00
Management, L.P.
Highland Capital      Eastland CLO, Ltd. and Investors        Collateral Administration Agreement    0.00
Management, L.P.      Bank and Trust Company
Highland Capital      Gleneagles CLO, Ltd.; JPMorgan          Collateral Administration Agreement    0.00
Management, L.P.      Chase Bank, National Association
Highland Capital      Grayson CLO, Ltd.                       Collateral Acquisition Agreement       0.00
Management, L.P.
Highland Capital      Grayson CLO, Ltd.; Investors Bank       Collateral Administration Agreement    0.00
Management, L.P.      & Trust Company
Highland Capital      Red River CLO, Ltd.                     Collateral Acquisition Agreement       0.00
Management, L.P.
Highland Capital      Red River CLO, Ltd.; U.S. Bank          Collateral Administration Agreement    0.00
Management, L.P.      National Association
Highland Capital      Red River CLO Ltd.; Highland            Master Warehousing and Participation   0.00
Management, L.P.      Special Opportunities Holding           Agreement
                      Company
Highland Capital      Red River CLO Ltd.; MMP-5               Master Warehousing and Participation   0.00
Management, L.P.      Funding, LLC; IXIS Financial            Agreement
                      Products Inc.
Highland Capital      Red River CLO Ltd.; MMP-5               Master Warehousing and Participation   0.00
Management, L.P.      Funding, LLC; IXIS Financial            Agreement (Amendment No. 2)
                      Products Inc.
Highland Capital      Red River CLO Ltd.; MMP-5               Master Warehousing and Participation   0.00
Management, L.P.      Funding, LLC; IXIS Financial            Agreement (Amendment No. 1)
                      Products Inc.
Highland Capital      Red River CLO Ltd.; MMP-5               Master Warehousing and Participation   0.00
Management, L.P.      Funding, LLC; IXIS Financial            Agreement (Amendment No. 3)
                      Products Inc.
Highland Capital      Red River CLO Ltd.; MMP-5               Master Warehousing and Participation   0.00
Management, L.P.      Funding, LLC; IXIS Financial            Agreement (Amendment No. 4)
                      Products Inc.




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                                                                   Description of Assumed
     Debtor                      Counterparty                                                         Cure
                                                                    Contracts or Leases
Highland Capital      Red River CLO Ltd.; U.S. Bank          Collateral Administration Agreement    0.00
Management, L.P.      National Association; IXIS Financial
                      Products Inc.
Highland Capital      Red River CLO Ltd.; Highland           Collateral Administration Agreement    0.00
Management, L.P.      Special Opportunities Holding
                      Company; U.S. Bank National
                      Association
Highland Capital      Red River CLO Ltd.; Grand Central      Master Participation Agreement         0.00
Management, L.P.      Asset Trust
Highland Capital      Salomon Smith Barney Inc.;             A&R Asset Acquisition Agreement        0.00
Management, L.P.      Highland Loan Funding V Ltd.
Highland Capital      Salomon Brothers Holding         A&R Master Participation Agreement           0.00
Management, L.P.      Company, Highland Loan Funding V
                      Ltd.
Highland Capital      Jasper CLO Ltd.                        Collateral Acquisition Agreement       0.00
Management, L.P.
Highland Capital      Jasper CLO Ltd.; JPMorgan Chase        Collateral Administration Agreement    0.00
Management, L.P.      Bank, National Association
Highland Capital      Jasper CLO Ltd; MMP-5 Funding,         Master Warehousing and Participation   0.00
Management, L.P.      LLC; and IXIS Financial Products       Agreement
                      Inc.
Highland Capital      Jasper CLO Ltd; MMP-5 Funding,         Master Warehousing and Participation   0.00
Management, L.P.      LLC; and IXIS Financial Products       Agreement (Amendment No. 1)
                      Inc.
Highland Capital      Highland CDO Opportunity Fund,         Loan and Security Agreement            0.00
Management, L.P.      Ltd.; IXIS Financial Products Inc.;
                      JPMorgan Chase Bank, National
                      Association
Highland Capital      Highland CDO Opportunity Fund,         Securities Account Control Agreement   0.00
Management, L.P.      Ltd.; JPMorgan Chase Bank,
                      National Association
Highland Capital      Liberty CLO Ltd.                       Collateral Administration Agreement    0.00
Management, L.P.
Highland Capital      Rockwall CDO Ltd; JPMorgan             Collateral Administration Agreement    0.00
Management, L.P.      Chase Bank, National Association
Highland Capital      Rockwall CDO II, Ltd.; Investors       Collateral Administration Agreement    0.00
Management, L.P.      Bank & Trust Company
Highland Capital      Southfork CLO Ltd.; JPMorgan           Collateral Administration Agreement    0.00
Management, L.P.      Chase Bank, National Association
Highland Capital      Stratford CLO Ltd.; State Street       Collateral Administration Agreement    0.00



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      Debtor                      Counterparty                                                      Cure
                                                                   Contracts or Leases
Management, L.P.       Bank and Trust Company
Highland Capital       Valhalla CLO, Ltd.; JPMorgan         Collateral Administration Agreement   0.00
Management, L.P.       Chase Bank
Highland Capital       Citigroup Financial Products Inc.;   Extension/Buy-Out Agreement           0.00
Management, L.P.       Citigroup Global Markets Inc.
Highland Capital       Highland CDO and Structured          Loan and Security Agreement           0.00
Management, L.P.       Products Fund, Ltd.; Citigroup
                       Financial Products Inc.; JPMorgan
                       Chase Bank
Highland Capital       Westchester CLO, Ltd.                Collateral Acquisition Agreement      0.00
Management, L.P.
Highland Capital       Westchester CLO, Ltd.; Investors     Collateral Administration Agreement   0.00
Management, L.P.       Bank & Trust Company
Highland Capital       Brentwood CLO, Ltd.; Investors       Collateral Administration Agreement   0.00
Management, L.P.       Bank & Trust Company
Highland Capital       CenturyLink Communications, LLC      Order Addenda                         0.00
Management, L.P.
Highland Capital       Intex Solutions, Inc.                Service Agreement (as amended)        0.00
Management, L.P.




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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
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Tel: (972) 755-7100
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Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                   )
                                     Debtor.                       )
                                                                   )



                         THIRD 2 NOTICE OF (I) EXECUTORY CONTRACTS
                        AND UNEXPIRED LEASES TO BE ASSUMED BY THE
             DEBTOR PURSUANT TO THE FIFTH AMENDED PLAN, (II) CURE AMOUNTS,
              IF ANY, AND (III) RELATED PROCEDURES IN CONNECTION THEREWITH

       PLEASE TAKE NOTICE THAT on November 24, 2020, the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) entered an order [Docket No.
1476] (the “Disclosure Statement Order”) that, among other things: (a) approved the Disclosure
1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
2
  This Third Notice identifies executory contracts and unexpired leases to be assumed in addition to any executory
contract and unexpired lease identified previously in Docket Nos. 1648 and 1719.


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Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
(the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125(a) of
the title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”); and (b) authorized the
above-captioned debtor and debtor-in-possession (the “Debtor”) to solicit acceptances of the Fifth
Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No. 1472] (the
“Plan”). 3

        PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on January 26,
2021 at 9:30 a.m. prevailing Central Time, before The Honorable Stacey G. C. Jernigan, in the
United States Bankruptcy Court for the Northern District of Texas (Dallas Division), located at
Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 1, Dallas, TX
75242-1496. The deadline for filing objections to the Plan was January 5, 2021, at 5:00 p.m.,
prevailing Central Time.

        PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because the
Debtor’s records reflect that you are a party to a contract to be assumed by the Debtor pursuant to
the Plan Supplement [Docket No. 1606] filed on December 18, 2020. Therefore, you are advised
to review carefully the information contained in this notice and the related provisions of the Plan.

        PLEASE TAKE FURTHER NOTICE THAT the Debtor is proposing to assume your
Executory Contract(s) and Unexpired Lease(s), listed in Schedule A attached hereto, to which you
are a party. 4

        PLEASE TAKE FURTHER NOTICE THAT section 365(b)(1) of the Bankruptcy Code
requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly cure, any
defaults under executory contracts and unexpired leases at the time of assumption. Accordingly,
the Debtor has conducted a thorough review of its books and records and has determined the
amounts required to cure defaults, if any, under the Executory Contract(s) and Unexpired Lease(s),
which amounts are listed in the table on Schedule A attached hereto. Please note that if no amount
is stated for a particular Executory Contract or Unexpired Lease, the Debtor believes that there is
no cure amount outstanding for such contract or lease.

       PLEASE TAKE FURTHER NOTICE THAT, absent any pending dispute, the monetary
amounts required to cure any existing defaults arising under the Executory Contract(s) and
Unexpired Lease(s) identified on Schedule A attached hereto will be satisfied, pursuant to section
365(b)(1) of the Bankruptcy Code, by the Debtor in Cash on the Effective Date or as soon as
reasonably practicable thereafter. In the event of a dispute, however, payment of the cure amount
would be made following the entry of a final order(s) resolving the dispute and approving the
assumption. If an objection to the proposed assumption or related cure amount is sustained by the

3
  Capitalized terms not defined herein shall have the same meaning as ascribed in the Plan.
4
  Nothing contained in the Plan or the Debtor’s schedule of assets and liabilities shall constitute an admission by the
Debtor that any such contract or lease is in fact an Executory Contract or Unexpired Lease capable of assumption that
the Debtor or the Reorganized Debtor(s) has any liability thereunder, or that such Executory Contract or Unexpired
Lease is necessarily a binding and enforceable agreement. Further, the Debtor expressly reserves the right to remove
any Executory Contract or Unexpired Lease from assumption by the Debtor and reject such Executory Contract or
Unexpired Lease pursuant to the terms of the Plan.



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Court, however, the Debtor may elect to reject such Executory Contract or Unexpired Lease in
lieu of assuming it.

        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
assumption of an Executory Contract or Unexpired Lease is January 24, 2021, at 5:00 p.m.,
prevailing Central Time. Any objection to the assumption of your Executory Contract or
Unexpired Lease must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy
Procedure and the Bankruptcy Local Rules for the Northern District of Texas; (c) state, with
particularity, the name and address of the objecting party, the basis and nature of any objection the
assumption of the Executory Contract or Unexpired Lease, and, if practicable, a proposed
modification such proposed assumption that would resolve such objection; (d) be served on
counsel for the Debtor set forth in the signatory block below; and (e) be filed with the Court on or
before January 24, 2021 at 5:00 p.m. prevailing Central Time.

       PLEASE TAKE FURTHER NOTICE THAT any objections to the Plan in connection
with the assumption of the Executory Contract(s) and Unexpired Lease(s) proposed in connection
with the Plan that remain unresolved as of the Confirmation Hearing will be heard at the first
omnibus hearing following the Confirmation Hearing (or such other date as fixed by the Court).

 PLEASE TAKE FURTHER NOTICE THAT ANY COUNTERPARTY TO AN
 EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT FAILS TO OBJECT
 TIMELY TO EITHER THE PROPOSED ASSUMPTION OF SUCH CONTRACT OR
 LEASE OR THE CURE AMOUNT WILL BE DEEMED TO HAVE ASSENTED TO
 SUCH ASSUMPTION AND CURE AMOUNT.

     PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OF ANY
EXECUTORY CONTRACT OR UNEXPIRED LEASE PURSUANT TO THE PLAN OR
OTHERWISE SHALL RESULT IN THE FULL RELEASE AND SATISFACTION OF
ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR NONMONETARY,
INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE CHANGE IN
CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER BANKRUPTCY-
RELATED DEFAULTS, ARISING UNDER ANY ASSUMED EXECUTORY CONTRACT
OR UNEXPIRED LEASE AT ANY TIME BEFORE THE DATE THE DEBTOR OR
REORGANIZED DEBTOR ASSUMES SUCH EXECUTORY CONTRACT OR
UNEXPIRED LEASE. ANY PROOFS OF CLAIM FILED WITH RESPECT TO AN
EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT HAS BEEN ASSUMED
SHALL BE DEEMED DISALLOWED AND EXPUNGED, WITHOUT FURTHER
NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE BANKRUPTCY COURT.

         PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
Disclosure Statement Order, Disclosure Statement, the Plan, the Plan Supplement, or related
documents, you may: (a) access the Debtor’s restructuring website at http://www.kccllc.net/hcmlp;
(b) write to HCMLP Ballot Processing Center, c/o KCC, 222 N. Pacific Coast Highway, Suite 300,
El Segundo, CA 90245; (c) call toll free: (877) 573-3984 or international: (310) 751-1829 and
request to speak with a member of the Solicitation Group; or (d) email HighlandInfo@kccllc.com
and reference “Highland” in the subject line. You may also obtain copies of any pleadings filed
in this case for a fee via PACER at: pacer.uscourts.gov.


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        Alternatively, you can obtain a copy of these documents by contacting counsel for the
Debtor (a) by e-mail, at gdemo@pszjlaw.com, (b) by telephone, by contacting Gregory Demo at
(212) 561-7700, or (c) by mail, at Pachulski Stang Ziehl & Jones LLP, Attn: Gregory Demo, 780
Third Avenue, 34th Floor, New York, NY 10017. Please specify whether you would like to receive
copies of these documents by (i) e-mail transmission (in which case, please include your e-mail
address), (ii) on a CD-ROM or flash drive delivered by return mail, or (iii) in paper copies
delivered by return mail.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
 IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
 PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
 OBTAIN ADDITIONAL INFORMATION, CONTACT THE SOLICITATION AGENT.


 Dated: January 15, 2021                      PACHULSKI STANG ZIEHL & JONES LLP
                                              Jeffrey N. Pomerantz (CA Bar No.143717)
                                              Ira D. Kharasch (CA Bar No. 109084)
                                              Gregory V. Demo (NY Bar No. 5371992)
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                                              Fax: (972) 755-7110
                                              Counsel for the Debtor and Debtor-in-Possession




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                                            Schedule A

                     Schedule of Assumed Contracts and Leases and Proposed Cure




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                                                        Description of Assumed
     Debtor                      Counterparty                                        Cure
                                                         Contracts or Leases
Highland Capital              Strand Advisors, Inc.   Indemnification and Guaranty
Management, L.P.                                                                     0.00
                                  James Seery                  Agreement
Highland Capital              Strand Advisors, Inc.   Indemnification and Guaranty
Management, L.P.                                                                     0.00
                                   John Dubel                 Agreement
Highland Capital              Strand Advisors, Inc.   Indemnification and Guaranty
Management, L.P.                                                                     0.00
                                 Russell Nelms                Agreement




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                       CLAIMANT’S EXHIBIT 11
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                              )
                                  Debtor.                     )
                                                              )

           FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                  CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

 PACHULSKI STANG ZIEHL & JONES LLP                         HAYWARD & ASSOCIATES PLLC
 Jeffrey N. Pomerantz (CA Bar No.143717)                   Melissa S. Hayward (TX Bar No. 24044908)
 Ira D. Kharasch (CA Bar No. 109084)                       Zachery Z. Annable (TX Bar No. 24053075)
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 Telephone: (310) 277-6910                                 Facsimile: (972) 755-7110
 Facsimile: (310) 201-0760                                 Email: MHayward@HaywardFirm.com
 Email: jpomerantz@pszjlaw.com                                     ZAnnable@HaywardFirm.com:
         ikharasch@pszjlaw.com
         gdemo@pszjlaw.com

                            Counsel for the Debtor and Debtor-in-Possession




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                 DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


         HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in
 the above-captioned case (the “Debtor”), proposes the following chapter 11 plan of
 reorganization (the “Plan”) for, among other things, the resolution of the outstanding Claims
 against, and Equity Interests in, the Debtor. Unless otherwise noted, capitalized terms used in
 this Plan have the meanings set forth in Article I of this Plan. The Debtor is the proponent of this
 Plan within the meaning of section 1129 of the Bankruptcy Code.

         Reference is made to the Disclosure Statement (as such term is defined herein and
 distributed contemporaneously herewith) for a discussion of the Debtor’s history, business,
 results of operations, historical financial information, projections and assets, and for a summary
 and analysis of this Plan and the treatment provided for herein. There also are other agreements
 and documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or
 the Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan
 Documents are incorporated into and are a part of this Plan as if set forth in full herein. Subject
 to the other provisions of this Plan, and in accordance with the requirements set forth in
 section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to
 alter, amend, modify, revoke, or withdraw this Plan prior to the Effective Date.

         If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
 this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

 A.     Rules of Interpretation, Computation of Time and Governing Law

         For purposes hereof: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
 masculine, feminine or neuter gender shall include the masculine, feminine and the neuter
 gender; (b) any reference herein to a contract, lease, instrument, release, indenture or other
 agreement or document being in a particular form or on particular terms and conditions means
 that the referenced document, as previously amended, modified or supplemented, if applicable,
 shall be substantially in that form or substantially on those terms and conditions; (c) any
 reference herein to an existing document or exhibit having been Filed or to be Filed shall mean
 that document or exhibit, as it may thereafter be amended, modified or supplemented in
 accordance with its terms; (d) unless otherwise specified, all references herein to “Articles,”
 “Sections,” “Exhibits” and “Plan Documents” are references to Articles, Sections, Exhibits and
 Plan Documents hereof or hereto; (e) unless otherwise stated, the words “herein,” “hereof,”
 “hereunder” and “hereto” refer to this Plan in its entirety rather than to a particular portion of this
 Plan; (f) captions and headings to Articles and Sections are inserted for convenience of reference
 only and are not intended to be a part of or to affect the interpretation hereof; (g) any reference to
 an Entity as a Holder of a Claim or Equity Interest includes such Entity’s successors and assigns;
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 (h) the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (i) any
 term used in capitalized form herein that is not otherwise defined but that is used in the
 Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
 Bankruptcy Code or the Bankruptcy Rules, as the case may be; and (j) “$” or “dollars” means
 Dollars in lawful currency of the United States of America. The provisions of Bankruptcy
 Rule 9006(a) shall apply in computing any period of time prescribed or allowed herein.

 B.     Defined Terms

       Unless the context otherwise requires, the following terms shall have the following
 meanings when used in capitalized form herein:

             1. “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
 Management GP, LLP.

                2. “Administrative Expense Claim” means any Claim for costs and expenses of
 administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
 507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
 necessary costs and expenses incurred after the Petition Date and through the Effective Date of
 preserving the Estate and operating the business of the Debtor; and (b) all fees and charges
 assessed against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of
 the United States Code, and that have not already been paid by the Debtor during the Chapter 11
 Case and a Professional Fee Claim.

                3. “Administrative Expense Claims Bar Date” means, with respect to any
 Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
 the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
 the Effective Date.

               4. “Administrative Expense Claims Objection Deadline” means, with respect to
 any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
 (b) sixty (60) days after the timely Filing of the applicable request for payment of such
 Administrative Expense Claim; provided, however, that the Administrative Expense Claims
 Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
 Trustee.

                 5. “Affiliate” of any Person means any Entity that, with respect to such Person,
 either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
 “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
 through one or more intermediaries, controls, is controlled by, or is under common control with,
 such Person. For the purposes of this definition, the term “control” (including, without
 limitation, the terms “controlled by” and “under common control with”) means the possession,
 directly or indirectly, of the power to direct or cause the direction in any respect of the
 management or policies of a Person, whether through the ownership of voting securities, by
 contract, or otherwise.

                6. “Allowed” means, with respect to any Claim, except as otherwise provided in
 the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
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 Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy
 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not
 unliquidated, and not disputed and for which no Proof of Claim has been timely filed; (c) a
 Claim Allowed pursuant to the Plan or an order of the Bankruptcy Court that is not stayed
 pending appeal; or (d) a Claim that is not Disputed (including for which a Proof of Claim has
 been timely filed in a liquidated and noncontingent amount that has not been objected to by the
 Claims Objection Deadline or as to which any such objection has been overruled by Final
 Order); provided, however, that with respect to a Claim described in clauses (a) and (b) above,
 such Claim shall be considered Allowed only if and to the extent that, with respect to such
 Claim, no objection to the allowance thereof has been interposed within the applicable period of
 time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or
 such an objection is so interposed and the Claim shall have been Allowed as set forth above.

                7. “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of the
 type that has been Allowed.

                 8. “Assets” means all of the rights, titles, and interest of the Debtor, Reorganized
 Debtor, or Claimant Trust, in and to property of whatever type or nature, including, without
 limitation, real, personal, mixed, intellectual, tangible, and intangible property, the Debtor’s
 books and records, and the Causes of Action.

                 9. “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the
 sole discretion of the Claimant Trustee.

                10. “Avoidance Actions” means any and all avoidance, recovery, subordination or
 other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or
 under similar state or federal statutes and common law, including fraudulent transfer laws

                11. “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13. “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the
 Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.


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                 15. “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
  the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which
  deadlines may be or have been extended for certain Claimants by order of the Bankruptcy Court.

                16. “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
  Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                 17. “Business Day” means any day, other than a Saturday, Sunday or “legal
  holiday” (as defined in Bankruptcy Rule 9006(a)).

                 18. “Cash” means the legal tender of the United States of America or the
  equivalent thereof.

                  19. “Causes of Action” means any action, claim, cross-claim, third-party claim,
  cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
  obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
  license and franchise of any kind or character whatsoever, in each case whether known,
  unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
  liquidated or unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect,
  choate or inchoate, secured or unsecured, assertable directly or derivatively (including, without
  limitation, under alter ego theories), whether arising before, on, or after the Petition Date, in
  contract or in tort, in law or in equity or pursuant to any other theory of law. For the avoidance
  of doubt, Cause of Action includes, without limitation,: (a) any right of setoff, counterclaim or
  recoupment and any claim for breach of contract or for breach of duties imposed by law or in
  equity; (b) the right to object to Claims or Equity Interests; (c) any claim pursuant to section 362
  or chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress
  and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; (e) any claims
  under any state or foreign law, including, without limitation, any fraudulent transfer or similar
  claims; (f) the Avoidance Actions, and (g) the Estate Claims. The Causes of Action include,
  without limitation, the Causes of Action belonging to the Debtor’s Estate listed on the schedule
  of Causes of Action to be filed with the Plan Supplement.

                  20. “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
  and chief restructuring officer.

                  21. “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
  Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
  transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
  Management, L.P., Case No. 19-34054-sgj-11.

                22. “Claim” means any “claim” against the Debtor as defined in section 101(5) of
  the Bankruptcy Code.

               23. “Claims Objection Deadline” means the date that is 180 days after the
  Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
  Bankruptcy Court upon a motion by the Claimant Trustee.


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                24. “Claimant Trust” means the trust established for the benefit of the Claimant
  Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
  Claimant Trust Agreement.

                25. “Claimant Trust Agreement” means the agreement Filed in the Plan
  Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                  26. “Claimant Trust Assets” means (i) other than the Reorganized Debtor Assets
  (which are expressly excluded from this definition), all other Assets of the Estate, including, but
  not limited to, all Causes of Action, Available Cash, any proceeds realized or received from such
  Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
  from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
  or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
  (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
  that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
  Reorganized Debtor Assets.

                  27. “Claimant Trust Beneficiaries” means the Holders of Allowed General
  Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
  Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
  following the Effective Date, and, only upon certification by the Claimant Trustee that the
  Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
  unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest
  from the Petition Date at the Federal Judgment Rate in accordance with the terms and conditions
  set forth in the Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have
  been resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
  Allowed Class A Limited Partnership Interests.

                 28. “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
  officer and chief restructuring officer, or such other Person identified in the Plan Supplement
  who will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation
  Order, and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance
  with) the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among
  other things, monetizing the Estate’s investment assets, resolving Claims (other than those
  Claims assigned to the Litigation Sub-Trust for resolution), and, as the sole officer of New GP
  LLC, winding down the Reorganized Debtor’s business operations.

                 29. “Claimant Trust Expenses” means all reasonable legal and other reasonable
  professional fees, costs, and expenses incurred by the Trustees on account of administration of
  the Claimant Trust, including any reasonable administrative fees and expenses, reasonable
  attorneys’ fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and
  other expenses.

                 30. “Claimant Trust Interests” means the non-transferable interests in the
  Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan;
  provided, however, Holders of Class A Limited Partnership Interests, Class B Limited
  Partnership Interests, and Class C Limited Partnership Interests will not be deemed to hold

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  Claimant Trust Interests unless and until the Contingent Claimant Trust Interests distributed to
  such Holders vest in accordance with the terms of this Plan and the Claimant Trust Agreement.

                 31. “Claimant Trust Oversight Committee” means the committee of five Persons
  established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s performance
  of its duties and otherwise serve the functions described in this Plan and the Claimant Trust
  Agreement.

               32. “Class” means a category of Holders of Claims or Equity Interests as set forth
  in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                 33. “Class A Limited Partnership Interest” means the Class A Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by The Dugaboy Investment
  Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela Okada –
  Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                  34. “Class B Limited Partnership Interest” means the Class B Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
  Trust.

                35. “Class B/C Limited Partnership Interests” means, collectively, the Class B
  Limited Partnership and Class C Limited Partnership Interests.

                  36. “Class C Limited Partnership Interest” means the Class C Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
  Trust.

                 37. “Committee” means the Official Committee of Unsecured Creditors
  appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
  consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
  (iii) UBS, and (iv) Acis.

                 38. “Confirmation Date” means the date on which the clerk of the Bankruptcy
  Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                 39. “Confirmation Hearing” means the hearing held by the Bankruptcy Court
  pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
  hearing may be adjourned or continued from time to time.

                 40. “Confirmation Order” means the order of the Bankruptcy Court confirming
  this Plan pursuant to section 1129 of the Bankruptcy Code.

                41. “Convenience Claim” means any prepetition, liquidated, and unsecured
  Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
  any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
  doubt, the Reduced Employee Claims will be Convenience Claims.


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                 42. “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
  available upon the Effective Date for distribution to Holders of Convenience Claims under the
  Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all
  distributions on account of Convenience Claims have been made will be transferred to the
  Claimant Trust and administered as a Claimant Trust Asset.

                  43. “Convenience Class Election” means the option provided to each Holder of a
  General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
  to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
  Claims.

                  44. “Contingent Claimant Trust Interests” means the contingent Claimant Trust
  Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
  Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in
  accordance with this Plan, the rights of which shall not vest, and consequently convert to
  Claimant Trust Interests, unless and until the Claimant Trustee Files a certification that all
  holders of Allowed General Unsecured Claims have been paid indefeasibly in full, plus, to the
  extent all Allowed unsecured Claims, excluding Subordinated Claims, have been paid in full, all
  accrued and unpaid post-petition interest from the Petition Date at the Federal Judgment Rate
  and all Disputed Claims in Class 8 and Class 9 have been resolved. As set forth in the Claimant
  Trust Agreement, the Contingent Claimant Trust Interests distributed to the Holders of Class A
  Limited Partnership Interests will be subordinated to the Contingent Claimant Trust Interests
  distributed to the Holders of Class B/C Limited Partnership Interests.

                 45. “Debtor” means Highland Capital Management, L.P. in its capacity as debtor
  and debtor in possession in the Chapter 11 Case.

                  46. “Delaware Bankruptcy Court” means the United States Bankruptcy Court for
  the District of Delaware.

                 47. “Disclosure Statement” means that certain Disclosure Statement for Debtor’s
  Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or modified from
  time to time, which describes this Plan, including all exhibits and schedules thereto and
  references therein that relate to this Plan.

                 48. “Disputed” means with respect to any Claim or Equity Interest, any Claim or
  Equity Interest that is not yet Allowed.

                 49. “Disputed Claims Reserve” means the appropriate reserve(s) or account(s) to
  be established on the Initial Distribution Date and maintained by the Claimant Trustee for
  distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

                50. “Disputed Claims Reserve Amount” means, for purposes of determining the
  Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
  Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
  The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
  be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
  the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or
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  Reorganized Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters
  an order disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the
  Bankruptcy Court, including an order estimating the Disputed Claim.

                51. “Distribution Agent” means the Claimant Trustee, or any party designated by
  the Claimant Trustee to serve as distribution agent under this Plan.

                  52. “Distribution Date” means the date or dates determined by the Reorganized
  Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon
  which the Distribution Agent shall make distributions to holders of Allowed Claims and Interests
  entitled to receive distributions under the Plan.

                 53. “Distribution Record Date” means the date for determining which Holders of
  Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
  the Effective Date or such later date determined by the Bankruptcy Court.

                54. “Effective Date” means the Business Day that this Plan becomes effective as
  provided in ARTICLE VIII hereof.

                 55. “Employees” means the employees of the Debtor set forth in the Plan
  Supplement.

                  56. “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
  Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
  Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
  voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
  James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion,
  objection, or other pleading in this Chapter 11 Case regardless of the capacity in which such
  Entity appeared and any other party in interest, (iv) any Related Entity, and (v) the Related
  Persons of each of the foregoing.

                57. “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
  Code and also includes any Person or any other entity.

                   58. “Equity Interest” means any Equity Security in the Debtor, including, without
  limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of stock or
  limited company interests, the Class A Limited Partnership Interests, the Class B Limited
  Partnership Interests, and the Class C Limited Partnership Interests.

                59. “Equity Security” means an “equity security” as defined in section 101(16) of
  the Bankruptcy Code.

                 60. “Estate” means the bankruptcy estate of the Debtor created by virtue of
  section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

                61. “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
  Final Term Sheet [D.I. 354].

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                   62. “Exculpated Parties” means, collectively, (i) the Debtor and its successors and
  assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
  Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee, (vi) the members of
  the Committee (in their official capacities), (vii) the Professionals retained by the Debtor and the
  Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related Persons of each of
  the parties listed in (iv) through (viii); provided, however, that, for the avoidance of doubt, none
  of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and
  managed entities), the Charitable Donor Advised Fund, L.P. (and any of its subsidiaries,
  including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd. (and any of its
  subsidiaries, members, and managed entities), Highland Capital Management Fund Advisors,
  L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
  subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
  Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
  term “Exculpated Party.”

                 63. “Executory Contract” means a contract to which the Debtor is a party that is
  subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                 64. “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement (as
  such exhibits are amended, modified or otherwise supplemented from time to time), which are
  incorporated by reference herein.

                65. “Federal Judgment Rate” means the post-judgment interest rate set forth in 28
  U.S.C. § 1961 as of the Effective Date.

                  66. “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
  Court or its authorized designee in the Chapter 11 Case.

                  67. “Final Order” means an order or judgment of the Bankruptcy Court, which is
  in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
  new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
  or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
  any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
  waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or
  the Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
  reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
  been determined by the highest court to which such order was appealed, or certiorari, new trial,
  reargument or rehearing shall have been denied and the time to take any further appeal, petition
  for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
  however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
  or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
  not preclude such order from being a Final Order.

                68. “Frontier Secured Claim” means the loan from Frontier State Bank to the
  Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended
  and Restated Loan Agreement, dated March 29, 2018.


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                 69. “General Partner Interest” means the Class A Limited Partnership Interest
  held by Strand, as the Debtor’s general partner.

                 70. “General Unsecured Claim” means any prepetition Claim against the Debtor
  that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
  Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

                71. “Governmental Unit” means a “governmental unit” as defined in
  section 101(27) of the Bankruptcy Code.

                 72. “GUC Election” means the option provided to each Holder of a Convenience
  Claim on their Ballot to elect to receive the treatment provided to General Unsecured Claims.

                73. “Holder” means an Entity holding a Claim against, or Equity Interest in, the
  Debtor.

                74. “Impaired” means, when used in reference to a Claim or Equity Interest, a
  Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
  Code.

                 75. “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
  Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
  additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
  Effective Date.

                 76. “Initial Distribution Date” means, subject to the “Treatment” sections in
  ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
  Date, when distributions under this Plan shall commence to Holders of Allowed Claims and
  Equity Interests.

                  77. “Insurance Policies” means all insurance policies maintained by the Debtor as
  of the Petition Date.

                78. “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC, arising
  under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between the
  Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
  brokerage account created by such Prime Brokerage Customer Agreement.

                  79. “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
  and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
  security interest or other encumbrance of any kind, or any other type of preferential arrangement
  that has the practical effect of creating a security interest, in respect of such asset.

               80. “Limited Partnership Agreement” means that certain Fourth Amended and
  Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
  December 24, 2015, as amended.


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                 81. “Litigation Sub-Trust” means the sub-trust established within the Claimant
  Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
  in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
  Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
  Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

               82. “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
  Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                  83. “Litigation Trustee” means the trustee appointed by the Committee and
  reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
  settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
  conditions set forth in the Litigation Sub-Trust Agreement.

                84. “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
  Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
  Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

                85. “New Frontier Note” means that promissory note to be provided to the
  Allowed Holders of Class 2 Claims under this Plan and any other documents or security
  agreements securing the obligations thereunder.

               86. “New GP LLC” means a limited liability company incorporated in the State of
  Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
  Reorganized Debtor on the Effective Date.

                87. “New GP LLC Documents” means the charter, operating agreement, and other
  formational documents of New GP LLC.

                88. “Ordinary Course Professionals Order” means that certain Order Pursuant to
  Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
  Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
  [D.I. 176].

               89. “Other Unsecured Claim” means any Secured Claim other than the Jefferies
  Secured Claim and the Frontier Secured Claim.

                  90. “Person” means a “person” as defined in section 101(41) of the Bankruptcy
  Code and also includes any natural person, individual, corporation, company, general or limited
  partnership, limited liability company, unincorporated organization firm, trust, estate, business
  trust, association, joint stock company, joint venture, government, governmental agency,
  Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
  whether acting in an individual, fiduciary or other capacity.

                91. “Petition Date” means October 16, 2019.

                92. “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
  Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,
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  and schedules thereto, either in its present form or as the same may be altered, amended,
  modified or otherwise supplemented from time to time.

                93. “Plan Distribution” means the payment or distribution of consideration to
  Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                 94. “Plan Documents” means any of the documents, other than this Plan, but
  including, without limitation, the documents to be filed with the Plan Supplement, to be
  executed, delivered, assumed, or performed in connection with the occurrence of the Effective
  Date, and as may be modified consistent with the terms hereof with the consent of the
  Committee.

                  95. “Plan Supplement” means the ancillary documents necessary for the
  implementation and effectuation of the Plan, including, without limitation, (i) the form of
  Claimant Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of
  Reorganized Limited Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable),
  (v) the identity of the initial members of the Claimant Trust Oversight Committee, (vi) the form
  of Litigation Sub-Trust Agreement; (vii) the schedule of retained Causes of Action; (viii) the
  New Frontier Note, (ix) the schedule of Employees; (x) the form of Senior Employee
  Stipulation,; and (xi) the schedule of Executory Contracts and Unexpired Leases to be assumed
  pursuant to this Plan, which, in each case, will be in form and substance reasonably acceptable to
  the Debtor and the Committee.

                 96. “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
  section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to
  priority under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
  Administrative Claim.

                 97. “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
  Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
  Equity Interests in such Class.

                 98. “Professional” means (a) any Entity employed in the Chapter 11 Case
  pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
  seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
  pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy
  Code.

                  99. “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
  363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
  compensation for services rendered or reimbursement of costs, expenses or other charges
  incurred after the Petition Date and prior to and including the Effective Date.

                100. “Professional Fee Claims Bar Date” means with respect to Professional
  Fee Claims, the Business Day which is sixty (60) days after the Effective Date or such other date
  as approved by order of the Bankruptcy Court.


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                101. “Professional Fee Claims Objection Deadline” means, with respect to any
  Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
  payment of such Professional Fee Claim.

               102. “Professional Fee Reserve” means the reserve established and funded by
  the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid
  Allowed Professional Fee Claims.

                 103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
  against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the
  kind specified in section 507(a)(8) of the Bankruptcy Code.

                  105. “Protected Parties” means, collectively, (i) the Debtor and its successors
  and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
  Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
  Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
  Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
  members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
  LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
  (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through
  (xv); provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
  NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
  Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
  entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
  entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
  Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain
  Investment Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any
  trustee acting for the trust), or Grant Scott is included in the term “Protected Party.”

                 106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
  employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
  507(a)(4) of the Bankruptcy Code.

                 107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                   108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
  leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
  of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
  notwithstanding any contractual provision or applicable law that entitles the Holder of such
  Claim or Equity Interest to demand or receive accelerated payment of such Claim or Equity
  Interest after the occurrence of a default: (i) curing any such default that occurred before or after
  the Petition Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
  Code or of a kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be
  cured; (ii) reinstating the maturity of such Claim or Equity Interest as such maturity existed
  before such default; (iii) compensating the Holder of such Claim or Equity Interest for any

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  damages incurred as a result of any reasonable reliance by such Holder on such contractual
  provision or such applicable law; (iv) if such Claim or Equity Interest arises from any failure to
  perform a nonmonetary obligation, other than a default arising from failure to operate a non-
  residential real property lease subject to section 365(b)(1)(A) of the Bankruptcy Code,
  compensating the Holder of such Claim or Equity Interest (other than any Debtor or an insider of
  any Debtor) for any actual pecuniary loss incurred by such Holder as a result of such failure; and
  (v) not otherwise altering the legal, equitable, or contractual rights to which such Claim entitles
  the Holder of such Claim.

                  109. “Rejection Claim” means any Claim for monetary damages as a result of
  the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                   110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
  (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
  was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
  Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
  insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
  Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including,
  without limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust
  and any of its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of
  its direct or indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on
  the Related Entity List.

                 111.    “Related Entity List” means that list of Entities filed with the Plan
  Supplement.

                 112. “Related Persons” means, with respect to any Person, such Person’s
  predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
  respective present, future, or former officers, directors, employees, managers, managing
  members, members, financial advisors, attorneys, accountants, investment bankers, consultants,
  professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
  companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
  Strand (solely from the date of the appointment of the Independent Directors through the
  Effective Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in
  their official capacities), (vi) the Professionals retained by the Debtor and the Committee in the
  Chapter 11 Case; and (vii) the Employees.

                 114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
  Plan on and after the Effective Date.

                  115. “Reorganized Debtor Assets” means any limited and general partnership
  interests held by the Debtor, the management of the Managed Funds and those Causes of Action
  (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
  capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized


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  Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
  but does not include the underlying portfolio assets held by the Managed Funds.

                 116. “Reorganized Limited Partnership Agreement” means that certain Fifth
  Amended and Restated Agreement of Limited Partnership of Highland Capital Management,
  L.P., by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner,
  Filed with the Plan Supplement.

                 117. “Restructuring” means the restructuring of the Debtor, the principal terms
  of which are set forth in this Plan and the Disclosure Statement.

                 118. “Retained Employee Claim” means any Claim filed by a current employee
  of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                 119. “Schedules” means the schedules of Assets and liabilities, statements of
  financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
  supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
  property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
  enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is
  subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the
  creditor’s interest in the interest of the Debtor’s Estate in such property or to the extent of the
  amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
  Bankruptcy Code or (b) Allowed pursuant to the Plan as a Secured Claim.

                121. “Security” or “security” means any security as such term is defined in
  section 101(49) of the Bankruptcy Code.

               122.      “Senior Employees” means the senior employees of the Debtor Filed in the
  Plan Supplement.

               123. “Senior Employee Stipulation” means the agreements filed in the Plan
  Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
  property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
  transaction privilege tax (including, without limitation, such taxes on prime contracting and
  owner-builder sales), privilege taxes (including, without limitation, privilege taxes on
  construction contracting with regard to speculative builders and owner builders), and other
  similar taxes imposed or assessed by any Governmental Unit.

                 125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                 126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                 127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
  service or sub-service the Reorganized Debtor Assets.
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                 128. “Sub-Servicer Agreement” means the agreement that may be entered into
  providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                 129. “Subordinated Claim” means any Claim that is subordinated to the
  Convenience Claims and General Unsecured Claims pursuant to 11 U.S.C. § 510 or order
  entered by the Bankruptcy Court.

                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust
  Interests to be distributed to Holders of Allowed Subordinated Claims under the Plan, which
  such interests shall be subordinated in right and priority to the Claimant Trust Interests
  distributed to Holders of Allowed General Unsecured Claims as provided in the Claimant Trust
  Agreement.

                131. “Trust Distribution” means the transfer of Cash or other property by the
  Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
  Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
  Branch.

                 134. “Unexpired Lease” means a lease to which the Debtor is a party that is
  subject to assumption or rejection under section 365 of the Bankruptcy Code.

                  135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
  that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                 136. “Voting Deadline” means the date and time by which all Ballots to accept
  or reject the Plan must be received in order to be counted under the under the Order of the
  Bankruptcy Court approving the Disclosure Statement as containing adequate information
  pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
  acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

  A.     Administrative Expense Claims

          On the later of the Effective Date or the date on which an Administrative Expense Claim
  becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
  thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional
  Fee Claims) will receive, in full satisfaction, settlement, discharge and release of, and in
  exchange for, such Allowed Administrative Expense Claim either (i) payment in full in
  Available Cash for the unpaid portion of such Allowed Administrative Expense Claim; or
  (ii) such other less favorable treatment as agreed to in writing by the Debtor or the Reorganized
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  Debtor, as applicable, and such Holder; provided, however, that Administrative Expense Claims
  incurred by the Debtor in the ordinary course of business may be paid in the ordinary course of
  business in the discretion of the Debtor in accordance with such applicable terms and conditions
  relating thereto without further notice to or order of the Bankruptcy Court. All statutory fees
  payable under 28 U.S.C. § 1930(a) shall be paid as such fees become due.

         If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
  the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File,
  on or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
  Reorganized Debtor, as applicable, and such other Entities who are designated by the
  Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court, an
  application for allowance and payment of such Administrative Expense Claim.

          Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
  must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
  asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
  Deadline.

  B.     Professional Fee Claims

           Professionals or other Entities asserting a Professional Fee Claim for services rendered
  through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
  503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
  granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in
  full to the extent provided in such order.

          Professionals or other Entities asserting a Professional Fee Claim for services rendered on
  or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
  serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
  designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
  order of the Bankruptcy Court, an application for final allowance of such Professional Fee
  Claim.

          Objections to any Professional Fee Claim must be Filed and served on the Debtor or
  Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
  Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
  will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
  Days of entry of the order approving such Allowed Professional Fee Claim.

          On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
  The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
  Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant
  Trust shall fund the Professional Fee Reserve on the Effective Date in an estimated amount
  determined by the Debtor in good faith prior to the Confirmation Date and that approximates the
  total projected amount of unpaid Professional Fee Claims on the Effective Date. Following the
  payment of all Allowed Professional Fee Claims, any excess funds in the Professional Fee


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  Reserve shall be released to the Claimant Trust to be used for other purposes consistent with the
  Plan and the Claimant Trust Agreement.

  C.     Priority Tax Claims

          On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
  such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
  on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
  Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
  and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
  an amount equal to the amount of such Allowed Priority Tax Claim, (b) payment of such
  Allowed Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code;
  or (c) such other less favorable treatment as agreed to in writing by the Debtor and such Holder.
  Payment of statutory fees due pursuant to 28 U.S.C. § 1930(a)(6) will be made at all appropriate
  times until the entry of a final decree; provided, however, that the Debtor may prepay any or all
  such Claims at any time, without premium or penalty.

                                      ARTICLE III.
                           CLASSIFICATION AND TREATMENT OF
                         CLASSIFIED CLAIMS AND EQUITY INTERESTS

  A.     Summary

          All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
  Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of
  the Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
  classified.

          The categories of Claims and Equity Interests listed below classify Claims and Equity
  Interests for all purposes including, without limitation, confirmation and distribution pursuant to
  the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
  a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim
  or Equity Interest qualifies within the description of that Class and will be deemed classified in a
  different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
  the description of such different Class. A Claim or Equity Interest is in a particular Class only to
  the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
  released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the
  Effective Date.




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  B.      Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class    Claim                                              Status          Voting Rights
  1        Jefferies Secured Claim                            Unimpaired      Deemed to Accept
  2        Frontier Secured Claim                             Impaired        Entitled to Vote
  3        Other Secured Claims                               Unimpaired      Deemed to Accept
  4        Priority Non-Tax Claim                             Unimpaired      Deemed to Accept
  5        Retained Employee Claim                            Unimpaired      Deemed to Accept
  6        PTO Claims                                         Unimpaired      Deemed to Accept
  7        Convenience Claims                                 Impaired        Entitled to Vote
  8        General Unsecured Claims                           Impaired        Entitled to Vote
  9        Subordinated Claims                                Impaired        Entitled to Vote
  10       Class B/C Limited Partnership Interests            Impaired        Entitled to Vote
  11       Class A Limited Partnership Interests              Impaired        Entitled to Vote

  C.      Elimination of Vacant Classes

          Any Class that, as of the commencement of the Confirmation Hearing, does not have at
  least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
  voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
  voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
  satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

  D.      Impaired/Voting Classes

         Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
  Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
  accept or reject the Plan.

  E.      Unimpaired/Non-Voting Classes

         Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
  Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

  F.      Impaired/Non-Voting Classes

         There are no Classes under the Plan that will not receive or retain any property and no
  Classes are deemed to reject the Plan.

  G.      Cramdown

          If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
  accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
  Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
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  Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
  class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
  hearing, determine such controversy on or before the Confirmation Date.

  H.     Classification and Treatment of Claims and Equity Interests

         1.     Class 1 – Jefferies Secured Claim

                •       Classification: Class 1 consists of the Jefferies Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 1 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 1 Claim, at the election of the Debtor: (A) Cash equal
                        to the amount of such Allowed Class 1 Claim; (B) such other less
                        favorable treatment as to which the Debtor and the Holder of such
                        Allowed Class 1 Claim will have agreed upon in writing; or (C) such other
                        treatment rendering such Claim Unimpaired. Each Holder of an Allowed
                        Class 1 Claim will retain the Liens securing its Allowed Class 1 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 1
                        Claim is made as provided herein.

                •       Impairment and Voting: Class 1 is Unimpaired, and the Holders of
                        Class 1 Claims are conclusively deemed to have accepted this Plan
                        pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
                        Holders of Class 1 Claims are not entitled to vote to accept or reject this
                        Plan and will not be solicited.

         2.     Class 2 – Frontier Secured Claim

                •       Classification: Class 2 consists of the Frontier Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 2 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 2 Claim: (A) Cash in an amount equal to all accrued
                        but unpaid interest on the Frontier Claim through and including the
                        Effective Date and (B) the New Frontier Note. The Holder of an Allowed
                        Class 2 Claim will retain the Liens securing its Allowed Class 2 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 2
                        Claim is made as provided herein.

                •       Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                        Claims are entitled to vote to accept or reject this Plan.




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        3.    Class 3 – Other Secured Claims

              •      Classification: Class 3 consists of the Other Secured Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 3 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 3
                     Claim becomes an Allowed Class 3 Claim, each Holder of an Allowed
                     Class 3 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 3 Claim, at the option
                     of the Debtor, or following the Effective Date, the Reorganized Debtor or
                     Claimant Trustee, as applicable, (i) Cash equal to such Allowed Other
                     Secured Claim, (ii) the collateral securing its Allowed Other Secured
                     Claim, plus postpetition interest to the extent required under Bankruptcy
                     Code Section 506(b), or (iii) such other treatment rendering such Claim
                     Unimpaired.

              •      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class
                     3 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        4.    Class 4 – Priority Non-Tax Claims

              •      Classification: Class 4 consists of the Priority Non-Tax Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 4 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 4
                     Claim becomes an Allowed Class 4 Claim, each Holder of an Allowed
                     Class 4 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 4 Claim Cash equal to
                     the amount of such Allowed Class 4 Claim.

              •      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class
                     4 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        5.    Class 5 – Retained Employee Claims

              •      Classification: Class 5 consists of the Retained Employee Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the Effective Date, each Allowed Class 5 Claim will be Reinstated.

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              •     Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class
                    5 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

        6.    Class 6 – PTO Claims

              •     Classification: Class 6 consists of the PTO Claims.

              •     Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 6 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 6
                    Claim becomes an Allowed Class 6 Claim, each Holder of an Allowed
                    Class 6 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Claim 6 Claim Cash equal to
                    the amount of such Allowed Class 6 Claim.

              •     Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class
                    6 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

        7.    Class 7 – Convenience Claims

              •     Classification: Class 7 consists of the Convenience Claims.

              •     Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 7 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 7
                    Claim becomes an Allowed Class 7 Claim, each Holder of an Allowed
                    Class 7 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Class 7 Claim (1) the
                    treatment provided to Allowed Holders of Class 8 General Unsecured
                    Claims if the Holder of such Class 7 Claim makes the GUC Election or (2)
                    an amount in Cash equal to the lesser of (a) 85% of the Allowed amount
                    of such Holder’s Class 7 Claim or (b) such Holder’s Pro Rata share of the
                    Convenience Claims Cash Pool.

              •     Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                    Claims are entitled to vote to accept or reject this Plan.

        8.    Class 8 – General Unsecured Claims

              •     Classification: Class 8 consists of the General Unsecured Claims.


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              •      Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 8 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive (i) its Pro Rata share of the Claimant Trust Interests, (ii) such other
                     less favorable treatment as to which such Holder and the Claimant Trustee
                     shall have agreed upon in writing, or (iii) the treatment provided to
                     Allowed Holders of Class 7 Convenience Claims if the Holder of such
                     Class 8 General Unsecured Claim is eligible and makes a valid
                     Convenience Class Election.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any General
                     Unsecured Claim, except with respect to any General Unsecured Claim
                     Allowed by Final Order of the Bankruptcy Court.

              •      Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                     Claims are entitled to vote to accept or reject this Plan.

        9.    Class 9 – Subordinated Claims

              •      Classification: Class 9 consists of the Subordinated Claims.

                     Treatment: On the Effective Date, Holders of Subordinated Claims shall
                     receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                     Interests or, (ii) such other less favorable treatment as to which such
                     Holder and the Claimant Trustee may agree upon in writing.


                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any Subordinated
                     Claim, except with respect to any Subordinated Claim Allowed by Final
                     Order of the Bankruptcy Court.

              •      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                     Claims are entitled to vote to accept or reject this Plan.

        10.   Class 10 – Class B/C Limited Partnership Interests

              •      Classification: Class 10 consists of the Class B/C Limited Partnership
                     Interests.


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                 •      Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 10 Claim, in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Claim shall
                        receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                        (ii) such other less favorable treatment as to which such Holder and the
                        Claimant Trustee shall have agreed upon in writing.

                        Notwithstanding anything to the contrary herein, after the Effective Date
                        and subject to the other provisions of this Plan, the Debtor, the
                        Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                        will retain any and all rights and defenses under bankruptcy or
                        nonbankruptcy law that the Debtor had with respect to any Class B/C
                        Limited Partnership Interest Claim, except with respect to any Class B/C
                        Limited Partnership Interest Claim Allowed by Final Order of the
                        Bankruptcy Court.

                 •      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                        Claims are entitled to vote to accept or reject this Plan.

         11.     Class 11 – Class A Limited Partnership Interests

                 •      Classification:   Class 11 consists of the Class A Limited Partnership
                        Interests.

                 •      Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 11 Claim, in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Claim shall
                        receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                        (ii) such other less favorable treatment as to which such Holder and the
                        Claimant Trustee shall have agreed upon in writing.

                        Notwithstanding anything to the contrary herein, after the Effective Date
                        and subject to the other provisions of this Plan, the Debtor, the
                        Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                        will retain any and all rights and defenses under bankruptcy or
                        nonbankruptcy law that the Debtor had with respect to any Class A
                        Limited Partnership Interest, except with respect to any Class A Limited
                        Partnership Interest Allowed by Final Order of the Bankruptcy Court.

                 •      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                        Claims are entitled to vote to accept or reject this Plan.

  I.     Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
  rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
  legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

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  J.     Subordinated Claims

         The allowance, classification, and treatment of all Claims under the Plan shall take into
  account and conform to the contractual, legal, and equitable subordination rights relating thereto,
  whether arising under general principles of equitable subordination, section 510(b) of the
  Bankruptcy Code, or otherwise. Under section 510 of the Bankruptcy Code, upon written notice
  and hearing, the Debtor the Reorganized Debtor, and the Claimant Trustee reserve the right to
  seek entry of an order by the Bankruptcy Court to re-classify or to subordinate any Claim in
  accordance with any contractual, legal, or equitable subordination relating thereto, and the
  treatment afforded any Claim under the Plan that becomes a subordinated Claim at any time shall
  be modified to reflect such subordination.

                                    ARTICLE IV.
                        MEANS FOR IMPLEMENTATION OF THIS PLAN

  A.     Summary

        As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
  Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

          On the Effective Date, all Class A Limited Partnership Interests, including the Class A
  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
  Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in
  the Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-
  chartered limited liability company wholly-owned by the Claimant Trust. The Claimant Trust,
  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized
  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized
  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as
  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited
  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current
  Limited Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be
  managed consistent with the terms of the Reorganized Limited Partnership Agreement by New
  GP LLC. The sole managing member of New GP LLC will be the Claimant Trust, and the
  Claimant Trustee will be the sole officer of New GP LLC on the Effective Date.

         Following the Effective Date, the Claimant Trust will administer the Claimant Trust
  Assets pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will
  pursue, if applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust
  Agreement and the Plan. The Reorganized Debtor will administer the Reorganized Debtor
  Assets and, if needed, with the utilization of a Sub-Servicer, which administration will include,
  among other things, managing the wind down of the Managed Funds.

          Although the Reorganized Debtor will manage the wind down of the Managed Funds, it
  is currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume
  or assume and assign the contracts between the Debtor and certain Related Entities pursuant to
  which the Debtor provides shared services and sub-advisory services to those Related Entities.
  The Debtor believes that the continued provision of the services under such contracts will not be

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  cost effective.

          The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
  Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
  with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds
  of the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as
  set forth in this Plan and the Claimant Trust Agreement.

  B.      The Claimant Trust 2

          1.               Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

           On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
  Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
  the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
  Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
  transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its
  rights, title, and interest in and to all of the Claimant Trust Assets, and in accordance with section
  1141 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant
  Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
  Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust
  Agreement, and such transfer shall be exempt from any stamp, real estate transfer, mortgage
  from any stamp, transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets,
  excluding the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect
  to the Estate Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
  6012(b)(3), as well as the representative of the Estate appointed pursuant to section
  1123(b)(3)(B) of the Bankruptcy Code with respect to the Claimant Trust Assets. The Claimant
  Trustee shall also be responsible for resolving all Claims and Equity Interests in Class 8 through
  Class 11, under the supervision of the Claimant Trust Oversight Committee.

          On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
  Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
  Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably
  transfer and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be
  governed by the Claimant Trust Agreement and administered by the Claimant Trustee. The
  powers, rights, and responsibilities of the Claimant Trustee shall be specified in the Claimant
  Trust Agreement and shall include the authority and responsibility to, among other things, take
  the actions set forth in this ARTICLE IV, subject to any required reporting to the Claimant Trust
  Oversight Committee as may be set forth in the Claimant Trust Agreement. The Claimant Trust
  shall hold and distribute the Claimant Trust Assets (including the proceeds from the Estate
  Claims, if any) in accordance with the provisions of the Plan and the Claimant Trust Agreement;
  provided that the Claimant Trust Oversight Committee may direct the Claimant Trust to reserve
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    In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and
  the Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust
  Agreement, as applicable, shall control.
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  Cash from distributions as necessary to fund the Claimant Trust and Litigation Sub-Trust. Other
  rights and duties of the Claimant Trustee and the Claimant Trust Beneficiaries shall be as set
  forth in the Claimant Trust Agreement. After the Effective Date, neither the Debtor nor the
  Reorganized Debtor shall have any interest in the Claimant Trust Assets.

          The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
  administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
  Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
  and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
  to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The
  Litigation Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in
  accordance with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall
  distribute the proceeds therefrom to the Claimant Trust for distribution. Other rights and duties
  of the Litigation Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

         2.              Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
  Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
  Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be
  overseen by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust
  Agreement and the Litigation Sub-Trust Agreement, as applicable.

          The Claimant Trust Oversight Committee will initially consist of five members. Four of
  the five members will be representatives of the members of the Committee: (i) the Redeemer
  Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The
  fifth member will be an independent, natural Person chosen by the Committee and reasonably
  acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
  replaced as set forth in the Claimant Trust Agreement. The identity of the members of the
  Claimant Trust Oversight Committee will be disclosed in the Plan Supplement.

          As set forth in the Claimant Trust Agreement, in no event will any member of the
  Claimant Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine,
  or otherwise be involved in any matters related to such member’s Claim.

          The independent member(s) of the Claimant Trust Oversight Committee may be entitled
  to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
  the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
  set forth in the Claimant Trust Agreement.

         3.              Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
  the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the
  oversight of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and
  holding the limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole
  member and manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its
  capacity as the sole member and manager of New GP LLC, overseeing the management and
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  monetization of the Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited
  Partnership Agreement; and (v) administering the Disputed Claims Reserve and serving as
  Distribution Agent with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile
  and object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited
  Partnership Interests, and Class A Limited Partnership Interests, as provided for in this Plan and
  the Claimant Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries
  in accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
  engage in the conduct of a trade or business.

         The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

         4.             Purpose of the Litigation Sub-Trust.

          The Litigation Sub-Trust shall be established for the purpose of investigating,
  prosecuting, settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be
  distributed by the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant
  Trust Beneficiaries pursuant to the terms of the Claimant Trust Agreement.

         5.             Claimant Trust Agreement and Litigation Sub-Trust Agreement.

         The Claimant Trust Agreement generally will provide for, among other things:

              (i)    the payment of the Claimant Trust Expenses;

              (ii)   the payment of other reasonable expenses of the Claimant Trust;

             (iii)    the retention of employees, counsel, accountants, financial advisors, or other
  professionals and the payment of their reasonable compensation;

             (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
  including those specified in the Plan;

              (v)    the orderly monetization of the Claimant Trust Assets;

             (vi)    litigation of any Causes of Action, which may include the prosecution,
  settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
  oversight by the Claimant Trust Oversight Committee;

              (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
  subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be
  made therefrom; and

             (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
  Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

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         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
  be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust
  Agreement. The Claimant Trustee may establish a reserve for the payment of Claimant Trust
  Expense (including, without limitation, any reserve for potential indemnification claims as
  authorized and provided under the Claimant Trust Agreement), and shall periodically replenish
  such reserve, as necessary.

          In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
  Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
  Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
  Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
  to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
  (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
  objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
  without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
  Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
  the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
  resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
  of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
  other things:

              (i)    the payment of other reasonable expenses of the Litigation Sub-Trust;

             (ii)    the retention of employees, counsel, accountants, financial advisors, or other
  professionals and the payment of their reasonable compensation; and

             (iii) the investigation and prosecution of Estate Claims, which may include the
  prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to
  reporting and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable,
  may each employ, without further order of the Bankruptcy Court, employees and other
  professionals (including those previously retained by the Debtor and the Committee) to assist in
  carrying out the Trustees’ duties hereunder and may compensate and reimburse the reasonable
  expenses of these professionals without further Order of the Bankruptcy Court from the Claimant
  Trust Assets in accordance with the Plan and the Claimant Trust Agreement.

          The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
  reasonable and customary provisions that allow for indemnification by the Claimant Trust in
  favor of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee.
  Any such indemnification shall be the sole responsibility of the Claimant Trust and payable
  solely from the Claimant Trust Assets.

         6.             Compensation and Duties of Trustees.

        The salient terms of each Trustee’s employment, including such Trustee’s duties and
  compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust

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  Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
  amount consistent with that of similar functionaries in similar types of bankruptcy cases.

         7.             Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
  of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
  Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
  and Reorganized Debtor’s documents, information, and work product relating to the Claimant
  Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall
  reasonably cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their
  prosecution of Causes of Action and in providing the Claimant Trustee and Litigation Trustee
  with copies of documents and information in the Debtor’s possession, custody, or control on the
  Effective Date that either Trustee indicates relates to the Estate Claims or other Causes of
  Action.

         The Debtor and Reorganized Debtor shall preserve all records, documents or work
  product (including all electronic records, documents, or work product) related to the Claims and
  Causes of Action, including Estate Claims, until the earlier of (a) the dissolution of the
  Reorganized Debtor or (b) termination of the Claimant Trust and Litigation Sub-Trust.

         8.             United States Federal Income Tax Treatment of the Claimant Trust.

          Unless the IRS requires otherwise, for all United States federal income tax purposes, the
  parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a
  transfer of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims
  Reserve, if the Claimant Trustee makes the election described in Section 7 below) directly to the
  applicable Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust
  Beneficiaries to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant
  Trust Interests. Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for
  United States federal income tax purposes as the grantors and owners of their respective share of
  the Claimant Trust Assets. The foregoing treatment shall also apply, to the extent permitted by
  applicable law, for state and local income tax purposes.

         9.             Tax Reporting.

          (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the
  Claimant Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The
  Claimant Trustee may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the
  Disputed Claims Reserve as a disputed ownership fund, in which case the Claimant Trustee will
  file federal income tax returns and pay taxes for the Disputed Claims Reserve as a separate
  taxable entity.

          (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
  Assets, of any taxes imposed on the Claimant Trust or its assets.



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          (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust
  Assets as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such
  valuation, and such valuation shall be used consistently for all federal income tax purposes.

         (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
  Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

         10.             Claimant Trust Assets.

          The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
  institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
  Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without
  any further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive
  right, on behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust
  Assets, except as otherwise provided in this Plan or in the Claimant Trust Agreement, without
  any further order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the
  Litigation Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon,
  settle, compromise, release, or withdraw any and all Estate Claims included in the Claimant
  Trust Assets without any further order of the Bankruptcy Court.

          From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3)
  and (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
  representative of the Estate with respect to any and all Claimant Trust Assets, including the
  Causes of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a)
  commence, pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action
  in any court or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust
  Assets.

         11.             Claimant Trust Expenses.

         From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
  business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
  professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
  professionals retained by such parties and entities from the Claimant Trust Assets, except as
  otherwise provided in the Claimant Trust Agreement.

         12.             Trust Distributions to Claimant Trust Beneficiaries.

          The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant
  Trust Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof,
  provided that such Trust Distributions or use is otherwise permitted under the terms of the Plan,
  the Claimant Trust Agreement, and applicable law.

         13.             Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
  invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
  the terms of the Claimant Trust Agreement; provided, however, that such investments are
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  investments permitted to be made by a “liquidating trust” within the meaning of Treasury
  Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines,
  rulings or other controlling authorities.

         14.             Dissolution of the Claimant Trust and Litigation Sub-Trust.

          The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
  dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the
  pursuit of Estate Claims is not likely to yield sufficient additional proceeds to justify further
  pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of
  Action (other than Estate Claims) is not likely to yield sufficient additional proceeds to justify
  further pursuit of such Causes of Action, (c) the Clamant Trustee determines that the pursuit of
  sales of other Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify
  further pursuit of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and
  Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all
  Distributions required to be made by the Claimant Trustee to the Claimant Trust Beneficiaries
  under the Plan have been made, but in no event shall the Claimant Trust be dissolved later than
  three years from the Effective Date unless the Bankruptcy Court, upon motion made within the
  six-month period before such third anniversary (and, in the event of further extension, by order
  of the Bankruptcy Court, upon motion made at least six months before the end of the preceding
  extension), determines that a fixed period extension (not to exceed two years, together with any
  prior extensions, without a favorable letter ruling from the Internal Revenue Service or an
  opinion of counsel that any further extension would not adversely affect the status of the
  Claimant Trust as a liquidating trust for federal income tax purposes) is necessary to facilitate or
  complete the recovery on, and liquidation of, the Claimant Trust Assets; provided, however, that
  each extension must be approved, upon a finding that the extension is necessary to facilitate or
  complete the recovery on, and liquidation of the Claimant Trust Assets, by the Bankruptcy Court
  within 6 months of the beginning of the extended term and no extension, together with any prior
  extensions, shall exceed three years without a favorable letter ruling from the Internal Revenue
  Service or an opinion of counsel that any further extension would not adversely affect the status
  of the Claimant Trust as a liquidating trust for federal income tax purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
  any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
  will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the
  Holders of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

  C.     The Reorganized Debtor

         1.              Corporate Existence

         The Debtor will continue to exist after the Effective Date, with all of the powers of
  partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
  Limited Partnership Agreement.




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         2.             Cancellation of Equity Interests and Release

          On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
  Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
  canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of,
  or based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
  obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s
  formation documents, including the Limited Partnership Agreement.

         3.             Issuance of New Partnership Interests

          On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
  new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
  New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
  the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
  The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
  of the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner,
  and New GP LLC, as general partner, will execute the Reorganized Limited Partnership
  Agreement and receive partnership interests in the Reorganized Debtor consistent with the terms
  of the Reorganized Limited Partnership Agreement.

          The Reorganized Limited Partnership Agreement does not provide for, and specifically
  disclaims, the indemnification obligations under the Limited Partnership Agreement, including
  any such indemnification obligations that accrued or arose or could have been brought prior to
  the Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
  accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
  Claims resolution process provided that a Claim is properly filed in accordance with the
  Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
  the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
  indemnification Claims.

         4.             Management of the Reorganized Debtor

           Subject to and consistent with the terms of the Reorganized Limited Partnership
  Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
  initial officers and employees of the Reorganized Debtor shall be selected by the Claimant
  Trustee. The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to
  or in lieu of the retention of officers and employees.

           As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will
  receive a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited
  liability company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New
  GP LLC (and any taxable income attributable to it) will be subject to corporate income taxation
  on a standalone basis, which may reduce the return to Claimants.




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         5.              Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided in this Plan or the Confirmation Order, on or after the
  Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
  of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the
  Bankruptcy Code except with respect to such Liens, Claims, charges and other encumbrances
  that are specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
  for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
  the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to
  the Reorganized Debtor Assets.

         6.              Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
  Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall
  include, for the avoidance of doubt, serving as the investment manager of the Managed Funds)
  and may use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any
  Claims with respect to the Reorganized Debtor Assets without supervision or approval by the
  Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The
  Reorganized Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

          Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
  after the Effective Date for Professionals’ fees, disbursements, expenses or related support
  services (including reasonable fees relating to the preparation of Professional fee applications) in
  the ordinary course of business and without application or notice to, or order of, the Bankruptcy
  Court.

         7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                 Reorganized Debtor Assets

          Any proceeds received by the Reorganized Debtor will be distributed to the Claimant
  Trust, as limited partner, and New GP LLC, as general partner, in the manner set forth in the
  Reorganized Limited Partnership Agreement. As set forth in the Reorganized Limited
  Partnership Agreement, the Reorganized Debtor may, from time to time distribute Reorganized
  Debtor Assets to the Claimant Trust either in Cash or in-kind, including to institute the wind-
  down and dissolution of the Reorganized Debtor. Any assets distributed to the Claimant Trust
  will be (i) deemed transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant
  Trust Assets, and (iii) administered as Claimant Trust Assets.

  D.     Company Action

          Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take
  any and all actions to execute, deliver, File or record such contracts, instruments, releases and
  other agreements or documents and take such actions as may be necessary or appropriate to
  effectuate and implement the provisions of this Plan, the Claimant Trust Agreement, the
  Reorganized Limited Partnership Agreement, or the New GP LLC Documents, as applicable, in
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  the name of and on behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable,
  and in each case without further notice to or order of the Bankruptcy Court, act or action under
  applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, officers, or directors of the Debtor or the
  Reorganized Debtor, as applicable, or by any other Person.

          Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
  to this Plan that would otherwise require approval of the stockholders, partners, directors,
  managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
  the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
  after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
  of further action by the stockholders, partners, directors, managers or members of such Persons,
  or the need for any approvals, authorizations, actions or consents of any Person.

          All matters provided for in this Plan involving the legal or corporate structure of the
  Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate
  action required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in
  connection with this Plan, will be deemed to have occurred and will be in full force and effect in
  all respects, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, partners, directors, managers, or members of
  the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person.
  On the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
  applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
  transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
  consents, securities, certificates, resolutions and instruments contemplated by or described in this
  Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
  Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
  Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing
  actions.

  E.     Release of Liens, Claims and Equity Interests

          Except as otherwise provided in the Plan or in any contract, instrument, release or other
  agreement or document entered into or delivered in connection with the Plan, from and after the
  Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
  Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
  property of the Estate will be fully released, terminated, extinguished and discharged, in each
  case without further notice to or order of the Bankruptcy Court, act or action under applicable
  law, regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any
  Entity holding such Liens or Equity Interests extinguished pursuant to the prior sentence will,
  pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor,
  the Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
  release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
  the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
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  doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE
  IV.C.2.

  F.     Cancellation of Notes, Certificates and Instruments

          Except for the purpose of evidencing a right to a distribution under this Plan and except
  as otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities
  and other documents evidencing any prepetition Claim or Equity Interest and any rights of any
  Holder in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The
  holders of or parties to such cancelled instruments, Securities, and other documentation will have
  no rights arising from or related to such instruments, Securities, or other documentation or the
  cancellation thereof, except the rights provided for pursuant to this Plan, and the obligations of
  the Debtor thereunder or in any way related thereto will be fully released, terminated,
  extinguished and discharged, in each case without further notice to or order of the Bankruptcy
  Court, act or action under applicable law, regulation, order, or rule or any requirement of further
  action, vote or other approval or authorization by any Person. For the avoidance of doubt, this
  section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

  G.     Cancellation of Existing Instruments Governing Security Interests

          Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
  promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver
  to the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or
  other property of the Debtor held by such Holder, together with any termination statements,
  instruments of satisfaction, or releases of all security interests with respect to its Allowed Class 1
  or Allowed Class 2 Claim that may be reasonably required to terminate any related financing
  statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or
  documents.

  H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the
  Claimant Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized
  Limited Partnership Agreement, this Plan shall control.

  I.     Treatment of Vacant Classes

         Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
  Plan shall receive no Plan Distributions.

  J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any
  documents filed with the Plan Supplement, and any amendments, restatements, supplements, or
  other modifications to such documents, and any consents, waivers, or other deviations under or
  from any such documents, shall be incorporated herein by this reference (including to the
  applicable definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

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         The Debtor and the Committee are currently working to finalize the forms of certain of
  the Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
  Committee cannot agree as to the form and content of such Plan Documents, they intend to
  submit the issue to non-binding mediation pursuant to the Order Directing Mediation entered on
  August 3, 2020 [D.I. 912].

  K.     Highland Capital Management, L.P. Retirement Plan and Trust

          The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
  single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
  the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
  members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
  1301(a)(13), (14) with respect to the Pension Plan.

           Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
  Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
  Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
  standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
  premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
  in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
  Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
  the Reorganized Debtor and each of its controlled group members will be responsible for the
  liabilities imposed by Title IV of ERISA.

          Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
  Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order,
  or the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
  Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
  responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
  regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
  enforcing such liability or responsibility against any person or entity as a result of any of the
  provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves
  the right to contest any such liability or responsibility.

                              ARTICLE V.
          TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

  A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired
         Leases

          Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or
  rejected by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously
  expired or terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the
  subject of a motion to assume filed by the Debtor on or before the Confirmation Date; (iv)
  contains a change of control or similar provision that would be triggered by the Chapter 11 Case
  (unless such provision has been irrevocably waived); or (v) is specifically designated as a

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  contract or lease to be assumed in the Plan or the Plan Supplement, on the Confirmation Date,
  each Executory Contract and Unexpired Lease shall be deemed rejected pursuant to section 365
  of the Bankruptcy Code, without the need for any further notice to or action, order, or approval
  of the Bankruptcy Court, unless such Executory Contract or Unexpired Lease is listed in the Plan
  Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
  Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
  or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as
  determined by the Debtor in consultation with the Committee, or the Reorganized Debtor, as
  applicable.

          The Confirmation Order will constitute an order of the Bankruptcy Court approving the
  above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
  provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
  Executory Contract or Unexpired Lease shall include all modifications, amendments,
  supplements, restatements, or other agreements related thereto, and all rights related thereto.
  Modifications, amendments, supplements, and restatements to prepetition Executory Contracts
  and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall
  not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
  validity, priority, or amount of any Claims that may arise in connection therewith. To the extent
  applicable, no change of control (or similar provision) will be deemed to occur under any such
  Executory Contract or Unexpired Lease.

           If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
  Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that
  such counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed
  pursuant to the Plan are severable agreements that are not integrated with those Executory
  Contracts and/or Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking
  to contest this finding with respect to their Executory Contracts and/or Unexpired Leases must
  file a timely objection to the Plan on the grounds that their agreements are integrated and not
  severable, and any such dispute shall be resolved by the Bankruptcy Court at the Confirmation
  Hearing (to the extent not resolved by the parties prior to the Confirmation Hearing).

          Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
  certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
  headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
  accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),
  as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
  Unexpired Nonresidential Real Property Lease [Docket No. 1122].

  B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
  Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
  asserting a Rejection Claim shall File a proof of claim within thirty days of the Effective Date.
  Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed

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  and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
  objection to any Rejection Claim.

         Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
  accordance with ARTICLE III of this Plan.

  C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
         Leases

          Any monetary amounts by which any Executory Contract or Unexpired Lease to be
  assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
  Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the
  default amount in Cash as and when due in the ordinary course or on such other terms as the
  parties to such Executory Contracts may otherwise agree. The Debtor may serve a notice on the
  Committee and parties to Executory Contracts or Unexpired Leases to be assumed or assigned
  reflecting the Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory
  Contract or Unexpired Lease in connection with this Plan and setting forth the proposed cure
  amount (if any).

         If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
  the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
  performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
  Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
  assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
  Code will be made following the entry of a Final Order or orders resolving the dispute and
  approving the assumption or assignment.

          Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
  Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE
  V.C shall result in the full release and satisfaction of any cure amounts, Claims, or defaults,
  whether monetary or nonmonetary, including defaults of provisions restricting the change in
  control or ownership interest composition or other bankruptcy-related defaults, arising under any
  assumed or assigned Executory Contract or Unexpired Lease at any time prior to the effective
  date of assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts
  or Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including
  pursuant to the Confirmation Order, and for which any cure amounts have been fully paid
  pursuant to this ARTICLE V.C, shall be deemed disallowed and expunged as of the
  Confirmation Date without the need for any objection thereto or any further notice to or action,
  order, or approval of the Bankruptcy Court.

                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

  A.     Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
  practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
  Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity
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  Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or
  Equity Interest against the Debtor shall receive the full amount of the distributions that this Plan
  provides for Allowed Claims or Allowed Equity Interests in the applicable Class and in the
  manner provided herein. If any payment or act under this Plan is required to be made or
  performed on a date that is not on a Business Day, then the making of such payment or the
  performance of such act may be completed on the next succeeding Business Day, but shall be
  deemed to have been completed as of the required date. If and to the extent there are Disputed
  Claims or Equity Interests, distributions on account of any such Disputed Claims or Equity
  Interests shall be made pursuant to the provisions provided in this Plan. Except as otherwise
  provided in this Plan, Holders of Claims and Equity Interests shall not be entitled to interest,
  dividends or accruals on the distributions provided for therein, regardless of whether
  distributions are delivered on or at any time after the Effective Date.

          Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be
  deemed fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor,
  or the Claimant Trust will have liability on account of any Claims or Equity Interests except as
  set forth in this Plan and in the Confirmation Order. All payments and all distributions made by
  the Distribution Agent under this Plan shall be in full and final satisfaction, settlement and
  release of all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

          At the close of business on the Distribution Record Date, the transfer ledgers for the
  Claims against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall
  be no further changes in the record holders of such Claims and Equity Interests. The Debtor, the
  Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective
  agents, successors, and assigns shall have no obligation to recognize the transfer of any Claims
  against the Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date
  and shall be entitled instead to recognize and deal for all purposes hereunder with only those
  record holders stated on the transfer ledgers as of the close of business on the Distribution
  Record Date irrespective of the number of distributions to be made under this Plan to such
  Persons or the date of such distributions.

  B.     Distribution Agent

         Except as provided herein, all distributions under this Plan shall be made by the Claimant
  Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
  Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
  Distribution Agent with respect to Claims in Class 1 through Class 7.

         The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
  Distribution Agent, shall not be required to give any bond or surety or other security for the
  performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
  Court.

         The Distribution Agent shall be empowered to (a) effect all actions and execute all
  agreements, instruments, and other documents necessary to perform its duties under this Plan;
  (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
  respect to its responsibilities; and (d) exercise such other powers as may be vested in the

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  Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
  Distribution Agent to be necessary and proper to implement the provisions hereof.

          The Distribution Agent shall not have any obligation to make a particular distribution to a
  specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

  C.     Cash Distributions

         Distributions of Cash may be made by wire transfer from a domestic bank, except that
  Cash payments made to foreign creditors may be made in such funds and by such means as the
  Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

  D.     Disputed Claims Reserve

         On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
  maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts
  on account of any Disputed Claims.

  E.     Distributions from the Disputed Claims Reserve

          The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
  Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
  pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
  becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall
  distribute from the Disputed Claims Reserve to the Holder thereof any prior distributions, in
  Cash, that would have been made to such Allowed Claim if it had been Allowed as of the
  Effective Date. For the avoidance of doubt, each Holder of a Disputed Claim that subsequently
  becomes an Allowed Claim will also receive its Pro Rata share of the Claimant Trust Interests.
  If, upon the resolution of all Disputed Claims any Cash remains in the Disputed Claims Reserve,
  such Cash shall be transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

  F.     Rounding of Payments

          Whenever this Plan would otherwise call for, with respect to a particular Person, payment
  of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such
  fraction to the nearest whole dollar (up or down), with half dollars being rounded down. To the
  extent that Cash to be distributed under this Plan remains undistributed as a result of the
  aforementioned rounding, such Cash or stock shall be treated as “Unclaimed Property” under this
  Plan.

  G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
  the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
  Distributions with a value of less than $100, unless a written request therefor is received by the
  Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
  within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
  Allowed Claim. De minimis distributions for which no such request is timely received shall
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  revert to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim
  on account of missed distributions) shall be automatically deemed satisfied, discharged and
  forever barred, notwithstanding any federal or state escheat laws to the contrary.

  H.     Distributions on Account of Allowed Claims

         Except as otherwise agreed by the Holder of a particular Claim or as provided in this
  Plan, all distributions shall be made pursuant to the terms of this Plan and the Confirmation
  Order. Except as otherwise provided in this Plan, distributions to any Holder of an Allowed
  Claim shall, to the extent applicable, be allocated first to the principal amount of any such
  Allowed Claim, as determined for U.S. federal income tax purposes and then, to the extent the
  consideration exceeds such amount, to the remainder of such Claim comprising accrued but
  unpaid interest, if any (but solely to the extent that interest is an allowable portion of such
  Allowed Claim).

  I.     General Distribution Procedures

          The Distribution Agent shall make all distributions of Cash or other property required
  under this Plan, unless this Plan specifically provides otherwise. All Cash and other property
  held by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
  distribution under this Plan shall not be subject to any claim by any Person.

  J.     Address for Delivery of Distributions

          Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
  shall be made (1) at the addresses set forth in any written notices of address change delivered to
  the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed
  by such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3)
  at the addresses in the Debtor’s books and records.

          If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
  the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
  the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

  K.     Undeliverable Distributions and Unclaimed Property

          If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
  Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such
  Holder, and Distribution Agent shall not have any obligation to make any further distribution to
  the Holder, unless and until the Distribution Agent is notified in writing of such Holder’s then
  current address.

          Any Entity that fails to claim any Cash within six months from the date upon which a
  distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
  and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
  purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
  whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
  any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.
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  L.     Withholding Taxes

          In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
  with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
  and all distributions made pursuant to this Plan shall be subject to such withholding and
  reporting requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state
  or local withholding taxes from any Cash payments made with respect to Allowed Claims, as
  appropriate. As a condition to receiving any distribution under this Plan, the Distribution Agent
  may require that the Holder of an Allowed Claim entitled to receive a distribution pursuant to
  this Plan provide such Holder’s taxpayer identification number and such other information and
  certification as may be deemed necessary for the Distribution Agent to comply with applicable
  tax reporting and withholding laws. If a Holder fails to comply with such a request within one
  year, such distribution shall be deemed an unclaimed distribution. Any amounts withheld
  pursuant hereto shall be deemed to have been distributed to and received by the applicable
  recipient for all purposes of this Plan.

  M.     Setoffs

          The Distribution Agent may, to the extent permitted under applicable law, set off against
  any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
  Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
  Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed
  Claim that are not otherwise waived, released or compromised in accordance with this Plan;
  provided, however, that neither such a setoff nor the allowance of any Claim hereunder shall
  constitute a waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of
  any such claims, rights and causes of action that the Debtor, the Reorganized Debtor, or
  Claimant Trustee possesses against such Holder. Any Holder of an Allowed Claim subject to
  such setoff reserves the right to challenge any such setoff in the Bankruptcy Court or any other
  court with jurisdiction with respect to such challenge.

  N.     Surrender of Cancelled Instruments or Securities

         As a condition precedent to receiving any distribution pursuant to this Plan on account of
  an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
  ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
  instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
  negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
  have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.

  O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
  Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
  mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required
  by this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the
  Distribution Agent of such loss, theft, mutilation, or destruction; and (ii) such security or
  indemnity as may be required by the Distribution Agent to hold such party harmless from any

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  damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed
  Claim or Equity Interest. Upon compliance with ARTICLE VI.O of this Plan as determined by
  the Distribution Agent, by a Holder of a Claim evidenced by a security or note, such Holder will,
  for all purposes under this Plan, be deemed to have surrendered such security or note to the
  Distribution Agent.

                                  ARTICLE VII.
                       PROCEDURES FOR RESOLVING CONTINGENT,
                         UNLIQUIDATED AND DISPUTED CLAIMS

  A.     Filing of Proofs of Claim

         Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
  unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
  required to file a Proof of Claim on or prior to the Bar Date.

  B.     Disputed Claims

          Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
  applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
  Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
  Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to
  the foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor
  or Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further
  order of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
  Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw
  any objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
  without further notice to creditors (other than the Entity holding such Disputed Claim or
  Disputed Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or
  Equity Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount
  compromised for purposes of this Plan.

  C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

          No payment or other distribution or treatment shall be made on account of a Disputed
  Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity
  Interest becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim
  or Equity Interest, as applicable, is determined by order of the Bankruptcy Court or by
  stipulation between the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of
  the Claim or Equity Interest.

  D.     Allowance of Claims and Equity Interests

          Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
  Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
  distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.


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         1.      Allowance of Claims

          After the Effective Date and subject to the other provisions of this Plan, the Reorganized
  Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
  defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
  Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
  the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
  Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
  Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
  entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
  allowing such Claim or Equity Interest.

         2.      Estimation

           Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and
  the Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at
  any time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
  Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
  unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of
  the Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157
  and 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or
  unliquidated Claim, including during the litigation concerning any objection to any Claim or
  Equity Interest or during the pendency of any appeal relating to any such objection. All of the
  aforementioned objection, estimation and resolution procedures are cumulative and not exclusive
  of one another. Claims or Equity Interests may be estimated and subsequently compromised,
  settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court. The rights
  and objections of all parties are reserved in connection with any such estimation proceeding.

         3.      Disallowance of Claims

          Any Claims or Equity Interests held by Entities from which property is recoverable under
  sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
  avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
  Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and
  holders of such Claims or Interests may not receive any distributions on account of such Claims
  or Interests until such time as such Causes of Action against that Entity have been settled or a
  Bankruptcy Court Order with respect thereto has been entered and all sums due, if any, to the
  Reorganized Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or
  paid to the Reorganized Debtor or the Claimant Trust, as applicable.

       EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
  DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,
  ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
  DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
  WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
  THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
  RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH

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  LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL
  ORDER.

                                      ARTICLE VIII.
                                 EFFECTIVENESS OF THIS PLAN

  A.     Conditions Precedent to the Effective Date

         The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
  ARTICLE VIII.B of this Plan of the following:

         •   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
             Reorganized Limited Partnership Agreement, and all schedules, documents,
             supplements and exhibits to this Plan shall have been Filed in form and substance
             reasonably acceptable to the Debtor and the Committee.

         •   The Confirmation Order shall have become a Final Order and shall be in form and
             substance reasonably acceptable to the Debtor and the Committee. The Confirmation
             Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
             the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
             necessary or appropriate to effectuate and consummate this Plan, including, without
             limitation, (a) entering into, implementing, effectuating, and consummating the
             contracts, instruments, releases, and other agreements or documents created in
             connection with or described in this Plan, (b) assuming the Executory Contracts and
             Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
             issuances as required under this Plan; and (d) entering into any transactions as set
             forth in the Plan Documents; (ii) the provisions of the Confirmation Order and this
             Plan are nonseverable and mutually dependent; (iii) the implementation of this Plan in
             accordance with its terms is authorized; (iv) pursuant to section 1146 of the
             Bankruptcy Code, the delivery of any deed or other instrument or transfer order, in
             furtherance of, or in connection with this Plan, including any deeds, bills of sale, or
             assignments executed in connection with any disposition or transfer of Assets
             contemplated under this Plan, shall not be subject to any Stamp or Similar Tax; and
             (v) the vesting of the Claimant Trust Assets in the Claimant Trust and the
             Reorganized Debtor Assets in the Reorganized Debtor, in each case as of the
             Effective Date free and clear of liens and claims to the fullest extent permissible
             under applicable law pursuant to section 1141(c) of the Bankruptcy Code except with
             respect to such Liens, Claims, charges and other encumbrances that are specifically
             preserved under this Plan upon the Effective Date.

         •   All documents and agreements necessary to implement this Plan, including without
             limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust
             Agreement, and the New GP LLC Documents, in each case in form and substance
             reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
             for delivery, and (b) been effected by, executed by, or otherwise deemed binding
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             upon, all Entities party thereto and shall be in full force and effect. All conditions
             precedent to such documents and agreements shall have been satisfied or waived
             pursuant to the terms of such documents or agreements.

         •   All authorizations, consents, actions, documents, approvals (including any
             governmental approvals), certificates and agreements necessary to implement this
             Plan, including, without limitation, the Reorganized Limited Partnership Agreement,
             the Claimant Trust Agreement, and the New GP LLC Documents, shall have been
             obtained, effected or executed and delivered to the required parties and, to the extent
             required, filed with the applicable governmental units in accordance with applicable
             laws and any applicable waiting periods shall have expired without any action being
             taken or threatened by any competent authority that would restrain or prevent
             effectiveness or consummation of the Restructuring.

         •   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
             that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
             Committee, the Claimant Trustee and the Litigation Trustee.

         •   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
             determined by the Debtor in good faith.

  B.     Waiver of Conditions

          The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than
  that the Confirmation Order shall have been entered) may be waived in whole or in part by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee) and any applicable parties in Section VII.A of this Plan, without notice, leave or
  order of the Bankruptcy Court or any formal action other than proceeding to confirm or
  effectuate this Plan. The failure to satisfy or waive a condition to the Effective Date may be
  asserted by the Debtor regardless of the circumstances giving rise to the failure of such condition
  to be satisfied. The failure of the Debtor to exercise any of the foregoing rights will not be
  deemed a waiver of any other rights, and each right will be deemed an ongoing right that may be
  asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable.

  C.     Dissolution of the Committee

          On the Effective Date, the Committee will dissolve, and the members of the Committee
  and the Committee’s Professionals will cease to have any role arising from or relating to the
  Chapter 11 Case, except in connection with final fee applications of Professionals for services
  rendered prior to the Effective Date (including the right to object thereto). The Professionals
  retained by the Committee and the members thereof will not be entitled to assert any fee claims
  for any services rendered to the Committee or expenses incurred in the service of the Committee
  after the Effective Date, except for reasonable fees for services rendered, and actual and
  necessary costs incurred, in connection with any applications for allowance of Professional Fees
  pending on the Effective Date or filed and served after the Effective Date pursuant to the Plan.
  Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or Committee’s


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  Professionals to represent either of the Trustees or to be compensated or reimbursed per the Plan
  and the Claimant Trust Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

  A.     General

          Notwithstanding anything contained in the Plan to the contrary, the allowance,
  classification and treatment of all Allowed Claims and Equity Interests and their respective
  distributions and treatments under the Plan shall take into account the relative priority and rights
  of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
  equitable subordination rights relating thereto whether arising under general principles of
  equitable subordination, section 510 of the Bankruptcy Code, or otherwise.

  B.     Discharge of Claims

          To the fullest extent provided under section 1141(d)(1)(A) and other applicable
  provisions of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the
  Confirmation Order, all consideration distributed under this Plan will be in exchange for, and in
  complete satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of
  any kind or nature whatsoever against the Debtor or any of its Assets or properties, and
  regardless of whether any property will have been distributed or retained pursuant to this Plan on
  account of such Claims or Equity Interests. Except as otherwise expressly provided by this Plan
  or the Confirmation Order, upon the Effective Date, the Debtor and its Estate will be deemed
  discharged and released under and to the fullest extent provided under section 1141(d)(1)(A) and
  other applicable provisions of the Bankruptcy Code from any and all Claims and Equity Interests
  of any kind or nature whatsoever, including, but not limited to, demands and liabilities that arose
  before the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or
  502(i) of the Bankruptcy Code.

  C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
  by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
  exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
  Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in
  connection with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
  negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
  confirmation of, the Plan; (iii) the funding or consummation of the Plan (including the Plan
  Supplement) or any related agreements, instruments, or other documents, the solicitation of votes
  on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be issued
  pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan
  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any
  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(iv);
  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated
  Party arising out of or related to acts or omissions that constitute bad faith, fraud, gross

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  negligence, criminal misconduct, or willful misconduct or (b) Strand or any Employee other than
  with respect to actions taken by such Entities from the date of appointment of the Independent
  Directors through the Effective Date. This exculpation shall be in addition to, and not in
  limitation of, all other releases, indemnities, exculpations, any other applicable law or rules, or
  any other provisions of this Plan, including ARTICLE IV.C.2, protecting such Exculpated
  Parties from liability.

  D.     Releases by the Debtor

          On and after the Effective Date, each Released Party is deemed to be, hereby
  conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by
  the Debtor and the Estate, in each case on behalf of themselves and their respective successors,
  assigns, and representatives, including, but not limited to, the Claimant Trust and the Litigation
  Sub-Trust from any and all Causes of Action, including any derivative claims, asserted on behalf
  of the Debtor, whether known or unknown, foreseen or unforeseen, matured or unmatured,
  existing or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtor or the
  Estate would have been legally entitled to assert in their own right (whether individually or
  collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor or other
  Person.

          Notwithstanding anything contained herein to the contrary, the foregoing release does not
  release: (i) any obligations of any party under the Plan or any document, instrument, or
  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee
  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect
  to any confidentiality provisions or covenants restricting competition in favor of the Debtor
  under any employment agreement with a current or former employee of the Debtor, (iv) any
  Avoidance Actions, or (v) any Causes of Action arising from willful misconduct, criminal
  misconduct, actual fraud, or gross negligence of such applicable Released Party as determined by
  Final Order of the Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
  ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
  Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
  (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
  Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any
  Employee, including a Senior Employee, shall be deemed null and void and of no force and
  effect (1) if there is more than one member of the Claimant Trust Oversight Committee who does
  not represent entities holding a Disputed or Allowed Claim (the “Independent Members”), the
  Claimant Trustee and the Independent Members by majority vote determine or (2) if there is only
  one Independent Member, the Independent Member after discussion with the Claimant Trustee,
  determines (in each case after discussing with the full Claimant Trust Oversight Committee) that
  such Employee (regardless of whether the Employee is then currently employed by the Debtor,
  the Reorganized Debtor, or the Claimant Trustee):

         •   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
             attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation


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              Sub-Trust, or any of their respective employees or agents, or any Released Party on or
              in connection with any claim or cause of action arising prior to the Effective Date,

         •    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
              the Reorganized Debtor Assets, or

         •    (x) upon the request of the Claimant Trustee, has failed to provide reasonable
              assistance in good faith to the Claimant Trustee or the Reorganized Debtor with
              respect to (1) the monetization of the Claimant Trust Assets or Reorganized Debtor
              Assets, as applicable, or (2) the resolution of Claims, or (y) has taken any action that
              impedes or frustrates the Claimant Trustee or the Reorganized Debtor with respect to
              any of the foregoing.

  Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
  Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
  release has not been deemed null and void and of no force and effect on or prior to the date that
  is the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

          By executing the Senior Employee Stipulation embodying this release, each Senior
  Employee acknowledges and agrees, without limitation, to the terms of this release and the
  tolling agreement contained in the Senior Employee Stipulation.

         The provisions of this release and the execution of a Senior Employee Stipulation will not
  in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
  Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought
  against the Employee by a third party, or (iii) assisting other persons in defending themselves
  from any Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims
  brought by the Litigation Trustee and not collection or other actions brought by the Claimant
  Trustee).

  E.     Preservation of Rights of Action

         1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized
  Debtor or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as
  appropriate, any and all Causes of Action included in the Reorganized Debtor Assets or Claimant
  Trust Assets, as applicable, whether existing as of the Petition Date or thereafter arising, in any
  court or other tribunal including, without limitation, in an adversary proceeding Filed in the
  Chapter 11 Case and, as the successors in interest to the Debtor and the Estate, may, and will
  have the exclusive right to, enforce, sue on, settle, compromise, transfer or assign (or decline to
  do any of the foregoing) any or all of the Causes of Action without notice to or approval from the
  Bankruptcy Court.

         2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
  is expressly waived, relinquished, released, compromised or settled in this Plan or any Final
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  Order (including, without limitation, the Confirmation Order), such Cause of Action is expressly
  reserved for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable
  (including, without limitation, Causes of Action not specifically identified or of which the
  Debtor may presently be unaware or that may arise or exist by reason of additional facts or
  circumstances unknown to the Debtor at this time or facts or circumstances that may change or
  be different from those the Debtor now believes to exist) and, therefore, no preclusion doctrine,
  including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,
  claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such
  Causes of Action as a consequence of the confirmation, effectiveness, or consummation of this
  Plan based on the Disclosure Statement, this Plan or the Confirmation Order, except where such
  Causes of Action have been expressly released in this Plan or any other Final Order (including,
  without limitation, the Confirmation Order). In addition, the right of the Reorganized Debtor or
  the Claimant Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a
  plaintiff, defendant or an interested party, against any Entity, including, without limitation, the
  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

  F.     Injunction

         Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
  permanently enjoined, on and after the Effective Date, from taking any actions to interfere
  with the implementation or consummation of the Plan.

          Except as expressly provided in the Plan, the Confirmation Order, or a separate
  order of the Bankruptcy Court, all Enjoined Parties are and shall be permanently
  enjoined, on and after the Effective Date, with respect to any Claims and Equity Interests,
  from directly or indirectly (i) commencing, conducting, or continuing in any manner any
  suit, action, or other proceeding of any kind (including any proceeding in a judicial,
  arbitral, administrative or other forum) against or affecting the Debtor or the property of
  the Debtor, (ii) enforcing, levying, attaching (including any prejudgment attachment),
  collecting, or otherwise recovering, enforcing, or attempting to recover or enforce, by any
  manner or means, any judgment, award, decree, or order against the Debtor or the
  property of the Debtor, (iii) creating, perfecting, or otherwise enforcing in any manner, any
  security interest, lien or encumbrance of any kind against the Debtor or the property of the
  Debtor, (iv) asserting any right of setoff, directly or indirectly, against any obligation due to
  the Debtor or against property or interests in property of the Debtor, except to the limited
  extent permitted under Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or
  proceeding in any manner, in any place whatsoever, that does not conform to or comply
  with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
  forth in any of clauses (i)-(v) of the immediately preceding paragraph against any
  successors of the Debtor, including, but not limited to, the Reorganized Debtor, the
  Litigation Sub-Trust, and the Claimant Trust and their respective property and interests in
  property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
  pursue a claim or cause of action of any kind against any Protected Party that arose or
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  arises from or is related to the Chapter 11 Case, the negotiation of the Plan, the
  administration of the Plan or property to be distributed under the Plan, the wind down of
  the business of the Debtor or Reorganized Debtor, the administration of the Claimant
  Trust or the Litigation Sub-Trust, or the transactions in furtherance of the foregoing
  without the Bankruptcy Court (i) first determining, after notice and a hearing, that such
  claim or cause of action represents a colorable claim of any kind, including, but not limited
  to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross
  negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party
  to bring such claim or cause of action against any such Protected Party; provided, however,
  the foregoing will not apply to a claim or cause of action against Strand or against any
  Employee other than with respect to actions taken, respectively, by Strand or by such
  Employee from the date of appointment of the Independent Directors through the Effective
  Date. The Bankruptcy Court will have sole and exclusive jurisdiction to determine
  whether a claim or cause of action is colorable and, only to the extent legally permissible
  and as provided for in ARTICLE XI, shall have jurisdiction to adjudicate the underlying
  colorable claim or cause of action.

  G.     Duration of Injunctions and Stays

          ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
  in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
  Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
  effect in accordance with their terms; and (ii) the automatic stay arising under section 362
  of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
  Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge,
  the Court will enter an equivalent order under Section 105.

  H.     Continuance of January 9 Order

         Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
  the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
  Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
  and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
  January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                         ARTICLE X.
                                    BINDING NATURE OF PLAN

          On the Effective Date, and effective as of the Effective Date, the Plan, including, without
  limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all
  Holders of Claims against and Equity Interests in the Debtor and such Holder’s respective
  successors and assigns, to the maximum extent permitted by applicable law, notwithstanding
  whether or not such Holder will receive or retain any property or interest in property under the
  Plan. All Claims and Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also
  bind any taxing authority, recorder of deeds, or similar official for any county, state,

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  Governmental Unit or parish in which any instrument related to the Plan or related to any
  transaction contemplated thereby is to be recorded with respect to nay taxes of the kind specified
  in Bankruptcy Code section 1146(a).

                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

          Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
  of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
  after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
  respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
  and this Plan to the maximum extent legally permissible, including, without limitation,
  jurisdiction to:

         •   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
             secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
             without limitation, the resolution of any request for payment of any Administrative
             Expense Claim and the resolution of any and all objections to the allowance or
             priority of any Claim or Equity Interest;

         •   grant or deny any applications for allowance of compensation or reimbursement of
             expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
             on or before the Effective Date; provided, however, that, from and after the Effective
             Date, the Reorganized Debtor shall pay Professionals in the ordinary course of
             business for any work performed after the Effective Date subject to the terms of this
             Plan and the Confirmation Order, and such payment shall not be subject to the
             approval of the Bankruptcy Court;

         •   resolve any matters related to the assumption, assignment or rejection of any
             Executory Contract or Unexpired Lease to which the Debtor is party or with respect
             to which the Debtor, Reorganized Debtor, or Claimant Trust may be liable and to
             adjudicate and, if necessary, liquidate, any Claims arising therefrom, including,
             without limitation, any dispute regarding whether a contract or lease is or was
             executory or expired;

         •   make any determination with respect to a claim or cause of action against a Protected
             Party as set forth in ARTICLE IX;

         •   resolve any claim or cause of action against an Exculpated Party or Protected Party
             arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
             administration of the Plan or property to be distributed under the Plan, the wind down
             of the business of the Debtor or Reorganized Debtor, or the transactions in
             furtherance of the foregoing;

         •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
             and allow any sale, disposition, assignment or other transfer of the Reorganized
             Debtor Assets or Claimant Trust Assets, including any break-up compensation or
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            expense reimbursement that may be requested by a purchaser thereof; provided,
            however, that neither the Reorganized Debtor nor the Claimant Trustee shall be
            required to seek such authority or approval from the Bankruptcy Court unless
            otherwise specifically required by this Plan or the Confirmation Order;

        •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any borrowing or the incurrence of indebtedness, whether secured or
            unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek
            such authority or approval from the Bankruptcy Court unless otherwise specifically
            required by this Plan or the Confirmation Order;

        •   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

        •   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
            are accomplished pursuant to the provisions of this Plan;

        •   decide or resolve any motions, adversary proceedings, contested or litigated matters
            and any other Causes of Action (including Estate Claims) that are pending as of the
            Effective Date or that may be commenced in the future, including approval of any
            settlements, compromises, or other resolutions as may be requested by the Debtor, the
            Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
            Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
            Debtor that may be pending on the Effective Date or instituted by the Reorganized
            Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
            that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
            reserve the right to commence actions in all appropriate forums and jurisdictions;

        •   enter such orders as may be necessary or appropriate to implement, effectuate, or
            consummate the provisions of this Plan, the Plan Documents, and all other contracts,
            instruments, releases, and other agreements or documents adopted in connection with
            this Plan, the Plan Documents, or the Disclosure Statement;

        •   resolve any cases, controversies, suits or disputes that may arise in connection with
            the implementation, effectiveness, consummation, interpretation, or enforcement of
            this Plan or any Entity’s obligations incurred in connection with this Plan;

        •   issue injunctions and enforce them, enter and implement other orders or take such
            other actions as may be necessary or appropriate to restrain interference by any Entity
            with implementation, effectiveness, consummation, or enforcement of this Plan,
            except as otherwise provided in this Plan;

        •   enforce the terms and conditions of this Plan and the Confirmation Order;

        •   resolve any cases, controversies, suits or disputes with respect to the release,
            exculpation, indemnification, and other provisions contained herein and enter such


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             orders or take such others actions as may be necessary or appropriate to implement or
             enforce all such releases, injunctions and other provisions;

         •   enter and implement such orders or take such others actions as may be necessary or
             appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
             vacated;

         •   resolve any other matters that may arise in connection with or relate to this Plan, the
             Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
             instrument, release, indenture or other agreement or document adopted in connection
             with this Plan or the Disclosure Statement; and

         •   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                       ARTICLE XII.
                                  MISCELLANEOUS PROVISIONS

  A.     Payment of Statutory Fees and Filing of Reports

          All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
  and all such fees that become due and payable, after the Effective Date shall be paid by the
  Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
  closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
  the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
  After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
  reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
  Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S.
  Trustee until the earliest of the Debtor’s case being closed, dismissed, or converted to a case
  under chapter 7 of the Bankruptcy Code.

  B.     Modification of Plan

          Effective as of the date hereof and subject to the limitations and rights contained in this
  Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
  Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order
  with the consent of the Committee, such consent not to be unreasonably withheld; and (b) after
  the entry of the Confirmation Order, the Debtor may, after notice and hearing and entry of an
  order of the Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of
  the Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this
  Plan in such manner as may be necessary to carry out the purpose and intent of this Plan.

  C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
  Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
  revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null
  and void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
  Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
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  executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
  order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall:
  (a) constitute a waiver or release of any Claims by or against, or any Equity Interests in, the
  Debtor or any other Entity; (b) prejudice in any manner the rights of the Debtor or any other
  Entity; or (c) constitute an admission, acknowledgement, offer or undertaking of any sort by the
  Debtor or any other Entity.

  D.     Obligations Not Changed

          Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
  otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
  obligations, including any contractual and indemnification obligations, to the Debtor, the
  Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

  E.     Entire Agreement

         Except as otherwise described herein, this Plan supersedes all previous and
  contemporaneous negotiations, promises, covenants, agreements, understandings, and
  representations on such subjects, all of which have become merged and integrated into this Plan.

  F.     Closing of Chapter 11 Case

         The Claimant Trustee shall, after the Effective Date and promptly after the full
  administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
  Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
  Case.

  G.     Successors and Assigns

          This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
  and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee.
  The rights, benefits, and obligations of any Person or Entity named or referred to in this Plan
  shall be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor,
  or assign of such Person or Entity.

  H.     Reservation of Rights

           Except as expressly set forth herein, this Plan shall have no force or effect unless and
  until the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither
  the filing of this Plan, any statement or provision contained herein, nor the taking of any action
  by the Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to
  this Plan shall be or shall be deemed to be an admission or waiver of any rights of: (1) the
  Debtor, the Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims
  or Equity Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other
  Entity prior to the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
  schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this
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  Plan, will constitute an admission by the Debtor that any such contract or lease is or is not an
  executory contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or
  their respective Affiliates has any liability thereunder.

         Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
  diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
  Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
  contract.

         Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
  responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
  applicable, under any executory or non-executory contract or lease.

           If there is a dispute regarding whether a contract or lease is or was executory at the time
  of its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee,
  as applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute
  to alter their treatment of such contract.

  I.     Further Assurances

          The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders
  of Claims and Equity Interests receiving distributions hereunder, and all other Entities shall,
  from time to time, prepare, execute and deliver any agreements or documents and take any other
  actions as may be necessary or advisable to effectuate the provisions and intent of this Plan or
  the Confirmation Order. On or before the Effective Date, the Debtor shall File with the
  Bankruptcy Court all agreements and other documents that may be necessary or appropriate to
  effectuate and further evidence the terms and conditions hereof.

  J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
  Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the
  power to alter and interpret such term or provision to make it valid or enforceable to the
  maximum extent practicable, consistent with the original purpose of the term or provision held to
  be invalid, void, or unenforceable, and such term or provision will then be applicable as altered
  or interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of
  the terms and provisions of this Plan will remain in full force and effect and will in no way be
  affected, impaired, or invalidated by such holding, alteration, or interpretation.             The
  Confirmation Order will constitute a judicial determination and will provide that each term and
  provision of this Plan, as it may have been altered or interpreted in accordance with the
  foregoing, is valid and enforceable pursuant to its terms.

  K.     Service of Documents

          All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
  Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
  herein, shall be deemed to have been duly given or made when actually delivered addressed as
  follows:
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                 If to the Claimant Trust:

                 Highland Claimant Trust
                 c/o Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.

                 If to the Debtor:

                 Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.

                 with copies to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067
                 Telephone: (310) 277-6910
                 Facsimile: (310) 201-0760
                 Attn: Jeffrey N. Pomerantz, Esq.
                        Ira D. Kharasch, Esq.
                        Gregory V. Demo, Esq.

                 If to the Reorganized Debtor:

                 Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.
                 with copies to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067
                 Attn: Jeffrey N. Pomerantz, Esq.
                        Ira D. Kharasch, Esq.
                        Gregory V. Demo, Esq.

  L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
         Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
  Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
  or governmental assessment in the United States, and the Confirmation Order shall direct the
  appropriate federal, state or local governmental officials or agents or taxing authority to forego
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  the collection of any such Stamp or Similar Tax or governmental assessment and to accept for
  filing and recordation instruments or other documents pursuant to such transfers of property
  without the payment of any such Stamp or Similar Tax or governmental assessment. Such
  exemption specifically applies, without limitation, to (i) all actions, agreements and documents
  necessary to evidence and implement the provisions of and the distributions to be made under
  this Plan; (ii) the maintenance or creation of security or any Lien as contemplated by this Plan;
  and (iii) assignments, sales, or transfers executed in connection with any transaction occurring
  under this Plan.

  M.     Governing Law

           Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
   law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise,
   the rights and obligations arising under this Plan shall be governed by, and construed and
   enforced in accordance with, the laws of Texas, without giving effect to the principles of
   conflicts of law of such jurisdiction; provided, however, that corporate governance matters
   relating to the Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as
   applicable, shall be governed by the laws of the state of organization of the Debtor, the
   Reorganized Debtor, New GP LLC, or the Claimant Trustee, as applicable.

  N.     Tax Reporting and Compliance

          The Debtor is hereby authorized to request an expedited determination under
  section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
  ending after the Petition Date through, and including, the Effective Date.

  O.     Exhibits and Schedules

       All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
  Documents, are incorporated and are a part of this Plan as if set forth in full herein.

  P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
  created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
  Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan
  Document, on the one hand, and of the Confirmation Order, on the other hand, shall be construed
  in a manner consistent with each other so as to effectuate the purposes of each; provided,
  however, that if there is determined to be any inconsistency between any provision of this Plan,
  the Disclosure Statement, and any Plan Document, on the one hand, and any provision of the
  Confirmation Order, on the other hand, that cannot be so reconciled, then, solely to the extent of
  such inconsistency, the provisions of the Confirmation Order shall govern, and any such
  provisions of the Confirmation Order shall be deemed a modification of this Plan, the Disclosure
  Statement, and the Plan Documents, as applicable.

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Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
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Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110
Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                )
In re:                                                          )   Chapter 11
                                                                )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                            )   Case No. 19-34054-sgj11
                                                                )
                                   Debtor.                      )
                                                                )



                    FOURTH 2 NOTICE OF (I) EXECUTORY CONTRACTS
                    AND UNEXPIRED LEASES TO BE ASSUMED BY THE
         DEBTOR PURSUANT TO THE FIFTH AMENDED PLAN, (II) CURE AMOUNTS,
          IF ANY, AND (III) RELATED PROCEDURES IN CONNECTION THEREWITH

       PLEASE TAKE NOTICE THAT on November 24, 2020, the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) entered an order [Docket No.
1476] (the “Disclosure Statement Order”) that, among other things: (a) approved the Disclosure
1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
2
  This Fourth Notice identifies executory contracts and unexpired leases to be assumed in addition to any executory
contract and unexpired lease identified previously in Docket Nos. 1648, 1719, 1749 and 1811-8.


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Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
(the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125(a)
of the title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”); and (b) authorized
the above-captioned debtor and debtor-in-possession (the “Debtor”) to solicit acceptances of the
Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No.
1472] (the “Plan”). 3

        PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on February 2,
2021 at 9:30 a.m. prevailing Central Time, before The Honorable Stacey G. C. Jernigan, in the
United States Bankruptcy Court for the Northern District of Texas (Dallas Division), located at
Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 1, Dallas, TX
75242-1496. The deadline for filing objections to the Plan was January 5, 2021, at 5:00 p.m.,
prevailing Central Time.

        PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because the
Debtor’s records reflect that you are a party to a contract to be assumed by the Debtor pursuant
to the Plan Supplement [Docket No. 1606] filed on December 18, 2020. Therefore, you are
advised to review carefully the information contained in this notice and the related provisions of
the Plan.

       PLEASE TAKE FURTHER NOTICE THAT the Debtor is proposing to assume your
Executory Contract(s) and Unexpired Lease(s), listed in Schedule A attached hereto, to which
you are a party. 4

       PLEASE TAKE FURTHER NOTICE THAT section 365(b)(1) of the Bankruptcy
Code requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly
cure, any defaults under executory contracts and unexpired leases at the time of assumption.
Accordingly, the Debtor has conducted a thorough review of its books and records and has
determined the amounts required to cure defaults, if any, under the Executory Contract(s) and
Unexpired Lease(s), which amounts are listed in the table on Schedule A attached hereto. Please
note that if no amount is stated for a particular Executory Contract or Unexpired Lease, the
Debtor believes that there is no cure amount outstanding for such contract or lease.

       PLEASE TAKE FURTHER NOTICE THAT, absent any pending dispute, the
monetary amounts required to cure any existing defaults arising under the Executory Contract(s)
and Unexpired Lease(s) identified on Schedule A attached hereto will be satisfied, pursuant to
section 365(b)(1) of the Bankruptcy Code, by the Debtor in Cash on the Effective Date or as
soon as reasonably practicable thereafter. In the event of a dispute, however, payment of the cure
amount would be made following the entry of a final order(s) resolving the dispute and

3
  Capitalized terms not defined herein shall have the same meaning as ascribed in the Plan.
4
  Nothing contained in the Plan or the Debtor’s schedule of assets and liabilities shall constitute an admission by the
Debtor that any such contract or lease is in fact an Executory Contract or Unexpired Lease capable of assumption
that the Debtor or the Reorganized Debtor(s) has any liability thereunder, or that such Executory Contract or
Unexpired Lease is necessarily a binding and enforceable agreement. Further, the Debtor expressly reserves the
right to remove any Executory Contract or Unexpired Lease from assumption by the Debtor and reject such
Executory Contract or Unexpired Lease pursuant to the terms of the Plan.



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approving the assumption. If an objection to the proposed assumption or related cure amount is
sustained by the Court, however, the Debtor may elect to reject such Executory Contract or
Unexpired Lease in lieu of assuming it.

        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
assumption of an Executory Contract or Unexpired Lease is February 1, 2021, at 12:00 noon,
prevailing Central Time. Any objection to the assumption of your Executory Contract or
Unexpired Lease must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy
Procedure and the Bankruptcy Local Rules for the Northern District of Texas; (c) state, with
particularity, the name and address of the objecting party, the basis and nature of any objection
the assumption of the Executory Contract or Unexpired Lease, and, if practicable, a proposed
modification such proposed assumption that would resolve such objection; (d) be served on
counsel for the Debtor set forth in the signatory block below; and (e) be filed with the Court on
or before February 1, 2021 at 12:00 noon prevailing Central Time.

         PLEASE TAKE FURTHER NOTICE THAT any objections to the Plan in connection
with the assumption of the Executory Contract(s) and Unexpired Lease(s) proposed in
connection with the Plan that remain unresolved as of the Confirmation Hearing will be heard at
the first omnibus hearing following the Confirmation Hearing (or such other date as fixed by the
Court).

PLEASE TAKE FURTHER NOTICE THAT ANY COUNTERPARTY TO AN
EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT FAILS TO OBJECT
TIMELY TO EITHER THE PROPOSED ASSUMPTION OF SUCH CONTRACT OR
LEASE OR THE CURE AMOUNT WILL BE DEEMED TO HAVE ASSENTED TO
SUCH ASSUMPTION AND CURE AMOUNT.

     PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OF ANY
EXECUTORY CONTRACT OR UNEXPIRED LEASE PURSUANT TO THE PLAN OR
OTHERWISE SHALL RESULT IN THE FULL RELEASE AND SATISFACTION OF
ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR NONMONETARY,
INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE CHANGE IN
CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER
BANKRUPTCY-RELATED DEFAULTS, ARISING UNDER ANY ASSUMED
EXECUTORY CONTRACT OR UNEXPIRED LEASE AT ANY TIME BEFORE THE
DATE THE DEBTOR OR REORGANIZED DEBTOR ASSUMES SUCH EXECUTORY
CONTRACT OR UNEXPIRED LEASE. ANY PROOFS OF CLAIM FILED WITH
RESPECT TO AN EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT HAS
BEEN ASSUMED SHALL BE DEEMED DISALLOWED AND EXPUNGED, WITHOUT
FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE
BANKRUPTCY COURT.

        PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
Disclosure Statement Order, Disclosure Statement, the Plan, the Plan Supplement, or related
documents,     you    may:    (a)    access  the   Debtor’s    restructuring     website   at
http://www.kccllc.net/hcmlp; (b) write to HCMLP Ballot Processing Center, c/o KCC, 222 N.
Pacific Coast Highway, Suite 300, El Segundo, CA 90245; (c) call toll free: (877) 573-3984 or


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international: (310) 751-1829 and request to speak with a member of the Solicitation Group; or
(d) email HighlandInfo@kccllc.com and reference “Highland” in the subject line. You may also
obtain copies of any pleadings filed in this case for a fee via PACER at: pacer.uscourts.gov.

       Alternatively, you can obtain a copy of these documents by contacting counsel for the
Debtor (a) by e-mail, at gdemo@pszjlaw.com, (b) by telephone, by contacting Gregory Demo at
(212) 561-7700, or (c) by mail, at Pachulski Stang Ziehl & Jones LLP, Attn: Gregory Demo, 780
Third Avenue, 34th Floor, New York, NY 10017. Please specify whether you would like to
receive copies of these documents by (i) e-mail transmission (in which case, please include
your e-mail address), (ii) on a CD-ROM or flash drive delivered by return mail, or (iii) in
paper copies delivered by return mail.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES
ONLY. IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER
THE PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE
TO OBTAIN ADDITIONAL INFORMATION, CONTACT THE SOLICITATION
AGENT.




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Dated: January 27, 2021.                 PACHULSKI STANG ZIEHL & JONES LLP
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                                         Gregory V. Demo (NY Bar No. 5371992)
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                                         Los Angeles, CA 90067
                                         Telephone: (310) 277-6910
                                         Facsimile: (310) 201-0760
                                         Email:      jpomerantz@pszjlaw.com
                                                     ikharasch@pszjlaw.com
                                                     gdemo@pszjlaw.com
                                         -and-

                                         HAYWARD PLLC

                                         /s/ Zachery Z. Annable
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                                         MHayward@HaywardFirm.com
                                         Zachery Z. Annable
                                         Texas Bar No. 24053075
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                                         Counsel for the Debtor and Debtor-in-Possession




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                                            Schedule A

                     Schedule of Assumed Contracts and Leases and Proposed Cure




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                                                                       Description of Assumed
      Debtor                       Counterparty                                                                Cure
                                                                        Contracts or Leases
Highland Capital                                                      Master Service Agreement
Management, L.P.                      Via West 5                                                               $0.00

Highland Capital                      Via West 6                      Master Service Agreement
Management, L.P.                                                                                               $0.00
                                Attn: John Greenwood
Highland Capital                                                  Amendment to Bloomberg Order
Management, L.P.               Bloomberg Finance, L.P.           Management System Addendum and
                                Attn: Levi Halberstam              Bloomberg Order Management                  $0.00
                                                                    System Schedule of Services
                                                                        Account No. 167969
Highland Capital                                                                                            Parties are
Management, L.P.               Markit WSO Corporation                                                         jointly
                                                                   Fourth Amendment to Software
                                                                                                            confirming
                                  Attn: John Taylor                License and Services Agreement
                                                                                                               cure
                                                                                                              amount
Highland Capital                                                  Master Services Agreement, First
Management, L.P.                 Siepe Services, LLC               Amendment to Master Services
                                                                 Agreement, Second Amendment and            $80,184.00
                                Attn: Michael Pusateri             Restatement of Master Services
                                                                            Agreement
Highland Capital                                                       Internet Agreement 7
Management, L.P.                       AT&T                                                                    $0.00
                                                                   Account No. 831-000-7888-651
Highland Capital                                                       Landline Fax Agreement
Management, L.P.                       AT&T                                                                    $0.00
                                                                         831-000-2532-176
Highland Capital
                           Amazon Web Services, Inc.                 Account No. 353534426569                  $0.00
Management, L.P.
Highland Capital                                                     Website Hosting Agreement
Management, L.P.                     WP Engine                                                                 $0.00
                                                                       Account No. 325667




  5
    The Via West Master Service Agreements were erroneously included in the Notice of Withdrawal of Certain
  Executory Contract(s) and Unexpired Lease(s) from List of Executory Contract(s) and Unexpired Lease(s) to be
  Assumed by the Debtor Pursuant to the Fifth Amended Plan [Docket No. 1791].
  6
    The Via West Master Service Agreements were erroneously included in the Notice of Withdrawal of Certain
  Executory Contract(s) and Unexpired Lease(s) from List of Executory Contract(s) and Unexpired Lease(s) to be
  Assumed by the Debtor Pursuant to the Fifth Amended Plan [Docket No. 1791].
  7
    The Internet Agreement with AT&T corrects, replaces and supersedes the Executory Contract identified at #45 in
  Docket No. 1811-8.


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Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
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Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
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Fax: (972) 755-7110
Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                               )
In re:                                                         )   Chapter 11
                                                               )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                               )
                                   Debtor.                     )
                                                               )



                     FIFTH 2 NOTICE OF (I) EXECUTORY CONTRACTS
                    AND UNEXPIRED LEASES TO BE ASSUMED BY THE
         DEBTOR PURSUANT TO THE FIFTH AMENDED PLAN, (II) CURE AMOUNTS,
          IF ANY, AND (III) RELATED PROCEDURES IN CONNECTION THEREWITH

       PLEASE TAKE NOTICE THAT on November 24, 2020, the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) entered an order [Docket No.
1476] (the “Disclosure Statement Order”) that, among other things: (a) approved the Disclosure
1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
2
  This Fifth Notice identifies executory contracts and unexpired leases to be assumed in addition to any executory
contract and unexpired lease identified previously in Docket Nos. 1648, 1719, 1749, 1811-8 and 1847.


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Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
(the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125(a)
of the title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”); and (b) authorized
the above-captioned debtor and debtor-in-possession (the “Debtor”) to solicit acceptances of the
Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No.
1472] (the “Plan”). 3

        PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on February 2,
2021 at 9:30 a.m. prevailing Central Time, before The Honorable Stacey G. C. Jernigan, in the
United States Bankruptcy Court for the Northern District of Texas (Dallas Division), located at
Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 1, Dallas, TX
75242-1496. The deadline for filing objections to the Plan was January 5, 2021, at 5:00 p.m.,
prevailing Central Time.

        PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because the
Debtor’s records reflect that you are a party to a contract to be assumed by the Debtor pursuant
to the Plan Supplement [Docket No. 1606] filed on December 18, 2020. Therefore, you are
advised to review carefully the information contained in this notice and the related provisions of
the Plan.

       PLEASE TAKE FURTHER NOTICE THAT the Debtor is proposing to assume your
Executory Contract(s) and Unexpired Lease(s), listed in Schedule A attached hereto, to which
you are a party. 4

       PLEASE TAKE FURTHER NOTICE THAT section 365(b)(1) of the Bankruptcy
Code requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly
cure, any defaults under executory contracts and unexpired leases at the time of assumption.
Accordingly, the Debtor has conducted a thorough review of its books and records and has
determined the amounts required to cure defaults, if any, under the Executory Contract(s) and
Unexpired Lease(s), which amounts are listed in the table on Schedule A attached hereto. Please
note that if no amount is stated for a particular Executory Contract or Unexpired Lease, the
Debtor believes that there is no cure amount outstanding for such contract or lease.

       PLEASE TAKE FURTHER NOTICE THAT, absent any pending dispute, the
monetary amounts required to cure any existing defaults arising under the Executory Contract(s)
and Unexpired Lease(s) identified on Schedule A attached hereto will be satisfied, pursuant to
section 365(b)(1) of the Bankruptcy Code, by the Debtor in Cash on the Effective Date or as
soon as reasonably practicable thereafter. In the event of a dispute, however, payment of the cure
amount would be made following the entry of a final order(s) resolving the dispute and

3
  Capitalized terms not defined herein shall have the same meaning as ascribed in the Plan.
4
  Nothing contained in the Plan or the Debtor’s schedule of assets and liabilities shall constitute an admission by the
Debtor that any such contract or lease is in fact an Executory Contract or Unexpired Lease capable of assumption
that the Debtor or the Reorganized Debtor(s) has any liability thereunder, or that such Executory Contract or
Unexpired Lease is necessarily a binding and enforceable agreement. Further, the Debtor expressly reserves the
right to remove any Executory Contract or Unexpired Lease from assumption by the Debtor and reject such
Executory Contract or Unexpired Lease pursuant to the terms of the Plan.



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approving the assumption. If an objection to the proposed assumption or related cure amount is
sustained by the Court, however, the Debtor may elect to reject such Executory Contract or
Unexpired Lease in lieu of assuming it.

      PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
assumption of an Executory Contract or Unexpired Lease is at the Confirmation Hearing.

         PLEASE TAKE FURTHER NOTICE THAT any objections to the Plan in connection
with the assumption of the Executory Contract(s) and Unexpired Lease(s) proposed in
connection with the Plan that remain unresolved as of the Confirmation Hearing will be heard at
the first omnibus hearing following the Confirmation Hearing (or such other date as fixed by the
Court).

PLEASE TAKE FURTHER NOTICE THAT ANY COUNTERPARTY TO AN
EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT FAILS TO OBJECT
TIMELY TO EITHER THE PROPOSED ASSUMPTION OF SUCH CONTRACT OR
LEASE OR THE CURE AMOUNT WILL BE DEEMED TO HAVE ASSENTED TO
SUCH ASSUMPTION AND CURE AMOUNT.

     PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OF ANY
EXECUTORY CONTRACT OR UNEXPIRED LEASE PURSUANT TO THE PLAN OR
OTHERWISE SHALL RESULT IN THE FULL RELEASE AND SATISFACTION OF
ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR NONMONETARY,
INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE CHANGE IN
CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER
BANKRUPTCY-RELATED DEFAULTS, ARISING UNDER ANY ASSUMED
EXECUTORY CONTRACT OR UNEXPIRED LEASE AT ANY TIME BEFORE THE
DATE THE DEBTOR OR REORGANIZED DEBTOR ASSUMES SUCH EXECUTORY
CONTRACT OR UNEXPIRED LEASE. ANY PROOFS OF CLAIM FILED WITH
RESPECT TO AN EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT HAS
BEEN ASSUMED SHALL BE DEEMED DISALLOWED AND EXPUNGED, WITHOUT
FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE
BANKRUPTCY COURT.

        PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
Disclosure Statement Order, Disclosure Statement, the Plan, the Plan Supplement, or related
documents,      you    may:     (a)    access     the     Debtor’s  restructuring    website  at
http://www.kccllc.net/hcmlp; (b) write to HCMLP Ballot Processing Center, c/o KCC, 222 N.
Pacific Coast Highway, Suite 300, El Segundo, CA 90245; (c) call toll free: (877) 573-3984 or
international: (310) 751-1829 and request to speak with a member of the Solicitation Group; or
(d) email HighlandInfo@kccllc.com and reference “Highland” in the subject line. You may also
obtain copies of any pleadings filed in this case for a fee via PACER at: pacer.uscourts.gov.

       Alternatively, you can obtain a copy of these documents by contacting counsel for the
Debtor (a) by e-mail, at gdemo@pszjlaw.com, (b) by telephone, by contacting Gregory Demo at
(212) 561-7700, or (c) by mail, at Pachulski Stang Ziehl & Jones LLP, Attn: Gregory Demo, 780
Third Avenue, 34th Floor, New York, NY 10017. Please specify whether you would like to


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receive copies of these documents by (i) e-mail transmission (in which case, please include
your e-mail address), (ii) on a CD-ROM or flash drive delivered by return mail, or (iii) in
paper copies delivered by return mail.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES
ONLY. IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER
THE PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE
TO OBTAIN ADDITIONAL INFORMATION, CONTACT THE SOLICITATION
AGENT.


Dated: February 1, 2021                    PACHULSKI STANG ZIEHL & JONES LLP
                                           Jeffrey N. Pomerantz (CA Bar No.143717)
                                           Ira D. Kharasch (CA Bar No. 109084)
                                           Gregory V. Demo (NY Bar No. 5371992)
                                           10100 Santa Monica Boulevard, 13th Floor
                                           Los Angeles, CA 90067
                                           Telephone: (310) 277-6910
                                           Facsimile: (310) 201-0760
                                           Email:      jpomerantz@pszjlaw.com
                                                       ikharasch@pszjlaw.com
                                                       gdemo@pszjlaw.com
                                           -and-

                                           HAYWARD PLLC

                                           /s/ Zachery Z. Annable
                                           Melissa S. Hayward
                                           Texas Bar No. 24044908
                                           MHayward@HaywardFirm.com
                                           Zachery Z. Annable
                                           Texas Bar No. 24053075
                                           ZAnnable@HaywardFirm.com
                                           10501 N. Central Expy, Ste. 106
                                           Dallas, Texas 75231
                                           Tel: (972) 755-7100
                                           Fax: (972) 755-7110
                                           Counsel for the Debtor and Debtor-in-Possession




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                                            Schedule A

                     Schedule of Assumed Contracts and Leases and Proposed Cure




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                                                                           Description of Assumed
       Debtor                       Counterparty                                                          Cure
                                                                            Contracts or Leases
Highland Capital               Bloomberg Finance, L.P              Bloomberg (Terminal) Agreement No.
Management, L.P.                                                                                          $0.00
                               Attn: Levi Halberstam               306371 5




  5
      The Debtor is currently in discussions with Bloomberg regarding the assumption of this agreement.


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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 22, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                       )
         In re:                                                        )   Chapter 11
                                                                       )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054-sgj11
                                                                       )
                                          Debtor.                      )

                    ORDER (I) CONFIRMING THE FIFTH AMENDED
                  PLAN OF REORGANIZATION OF HIGHLAND CAPITAL
           MANAGEMENT, L.P. (AS MODIFIED) AND (II) GRANTING RELATED RELIEF


                  The Bankruptcy Court 2 having:
                  a.    entered, on November 24, 2020, the Order (A) Approving the Adequacy of the
                        Disclosure Statement, (B) Scheduling A Hearing to Confirm the Fifth Amended
                        Plan of Reorganization (C) Establishing Deadline for Filing Objections to
                        Confirmation of Plan, (D) Approving Form of Ballots, Voting Deadline and
                        Solicitation Procedures, and (E) Approving Form and Manner of Notice [Docket
                        No. 1476] (the “Disclosure Statement Order”), pursuant to which the Bankruptcy
                        Court approved the adequacy of the Disclosure Statement Relating to the Fifth

     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan (as defined
     below). The rules of interpretation set forth in Article I of the Plan apply to this Confirmation Order.



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                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1473] (the “Disclosure Statement”) under section 1125 of the Bankruptcy Code
                    and authorized solicitation of the Disclosure Statement;

           b.       set January 5, 2021, at 5:00 p.m. prevailing Central Time (the “Objection
                    Deadline”), as the deadline for filing objections to confirmation of the Fifth
                    Amended Plan of Reorganization of Highland Capital Management, L.P. (As
                    Modified) [Docket No. 1808] (as amended, supplemented or modified, the “Plan”);

           c.       set January 5, 2021, at 5:00 p.m. prevailing Central Time, as the deadline for voting
                    on the Plan (the “Voting Deadline”) in accordance with the Disclosure Statement
                    Order;

           d.       initially set January 13, 2021, at 9:30 a.m. prevailing Central Time, as the date and
                    time to commence the hearing to consider confirmation of the Plan pursuant to
                    Bankruptcy Rules 3017 and 3018, sections 1126, 1128, and 1129 of the Bankruptcy
                    Code, and the Disclosure Statement Order, which hearing was continued to January
                    26, 2021, at 9:30 a.m. prevailing Central Time and further continued to February 2,
                    2021;

           e.       reviewed: (i) the Plan; (ii) the Disclosure Statement; and (iii) Notice of (I) Entry of
                    Order Approving Disclosure Statement; (II) Hearing to Confirm; and (III) Related
                    Important Dates (the “Confirmation Hearing Notice”), the form of which is
                    attached as Exhibit 1-B to the Disclosure Statement Order;

           f.       reviewed: (i) the Debtor’s Notice of Filing of Plan Supplement for the Third
                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1389] filed November 13, 2020; (ii) Debtor’s Notice of Filing of Plan
                    Supplement for the Fifth Amended Plan of Reorganization of Highland Capital
                    Management, L.P. [Docket No. 1606] filed on December 18, 2020; (iii) the
                    Debtor’s Notice of Filing of Plan Supplement for the Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1656] filed on
                    January 4, 2021; (iv) Notice of Filing Plan Supplement to the Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. (with Technical
                    Modifications)t dated January 22, 2021 [Docket No. 1811]; and (v) Debtor’s Notice
                    of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                    Highland of Highland Capital Management, L.P. (As Modified) on February 1,
                    2021 [Docket No. 1875]; (collectively, the documents listed in (i) through (v) of
                    this paragraph, the “Plan Supplements”);

           g.       reviewed: (i) the Notice of (I) Executory Contracts and Unexpired Leases to be
                    Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if
                    Any, and (III) Related Procedures in Connection Therewith filed on December 30,
                    2020 [Docket No. 1648]; (ii) the Second Notice of (I) Executory Contracts and

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                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended
                    Plan, (II) Cure Amounts, if Any, and (III) Related Procedures in Connection
                    Therewith filed on January 11, 2021 [Docket No.1719]; (iii) the Third Notice of
                    (I) Executory Contracts and Unexpired Leases to be Assumed by the Debtor
                    Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if Any, and (III) Related
                    Procedures in Connection Therewith filed on January 15, 2021 [Docket No. 1749];
                    (iv) the Notice of Withdrawal of Certain Executory Contracts and Unexpired
                    Leases from List of Executory Contracts and Unexpired Leases to be Assumed by
                    the Debtor Pursuant to the Fifth Amended Plan [Docket No. 1791]; (v) the Fourth
                    Notice of (I) Executory Contracts and Unexpired Leases to be Assumed by the
                    Debtor Pursuant to the Fifth Amended Plan (II) Cure Amounts, if Any, and (III)
                    Released Procedures in Connection Therewith filed on January 27, 2021 [Docket
                    No. 1847]; (vi) the Notice of Hearing on Agreed Motion to (I) Assume
                    Nonresidential Real Property Lease with Crescent TC Investors, L.P. Upon
                    Confirmation of Plan and (II) Extend Assumption Deadline filed on January 28,
                    2021 [Docket No. 1857]; and (vii) the Fifth Notice of (I) Executory Contracts and
                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended Plan
                    (II) Cure Amounts, if Any, and (III) Released Procedures in Connection Therewith
                    filed on February 1, 2021 [Docket No. 1873] (collectively, the documents referred
                    to in (i) to (vii) are referred to as “List of Assumed Contracts”);

           h.       reviewed: (i) the Debtor’s Memorandum of Law in Support of Confirmation of the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1814] (the “Confirmation Brief”); (ii) the Debtor’s Omnibus Reply to
                    Objections to Confirmation of the Fifth Amended Chapter 11 Plan of
                    Reorganization of Highland Capital Management; [Docket No. 1807]; and (iii) the
                    Certification of Patrick M. Leathem With Respect to the Tabulation of Votes on the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1772] and Supplemental Certification of Patrick M. Leathem With
                    Respect to the Tabulation of Votes on the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1887] filed on February 3, 2021
                    (together, the “Voting Certifications”).

           i.       reviewed: (i) the Notice of Affidavit of Publication dated December 3, 2020 [Docket
                    No. 1505]; (ii) the Certificate of Service dated December 23, 2020 [Docket No.
                    1630]; (iii) the Supplemental Certificate of Service dated December 24, 2020
                    [Docket No. 1637]; (iv) the Second Supplemental Certificate of Service dated
                    December 31, 2020 [Docket No. 1653]; (v) the Certificate of Service dated
                    December 23, 2020 [Docket No. 1627]; (vi) the Certificate of Service dated January
                    6, 2021 [Docket No. 1696]; (vii) the Certificate of Service dated January 7, 2021
                    [Docket No. 1699]; (viii) the Certificate of Service dated January 7, 2021 [Docket
                    No 1700]; (ix) the Certificate of Service dated January 15, 2021 [Docket No. 1761];
                    (x) the Certificate of Service dated January 19, 2021 [Docket No. 1775]; (xi) the


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                    Certificate of Service dated January 20, 2021 [Docket No. 1787]; (xii) the
                    Certificate of Service dated January 26, 2021[Docket No. 1844]; (xiii) the
                    Certificate of Service dated January 27, 2021 [Docket No. 1854]; (xiv) the
                    Certificate of Service dated February 1, 2021 [Docket No. 1879]; (xv) the
                    Certificates of Service dated February 3, 2021 [Docket No. 1891 and 1893]; and
                    (xvi) the Certificates of Service dated February 5, 2021 [Docket Nos. 1906, 1907,
                    1908 and 1909] (collectively, the “Affidavits of Service and Publication”);

           j.       reviewed all filed 3 pleadings, exhibits, statements, and comments regarding
                    approval of the Disclosure Statement and confirmation of the Plan, including all
                    objections, statements, and reservations of rights;

           k.       conducted a hearing to consider confirmation of the Plan, which commenced on
                    February 2, 2021, at 9:30 a.m. prevailing Central Time and concluded on February
                    3, 2021, and issued its oral ruling on February 8, 2021 (collectively, the
                    “Confirmation Hearing);

           l.       heard the statements and arguments made by counsel in respect of confirmation of
                    the Plan and having considered the record of this Chapter 11 Case and taken judicial
                    notice of all papers and pleadings filed in this Chapter 11 Case; and

           m.       considered all oral representations, testimony, documents, filings, and other
                    evidence regarding confirmation of the Plan, including (a) all of the exhibits
                    admitted into evidence; 4 (b) the sworn testimony of (i) James P. Seery, Jr., the
                    Debtor’s Chief Executive Officer and Chief Restructuring Officer and a member of
                    the Board of Directors of Strand Advisors, Inc. (“Strand”), the Debtor’s general
                    partner; (ii) John S. Dubel, a member of the Board of Strand; (iii) Marc Tauber, a
                    Vice President at Aon Financial Services; and (iv) Robert Jason Post, the Chief
                    Compliance Officer of NexPoint Advisors, LP (collectively, the “Witnesses”); (c)
                    the credibility of the Witnesses; and (d) the Voting Certifications.

           NOW, THEREFORE, after due deliberation thereon and good cause appearing therefor,

  the Bankruptcy Court hereby makes and issues the following findings of fact and conclusions of

  law:



  3
   Unless otherwise indicated, use of the term “filed” herein refers also to the service of the applicable document filed
  on the docket in this Chapter 11 Case, as applicable.
  4
    The Court admitted the following exhibits into evidence: (a) all of the Debtor’s exhibits lodged at Docket No. 1822
  (except TTTTT, which was withdrawn by the Debtor); (b) all of the Debtor’s exhibits lodged at Docket No. 1866; (c)
  all of the Debtor’s exhibits lodged at Docket No. 1877; (d) all of the Debtor’s exhibits lodged at Docket No. 1895;
  and (e) Exhibits 6-12 and 15-17 offered by Mr. James Dondero and lodged at Docket No. 1874.


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                         FINDINGS OF FACT AND CONCLUSIONS OF LAW

                    1.          Findings of Fact and Conclusions of Law. The findings and conclusions

  set forth herein, together with the findings of fact and conclusions of law set forth in the record

  during the Confirmation Hearing, constitute the Bankruptcy Court’s findings of fact and

  conclusions of law pursuant to Federal Rule of Civil Procedure 52, made applicable to this

  proceeding pursuant to Bankruptcy Rules 7052 and 9014. To the extent any of the following

  findings of fact constitute conclusions of law, they are adopted as such. To the extent that any of

  the following conclusions of law constitute findings of fact, they are adopted as such.

                    2.          Introduction and Summary of the Plan. Prior to addressing the specific

  requirements under the Bankruptcy Code and Bankruptcy Rules with respect to the confirmation

  of the Plan, the Bankruptcy Court believes it would be useful to first provide the following

  background of the Debtor’s Chapter 11 Case, the parties involved therewith, and some of the major

  events that have transpired culminating in the filing and solicitation of the Plan of this very unusual

  case. Before the Bankruptcy Court is the Debtor’s Fifth Amended Plan of Reorganization of

  Highland Capital Management, L.P., filed on November 24, 2020, as modified on January 22,

  2021 and again on February 1, 2021. The parties have repeatedly referred to the Plan as an “asset

  monetization plan” because it involves the orderly wind-down of the Debtor’s estate, including the

  sale of assets and certain of its funds over time, with the Reorganized Debtor continuing to manage

  certain other funds, subject to the oversight of the Claimant Trust Oversight Board. The Plan

  provides for a Claimant Trust to, among other things, manage and monetize the Claimant Trust

  Assets for the benefit of the Debtor’s economic stakeholders. The Claimant Trustee is responsible



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  for this process, among other duties specified in the Plan’s Claimant Trust Agreement. There is

  also anticipated to be a Litigation Sub-trust established for the purpose of pursuing certain

  avoidance or other causes of action for the benefit of the Debtor’s economic constituents.

                    3.          Confirmation Requirements Satisfied. The Plan is supported by the

  Committee and all claimants with Convenience Claims (i.e., general unsecured claims under $1

  million) who voted in Class 7. Claimants with Class 8 General Unsecured Claims, however, voted

  to reject the Plan because, although the Plan was accepted by 99.8% of the amount of Claims in

  that class, only 17 claimants voted to accept the Plan while 27 claimants voted to reject the Plan.

  As a result of such votes, and because Mr. Dondero and the Dondero Related Entities (as defined

  below) objected to the Plan on a variety of grounds primarily relating to the Plan’s release,

  exculpation and injunction provisions, the Bankruptcy Court heard two full days of evidence on

  February 2 and 3, 2021, and considered testimony from five witnesses and thousands of pages of

  documentary evidence in determining whether the Plan satisfies the confirmation standards

  required under the Bankruptcy Code. The Bankruptcy Court finds and concludes that the Plan

  meets all of the relevant requirements of sections 1123, 1124, and 1129, and other applicable

  provisions of the Bankruptcy Code, as more fully set forth below with respect to each of the

  applicable confirmation requirements.

                    4.          Not Your Garden Variety Debtor. The Debtor’s case is not a garden

  variety chapter 11 case. The Debtor is a multibillion-dollar global investment adviser registered

  with the SEC, pursuant to the Investment Advisers Act of 1940. It was founded in 1993 by James

  Dondero and Mark Okada. Mark Okada resigned from his role with Highland prior to the



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  bankruptcy case being filed on October 16, 2019 (the “Petition Date”). Mr. Dondero controlled

  the Debtor as of the Petition Date but agreed to relinquish control of it on or about January 9, 2020,

  pursuant to an agreement reached with the Committee, as described below. Although Mr. Dondero

  remained with the Debtor as an unpaid employee/portfolio manager after January 9, 2020, his

  employment with the Debtor terminated on October 9, 2020. Mr. Dondero continues to work for

  and/or control numerous non-debtor entities in the complex Highland enterprise.

                    5.          The Debtor. The Debtor is headquartered in Dallas, Texas. As of the

  Petition Date, the Debtor employed approximately 76 employees. The Debtor is privately-owned:

  (a) 99.5% by the Hunter Mountain Investment Trust; (b) 0.1866% by The Dugaboy Investment

  Trust, a trust created to manage the assets of Mr. Dondero and his family; (c) 0.0627% by Mark

  Okada, personally and through family trusts; and (d) 0.25% by Strand, the Debtor’s general

  partner.

                    6.          The Highland Enterprise. Pursuant to various contractual arrangements,

  the Debtor provides money management and advisory services for billions of dollars of assets,

  including collateralized loan obligation vehicles (“CLOs”), and other investments. Some of these

  assets are managed by the Debtor pursuant to shared services agreements with certain affiliated

  entities, including other affiliated registered investment advisors. In fact, there are approximately

  2,000 entities in the byzantine complex of entities under the Highland umbrella. None of these

  affiliated entities filed for chapter 11 protection. Most, but not all, of these entities are not

  subsidiaries (direct or indirect) of the Debtor. Many of the Debtor’s affiliated companies are




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  offshore entities, organized in jurisdictions such as the Cayman Islands and Guernsey. See

  Disclosure Statement, at 17-18.

                    7.          Debtor’s Operational History. The Debtor’s primary means of generating

  revenue has historically been from fees collected for the management and advisory services

  provided to funds that it manages, plus fees generated for services provided to its affiliates. For

  additional liquidity, the Debtor, prior to the Petition Date, would sell liquid securities in the

  ordinary course, primarily through a brokerage account at Jefferies, LLC. The Debtor would also,

  from time to time, sell assets at non-Debtor subsidiaries and cause those proceeds to be distributed

  to the Debtor in the ordinary course of business. The Debtor’s current Chief Executive Officer,

  James P. Seery, Jr., credibly testified at the Confirmation Hearing that the Debtor was “run at a

  deficit for a long time and then would sell assets or defer employee compensation to cover its

  deficits.” The Bankruptcy Court cannot help but wonder if that was necessitated because of

  enormous litigation fees and expenses incurred by the Debtor due to its culture of litigation—as

  further addressed below.

                    8.          Not Your Garden Variety Creditor’s Committee. The Debtor and this

  chapter 11 case are not garden variety for so many reasons. One of the most obvious standouts in

  this case is the creditor constituency. The Debtor did not file for bankruptcy because of any of the

  typical reasons that large companies file chapter 11. For example, the Debtor did not have a large,

  asset-based secured lender with whom it was in default; it only had relatively insignificant secured

  indebtedness owing to Jeffries, with whom it had a brokerage account, and one other entity,

  Frontier State Bank. The Debtor also did not have problems with its trade vendors or landlords.



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  The Debtor also did not suffer any type of catastrophic business calamity. In fact, the Debtor filed

  for Chapter 11 protection six months before the onset of the COVID-19 pandemic. Rather, the

  Debtor filed for Chapter 11 protection due to a myriad of massive, unrelated, business litigation

  claims that it faced—many of which had finally become liquidated (or were about to become

  liquidated) after a decade or more of contentious litigation in multiple forums all over the world.

  The Committee in this case has referred to the Debtor—under its former chief executive, Mr.

  Dondero—as a “serial litigator.” The Bankruptcy Court agrees with that description. By way of

  example, the members of the Committee (and their history of litigation with the Debtor and others

  in the Highland complex) are as follows:

           a.       The Redeemer Committee of the Highland Crusader Fund (the “Redeemer
                    Committee”). This Committee member obtained an arbitration award against the
                    Debtor in the amount of $190,824,557, inclusive of interest, approximately five
                    months before the Petition Date, from a panel of the American Arbitration
                    Association. It was on the verge of having that award confirmed by the Delaware
                    Chancery Court immediately prior to the Petition Date, after years of disputes that
                    started in late 2008 (and included legal proceedings in Bermuda). This creditor’s
                    claim was settled during this Chapter 11 Case in the amount of approximately
                    $137,696,610 (subject to other adjustments and details not relevant for this
                    purpose).

           b.       Acis Capital Management, L.P., and Acis Capital Management GP, LLC
                    (“Acis”). Acis was formerly in the Highland complex of companies, but was not
                    affiliated with Highland as of the Petition Date. This Committee member and its
                    now-owner, Joshua Terry, were involved in litigation with the Debtor dating back
                    to 2016. Acis was forced by Mr. Terry (who was a former Highland portfolio
                    manager) into an involuntary chapter 11 bankruptcy in the Bankruptcy Court for
                    the Northern District of Texas, Dallas Division before the Bankruptcy Court in
                    2018, after Mr. Terry obtained an approximately $8 million arbitration award and
                    judgment against Acis. Mr. Terry ultimately was awarded the equity ownership of
                    Acis by the Bankruptcy Court in the Acis bankruptcy case. Acis subsequently
                    asserted a multi-million dollar claim against Highland in the Bankruptcy Court for
                    Highland’s alleged denuding of Acis to defraud its creditors—primarily Mr. Terry.
                    The litigation involving Acis and Mr. Terry dates back to mid-2016 and has


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                    continued on with numerous appeals of Bankruptcy Court orders, including one
                    appeal still pending at the Fifth Circuit Court of Appeals. There was also litigation
                    involving Mr. Terry and Acis in the Royal Court of the Island of Guernsey and in
                    a state court in New York. The Acis claim was settled during this Chapter 11 Case,
                    in Bankruptcy Court-ordered mediation, for approximately $23 million (subject to
                    other details not relevant for this purpose), and is the subject of an appeal being
                    pursued by Mr. Dondero.

           c.       UBS Securities LLC and UBS AG London Branch (“UBS”). UBS is a
                    Committee member that filed a proof of claim in the amount of $1,039,957,799.40
                    in this Chapter 11 Case. The UBS Claim was based on a judgment that UBS
                    received from a New York state court in 2020. The underlying decision was issued
                    in November 2019, after a multi-week bench trial (which had occurred many
                    months earlier) on a breach of contract claim against non-Debtor entities in the
                    Highland complex. The UBS litigation related to activities that occurred in 2008
                    and 2009. The litigation involving UBS and Highland and affiliates was pending
                    for more than a decade (there having been numerous interlocutory appeals during
                    its history). The Debtor and UBS recently announced an agreement in principle for
                    a settlement of the UBS claim (which came a few months after Bankruptcy Court-
                    ordered mediation) which will be subject to a 9019 motion to be filed with the
                    Bankruptcy Court on a future date.

           d.       Meta-E Discovery (“Meta-E”). Meta-E is a Committee member that is a vendor
                    who happened to supply litigation and discovery-related services to the Debtor over
                    the years. It had unpaid invoices on the Petition Date of more than $779,000.

  It is fair to say that the members of the Committee in this case all have wills of steel. They fought

  hard before and during this Chapter 11 Case. The members of the Committee, all of whom have

  volunteered to serve on the Claimant Trust Oversight Board post-confirmation, are highly

  sophisticated and have had highly sophisticated professionals representing them. They have

  represented their constituency in this case as fiduciaries extremely well.

                    9.          Other Key Creditor Constituents. In addition to the Committee members

  who were all embroiled in years of litigation with Debtor and its affiliates in various ways, the

  Debtor has been in litigation with Patrick Daugherty, a former limited partner and employee of the

  Debtor, for many years in both Delaware and Texas state courts. Mr. Daugherty filed an amended


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  proof of claim in this Chapter 11 Case for $40,710,819.42 relating to alleged breaches of

  employment-related agreements and for defamation arising from a 2017 press release posted by

  the Debtor. The Debtor and Mr. Daugherty recently announced a settlement of Mr. Daugherty’s

  claim pursuant to which he will receive $750,000 in cash on the Effective Date of the Plan, an

  $8.25 million general unsecured claim, and a $2.75 million subordinated claim (subject to other

  details not relevant for this purpose). Additionally, entities collectively known as “HarbourVest”

  invested more than $70 million with an entity in the Highland complex and asserted a $300 million

  proof of claim against the Debtor in this case, alleging, among other things, fraud and RICO

  violations. HarbourVest’s claim was settled during the bankruptcy case for a $45 million general

  unsecured claim and a $35 million subordinated claim, and that settlement is also being appealed

  by a Dondero Entity.

                    10.         Other Claims Asserted. Other than the Claims just described, most of the

  other Claims in this Chapter 11 Case are Claims asserted against the Debtor by: (a) entities in the

  Highland complex—most of which entities the Bankruptcy Court finds to be controlled by Mr.

  Dondero; (b) employees who contend that are entitled to large bonuses or other types of deferred

  compensation; and (c) numerous law firms that worked for the Debtor prior to the Petition Date

  and had outstanding amounts due for their prepetition services.

                    11.         Not Your Garden Variety Post-Petition Corporate Governance

  Structure. Yet another reason this is not your garden variety chapter 11 case is its post-petition

  corporate governance structure. Immediately from its appointment, the Committee’s relationship

  with the Debtor was contentious at best. First, the Committee moved for a change of venue from



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  Delaware to Dallas. Second, the Committee (and later, the United States Trustee) expressed its

  then-desire for the appointment of a chapter 11 trustee due to its concerns over and distrust of Mr.

  Dondero, his numerous conflicts of interest, and his history of alleged mismanagement (and

  perhaps worse).

                    12.         Post-Petition Corporate Governance Settlement with Committee. After

  spending many weeks under the threat of the potential appointment of a trustee, the Debtor and

  Committee engaged in substantial and lengthy negotiations resulting in a corporate governance

  settlement approved by the Bankruptcy Court on January 9, 2020. 5 As a result of this settlement,

  among other things, Mr. Dondero relinquished control of the Debtor and resigned his positions as

  an officer or director of the Debtor and its general partner, Strand. As noted above, Mr. Dondero

  agreed to this settlement pursuant a stipulation he executed, 6 and he also agreed not to cause any

  Related Entity (as defined in the Settlement Motion) to terminate any agreements with the Debtor.

  The January 9 Order also (a) required that the Bankruptcy Court serve as “gatekeeper” prior to the

  commencement of any litigation against the three independent board members appointed to

  oversee and lead the Debtor’s restructuring in lieu of Mr. Dondero and (b) provided for the

  exculpation of those board members by limiting claims subject to the “gatekeeper” provision to

  those alleging willful misconduct and gross negligence.



  5
   This order is hereinafter referred to as the “January 9 Order” and was entered by the Court on January 9, 2020
  [Docket No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of Unsecured
  Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course [Docket
  No. 281] (the “Settlement Motion”).
  6
    See Stipulation in Support of Motion of the Debtor for Approval of Settlement With the Official Committee of
  Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in Ordinary Course
  [Docket No. 338] (the “Stipulation”).


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                    13.         Appointment of Independent Directors. As part of the Bankruptcy

  Court-approved settlement, three eminently qualified independent directors were chosen to lead

  Highland through its Chapter 11 Case. They are: James P. Seery, Jr., John S. Dubel (each chosen

  by the Committee), and Retired Bankruptcy Judge Russell Nelms. These three individuals are

  each technically independent directors of Strand (Mr. Dondero had previously been the sole

  director of Strand and, thus, the sole person in ultimate control of the Debtor). The three

  independent board members’ resumes are in evidence. The Bankruptcy Court later approved Mr.

  Seery’s appointment as the Debtor’s Chief Executive Officer, Chief Restructuring Officer, and

  Foreign Representative.          Suffice it to say that this settlement and the appointment of the

  independent directors changed the entire trajectory of the case and saved the Debtor from the

  appointment of a trustee. The Bankruptcy Court and the Committee each trusted the independent

  directors. They were the right solution at the right time. Because of the unique character of the

  Debtor’s business, the Bankruptcy Court believed the appointment of three qualified independent

  directors was a far better outcome for creditors than the appointment of a conventional chapter 11

  trustee. Each of the independent directors brought unique qualities to the table. Mr. Seery, in

  particular, knew and had vast experience at prominent firms with high-yield and distressed

  investing similar to the Debtor’s business. Mr. Dubel had 40 years of experience restructuring

  large complex businesses and serving on boards in this context. And Retired Judge Nelms had not

  only vast bankruptcy experience but seemed particularly well-suited to help the Debtor maneuver

  through conflicts and ethical quandaries. By way of comparison, in the chapter 11 case of Acis,

  the former affiliate of Highland that the Bankruptcy Court presided over and which company was



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  much smaller in size and scope than Highland (managing only 5-6 CLOs), the creditors elected a

  chapter 11 trustee who was not on the normal trustee rotation panel in this district but, rather, was

  a nationally known bankruptcy attorney with more than 45 years of large chapter 11 experience.

  While the Acis chapter 11 trustee performed valiantly, he was sued by entities in the Highland

  complex shortly after he was appointed (which the Bankruptcy Court had to address). The Acis

  trustee was also unable to persuade the Debtor and its affiliates to agree to any actions taken in the

  case, and he finally obtained confirmation of Acis’ chapter 11 plan over the objections of the

  Debtor and its affiliates on his fourth attempt (which confirmation was promptly appealed).

                    14.         Conditions Required by Independent Directors. Given the experiences

  in Acis and the Debtor’s culture of constant litigation, it was not as easy to get such highly qualified

  persons to serve as independent board members and, later, as the Debtor’s Chief Executive Officer,

  as it would be in an ordinary chapter 11 case. The independent board members were stepping into

  a morass of problems. Naturally, they were worried about getting sued no matter how defensible

  their efforts—given the litigation culture that enveloped Highland historically. Based on the

  record of this Case and the proceedings in the Acis chapter 11 case, it seemed as though everything

  always ended in litigation at Highland. The Bankruptcy Court heard credible testimony that none

  of the independent directors would have taken on the role of independent director without (1) an

  adequate directors and officers’ (“D&O”) insurance policy protecting them; (2) indemnification

  from Strand that would be guaranteed by the Debtor; (3) exculpation for mere negligence claims;

  and (4) a gatekeeper provision prohibiting the commencement of litigation against the independent

  directors without the Bankruptcy Court’s prior authority. This gatekeeper provision was also



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  included in the Bankruptcy Court’s order authorizing the appointment of Mr. Seery as the Debtor’s

  Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative entered on

  July 16, 2020. 7 The gatekeeper provisions in both the January 9 Order and July 16 Order are

  precisely analogous to what bankruptcy trustees have pursuant to the so-called “Barton Doctrine”

  (first articulated in an old Supreme Court case captioned Barton v. Barbour, 104 U.S. 126 (1881)).

  The Bankruptcy Court approved all of these protections in the January 9 Order and the July 16

  Order, and no one appealed either of those orders. As noted above, Mr. Dondero signed the

  Stipulation that led to the settlement that was approved by the January 9 Order. The Bankruptcy

  Court finds that, like the Committee, the independent board members have been resilient and

  unwavering in their efforts to get the enormous problems in this case solved. They seem to have

  at all times negotiated hard and in good faith, which culminated in the proposal of the Plan

  currently before the Bankruptcy Court. As noted previously, they completely changed the

  trajectory of this case.

                    15.         Not Your Garden Variety Mediators. And still another reason why this

  was not your garden variety case was the mediation effort. In the summer of 2020, roughly nine

  months into the chapter 11 case, the Bankruptcy Court ordered mediation among the Debtor, Acis,

  UBS, the Redeemer Committee, and Mr. Dondero. The Bankruptcy Court selected co-mediators

  because mediation among these parties seemed like such a Herculean task—especially during

  COVID-19 where people could not all be in the same room. Those co-mediators were: Retired



  7
   See Order Approving the Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing
  Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative
  Nunc Pro Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 (the “July 16 Order”)


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  Bankruptcy Judge Alan Gropper from the Southern District of New York, who had a distinguished

  career presiding over complex chapter 11 cases, and Ms. Sylvia Mayer, who likewise has had a

  distinguished career, first as a partner at a preeminent law firm working on complex chapter 11

  cases, and subsequently as a mediator and arbitrator in Houston, Texas. As noted earlier, the

  Redeemer Committee and Acis claims were settled during the mediation—which seemed nothing

  short of a miracle to the Bankruptcy Court—and the UBS claim was settled several months later

  and the Bankruptcy Court believes the ground work for that ultimate settlement was laid, or at

  least helped, through the mediation. And, as earlier noted, other significant claims have been

  settled during this case, including those of HarbourVest (who asserted a $300 million claim) and

  Patrick Daugherty (who asserted a $40 million claim). The Bankruptcy Court cannot stress

  strongly enough that the resolution of these enormous claims—and the acceptance by all of these

  creditors of the Plan that is now before the Bankruptcy Court—seems nothing short of a miracle.

  It was more than a year in the making.

                    16.         Not Your Garden Variety Plan Objectors (That Is, Those That

  Remain). Finally, a word about the current, remaining objectors to the Plan before the Bankruptcy

  Court. Once again, the Bankruptcy Court will use the phrase “not your garden variety”, which

  phrase applies to this case for many reasons. Originally, there were over a dozen objections filed

  to the Plan. The Debtor then made certain amendments or modifications to the Plan to address

  some of these objections, none of which require further solicitation of the Plan for reasons set forth

  in more detail below. The only objectors to the Plan left at the time of the Confirmation Hearing




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  were Mr. Dondero [Docket No. 1661] and entities that the Bankruptcy Court finds are owned

  and/or controlled by him and that filed the following objections:

           a.       Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization
                    (filed by Get Good Trust and The Dugaboy Investment Trust) [Docket No. 1667];

           b.       Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
                    Capital Management, L.P. (filed by Highland Capital Management Fund Advisors,
                    L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                    Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                    Opportunities Fund, Highland Income Fund, Highland Merger Arbitrate Fund,
                    Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland
                    Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                    Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real
                    Estate Strategies Fund, NexPoint Strategic Opportunities Fund) [Docket No.
                    1670];

           c.       A Joinder to the Objection filed at 1670 by: NexPoint Real Estate Finance Inc.,
                    NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint
                    Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
                    Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors,
                    L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
                    L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V,
                    L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
                    L.P., NexPoint Real Estate Advisors VIII, L.P., and any funds advised by the
                    foregoing [Docket No. 1677];

           d.       NexPoint Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan
                    of Reorganization (filed by NexPoint Real Estate Partners LLC f/k/a HCRE
                    Partners LLC) [Docket No. 1673]; and

           e.       NexBank’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by
                    NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and
                    NexBank) [Docket No. 1676]. The entities referred to in (i) through (v) of this
                    paragraph are hereinafter referred to as the “Dondero Related Entities”).

                    17.         Questionability of Good Faith as to Outstanding Confirmation

  Objections. Mr. Dondero and the Dondero Related Entities technically have standing to object to

  the Plan, but the remoteness of their economic interests is noteworthy, and the Bankruptcy Court



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  questions the good faith of Mr. Dondero’s and the Dondero Related Entities’ objections. In fact,

  the Bankruptcy Court has good reason to believe that these parties are not objecting to protect

  economic interests they have in the Debtor but to be disruptors. Mr. Dondero wants his company

  back. This is understandable, but it is not a good faith basis to lob objections to the Plan. As

  detailed below, the Bankruptcy Court has slowed down plan confirmation multiple times and urged

  the parties to talk to Mr. Dondero in an attempt to arrive at what the parties have repeatedly referred

  to as a “grand bargain,” the ultimate goal to resolve the Debtor’s restructuring. The Debtor and

  the Committee represent that they have communicated with Mr. Dondero regarding a grand

  bargain settlement, and the Bankruptcy Court believes that they have.

                    18.         Remote Interest of Outstanding Confirmation Objectors. To be specific

  about the remoteness of Mr. Dondero’s and the Dondero Related Entities’ interests, the Bankruptcy

  Court will address them each separately. First, Mr. Dondero has a pending objection to the Plan.

  Mr. Dondero’s only economic interest with regard to the Debtor is an unliquidated indemnification

  claim (and, based on everything the Bankruptcy Court has heard, his indemnification claims would

  be highly questionable at this juncture). Mr. Dondero owns no equity in the Debtor directly. Mr.

  Dondero owns the Debtor’s general partner, Strand, which in turn owns a quarter percent of the

  total equity in the Debtor. Second, a joint objection has been filed by The Dugaboy Trust

  (“Dugaboy”) and the Get Good Trust (“Get Good”). The Dugaboy Trust was created to manage

  the assets of Mr. Dondero and his family and owns a 0.1866% limited partnership interest in the

  Debtor. See Disclosure Statement at 7, n.3. The Bankruptcy Court is not clear what economic

  interest the Get Good Trust has, but it likewise seems to be related to Mr. Dondero. Get Good



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  filed three proofs of claim relating to a pending federal tax audit of the Debtor’s 2008 return, which

  the Debtor believes arise from Get Good’s equity security interests and are subject to subordination

  as set forth in its Confirmation Brief. Dugaboy filed three claims against the Debtor: (a) an

  administrative claim relating to the Debtor’s alleged postpetition management of Multi-Strat

  Credit Fund, L.P., (b) a prepetition claim against a subsidiary of the Debtor for which it seeks to

  pierce the corporate veil, each of which the Debtor maintains are frivolous in the Confirmation

  Brief, and (c) a claim arising from its equity security interest in the Debtor, which the Debtor

  asserts should be subordinated. Another group of objectors that has joined together in one

  objection is what the Bankruptcy Court will refer to as the “Highland Advisors and Funds.” See

  Docket No. 1863. The Bankruptcy Court understands they assert disputed administrative expense

  claims against the estate that were filed shortly before the Confirmation Hearing on January 23,

  2021 [Docket No. 1826], and during the Confirmation Hearing on February 3, 2021 [Docket No.

  1888]. At the Confirmation Hearing, Mr. Post testified on behalf of the Highland Advisors and

  Funds that the Funds have independent board members that run the Funds, but the Bankruptcy

  Court was not convinced of their independence from Mr. Dondero because none of the so-called

  independent board members have ever testified before the Bankruptcy Court and all have been

  engaged with the Highland complex for many years. Notably, the Court questions Mr. Post’s

  credibility because, after more than 12 years of service, he abruptly resigned from the Debtor in

  October 2020 at the exact same time that Mr. Dondero resigned at the Board of Directors’ request,

  and he is currently employed by Mr. Dondero. Moreover, Dustin Norris, a witness in a prior

  proceeding (whose testimony was made part of the record at the Confirmation Hearing), recently



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  testified on behalf of the Highland Advisors and Funds in another proceeding that Mr. Dondero

  owned and/or controlled these entities. Finally, various NexBank entities objected to the Plan.

  The Bankruptcy Court does not believe they have liquidated claims against the Debtor. Mr.

  Dondero appears to be in control of these entities as well.

                    19.         Background Regarding Dondero Objecting Parties. To be clear, the

  Bankruptcy Court has allowed all these objectors to fully present arguments and evidence in

  opposition to confirmation, even though their economic interests in the Debtor appear to be

  extremely remote and the Bankruptcy Court questions their good faith.              Specifically, the

  Bankruptcy Court considers them all to be marching pursuant to the orders of Mr. Dondero. In

  the recent past, Mr. Dondero has been subject to a temporary restraining order and preliminary

  injunction by the Bankruptcy Court for interfering with Mr. Seery’s management of the Debtor in

  specific ways that were supported by evidence. Around the time that this all came to light and the

  Bankruptcy Court began setting hearings on the alleged interference, Mr. Dondero’s company

  phone, which he had been asked to turn in to Highland, mysteriously went missing. The

  Bankruptcy Court merely mentions this in this context as one of many reasons that the Bankruptcy

  Court has to question the good faith of Mr. Dondero and his affiliates in raising objections to

  confirmation of the Plan.

                    20.         Other Confirmation Objections. Other than the objections filed by Mr.

  Dondero and the Dondero Related Entities, the only other pending objection to the Plan is the

  United States Trustee’s Limited Objection to Confirmation of Debtor’s Fifth Amended Plan of

  Reorganization [Docket No. 1671], which objected to the Plan’s exculpation, injunction, and



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  Debtor release provisions. In juxtaposition, to these pending objections, the Bankruptcy Court

  notes that the Debtor resolved the following objections to the Plan:

           a.       CLO Holdco, Ltd.’s Joinder to Objection to Confirmation of Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. and Supplemental
                    Objections to Plan Confirmation [Docket No. 1675]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    VV of the Confirmation Order;

           b.       Objection of Dallas County, City of Allen, Allen ISD, City of Richardson, and
                    Kaufman County to Confirmation of the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1662]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    QQ of the Confirmation Order;

           c.       Senior Employees’ Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse,
                    Isaac Leventon) [Docket No. 1669]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraph 82 and paragraphs
                    RR and SS of the Confirmation Order;

           d.       Limited Objection of Jack Yang and Brad Borud to Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1666] and the
                    amended joinder filed by Davis Deadman, Paul Kauffman and Todd Travers
                    [Docket No. 1679]. This Objection and the amended joinder were resolved by
                    agreement of the parties pursuant to modifications to the Plan filed by the Debtor;

           e.       United States’ (IRS) Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization [Docket No. 1668]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraphs TT and UU of the
                    Confirmation Order; and

           f.       Patrick Hagaman Daugherty’s Objection to Confirmation of Fifth Amended Plan
                    of Reorganization [Docket No. 1678]. This objection was resolved by the parties
                    pursuant to the settlement of Mr. Daugherty’s claim announced on the record of the
                    Confirmation Hearing.

                    21.         Capitalized Terms. Capitalized terms used herein, but not defined herein,

  shall have the respective meanings attributed to such terms in the Plan and the Disclosure

  Statement, as applicable.


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                    22.         Jurisdiction and Venue. The Bankruptcy Court has jurisdiction over the

  Debtor’s Chapter 11 Case pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

  pursuant to 28 U.S.C. § 157(b)(2). Venue of this proceeding and this Chapter 11 Case is proper

  in this district and in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                    23.         Chapter 11 Petition. On the Petition Date, the Debtor commenced a

  voluntary case under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

  for the District of Delaware, which case was transferred to the Bankruptcy Court on December 19,

  2019. The Debtor continues to operate its business and manage its property as debtor in possession

  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

  appointed in this Chapter 11 Case. The Office of the United States Trustee appointed the

  Committee on October 29, 2019.

                    24.         Judicial Notice. The Bankruptcy Court takes judicial notice of the docket

  in this Chapter 11 Case maintained by the clerk of the Bankruptcy Court and the court-appointed

  claims agent, Kurtzman Carson Consultants LLC (“KCC”), including, without limitation, all

  pleadings, notices, and other documents filed, all orders entered, and all evidence and arguments

  made, proffered or adduced at the hearings held before the Bankruptcy Court during this Chapter

  11 Case, including, without limitation, the hearing to consider the adequacy of the Disclosure

  Statement and the Confirmation Hearing, as well as all pleadings, notices, and other documents

  filed, all orders entered, and all evidence and arguments made, proffered, or adduced at hearings

  held before the Bankruptcy Court or the District Court for the Northern District of Texas in




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  connection with an adversary proceeding or appellate proceeding, respectively, related to this

  Chapter 11 Case.

                    25.         Plan Supplement Documents. Prior to the Confirmation Hearing, the

  Debtor filed each of the Plan Supplements.           The Plan Supplements contain, among other

  documents, the Retained Causes of Action, the Claimant Trust Agreement, the Litigation Sub-

  Trust Agreement, the Senior Employee Stipulation, the Related Entity List, the Schedule of

  Employees, the Reorganized Limited Partnership Agreement, supplements to the Liquidation

  Analysis/Financial Projections, the Schedule of Contracts and Leases to be Assumed, and the other

  Plan Documents set forth therein (collectively, the “Plan Supplement Documents”).

                    26.         Retained Causes of Action Adequately Preserved. The Bankruptcy

  Court finds that the list of Retained Causes of Action included in the Plan Supplements sufficiently

  describes all potential Retained Causes of Action, provides all persons with adequate notice of any

  Causes of Action regardless of whether any specific claim to be brought in the future is listed

  therein or whether any specific potential defendant or other party is listed therein, and satisfies

  applicable law in all respects to preserve all of the Retained Causes of Action. The definition of

  the Causes of Action and Schedule of Retained Causes of Action, and their inclusion in the Plan,

  specifically and unequivocally preserve the Causes of Action for the benefit of the Reorganized

  Debtor, the Claimant Trust, or the Litigation Sub-Trust, as applicable.

                    27.         Plan Modifications Are Non-Material.        In addition to the Plan

  Supplements, the Debtor made certain non-material modifications to the Plan, which are reflected

  in (i) the Redline of Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.



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  (as Modified) filed on January 22, 2021 [Docket No. 1809], and (ii) Exhibit B to the Debtor’s

  Notice of Filing of Plan Supplement to Fifth Amended Plan of Reorganization of Highland Capital

  Management, L.P. (as Modified) filed on February 1, 2021 [Docket No. 1875] (collectively, the

  “Plan Modifications”). Section 1127(a) of the Bankruptcy Code provides that a plan proponent

  may modify its plan at any time before confirmation so long as such modified plan meets the

  requirements of sections 1122 and 1123 of the Bankruptcy Code. None of the modifications set

  forth in the Plan Supplements or the Plan Modifications require any further solicitation pursuant

  to sections 1125, 1126, or 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, because,

  among other things, they do not materially adversely change the treatment of the claims of any

  creditors or interest holders who have not accepted, in writing, such supplements and

  modifications. Among other things, there were changes to the projections that the Debtor filed

  shortly before the Confirmation Hearing (which included projected distributions to creditors and

  a comparison of projected distributions under the Plan to potential distributions under a

  hypothetical chapter 7 liquidation). The Plan Supplements and Plan Modifications did not mislead

  or prejudice any creditors or interest holders nor do they require that Holders of Claims or Equity

  Interests be afforded an opportunity to change previously cast votes to accept or reject the Plan.

  Specifically, the Amended Liquidation Analysis/Financial Projections filed on February 1, 2021

  [Docket No. 1875] do not constitute any material adverse change to the treatment of any creditors

  or interest holders but, rather, simply update the estimated distributions based on Claims that were

  settled in the interim and provide updated financial data. The filing and notice of the Plan

  Supplements and Plan Modifications were appropriate and complied with the requirements of



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  section 1127(a) of the Bankruptcy Code and the Bankruptcy Rules, and no other solicitation or

  disclosure or further notice is or shall be required. The Plan Supplements and Plan Modifications

  each became part of the Plan pursuant section 1127(a) of the Bankruptcy Code. The Debtor or

  Reorganized Debtor, as applicable, is authorized to modify the Plan or Plan Supplement

  Documents following entry of this Confirmation Order in a manner consistent with section 1127(b)

  of the Bankruptcy Code, the Plan, and, if applicable, the terms of the applicable Plan Supplement

  Document.

                    28.         Notice of Transmittal, Mailing and Publication of Materials. As is

  evidenced by the Voting Certifications and the Affidavits of Service and Publication, the

  transmittal and service of the Plan, the Disclosure Statement, Ballots, and Confirmation Hearing

  Notice were adequate and sufficient under the circumstances, and all parties required to be given

  notice of the Confirmation Hearing (including the deadline for filing and serving objections to the

  confirmation of the Plan) have been given due, proper, timely, and adequate notice in accordance

  with the Disclosure Statement Order and in compliance with the Bankruptcy Code, the Bankruptcy

  Rules, the Local Rules, and applicable non-bankruptcy law, and such parties have had an

  opportunity to appear and be heard with respect thereto. No other or further notice is required.

  The publication of the Confirmation Hearing Notice, as set forth in the Notice of Affidavit of

  Publication dated December 3, 2020 [Docket No. 1505], complied with the Disclosure Statement

  Order.

                    29.         Voting. The Bankruptcy Court has reviewed and considered the Voting

  Certifications. The procedures by which the Ballots for acceptance or rejection of the Plan were



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  distributed and tabulated, including the tabulation as subsequently amended to reflect the

  settlement of certain Claims to be Allowed in Class 7, were fairly and properly conducted and

  complied with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, and

  the Local Rules.

                    30.         Bankruptcy Rule 3016(a). In accordance with Bankruptcy Rule 3016(a),

  the Plan is dated and identifies the Debtor as the proponent of the Plan.

                    31.         Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). As

  set forth below, the Plan complies with all of the applicable provisions of the Bankruptcy Code,

  thereby satisfying section 1129(a)(1) of the Bankruptcy Code.

                    32.         Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). Section 1122 of

  the Bankruptcy Code provides that a plan may place a claim or interest in a particular class only if

  such claim or interest is substantially similar to the other claims or interest of such class. The

  Claims and Equity Interests placed in each Class are substantially similar to other Claims and

  Equity Interests, as the case may be, in each such Class. Valid business, factual, and legal reasons

  exist for separately classifying the various Classes of Claims and Equity Interests created under

  the Plan, and such Classes do not unfairly discriminate between Holders of Claims and Equity

  Interests.

                    33.         Classification of Secured Claims. Class 1 (Jefferies Secured Claim) and

  Class 2 (Frontier Secured Claim) each constitute separate secured claims held by Jefferies LLC

  and Frontier State Bank, respectively, and it is proper and consistent with section 1122 of the

  Bankruptcy Code to separately classify the claims of these secured creditors. Class 3 (Other



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  Secured Claims) consists of other secured claims (to the extent any exist) against the Debtor, are

  not substantially similar to the Secured Claims in Class 1 or Class 2, and are also properly

  separately classified.

                    34.         Classification of Priority Claims. Class 4 (Priority Non-Tax Claims)

  consists of Claims entitled to priority under section 507(a), other than Priority Tax Claims, and are

  properly separately classified from non-priority unsecured claims. Class 5 (Retained Employee

  Claims) consists of the potential claims of employees who may be retained by the Debtor on the

  Effective Date, which claims will be Reinstated under the Plan, are not substantially similar to

  other Claims against the Debtor, and are properly classified.

                    35.         Classification of Unsecured Claims. Class 6 (PTO Claims) consists solely

  of the claims of the Debtor’s employees for unpaid paid time off in excess of the $13,650 statutory

  cap amount under sections 507(a)(4) and (a)(5) of the Bankruptcy Code and are dissimilar from

  other unsecured claims in Class 7 and Class 8. Class 7 (Convenience Claims) allows holders of

  eligible and liquidated Claims (below a certain threshold dollar amount) to receive a cash payout

  of the lesser of 85% of the Allowed amount of the creditor’s Claim or such holder’s pro rata share

  of the Convenience Claims Cash Pool. Class 7 (Convenience Claims) are provided for

  administrative convenience purposes in order to allow creditors, most of whom are either trade

  creditors or holders of professional claims, to receive treatment provided under Class 7 in lieu of

  the treatment of Class 8 (General Unsecured Claims). The Plan also provides for reciprocal “opt

  out” mechanisms to allow holders of Class 7 Claims to elect to receive the treatment for Class 8

  Claims. Class 8 creditors primarily constitute the litigation claims of the Debtor. Class 8 Creditors



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  will receive Claimant Trust Interests which will be satisfied pursuant to the terms of the Plan.

  Class 8 also contains an “opt out” mechanism to allow holders of liquidated Class 8 Claims at or

  below a $1 million threshold to elect to receive the treatment of Class 7 Convenience Claims. The

  Claims in Class 7 (primarily trade and professional Claims against the Debtor) are not substantially

  similar to the Claims in Class 8 (primarily the litigation Claims against the Debtor), and are

  appropriately separately classified. Valid business reasons also exist to classify creditors in Class

  7 separately from creditors in Class 8. Class 7 creditors largely consist of liquidated trade or

  service providers to the Debtor. In addition, the Claims of Class 7 creditors are small relative to

  the large litigation claims in Class 8. Furthermore, the Class 8 Claims were overwhelmingly

  unliquidated when the Plan was filed. The nature of the Class 7 Claims as being largely liquidated

  created an expectation of expedited payment relative to the largely unliquidated Claims in Class

  8, which consists in large part of parties who have been engaged in years, and in some cases over

  a decade of litigation with the Debtor. Separate classification of Class 7 and Class 8 creditors was

  the subject of substantial arm’s-length negotiations between the Debtor and the Committee to

  appropriately reflect these relative differences.

                    36.         Classification of Equity Interests. The Plan properly separately classifies

  the Equity Interests in Class 10 (Class B/C Limited Partnership Interests) from the Equity Interests

  in Class 11 (Class A Limited Partnership Interests) because they represent different types of equity

  security interests in the Debtor and different payment priorities.

                    37.         Elimination of Vacant Classes. Section III.C of the Plan provides for the

  elimination of Classes that do not have at least one holder of a Claim or Equity Interest that is



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  Allowed in an amount greater than zero for purposes of voting to accept or reject the Plan, and are

  disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of the

  Bankruptcy Code with respect to such Class. The purpose of this provision is to provide that a

  Class that does not have voting members shall not be included in the tabulation of whether that

  Class has accepted or rejected the Plan. Pursuant to the Voting Certifications, the only voting

  Class of Claims or Equity Interests that did not have any members is Class 5 (Retained

  Employees). As noted above, Class 5 does not have any voting members because any potential

  Claims in Class 5 would not arise, except on account of any current employees of the Debtor who

  may be employed as of the Effective Date, which is currently unknown. Thus, the elimination of

  vacant Classes provided in Article III.C of the Plan does not violate section 1122 of the Bankruptcy

  Code. Class 5 is properly disregarded for purposes of determining whether or not the Plan has

  been accepted under Bankruptcy Code section 1129(a)(8) because there are no members in that

  Class. However, the Plan properly provides for the treatment of any Claims that may potentially

  become members of Class 5 as of the Effective Date in accordance with the terms of the Plan. The

  Plan therefore satisfies section 1122 of the Bankruptcy Code.

                    38.         Classification of Claims and Designation of Non-Classified Claims (11

  U.S.C. §§ 1122, 1123(a)(1)). Section 1123(a)(1) of the Bankruptcy Code requires that the Plan

  specify the classification of claims and equity security interests pursuant to section 1122 of the

  Bankruptcy Code, other than claims specified in sections 507(a)(2), 507(a)(3), or 507(a)(8) of the

  Bankruptcy Code. In addition to Administrative Claims, Professional Fee Claims, and Priority

  Tax Claims, each of which need not be classified pursuant to section 1123(a)(1) of the Bankruptcy



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  Code, the Plan designates eleven (11) Classes of Claims and Equity Interests. The Plan satisfies

  sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                    39.         Specification of Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article III

  of the Plan specifies that each of Class 1 (Jefferies Secured Claim), Class 3 (Other Secured

  Claims), Class 4 (Priority Non-Tax Claims), Class 5 (Retained Employee Claims), and Class 6

  (PTO Claims) are Unimpaired under the Plan. Thus, the requirement of section 1123(a)(2) of the

  Bankruptcy Code is satisfied.

                    40.         Specification of Treatment of Impaired Classes (11 U.S.C. §

  1123(a)(3)). Article III of the Plan designates each of Class 2 (Frontier Secured Claim), Class 7

  (Convenience Claims), Class 8 (General Unsecured Claims), Class 9 (Subordinated Claims), Class

  10 (Class B/C Limited Partnership Interests), and Class 11 (Class A Limited Partnership Interests)

  as Impaired and specifies the treatment of Claims and Equity Interests in such Classes. Thus, the

  requirement of section 1123(a)(3) of the Bankruptcy Code is satisfied.

                    41.         No Discrimination (11 U.S.C. § 1123(a)(4)). The Plan provides for the

  same treatment by the Plan proponent for each Claim or Equity Interest in each respective Class

  unless the Holder of a particular Claim or Equity Interest has agreed to a less favorable treatment

  of such Claim or Equity Interest. The Plan satisfies this requirement because Holders of Allowed

  Claims or Equity Interests in each Class will receive the same rights and treatment as other Holders

  of Allowed Claims or Equity Interests within such holder’s respective class, subject only to the

  voluntary “opt out” options afforded to members of Class 7 and Class 8 in accordance with the

  terms of the Plan. Thus, the requirement of section 1123(a)(4) of the Bankruptcy Code is satisfied.



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                    42.         Implementation of the Plan (11 U.S.C. § 1123(a)(5)). Article IV of the

  Plan sets forth the means for implementation of the Plan which includes, but is not limited to, the

  establishment of: (i) the Claimant Trust; (ii) the Litigation Sub-Trust; (iii) the Reorganized Debtor;

  and (iv) New GP LLC, in the manner set forth in the Plan Documents, the forms of which are

  included in the Plan Supplements.

           a.       The Claimant Trust. The Claimant Trust Agreement provides for the
                    management of the Claimant Trust, as well as the Reorganized Debtor with the
                    Claimant Trust serving as the managing member of New GP LLC (a wholly-owned
                    subsidiary of the Claimant Trust that will manage the Reorganized Debtor as its
                    general partner). The Claimant Trust, the Claimant Trustee, the management and
                    monetization of the Claimant Trust Assets, and the management of the Reorganized
                    Debtor (through the Claimant Trust’s role as managing member of New GP LLC)
                    and the Litigation Sub-Trust will all be managed and overseen by the Claimant
                    Trust Oversight Committee. Additionally, the Plan provides for the transfer to the
                    Claimant Trust of all of the Debtor’s rights, title, and interest in and to all of the
                    Claimant Trust Assets in accordance with section 1141 of the Bankruptcy Code and
                    for the Claimant Trust Assets to automatically vest in the Claimant Trust free and
                    clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
                    Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant
                    Trust Agreement. The Claimant Trust will administer the Claimant Trust Assets as
                    provided under the Plan and the Claimant Trust Agreement contained in the Plan
                    Supplements.

           b.       The Litigation Sub-Trust. The Plan and the Litigation Sub-Trust Agreement
                    provide for the transfer to the Litigation Sub-Trust all of the Claimant Trust’s rights,
                    title, and interest in and to all of the Estate Claims (as transferred to the Claimant
                    Trust by the Debtor) in accordance with section 1141 of the Bankruptcy Code and
                    for the Estate Claims to automatically vest in the Litigation Sub-Trust free and clear
                    of all Claims, Liens, encumbrances, or interests subject only to the Litigation Sub-
                    Trust Interests and the Litigation Sub-Trust Expenses, as provided for in the
                    Litigation Sub-Trust Agreement. The Litigation Trustee is charged with
                    investigating, pursuing, and otherwise resolving any Estate Claims (including those
                    with respect to which the Committee has standing to pursue prior to the Effective
                    Date pursuant to the January 9 Order) pursuant to the terms of the Litigation Sub-
                    Trust Agreement and the Plan, regardless of whether any litigation with respect to
                    any Estate Claim was commenced by the Debtor or the Committee prior to the
                    Effective Date.


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           c.       The Reorganized Debtor. The Reorganized Debtor will administer the
                    Reorganized Debtor Assets, which includes managing the wind down of the
                    Managed Funds.

  The precise terms governing the execution of these restructuring transactions are set forth in greater

  detail in the applicable definitive documents included in the Plan Supplements, including the

  Claimant Trust Agreement, the Litigation Sub-Trust Agreement, and the Schedule of Retained

  Causes of Action. The Plan, together with the documents and forms of agreement included in the

  Plan Supplements, provides a detailed blueprint for the transactions contemplated by the Plan. The

  Plan’s various mechanisms provide for the Debtor’s continued management of its business as it

  seeks to liquidate the Debtor’s assets, wind down its affairs, and pay the Claims of the Debtor’s

  creditors. Upon full payment of Allowed Claims, plus interest as provided in the Plan, any residual

  value would then flow to the holders of Class 10 (Class B/C Limited Partnership Interests), and

  Class 11 (Class A Limited Partnership Interests). Finally, Mr. Seery testified that the Debtor

  engaged in substantial and arm’s length negotiations with the Committee regarding the Debtor’s

  post-Effective Date corporate governance, as reflected in the Plan. Mr. Seery testified that he

  believes the selection of the Claimant Trustee, Litigation Trustee, and members of the Claimant

  Trust Oversight Board are in the best interests of the Debtor’s economic constituents. Thus, the

  requirements of section 1123(a)(5) of the Bankruptcy Code are satisfied.

                    43.         Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6)). The Debtor is

  not a corporation and the charter documents filed in the Plan Supplements otherwise comply with

  section 1123(a)(6) of the Bankruptcy Code. Therefore, the requirement of section 1123(a)(6) of

  the Bankruptcy Code is satisfied.




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                    44.         Selection of Officers and Directors (11 U.S.C. § 1123(a)(7)). Article IV

  of the Plan provides for the Claimant Trust to be governed and administered by the Claimant

  Trustee. The Claimant Trust, the management of the Reorganized Debtor, and the management

  and monetization of the Claimant Trust Assets and the Litigation Sub-Trust will be managed by

  the Claimant Trust Oversight Board. The Claimant Trust Oversight Board will consist of: (1) Eric

  Felton, as representative of the Redeemer Committee; (2) Joshua Terry, as representative of Acis;

  (3) Elizabeth Kozlowski, as representative of UBS; (4) Paul McVoy, as representative of Meta-E

  Discovery; and (5) David Pauker.             Four of the members of the Claimant Trust Oversight

  Committee are the holders of several of the largest Claims against the Debtor and/or are current

  members of the Committee. Each of these creditors has actively participated in the Debtor’s case,

  both through their fiduciary roles as Committee members and in their individual capacities as

  creditors. They are therefore intimately familiar with the Debtor, its business, and assets. The

  fifth member of the Claimant Trustee Oversight Board, David Pauker, is a disinterested

  restructuring advisor and turnaround manager with more than 25 years of experience advising

  public and private companies and their investors, and he has substantial experience overseeing,

  advising or investigating troubled companies in the financial services industry and has advised or

  managed such companies on behalf of boards or directors, court-appointed trustees, examiners and

  special masters, government agencies, and private investor parties. The members of the Claimant

  Trust Oversight Board will serve without compensation, except for Mr. Pauker, who will receive

  payment of $250,000 for his first year of service, and $150,000 for subsequent years.




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                    45.         Selection of Trustees. The Plan Supplements disclose that Mr. Seery will

  serve as the Claimant Trustee and Marc Kirschner will serve as the Litigation Trustee. As noted

  above, Mr. Seery has served as an Independent Board member since January 2020, and as the

  Chief Executive Officer and Chief Restructuring Officer since July 2020, and he has extensive

  management and restructuring experience, as evidenced from his curriculum vitae which is part of

  the record.      The evidence shows that Mr. Seery is intimately familiar with the Debtor’s

  organizational structure, business, and assets, as well as how Claims will be treated under the Plan.

  Accordingly, it is reasonable and in the Estate’s best interests to continue Mr. Seery’s employment

  post-emergence as the Claimant Trustee. Mr. Seery, upon consultation with the Committee,

  testified that he intends to employ approximately 10 of the Debtor’s employees to enable him to

  manage the Debtor’s business until the Claimant Trust effectively monetizes its remaining assets,

  instead of hiring a sub-servicer to accomplish those tasks. Mr. Seery testified that he believes that

  the Debtor’s post-confirmation business can most efficiently and cost-effectively be supported by

  a sub-set of the Debtor’s current employees, who will be managed internally. Mr. Seery shall

  initially be paid $150,000 per month for services rendered after the Effective Date as Claimant

  Trustee; however, Mr. Seery’s long-term salary as Claimant Trustee and the terms of any bonuses

  and severance are subject to further negotiation by Mr. Seery and the Claimant Trust Oversight

  Board within forty-five (45) days after the Effective Date. The Bankruptcy Court has also

  reviewed Mr. Kirschner’s curriculum vitae. Mr. Kirschner has been practicing law since 1967 and

  has substantial experience in bankruptcy litigation matters, particularly with respect to his prior

  experience as a litigation trustee for several litigation trusts, as set forth on the record of the



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  Confirmation Hearing and in the Confirmation Brief. Mr. Kirschner shall be paid $40,000 per

  month for the first three months and $20,000 per month thereafter, plus a success fee related to

  litigation recoveries. The Committee and the Debtor had arm’s lengths negotiations regarding the

  post-Effective Date corporate governance structure of the Reorganized Debtor and believe that the

  selection of the Claimant Trustee, the Litigation Trustee, and the Claimant Trust Oversight

  Committee are in the best interests of the Debtor’s economic stakeholders. Section 1123(a)(7) of

  the Bankruptcy Code is satisfied.

                    46.         Debtor’s Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

  Pursuant to section 1129(a)(2) of the Bankruptcy Code, the Debtor has complied with the

  applicable provisions of the Bankruptcy Code, including sections 1122, 1123, 1124, 1125, and

  1126 of the Bankruptcy Code, the Bankruptcy Rules, and the Disclosure Statement Order

  governing notice, disclosure, and solicitation in connection with the Plan, the Disclosure

  Statement, the Plan Supplements, and all other matters considered by the Bankruptcy Court in

  connection with this Chapter 11 Case.

                    47.         Debtor’s Solicitation Complied with Bankruptcy Code and Disclosure

  Statement Order. Before the Debtor solicited votes on the Plan, the Bankruptcy Court entered

  the Disclosure Statement Order. In accordance with the Disclosure Statement Order and evidenced

  by the Affidavits of Service and Publication, the Debtor appropriately served (i) the Solicitation

  Packages (as defined in the Disclosure Statement Order) on the Holders of Claims in Classes 2, 7,

  8 and 9 and Holders of Equity Interests in Classes 10 and 11 who were entitled to vote on the Plan;

  and (ii) the Notice of Nonvoting Status (as defined in the Disclosure Statement Order) and the



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  Confirmation Hearing Notice to the Holders of Claims in Classes 1, 3, 4, 5 and 6, who were not

  entitled to vote on the Plan pursuant to the Disclosure Statement Order. The Disclosure Statement

  Order approved the contents of the Solicitation Packages provided to Holders of Claims and Equity

  Interests entitled to vote on the Plan, the notices provided to parties not entitled to vote on the Plan,

  and the deadlines for voting on and objecting to the Plan. The Debtor and KCC each complied

  with the content and delivery requirements of the Disclosure Statement Order, thereby satisfying

  sections 1125(a) and (b) of the Bankruptcy Code, as evidenced by the Affidavits of Service and

  Publication. The Debtor also satisfied section 1125(c) of the Bankruptcy Code, which provides

  that the same disclosure statement must be transmitted to each holder of a claim or interest in a

  particular class. The Debtor caused the same Disclosure Statement to be transmitted to all holders

  of Claims and Equity Interests entitled to vote on the Plan. The Debtor has complied in all respects

  with the solicitation requirements of section 1125 of the Bankruptcy Code and the Disclosure

  Statement Order. The Bankruptcy Court rejects the arguments of the Mr. Dondero and certain

  Dondero Related Entities that the changes made to certain assumptions and projections from the

  Liquidation Analysis annexed as Exhibit C to the Disclosure Statement (the “Liquidation

  Analysis”) to the Amended Liquidation Analysis/Financial Projections require resolicitation of the

  Plan. The Bankruptcy Court heard credible testimony from Mr. Seery regarding the changes to

  the Liquidation Analysis as reflected in the Amended Liquidation Analysis/Financial Projections.

  Based on the record, including the testimony of Mr. Seery, the Bankruptcy Court finds that the

  changes between the Liquidation Analysis and the Amended Liquidation Analysis/Financial

  Projections do not constitute materially adverse change to the treatment of Claims or Equity



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  Interests. Instead, the changes served to update the projected distributions based on Claims that

  were settled after the approval of the Disclosure Statement and to otherwise incorporate more

  recent financial data.          Such changes were entirely foreseeable given the large amount of

  unliquidated Claims at the time the Disclosure Statement was approved and the nature of the

  Debtor’s assets. The Bankruptcy Court therefore finds that holders of Claims and Equity Interests

  were not misled or prejudiced by the Amended Liquidation Analysis/Financial Projections and the

  Plan does not need to be resolicited.

                    48.         Plan Proposed in Good Faith and Not by Means Forbidden by Law (11

  U.S.C. § 1129(a)(3)). The Debtor has proposed the Plan in good faith and not by any means

  forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy Code. In determining

  that the Plan has been proposed in good faith, the Bankruptcy Court has examined the totality of

  the circumstances surrounding the filing of this Chapter 11 Case, the Plan itself, and the extensive,

  unrebutted testimony of Mr. Seery in which he described the process leading to Plan’s formulation.

  Based on the totality of the circumstances and Mr. Seery’s testimony, the Bankruptcy Court finds

  that the Plan is the result of extensive arm’s-length negotiations among the Debtor, the Committee,

  and key stakeholders, and promotes the objectives and purposes of the Bankruptcy Code.

  Specifically, the Debtor’s good faith in proposing the Plan is supported by the following facts

  adduced by Mr. Seery:

           a.       The Independent Board determined that it should consider all potential
                    restructuring alternatives, including pursuit of a traditional restructuring and the
                    continuation of the Debtor’s business, a potential sale of the Debtor’s assets in one
                    or more transactions, an asset monetization plan similar to that described in the
                    Plan, and a so-called “grand bargain” plan that would involve Mr. Dondero’s
                    sponsorship of a plan with a substantial equity infusion.

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           b.       The Debtor subsequently engaged in arm’s-length, good faith negotiations with the
                    Committee over an asset monetization Plan commencing in June 2020, which
                    negotiations occurred over the next several months.

           c.       Negotiations between the Debtor and the Committee were often contentious over
                    disputes, including, but not limited to, the post-confirmation corporate governance
                    structure and the scope of releases contemplated by the Plan.

           d.       While negotiations with the Committee progressed, the Independent Board engaged
                    in discussions with Mr. Dondero regarding a potential “grand bargain” plan which
                    contemplated a significant equity infusion by Mr. Dondero, and which Mr. Seery
                    personally spent hundreds of hours pursuing over many months.

           e.       On August 3, 2020, the Bankruptcy Court entered the Order Directing Mediation
                    [Docket No. 912] pursuant to which the Bankruptcy Court ordered the Debtor, the
                    Committee, UBS, Acis, the Redeemer Committee, and Mr. Dondero into
                    mediation. As a result of this mediation, the Debtor negotiated the settlement of
                    the claims of Acis and Mr. Terry, which the Bankruptcy Court approved on October
                    28, 2020 [Docket No. 1302].

           f.       On August 12, 2020, the Debtor filed its Chapter 11 Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 944] (the “Initial Plan”) and
                    related disclosure statement (the “Initial Disclosure Statement”) which were not
                    supported by either the Committee or Mr. Dondero. The Independent Board filed
                    the Initial Plan and Initial Disclosure Statement in order to act as a catalyst for
                    continued discussions with the Committee while it simultaneously worked with Mr.
                    Dondero on the “grand bargain” plan.

           g.       The Bankruptcy Court conducted a contested hearing on the Initial Disclosure
                    Statement on October 27, 2020. The Committee and other parties objected to
                    approval of the Disclosure Statement at the Initial Disclosure Statement hearing,
                    which was eventually continued to November 23, 2020.

           h.       Following the Initial Disclosure Statement hearing, the Debtor continued to
                    negotiate with the Committee and ultimately resolved the remaining material
                    disputes and led to the Bankruptcy Court’s approval of the Disclosure Statement on
                    November 23, 2020.

           i.       Even after obtaining the Bankruptcy Court’s approval of the Disclosure Statement,
                    the Debtor and the Committee continued to negotiate with Mr. Dondero and the
                    Committee over a potential “pot plan” as an alternative to the Plan on file with the
                    Bankruptcy Court, but such efforts were unsuccessful. This history conclusively
                    demonstrates that the Plan is being proposed in good faith within the meaning of
                    section 1129(a)(3).


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                    49.         Payments for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).

  Article II.B of the Plan provides that Professionals will file all final requests for payment of

  Professional Fee Claims no later than 60 days after the Effective Date, thereby providing an

  adequate period of time for interested parties to review such claims. The procedures set forth in

  the Plan for the Bankruptcy Court’s approval of the fees, costs, and expenses to be paid in

  connection with this chapter 11 Case, or in connection with the Plan and incident to this Chapter

  11 Case, satisfy the objectives of and are in compliance with section 1129(a)(4) of the Bankruptcy

  Code.

                    50.         Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). Article IV.B

  of the Plan provides for the appointment of the Claimant Trustee, Litigation Trustee, and the

  Claimant Trust Oversight Committee and the members thereto. For the reasons more fully

  explained in paragraphs 44-45 of this Confirmation Order with respect to the requirement of

  section 1123(a)(7) of the Bankruptcy Code, the Debtor has disclosed the nature of compensation

  of any insider to be employed or retained by the Reorganized Debtor, if applicable, and

  compensation for any such insider. The appointment of such individuals is consistent with the

  interests of Claims and Equity Interests and with public policy. Thus, the Plan satisfies section

  1129(a)(5) of the Bankruptcy Code.

                    51.         No Rate Changes (11 U.S.C. § 1129(a)(6)). The Plan does not provide for

  any rate change that requires regulatory approval. Section 1129(a)(6) of the Bankruptcy Code is

  thus not applicable.




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                    52.         Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). The “best interests”

  test is satisfied as to all Impaired Classes under the Plan, as each Holder of a Claim or Equity

  Interest in such Impaired Classes will receive or retain property of a value, as of the Effective Date

  of the Plan, that is not less than the amount that such Holder would so receive or retain if the

  Debtor were liquidated under chapter 7 of the Bankruptcy Code. On October 15, 2020, the Debtor

  filed the Liquidation Analysis [Docket 1173], as prepared by the Debtor with the assistance of its

  advisors and which was attached as Exhibit C to the Disclosure Statement. On January 29, 2021,

  in advance of Mr. Seery’s deposition in connection with confirmation of the Plan, the Debtor

  provided an updated version of the Liquidation Analysis to the then-objectors of the Plan,

  including Mr. Dondero and the Dondero Related Entities. On February 1, 2021, the Debtor filed

  the Amended Liquidation Analysis/Financial Projections.                   The Amended Liquidation

  Analysis/Financial Projections included updates to the Debtor’s projected asset values, revenues,

  and expenses to reflect: (1) the acquisition of an interest in an entity known as “HCLOF” that the

  Debtor will acquire as part of its court-approved settlement with HarbourVest and that was valued

  at $22.5 million; (2) an increase in the value of certain of the Debtor’s assets due to changes in

  market conditions and other factors; (3) expected revenues and expenses arising in connection with

  the Debtor’s continued management of the CLOs pursuant to management agreements that the

  Debtor decided to retain; (4) increases in projected expenses for headcount (in addition to adding

  two or three employees to assist in the management of the CLOs, the Debtor also increased

  modestly the projected headcount as a result of its decision not to engage a Sub-Servicer) and

  professional fees; and (5) an increase in projected recoveries on notes resulting from the



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  acceleration of term notes owed to the Debtor by the following Dondero Related Entities:

  NexPoint Advisors, L.P.; Highland Capital Management Services, Inc.; and HCRE Partners, LLC

  (n/k/a NexPoint Real Estate Partners, LLC). Under the Plan, as of the Confirmation Date, (a) Class

  7 General Unsecured Creditors are projected to receive 85% on account of their claims; and (b)

  Class 8 General Unsecured Creditors are projected to receive at least approximately 71% on

  account of their Claims. Under a hypothetical chapter 7 liquidation, all general unsecured creditors

  are projected to receive approximately 55% on account of their Claims. The Bankruptcy Court

  finds that the distributions that Class 7 and 8 General Unsecured Creditors are projected to receive

  under the Plan substantially exceeds that which they would receive under a chapter 7 liquidation

  based on Mr. Seery’s testimony, including the following credible reasons he posited, among

  others:

            a.      The nature of the Debtor’s assets is complex. Certain assets relate to complicated
                    real estate structures and private equity investments in operating businesses. Mr.
                    Seery’s extensive experience with the Debtor during the thirteen months since his
                    appointment as an Independent Director and later Chief Executive Officer and
                    Chief Restructuring Officer, provides him with a substantial learning curve in
                    connection with the disposition of the Debtor’s assets and are reasonably expected
                    to result in him being able to realize tens of millions of dollars more value than
                    would a chapter 7 trustee.

            b.      Assuming that a hypothetical chapter 7 trustee could even operate the Debtor’s
                    business under chapter 7 of the Bankruptcy Code and hire the necessary personnel
                    with the relevant knowledge and experience to assist him or her in selling the
                    Debtor’s assets, a chapter 7 trustee would likely seek to dispose of the Debtor’s
                    assets in a forced sale liquidation which would generate substantially less value for
                    the Debtor’s creditors than the asset monetization plan contemplated by the Plan.

            c.      A chapter 7 trustee would be unlikely to retain the Debtor’s existing professionals
                    to assist in its efforts to monetize assets, resulting in delays, increased expenses,
                    and reduced asset yields for the chapter 7 estate.



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           d.       The chapter 7 estate would be unlikely to maximize value as compared to the asset
                    monetization process contemplated by the Plan because potential buyers are likely
                    to perceive a chapter 7 trustee as engaging in a quick, forced “fire sale” of assets;
                    and

           e.       The Debtor’s employees, who are vital to its efforts to maximum value and
                    recoveries for stakeholders, may be unwilling to provide services to a chapter 7
                    trustee.

  Finally, there is no evidence to support the objectors’ argument that the Claimant Trust

  Agreement’s disclaimed liability for ordinary negligence by the Claimant Trustee compared to a

  chapter 7 trustee’s liability has any relevance to creditor recoveries in a hypothetical chapter 7

  liquidation. Thus, section 1129(a)(7) of the Bankruptcy Code is satisfied.

                    53.         Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Classes 1, 3, 4,

  5 and 6 are Unimpaired under the Plan. Class 2 (Frontier Secured Claim), Class 7 (Convenience

  Claims), and Class 9 (Subordinated Claims) have each voted to accept the Plan in accordance with

  the Bankruptcy Code, thereby satisfying section 1129(a)(8) as to those Classes. However, Class

  8 (General Unsecured Claims), Class 10 (Class B/C Limited Partnership Interests), and Class 11

  (Class A Limited Partnership Interests) have not accepted the Plan.              Accordingly, section

  1129(a)(8) of the Bankruptcy Code has not been satisfied. The Plan, however, is still confirmable

  because it satisfies the nonconsensual confirmation provisions of section 1129(b), as set forth

  below.

                    54.         Treatment of Administrative, Priority, Priority Tax Claims, and

  Professional Fee Claims (11 U.S.C. § 1129(a)(9)). The treatment of Administrative Claims,

  Priority Claims, and Professional Fee Claims pursuant to Article III of the Plan, and as set forth

  below with respect to the resolution of the objections filed by the Internal Revenue Service and



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  certain Texas taxing authorities satisfies the requirements of sections 1129(a)(9) of the Bankruptcy

  Code.

                    55.         Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)).           Class 2

  (Frontier Secured Claims) and Class 7 (Convenience Claims) are each Impaired Classes of Claims

  that voted to accept the Plan, determined without including any acceptance of the Plan by any

  insider. Therefore, the requirement of section 1129(a)(10) of the Bankruptcy Code is satisfied.

                    56.         Feasibility (11 U.S.C. § 1129(a)(11)). Article IV of the Plan provides for

  the implementation of the Plan through the Claimant Trust, the Litigation Sub-Trust, and the

  Reorganized Debtor. The Plan provides that the Claimant Trust, among other things, will monetize

  and distribute the Debtor’s remaining assets. The Disclosure Statement, the Amended Liquidation

  Analysis/Financial Projections, and the other evidence presented at the Confirmation Hearing

  provide a reasonable probability of success that the Debtor will be able to effectuate the provisions

  of the Plan. The Plan contemplates the establishment of the Claimant Trust upon the Effective

  Date, which will monetize the Estate’s assets for the benefit of creditors. Mr. Seery testified that

  the Class 2 Frontier Secured Claim will be paid over time pursuant to the terms of the New Frontier

  Note and the Reorganized Debtor will have sufficient assets to satisfy its obligations under this

  note. The Claims of the Holders of Class 7 Claims (as well as those Class 8 creditors who validly

  opted to receive the treatment of Class 7 Claims) are expected to be satisfied shortly after the

  Effective Date. Holders of Class 8 Claims (including any holders of Class 7 Claims who opted to

  receive the treatment provided to Class 8 Claims) are not guaranteed any recovery and will




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  periodically receive pro rata distributions as assets are monetized pursuant to the Plan and the

  Claimant Trust Agreement. Thus, section 1129(a)(11) of the Bankruptcy Code is satisfied.

                    57.         Payment of Fees (11 U.S.C. § 1129(a)(12)). All fees payable under 28

  U.S.C. § 1930 have been paid or will be paid on or before the Effective Date pursuant to Article

  XII.A of the Plan, thus satisfying the requirement of section 1129(a)(12) of the Bankruptcy Code.

  The Debtor has agreed that the Reorganized Debtor, the Claimant Trust, and the Litigation Sub-

  Trust shall be jointly and severally liable for payment of quarterly fees to the Office of the United

  States Trustee pursuant to 28 U.S.C. § 1930 through the entry of the Final Decree for the Debtor

  or the dismissal or conversion of the Chapter 11 Case.

                    58.         Retiree Benefits. The Plan provides for the assumption of the Pension Plan

  (to the extent such Pension Plan provides “retiree benefits” and is governed by section 1114 of the

  Bankruptcy Code). Thus, the Plan complies with section 1129(a)(13) of the Bankruptcy Code, to

  the extent applicable.

                    59.         Miscellaneous Provisions (11 U.S.C. §§ 1129(a)(14)-(16)).        Sections

  1129(a)(14)-(16) of the Bankruptcy Code are inapplicable as the Debtor (i) has no domestic

  support obligations (section 1129(a)(14)), (ii) is not an individual (section 1129(a)(15)), and (iii)

  is not a nonprofit corporation (section 1129(a)(16)).

                    60.         No Unfair Discrimination; Fair and Equitable Treatment (11 U.S.C. §

  1129(b)). The classification and treatment of Claims and Equity Interests in Classes 8, 10 and 11,

  which have not accepted the Plan, is proper pursuant to section 1122 of the Bankruptcy Code, does




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  not discriminate unfairly, and is fair and equitable pursuant to section 1129(b)(1) of the Bankruptcy

  Code.

            a.      Class 8. The Plan is fair and equitable with respect to Class 8 General Unsecured
                    Claims. While Equity Interests in Class 10 and Class 11 will receive a contingent
                    interest in the Claimant Trust under the Plan (the “Contingent Interests”), the
                    Contingent Interests will not vest unless and until holders of Class 8 General
                    Unsecured Claims and Class 9 Subordinated Claims receive distributions equal to
                    100% of the amount of their Allowed Claims plus interest as provided under the
                    Plan and Claimant Trust Agreement. Accordingly, as the holders of Equity
                    Interests that are junior to the Claims in Class 8 and Class 9 will not receive or
                    retain under the Plan on account of such junior claim interest any property unless
                    and until the Claims in Class 8 and Class 9 are paid in full plus applicable interest,
                    the Plan is fair and equitable with respect to holders of Class 8 General Unsecured
                    Claims pursuant to section 1129(b)(2)(B) of the Bankruptcy Code and the reasoning
                    of In re Introgen Therapuetics 429 B.R 570 (Bankr. W.D. Tex. 2010).

            b.      Class 10 and Class 11. There are no Claims or Equity Interests junior to the Equity
                    Interests in Class 10 and Class 11. Equity Interests in Class 10 and 11 will neither
                    receive nor retain any property under the Plan unless Allowed Claims in Class 8
                    and Class 9 are paid in full plus applicable interest pursuant to the terms of the Plan
                    and Claimant Trust Agreement. Thus, the Plan does not violate the absolute priority
                    rule with respect to Classes 10 and 11 pursuant to Bankruptcy Code section
                    1129(b)(2)(C). The Plan does not discriminate unfairly as to Equity Interests. As
                    noted above, separate classification of the Class B/C Partnership Interests from the
                    Class A Partnerships Interests is appropriate because they constitute different
                    classes of equity security interests in the Debtor, and each are appropriately
                    separately classified and treated.


  Accordingly, the Plan does not violate the absolute priority rule, does not discriminate unfairly,

  and is fair and equitable with respect to each Class that has rejected the Plan. Thus, the Plan

  satisfies the requirements of section 1129(b) of the Bankruptcy Code with respect to Classes 8, 10,

  and 11.




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                    61.         Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only chapter 11 plan

  confirmed in this Chapter 11 Case, and the requirements of section 1129(c) of the Bankruptcy

  Code are therefore satisfied.

                    62.         Principal Purpose (11 U.S.C. § 1129(d)). Mr. Seery testified that the

  principal purpose of the Plan is neither the avoidance of taxes nor the avoidance of the application

  of section 5 of the Securities Act of 1933, and no governmental unit has objected to the

  confirmation of the Plan on any such grounds. Accordingly, section 1129(d) of the Bankruptcy

  Code is inapplicable.

                    63.         Satisfaction of Confirmation Requirements. Based upon the foregoing,

  the Plan satisfies the requirements for confirmation set forth in section 1129 of the Bankruptcy

  Code and should be confirmed.

                    64.         Good Faith Solicitation (11 U.S.C. § 1125(e)).         The Debtor, the

  Independent Directors, and the Debtor’s employees, advisors, Professionals, and agents have acted

  in good faith within the meaning of section 1125(e) of the Bankruptcy Code and in compliance

  with the applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with

  all of their respective activities relating to the solicitation of acceptances of the Plan and their

  participation in the activities described in section 1125 of the Bankruptcy Code, and they are

  entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

                    65.         Discharge (11 U.S.C. § 1141(d)(3)). The Debtor is entitled to a discharge

  of debts pursuant to section 1141(d)(3)(B) of the Bankruptcy Code. Under the Plan, the Claimant

  Trust or Reorganized Debtor, as applicable, will continue to manage funds and conduct business



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  in the same manner as the Debtor did prior to Plan confirmation, which includes the management

  of the CLOs, Multi-Strat, Restoration Capital, the Select Fund and the Korea Fund. Although the

  Plan projects that it will take approximately two years to monetize the Debtor’s assets for fair

  value, Mr. Seery testified that while the Reorganized Debtor and Claimant Trust will be

  monetizing their assets, there is no specified time frame by which this process must conclude. Mr.

  Seery’s credible testimony demonstrates that the Debtor will continue to engage in business after

  consummation of the Plan, within the meaning of Section 1141(d)(3)(b) and that the Debtor is

  entitled to a discharge pursuant to section 1141(d)(1) of the Bankruptcy Code.

                    66.         Retention of Jurisdiction. The Bankruptcy Court may properly retain

  jurisdiction over the matters set forth in Article XI of the Plan and/or section 1142 of the

  Bankruptcy Code to the maximum extent under applicable law.

                    67.         Additional Plan Provisions (11 U.S.C. § 1123(b)). The Plan’s provisions

  are appropriate, in the best interests of the Debtor and its Estate, and consistent with the applicable

  provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                    68.         Executory Contracts and Unexpired Leases (11 U.S.C. § 1123(b)(2)).

  The Debtor has exercised reasonable business judgment with respect to the rejection of the

  Executory Contracts and Unexpired Leases pursuant the terms of the Plan and this Confirmation

  Order, and such rejections are justified and appropriate in this Chapter 11 Case. The Debtor also

  filed the List of Assumed Contracts, which contain notices to the applicable counterparties to the

  contracts set forth on Exhibit “FF” to Plan Supplement filed on February 1, 2021 [Docket No.

  1875] and which exhibit sets forth the list of executory contracts and unexpired leases to be



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  assumed by the Debtor pursuant to the Plan (collectively, the “Assumed Contracts”). With respect

  to the Assumed Contracts, only one party objected to the assumption of any of the Assumed

  Contracts, but that objection was withdrawn. 8 Any modifications, amendments, supplements, and

  restatements to the Assumed Contracts that may have been executed by the Debtor during the

  Chapter 11 Case shall not be deemed to alter the prepetition nature of the Assumed Contracts or

  the validity, priority, or amount of any Claims that may arise in connection therewith. Assumption

  of any Assumed Contract pursuant to the Plan and full payment of any applicable Cure pursuant

  to the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition or other bankruptcy-related defaults, arising under any assumed

  Executory Contract or Unexpired Lease at any time prior to the effective date of assumption.

                    69.         Compromises and Settlements Under and in Connection with the Plan

  (11 U.S.C. § 1123(b)(3)). All of the settlements and compromises pursuant to and in connection

  with the Plan, comply with the requirements of section 1123(b)(3) of the Bankruptcy Code and

  Bankruptcy Rule 9019.

                    70.         Debtor Release, Exculpation and Injunctions (11 U.S.C. § 1123(b)). The

  Debtor Release, Exculpation, and Injunction provisions provided in the Plan (i) are within the

  jurisdiction of the Bankruptcy Court under 28 U.S.C. § 1334; (ii) are integral elements of the

  transactions incorporated into the Plan, and inextricably bound with the other provisions of the

  Plan; (iii) confer material benefit on, and are in the best interests of, the Debtor, its Estate, and its

  8
    See Notice of Withdrawal of James Dondero’s Objection Debtor’s Proposed Assumption of Contracts and Cure
  Amounts Proposed in Connection Therewith [Docket No. 1876]


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  creditors; (iv) are fair, equitable, and reasonable; (v) are given and made after due notice and

  opportunity for hearing; (vi) satisfy the requirements of Bankruptcy Rule 9019; and (vii) are

  consistent with the Bankruptcy Code and other applicable law, and as set forth below.

                    71.         Debtor Release. Section IX.D of the Plan provides for the Debtor’s release

  of the Debtor’s and Estate’s claims against the Released Parties. Releases by a debtor are

  discretionary and can be provided by a debtor to persons who have provided consideration to the

  Debtor and its estate pursuant to section 1123(b)(3)(A) of the Bankruptcy Code. Contrary to the

  objections raised by Mr. Dondero and certain of the Dondero Related Entities, the Debtor Release

  is appropriately limited to release claims held by the Debtor and does not purport to release the

  claims held by the Claimant Trust, Litigation Sub-Trust, or other third parties. The Plan does not

  purport to release any claims held by third parties and the Bankruptcy Court finds that the Debtor

  Release is not a “disguised” release of any third party claims as asserted by certain objecting

  parties. The limited scope of the Debtor Release in the Plan was extensively negotiated with the

  Committee, particularly with the respect to the Debtor’s conditional release of claims against

  employees, as identified in the Plan, and the Plan’s conditions and terms of such releases. The

  Plan does not release (i) any obligations of any party under the Plan or any document, instrument,

  or agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under

  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual



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  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction. The Debtor Release also contains

  conditions to such releases as set forth in Article X.D of the Plan with respect to employees (the

  “Release Conditions”). Until the an employee satisfies the Release Conditions or the Release

  Conditions otherwise terminate, any claims against such employee will be tolled so that if the

  Release Conditions are not met the Litigation Trustee may pursue claims against an employee at a

  later date. The evidence before the Bankruptcy Court, including, but not limited to Mr. Seery’s

  testimony, demonstrates that the Debtor is not aware of any claims against any of the Released

  Parties, that the Released Parties have been instrumental in assisting the Debtor’s efforts toward

  confirmation of the Plan and that, therefore, the releases are a quid pro quo for the Released

  Parties’ significant contributions to a highly complex and contentious restructuring.           The

  Committee, whose members hold approximately $200 million in claims against the Estate, is

  highly sophisticated and is represented by highly sophisticated professionals, and has actively and

  vigorously negotiated the terms of the Debtor Release, which was the subject of significant

  controversy at the Initial Disclosure Statement hearing held by the Bankruptcy Court on October

  27, 2020.

                    72.         Exculpation. Section IX.C of the Plan provides for the exculpation of

  certain Exculpated Parties to the extent provided therein (the “Exculpation Provision”). As

  explained below, the Exculpation Provision is appropriate under the unique circumstances of this

  litigious Chapter 11 Case and consistent with applicable Fifth Circuit precedent. First, with respect

  to the Independent Directors, their agents, and their advisors, including any employees acting at



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  their direction, the Bankruptcy Court finds and concludes that it has already exculpated these

  parties for acts other than willful misconduct and gross negligence pursuant to the January 9 Order.

  The January 9 Order was specifically agreed to by Mr. Dondero, who was in control of the Debtor

  up until entry of the January 9 Order. The January 9 Order was not appealed. In addition to the

  appointment of the Independent Directors in an already contentious and litigious case, the January

  9 Order set the standard of care for the Independent Directors and specifically exculpated them for

  negligence. Mr. Seery and Mr. Dubel each testified that they had input into the contents of the

  January 9 Order and would not have agreed to their appointment as Independent Directors if the

  January 9 Order did not include the protections set forth in paragraph 10 of the January 9 Order.

  Paragraph 10 of the January 9 Order (1) requires that parties wishing to sue the Independent

  Directors or their agents and advisors must first seek approval from the Bankruptcy Court before

  doing so; (2) sets the standard of care for the Independent Directors during the Chapter 11 Case

  and exculpated the Independent Directors for acts other than willful misconduct or gross

  negligence; (3) only permits suits against the Independent Directors to proceed for colorable claims

  of willful misconduct and gross negligence upon order of the Bankruptcy Court; and (4) does not

  expire by its terms.

                    73.         Existing Exculpation of Independent Directors. The Bankruptcy Court

  also finds and concludes that it has already exculpated Mr. Seery acting in the capacity as Chief

  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order. The Bankruptcy

  Court concludes its previous approval of the exculpation of the Independent Directors, their agents,

  advisors and employees working at their direction pursuant to the January 9 Order, and the Chief



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  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order constitutes the

  law of this case and are res judicata pursuant to In re Republic Supply Co. v. Shoaf, 815 F.2d 1046

  (5th Cir.1987). The January 9 Order and July 16 Order cannot be collaterally attacked based on

  the objectors’ objection to the exculpation of the Independent Directors, their agents, and advisors,

  including any employees acting at their direction, as well as the Chief Executive Officer and Chief

  Restructuring Officer, that the Bankruptcy Court already approved pursuant to the January 9 Order

  and the July 16 Order.

                    74.         The Exculpation Provision Complies with Applicable Law. Separate

  and apart from the res judicata effect of the January 9 Order and the July 16 Order, the Bankruptcy

  Court also finds and concludes that the Exculpation Provision is consistent with applicable law,

  including In re Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009), for several reasons:

           a.       First, the statutory basis for Pacific Lumber’s denial of exculpation for certain
                    parties other than a creditors’ committee and its members is that section 524(e) of
                    the Bankruptcy Code “only releases the debtor, not co-liable third parties.” Pacific
                    Lumber, 253 F.3d. at 253. However, Pacific Lumber does not prohibit all
                    exculpations under the Bankruptcy Code and the court in such case specifically
                    approved the exculpations of a creditors’ committee and its members on the
                    grounds that “11 U.S.C. § 1103(c), which lists the creditors’ committee’s powers,
                    implies committee members have qualified immunity for actions within the scope
                    of their duties…. [I]f members of the committee can be sued by persons unhappy
                    with the committee’s performance during the case or unhappy with the outcome of
                    the case, it will be extremely difficult to find members to serve on an official
                    committee.” Pacific Lumber, 253 F.3d at 253 (quoting Lawrence P. King, et al,
                    Collier on Bankruptcy, ¶ 1103.05[4][b] (15th Ed. 2008]). Pacific Lumber’s
                    rationale for permitted exculpation of creditors’ committees and their members
                    (which was clearly policy-based and based on a creditors’ committee qualified
                    immunity flowing from their duties under section 1103(c) of the Bankruptcy Code
                    and their disinterestedness and importance in chapter 11 cases) does not preclude
                    exculpation to other parties in a particular chapter 11 case that perform similar roles
                    to a creditors’ committee and its members. The Independent Directors, and by
                    extension the Chief Executive Officer and Chief Restructuring Officer, were not

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                    part of the Debtor’s enterprise prior to their appointment by the Bankruptcy Court
                    under the January 9 Order. The Bankruptcy Court appointed the Independent
                    Directors in lieu of a chapter 11 trustee to address what the Bankruptcy Court
                    perceived as serious conflicts of interest and fiduciary duty concerns with the then-
                    existing management prior to January 9, 2020, as identified by the Committee. In
                    addition, the Bankruptcy Court finds that the Independent Directors expected to be
                    exculpated from claims of negligence, and would likely have been unwilling to
                    serve in contentious cases absent exculpation. The uncontroverted testimony of
                    Mr. Seery and Mr. Dubel demonstrates that the Independent Directors would not
                    have agreed to accept their roles without the exculpation and gatekeeper provision
                    in the January 9 Order. Mr. Dubel also testified as to the increasing important role
                    that independent directors are playing in complex chapter 11 restructurings and that
                    unless independent directors could be assured of exculpation for simple negligence
                    in contentious bankruptcy cases they would be reluctant to accept appointment in
                    chapter 11 cases which would adversely affect the chapter 11 restructuring process.
                    The Bankruptcy Court concludes that the Independent Directors were appointed
                    under the January 9 Order in order to avoid the appointment of a chapter 11 trustee
                    and are analogous to a creditors’ committee rather than an incumbent board of
                    directors. The Bankruptcy Court also concludes that if independent directors
                    cannot be assured of exculpation for simple negligence in contentious bankruptcy
                    cases, they may not be willing to serve in that capacity. Based upon the foregoing,
                    the Bankruptcy Court concludes that Pacific Lumber’s policy of exculpating
                    creditors’ committees and their members from “being sued by persons unhappy
                    with the committee’s performance during the case or unhappy with the outcome of
                    the case” is applicable to the Independent Directors in this Chapter 11 Case. 9

           b.       Second, the Bankruptcy Court also concludes that Pacific Lumber does not
                    preclude the exculpation of parties if there is a showing that “costs [that] the
                    released parties might incur defending against such suits alleging such negligence
                    are likely to swamp either the Exculpated Parties or the reorganization.” Pacific
                    Lumber, 584 F.3d at 252. If ever there was a risk of that happening in a chapter 11
                    reorganization, it is this one. Mr. Seery credibly testified that Mr. Dondero stated
                    outside the courtroom that if Mr. Dondero’s pot plan does not get approved, that
                    Mr. Dondero will “burn the place down.” The Bankruptcy Court can easily expect
                    that the proposed Exculpated Parties might expect to incur costs that could swamp
                    them and the reorganization based on the prior litigious conduct of Mr. Dondero
                    and his controlled entities that justify their inclusion in the Exculpation Provision.




  9
    The same reasoning applies to the inclusion of Strand in the Exculpation Provision because Strand is the general
  partner of the Debtor through which each of the Independent Board members act.


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                    75.         Injunction. Section IX.D of the Plan provides for a Plan inunction to

  implement and enforce the Plan’s release, discharge and release provisions (the “Injunction

  Provision”). The Injunction Provision is necessary to implement the provisions in the Plan. Mr.

  Seery testified that the Claimant Trustee will monetize the Debtor’s assets in order to maximize

  their value. In order to accomplish this goal, the Claimant Trustee needs to be able to pursue this

  objective without the interference and harassment of Mr. Dondero and his related entities,

  including the Dondero Related Entities. Mr. Seery also testified that if the Claimant Trust was

  subject to interference by Mr. Dondero, it would take additional time to monetize the Debtor’s

  assets and those assets could be monetized for less money to the detriment of the Debtor’s

  creditors. The Bankruptcy Court finds and concludes that the Injunction Provision is consistent

  with and permissible under Bankruptcy Code sections 1123(a), 1123(a)(6), 1141(a) and (c), and

  1142. The Bankruptcy Court rejects assertions by certain objecting parties that the Injunction

  Provision constitutes a “third-party release.” The Injunction Provision is appropriate under the

  circumstances of this Chapter 11 Case and complies with applicable bankruptcy law. The

  Bankruptcy Court also concludes that the terms “implementation” and “consummation” are neither

  vague nor ambiguous

                    76.         Gatekeeper Provision. Section IX.F of the Plan contains a provision

  contained in paragraph AA of this Confirmation Order and which the Debtor has referred to as a

  gatekeeper provision (the “Gatekeeper Provision”). The Gatekeeper Provision requires that

  Enjoined Parties first seek approval of the Bankruptcy Court before they may commence an action

  against Protected Parties. Thereafter, if the Bankruptcy Court determines that the action is



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  colorable, the Bankruptcy Court may, if it has jurisdiction, adjudicate the action. The Bankruptcy

  Court finds that the inclusion of the Gatekeeper Provision is critical to the effective and efficient

  administration, implementation, and consummation of the Plan. The Bankruptcy Court also

  concludes that the Bankruptcy Court has the statutory authority as set forth below to approve the

  Gatekeeper Provision.

                    77.         Factual Support for Gatekeeper Provision. The facts supporting the need

  for the Gatekeeper Provision are as follows. As discussed earlier in this Confirmation Order, prior

  to the commencement of the Debtor’s bankruptcy case, and while under the direction of Mr.

  Dondero, the Debtor had been involved in a myriad of litigation, some of which had gone on for

  years and, in some cases, over a decade. Substantially all of the creditors in this case are either

  parties who were engaged in litigation with the Debtor, parties who represented the Debtor in

  connection with such litigation and had not been paid, or trade creditors who provided litigation-

  related services to the Debtor. During the last several months, Mr. Dondero and the Dondero

  Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

  time-consuming litigation for the Debtor. Such litigation includes: (i) entry of a temporary

  restraining order and preliminary injunction against Mr. Dondero [Adv. Proc. No. 20-03190

  Docket No. 10 and 59] because of, among other things, his harassment of Mr. Seery and employees

  and interference with the Debtor’s business operations; (ii) a contempt motion against Mr.

  Dondero for violation of the temporary restraining order, which motion is still pending before the

  Bankruptcy Court [Adv. Proc. No. 20-03190 Docket No. 48]; (iii) a motion by Mr. Dondero’s

  controlled investors in certain CLOs managed by the Debtor that the Bankruptcy Court referred to



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  as frivolous and a waste of the Bankruptcy Court’s time [Docket No. 1528] which was denied by

  the Court [Docket No. 1605]; (iv) multiple plan confirmation objections focused on ensuring the

  Dondero Related Entities be able to continue their litigation against the Debtor and its successors

  post-confirmation [Docket Nos. 1661, 1667, 1670, 1673, 1676, 1677 and 1868]; (v) objections to

  the approval of the Debtor’s settlements with Acis and HarbourVest and subsequent appeals of the

  Bankruptcy Court’s order approving each of those settlements [Docket Nos. 1347 and 1870]; and

  (vi) a complaint and injunction sought against Mr. Dondero’s affiliated entities to prevent them

  from violating the January 9 Order and entry of a restraining order against those entities [Adv Proc.

  No. 21-03000 Docket No 1] (collectively, the “Dondero Post-Petition Litigation”).

                    78.         Findings Regarding Dondero Post-Petition Litigation. The Bankruptcy

  Court finds that the Dondero Post-Petition Litigation was a result of Mr. Dondero failing to obtain

  creditor support for his plan proposal and consistent with his comments, as set forth in Mr. Seery’s

  credible testimony, that if Mr. Dondero’s plan proposal was not accepted, he would “burn down

  the place.” The Bankruptcy Court concludes that without appropriate protections in place, in the

  form of the Gatekeeper Provision, Mr. Dondero and his related entities will likely commence

  litigation against the Protected Parties after the Effective Date and do so in jurisdictions other than

  the Bankruptcy Court in an effort to obtain a forum which Mr. Dondero perceives will be more

  hospitable to his claims. The Bankruptcy Court also finds, based upon Mr. Seery’s testimony, that

  the threat of continued litigation by Mr, Dondero and his related entities after the Effective Date

  will impede efforts by the Claimant Trust to monetize assets for the benefit of creditors and result




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  in lower distributions to creditors because of costs and distraction such litigation or the threats of

  such litigation would cause.

                    79.         Necessity of Gatekeeper Provision. The Bankruptcy Court further finds

  that unless the Bankruptcy Court approves the Gatekeeper Provision, the Claimant Trustee and the

  Claimant Trust Oversight Board will not be able to obtain D&O insurance, the absence of which

  will present unacceptable risks to parties currently willing to serve in such roles. The Bankruptcy

  Court heard testimony from Mark Tauber, a Vice President with AON Financial Services, the

  Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O insurance. Mr. Tauber

  credibly testified that of all the insurance carriers that AON approached to provide D&O insurance

  coverage after the Effective Date, the only one willing to do so without an exclusion for claims

  asserted by Mr. Dondero and his affiliates otherwise requires that this Order approve the

  Gatekeeper Provision. Based on the foregoing, the Bankruptcy Court finds that the Gatekeeper

  Provision is necessary and appropriate in light of the history of the continued litigiousness of Mr.

  Dondero and his related entities in this Chapter 11 Case and necessary to the effective and efficient

  administration, implementation and consummation of the Plan and is appropriate pursuant to

  Carroll v. Abide (In re Carroll) 850 F.3d 811 (5th Cir. 2017). Approval of the Gatekeeper

  Provision will prevent baseless litigation designed merely to harass the post-confirmation entities

  charged with monetizing the Debtor’s assets for the benefit of its economic constituents, will avoid

  abuse of the court system and preempt the use of judicial time that properly could be used to

  consider the meritorious claims of other litigants. Any suit against a Protected Party would

  effectively be a suit against the Debtor, and the Debtor may be required to indemnify the Protected



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  Parties under the Limited Partnership Agreement, which will remain in effect through the Effective

  Date, or those certain Indemnification and Guaranty Agreements, dated January 9, 2020, between

  Strand, the Debtor, and each Independent Director, following the Confirmation Date as each such

  agreement will be assumed pursuant to 11 U.S.C. § 365 pursuant to the Plan.

                    80.         Statutory Authority to Approve Gatekeeper Provision.               The

  Bankruptcy Court finds it has the statutory authority to approve the Gatekeeper Provision under

  sections 1123(a)(5), 1123(b)(6), 1141, 1142(b), and 105(a). The Gatekeeper Provision is also

  within the spirit of the Supreme Court’s “Barton Doctrine.” Barton v. Barbour, 104 U.S. 126

  (1881). The Gatekeeper Provision is also consistent with the notion of a prefiling injunction to

  deter vexatious litigants, that has been approved by the Fifth Circuit in such cases as Baum v. Blue

  Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811 (5th Cir.

  2017).

                    81.         Jurisdiction to Implement Gatekeeper Provision. The Bankruptcy Court

  finds that it will have jurisdiction after the Effective Date to implement the Gatekeeper Provision

  as post-confirmation bankruptcy court jurisdiction has been interpreted by the Fifth Circuit under

  United States Brass Corp. v. Travelers Ins. Group, Inc. (In re United States Brass Corp.), 301 F.3d

  296 (5th Cir. 2002) and EOP-Colonnade of Dallas Ltd. P’Ship v. Faulkner (In re Stonebridge

  Techs., Inc.), 430 F.3d 260 (5th Cir. 2005). Based upon the rationale of the Fifth Circuit in Villegas

  v. Schmidt, 788 F.3d 156, 158-59 (5th Cir. 2015), the Bankruptcy Court’s jurisdiction to act as a

  gatekeeper does not violate Stern v. Marshall. The Bankruptcy Court’s determination of whether




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  a claim is colorable, which the Bankruptcy Court has jurisdiction to determine, is distinct from

  whether the Bankruptcy Court would have jurisdiction to adjudicate any claim it finds colorable.

                    82.         Resolution of Objections of Scott Ellington and Isaac Leventon. Each

  of Scott Ellington (“Mr. Ellington”) and Isaac Leventon (“Mr. Leventon”) (each, a “Senior

  Employee Claimant”) has asserted certain claims for liquidated but unpaid bonus amounts for the

  following periods: 2016, 2017, and 2018, as set forth in Exhibit A to that certain Senior Employees’

  Limited Objection to Debtor’s Fifth Amended Plan of Reorganization [Docket No. 1669] (the

  “Senior Employees’ Objection”) (for each of Mr. Ellington and Mr. Leventon, the “Liquidated

  Bonus Claims”).

           a.       Mr. Ellington has asserted Liquidated Bonus Claims in the aggregate amount of
                    $1,367,197.00, and Mr. Leventon has asserted Liquidated Bonus Claims in the
                    aggregate amount of $598,198.00. Mr. Ellington received two Ballots 10 – a Ballot
                    for Class 7 of the Plan and a Ballot for Class 8 of the Plan. Mr. Ellington completed
                    and timely returned both of such Ballots, voted to reject the Plan, and elected to
                    have his Class 8 Liquidated Bonus Claims treated under Class 7 of the Plan, subject
                    to the objections and reservations of rights set forth in the Senior Employees’
                    Objection. If Mr. Ellington is permitted to elect Class 7 treatment for his Liquidated
                    Bonus Claims, then the maximum amount of his Liquidated Bonus Claims will be
                    $1,000,000.

           b.       Mr. Leventon received two Ballots—a Ballot for Class 7 of the Plan and a Ballot
                    for Class 8 of the Plan. Mr. Leventon completed and timely returned both of such
                    Ballots and voted each such Ballots to rejected the Plan.

           c.       The Senior Employees’ Objection, among other things, objects to the Plan on the
                    grounds that the Debtor improperly disputes the right of Mr. Ellington to elect Class
                    7 treatment for his Liquidated Bonus Claims and Mr. Leventon’s entitlement to
                    receive Class 7 Convenience Class treatment for his Liquidated Bonus Claims. The
                    Debtor contended that neither Mr. Ellington or Mr. Leventon were entitled to elect
                    to receive Class 7 Convenience Class treatment on account of their Liquidated


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    As defined in the Plan, “Ballot” means the forms(s) distributed to holders of Impaired Claims or Equity Interests
  entitled to vote on the Plan on which to indicate their acceptance or rejection of the Plan.


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                    Bonus Claims under the terms of the Plan, the Disclosure Statement Order or
                    applicable law.

           d.       The Debtor and Mr. Ellington and Mr. Leventon negotiated at arms’ length in an
                    effort to resolve all issues raised in the Senior Employee’s Objection, including
                    whether or not Mr. Ellington and Mr. Leventon were entitled to Class 7
                    Convenience Class treatment of their Liquidated Bonus Claims. As a result of such
                    negotiation, the Debtor, Mr. Ellington, and Mr. Leventon have agreed to the
                    settlement described in paragraphs 82(e) through 82(k) below and approved and
                    effectuated pursuant to decretal paragraphs RR through SS (the “Senior Employees'
                    Settlement”).

           e.       Under the terms of the Senior Employees' Settlement, the Debtor has the right to
                    elect one of two treatments of the Liquidated Bonus Claims for a Senior Employee
                    Claimant. Under the first treatment option (“Option A”), the Liquidated Bonus
                    Claims will be entitled to be treated in Class 7 of the Plan, and the Liquidated Bonus
                    Claims will be entitled to receive payment in an amount equal to 70.125% of the
                    Class 7 amount of the Liquidated Bonus Claims, subject to the Liquidated Bonus
                    Claims becoming Allowed Claims under the terms of the Plan. Under this
                    calculation, Mr. Ellington would be entitled to receive $701,250.00 on account of
                    his Class 7 Convenience Class Claim when and as Allowed under the Plan, and Mr.
                    Leventon would be entitled to receive $413,175.10 on account of his Class 7
                    Convenience Class Claim when and as Allowed under the Plan. If, however, any
                    party in interest objects to the allowance of the Senior Employee Claimant's
                    Liquidated Bonus Claims and does not prevail in such objection, then such Senior
                    Employee Claimant will be entitled to a payment in an amount equal to 85% of his
                    Allowed Liquidated Bonus Claims (subject, in the case of Mr. Ellington, to the cap
                    imposed on Class 7 Claims). In addition, under Option A, each of Mr. Ellington
                    and Mr. Leventon would retain their respective rights to assert that the Liquidated
                    Bonus Claims are entitled to be treated as Administrative Expense Claims, as
                    defined in Article I.B.2. of the Plan, in which case the holder of such Liquidated
                    Bonus Claims would be entitled to payment in full of the Allowed Liquidated
                    Bonus Claims. Under Option A, parties in interest would retain the right to object
                    to any motion seeking payment of the Liquidated Bonus Amounts as
                    Administrative Expenses.

           f.       Under the second treatment option (“Option B”), the Debtor would agree that the
                    Senior Employee Claimant has Allowed Liquidated Bonus Claims, no longer
                    subject to objection by any party in interest, in the amounts of the Liquidated Bonus
                    Claims (subject, in the case of Mr. Ellington, to the cap imposed by Class 7). If the
                    Debtor elects Option B as to a Senior Employee Claimant, then such Senior
                    Employee Claimant would be entitled to a payment on account of his Allowed
                    Liquidated Bonus Claims in an amount equal to 60% of the amount of the


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                    Liquidated Bonus Claims (which, in Mr. Ellington’s case, would be $600,000 and
                    in Mr. Leventon’s case, would be $358,918.80), and such payment would be the
                    sole recovery on account of such Allowed Liquidated Bonus Claims.

           g.       The Debtor may, with the consent of the Committee, elect Option B with respect to
                    a Senior Employee Claimant at any time prior to the occurrence of the Effective
                    Date. If the Debtor does not make an election, then Option A will apply.

           h.       Under either Option A or Option B, Mr. Ellington and Mr. Leventon will retain all
                    their rights with respect to all Claims other than the Liquidated Bonus Amounts,
                    including, but not limited to, their Class 6 PTO Claims, other claims asserted as
                    Class 8 General Unsecured Claims, the Senior Employees’ claims for
                    indemnification against the Debtor, and any other claims that they may assert
                    constitute Administrative Expense Claims, and any other such Claims are subject
                    to the rights of any party in interest to object to such Claims, and the Debtor reserves
                    any all of its rights and defenses in connection therewith.

           i.       Subject to entry of this Confirmation Order and as set forth and announced on the
                    record at the hearing on confirmation of the Plan and no party objecting thereto,
                    Mr. Ellington and Mr. Leventon agreed to change the votes in their respective
                    Ballots from rejection to acceptance of the Plan and to withdraw the Senior
                    Employees’ Objection.

           j.       The Senior Employees’ Settlement represents a valid exercise of the Debtor’s
                    business judgment and satisfies the requirements for a compromise under
                    Bankruptcy Rule 9019(a).

           k.       For the avoidance of doubt, neither Mr. Leventon nor Mr. Ellington shall be a
                    Released Party under the Plan regardless of how the Senior Employee Claimants’
                    Claims are to be treated hereunder.

           Based upon the foregoing findings, and upon the record made before the Bankruptcy Court

  at the Confirmation Hearing, and good and sufficient cause appearing therefor, it is hereby

  ORDERED, ADJUDGED AND DECREED THAT:

                    A.          Confirmation of the Plan. The Plan is approved in its entirety and

  CONFIRMED under section 1129 of the Bankruptcy Code. The terms of the Plan, including the




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  Plan Supplements and Plan Modifications, are incorporated by reference into and are an integral

  part of this Confirmation Order. 11

                      B.        Findings of Fact and Conclusions of Law. The findings of fact and the

  conclusions of law set forth in this Confirmation Order and on the record of the Confirmation

  Hearing constitute findings of fact and conclusions of law in accordance with Bankruptcy Rule

  7052, made applicable to this proceeding by Bankruptcy Rule 9014. All findings of fact and

  conclusion of law announced by the Bankruptcy Court at the Confirmation Hearing in relation to

  confirmation of the Plan are hereby incorporated into this Confirmation Order. To the extent that

  any of the following constitutes findings of fact or conclusions of law, they are adopted as such.

  To the extent any findings of fact or conclusions of law set forth in this Confirmation Order

  (including any findings of fact or conclusions of law announced by the Bankruptcy Court at the

  Confirmation Hearing and incorporated herein) constitutes an order of the Bankruptcy Court, and

  is adopted as such.

                      C.        Objections. Any resolution or disposition of objections to confirmation of

  the Plan or otherwise ruled upon by the Bankruptcy Court on the record of the Confirmation

  Hearing is hereby incorporated by reference.               All objections and all reservations of rights

  pertaining to confirmation of the Plan that have not been withdrawn, waived or settled are

  overruled on the merits, except as otherwise specifically provided in this Confirmation Order.

                      D.        Plan Supplements and Plan Modifications.             The filing with the

  Bankruptcy Court of the Plan Supplements and the Plan Modifications constitutes due and


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       The Plan is attached hereto as Exhibit A.


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  sufficient notice thereof. Accordingly, pursuant to section 1127(a) of the Bankruptcy Code and

  Bankruptcy Rule 3019, the Plan Modifications and the Plan Supplements do not require additional

  disclosure under section 1125 of the Bankruptcy Code or resolicitation of votes under section 1126

  of the Bankruptcy Code, nor do they require that Holders of Claims or Equity Interests be afforded

  an opportunity to change previously cast acceptances or rejections of the Plan.         The Plan

  Modifications and the Plan Supplements constitute the Plan pursuant to section 1127(a) of the

  Bankruptcy Code. Accordingly, the Plan, as modified, is properly before the Bankruptcy Court

  and all votes cast with respect to the Plan prior to such modification shall be binding and shall

  apply with respect to the Plan.

                    E.          Deemed Acceptance of Plan. In accordance with section 1127 of the

  Bankruptcy Code and Bankruptcy Rule 3019, all Holders of Claims and Equity Interests who voted

  to accept the Plan (or whom are conclusively presumed to accept the Plan) are deemed to have

  accepted the Plan as modified by the Plan Modifications. No holder of a Claim shall be permitted

  to change its vote as a consequence of the Plan Modifications.

                    F.          Vesting of Assets in the Reorganized Debtor.   Except as otherwise

  provided in the Plan or this Confirmation Order, on or after the Effective Date, all Reorganized

  Debtor Assets will vest in the Reorganized Debtor, free and clear of all Liens, Claims, charges or

  other encumbrances pursuant to section 1141(c) of the Bankruptcy Code, except with respect to

  such Liens, Claims, charges, and other encumbrances that are specifically preserved under the Plan

  upon the Effective Date. The Reorganized Debtor shall be the exclusive trustee of the Reorganized

  Debtor Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the



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  representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code

  with respect to the Reorganized Debtor Assets.

                    G.          Effectiveness of All Actions.   All actions contemplated by the Plan,

  including all actions in connection with the Claimant Trust Agreement, the Senior Employee

  Stipulation, the New GP LLC Documents, the New Frontier Note, the Reorganized Limited

  Partnership Agreement, the Litigation Sub-Trust Agreement, and the other Plan Documents, are

  authorized to be taken on, prior to, or after the Effective Date, as applicable, under this

  Confirmation Order, without further application to or order of the Bankruptcy Court, or further

  action by the directors, managers, officers or partners of the Debtor or the Reorganized Debtor and

  with the effect that such actions had been taken by unanimous action of such parties.

                    H.          Restructuring Transactions.     The Debtor or Reorganized Debtor, as

  applicable, are authorized to enter into and effectuate the Restructuring provided under the Plan,

  including, without limitation, the entry into and consummation of the transactions contemplated

  by the Claimant Trust Agreement, the Senior Employee Stipulation, the New GP LLC Documents,

  the New Frontier Note, the Reorganized Limited Partnership Agreement, the Litigation Sub-Trust

  Agreement, and the other Plan Documents, and may take any actions as may be necessary or

  appropriate to effect a corporate restructuring of its business or a corporate restructuring of the

  overall corporate structure of the Reorganized Debtor, as and to the extent provided in the Plan.

  Any transfers of assets or equity interests effected or any obligations incurred through the

  Restructuring pursuant to the Plan are hereby approved and shall not constitute fraudulent

  conveyances or fraudulent transfers or otherwise be subject to avoidance.



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                    I.          Preservation of Causes of Action. Unless a Cause of Action against a

  Holder of a Claim or an Equity Interest or other Entity is expressly waived, relinquished, released,

  compromised or settled in the Plan or any Final Order (including, without limitation, this

  Confirmation Order), such Cause of Action is expressly reserved for later adjudication by the

  Reorganized Debtor, the Litigation Sub-Trust, or the Claimant Trust, as applicable (including,

  without limitation, Causes of Action not specifically identified or of which the Debtor may

  presently be unaware or that may arise or exist by reason of additional facts or circumstances

  unknown to the Debtor at this time or facts or circumstances that may change or be different from

  those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without

  limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,

  waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as

  a consequence of the confirmation, effectiveness, or consummation of the Plan based on the

  Disclosure Statement, the Plan, or this Confirmation Order, except where such Causes of Action

  have been expressly released in the Plan or any other Final Order (including, without limitation,

  this Confirmation Order). In addition, the right of the Reorganized Debtor, the Claimant Trust, or

  the Litigation Sub-Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor

  is a plaintiff, defendant or an interested party, against any Entity, including, without limitation, the

  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

                    J.          Independent Board of Directors of Strand. The terms of the current

  Independent Directors shall expire on the Effective Date without the need for any further or other

  action by any of the Independent Directors. For avoidance of doubt, the Assumed Contracts



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  include the Indemnification and Guaranty Agreement between Highland Capital Management,

  Strand Advisors, Inc. and James Seery; the Indemnification and Guaranty Agreement between

  Highland Capital Management, Strand Advisors, Inc. and John Dubel and Indemnification and

  Guaranty Agreement between Highland Capital Management, Strand Advisors, Inc. and Russell

  Nelms and shall each remain in full force and effect notwithstanding the expiration of the terms of

  any Independent Directors.

                    K.          Cancellation of Equity Interests and Issuance of New Partnership

  Interests. On the Effective Date, all Class A Limited Partnership Interests, including the Class A

  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited

  Partnerships in the Debtor will be deemed cancelled, and all obligations or debts owed by, or

  Claims against, the Debtor on account of, or based upon, such Class A Limited Partnership

  Interests and Class B/C Limited Partnership Interests shall be deemed as cancelled, released, and

  discharged, including all obligations or duties by the Debtor relating to the Equity Interests in any

  of the Debtor’s formation documents, including the Limited Partnership Agreement. As of the

  Effective Date and pursuant to the Plan, new Class A Limited Partnership Interests in the

  Reorganized Debtor will be issued to the Claimant Trust and New GP LLC. The Claimant Trust,

  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized

  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized

  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as

  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited

  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current Limited



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  Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be managed

  consistent with the terms of the Reorganized Limited Partnership Agreement by New GP LLC.

  The sole managing member of New GP LLC will be the Claimant Trust, and the Claimant Trustee

  will be the sole officer of New GP LLC on the Effective Date.

                    L.          Transfer of Assets to Claimant Trust. On or prior to the Effective Date,

  the Debtor shall irrevocably transfer and shall be deemed to have irrevocably transferred to the

  Claimant Trust all of its rights, title, and interest in and to all of the Claimant Trust Assets, and in

  accordance with section 1141 of the Bankruptcy Code, the Claimant Trust Assets shall

  automatically vest in the Claimant Trust free and clear of all Claims, Liens, encumbrances, or

  interests subject only to the Claimant Trust Interests and the Claimant Trust Expenses, as provided

  for in the Claimant Trust Agreement, and such transfer shall be exempt from any stamp, real estate

  transfer, mortgage from any stamp, transfer, reporting, sales, use, or other similar tax. Following

  the Effective Date, the Claimant Trust will administer the Claimant Trust Assets pursuant to the

  Plan and the Claimant Trust Agreement.

                    M.          Transfer of Estate Claims to Litigation Sub-Trust. On or prior to the

  Effective Date, the Claimant Trust shall irrevocably transfer and shall be deemed to have

  irrevocably transferred to the Litigation Sub-Trust all of the Claimant Trust’s rights, title, and

  interest in and to all of the Estate Claims as successor in interest to the Debtor, and in accordance

  with section 1141 of the Bankruptcy Code, the Estate Claims shall automatically vest in the

  Litigation Sub-Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to

  the Litigation Sub-Trust Interests and Litigation Sub-Trust Expenses. The Litigation Trustee will



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  be authorized to investigate, pursue, and otherwise resolve the Estate Claims pursuant to the terms

  of the Litigation Sub-Trust Agreement and the Plan, including as successor in interest to the Debtor

  or Committee, as applicable, in any litigation commenced prior to the Effective Date in which

  Estate Claims are asserted.

                    N.          Compromise of Controversies. In consideration for the distributions and

  other benefits, including releases, provided under the Plan, the provisions of the Plan constitute a

  good faith compromise and settlement of all Claims, Equity Interests, and controversies resolved

  under the Plan and the entry of this Confirmation Order constitutes approval of such compromise

  and settlement under Bankruptcy Rule 9019.

                    O.          Objections to Claims. The Claims Objection Deadline shall be the date

  that is 180 days after the Effective Date, provided, however, that the Claims Objection Deadline

  may be extended by the Bankruptcy Court upon a motion by the Claimant Trustee and as otherwise

  provided under the Plan.

                    P.          Assumption of Contracts and Leases. Effective as of the date of this

  Confirmation Order, each of the Assumed Contacts shall be assumed by the Debtor without the

  need for any further notice to or action, order, or approval of the Bankruptcy Court, under section

  365 of the Bankruptcy Code and the payment of Cures, if any, shall be paid in accordance with the

  Plan.    Each Assumed Contract shall include all modifications, amendments, supplements,

  restatements, or other agreements related thereto, and all rights related thereto, if any, including

  all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and

  any other interests. Modifications, amendments, supplements, and restatements to any of the



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  Assumed Contracts that have been executed by the Debtor during the Chapter 11 Case shall not

  be deemed to alter the prepetition nature of such Assumed Contracts or the validity, priority, or

  amount of any Claims that may arise in connection therewith. Assumption of the Assumed

  Contracts pursuant to Article V.A of the Plan and full payment of any applicable Cure pursuant to

  the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition, or other bankruptcy-related defaults, arising under any Assumed

  Contracts.

                    Q.          Rejection of Contracts and Leases. Unless previously assumed during the

  pendency of the Chapter 11 Case or pursuant to the Plan, all other Executory Contracts and

  Unexpired Leases are rejected as of the date of the entry of this Confirmation Order and pursuant

  to the terms of the Plan. To the extent that any party asserts any damages resulting from the

  rejection of any Executory Contract or Unexpired Lease, such claim must be filed within thirty

  (30) days following entry of this Confirmation Order, or such claim will be forever barred and

  disallowed against the Reorganized Debtor.

                    R.          Assumption of Issuer Executory Contracts. On the Confirmation Date,

  the Debtor will assume the agreements set forth on Exhibit B hereto (collectively, the “Issuer

  Executory Contracts”) pursuant to section 365 of the Bankruptcy Code and Article V of the Plan.

  In full and complete satisfaction of its obligation to cure outstanding defaults under section

  365(b)(1) of the Bankruptcy Code, the Debtor or, as applicable, any successor manager under the




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  Issuer Executory Contracts (collectively, the “Portfolio Manager”) will pay to the Issuers 12 a

  cumulative amount of $525,000 (the “Cure Amount”) as follows:

           a.       $200,000 in cash on the date that is five business days from the Effective Date, with
                    such payment paid directly to Schulte Roth & Zabel LLP (“SRZ”) in the amount of
                    $85,714.29, Jones Walker LLP (“JW”) in the amount of $72,380.95, and Maples
                    Group (“Maples” and collectively with SRZ and JW, the “Issuers’ Counsel”) in the
                    amount of $41,904.76 as reimbursement for the attorney’s fees and other legal
                    expenses incurred by the Issuers in connection with the Debtor’s bankruptcy case;
                    and

           b.       $325,000 in four equal quarterly payments of $81,250.00 (each, a “Payment”),
                    which amounts shall be paid to SRZ in the amount of $34,821.43, JW in the amount
                    of $29,404.76, and Maples in the amount of $17,023.81 as additional
                    reimbursement for the attorney’s fees and other legal expenses incurred by the
                    Issuers in connection with the Debtor’s bankruptcy case (i) from any management
                    fees actually paid to the Portfolio Manager under the Issuer Executory Contracts
                    (the “Management Fees”), and (ii) on the date(s) Management Fees are required to
                    be paid under the Issuer Executory Contracts (the “Payment Dates”), and such
                    obligation shall be considered an irrevocable direction from the Debtor and the
                    Bankruptcy Court to the relevant CLO Trustee to pay, on each Payment Date, the
                    Payment to Issuers’ Counsel, allocated in the proportion set forth in such
                    agreement; provided, however, that (x) if the Management Fees are insufficient to
                    make any Payment in full on a Payment Date, such shortfall, in addition to any
                    other amounts due hereunder, shall be paid out of the Management Fees owed on
                    the following Payment Date, and (y) nothing herein shall limit either Debtor’s
                    liability to pay the amounts set forth herein, nor the recourse of the Issuers or
                    Issuers’ Counsel to the Debtor, in the event of any failure to make any Payment.

                    S.          Release of Issuer Claims. Effective as of the Confirmation Date, and to

  the maximum extent permitted by law, each Issuer on behalf of itself and each of its current and

  former advisors, trustees, directors, officers, managers, members, partners, employees,

  beneficiaries, shareholders, agents, participants, subsidiaries, parents, successors, designees, and

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    The “Issuers” are: Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1,
  Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding
  LP, Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO Ltd., Westchester CLO, Ltd.,
  Aberdeen Loan Funding, Ltd., Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd.,
  Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla CLO, Ltd.


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  assigns hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,

  remises, and exonerates, and covenants never to sue, (i) the Debtor and (ii) the Professionals

  retained by the Debtor and the Committee in the Chapter 11 Case, the Independent Directors, the

  CEO/CRO, and with respect to the Persons listed in this subsection (ii), such Person’s Related

  Persons (collectively, the “Debtor Released Parties”), for and from any and all claims, debts,

  liabilities, demands, obligations, promises, acts, agreements, liens, losses, costs and expenses

  (including, without limitation, attorney’s fees and related costs), damages, injuries, suits, actions,

  and causes of action of whatever kind or nature, whether known or unknown, suspected or

  unsuspected, matured or unmatured, liquidated or unliquidated, contingent or fixed, at law or in

  equity, statutory or otherwise, including, without limitation, any claims, defenses, and affirmative

  defenses, whether known or unknown, including, without limitation, those which were or could

  have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively, the

  “Issuer Released Claims”).

                    T.          Release of Debtor Claims against Issuer Released Parties. Upon entry

  of this Order, and to the maximum extent permitted by law, the Debtor hereby forever, finally,

  fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and

  covenants never to sue [(i) each Issuer and (ii) Wendy Ebanks, (iii) Yun Zheng, (iv) Laura

  Chisholm, (v) Mora Goddard, (vi) Stacy Bodden, (vii) Suzan Merren (viii) Scott Dakers, (ix) Samit

  Ghosh, (x) Inderjit Singh, (xi) Ellen Christian, (xii) Andrew Dean, (xiii) Betsy Mortel, (xiv) David

  Hogan, (xv) Cleveland Stewart, (xvi) Rachael Rankin, (xvii) Otelia Scott, (xviii) Martin Couch,

  (xx) Ferona Bartley-Davis, (xxi) Charlotte Cloete, (xxii) Christina McLean, (xxiii) Karen Ellerbe,



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  (xxiv) Gennie Kay Bigord, (xxv) Evert Brunekreef, (xxvii) Evan Charles Burtton (collectively,

  the “Issuer Released Parties”),] for and from any and all claims, debts, liabilities, demands,

  obligations, promises, acts, agreements, liens, losses, costs and expenses (including, without

  limitation, attorney’s fees and related costs), damages, injuries, suits, actions, and causes of action

  of whatever kind or nature, whether known or unknown, suspected or unsuspected, matured or

  unmatured, liquidated or unliquidated, contingent or fixed, at law or in equity, statutory or

  otherwise, including, without limitation, any claims, defenses, and affirmative defenses, whether

  known or unknown, which were or could have been asserted in, in connection with, or with respect

  to the Bankruptcy Case (collectively, the “Debtor Released Claims”); provided, however, that

  notwithstanding anything herein to the contrary, the release contained herein will apply to the

  Issuer Released Parties set forth in subsection (ii) above only with respect to Debtor Released

  Claims arising from or relating to the Issuer Executory Contracts. Notwithstanding anything in

  this Order to the contrary, the releases set forth in paragraphs S and T hereof will not apply with

  respect to the duties, rights, or obligations of the Debtor or any Issuer hereunder.

                    U.          Authorization to Consummate. The Debtor is authorized to consummate

  the Plan after the entry of this Confirmation Order subject to satisfaction or waiver of the

  conditions precedent to the Effective Date of the Plan set forth in Article VIII.A of the Plan. The

  Plan shall not become effective unless and until the conditions set forth in Article VIII.A of the

  Plan have been satisfied, or otherwise waived pursuant to Article VIII.B of the Plan.

                    V.          Professional Compensation. All requests for payment of Professional Fee

  Claims for services rendered and reimbursement of expenses incurred prior to the Effective Date



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  must be filed no later than sixty (60) days after the Effective Date. The Bankruptcy Court shall

  determine the Allowed amounts of such Professional Fee Claims after notice and an opportunity

  for hearing in accordance with the procedures established by the Bankruptcy Code and the

  Bankruptcy Court. The Debtor shall fund the Professional Fee Reserve as provided under the Plan.

  The Reorganized Debtor shall pay Professional Fee Claims in Cash in the amounts the Bankruptcy

  Court allows. The Debtor is authorized to pay the pre-Effective Date fees and expenses of all

  ordinary course professionals in the ordinary course of business without the need for further

  Bankruptcy Court order or approval. From and after the Effective Date, any requirement that

  Professionals comply with sections 327 through 331 and 1103 (if applicable) of the Bankruptcy

  Code in seeking retention or compensation for services rendered after such date shall terminate,

  and the Reorganized Debtor or Claimant Trustee, as applicable, may employ and pay any

  Professional or Entity employed in the ordinary course of the Debtor’s business without any further

  notice to or action, order, or approval of the Bankruptcy Court.

                    W.          Release, Exculpation, Discharge, and Injunction Provisions.        The

  following release, exculpation, discharge, and injunction provisions set forth in the Plan are

  approved and authorized in their entirety, and such provisions are effective and binding on

  all parties and Entities to the extent provided therein.

                    X.          Discharge of Claims and Termination of Interests. To the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code,

  except as otherwise expressly provided by the Plan or this Confirmation Order, all consideration

  distributed under the Plan will be in exchange for, and in complete satisfaction, settlement,



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  discharge, and release of, all Claims and Equity Interests of any kind or nature whatsoever against

  the Debtor or any of its Assets or properties, and regardless of whether any property will have been

  distributed or retained pursuant to the Plan on account of such Claims or Equity Interests. Except

  as otherwise expressly provided by the Plan or this Confirmation Order, upon the Effective Date,

  the Debtor and its Estate will be deemed discharged and released under and to the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code

  from any and all Claims and Equity Interests of any kind or nature whatsoever, including, but not

  limited to, demands and liabilities that arose before the Confirmation Date, and all debts of the

  kind specified in section 502(g), 502(h), or 502(i) of the Bankruptcy Code.

                    Y.          Exculpation. Subject in all respects to Article XII.D of the Plan, to the

  maximum extent permitted by applicable law, no Exculpated Party will have or incur, and each

  Exculpated Party is hereby exculpated from, any claim, obligation, suit, judgment, damage,

  demand, debt, right, Cause of Action, remedy, loss, and liability for conduct occurring on or after

  the Petition Date in connection with or arising out of (i) the filing and administration of the Chapter

  11 Case; (ii) the negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation

  of votes for, or confirmation of, the Plan; (iii) the funding or consummation of the Plan (including

  the Plan Supplement) or any related agreements, instruments, or other documents, the solicitation

  of votes on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be

  issued pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan

  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any

  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);



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  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated Party

  arising out of or related to acts or omissions that constitute bad faith, fraud, gross negligence,

  criminal misconduct, or willful misconduct or (b) Strand or any Employee other than with respect

  to actions taken by such Entities from the date of appointment of the Independent Directors through

  the Effective Date. The Plan’s exculpation shall be in addition to, and not in limitation of, all other

  releases, indemnities, exculpations, any other applicable law or rules, or any other provisions of

  the Plan, including Article IV.C.2 of the Plan, protecting such Exculpated Parties from liability.

                    Z.          Releases by the Debtor. On and after the Effective Date, each Released

  Party is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and forever

  released and discharged by the Debtor and the Estate, in each case on behalf of themselves and

  their respective successors, assigns, and representatives, including, but not limited to, the Claimant

  Trust and the Litigation Sub-Trust from any and all Causes of Action, including any derivative

  claims, asserted on behalf of the Debtor, whether known or unknown, foreseen or unforeseen,

  matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or otherwise, that

  the Debtor or the Estate would have been legally entitled to assert in their own right (whether

  individually or collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor

  or other Person. Notwithstanding anything contained herein to the contrary, the foregoing release

  does not release: (i) any obligations of any party under the Plan or any document, instrument, or

  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under



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  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual

  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction.

                    AA.         Injunction.   Upon entry of this Confirmation Order, all Enjoined

  Parties are and shall be permanently enjoined, on and after the Effective Date, from taking

  any actions to interfere with the implementation or consummation of the Plan. Except as

  expressly provided in the Plan, this Confirmation Order, or a separate order of the

  Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and after

  the Effective Date, with respect to any Claims and Equity Interests, from directly or

  indirectly (i) commencing, conducting, or continuing in any manner, any suit, action, or

  other proceeding of any kind (including any proceeding in a judicial, arbitral, administrative

  or other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,

  levying, attaching (including any prejudgment attachment), collecting, or otherwise

  recovering, enforcing, or attempting to recover or enforce, by any manner or means, any

  judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)

  creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or

  encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any

  right of setoff, directly or indirectly, against any obligation due to the Debtor or against

  property or interests in property of the Debtor, except to the limited extent permitted under

  Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,



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  in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

  The injunctions set forth in the Plan and this Confirmation Order shall extend to, and apply

  to any act of the type set forth in any of clauses (i)-(v) of the immediately preceding

  paragraph against any successors of the Debtor, including, but not limited to, the

  Reorganized Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective

  property and interests in property. Subject in all respects to Article XII.D of the Plan, no

  Enjoined Party may commence or pursue a claim or cause of action of any kind against any

  Protected Party that arose or arises from or is related to the Chapter 11 Case, the negotiation

  of the Plan, the administration of the Plan or property to be distributed under the Plan, the

  wind down of the business of the Debtor or Reorganized Debtor, the administration of the

  Claimant Trust or the Litigation Sub-Trust, or the transactions in furtherance of the

  foregoing without the Bankruptcy Court (i) first determining, after notice and a hearing,

  that such claim or cause of action represents a colorable claim of any kind, including, but

  not limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross

  negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party to

  bring such claim or cause of action against any such Protected Party; provided, however, the

  foregoing will not apply to a claim or cause of action against Strand or against any Employee

  other than with respect to actions taken, respectively, by Strand or by such Employee from

  the date of appointment of the Independent Directors through the Effective Date. The

  Bankruptcy Court will have sole and exclusive jurisdiction to determine whether a claim or

  cause of action is colorable and, only to the extent legally permissible and as provided for in



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  Article XI of the Plan, shall have jurisdiction to adjudicate the underlying colorable claim or

  cause of action.

                    BB.         Duration of Injunction and Stays. Unless otherwise provided in the

  Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, (i) all

  injunctions and stays entered during the Chapter 11 Case and in existence on the

  Confirmation Date, shall remain in full force and effect in accordance with their terms; and

  (ii) the automatic stay arising under section 362 of the Bankruptcy Code shall remain in full

  force and effect subject to Section 362(c) of the Bankruptcy Code, and to the extent necessary

  if the Debtor does not receive a discharge, the Bankruptcy Court will enter an equivalent

  order under Section 105.

                    CC.         Continuance of January 9 Order and July 16 Order. Unless otherwise

  provided in the Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, each

  of the Order Approving Settlement with Official Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in the Ordinary Course, entered by the

  Bankruptcy Court on January 9, 2020 [Docket No. 339] and Order Approving the Debtor’s Motion

  Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P. Seery, Jr.,

  as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro

  Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 shall remain in full force and

  effect from the Confirmation Date and following the Effective Date.

                    DD.         No Governmental Releases. Nothing in this Confirmation Order or the

  Plan shall effect a release of any claim by the United States Government or any of its agencies or



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  any state and local authority whatsoever, including without limitation any claim arising under the

  Internal Revenue Code, the environmental laws or any criminal laws of the United States or any

  state and local authority against any party or person, nor shall anything in this Confirmation Order

  or the Plan enjoin the United States or any state or local authority from bringing any claim, suit,

  action, or other proceedings against any party or person for any liability of such persons whatever,

  including without limitation any claim, suit, or action arising under the Internal Revenue Code,

  the environmental laws or any criminal laws of the United States or any state and local authority

  against such persons, nor shall anything in this Confirmation Order or the Plan exculpate any party

  or person from any liability to the United States Government or any of its agencies or any state

  and local authority whatsoever, including any liabilities arising under the Internal Revenue Code,

  the environmental laws, or any criminal laws of the United States or any state and local authority

  against any party or person.

                    EE.         Exemption from Transfer Taxes. Pursuant to section 1146(a) of the

  Bankruptcy Code, any transfers (whether from the Debtor to the Reorganized Debtor or to any

  other Person) of property under the Plan or pursuant to: (a) the issuance, distribution, transfer, or

  exchange of any debt, equity security, or other interest in the Debtor or the Reorganized Debtor;

  (b) the Restructuring transactions pursuant to the Plan; (c) the creation, modification,

  consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other

  security interest, or the securing of additional indebtedness by such or other means; (d) the making,

  assignment, or recording of any lease or sublease; or (e) the making, delivery, or recording of any

  deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,



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  including any deeds, bills of sale, assignments, or other instrument of transfer executed in

  connection with any transaction arising out of, contemplated by, or in any way related to the Plan,

  shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or

  similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial

  Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental

  assessment to the fullest extent contemplated by section 1146(a) of the Bankruptcy Code, and upon

  entry of this Confirmation Order, the appropriate state or local governmental officials or agents

  shall forego the collection of any such tax or governmental assessment and accept for filing and

  recordation of any of the foregoing instruments or other documents without the payment of any

  such tax, recordation fee, or governmental assessment.

                    FF.         Cancellation of Notes, Certificates and Instruments. Except for the

  purpose of evidencing a right to a distribution under the Plan and except as otherwise set forth in

  the Plan or as otherwise provided in this Confirmation Order, on the Effective Date, all agreements,

  instruments, Securities and other documents evidencing any prepetition Claim or Equity Interest

  and any rights of any Holder in respect thereof shall be deemed cancelled, discharged, and of no

  force or effect. The holders of or parties to such cancelled instruments, Securities, and other

  documentation will have no rights arising from or related to such instruments, Securities, or other

  documentation or the cancellation thereof, except the rights provided for pursuant to the Plan, and

  the obligations of the Debtor thereunder or in any way related thereto will be fully released,

  terminated, extinguished and discharged, in each case without further notice to or order of the




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  Bankruptcy Court, act or action under applicable law, regulation, order, or rule or any requirement

  of further action, vote or other approval or authorization by any Person.

                    GG.         Documents, Mortgages, and Instruments.            Each federal, state,

  commonwealth, local, foreign, or other governmental agency is authorized to accept any and all

  documents, mortgages, and instruments necessary or appropriate to effectuate, implement, or

  consummate the Plan, including the Restructuring transactions contemplated under the Plan, and

  this Confirmation Order.

                    HH.         Post-Confirmation Modifications.     Subject section 1127(b) of the

  Bankruptcy Code and the Plan, the Debtor and the Reorganized Debtor expressly reserve their

  rights to revoke or withdraw, or to alter, amend, or modify materially the Plan, one or more times

  after Confirmation and, to the extent necessary, may initiate proceedings in the Bankruptcy Court

  to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any

  inconsistencies in the Plan or this Confirmation Order, in such manner as may be necessary to

  carry out the purposes and intent of the Plan. Any such modification or supplement shall be

  considered a modification of the Plan and shall be made in accordance with Article XII.B of the

  Plan.

                    II.         Applicable Nonbankruptcy Law. The provisions of this Confirmation

  Order, the Plan and related documents, or any amendments or modifications thereto, shall apply

  and be enforceable notwithstanding any otherwise applicable nonbankruptcy law.

                    JJ.         Governmental Approvals Not Required. This Confirmation Order shall

  constitute all approvals and consents required, if any, by the laws, rules, or regulations of any state,



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  federal, or other governmental authority with respect to the dissemination, implementation, or

  consummation of the Plan and the Disclosure Statement, any certifications, documents,

  instruments or agreements, and any amendments or modifications thereto, and any other acts

  referred to in, or contemplated by, the Plan and the Disclosure Statement.

                    KK.         Notice of Effective Date. As soon as reasonably practicable after the

  Effective Date, the Reorganized Debtor shall file notice of the Effective Date and shall serve a

  copy of the same on all Holders of Claims and Equity Interests, and all parties who have filed with

  the Bankruptcy Court requests to receive notices in accordance with Bankruptcy Rules 2002 and

  3020(c). Notwithstanding the above, no notice of Confirmation or Consummation or service of

  any kind shall be required to be mailed or made upon any Entity to whom the Debtor mailed notice

  of the Confirmation Hearing, but received such notice returned marked “undeliverable as

  addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason,

  unless the Debtor has been informed in writing by such Entity, or is otherwise aware, of that

  Entity’s new address. The above-referenced notices are adequate under the particular

  circumstances of this Chapter 11 Case and no other or further notice is necessary.

                    LL.         Substantial Consummation. On the Effective Date, the Plan shall be

  deemed to be substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

                    MM. Waiver of Stay. For good cause shown, the stay of this Confirmation Order

  provided by any Bankruptcy Rule is waived, and this Confirmation Order shall be effective and

  enforceable immediately upon its entry by the Bankruptcy Court.




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                    NN.         References to and Omissions of Plan Provisions. References to articles,

  sections, and provisions of the Plan are inserted for convenience of reference only and are not

  intended to be a part of or to affect the interpretation of the Plan. The failure to specifically include

  or to refer to any particular article, section, or provision of the Plan in this Confirmation Order

  shall not diminish or impair the effectiveness of such article, section, or provision, it being the

  intent of the Bankruptcy Court that the Plan be confirmed in its entirety, except as expressly

  modified herein, and incorporated herein by this reference.

                    OO.         Headings. Headings utilized herein are for convenience and reference only,

  and do not constitute a part of the Plan or this Confirmation Order for any other purpose.

                    PP.         Effect of Conflict. This Confirmation Order supersedes any Bankruptcy

  Court order issued prior to the Confirmation Date that may be inconsistent with this Confirmation

  Order.    If there is any inconsistency between the terms of the Plan and the terms of this

  Confirmation Order, the terms of this Confirmation Order govern and control. If there is any

  inconsistency between the terms of this Confirmation Order and the terms of a final, executed Plan

  Supplement Document, the terms of the final, executed Plan Supplement Document will govern

  and control.

                    QQ.         Resolution of Objection of Texas Taxing Authorities. Dallas County,

  Kaufman County, City of Allen, Allen ISD and City of Richardson (collectively, the “Tax

  Authorities”) assert that they are the holders of prepetition and administrative expense claims for

  2019, 2020 and 2021 ad valorem real and business personal property taxes. The ad valorem

  property taxes for tax year 2020 shall be paid in accordance with and to the extent required under



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  applicable nonbankruptcy law. In the event the 2020 taxes are paid after February 1, 2021, the

  Tax Authorities may assert any rights and amounts they claim are owed with respect to penalties

  and interest that have accrued through the date of payment and the Debtor and Reorganized Debtor

  reserve any all rights and defenses in connection therewith.

           a.       The Debtor/Reorganized Debtor shall pay all amounts owed to the Tax Authorities
                    for tax year 2021 in accordance with and to the extent required under applicable
                    nonbankruptcy law. The Tax Authorities shall not be required to file and serve an
                    administrative expense claim and request for payment as a condition of allowance
                    of their administrative expense claims pursuant to 11 U.S.C. Section 503(b)(1)(D).
                    With regard to year 2019 ad valorem property taxes, the Tax Authorities will
                    receive payment of their prepetition claims within 30 days of the Effective Date of
                    the Plan. The payment will include interest from the Petition Date through the
                    Effective Date and from the Effective Date through payment in full at the state
                    statutory rate pursuant to 11 U.S.C. Sections 506(b), 511, and 1129, if applicable,
                    subject to all of the Debtor’s and Reorganized Debtor’s rights and defenses in
                    connection therewith. Notwithstanding any other provision in the Plan, the Tax
                    Authorities shall (i) retain the liens that secure all prepetition and postpetition
                    amounts ultimately owed to them, if any, as well as (ii) the state law priority of
                    those liens until the claims are paid in full.

           b.       The Tax Authorities’ prepetition claims and their administrative expense claims
                    shall not be discharged until such time as the amounts owed are paid in full. In the
                    event of a default asserted by the Taxing Authorities, the Tax Authorities shall
                    provide notice Debtor or Reorganized Debtor, as applicable, and may demand cure
                    of any such asserted default. Subject to all of its rights and defenses, the Debtor or
                    Reorganized Debtor shall have fifteen (15) days from the date of the notice to cure
                    the default. If the alleged default is not cured, the Tax Authorities may exercise
                    any of their respective rights under applicable law and pursue collection of all
                    amounts owed pursuant to state law outside of the Bankruptcy Court, subject in all
                    respects to the Debtor’s and Reorganized Debtor’s applicable rights and defenses.
                    The Debtor/Reorganized Debtor shall be entitled to any notices of default required
                    under applicable nonbankruptcy law and each of the Taxing Authorities, the Debtor
                    and the Reorganized Debtor reserve any and all of their respective rights and
                    defenses in connection therewith. The Debtor’s and Reorganized Debtor’s rights
                    and defenses under Texas Law and the Bankruptcy Code with respect to this
                    provision of the Confirmation Order, including their right to dispute or object to the
                    Tax Authorities’ Claims and liens, are fully preserved.



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                    RR.         Resolution of Objections of Scott Ellington and Isaac Leventon.

  Pursuant to Bankruptcy Rule 9019(a), the Senior Employees’ Settlement is approved in all

  respects. The Debtor may, only with the consent of the Committee, elect Option B for a Senior

  Employee Claimant by written notice to such Senior Employee Claimant on or before the

  occurrence of the Effective Date. If the Debtor does not elect Option B, then Option A will govern

  the treatment of the Liquidated Bonus Claims.

           a.       Notwithstanding any language in the Plan, the Disclosure Statement, or this
                    Confirmation Order to the contrary, if Option A applies to the Liquidated Bonus
                    Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims of such
                    Senior Employee Claimant will receive the treatment described in paragraph 82(e)
                    hereof, and if the Debtor timely elects Option B with respect to the Liquidated
                    Bonus Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims
                    of such Senior Employee will receive the treatment described in paragraph 82(f)
                    hereof.

           b.       The Senior Employees’ Settlement is hereby approved, without prejudice to the
                    respective rights of Mr. Ellington and Mr. Leventon to assert all their remaining
                    Claims against the Debtor’s estate, including, but not limited to, their Class 6 PTO
                    Claims, their remaining Class 8 General Unsecured Claims, any indemnification
                    claims, and any Administrative Expense Claims that they may assert and is without
                    prejudice to the rights of any party in interest to object to any such Claims.

           c.       Pursuant to Bankruptcy Rule 3018(a), Mr. Ellington and Mr. Leventon were
                    permitted to change their votes on the Plan. Accordingly, Mr. Ellington’s votes on
                    his Ballots in Class 7 and Class 8 of the Plan were changed from a rejection of the
                    Plan to acceptance of the Plan, and Mr. Leventon’s votes on his Ballots in Class 7
                    and Class 8 of the Plan were, changed from rejections of the Plan to acceptances of
                    the Plan.

           d.       The Senior Employees’ Objection is deemed withdrawn.

                    SS.         No Release of Claims Against Senior Employee Claimants. For the

  avoidance of doubt, the Senior Employees’ Settlement, as approved herein, shall not, and shall not

  be deemed to, release any Claims or Causes of Action held by the Debtor against either Senior


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  Employee Claimant nor shall either Senior Employee Claimant be, or be deemed to be, a “Released

  Party” under the Plan.

                    TT.         Resolution of Objection of Internal Revenue Service. Notwithstanding

  any other provision or term of the Plan or Confirmation Order, the following Default Provision

  shall control as to the United States of America, Internal Revenue Service (“IRS”) and all of its

  claims, including any administrative claim (the “IRS Claim”):

           (a) Notwithstanding any other provision in the Plan, if the Debtor, the Reorganized Debtor,
           or any successor in interest fails to pay when due any payment required to be made on
           federal taxes, the IRS Claim, or other payment required to be made to the IRS under the
           terms and provisions of this Plan, the Confirmation Order, or the Internal Revenue Code
           (26 U.S.C.), or fails to timely file any required federal tax return, or if any other event of
           default as set forth in the Plan occurs, the IRS shall be entitled to give the Debtor, the
           Reorganized Debtor and/or any successor in interest and their counsel of record, by United
           States Certified Mail, written notice of the failure and/or default with demand that it be
           cured, and if the failure and/or default is not cured within 14 days of the date of said notice
           and demand, then the following shall apply to the IRS:

                        (1) The administrative collection powers and the rights of the IRS shall
                    be reinstated as they existed prior to the filing of the bankruptcy petition,
                    including, but not limited to, the assessment of taxes, the filing of a notice
                    of Federal tax lien and the powers of levy, seizure, and collection as
                    provided under the Internal Revenue Code;

                        (2) The automatic stay of 11 U.S.C. § 362 and any injunction of the
                    Plan or in the Confirmation Order shall, with regard to the IRS only, lift or
                    terminate without further notice or hearing by the Bankruptcy Court, and
                    the entire prepetition liability owed to the IRS, together with any unpaid
                    postpetition tax liabilities, may become due and payable immediately; and

                        (3) The IRS shall have the right to proceed to collect from the Debtor,
                    the Reorganized Debtor or any successor in interest any of the prepetition
                    tax liabilities and related penalties and interest through administrative or
                    judicial collection procedures available under the United States Code as if
                    no bankruptcy petition had been filed and as if no plan had been confirmed.

           (b) If the IRS declares the Debtor, the Reorganized Debtor, or any successor-in-interest to
           be in default of the Debtor’s, the Reorganized Debtor’s and/ or any successor- in-interest’s
           obligations under the Plan, then entire prepetition liability of an IRS’ Allowed Claim,
           together with any unpaid postpetition tax liabilities shall become due and payable

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           immediately upon written demand to the Debtor, Reorganized Debtor and/or any
           successor-in-interest. Failure of the IRS to declare a failure and/or default does not
           constitute a waiver by the United States or its agency the IRS of the right to declare that
           the Debtor, Reorganized Debtor, and/or any successor in interest is in default.

           (c) The IRS shall only be required to send two notices of failure and/or default, and upon
           the third event of a failure and/or default, the IRS shall be entitled to proceed as set out in
           paragraphs (1), (2), and/or (3) herein above without further notice to the Debtor, the
           Reorganized Debtor, or any successor in interest, or its counsel. The collection statute
           expiration date for all unpaid federal tax liabilities shall be extended pursuant to non-
           bankruptcy law.

           (d) The Internal Revenue Service shall not be bound by any release provisions in the Plan
           that would release any liability of the responsible persons of the Debtor, the Reorganized
           Debtor, and/or any successor in interest to the IRS. The Internal Revenue Service may
           take such actions as it deems necessary to assess any liability that may be due and owing
           by the responsible persons of the Debtor, the Reorganized Debtor and/or any successor in
           interest to the Internal Revenue Service.

           (e) Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
           or relinquishment of any rights, claims, causes of action, rights of setoff or recoupment,
           rights to appeal tax assessments, or other legal or equitable defenses that the Debtor or
           Reorganized Debtor have under non-bankruptcy law in connection with any claim, liability
           or cause of action of the United States and its agency the Internal Revenue Service.

           (f) The term “any payment required to be made on federal taxes,” as used herein above, is
           defined as: any payment or deposit required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full. The term “any required tax return,” as used herein above, is
           defined as: any tax return or report required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full.

                    UU.         IRS Proof of Claim. Notwithstanding anything in the Plan or in this

  Confirmation Order, until all required tax returns are filed with and processed by the IRS, the IRS’s

  proof of claim will not be deemed fixed for purposes of Section 502 of the Bankruptcy Code and

  may be amended in order to reflect the IRS’ assessment of the Debtor’s unpaid priority and general

  unsecured taxes, penalties and interest.




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                    VV.         CLO Holdco, Ltd. Settlement        Notwithstanding anything contained

  herein to the contrary, nothing in this Order is or is intended to supersede the rights and obligations

  of either the Debtor or CLO Holdco contained in that certain Settlement Agreement between CLO

  Holdco, Ltd., and Highland Capital Management, L.P., dated January 25,2021 [Docket No. 1838-

  1] (the “CLOH Settlement Agreement”). In the event of any conflict between the terms of this

  Order and the terms of the CLOH Settlement Agreement, the terms of the CLOH Settlement

  Agreement will govern.

                    WW. Retention of Jurisdiction. The Bankruptcy Court may properly, and upon

  the Effective Date shall, to the maximum extent permitted under applicable law, retain jurisdiction

  over all matters arising out of, and related to, this Chapter 11 Case, including the matters set forth

  in Article XI of the Plan and section 1142 of the Bankruptcy Code.

                    XX.         Payment of Statutory Fees; Filing of Quarterly Reports.         All fees

  payable pursuant to 28 U.S.C. § 1930 shall be paid on or before the Effective Date. The

  Reorganized Debtor, the Claimant Trust, and the Litigation Sub-Trust shall be jointly and severally

  liable for payment of quarterly fees to the Office of the United States Trustee pursuant to 28 U.S.C.

  § 1930 through the entry of the Final Decree for the Debtor or the dismissal or conversion of the

  Chapter 11 Case. Notwithstanding anything to the contrary in the Plan, the U.S. Trustee shall not

  be required to file any proofs of claim with respect to quarterly fees payable pursuant to 28 U.S.C.

  § 1930.

                    YY.         Dissolution of the Committee. On the Effective Date, the Committee will

  dissolve, and the members of the Committee and the Committee’s Professionals will cease to have



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  any role arising from or relating to the Chapter 11 Case, except in connection with final fee

  applications of Professionals for services rendered prior to the Effective Date (including the right

  to object thereto). Notwithstanding the foregoing, any Committee member or Professional may

  serve following the Effective Date with respect to the Claimant Trust Oversight Board or Litigation

  Sub-Trust. The Professionals retained by the Committee and the members thereof will not be

  entitled to assert any fee claims for any services rendered to the Committee or expenses incurred

  in the service of the Committee after the Effective Date, except for reasonable fees for services

  rendered, and actual and necessary costs incurred, in connection with any applications for

  allowance of Professional Fees pending on the Effective Date or filed and served after the Effective

  Date pursuant to the Plan. Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or

  Committee’s Professionals to represent either of the Trustees or to be compensated or reimbursed

  per the Plan, the Claimant Trust Agreement, and/or Litigation Sub-Trust in connection with such

  representation.

                    ZZ.         Miscellaneous.   After the Effective Date, the Debtor or Reorganized

  Debtor, as applicable, shall have no obligation to file with the Bankruptcy Court or serve on any

  parties reports that the Debtor or Reorganized Debtor, as applicable, were obligated to file under

  the Bankruptcy Code or a court order, including monthly operating reports (even for those periods

  for which a monthly operating report was not filed before the Effective Date), ordinary course

  professional reports, reports to any parties otherwise required under the “first” and “second” day

  orders entered in this Chapter 11 Case (including any cash collateral financing orders entered in

  this Chapter 11 Case) and monthly or quarterly reports for Professionals; provided, however, that



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  the Debtor or Reorganized Debtor, as applicable, will comply with the U.S. Trustee’s post

  confirmation reporting requirements.

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                                           Exhibit A

                                Fifth Amended Plan (as Modified)




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                     )
      In re:                                                         )   Chapter 11
                                                                     )
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                     )
                                       Debtor.                       )
                                                                     )

               FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                      CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

  PACHULSKI STANG ZIEHL & JONES LLP                              HAYWARD & ASSOCIATES PLLC
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          ikharasch@pszjlaw.com
          gdemo@pszjlaw.com

                               Counsel for the Debtor and Debtor-in-Possession




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in the
  above-captioned case (the “Debtor”), proposes the following chapter 11 plan of reorganization (the
  “Plan”) for, among other things, the resolution of the outstanding Claims against, and Equity
  Interests in, the Debtor. Unless otherwise noted, capitalized terms used in this Plan have the
  meanings set forth in Article I of this Plan. The Debtor is the proponent of this Plan within the
  meaning of section 1129 of the Bankruptcy Code.

          Reference is made to the Disclosure Statement (as such term is defined herein and
  distributed contemporaneously herewith) for a discussion of the Debtor’s history, business, results
  of operations, historical financial information, projections and assets, and for a summary and
  analysis of this Plan and the treatment provided for herein. There also are other agreements and
  documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or the
  Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan Documents are
  incorporated into and are a part of this Plan as if set forth in full herein. Subject to the other
  provisions of this Plan, and in accordance with the requirements set forth in section 1127 of the
  Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to alter, amend, modify,
  revoke, or withdraw this Plan prior to the Effective Date.

          If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
  this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

  A.     Rules of Interpretation, Computation of Time and Governing Law

           For purposes hereof: (a) in the appropriate context, each term, whether stated in the
  singular or the plural, shall include both the singular and the plural, and pronouns stated in the
  masculine, feminine or neuter gender shall include the masculine, feminine and the neuter gender;
  (b) any reference herein to a contract, lease, instrument, release, indenture or other agreement or
  document being in a particular form or on particular terms and conditions means that the referenced
  document, as previously amended, modified or supplemented, if applicable, shall be substantially
  in that form or substantially on those terms and conditions; (c) any reference herein to an existing
  document or exhibit having been Filed or to be Filed shall mean that document or exhibit, as it
  may thereafter be amended, modified or supplemented in accordance with its terms; (d) unless
  otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and “Plan
  Documents” are references to Articles, Sections, Exhibits and Plan Documents hereof or hereto;
  (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and “hereto” refer to this
  Plan in its entirety rather than to a particular portion of this Plan; (f) captions and headings to
  Articles and Sections are inserted for convenience of reference only and are not intended to be a
  part of or to affect the interpretation hereof; (g) any reference to an Entity as a Holder of a Claim
  or Equity Interest includes such Entity’s successors and assigns; (h) the rules of construction set
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  forth in section 102 of the Bankruptcy Code shall apply; (i) any term used in capitalized form
  herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
  Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
  Rules, as the case may be; and (j) “$” or “dollars” means Dollars in lawful currency of the United
  States of America. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any
  period of time prescribed or allowed herein.

  B.     Defined Terms

        Unless the context otherwise requires, the following terms shall have the following
  meanings when used in capitalized form herein:

              1.    “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
  Management GP, LLP.

                 2.      “Administrative Expense Claim” means any Claim for costs and expenses
  of administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
  507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
  necessary costs and expenses incurred after the Petition Date and through the Effective Date of
  preserving the Estate and operating the business of the Debtor; and (b) all fees and charges assessed
  against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United
  States Code, and that have not already been paid by the Debtor during the Chapter 11 Case and a
  Professional Fee Claim.

                 3.      “Administrative Expense Claims Bar Date” means, with respect to any
  Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
  the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
  the Effective Date.

                4.      “Administrative Expense Claims Objection Deadline” means, with respect
  to any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
  (b) sixty (60) days after the timely Filing of the applicable request for payment of such
  Administrative Expense Claim; provided, however, that the Administrative Expense Claims
  Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
  Trustee.

                   5.     “Affiliate” of any Person means any Entity that, with respect to such Person,
  either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
  “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
  through one or more intermediaries, controls, is controlled by, or is under common control with,
  such Person. For the purposes of this definition, the term “control” (including, without limitation,
  the terms “controlled by” and “under common control with”) means the possession, directly or
  indirectly, of the power to direct or cause the direction in any respect of the management or policies
  of a Person, whether through the ownership of voting securities, by contract, or otherwise.

                  6.     “Allowed” means, with respect to any Claim, except as otherwise provided
  in the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
  Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy


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 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not unliquidated,
 and not disputed and for which no Proof of Claim has been timely filed; (c) a Claim Allowed
 pursuant to the Plan or an order of the Bankruptcy Court that is not stayed pending appeal; or (d)
 a Claim that is not Disputed (including for which a Proof of Claim has been timely filed in a
 liquidated and noncontingent amount that has not been objected to by the Claims Objection
 Deadline or as to which any such objection has been overruled by Final Order); provided, however,
 that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
 Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance
 thereof has been interposed within the applicable period of time fixed by the Plan, the Bankruptcy
 Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and
 the Claim shall have been Allowed as set forth above.

                 7.     “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of
 the type that has been Allowed.

               8.      “Assets” means all of the rights, titles, and interest of the Debtor,
 Reorganized Debtor, or Claimant Trust, in and to property of whatever type or nature, including,
 without limitation, real, personal, mixed, intellectual, tangible, and intangible property, the
 Debtor’s books and records, and the Causes of Action.

                 9.     “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the sole
 discretion of the Claimant Trustee.

                 10.     “Avoidance Actions” means any and all avoidance, recovery, subordination
 or other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or under
 similar state or federal statutes and common law, including fraudulent transfer laws

                11.      “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13.    “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and
 the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
 the Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.




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                 15.     “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
 the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which deadlines
 may be or have been extended for certain Claimants by order of the Bankruptcy Court.

               16.     “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                17.     “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                18.     “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

                 19.      “Causes of Action” means any action, claim, cross-claim, third-party claim,
 cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known, unknown,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
 secured or unsecured, assertable directly or derivatively (including, without limitation, under alter
 ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in law or
 in equity or pursuant to any other theory of law. For the avoidance of doubt, Cause of Action
 includes, without limitation,: (a) any right of setoff, counterclaim or recoupment and any claim for
 breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to
 Claims or Equity Interests; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy
 Code; (d) any claim or defense including fraud, mistake, duress and usury, and any other defenses
 set forth in section 558 of the Bankruptcy Code; (e) any claims under any state or foreign law,
 including, without limitation, any fraudulent transfer or similar claims; (f) the Avoidance Actions,
 and (g) the Estate Claims. The Causes of Action include, without limitation, the Causes of Action
 belonging to the Debtor’s Estate listed on the schedule of Causes of Action to be filed with the
 Plan Supplement.

                 20.    “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
 and chief restructuring officer.

                21.    “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
 Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
 transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
 Management, L.P., Case No. 19-34054-sgj-11.

               22.    “Claim” means any “claim” against the Debtor as defined in section 101(5)
 of the Bankruptcy Code.

              23.     “Claims Objection Deadline” means the date that is 180 days after the
 Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
 Bankruptcy Court upon a motion by the Claimant Trustee.




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               24.    “Claimant Trust” means the trust established for the benefit of the Claimant
 Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
 Claimant Trust Agreement.

              25.      “Claimant Trust Agreement” means the agreement Filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                 26.     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
 Assets (which are expressly excluded from this definition), all other Assets of the Estate, including,
 but not limited to, all Causes of Action, Available Cash, any proceeds realized or received from
 such Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
 from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
 or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
 (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
 that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
 Reorganized Debtor Assets.

                 27.    “Claimant Trust Beneficiaries” means the Holders of Allowed General
 Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
 Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
 following the Effective Date, and, only upon certification by the Claimant Trustee that the Holders
 of such Claims have been paid indefeasibly in full plus, to the extent all Allowed unsecured Claims,
 excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant
 Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of
 Allowed Class B/C Limited Partnership Interests, and Holders of Allowed Class A Limited
 Partnership Interests.

                  28.    “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
 officer and chief restructuring officer, or such other Person identified in the Plan Supplement who
 will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation Order,
 and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance with)
 the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among other things,
 monetizing the Estate’s investment assets, resolving Claims (other than those Claims assigned to
 the Litigation Sub-Trust for resolution), and, as the sole officer of New GP LLC, winding down
 the Reorganized Debtor’s business operations.

                29.     “Claimant Trust Expenses” means all reasonable legal and other reasonable
 professional fees, costs, and expenses incurred by the Trustees on account of administration of the
 Claimant Trust, including any reasonable administrative fees and expenses, reasonable attorneys’
 fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and other
 expenses.

               30.     “Claimant Trust Interests” means the non-transferable interests in the
 Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan; provided,
 however, Holders of Class A Limited Partnership Interests, Class B Limited Partnership Interests,
 and Class C Limited Partnership Interests will not be deemed to hold Claimant Trust Interests



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 unless and until the Contingent Claimant Trust Interests distributed to such Holders vest in
 accordance with the terms of this Plan and the Claimant Trust Agreement.

               31.      “Claimant Trust Oversight Committee” means the committee of five
 Persons established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s
 performance of its duties and otherwise serve the functions described in this Plan and the Claimant
 Trust Agreement.

               32.    “Class” means a category of Holders of Claims or Equity Interests as set
 forth in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                33.    “Class A Limited Partnership Interest” means the Class A Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by The Dugaboy
 Investment Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela
 Okada – Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                34.     “Class B Limited Partnership Interest” means the Class B Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

               35.     “Class B/C Limited Partnership Interests” means, collectively, the Class B
 Limited Partnership and Class C Limited Partnership Interests.

                36.     “Class C Limited Partnership Interest” means the Class C Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

                37.      “Committee” means the Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
 consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
 (iii) UBS, and (iv) Acis.

                38.    “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                39.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                40.     “Confirmation Order” means the order of the Bankruptcy Court confirming
 this Plan pursuant to section 1129 of the Bankruptcy Code.

               41.     “Convenience Claim” means any prepetition, liquidated, and unsecured
 Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
 any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
 doubt, the Reduced Employee Claims will be Convenience Claims.




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                 42.     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
 available upon the Effective Date for distribution to Holders of Convenience Claims under the
 Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all distributions
 on account of Convenience Claims have been made will be transferred to the Claimant Trust and
 administered as a Claimant Trust Asset.

                 43.    “Convenience Class Election” means the option provided to each Holder of
 a General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
 to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
 Claims.

                 44.      “Contingent Claimant Trust Interests” means the contingent Claimant Trust
 Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
 Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in accordance
 with this Plan, the rights of which shall not vest, and consequently convert to Claimant Trust
 Interests, unless and until the Claimant Trustee Files a certification that all holders of Allowed
 General Unsecured Claims have been paid indefeasibly in full, plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, all accrued and unpaid
 post-petition interest from the Petition Date at the Federal Judgment Rate and all Disputed Claims
 in Class 8 and Class 9 have been resolved. As set forth in the Claimant Trust Agreement, the
 Contingent Claimant Trust Interests distributed to the Holders of Class A Limited Partnership
 Interests will be subordinated to the Contingent Claimant Trust Interests distributed to the Holders
 of Class B/C Limited Partnership Interests.

               45.     “Debtor” means Highland Capital Management, L.P. in its capacity as
 debtor and debtor in possession in the Chapter 11 Case.

                 46.     “Delaware Bankruptcy Court” means the United States Bankruptcy Court
 for the District of Delaware.

                47.      “Disclosure Statement” means that certain Disclosure Statement for
 Debtor’s Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or
 modified from time to time, which describes this Plan, including all exhibits and schedules thereto
 and references therein that relate to this Plan.

                48.      “Disputed” means with respect to any Claim or Equity Interest, any Claim
 or Equity Interest that is not yet Allowed.

                49.    “Disputed Claims Reserve” means the appropriate reserve(s) or account(s)
 to be established on the Initial Distribution Date and maintained by the Claimant Trustee for
 distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

               50.     “Disputed Claims Reserve Amount” means, for purposes of determining the
 Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
 Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
 The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
 be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
 the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized


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 Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
 disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
 Court, including an order estimating the Disputed Claim.

               51.     “Distribution Agent” means the Claimant Trustee, or any party designated
 by the Claimant Trustee to serve as distribution agent under this Plan.

                 52.     “Distribution Date” means the date or dates determined by the Reorganized
 Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon which
 the Distribution Agent shall make distributions to holders of Allowed Claims and Interests entitled
 to receive distributions under the Plan.

                53.     “Distribution Record Date” means the date for determining which Holders
 of Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
 the Effective Date or such later date determined by the Bankruptcy Court.

                54.   “Effective Date” means the Business Day that this Plan becomes effective
 as provided in ARTICLE VIII hereof.

                55.     “Employees” means the employees of the Debtor set forth in the Plan
 Supplement.

                56.      “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
 Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
 Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
 voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
 James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion, objection,
 or other pleading in this Chapter 11 Case regardless of the capacity in which such Entity appeared
 and any other party in interest, (iv) any Related Entity, and (v) the Related Persons of each of the
 foregoing.

               57.    “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
 Code and also includes any Person or any other entity.

                 58.     “Equity Interest” means any Equity Security in the Debtor, including,
 without limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of
 stock or limited company interests, the Class A Limited Partnership Interests, the Class B Limited
 Partnership Interests, and the Class C Limited Partnership Interests.

               59.    “Equity Security” means an “equity security” as defined in section 101(16)
 of the Bankruptcy Code.

                60.    “Estate” means the bankruptcy estate of the Debtor created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

               61.     “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
 Final Term Sheet [D.I. 354].




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                 62.     “Exculpated Parties” means, collectively, (i) the Debtor and its successors
 and assigns, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee,
 (vi) the members of the Committee (in their official capacities), (vii) the Professionals retained by
 the Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related
 Persons of each of the parties listed in (iv) through (viii); provided, however, that, for the avoidance
 of doubt, none of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
 subsidiaries and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
 subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
 (and any of its subsidiaries, members, and managed entities), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
 subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
 Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
 term “Exculpated Party.”

                 63.    “Executory Contract” means a contract to which the Debtor is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                64.     “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement
 (as such exhibits are amended, modified or otherwise supplemented from time to time), which are
 incorporated by reference herein.

               65.     “Federal Judgment Rate” means the post-judgment interest rate set forth in
 28 U.S.C. § 1961 as of the Effective Date.

                 66.    “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Case.

                  67.     “Final Order” means an order or judgment of the Bankruptcy Court, which
 is in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
 new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
 or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
 any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
 waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or the
 Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
 been determined by the highest court to which such order was appealed, or certiorari, new trial,
 reargument or rehearing shall have been denied and the time to take any further appeal, petition
 for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
 however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
 or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
 not preclude such order from being a Final Order.

                68.     “Frontier Secured Claim” means the loan from Frontier State Bank to the
 Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended and
 Restated Loan Agreement, dated March 29, 2018.




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                69.     “General Partner Interest” means the Class A Limited Partnership Interest
 held by Strand, as the Debtor’s general partner.

                 70.    “General Unsecured Claim” means any prepetition Claim against the
 Debtor that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
 Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

               71.      “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

              72.    “GUC Election” means the option provided to each Holder of a
 Convenience Claim on their Ballot to elect to receive the treatment provided to General Unsecured
 Claims.

                73.    “Holder” means an Entity holding a Claim against, or Equity Interest in, the
 Debtor.

               74.    “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                75.    “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
 Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
 additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
 Effective Date.

               76.     “Initial Distribution Date” means, subject to the “Treatment” sections in
 ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
 Date, when distributions under this Plan shall commence to Holders of Allowed Claims and Equity
 Interests.

                 77.    “Insurance Policies” means all insurance policies maintained by the Debtor
 as of the Petition Date.

                78.     “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC,
 arising under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between
 the Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
 brokerage account created by such Prime Brokerage Customer Agreement.

                 79.     “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
 and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
 security interest or other encumbrance of any kind, or any other type of preferential arrangement
 that has the practical effect of creating a security interest, in respect of such asset.

              80.     “Limited Partnership Agreement” means that certain Fourth Amended and
 Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
 December 24, 2015, as amended.




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                81.     “Litigation Sub-Trust” means the sub-trust established within the Claimant
 Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
 in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
 Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
 Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

              82.     “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                 83.     “Litigation Trustee” means the trustee appointed by the Committee and
 reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
 settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
 conditions set forth in the Litigation Sub-Trust Agreement.

               84.     “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
 Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
 Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

               85.     “New Frontier Note” means that promissory note to be provided to the
 Allowed Holders of Class 2 Claims under this Plan and any other documents or security
 agreements securing the obligations thereunder.

              86.    “New GP LLC” means a limited liability company incorporated in the State
 of Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
 Reorganized Debtor on the Effective Date.

                87.    “New GP LLC Documents” means the charter, operating agreement, and
 other formational documents of New GP LLC.

                88.    “Ordinary Course Professionals Order” means that certain Order Pursuant
 to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 [D.I. 176].

                89.     “Other Unsecured Claim” means any Secured Claim other than the
 Jefferies Secured Claim and the Frontier Secured Claim.

                 90.    “Person” means a “person” as defined in section 101(41) of the Bankruptcy
 Code and also includes any natural person, individual, corporation, company, general or limited
 partnership, limited liability company, unincorporated organization firm, trust, estate, business
 trust, association, joint stock company, joint venture, government, governmental agency,
 Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
 whether acting in an individual, fiduciary or other capacity.

               91.      “Petition Date” means October 16, 2019.

               92.     “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
 Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,


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 and schedules thereto, either in its present form or as the same may be altered, amended, modified
 or otherwise supplemented from time to time.

               93.    “Plan Distribution” means the payment or distribution of consideration to
 Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                94.    “Plan Documents” means any of the documents, other than this Plan, but
 including, without limitation, the documents to be filed with the Plan Supplement, to be executed,
 delivered, assumed, or performed in connection with the occurrence of the Effective Date, and as
 may be modified consistent with the terms hereof with the consent of the Committee.

                 95.    “Plan Supplement” means the ancillary documents necessary for the
 implementation and effectuation of the Plan, including, without limitation, (i) the form of Claimant
 Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of Reorganized Limited
 Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable), (v) the identity of the
 initial members of the Claimant Trust Oversight Committee, (vi) the form of Litigation Sub-Trust
 Agreement; (vii) the schedule of retained Causes of Action; (viii) the New Frontier Note, (ix) the
 schedule of Employees; (x) the form of Senior Employee Stipulation,; and (xi) the schedule of
 Executory Contracts and Unexpired Leases to be assumed pursuant to this Plan, which, in each
 case, will be in form and substance reasonably acceptable to the Debtor and the Committee.

                96.     “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
 section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to priority
 under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
 Administrative Claim.

                97.     “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
 Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
 Equity Interests in such Class.

                98.     “Professional” means (a) any Entity employed in the Chapter 11 Case
 pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy Code.

                  99.    “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
 compensation for services rendered or reimbursement of costs, expenses or other charges incurred
 after the Petition Date and prior to and including the Effective Date.

               100. “Professional Fee Claims Bar Date” means with respect to Professional Fee
 Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
 approved by order of the Bankruptcy Court.

               101. “Professional Fee Claims Objection Deadline” means, with respect to any
 Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
 payment of such Professional Fee Claim.



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                102. “Professional Fee Reserve” means the reserve established and funded by
 the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid Allowed
 Professional Fee Claims.

                103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
 against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

                 105. “Protected Parties” means, collectively, (i) the Debtor and its successors
 and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
 Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
 Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
 members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
 LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
 (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through (xv);
 provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
 NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
 Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
 entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
 entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain Investment
 Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
 the trust), or Grant Scott is included in the term “Protected Party.”

                106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
 employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
 507(a)(4) of the Bankruptcy Code.

                107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                  108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
 leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
 of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
 notwithstanding any contractual provision or applicable law that entitles the Holder of such Claim
 or Equity Interest to demand or receive accelerated payment of such Claim or Equity Interest after
 the occurrence of a default: (i) curing any such default that occurred before or after the Petition
 Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a
 kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be cured; (ii)
 reinstating the maturity of such Claim or Equity Interest as such maturity existed before such
 default; (iii) compensating the Holder of such Claim or Equity Interest for any damages incurred
 as a result of any reasonable reliance by such Holder on such contractual provision or such
 applicable law; (iv) if such Claim or Equity Interest arises from any failure to perform a
 nonmonetary obligation, other than a default arising from failure to operate a non-residential real
 property lease subject to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder



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 of such Claim or Equity Interest (other than any Debtor or an insider of any Debtor) for any actual
 pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
 the legal, equitable, or contractual rights to which such Claim entitles the Holder of such Claim.

                 109. “Rejection Claim” means any Claim for monetary damages as a result of
 the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                  110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
 (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
 was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
 Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
 insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
 Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including, without
 limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust and any of
 its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of its direct or
 indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on the Related
 Entity List.

                111.    “Related Entity List” means that list of Entities filed with the Plan
 Supplement.

                112. “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
 respective present, future, or former officers, directors, employees, managers, managing members,
 members, financial advisors, attorneys, accountants, investment bankers, consultants,
 professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
 companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
 Strand (solely from the date of the appointment of the Independent Directors through the Effective
 Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in their official
 capacities), (vi) the Professionals retained by the Debtor and the Committee in the Chapter 11
 Case; and (vii) the Employees.

                114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
 Plan on and after the Effective Date.

                 115. “Reorganized Debtor Assets” means any limited and general partnership
 interests held by the Debtor, the management of the Managed Funds and those Causes of Action
 (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
 capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
 Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
 but does not include the underlying portfolio assets held by the Managed Funds.

                116. “Reorganized Limited Partnership Agreement” means that certain Fifth
 Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.,
 by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner, Filed
 with the Plan Supplement.


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                117. “Restructuring” means the restructuring of the Debtor, the principal terms
 of which are set forth in this Plan and the Disclosure Statement.

                118. “Retained Employee Claim” means any Claim filed by a current employee
 of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                119. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
 property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
 enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject
 to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s
 interest in the interest of the Debtor’s Estate in such property or to the extent of the amount subject
 to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or (b)
 Allowed pursuant to the Plan as a Secured Claim.

               121. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

              122.      “Senior Employees” means the senior employees of the Debtor Filed in the
 Plan Supplement.

              123. “Senior Employee Stipulation” means the agreements filed in the Plan
 Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and owner-
 builder sales), privilege taxes (including, without limitation, privilege taxes on construction
 contracting with regard to speculative builders and owner builders), and other similar taxes
 imposed or assessed by any Governmental Unit.

                125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
 service or sub-service the Reorganized Debtor Assets.

                128. “Sub-Servicer Agreement” means the agreement that may be entered into
 providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                129. “Subordinated Claim” means any Claim that is subordinated to the
 Convenience Claims and General Unsecured Claims pursuant to an order entered by the
 Bankruptcy Court (including any other court having jurisdiction over the Chapter 11 Case) after
 notice and a hearing.



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                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust Interests
 to be distributed to Holders of Allowed Subordinated Claims under the Plan, which such interests
 shall be subordinated in right and priority to the Claimant Trust Interests distributed to Holders of
 Allowed General Unsecured Claims as provided in the Claimant Trust Agreement.

               131. “Trust Distribution” means the transfer of Cash or other property by the
 Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
 Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
 Branch.

                134. “Unexpired Lease” means a lease to which the Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                136. “Voting Deadline” means the date and time by which all Ballots to accept
 or reject the Plan must be received in order to be counted under the under the Order of the
 Bankruptcy Court approving the Disclosure Statement as containing adequate information
 pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
 acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

 A.     Administrative Expense Claims

         On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional Fee
 Claims) will receive, in full satisfaction, settlement, discharge and release of, and in exchange for,
 such Allowed Administrative Expense Claim either (i) payment in full in Available Cash for the
 unpaid portion of such Allowed Administrative Expense Claim; or (ii) such other less favorable
 treatment as agreed to in writing by the Debtor or the Reorganized Debtor, as applicable, and such
 Holder; provided, however, that Administrative Expense Claims incurred by the Debtor in the
 ordinary course of business may be paid in the ordinary course of business in the discretion of the
 Debtor in accordance with such applicable terms and conditions relating thereto without further
 notice to or order of the Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a)
 shall be paid as such fees become due.

        If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
 the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File, on


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 or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
 Reorganized Debtor, as applicable, and such other Entities who are designated by the Bankruptcy
 Rules, the Confirmation Order or other order of the Bankruptcy Court, an application for allowance
 and payment of such Administrative Expense Claim.

         Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
 must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
 asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
 Deadline.

 B.     Professional Fee Claims

         Professionals or other Entities asserting a Professional Fee Claim for services rendered
 through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
 503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
 granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in full
 to the extent provided in such order.

         Professionals or other Entities asserting a Professional Fee Claim for services rendered on
 or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
 serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
 designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
 order of the Bankruptcy Court, an application for final allowance of such Professional Fee Claim.

         Objections to any Professional Fee Claim must be Filed and served on the Debtor or
 Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
 Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
 will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
 Days of entry of the order approving such Allowed Professional Fee Claim.

         On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
 The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
 Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant Trust
 shall fund the Professional Fee Reserve on the Effective Date in an estimated amount determined
 by the Debtor in good faith prior to the Confirmation Date and that approximates the total projected
 amount of unpaid Professional Fee Claims on the Effective Date. Following the payment of all
 Allowed Professional Fee Claims, any excess funds in the Professional Fee Reserve shall be
 released to the Claimant Trust to be used for other purposes consistent with the Plan and the
 Claimant Trust Agreement.

 C.     Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
 an amount of a total value as of the Effective Date of the Plan equal to the amount of such Allowed


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 Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code, or (b) if
 paid over time, payment of such Allowed Priority Tax Claim in accordance with section
 1129(a)(9)(C) of the Bankruptcy Code; or (c) such other less favorable treatment as agreed to in
 writing by the Debtor and such Holder. Payment of statutory fees due pursuant to 28 U.S.C. §
 1930(a)(6) will be made at all appropriate times until the entry of a final decree; provided, however,
 that the Debtor may prepay any or all such Claims at any time, without premium or penalty.

                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                        CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
 classified.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, confirmation and distribution pursuant to
 the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
 a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim or
 Equity Interest qualifies within the description of that Class and will be deemed classified in a
 different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
 the description of such different Class. A Claim or Equity Interest is in a particular Class only to
 the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
 released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the Effective
 Date.

 B.       Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class     Claim                                             Status          Voting Rights
  1         Jefferies Secured Claim                           Unimpaired      Deemed to Accept
  2         Frontier Secured Claim                            Impaired        Entitled to Vote
  3         Other Secured Claims                              Unimpaired      Deemed to Accept
  4         Priority Non-Tax Claim                            Unimpaired      Deemed to Accept
  5         Retained Employee Claim                           Unimpaired      Deemed to Accept
  6         PTO Claims                                        Unimpaired      Deemed to Accept
  7         Convenience Claims                                Impaired        Entitled to Vote
  8         General Unsecured Claims                          Impaired        Entitled to Vote
  9         Subordinated Claims                               Impaired        Entitled to Vote
  10        Class B/C Limited Partnership Interests           Impaired        Entitled to Vote
  11        Class A Limited Partnership Interests             Impaired        Entitled to Vote




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 C.     Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
 voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
 satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.     Impaired/Voting Classes

        Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
 Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
 accept or reject the Plan.

 E.     Unimpaired/Non-Voting Classes

        Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
 Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

 F.     Impaired/Non-Voting Classes

        There are no Classes under the Plan that will not receive or retain any property and no
 Classes are deemed to reject the Plan.

 G.     Cramdown

         If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
 accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
 Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
 Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
 class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
 hearing, determine such controversy on or before the Confirmation Date.

 H.     Classification and Treatment of Claims and Equity Interests

        1.      Class 1 – Jefferies Secured Claim

                •       Classification: Class 1 consists of the Jefferies Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective Date,
                        each Holder of an Allowed Class 1 Claim will receive in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Allowed
                        Class 1 Claim, at the election of the Debtor: (A) Cash equal to the amount
                        of such Allowed Class 1 Claim; (B) such other less favorable treatment as
                        to which the Debtor and the Holder of such Allowed Class 1 Claim will
                        have agreed upon in writing; or (C) such other treatment rendering such
                        Claim Unimpaired. Each Holder of an Allowed Class 1 Claim will retain
                        the Liens securing its Allowed Class 1 Claim as of the Effective Date until



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                    full and final payment of such Allowed Class 1 Claim is made as provided
                    herein.

             •      Impairment and Voting: Class 1 is Unimpaired, and the Holders of Class 1
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 1
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       2.    Class 2 – Frontier Secured Claim

             •      Classification: Class 2 consists of the Frontier Secured Claim.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 2 Claim will receive in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Allowed
                    Class 2 Claim: (A) Cash in an amount equal to all accrued but unpaid
                    interest on the Frontier Claim through and including the Effective Date and
                    (B) the New Frontier Note. The Holder of an Allowed Class 2 Claim will
                    retain the Liens securing its Allowed Class 2 Claim as of the Effective Date
                    until full and final payment of such Allowed Class 2 Claim is made as
                    provided herein.

             •      Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                    Claims are entitled to vote to accept or reject this Plan.

       3.    Class 3 – Other Secured Claims

             •      Classification: Class 3 consists of the Other Secured Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 3 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 3 Claim becomes an
                    Allowed Class 3 Claim, each Holder of an Allowed Class 3 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 3 Claim, at the option of the Debtor, or
                    following the Effective Date, the Reorganized Debtor or Claimant Trustee,
                    as applicable, (i) Cash equal to such Allowed Other Secured Claim, (ii) the
                    collateral securing its Allowed Other Secured Claim, plus postpetition
                    interest to the extent required under Bankruptcy Code Section 506(b), or
                    (iii) such other treatment rendering such Claim Unimpaired.

             •      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class 3
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.



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       4.    Class 4 – Priority Non-Tax Claims

             •      Classification: Class 4 consists of the Priority Non-Tax Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 4 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 4 Claim becomes an
                    Allowed Class 4 Claim, each Holder of an Allowed Class 4 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 4 Claim Cash equal to the amount of such
                    Allowed Class 4 Claim.

             •      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class 4
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       5.    Class 5 – Retained Employee Claims

             •      Classification: Class 5 consists of the Retained Employee Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    Effective Date, each Allowed Class 5 Claim will be Reinstated.

             •      Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class 5
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       6.    Class 6 – PTO Claims

             •      Classification: Class 6 consists of the PTO Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 6 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 6 Claim becomes an
                    Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 6 Claim Cash equal to the amount of such
                    Allowed Class 6 Claim.

             •      Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class 6
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6




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                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       7.    Class 7 – Convenience Claims

             •      Classification: Class 7 consists of the Convenience Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 7 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 7 Claim becomes an
                    Allowed Class 7 Claim, each Holder of an Allowed Class 7 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Class 7 Claim (1) the treatment provided to
                    Allowed Holders of Class 8 General Unsecured Claims if the Holder of such
                    Class 7 Claim makes the GUC Election or (2) an amount in Cash equal to
                    the lesser of (a) 85% of the Allowed amount of such Holder’s Class 7 Claim
                    or (b) such Holder’s Pro Rata share of the Convenience Claims Cash Pool.

             •      Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                    Claims are entitled to vote to accept or reject this Plan.

       8.    Class 8 – General Unsecured Claims

             •      Classification: Class 8 consists of the General Unsecured Claims.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 8 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Claimant Trust Interests, (ii) such other less
                    favorable treatment as to which such Holder and the Claimant Trustee shall
                    have agreed upon in writing, or (iii) the treatment provided to Allowed
                    Holders of Class 7 Convenience Claims if the Holder of such Class 8
                    General Unsecured Claim is eligible and makes a valid Convenience Class
                    Election.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any General Unsecured Claim, except with
                    respect to any General Unsecured Claim Allowed by Final Order of the
                    Bankruptcy Court.

             •      Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                    Claims are entitled to vote to accept or reject this Plan.




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       9.    Class 9 – Subordinated Claims

             •      Classification: Class 9 consists of the Subordinated Claims.

                    Treatment: On the Effective Date, Holders of Subordinated Claims shall
                    receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                    Interests or, (ii) such other less favorable treatment as to which such Holder
                    and the Claimant Trustee may agree upon in writing.


                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Subordinated Claim, except with respect to
                    any Subordinated Claim Allowed by Final Order of the Bankruptcy Court.

             •      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                    Claims are entitled to vote to accept or reject this Plan.

       10.   Class 10 – Class B/C Limited Partnership Interests

             •      Classification: Class 10 consists of the Class B/C Limited Partnership
                    Interests.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 10 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                    other less favorable treatment as to which such Holder and the Claimant
                    Trustee shall have agreed upon in writing.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Class B/C Limited Partnership Interest
                    Claim, except with respect to any Class B/C Limited Partnership Interest
                    Claim Allowed by Final Order of the Bankruptcy Court.

             •      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                    Claims are entitled to vote to accept or reject this Plan.

       11.   Class 11 – Class A Limited Partnership Interests

             •      Classification:   Class 11 consists of the Class A Limited Partnership
                    Interests.



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                •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                       each Holder of an Allowed Class 11 Claim, in full satisfaction, settlement,
                       discharge and release of, and in exchange for, such Claim shall receive (i)
                       its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                       other less favorable treatment as to which such Holder and the Claimant
                       Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Class A Limited Partnership Interest, except
                       with respect to any Class A Limited Partnership Interest Allowed by Final
                       Order of the Bankruptcy Court.

                •      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                       Claims are entitled to vote to accept or reject this Plan.

 I.     Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

 J.     Subordinated Claims

        The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Upon written notice and hearing, the Debtor the Reorganized
 Debtor, and the Claimant Trustee reserve the right to seek entry of an order by the Bankruptcy
 Court to re-classify or to subordinate any Claim in accordance with any contractual, legal, or
 equitable subordination relating thereto, and the treatment afforded any Claim under the Plan that
 becomes a subordinated Claim at any time shall be modified to reflect such subordination.

                                   ARTICLE IV.
                       MEANS FOR IMPLEMENTATION OF THIS PLAN

 A.     Summary

       As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
 Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

         On the Effective Date, all Class A Limited Partnership Interests, including the Class A
 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
 Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in the
 Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-chartered
 limited liability company wholly-owned by the Claimant Trust. The Claimant Trust, as limited


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 partner, will ratify New GP LLC’s appointment as general partner of the Reorganized Debtor, and
 on and following the Effective Date, the Claimant Trust will be the Reorganized Debtor’s limited
 partner and New GP LLC will be its general partner. The Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement,
 which will amend and restate, in all respects, the Debtor’s current Limited Partnership Agreement.
 Following the Effective Date, the Reorganized Debtor will be managed consistent with the terms
 of the Reorganized Limited Partnership Agreement by New GP LLC. The sole managing member
 of New GP LLC will be the Claimant Trust, and the Claimant Trustee will be the sole officer of
 New GP LLC on the Effective Date.

          Following the Effective Date, the Claimant Trust will administer the Claimant Trust Assets
 pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will pursue, if
 applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust Agreement and the
 Plan. The Reorganized Debtor will administer the Reorganized Debtor Assets and, if needed, with
 the utilization of a Sub-Servicer, which administration will include, among other things, managing
 the wind down of the Managed Funds.

         Although the Reorganized Debtor will manage the wind down of the Managed Funds, it is
 currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume or
 assume and assign the contracts between the Debtor and certain Related Entities pursuant to which
 the Debtor provides shared services and sub-advisory services to those Related Entities. The
 Debtor believes that the continued provision of the services under such contracts will not be cost
 effective.

         The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
 Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
 with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds of
 the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as set
 forth in this Plan and the Claimant Trust Agreement.

 B.      The Claimant Trust 2

         1.       Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
 Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
 the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
 Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
 transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its rights,
 title, and interest in and to all of the Claimant Trust Assets, and in accordance with section 1141
 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant Trust
 free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant Trust
 Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust Agreement, and


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  In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and the
 Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust Agreement,
 as applicable, shall control.



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 such transfer shall be exempt from any stamp, real estate transfer, mortgage from any stamp,
 transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets, excluding
 the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect to the Estate
 Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
 the representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy
 Code with respect to the Claimant Trust Assets. The Claimant Trustee shall also be responsible
 for resolving all Claims and Equity Interests in Class 8 through Class 11, under the supervision of
 the Claimant Trust Oversight Committee.

         On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
 Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
 Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably transfer
 and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be governed
 by the Claimant Trust Agreement and administered by the Claimant Trustee. The powers, rights,
 and responsibilities of the Claimant Trustee shall be specified in the Claimant Trust Agreement
 and shall include the authority and responsibility to, among other things, take the actions set forth
 in this ARTICLE IV, subject to any required reporting to the Claimant Trust Oversight Committee
 as may be set forth in the Claimant Trust Agreement. The Claimant Trust shall hold and distribute
 the Claimant Trust Assets (including the proceeds from the Estate Claims, if any) in accordance
 with the provisions of the Plan and the Claimant Trust Agreement; provided that the Claimant
 Trust Oversight Committee may direct the Claimant Trust to reserve Cash from distributions as
 necessary to fund the Claimant Trust and Litigation Sub-Trust. Other rights and duties of the
 Claimant Trustee and the Claimant Trust Beneficiaries shall be as set forth in the Claimant Trust
 Agreement. After the Effective Date, neither the Debtor nor the Reorganized Debtor shall have
 any interest in the Claimant Trust Assets.

         The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
 administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
 Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
 and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
 to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The Litigation
 Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in accordance
 with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall distribute the
 proceeds therefrom to the Claimant Trust for distribution. Other rights and duties of the Litigation
 Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

        2.      Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
 Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
 Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be overseen
 by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust Agreement
 and the Litigation Sub-Trust Agreement, as applicable.




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         The Claimant Trust Oversight Committee will initially consist of five members. Four of
 the five members will be representatives of the members of the Committee: (i) the Redeemer
 Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The fifth
 member will be an independent, natural Person chosen by the Committee and reasonably
 acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
 replaced as set forth in the Claimant Trust Agreement. The identity of the members of the Claimant
 Trust Oversight Committee will be disclosed in the Plan Supplement.

        As set forth in the Claimant Trust Agreement, in no event will any member of the Claimant
 Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine, or otherwise
 be involved in any matters related to such member’s Claim.

         The independent member(s) of the Claimant Trust Oversight Committee may be entitled
 to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
 the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
 set forth in the Claimant Trust Agreement.

        3.      Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
 the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the oversight
 of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and holding the
 limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole member and
 manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its capacity as the sole
 member and manager of New GP LLC, overseeing the management and monetization of the
 Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited Partnership
 Agreement; and (v) administering the Disputed Claims Reserve and serving as Distribution Agent
 with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile and
 object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited Partnership
 Interests, and Class A Limited Partnership Interests, as provided for in this Plan and the Claimant
 Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries in accordance
 with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage in the
 conduct of a trade or business.

        The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

        4.      Purpose of the Litigation Sub-Trust.

         The Litigation Sub-Trust shall be established for the purpose of investigating, prosecuting,
 settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be distributed by
 the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries
 pursuant to the terms of the Claimant Trust Agreement.

        5.      Claimant Trust Agreement and Litigation Sub-Trust Agreement.

        The Claimant Trust Agreement generally will provide for, among other things:


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            (i)     the payment of the Claimant Trust Expenses;

            (ii)    the payment of other reasonable expenses of the Claimant Trust;

            (iii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation;

            (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
 including those specified in the Plan;

            (v)     the orderly monetization of the Claimant Trust Assets;

            (vi)    litigation of any Causes of Action, which may include the prosecution,
 settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
 oversight by the Claimant Trust Oversight Committee;

             (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
 subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be made
 therefrom; and

            (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
 Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
 be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust Agreement.
 The Claimant Trustee may establish a reserve for the payment of Claimant Trust Expense
 (including, without limitation, any reserve for potential indemnification claims as authorized and
 provided under the Claimant Trust Agreement), and shall periodically replenish such reserve, as
 necessary.

         In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
 Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
 Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
 Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
 to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
 (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
 objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
 without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
 Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
 the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
 resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
 of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
 other things:

            (i)     the payment of other reasonable expenses of the Litigation Sub-Trust;




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            (ii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation; and

            (iii) the investigation and prosecution of Estate Claims, which may include the
 prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to reporting
 and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable, may
 each employ, without further order of the Bankruptcy Court, employees and other professionals
 (including those previously retained by the Debtor and the Committee) to assist in carrying out the
 Trustees’ duties hereunder and may compensate and reimburse the reasonable expenses of these
 professionals without further Order of the Bankruptcy Court from the Claimant Trust Assets in
 accordance with the Plan and the Claimant Trust Agreement.

         The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
 reasonable and customary provisions that allow for indemnification by the Claimant Trust in favor
 of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee. Any
 such indemnification shall be the sole responsibility of the Claimant Trust and payable solely from
 the Claimant Trust Assets.

        6.      Compensation and Duties of Trustees.

       The salient terms of each Trustee’s employment, including such Trustee’s duties and
 compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
 Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
 amount consistent with that of similar functionaries in similar types of bankruptcy cases.

        7.      Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
 of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
 Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
 and Reorganized Debtor’s documents, information, and work product relating to the Claimant
 Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall reasonably
 cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their prosecution of
 Causes of Action and in providing the Claimant Trustee and Litigation Trustee with copies of
 documents and information in the Debtor’s possession, custody, or control on the Effective Date
 that either Trustee indicates relates to the Estate Claims or other Causes of Action.

          The Debtor and Reorganized Debtor shall preserve all records, documents or work product
 (including all electronic records, documents, or work product) related to the Claims and Causes of
 Action, including Estate Claims, until the earlier of (a) the dissolution of the Reorganized Debtor
 or (b) termination of the Claimant Trust and Litigation Sub-Trust.

        8.      United States Federal Income Tax Treatment of the Claimant Trust.

         Unless the IRS requires otherwise, for all United States federal income tax purposes, the
 parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a transfer


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 of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims Reserve, if
 the Claimant Trustee makes the election described in Section 7 below) directly to the applicable
 Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust Beneficiaries
 to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant Trust Interests.
 Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for United States federal
 income tax purposes as the grantors and owners of their respective share of the Claimant Trust
 Assets. The foregoing treatment shall also apply, to the extent permitted by applicable law, for
 state and local income tax purposes.

        9.      Tax Reporting.

         (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
 Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
 may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
 Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal income
 tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

         (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
 Assets, of any taxes imposed on the Claimant Trust or its assets.

         (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
 as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
 and such valuation shall be used consistently for all federal income tax purposes.

        (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
 Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

        10.     Claimant Trust Assets.

         The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
 institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
 Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without any
 further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive right, on
 behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust Assets,
 except as otherwise provided in this Plan or in the Claimant Trust Agreement, without any further
 order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the Litigation
 Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon, settle,
 compromise, release, or withdraw any and all Estate Claims included in the Claimant Trust Assets
 without any further order of the Bankruptcy Court.

         From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3) and
 (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
 representative of the Estate with respect to any and all Claimant Trust Assets, including the Causes
 of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a) commence,
 pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action in any court
 or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust Assets.




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        11.     Claimant Trust Expenses.

        From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
 business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
 professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
 professionals retained by such parties and entities from the Claimant Trust Assets, except as
 otherwise provided in the Claimant Trust Agreement.

        12.     Trust Distributions to Claimant Trust Beneficiaries.

        The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant Trust
 Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof, provided that
 such Trust Distributions or use is otherwise permitted under the terms of the Plan, the Claimant
 Trust Agreement, and applicable law.

        13.     Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
 invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
 the terms of the Claimant Trust Agreement; provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treasury
 Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings
 or other controlling authorities.

        14.     Dissolution of the Claimant Trust and Litigation Sub-Trust.

         The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
 dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the pursuit
 of Estate Claims is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of Action (other
 than Estate Claims) is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Causes of Action, (c) the Clamant Trustee determines that the pursuit of sales of other
 Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify further pursuit
 of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and Equity Interests
 are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all Distributions required to be
 made by the Claimant Trustee to the Claimant Trust Beneficiaries under the Plan have been made,
 but in no event shall the Claimant Trust be dissolved later than three years from the Effective Date
 unless the Bankruptcy Court, upon motion made within the six-month period before such third
 anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon motion
 made at least six months before the end of the preceding extension), determines that a fixed period
 extension (not to exceed two years, together with any prior extensions, without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes) is necessary to facilitate or complete the recovery on, and liquidation of, the Claimant
 Trust Assets; provided, however, that each extension must be approved, upon a finding that the
 extension is necessary to facilitate or complete the recovery on, and liquidation of the Claimant
 Trust Assets, by the Bankruptcy Court within 6 months of the beginning of the extended term and



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 no extension, together with any prior extensions, shall exceed three years without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
 any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
 will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders
 of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

 C.     The Reorganized Debtor

        1.      Corporate Existence

        The Debtor will continue to exist after the Effective Date, with all of the powers of
 partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
 Limited Partnership Agreement.

        2.      Cancellation of Equity Interests and Release

         On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
 Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
 canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of, or
 based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
 obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s formation
 documents, including the Limited Partnership Agreement.

        3.      Issuance of New Partnership Interests

        On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue new
 Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii) New
 GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of the
 Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor. The
 Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner of
 the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement
 and receive partnership interests in the Reorganized Debtor consistent with the terms of the
 Reorganized Limited Partnership Agreement.

         The Reorganized Limited Partnership Agreement does not provide for, and specifically
 disclaims, the indemnification obligations under the Limited Partnership Agreement, including
 any such indemnification obligations that accrued or arose or could have been brought prior to the
 Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
 accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
 Claims resolution process provided that a Claim is properly filed in accordance with the
 Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
 the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
 indemnification Claims.


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        4.      Management of the Reorganized Debtor

          Subject to and consistent with the terms of the Reorganized Limited Partnership
 Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
 initial officers and employees of the Reorganized Debtor shall be selected by the Claimant Trustee.
 The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to or in lieu
 of the retention of officers and employees.

         As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will receive
 a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited liability
 company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New GP LLC
 (and any taxable income attributable to it) will be subject to corporate income taxation on a
 standalone basis, which may reduce the return to Claimants.

        5.      Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in this Plan or the Confirmation Order, on or after the
 Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
 of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the Bankruptcy
 Code except with respect to such Liens, Claims, charges and other encumbrances that are
 specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
 for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
 the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to the
 Reorganized Debtor Assets.

        6.      Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
 Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall include,
 for the avoidance of doubt, serving as the investment manager of the Managed Funds) and may
 use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any Claims
 with respect to the Reorganized Debtor Assets without supervision or approval by the Bankruptcy
 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The Reorganized
 Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

         Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
 after the Effective Date for Professionals’ fees, disbursements, expenses or related support services
 (including reasonable fees relating to the preparation of Professional fee applications) in the
 ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

        7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                Reorganized Debtor Assets

         Any proceeds received by the Reorganized Debtor will be distributed to the Claimant Trust,
 as limited partner, and New GP LLC, as general partner, in the manner set forth in the Reorganized
 Limited Partnership Agreement. As set forth in the Reorganized Limited Partnership Agreement,


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 the Reorganized Debtor may, from time to time distribute Reorganized Debtor Assets to the
 Claimant Trust either in Cash or in-kind, including to institute the wind-down and dissolution of
 the Reorganized Debtor. Any assets distributed to the Claimant Trust will be (i) deemed
 transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant Trust Assets, and
 (iii) administered as Claimant Trust Assets.

 D.      Company Action

         Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take any
 and all actions to execute, deliver, File or record such contracts, instruments, releases and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate
 and implement the provisions of this Plan, the Claimant Trust Agreement, the Reorganized Limited
 Partnership Agreement, or the New GP LLC Documents, as applicable, in the name of and on
 behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable, and in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by the security holders, officers, or directors of the Debtor or the Reorganized
 Debtor, as applicable, or by any other Person.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to this Plan that would otherwise require approval of the stockholders, partners, directors,
 managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
 the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
 after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
 of further action by the stockholders, partners, directors, managers or members of such Persons,
 or the need for any approvals, authorizations, actions or consents of any Person.

         All matters provided for in this Plan involving the legal or corporate structure of the Debtor,
 the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate action
 required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in connection
 with this Plan, will be deemed to have occurred and will be in full force and effect in all respects,
 in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, partners, directors, managers, or members of the
 Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person. On
 the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
 applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
 transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
 consents, securities, certificates, resolutions and instruments contemplated by or described in this
 Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
 Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
 Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing actions.




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 E.     Release of Liens, Claims and Equity Interests

         Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, from and after the
 Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
 Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estate will be fully released, terminated, extinguished and discharged, in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any Entity
 holding such Liens or Equity Interests extinguished pursuant to the prior sentence will, pursuant
 to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor, the
 Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
 release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
 Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
 doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

 F.     Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under this Plan and except as
 otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities and
 other documents evidencing any prepetition Claim or Equity Interest and any rights of any Holder
 in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The holders of
 or parties to such cancelled instruments, Securities, and other documentation will have no rights
 arising from or related to such instruments, Securities, or other documentation or the cancellation
 thereof, except the rights provided for pursuant to this Plan, and the obligations of the Debtor
 thereunder or in any way related thereto will be fully released, terminated, extinguished and
 discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. For the avoidance of doubt, this section is in addition to,
 and shall not be read to limit in any respects, ARTICLE IV.C.2.

 G.     Cancellation of Existing Instruments Governing Security Interests

         Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
 promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver to
 the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or other
 property of the Debtor held by such Holder, together with any termination statements, instruments
 of satisfaction, or releases of all security interests with respect to its Allowed Class 1 or Allowed
 Class 2 Claim that may be reasonably required to terminate any related financing statements,
 mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

 H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the Claimant
 Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
 Partnership Agreement, this Plan shall control.




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 I.     Treatment of Vacant Classes

        Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
 Plan shall receive no Plan Distributions.

 J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any documents
 filed with the Plan Supplement, and any amendments, restatements, supplements, or other
 modifications to such documents, and any consents, waivers, or other deviations under or from
 any such documents, shall be incorporated herein by this reference (including to the applicable
 definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

         The Debtor and the Committee are currently working to finalize the forms of certain of the
 Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
 Committee cannot agree as to the form and content of such Plan Documents, they intend to submit
 the issue to non-binding mediation pursuant to the Order Directing Mediation entered on August
 3, 2020 [D.I. 912].

 K.     Highland Capital Management, L.P. Retirement Plan and Trust

         The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
 single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
 Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
 the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
 members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
 1301(a)(13), (14) with respect to the Pension Plan.

        Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
 Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
 Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
 standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
 premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan in
 accordance with its terms and the provisions of ERISA and the IRC. In the event that the Pension
 Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that the
 Reorganized Debtor and each of its controlled group members will be responsible for the liabilities
 imposed by Title IV of ERISA.

         Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
 Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order, or
 the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
 Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
 responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
 regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
 enforcing such liability or responsibility against any person or entity as a result of any of the
 provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves the
 right to contest any such liability or responsibility.



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                             ARTICLE V.
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired Leases

         Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or rejected
 by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously expired or
 terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the subject of a
 motion to assume filed by the Debtor on or before the Confirmation Date; (iv) contains a change
 of control or similar provision that would be triggered by the Chapter 11 Case (unless such
 provision has been irrevocably waived); or (v) is specifically designated as a contract or lease to
 be assumed in the Plan or the Plan Supplement, on the Confirmation Date, each Executory Contract
 and Unexpired Lease shall be deemed rejected pursuant to section 365 of the Bankruptcy Code,
 without the need for any further notice to or action, order, or approval of the Bankruptcy Court,
 unless such Executory Contract or Unexpired Lease is listed in the Plan Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
 Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
 or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as determined
 by the Debtor in consultation with the Committee, or the Reorganized Debtor, as applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
 above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
 provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
 Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
 restatements, or other agreements related thereto, and all rights related thereto. Modifications,
 amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
 Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed to
 alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority,
 or amount of any Claims that may arise in connection therewith. To the extent applicable, no
 change of control (or similar provision) will be deemed to occur under any such Executory
 Contract or Unexpired Lease.

         If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
 Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that such
 counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed pursuant to
 the Plan are severable agreements that are not integrated with those Executory Contracts and/or
 Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking to contest this
 finding with respect to their Executory Contracts and/or Unexpired Leases must file a timely
 objection to the Plan on the grounds that their agreements are integrated and not severable, and
 any such dispute shall be resolved by the Bankruptcy Court at the Confirmation Hearing (to the
 extent not resolved by the parties prior to the Confirmation Hearing).

         Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
 certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
 headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
 accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),



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 as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
 Unexpired Nonresidential Real Property Lease [Docket No. 1122].

 B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
 Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
 asserting a Rejection Claim shall File a proof of claim within thirty days of the Confirmation Date.
 Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
 and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
 objection to any Rejection Claim.

        Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
 accordance with ARTICLE III of this Plan.

 C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
        Leases

        Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
 Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the default
 amount in Cash as and when due in the ordinary course or on such other terms as the parties to
 such Executory Contracts may otherwise agree. The Debtor may serve a notice on the Committee
 and parties to Executory Contracts or Unexpired Leases to be assumed or assigned reflecting the
 Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory Contract or
 Unexpired Lease in connection with this Plan and setting forth the proposed cure amount (if any).

        If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
 the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
 assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
 Code will be made following the entry of a Final Order or orders resolving the dispute and
 approving the assumption or assignment.

         Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE V.C
 shall result in the full release and satisfaction of any cure amounts, Claims, or defaults, whether
 monetary or nonmonetary, including defaults of provisions restricting the change in control or
 ownership interest composition or other bankruptcy-related defaults, arising under any assumed or
 assigned Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts or
 Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including pursuant
 to the Confirmation Order, and for which any cure amounts have been fully paid pursuant to this
 ARTICLE V.C, shall be deemed disallowed and expunged as of the Confirmation Date without
 the need for any objection thereto or any further notice to or action, order, or approval of the
 Bankruptcy Court.



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                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
 Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity Interest,
 or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Equity
 Interest against the Debtor shall receive the full amount of the distributions that this Plan provides
 for Allowed Claims or Allowed Equity Interests in the applicable Class and in the manner provided
 herein. If any payment or act under this Plan is required to be made or performed on a date that is
 not on a Business Day, then the making of such payment or the performance of such act may be
 completed on the next succeeding Business Day, but shall be deemed to have been completed as
 of the required date. If and to the extent there are Disputed Claims or Equity Interests, distributions
 on account of any such Disputed Claims or Equity Interests shall be made pursuant to the
 provisions provided in this Plan. Except as otherwise provided in this Plan, Holders of Claims and
 Equity Interests shall not be entitled to interest, dividends or accruals on the distributions provided
 for therein, regardless of whether distributions are delivered on or at any time after the Effective
 Date.

         Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be deemed
 fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor, or the
 Claimant Trust will have liability on account of any Claims or Equity Interests except as set forth
 in this Plan and in the Confirmation Order. All payments and all distributions made by the
 Distribution Agent under this Plan shall be in full and final satisfaction, settlement and release of
 all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

         At the close of business on the Distribution Record Date, the transfer ledgers for the Claims
 against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall be no
 further changes in the record holders of such Claims and Equity Interests. The Debtor, the
 Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective agents,
 successors, and assigns shall have no obligation to recognize the transfer of any Claims against the
 Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date and shall be
 entitled instead to recognize and deal for all purposes hereunder with only those record holders
 stated on the transfer ledgers as of the close of business on the Distribution Record Date
 irrespective of the number of distributions to be made under this Plan to such Persons or the date
 of such distributions.

 B.     Distribution Agent

        Except as provided herein, all distributions under this Plan shall be made by the Claimant
 Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
 Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
 Distribution Agent with respect to Claims in Class 1 through Class 7.




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        The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
 Distribution Agent, shall not be required to give any bond or surety or other security for the
 performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
 Court.

        The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
 Distribution Agent to be necessary and proper to implement the provisions hereof.

         The Distribution Agent shall not have any obligation to make a particular distribution to a
 specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

 C.     Cash Distributions

        Distributions of Cash may be made by wire transfer from a domestic bank, except that Cash
 payments made to foreign creditors may be made in such funds and by such means as the
 Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

 D.     Disputed Claims Reserve

        On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
 maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts on
 account of any Disputed Claims.

 E.     Distributions from the Disputed Claims Reserve

         The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
 Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
 pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
 becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall distribute
 from the Disputed Claims Reserve to the Holder thereof any prior distributions, in Cash, that would
 have been made to such Allowed Claim if it had been Allowed as of the Effective Date. For the
 avoidance of doubt, each Holder of a Disputed Claim that subsequently becomes an Allowed
 Claim will also receive its Pro Rata share of the Claimant Trust Interests. If, upon the resolution
 of all Disputed Claims any Cash remains in the Disputed Claims Reserve, such Cash shall be
 transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

 F.     Rounding of Payments

         Whenever this Plan would otherwise call for, with respect to a particular Person, payment
 of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such fraction
 to the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
 Cash to be distributed under this Plan remains undistributed as a result of the aforementioned
 rounding, such Cash or stock shall be treated as “Unclaimed Property” under this Plan.



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 G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
 the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
 Distributions with a value of less than $100, unless a written request therefor is received by the
 Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
 within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
 Allowed Claim. De minimis distributions for which no such request is timely received shall revert
 to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim on
 account of missed distributions) shall be automatically deemed satisfied, discharged and forever
 barred, notwithstanding any federal or state escheat laws to the contrary.

 H.     Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in this Plan,
 all distributions shall be made pursuant to the terms of this Plan and the Confirmation Order.
 Except as otherwise provided in this Plan, distributions to any Holder of an Allowed Claim shall,
 to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
 determined for U.S. federal income tax purposes and then, to the extent the consideration exceeds
 such amount, to the remainder of such Claim comprising accrued but unpaid interest, if any (but
 solely to the extent that interest is an allowable portion of such Allowed Claim).

 I.     General Distribution Procedures

         The Distribution Agent shall make all distributions of Cash or other property required
 under this Plan, unless this Plan specifically provides otherwise. All Cash and other property held
 by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
 distribution under this Plan shall not be subject to any claim by any Person.

 J.     Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
 shall be made (1) at the addresses set forth in any written notices of address change delivered to
 the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed by
 such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3) at
 the addresses in the Debtor’s books and records.

         If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
 the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
 the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

 K.     Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such Holder,
 and Distribution Agent shall not have any obligation to make any further distribution to the Holder,
 unless and until the Distribution Agent is notified in writing of such Holder’s then current address.



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         Any Entity that fails to claim any Cash within six months from the date upon which a
 distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
 and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
 purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
 whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
 any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

 L.     Withholding Taxes

         In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
 with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
 and all distributions made pursuant to this Plan shall be subject to such withholding and reporting
 requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
 withholding taxes from any Cash payments made with respect to Allowed Claims, as appropriate.
 As a condition to receiving any distribution under this Plan, the Distribution Agent may require
 that the Holder of an Allowed Claim entitled to receive a distribution pursuant to this Plan provide
 such Holder’s taxpayer identification number and such other information and certification as may
 be deemed necessary for the Distribution Agent to comply with applicable tax reporting and
 withholding laws. If a Holder fails to comply with such a request within one year, such distribution
 shall be deemed an unclaimed distribution. Any amounts withheld pursuant hereto shall be deemed
 to have been distributed to and received by the applicable recipient for all purposes of this Plan.

 M.     Setoffs

         The Distribution Agent may, to the extent permitted under applicable law, set off against
 any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
 Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
 Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed Claim
 that are not otherwise waived, released or compromised in accordance with this Plan; provided,
 however, that neither such a setoff nor the allowance of any Claim hereunder shall constitute a
 waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of any such
 claims, rights and causes of action that the Debtor, the Reorganized Debtor, or Claimant Trustee
 possesses against such Holder. Any Holder of an Allowed Claim subject to such setoff reserves
 the right to challenge any such setoff in the Bankruptcy Court or any other court with jurisdiction
 with respect to such challenge.

 N.     Surrender of Cancelled Instruments or Securities

        As a condition precedent to receiving any distribution pursuant to this Plan on account of
 an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
 ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
 instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
 negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
 have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.




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 O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required by
 this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the Distribution
 Agent of such loss, theft, mutilation, or destruction; and (ii) such security or indemnity as may be
 required by the Distribution Agent to hold such party harmless from any damages, liabilities, or
 costs incurred in treating such individual as a Holder of an Allowed Claim or Equity Interest.
 Upon compliance with ARTICLE VI.O of this Plan as determined by the Distribution Agent, by a
 Holder of a Claim evidenced by a security or note, such Holder will, for all purposes under this
 Plan, be deemed to have surrendered such security or note to the Distribution Agent.

                                   ARTICLE VII.
                        PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED AND DISPUTED CLAIMS

 A.     Filing of Proofs of Claim

        Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
 unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
 required to file a Proof of Claim on or prior to the Bar Date.

 B.     Disputed Claims

         Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
 applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
 Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
 Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to the
 foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor or
 Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further order
 of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
 Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw any
 objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
 without further notice to creditors (other than the Entity holding such Disputed Claim or Disputed
 Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or Equity
 Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount compromised
 for purposes of this Plan.

 C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

         No payment or other distribution or treatment shall be made on account of a Disputed
 Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity Interest
 becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim or Equity
 Interest, as applicable, is determined by order of the Bankruptcy Court or by stipulation between
 the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of the Claim or Equity
 Interest.



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 D.     Allowance of Claims and Equity Interests

         Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
 Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
 distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

        1.      Allowance of Claims

         After the Effective Date and subject to the other provisions of this Plan, the Reorganized
 Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
 defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
 Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
 the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
 Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
 Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
 entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
 allowing such Claim or Equity Interest.

        2.      Estimation

          Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and the
 Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
 time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
 Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
 unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of the
 Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157 and
 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or unliquidated
 Claim, including during the litigation concerning any objection to any Claim or Equity Interest or
 during the pendency of any appeal relating to any such objection. All of the aforementioned
 objection, estimation and resolution procedures are cumulative and not exclusive of one another.
 Claims or Equity Interests may be estimated and subsequently compromised, settled, withdrawn
 or resolved by any mechanism approved by the Bankruptcy Court. The rights and objections of
 all parties are reserved in connection with any such estimation proceeding.

        3.      Disallowance of Claims

         Any Claims or Equity Interests held by Entities from which property is recoverable under
 sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
 avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders
 of such Claims or Interests may not receive any distributions on account of such Claims or Interests
 until such time as such Causes of Action against that Entity have been settled or a Bankruptcy
 Court Order with respect thereto has been entered and all sums due, if any, to the Reorganized
 Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or paid to the
 Reorganized Debtor or the Claimant Trust, as applicable.

     EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
 DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,


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 ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
 WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
 THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
 RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
 LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL ORDER.

                                     ARTICLE VIII.
                                EFFECTIVENESS OF THIS PLAN

 A.     Conditions Precedent to the Effective Date

        The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
 ARTICLE VIII.B of this Plan of the following:

        •   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
            Reorganized Limited Partnership Agreement, and all schedules, documents,
            supplements and exhibits to this Plan shall have been Filed in form and substance
            reasonably acceptable to the Debtor and the Committee.

        •   The Confirmation Order shall have become a Final Order and shall be in form and
            substance reasonably acceptable to the Debtor and the Committee. The Confirmation
            Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
            the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
            necessary or appropriate to effectuate and consummate this Plan, including, without
            limitation, (a) entering into, implementing, effectuating, and consummating the
            contracts, instruments, releases, and other agreements or documents created in
            connection with or described in this Plan, (b) assuming the Executory Contracts and
            Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
            issuances as required under this Plan; and (d) entering into any transactions as set forth
            in the Plan Documents; (ii) the provisions of the Confirmation Order and this Plan are
            nonseverable and mutually dependent; (iii) the implementation of this Plan in
            accordance with its terms is authorized; (iv) pursuant to section 1146 of the Bankruptcy
            Code, the delivery of any deed or other instrument or transfer order, in furtherance of,
            or in connection with this Plan, including any deeds, bills of sale, or assignments
            executed in connection with any disposition or transfer of Assets contemplated under
            this Plan, shall not be subject to any Stamp or Similar Tax; and (v) the vesting of the
            Claimant Trust Assets in the Claimant Trust and the Reorganized Debtor Assets in the
            Reorganized Debtor, in each case as of the Effective Date free and clear of liens and
            claims to the fullest extent permissible under applicable law pursuant to section 1141(c)
            of the Bankruptcy Code except with respect to such Liens, Claims, charges and other
            encumbrances that are specifically preserved under this Plan upon the Effective Date.

        •   All documents and agreements necessary to implement this Plan, including without
            limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust



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            Agreement, and the New GP LLC Documents, in each case in form and substance
            reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
            for delivery, and (b) been effected by, executed by, or otherwise deemed binding upon,
            all Entities party thereto and shall be in full force and effect. All conditions precedent
            to such documents and agreements shall have been satisfied or waived pursuant to the
            terms of such documents or agreements.

        •   All authorizations, consents, actions, documents, approvals (including any
            governmental approvals), certificates and agreements necessary to implement this Plan,
            including, without limitation, the Reorganized Limited Partnership Agreement, the
            Claimant Trust Agreement, and the New GP LLC Documents, shall have been
            obtained, effected or executed and delivered to the required parties and, to the extent
            required, filed with the applicable governmental units in accordance with applicable
            laws and any applicable waiting periods shall have expired without any action being
            taken or threatened by any competent authority that would restrain or prevent
            effectiveness or consummation of the Restructuring.

        •   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
            that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
            Committee, the Claimant Trustee and the Litigation Trustee.

        •   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
            determined by the Debtor in good faith.

 B.     Waiver of Conditions

         The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than that
 the Confirmation Order shall have been entered) may be waived in whole or in part by the Debtor
 (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee), without notice, leave or order of the Bankruptcy Court or any formal action other
 than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a condition to
 the Effective Date may be asserted by the Debtor regardless of the circumstances giving rise to the
 failure of such condition to be satisfied. The failure of the Debtor to exercise any of the foregoing
 rights will not be deemed a waiver of any other rights, and each right will be deemed an ongoing
 right that may be asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant
 Trust, as applicable.

 C.     Dissolution of the Committee

         On the Effective Date, the Committee will dissolve, and the members of the Committee
 and the Committee’s Professionals will cease to have any role arising from or relating to the
 Chapter 11 Case, except in connection with final fee applications of Professionals for services
 rendered prior to the Effective Date (including the right to object thereto). The Professionals
 retained by the Committee and the members thereof will not be entitled to assert any fee claims
 for any services rendered to the Committee or expenses incurred in the service of the Committee
 after the Effective Date, except for reasonable fees for services rendered, and actual and necessary
 costs incurred, in connection with any applications for allowance of Professional Fees pending on



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 the Effective Date or filed and served after the Effective Date pursuant to the Plan. Nothing in the
 Plan shall prohibit or limit the ability of the Debtor’s or Committee’s Professionals to represent
 either of the Trustees or to be compensated or reimbursed per the Plan and the Claimant Trust
 Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

 A.     General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of equitable
 subordination, section 510 of the Bankruptcy Code, or otherwise.

 B.     Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions
 of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the Confirmation
 Order, all consideration distributed under this Plan will be in exchange for, and in complete
 satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of any kind or
 nature whatsoever against the Debtor or any of its Assets or properties, and regardless of whether
 any property will have been distributed or retained pursuant to this Plan on account of such Claims
 or Equity Interests. Except as otherwise expressly provided by this Plan or the Confirmation
 Order, upon the Effective Date, the Debtor and its Estate will be deemed discharged and released
 under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code from any and all Claims and Equity Interests of any kind or
 nature whatsoever, including, but not limited to, demands and liabilities that arose before the
 Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
 Bankruptcy Code.

 C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
 by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
 exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in connection
 with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
 and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or confirmation
 of, the Plan; (iii) the funding or consummation of the Plan (including the Plan Supplement) or any
 related agreements, instruments, or other documents, the solicitation of votes on the Plan, the offer,
 issuance, and Plan Distribution of any securities issued or to be issued pursuant to the Plan,
 including the Claimant Trust Interests, whether or not such Plan Distributions occur following the
 Effective Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions, and
 documentation in connection with the foregoing clauses (i)-(iv); provided, however, the foregoing



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 will not apply to (a) any acts or omissions of an Exculpated Party arising out of or related to acts
 or omissions that constitute bad faith, fraud, gross negligence, criminal misconduct, or willful
 misconduct or (b) Strand or any Employee other than with respect to actions taken by such Entities
 from the date of appointment of the Independent Directors through the Effective Date. This
 exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
 exculpations, any other applicable law or rules, or any other provisions of this Plan, including
 ARTICLE IV.C.2, protecting such Exculpated Parties from liability.

 D.     Releases by the Debtor

         On and after the Effective Date, each Released Party is deemed to be, hereby conclusively,
 absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtor and
 the Estate, in each case on behalf of themselves and their respective successors, assigns, and
 representatives, including, but not limited to, the Claimant Trust and the Litigation Sub-Trust from
 any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtor,
 whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
 arising, in law, equity, contract, tort or otherwise, that the Debtor or the Estate would have been
 legally entitled to assert in their own right (whether individually or collectively) or on behalf of
 the holder of any Claim against, or Interest in, a Debtor or other Person.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not
 release: (i) any obligations of any party under the Plan or any document, instrument, or agreement
 executed to implement the Plan, (ii) the rights or obligations of any current employee of the Debtor
 under any employment agreement or plan, (iii) the rights of the Debtor with respect to any
 confidentiality provisions or covenants restricting competition in favor of the Debtor under any
 employment agreement with a current or former employee of the Debtor, (iv) any Avoidance
 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual
 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
 ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
 Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
 (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
 Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any Employee,
 including a Senior Employee, shall be deemed null and void and of no force and effect (1) if there
 is more than one member of the Claimant Trust Oversight Committee who does not represent
 entities holding a Disputed or Allowed Claim (the “Independent Members”), the Claimant Trustee
 and the Independent Members by majority vote determine or (2) if there is only one Independent
 Member, the Independent Member after discussion with the Claimant Trustee, determines (in each
 case after discussing with the full Claimant Trust Oversight Committee) that such Employee
 (regardless of whether the Employee is then currently employed by the Debtor, the Reorganized
 Debtor, or the Claimant Trustee):

        •   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
            attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation




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             Sub-Trust, or any of their respective employees or agents, or any Released Party on or
             in connection with any claim or cause of action arising prior to the Effective Date,

        •    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
             the Reorganized Debtor Assets, or

        •    (x) upon the request of the Claimant Trustee, has failed to provide reasonable assistance
             in good faith to the Claimant Trustee or the Reorganized Debtor with respect to (1) the
             monetization of the Claimant Trust Assets or Reorganized Debtor Assets, as applicable,
             or (2) the resolution of Claims, or (y) has taken any action that impedes or frustrates
             the Claimant Trustee or the Reorganized Debtor with respect to any of the foregoing.

 Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
 Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
 release has not been deemed null and void and of no force and effect on or prior to the date that is
 the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

       By executing the Senior Employee Stipulation embodying this release, each Senior
 Employee acknowledges and agrees, without limitation, to the terms of this release and the tolling
 agreement contained in the Senior Employee Stipulation.

        The provisions of this release and the execution of a Senior Employee Stipulation will not
 in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
 Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought against
 the Employee by a third party, or (iii) assisting other persons in defending themselves from any
 Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims brought
 by the Litigation Trustee and not collection or other actions brought by the Claimant Trustee).

 E.     Preservation of Rights of Action

        1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized Debtor
 or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as appropriate,
 any and all Causes of Action included in the Reorganized Debtor Assets or Claimant Trust Assets,
 as applicable, whether existing as of the Petition Date or thereafter arising, in any court or other
 tribunal including, without limitation, in an adversary proceeding Filed in the Chapter 11 Case
 and, as the successors in interest to the Debtor and the Estate, may, and will have the exclusive
 right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
 foregoing) any or all of the Causes of Action without notice to or approval from the Bankruptcy
 Court.

        2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
 is expressly waived, relinquished, released, compromised or settled in this Plan or any Final Order
 (including, without limitation, the Confirmation Order), such Cause of Action is expressly reserved
 for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable (including,


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 without limitation, Causes of Action not specifically identified or of which the Debtor may
 presently be unaware or that may arise or exist by reason of additional facts or circumstances
 unknown to the Debtor at this time or facts or circumstances that may change or be different from
 those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without
 limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
 waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as
 a consequence of the confirmation, effectiveness, or consummation of this Plan based on the
 Disclosure Statement, this Plan or the Confirmation Order, except where such Causes of Action
 have been expressly released in this Plan or any other Final Order (including, without limitation,
 the Confirmation Order). In addition, the right of the Reorganized Debtor or the Claimant Trust
 to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a plaintiff, defendant
 or an interested party, against any Entity, including, without limitation, the plaintiffs or co-
 defendants in such lawsuits, is expressly reserved.

 F.     Injunction

        Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
 permanently enjoined, on and after the Effective Date, from taking any actions to interfere
 with the implementation or consummation of the Plan.

         Except as expressly provided in the Plan, the Confirmation Order, or a separate order
 of the Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and
 after the Effective Date, with respect to any Claims and Equity Interests, from directly or
 indirectly (i) commencing, conducting, or continuing in any manner any suit, action, or other
 proceeding of any kind (including any proceeding in a judicial, arbitral, administrative or
 other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
 levying, attaching (including any prejudgment attachment), collecting, or otherwise
 recovering, enforcing, or attempting to recover or enforce, by any manner or means, any
 judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)
 creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or
 encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any
 right of setoff, directly or indirectly, against any obligation due to the Debtor or against
 property or interests in property of the Debtor, except to the limited extent permitted under
 Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,
 in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
 forth in any of clauses (i)-(v) of the immediately preceding paragraph against any successors
 of the Debtor, including, but not limited to, the Reorganized Debtor, the Litigation Sub-
 Trust, and the Claimant Trust and their respective property and interests in property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
 pursue a claim or cause of action of any kind against any Protected Party that arose or arises
 from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of
 the Plan or property to be distributed under the Plan, the wind down of the business of the
 Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation
 Sub-Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court



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 (i) first determining, after notice and a hearing, that such claim or cause of action represents
 a colorable claim of any kind, including, but not limited to, negligence, bad faith, criminal
 misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and (ii)
 specifically authorizing such Enjoined Party to bring such claim or cause of action against
 any such Protected Party; provided, however, the foregoing will not apply to a claim or cause
 of action against Strand or against any Employee other than with respect to actions taken,
 respectively, by Strand or by such Employee from the date of appointment of the
 Independent Directors through the Effective Date. The Bankruptcy Court will have sole and
 exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only
 to the extent legally permissible and as provided for in ARTICLE XI, shall have jurisdiction
 to adjudicate the underlying colorable claim or cause of action.

 G.     Duration of Injunctions and Stays

         ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
 in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
 Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
 effect in accordance with their terms; and (ii) the automatic stay arising under section 362
 of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
 Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge, the
 Court will enter an equivalent order under Section 105.

 H.     Continuance of January 9 Order

        Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
 the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
 January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                        ARTICLE X.
                                   BINDING NATURE OF PLAN

         On the Effective Date, and effective as of the Effective Date, the Plan, including, without
 limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all Holders
 of Claims against and Equity Interests in the Debtor and such Holder’s respective successors and
 assigns, to the maximum extent permitted by applicable law, notwithstanding whether or not such
 Holder will receive or retain any property or interest in property under the Plan. All Claims and
 Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also bind any taxing
 authority, recorder of deeds, or similar official for any county, state, Governmental Unit or parish
 in which any instrument related to the Plan or related to any transaction contemplated thereby is
 to be recorded with respect to nay taxes of the kind specified in Bankruptcy Code section 1146(a).




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                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
 after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
 respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
 and this Plan to the maximum extent legally permissible, including, without limitation, jurisdiction
 to:

        •   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
            secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
            without limitation, the resolution of any request for payment of any Administrative
            Expense Claim and the resolution of any and all objections to the allowance or priority
            of any Claim or Equity Interest;

        •   grant or deny any applications for allowance of compensation or reimbursement of
            expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
            on or before the Effective Date; provided, however, that, from and after the Effective
            Date, the Reorganized Debtor shall pay Professionals in the ordinary course of business
            for any work performed after the Effective Date subject to the terms of this Plan and
            the Confirmation Order, and such payment shall not be subject to the approval of the
            Bankruptcy Court;

        •   resolve any matters related to the assumption, assignment or rejection of any Executory
            Contract or Unexpired Lease to which the Debtor is party or with respect to which the
            Debtor, Reorganized Debtor, or Claimant Trust may be liable and to adjudicate and, if
            necessary, liquidate, any Claims arising therefrom, including, without limitation, any
            dispute regarding whether a contract or lease is or was executory or expired;

        •   make any determination with respect to a claim or cause of action against a Protected
            Party as set forth in ARTICLE IX;

        •   resolve any claim or cause of action against an Exculpated Party or Protected Party
            arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
            administration of the Plan or property to be distributed under the Plan, the wind down
            of the business of the Debtor or Reorganized Debtor, or the transactions in furtherance
            of the foregoing;

        •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any sale, disposition, assignment or other transfer of the Reorganized Debtor
            Assets or Claimant Trust Assets, including any break-up compensation or expense
            reimbursement that may be requested by a purchaser thereof; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
            authority or approval from the Bankruptcy Court unless otherwise specifically required
            by this Plan or the Confirmation Order;




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       •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
           and allow any borrowing or the incurrence of indebtedness, whether secured or
           unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
           neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
           authority or approval from the Bankruptcy Court unless otherwise specifically required
           by this Plan or the Confirmation Order;

       •   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

       •   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
           are accomplished pursuant to the provisions of this Plan;

       •   decide or resolve any motions, adversary proceedings, contested or litigated matters
           and any other Causes of Action (including Estate Claims) that are pending as of the
           Effective Date or that may be commenced in the future, including approval of any
           settlements, compromises, or other resolutions as may be requested by the Debtor, the
           Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
           Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
           Debtor that may be pending on the Effective Date or instituted by the Reorganized
           Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
           that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
           reserve the right to commence actions in all appropriate forums and jurisdictions;

       •   enter such orders as may be necessary or appropriate to implement, effectuate, or
           consummate the provisions of this Plan, the Plan Documents, and all other contracts,
           instruments, releases, and other agreements or documents adopted in connection with
           this Plan, the Plan Documents, or the Disclosure Statement;

       •   resolve any cases, controversies, suits or disputes that may arise in connection with the
           implementation, effectiveness, consummation, interpretation, or enforcement of this
           Plan or any Entity’s obligations incurred in connection with this Plan;

       •   issue injunctions and enforce them, enter and implement other orders or take such other
           actions as may be necessary or appropriate to restrain interference by any Entity with
           implementation, effectiveness, consummation, or enforcement of this Plan, except as
           otherwise provided in this Plan;

       •   enforce the terms and conditions of this Plan and the Confirmation Order;

       •   resolve any cases, controversies, suits or disputes with respect to the release,
           exculpation, indemnification, and other provisions contained herein and enter such
           orders or take such others actions as may be necessary or appropriate to implement or
           enforce all such releases, injunctions and other provisions;

       •   enter and implement such orders or take such others actions as may be necessary or
           appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
           vacated;



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        •   resolve any other matters that may arise in connection with or relate to this Plan, the
            Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
            instrument, release, indenture or other agreement or document adopted in connection
            with this Plan or the Disclosure Statement; and

        •   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                      ARTICLE XII.
                                 MISCELLANEOUS PROVISIONS

 A.     Payment of Statutory Fees and Filing of Reports

         All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
 and all such fees that become due and payable, after the Effective Date shall be paid by the
 Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
 closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
 the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
 After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
 reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
 Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S. Trustee
 until the earliest of the Debtor’s case being closed, dismissed, or converted to a case under chapter
 7 of the Bankruptcy Code.

 B.     Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order with
 the consent of the Committee, such consent not to be unreasonably withheld; and (b) after the entry
 of the Confirmation Order, the Debtor may, after notice and hearing and entry of an order of the
 Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of the
 Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this Plan in
 such manner as may be necessary to carry out the purpose and intent of this Plan.

 C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
 revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null and
 void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
 Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
 executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
 order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall: (a) constitute
 a waiver or release of any Claims by or against, or any Equity Interests in, the Debtor or any other
 Entity; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c) constitute
 an admission, acknowledgement, offer or undertaking of any sort by the Debtor or any other Entity.




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 D.     Obligations Not Changed

         Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
 otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
 obligations, including any contractual and indemnification obligations, to the Debtor, the
 Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

 E.     Entire Agreement

        Except as otherwise described herein, this Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into this Plan.

 F.     Closing of Chapter 11 Case

        The Claimant Trustee shall, after the Effective Date and promptly after the full
 administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.

 G.     Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
 and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee. The
 rights, benefits, and obligations of any Person or Entity named or referred to in this Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or assign
 of such Person or Entity.

 H.     Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and until
 the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither the
 filing of this Plan, any statement or provision contained herein, nor the taking of any action by the
 Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to this Plan
 shall be or shall be deemed to be an admission or waiver of any rights of: (1) the Debtor, the
 Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims or Equity
 Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to
 the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this Plan,
 will constitute an admission by the Debtor that any such contract or lease is or is not an executory
 contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or their
 respective Affiliates has any liability thereunder.

        Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the




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 Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
 contract.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, under any executory or non-executory contract or lease.

         If there is a dispute regarding whether a contract or lease is or was executory at the time of
 its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to
 alter their treatment of such contract.

 I.     Further Assurances

         The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders of
 Claims and Equity Interests receiving distributions hereunder, and all other Entities shall, from
 time to time, prepare, execute and deliver any agreements or documents and take any other actions
 as may be necessary or advisable to effectuate the provisions and intent of this Plan or the
 Confirmation Order. On or before the Effective Date, the Debtor shall File with the Bankruptcy
 Court all agreements and other documents that may be necessary or appropriate to effectuate and
 further evidence the terms and conditions hereof.

 J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power
 to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision will then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
 provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order will
 constitute a judicial determination and will provide that each term and provision of this Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 pursuant to its terms.

 K.     Service of Documents

         All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
 Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
 herein, shall be deemed to have been duly given or made when actually delivered addressed as
 follows:

                If to the Claimant Trust:

                Highland Claimant Trust
                c/o Highland Capital Management, L.P.
                300 Crescent Court, Suite 700


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                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                If to the Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Telephone: (310) 277-6910
                Facsimile: (310) 201-0760
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

                If to the Reorganized Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.
                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

 L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
        Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego the
 collection of any such Stamp or Similar Tax or governmental assessment and to accept for filing
 and recordation instruments or other documents pursuant to such transfers of property without the
 payment of any such Stamp or Similar Tax or governmental assessment. Such exemption
 specifically applies, without limitation, to (i) all actions, agreements and documents necessary to



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 evidence and implement the provisions of and the distributions to be made under this Plan; (ii) the
 maintenance or creation of security or any Lien as contemplated by this Plan; and (iii) assignments,
 sales, or transfers executed in connection with any transaction occurring under this Plan.

 M.     Governing Law

          Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
  law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
  rights and obligations arising under this Plan shall be governed by, and construed and enforced
  in accordance with, the laws of Texas, without giving effect to the principles of conflicts of law
  of such jurisdiction; provided, however, that corporate governance matters relating to the
  Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as applicable, shall be
  governed by the laws of the state of organization of the Debtor, the Reorganized Debtor, New
  GP LLC, or the Claimant Trustee, as applicable.

 N.     Tax Reporting and Compliance

         The Debtor is hereby authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
 ending after the Petition Date through, and including, the Effective Date.

 O.     Exhibits and Schedules

      All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
 Documents, are incorporated and are a part of this Plan as if set forth in full herein.

 P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
 created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
 Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan Document,
 on the one hand, and of the Confirmation Order, on the other hand, shall be construed in a manner
 consistent with each other so as to effectuate the purposes of each; provided, however, that if there
 is determined to be any inconsistency between any provision of this Plan, the Disclosure
 Statement, and any Plan Document, on the one hand, and any provision of the Confirmation Order,
 on the other hand, that cannot be so reconciled, then, solely to the extent of such inconsistency,
 the provisions of the Confirmation Order shall govern, and any such provisions of the
 Confirmation Order shall be deemed a modification of this Plan, the Disclosure Statement, and the
 Plan Documents, as applicable.

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                                     Exhibit B
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           Schedule of CLO Management Agreements and Related Contracts to Be Assumed

 1.      Servicing Agreement, dated December 20, 2007, by and among Greenbriar CLO, Ltd.,
         and Highland Capital Management, L.P.
 2.      Investment Management Agreement, dated November 1, 2007, by and between Longhorn
         Credit Funding, LLC, and Highland Capital Management, L.P. (as amended)
 3.      Reference Portfolio Management Agreement, dated August 1, 2016, by and between
         Highland Capital Management, L.P., and Valhalla CLO, Ltd.
 4.      Collateral Servicing Agreement, dated December 20, 2006, by and among Highland Park
         CDO I, Ltd., and Highland Capital Management, L.P.
 5.      Portfolio Management Agreement, dated March 15, 2005, by and among Southfork CLO
         Ltd., and Highland Capital Management, L.P.
 6.      Amended and Restated Portfolio Management Agreement, dated November 30, 2005, by
         and among Jaspar CLO Ltd., and Highland Capital Management, L.P.
 7.      Servicing Agreement, dated May 31, 2007, by and among Westchester CLO, Ltd., and
         Highland Capital Management, L.P.
 8.      Servicing Agreement, dated May 10, 2006, by and among Rockwall CDO Ltd. and
         Highland Capital Management, L.P. (as amended)
 9.      Portfolio Management Agreement, dated December 8, 2005, by and between Liberty
         CLO, Ltd., and Highland Capital Management, L.P.
 10.     Servicing Agreement, dated March 27, 2008, by and among Aberdeen Loan Funding,
         Ltd., and Highland Capital Management, L.P.
 11.     Servicing Agreement, dated May 9, 2007, by and among Rockwall CDO II Ltd. and
         Highland Capital Management, L.P.
 12.     Collateral Management Agreement, by and between, Highland Loan Funding V Ltd. and
         Highland Capital Management, L.P., dated August 1, 2001.
 13.     Collateral Management Agreement, dated August 18, 1999, by and between Highland
         Legacy Limited and Highland Capital Management, L.P.
 14.     Servicing Agreement, dated November 30, 2006, by and among Grayson CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 15.     Servicing Agreement, dated October 25, 2007, by and among Stratford CLO Ltd., and
         Highland Capital Management, L.P.
 16.     Servicing Agreement, dated August 3, 2006, by and among Red River CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 17.     Servicing Agreement, dated December 21, 2006, by and among Brentwood CLO, Ltd.,
         and Highland Capital Management, L.P.
 18.     Servicing Agreement, dated March 13, 2007, by and among Eastland CLO Ltd., and
         Highland Capital Management, L.P.



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 19.     Portfolio Management, Agreement, dated October 13, 2005, by and among Gleneagles
         CLO, Ltd., and Highland Capital Management, L.P.
 20.     Members’ Agreement and Amendment, dated November 15, 2017, by and between
         Highland CLO Funding, Ltd. and Highland Capital Management, L.P.
 21.     Collateral Management Agreement, dated May 19, 1998, by and between Pam Capital
         Funding LP, Ranger Asset Mgt LP and Highland Capital Management, L.P.
 22.     Collateral Management Agreement, dated August 6, 1997, by and between Pamco
         Cayman Ltd., Ranger Asset Mgt LP and Highland Capital Management, L.P.
 23.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Red River CLO Ltd. et al
 24.     Interim Collateral Management Agreement, June 15, 2005, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 25.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 26.     Collateral Servicing Agreement dated December 20, 2006, between Highland Capital
         Management, L.P. and Highland Park CDO I, Ltd.; The Bank of New York Trust
         Company, National Association
 27.     Representations and Warranties Agreement, dated December 20, 2006, between Highland
         Capital Management, L.P. and Highland Park CDO I, Ltd.
 28.     Collateral Administration Agreement, dated March 27, 2008, between Highland Capital
         Management, L.P. and Aberdeen Loan Funding, Ltd.; State Street Bank and Trust
         Company
 29.     Collateral Administration Agreement, dated December 20, 2007, between Highland
         Capital Management, L.P. and Greenbriar CLO, Ltd.; State Street Bank and Trust
         Company
 30.     Collateral Acquisition Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd
 31.     Collateral Administration Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd. and Investors Bank and Trust Company
 32.     Collateral Administration Agreement, dated October 13, 2005, between Highland Capital
         Management, L.P. and Gleneagles CLO, Ltd.; JPMorgan Chase Bank, National
         Association
 33.     Collateral Acquisition Agreement, dated November 30, 2006, between Highland Capital
         Management, L.P. and Grayson CLO, Ltd.
 34.     Collateral Administration Agreement, dated November 30, 2006, between Highland
         Capital Management, L.P. and Grayson CLO, Ltd.; Investors Bank & Trust Company
 35.     Collateral Acquisition Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.



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 36.     Collateral Administration Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.; U.S. Bank National Association
 37.     Master Warehousing and Participation Agreement, dated April 19, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; Highland Special
         Opportunities Holding Company
 38.     Master Warehousing and Participation Agreement, dated February 2, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5 Funding, LLC;
         IXIS Financial Products Inc.
 39.     Master Warehousing and Participation Agreement (Amendment No. 2), dated May 5,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 40.     Master Warehousing and Participation Agreement (Amendment No. 1), dated April 12,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 41.     Master Warehousing and Participation Agreement (Amendment No. 3), dated June 22,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 42.     Master Warehousing and Participation Agreement (Amendment No. 4), dated July 17,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 43.     Collateral Administration Agreement, dated February 2, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; U.S. Bank National Association; IXIS
         Financial Products Inc.
 44.     Collateral Administration Agreement, dated April 18, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Highland Special Opportunities Holding
         Company; U.S. Bank National Association
 45.     Master Participation Agreement, dated June 5, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Grand Central Asset Trust
 46.     A&R Asset Acquisition Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Smith Barney Inc.; Highland Loan Funding V Ltd.
 47.     A&R Master Participation Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Brothers Holding Company; Highland Loan Funding V
         Ltd.
 48.     Collateral Acquisition Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.
 49.     Collateral Administration Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.; JPMorgan Chase Bank, National Association
 50.     Master Warehousing and Participation Agreement, dated March 24, 2005, between
         Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5 Funding, LLC; and
         IXIS Financial Products Inc.


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 51.     Master Warehousing and Participation Agreement (Amendment No. 1), dated May 16,
         2005, between Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5
         Funding, LLC; and IXIS Financial Products Inc.
 52.     Collateral Administration Agreement, dated December 8, 2005, between Highland
         Capital Management, L.P. and Liberty CLO Ltd.
 53.     Collateral Administration Agreement, dated May 10, 2006, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd; JPMorgan Chase Bank, National Association
 54.     Collateral Administration Agreement, dated May 9, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO II, Ltd.; Investors Bank & Trust Company
 55.     Collateral Administration Agreement, dated March 15, 2005, between Highland Capital
         Management, L.P. and Southfork CLO Ltd.; JPMorgan Chase Bank, National
         Association
 56.     Collateral Administration Agreement, dated October 25, 2007, between Highland Capital
         Management, L.P. and Stratford CLO Ltd.; State Street
 57.     Collateral Administration Agreement, dated August 18, 2004, between Highland Capital
         Management, L.P. and Valhalla CLO, Ltd.; JPMorgan Chase Bank
 58.     Collateral Acquisition Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.
 59.     Collateral Administration Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.; Investors Bank & Trust Company
 60.     Collateral Administration Agreement, dated December 21, 2006, between Highland
         Capital Management, L.P. and Brentwood CLO, Ltd.; Investors Bank & Trust Company




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Fax: (972) 755-7110
Counsel for the Debtor and Debtor-in-Possession

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                  )
    In re:                                                        )      Chapter 11
                                                                  )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )      Case No. 19-34054-sgj11
                                                                  )
                                              Debtor.             )
                                                                  )

                              NOTICE OF (I) CONFIRMATION DATE AND
                          (II) BAR DATE FOR FILING REJECTION CLAIMS

        PLEASE TAKE NOTICE that, on February 22, 2021, the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) entered the Order Confirming
the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No.
1943] (the “Confirmation Order”) confirming the Fifth Amended Plan of Reorganization of
Highland Capital Management, L.P. (as Modified) [Docket No. 1808] (as amended, supplemented,
or modified, the “Plan”). Unless otherwise defined in this notice, capitalized terms used in this
notice shall have the meanings ascribed to them in the Plan and the Confirmation Order.




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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       PLEASE TAKE FURTHER NOTICE that the Confirmation Date, as defined in the Plan,
occurred on February 22, 2021 upon entry of the Confirmation Order.

       PLEASE TAKE FURTHER NOTICE that, unless previously assumed during the
pendency of the Debtor’s chapter 11 case or specifically assumed in the Confirmation Order, all
Executory Contracts and Unexpired Leases were rejected pursuant to the Confirmation Order. In
accordance with the Confirmation Order, any Rejection Claims must be filed within thirty (30)
days after the Confirmation Date. Proofs of claim for Rejection Damages must be filed with
the Bankruptcy Court by delivering the original executed proof of claim so as to be received on or
before March 24, 2021 at the following address: HCMLP Claims Processing Center, c/o
Kurtzman Carson Consultants (“KCC”), 222 N. Pacific Coast Highway, Suite 300, El Segundo,
CA 90245. Proofs of claim may also be filed electronically via the interface available at
www.kccllc.net/HCMLP. Any Rejection Claims that are not timely filed shall be deemed
automatically disallowed, forever barred from assertion, and shall not be enforceable
against, as applicable, the Debtor, the Reorganized Debtor, the Estate, or property of the
foregoing parties, without the need for any objection by the Debtor or Reorganized Debtor,
as applicable, or further notice to, or action, order, or approval of, the Court or any other
Entity, and any Rejection Claim shall be deemed fully satisfied, released, and discharged,
notwithstanding anything in a Proof of Claim to the contrary.

        PLEASE TAKE FURTHER NOTICE that the Confirmation Order and the Plan are
available for inspection. If you would like to obtain copies you may: (a) access the Debtor’s
restructuring website at http://www.kccllc.net/hcmlp; (b) call toll free: (877) 573-3984 or
international: (310) 751-1829 and request to speak with a member of the Solicitation Group; or (c)
email HighlandInfo@kccllc.com and reference “Highland” in the subject line. You may also
obtain copies of any pleadings filed in this case for a fee via PACER at: pacer.uscourts.gov.

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 Dated: February 24, 2021.             PACHULSKI STANG ZIEHL & JONES LLP

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                                       Ira D. Kharasch (CA Bar No. 109084)
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                                               gdemo@pszjlaw.com

                                       -and-

                                       HAYWARD PLLC

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                                       Counsel for the Debtor and Debtor-in-Possession




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Fax: (972) 755-7110
Counsel for the Debtor

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                          )
    In re:                                                                )    Chapter 11
                                                                          )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                                  )    Case No. 19-34054-sgj11
                                                                          )
                                              Debtor.                     )
                                                                          )

                     NOTICE OF OCCURRENCE OF EFFECTIVE DATE OF
                  CONFIRMED FIFTH AMENDED PLAN OF REORGANIZATION
                        OF HIGHLAND CAPITAL MANAGEMENT, L.P.

              PLEASE TAKE NOTICE that on February 22, 2021, the United States
Bankruptcy Court for the Northern District of Texas (the “Bankruptcy Court”) entered the Order
Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
[Docket No. 1943] (the “Confirmation Order”) confirming the Fifth Amended Plan of
Reorganization of Highland Capital Management, L.P. (as Modified) [Docket No. 1808] (as

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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amended, supplemented, or modified, the “Plan”). Unless otherwise defined in this notice,
capitalized terms used in this notice shall have the meanings ascribed to them in the Plan and the
Confirmation Order, as applicable.

              PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan
occurred on August 11, 2021.

              PLEASE TAKE FURTHER NOTICE that, except with respect to Administrative
Expense Claims that are Professional Fee Claims or as otherwise set forth in the Plan, requests for
payment of an Administrative Expense Claim must be Filed with the Bankruptcy Court no later
than forty-five (45) days after the Effective Date (the “Administrative Expense Claims Bar
Date”). HOLDERS OF ADMINISTRATIVE EXPENSE CLAIMS THAT ARE REQUIRED
TO FILE AND SERVE A REQUEST FOR PAYMENT OF SUCH ADMINISTRATIVE
EXPENSE CLAIMS BY THE ADMINISTRATIVE EXPENSE CLAIMS BAR DATE
THAT DO NOT FILE AND SERVE SUCH A REQUEST BY THE ADMINISTRATIVE
EXPENSE CLAIMS BAR DATE SHALL BE FOREVER BARRED, ESTOPPED, AND
ENJOINED FROM ASSERTING SUCH ADMINISTRATIVE EXPENSE CLAIMS
AGAINST THE DEBTOR OR THE REORGANIZED DEBTOR.

               PLEASE TAKE FURTHER NOTICE that, unless otherwise ordered by the
Bankruptcy Court, all final requests for payment of Professional Fee Claims must be Filed no later
than sixty (60) days after the Effective Date.

                PLEASE TAKE FURTHER NOTICE that the terms of the Plan shall be
immediately effective and enforceable and deemed binding upon the Debtor or the Reorganized
Debtor, as applicable, and any and all Holders of Claims or Interests (regardless of whether such
Claims or Interests are deemed to have accepted or rejected the Plan), all Entities that are parties
to or are subject to the settlements, compromises, releases, and injunctions described in the Plan
and Confirmation Order, including, without limitation: the injunction with respect to the
commencement of claims and causes of action against Protected Parties set forth in Section IX.F
of the Plan and Sections AA and BB of the Confirmation Order, the duration of injunction and
stays set forth in Section IX.G of the Plan and Section AA of the Confirmation Order, and the
continuance of the January 9 Order and July 16 Order set forth in Section IX.H of the Plan and
Section CC of the Confirmation Order.

                PLEASE TAKE FURTHER NOTICE that on the Effective Date, all Class A
Limited Partnership Interests, including the Class A Limited Partnership Interests held by Strand,
as general partner, and Class B/C Limited Partnerships in the Debtor will be deemed cancelled,
and all obligations or debts owed by, or Claims against, the Debtor on account of, or based upon,
such Class A Limited Partnership Interests and Class B/C Limited Partnership Interests shall be
deemed as cancelled, released, and discharged, including all obligations or duties by the Debtor
relating to the Equity Interests in any of the Debtor’s formation documents, including the Limited
Partnership Agreement.

                PLEASE TAKE FURTHER NOTICE that the Confirmation Order and the Plan


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are available for inspection. If you would like to obtain copies you may: (a) access the Debtor’s
restructuring website at http://www.kccllc.net/hcmlp; (b) call toll free: (877) 573-3984 or
international: (310) 751-1829; or (c) email HighlandInfo@kccllc.com and reference “Highland”
in the subject line. You may also obtain copies of any pleadings filed in this case for a fee via
PACER at: pacer.uscourts.gov.

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 Dated: August 11, 2021.               PACHULSKI STANG ZIEHL & JONES LLP

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                                       -and-

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                                       Counsel for the Debtor




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Counsel for Highland Capital Management, L.P.

                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                     §
    In re:
                                                                     § Chapter 11
                                                                     §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1
                                                                     § Case No. 19-34054-sgj11
                                                                     §
                                       Reorganized Debtor.
                                                                     §

             RESPONSES AND OBJECTIONS TO NEXPOINT REAL ESTATE
                PARTNERS, LLC’S SECOND SET OF REQUESTS FOR
                     PRODUCTION AND INTERROGATORIES

             Highland Capital Management, L.P., (“Highland” or the “Reorganized Debtor”) hereby

responds to NexPoint Real Estate Partners, LLC’s Second Set of Requests for Production and

Interrogatories to Highland Capital Management, L.P. (the “Requests”)2 served by NexPoint Real


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
2
    Capitalized terms not defined herein shall have the meanings set forth in the Requests.




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Estate Partners, LLC f/k/a HCRE Partners LLC (“HCRE”). Highland’s responses and objections

to the Requests (the “Responses”) are made pursuant to Federal Rules of Civil Procedure

(“FRCP”) 26, 33, and 34, as made applicable in bankruptcy cases pursuant to Federal Rules of

Bankruptcy Procedure 7026, 7033, and 7034.

                                        GENERAL OBJECTIONS

         Unless otherwise specified, the following general objections and caveats are applicable to

each and every Response and are incorporated into each Response as though set forth in full:

                  1.        The Responses contained herein are based upon information presently

known and ascertained by Highland.

                  2.        Highland objects to the Requests to the extent they seek information or

documents that are protected from discovery by the attorney-client privilege, the attorney work

product doctrine or any other privilege or immunity. The inadvertent disclosure or production of

any document that is protected from discovery by any privilege or immunity shall not constitute a

waiver of any such privilege or immunity. All references in these objections and responses to

Highland agreement to produce documents shall be construed to mean non-privileged documents.

                  3.        Highland objects to the Requests to the extent they request information that

is not reasonably or readily available to it, in its possession, custody or control, or is more readily

available to HCRE from another source or for which the burden of obtaining such information is

not substantially greater for HCRE than it is for Highland.

                  4.        Highland objects to the Requests to the extent they call for legal conclusions

and/or legal analyses.

                  5.        All specific responses to the Requests are provided without waiver of, and

with express reservation of (a) all objections as to competency, relevancy, materiality, and

admissibility of the responses and the subject matter thereof as evidence for any purpose in any


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further proceedings in this matter; (b) all privileges, including the attorney-client privilege and

work product doctrine; (c) the right to object to the use of such responses, or the subject matter

thereof, on any ground in any further proceeding in this action; and (d) the right to object on any

ground at any time to a demand or request for further responses to these or any other discovery

requests or other discovery proceedings.

                  6.        Highland objects to the Requests to the extent they seek to expand on or

conflict with Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy Procedure and/or

the Local Rules of the Bankruptcy Court for the Northern District of Texas.

                  7.        Highland’s agreement to produce documents with respect to a specific

Request shall not be construed as a representation that such documents actually exist or are within

Highland’s possession, custody or control.

                  8.        These General Objections and Responses shall be deemed to be

incorporated by reference into the Specific Responses and Objections set forth below.




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            RESPONSES TO REQUESTS FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 22:

       All e-mails from or to you, or anyone working for or on your behalf, regarding the
preparation of the SE Multifamily Holdings LLC Limited Liability Company Agreement.

RESPONSE TO REQUEST NO. 22:

         Highland objects to Request No. 22 on the ground that the phrase “anyone working for or

on your behalf” is vague and ambiguous and is subject to subjective interpretation under the

circumstances. Subject to the General Objections and these specific objections, Highland will

conduct a reasonable search for, and produce, documents responsive to Request No. 22, including

using search terms and identifying custodians that Highland believes are most likely to yield

responsive information.

REQUEST FOR PRODUCTION NO. 23:

       All e-mails from or to you, or anyone working for or on your behalf, regarding the
preparation of the First Amended and Restated SE Multifamily Holdings LLC Limited Liability
Company Agreement.

RESPONSE TO REQUEST NO. 23:

         Highland objects to Request No. 23 on the ground that the phrase “anyone working for or

on your behalf” is vague and ambiguous and is subject to subjective interpretation under the

circumstances. Subject to the General Objections and these specific objections, Highland will

conduct a reasonable search for, and produce, documents responsive to Request No. 23, including

using search terms and identifying custodians that Highland believes are most likely to yield

responsive information.

REQUEST FOR PRODUCTION NO. 24:

       Any communications between you and NexPoint Real Estate Partners, LLC regarding the
formation of SE Multifamily Holdings LLC.




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RESPONSE TO REQUEST NO. 24:

         Highland objects to Request No. 24 to the extent it assumes or implies that Highland and

NexPoint Real Estate Partners, LLC (“NexPoint REP”) were arm’s-length, third-parties who had

employees devoted to each respective entity. The evidence will show that anyone employed in the

Highland complex prior to the Petition Date worked at the ultimate direction of James Dondero

for the purpose of advancing his interests. Subject to the General Objections and these specific

objections, Highland will conduct a reasonable search for, and produce, documents responsive to

Request No. 24, including using search terms and identifying custodians that Highland believes

are most likely to yield responsive information.

REQUEST FOR PRODUCTION NO. 25:

       Any communications between you and NexPoint Real Estate Partners, LLC regarding the
First Amended and Restated SE Multifamily Holdings LLC Limited Liability Company
Agreement.

RESPONSE TO REQUEST NO. 25:

         Highland objects to Request No. 25 to the extent it assumes or implies that Highland and

NexPoint REP were arm’s-length, third-parties who had employees devoted to each respective

entity. The evidence will show that anyone employed in the Highland complex prior to the Petition

Date worked at the ultimate direction of James Dondero for the purpose of advancing his interests.

Subject to the General Objections and these specific objections, Highland will conduct a

reasonable search for, and produce, documents responsive to Request No. 25, including using

search terms and identifying custodians that Highland believes are most likely to yield responsive

information.

REQUEST FOR PRODUCTION NO. 26:

      Any communications between you and BH Equities, LLC regarding SE Multifamily
Holdings LLC.



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RESPONSE TO REQUEST NO. 26:

         Subject to the General Objections, Highland will conduct a reasonable search for, and

produce, documents responsive to Request No. 26, including using search terms and identifying

custodians that Highland believes are most likely to yield responsive information.

REQUEST FOR PRODUCTION NO. 27:

      Any communications between you and BH Equities, LLC regarding the SE Multifamily
Holdings LLC Limited Liability Company Agreement.

RESPONSE TO REQUEST NO. 27:

         Highland objects to Request for Production No. 27 on the ground that BH Equities, LLC

was not a party to the SE Multifamily Holdings LLC Limited Liability Company Agreement.

Subject to the General Objections and this specific objection, Highland will conduct a reasonable

search for, and produce, documents responsive to Request No. 27, including using search terms

and identifying custodians that Highland believes are most likely to yield responsive information.

REQUEST FOR PRODUCTION NO. 28:

       Any communications between you and BH Equities, LLC regarding the First Amended
and Restated SE Multifamily Holdings LLC Limited Liability Company Agreement.

RESPONSE TO REQUEST NO. 28:

         Subject to the General Objections, Highland will conduct a reasonable search for, and

produce, documents responsive to Request No. 28, including using search terms and identifying

custodians that Highland believes are most likely to yield responsive information.

REQUEST FOR PRODUCTION NO. 29:

       Any communications between you and Liberty CLO HoldCo, Ltd regarding SE
Multifamily Holdings LLC.

RESPONSE TO REQUEST NO. 29:

         Highland objects to Request No. 29 to the extent it assumes or implies that Highland and

Liberty CLO HoldCo, Ltd (“Liberty”) were arm’s-length, third-parties who had employees


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devoted to each respective entity. The evidence will show that anyone employed in the Highland

complex prior to the Petition Date worked at the ultimate direction of James Dondero for the

purpose of advancing his interests. Subject to the General Objections and these specific objections,

Highland will conduct a reasonable search for, and produce, documents responsive to Request No.

29, including using search terms and identifying custodians that Highland believes are most likely

to yield responsive information.

REQUEST FOR PRODUCTION NO. 30:

       Any communications between you and Liberty CLO HoldCo, Ltd regarding the SE
Multifamily Holdings LLC Limited Liability Company Agreement.

RESPONSE TO REQUEST NO. 30:

         Highland objects to Request No. 30 to the extent it assumes or implies that Highland and

Liberty were arm’s-length, third-parties who had employees devoted to each respective entity. The

evidence will show that anyone employed in the Highland complex prior to the Petition Date

worked at the ultimate direction of James Dondero for the purpose of advancing his interests.

Subject to the General Objections and these specific objections, Highland will conduct a

reasonable search for, and produce, documents responsive to Request No. 30, including using

search terms and identifying custodians that Highland believes are most likely to yield responsive

information.

REQUEST FOR PRODUCTION NO. 31:

     Any communications between you and Liberty CLO HoldCo, Ltd regarding the First
Amended and Restated SE Multifamily Holdings LLC Limited Liability Company Agreement.

RESPONSE TO REQUEST NO. 31:

         Highland objects to Request No. 31 to the extent it assumes or implies that Highland and

Liberty were arm’s-length, third-parties who had employees devoted to each respective entity. The

evidence will show that anyone employed in the Highland complex prior to the Petition Date


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worked at the ultimate direction of James Dondero for the purpose of advancing his interests.

Subject to the General Objections and these specific objections, Highland will conduct a

reasonable search for, and produce, documents responsive to Request No. 31, including using

search terms and identifying custodians that Highland believes are most likely to yield responsive

information.

REQUEST FOR PRODUCTION NO. 32:

       Your tax returns as they relate to your interest in SE Multifamily Holdings LLC for 2018
through the present.

RESPONSE TO REQUEST NO. 32:

         Subject to the General Objections, Highland will conduct a reasonable search for, and

produce, documents responsive to Request No. 32.

REQUEST FOR PRODUCTION NO. 33:

      Your tax returns as they relate to any distributions made to you by SE Multifamily Holdings
LLC for 2018 through the present.

RESPONSE TO REQUEST NO. 33:

         Subject to the General Objections, Highland will conduct a reasonable search for, and

produce, documents responsive to Request No. 33.

REQUEST FOR PRODUCTION NO. 34:

       Any tax analysis prepared by your or on your behalf as to your interest in SE Multifamily
Holdings LLC and any distributions made to you by SE Multifamily Holdings LLC for 2018
through the present.

RESPONSE TO REQUEST NO. 34:

         Subject to the General Objections, Highland will conduct a reasonable search for, and

produce, documents responsive to Request No. 34.

REQUEST FOR PRODUCTION NO. 35:

        Any written report prepared by any witness retained or specially employed to provide
expert testimony in the case or whose duties as your employee regularly involve giving expert


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testimony, which report must contain, inter alia, (i) a complete statement of all opinions the witness
will express and the basis and reasons for them; (ii) the facts or data considered by the witness in
forming them; (iii) any exhibits that will be used to summarize or support them; (iv) the witness’s
qualifications, including a list of all publications authored in the previous 10 years; (v) a list of all
other cases in which, during the previous 4 years, the witness testified as an expert at trial or by
deposition; and (vi) a statement of the compensation to be paid for the study and testimony in the
case.

RESPONSE TO REQUEST NO. 35:

         Highland objects to Request for Production No. 35 on the ground that, pursuant to the

Amended Stipulation and Proposed Scheduling Order Concerning Proof of Claim No. 146 Filed

by HCRE Partners, LLC [Docket No. 3356] (the “Scheduling Order”), the deadline for the

disclosure of experts is August 5, 2022.

REQUEST FOR PRODUCTION NO. 36:

       Copies of all documents, electronically stored information, and tangible things within your
possession, custody, or control which you intend to use in support of your objection to NexPoint
Real Estate Partners, LLC’s Proof of Claim.

RESPONSE TO REQUEST NO. 36:

         Highland objects to Interrogatory No. 36 on the ground that pursuant to the Scheduling

Order, the deadline to “exchange Witness and Exhibit Lists” is October 25, 2022, and information

responsive to this Request will be produced at that time.

REQUEST FOR PRODUCTION NO. 37:

        Any documents or things you intend to introduce as exhibits at the hearing on your
objection to NexPoint Real Estate Partners, LLC’s Proof of Claim.

RESPONSE TO REQUEST NO. 37:

         Highland objects to Interrogatory No. 37 on the ground that pursuant to the Scheduling

Order, the deadline to “exchange Witness and Exhibit Lists” is October 25, 2022, and information

responsive to this Request will be disclosed at that time.




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REQUEST FOR PRODUCTION NO. 38:

       Any documents or things you intend to offer as demonstrative exhibits at the hearing on
your objection to NexPoint Real Estate Partners, LLC’s Proof of Claim.

RESPONSE TO REQUEST NO. 38:

         Highland objects to Interrogatory No. 38 on the grounds that (a) no responsive documents

exist today, (b) no deadline exists for the production of responsive documents, (c) until completed,

draft demonstrative exhibits are subject to attorney work-product protection, and (d) based on prior

practice, demonstrative exhibits are unlikely to be completed until just prior to the commencement

of any hearing. Notwithstanding the foregoing, Highland will produce documents responsive to

Request No. 38 on the condition that NexPoint REP do the same at the same time and in the same

manner as Highland.

REQUEST FOR PRODUCTION NO. 39:

        Any documents upon which you relied or reviewed in preparation for your answers to any
Interrogatory.

RESPONSE TO REQUEST NO. 39:

         Highland objects to Request for Production No. 39 on the grounds that information relevant

to this Request (a) is subject to the attorney-client privilege and the attorney work-product doctrine,

and (b) can be more appropriately discovered through a deposition.


              OBJECTIONS AND RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 6:

     Identify each person who negotiated the SE Multifamily Holdings LLC Limited Liability
Company Agreement on behalf of Highland Capital Management, L.P.

RESPONSE TO INTERROGATORY NO. 6:

         Highland objects to Interrogatory No. 6 to the extent it assumes or implies that (a) the SE

Multifamily Holdings LLC Limited Liability Company Agreement (the “Original Agreement”)



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was the subject of arm’s-length negotiations, or (b) there was a person or persons who “negotiated”

the Original Agreement solely on behalf of Highland, or (c) Highland and NexPoint REP were

arm’s-length, third-parties who had employees devoted to each respective entity. The evidence

will show that anyone employed in the Highland complex prior to the Petition Date worked at the

ultimate direction of James Dondero for the purpose of advancing his interests. Subject to the

General Objections and these specific objections, Highland believes the following individuals or

legal or tax counsel were primarily involved in drafting the Original Agreement:

         Freddie Chang

         Mark Patrick

         Paul Broaddus

         Wick Phillips

         Hunton & Williams

INTERROGATORY NO. 7:

       Identify each person who negotiated the SE Multifamily Holdings LLC First Amended and
Restated Limited Liability Company Agreement on behalf of Highland Capital Management, L.P.

RESPONSE TO INTERROGATORY NO. 7:

         Highland objects to Interrogatory No. 7 to the extent it assumes or implies that (a) as

between Highland and NexPoint REP, the SE Multifamily Holdings LLC First Amended and

Restated Limited Liability Company Agreement (the “Amended Agreement”) was the subject of

arm’s-length negotiations, or (b) there was a person or persons who “negotiated” the Amended

Agreement solely on behalf of Highland, or (c) Highland and NexPoint REP were arm’s-length,

third-parties who had employees devoted to each respective entity. The evidence will show that

anyone employed in the Highland complex prior to the Petition Date worked at the ultimate

direction of James Dondero for the purpose of advancing his interests. Subject to the General



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Objections and these specific objections, Highland believes the following individuals were

primarily involved in drafting the Amended Agreement:

         Freddie Chang

         Mark Patrick

         Paul Broaddus

         BH Equities

         Grant Scott

INTERROGATORY NO. 8:

       Identify everything of value that Highland Capital Management, L.P. contributed to SE
Multifamily Holdings LLC at the time of its formation, including the value in dollars and cents for
anything so identified.

RESPONSE TO INTERROGATORY NO. 8:

         Highland objects to the phrase “everything of value” as vague and ambiguous. Subject to

the General Objections and this specific objection, and as intended, Highland contributed, and was

expected to contribute, among other things, (a) capital, (b) credit enhancement, (c) liquidity, (d)

good will, (e) tax benefits and advantages, and (f) human resources.

INTERROGATORY NO. 9:

        Identify everything of value that Highland Capital Management, L.P. contributed to SE
Multifamily Holdings LLC subsequent to its formation, including the value in dollars and cents
for anything so identified.

RESPONSE TO INTERROGATORY NO. 9:

         Highland objects to the phrase “everything of value” as vague and ambiguous. Subject to

the General Objections and this specific objection, and as intended, Highland contributed, among

other things, (a) capital, (b) credit enhancement, (c) liquidity, (d) good will, (e) tax benefits and

advantages, and (f) human resources.




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INTERROGATORY NO. 10:

        Identify everything of value that any member of SE Multifamily Holdings LLC contributed
to SE Multifamily Holdings LLC at the time of its formation, including the value in dollars and
cents for anything so identified.

RESPONSE TO INTERROGATORY NO. 10:

         Highland objects to the phrase “everything of value” as vague and ambiguous. Subject to

the General Objections and this specific objection, and as intended, Highland contributed and was

expected to contribute, among other things, (a) the capital described on Schedule A to the Original

Agreement, (b) credit enhancement, (c) liquidity, (d) good will, (e) tax benefits and advantages,

and (f) human resources. NexPoint REP contributed the capital described on Schedule A to the

Original Agreement.

INTERROGATORY NO. 11:

        Identify everything of value that any member of SE Multifamily Holdings LLC contributed
to SE Multifamily Holdings LLC subsequent to its formation, including the value in dollars and
cents for anything so identified.

RESPONSE TO INTERROGATORY NO. 11:

         Highland objects to the phrase “everything of value” as vague and ambiguous. Subject to

the General Objections and this specific objection, and as intended, Highland contributed, among

other things, (a) capital, (b) credit enhancement, (c) liquidity, (d) good will, (e) tax benefits and

advantages, and (f) human resources. BH Equities LLC contributed the capital described on

Schedule A to the Amended Agreement. NexPoint REP contributed the capital described on

Schedule A to the Amended Agreement after acting in its own self-interest to allocate to itself all

of the proceeds from the KeyBank Loan notwithstanding the fact that Highland (and others) was

jointly and severally liable for the obligations under that loan and enabled NexPoint REP to obtain

the loan proceeds.




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INTERROGATORY NO. 12:

      Identify and describe what you believe is your current ownership interest in SE Multifamily
Holdings LLC.

RESPONSE TO INTERROGATORY NO. 12:

         Highland objects to Interrogatory No. 12 to the extent that it assumes or implies that

Highland’s current ownership interest in SE Multifamily Holdings LLC (“SE Multifamily”) is

subject to dispute. Subject to the General Objections and this specific objection, and as intended,

the Amended Agreement consistently and unambiguously provides that Highland’s current

ownership interest in SE Multifamily Holdings LLC is 46.06% and the Amended Agreement has

never been further modified or amended to change or alter Highland’s ownership interest in SE

Multifamily (or for any other purpose). See First Amended and Restated Limited Liability

Company Agreement, §§ 1.7, 6.1(a), 9.3(e), and Schedule A.

INTERROGATORY NO. 13:

     Identify and describe the current members, together with their percentages, for each current
member SE Multifamily Holdings LLC.

RESPONSE TO INTERROGATORY NO. 13:

         Highland objects to Interrogatory No. 13 to the extent that it assumes or implies that the

current members’ respective ownership interests in SE Multifamily are subject to dispute. Subject

to the General Objections and this specific objection, and as intended, the Amended Agreement

consistently and unambiguously provides that the current members’ respective ownership interests

in SE Multifamily are:

         Highland; 46.06%

         HCRE; 47.94%

         BH Equities; 6%




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          Liberty CLO Holdco, Ltd.; Class A preferred interest of 100% and Class B preferred
          interest of 100%

        See First Amended and Restated Limited Liability Company Agreement, §§ 1.7, 6.1(a),
9.3(e), and Schedule A. Note that Highland believes that the Class A and Class B preferred
interests initially held by Liberty CLO Holdco, Ltd. have been retired and are no longer
outstanding.

INTERROGATORY NO. 14:

        In dollars and cents, identify and describe the current value of what you believe to be your
current ownership interest in SE Multifamily Holdings LLC.

RESPONSE TO INTERROGATORY NO. 14:

          Highland objects to Interrogatory No. 14 on the ground that information concerning the

current value of Highland’s interest in SE Multifamily is in the exclusive possession of NexPoint

REP and is the subject of ongoing discovery. Subject to the General Objections and this specific

objection, based upon SE Multifamily Holdings’ LLC’s financial statements as of December 31,

2021 (which Highland will produce and incorporates by reference herein), the value of Highland’s

46% ownership interest in SE Multifamily Holdings LLC exceeded $15 million, as of December

31, 2021, exclusive of any adjustments for impropriety of previous distributions or other wrongful

acts by HCRE or its affiliates.

INTERROGATORY NO. 15:

      Identify and describe what you believe is NexPoint Real Estate Partners, LLC’s current
ownership interest in SE Multifamily Holdings LLC.

RESPONSE TO INTERROGATORY NO. 15:

          Highland incorporates by reference its response to Interrogatory No. 13 as if fully set forth

herein.

INTERROGATORY NO. 16:

      In dollars and cents, identify and describe the current value of what you believe to be
NexPoint Real Estate Partners, LLC’s current ownership interest in SE Multifamily Holdings LLC.




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RESPONSE TO INTERROGATORY NO. 16:

         Highland objects to Interrogatory No. 16 on the ground that information concerning the

current value of NexPoint REP’s interest in SE Multifamily is in the exclusive possession of

NexPoint REP and is the subject of ongoing discovery. Subject to the General Objections and this

specific objection, based upon SE Multifamily Holdings’ LLC’s financial statements as of

December 31, 2021 (which Highland will produce and incorporates by reference herein), the value

of NexPoint REP’s 47% ownership interest in SE Multifamily Holdings LLC exceeded $15

million, as of December 31, 2021.

INTERROGATORY NO. 17:

      In dollars and cents, identify each distribution you have received from SE Multifamily
Holdings LLC and the date such distribution was received.

RESPONSE TO INTERROGATORY NO. 17:

         Highland has never received a distribution from SE Multifamily Holdings LLC.

INTERROGATORY NO. 18:

        Provide the name and, if known, the address and telephone number, of each individual
likely to have discoverable information – along with a description of the subjects of that
information and basis therefore – that that you may use in support of your objection to NexPoint
Real Estate Partners, LLC’s Proof of Claim.

RESPONSE TO INTERROGATORY NO. 18:

         Highland objects to Interrogatory No. 18 on the grounds that (a) it has not made any

assessment as to whom it may call as a witness in support of its objection and (b) the deadline to

“exchange Witness and Exhibit Lists” is October 25, 2022. Subject to the General Objections and

these specific objections, Highland believes the following individuals are likely to have

discoverable information and are among the individuals or entities that Highland may use in

support of its objection:

         James Dondero


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         Matt McGraner

         Bonner McDermott

         Mark Patrick

         Matthew Goetz

         Freddie Chang

         Paul Broaddus

         Shawn Raver

         Frank Waterhouse

         A representative of BH Equities LLC (and potentially specific agents of that entity)

         A representative of Wick Phillips (and potentially specific agents of that entity)

         Hunton & Williams

         Baker & Viggato, LLP

         A representative of Highland

         David Klos

         Grant Scott

         A representative of Development Specialists, Inc.

INTERROGATORY NO. 19:

       Identify any expert witness you intend to call at the hearing on your objection to NexPoint
Real Estate Partners, LLC’s Proof of Claim. For each such witness, state whether or not they will
provide a written report.

RESPONSE TO INTERROGATORY NO. 19:

         Highland objects to Interrogatory No. 19 on the ground that, pursuant to the Scheduling

Order, the deadline for Highland and HCRE to disclose experts is August 5, 2022, and information

responsive to this Interrogatory will be disclosed at that time.



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INTERROGATORY NO. 20:

        Identify all witnesses you intend to call at the hearing on your objection to NexPoint Real
Estate Partners, LLC’s Proof of Claim.

RESPONSE TO INTERROGATORY NO. 20:

         Highland objects to Interrogatory No. 20 on the ground that pursuant to the Scheduling

Order, the deadline for Highland and HCRE to “exchange Witness and Exhibit Lists” is October

25, 2022, and information responsive to this Interrogatory will be disclosed at that time unless the

parties agree otherwise.

INTERROGATORY NO. 21:

        Identify and describe each exhibit or document you either intend to introduce into evidence
at the hearing on your objection to NexPoint Real Estate Partners, LLC’s Proof of Claim.

RESPONSE TO INTERROGATORY NO. 21:

         Highland objects to Interrogatory No. 21 on the ground that pursuant to the Scheduling

Order, Highland and HCRE “shall exchange Witness and Exhibit Lists” on October 25, 2022, and

information responsive to this Request will be disclosed at that time unless the parties agree

otherwise.

INTERROGATORY NO. 22:

       State the full name, address and telephone number of all persons providing information in
answering these interrogatories, including for which interrogatories they provided information.

RESPONSE TO INTERROGATORY NO. 22:

         Subject to the General Objections, in response to Interrogatory No. 22, Highland identifies

the following individuals:

         James P. Seery, Jr. (reviewed all interrogatory responses), c/o Pachulski Stang Ziehl &

Jones LLP

         David Klos (reviewed all interrogatory responses), c/o Pachulski Stang Ziehl & Jones LLP




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         Thomas Surgent (reviewed all interrogatory responses), c/o Pachulski Stang Ziehl & Jones

LLP

         Various attorneys at Pachulski Stang Ziehl & Jones LLP.

INTERROGATORY NO. 23:

      Identify each request for production for which you have not or are not providing responsive
documents for any reason.

RESPONSE TO INTERROGATORY NO. 23:

         In response to Interrogatory No. 23, Highland refers HCRE to Highland’s Responses to

Requests for Production of Documents and incorporates those responses herein.




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 Dated: June 27, 2022             PACHULSKI STANG ZIEHL & JONES LLP
                                  Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
                                  John A. Morris (NY Bar No. 266326)(admitted pro hac vice)
                                  Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
                                  Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
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                                  -and-

                                  HAYWARD PLLC

                                  /s/ Zachery Z. Annable
                                  Melissa S. Hayward (Texas Bar No. 24044908)
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                                  Counsel for Highland Capital Management, L.P.




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